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                   SUPREME COURT OF THE STATE OF NEW YORK.

                   COUNTY OF QUEENS:      CRIMINAL TERM:     PART TAP-A

             3                        ------------------x
                   THE PEOPLE OF THE STATE OF NEW YORK,
             4
                                 -against-                         Indictment No.
             5                                                     2228-12
                                                                   Calendar Call
             6     RAYMOND BALL,
                   ELIJAH BROOKS,
             7                                Defendants
                                        -------------------x
             8                125-01 Queens Boulevard
                              Kew Gardens, New York 11415
             9                April 18, 2013

            10     BEFORE:

            11             THE HONORABLE BARRY KRON
                                          JUSTICE
            12     A P P E A R A N C E 5:

            13                HON. RICHARD A. BROWN, ESQ.,
                              District Attorney, Queens County
            14                BY: DENISE HOWARD, ESQ.,
                                   Assistant District Attorney
I   $
            15
                              LINDA POVMAN, ESQ., (18-B)
            16                Attorney for Defendant Ball

            17                ALEXIS PIMENTEL, ESQ., (PVT)
                              Attorney for Defendant Brooks
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            24                                   iARIA 1:. EDMOND, RPR
                                                Senior Court Reporter
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                                                  Proceedings                                2


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                                   THE CLERK:

                       Ball, Elijah Brooks.
                                                  Calendar number 8 and 36, Raymond




              3                    MS. POVMAN:     On behalf of Mr. Ball, Linda Povman.

              4        Good morning, your Honor.       I'l1 waive his appearance for the

              5         purpose of this call.

     1        6                    MR. PIMENTEL:     Good morning, your Honor, on behalf

              7         of Mr. Brooks, Alexis Pimentel, 37-53 90th Street, Jackson

              8         Heights, New York.

              9                     THE COURT:    In terms of the motion to consolidate,

             10         2228 of '12 and 338 of '13, they're consolidated.

             11                     MS. HOWARD:    We were expecting hearings.         The

             12         People were ready on defendant Ball, I'm supplying counsel


 c           13

             14
                        with the Rosario.

                                    THE COURT:    2228 of 2012, which is now 338 of

             15         2013, as to defendant Brooks, everything is on for hearings

là           16         as to both defendants; right?

             17                     MS. HOWARD:     Yeah, and we're ready but     --




             18                     MR. PIMENTEL:     I am not ready.

             19                     MS. HOWARD:     Counsel, let me turn over the Rosario

             20         material to you.     You're for Brooks?

             21                     (Handing.)

             22                     MS. HOWARD:     So which number are we going to go by

             23         now, the 2012 number?

              24                    THE COURT:     Well, the only one, the only one, the

.             25        2013 indictment is Brooks, so it makes sense to carry them



                                                                                             me
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                                              Proceedings                                3

          1         under, what is the indictment in which they're both on,
Li        2         which is 2228 of '12, in which at this point that's all

          3         that's left is 2228 of '12; right?

          4                    MS. HOWARD:     Right.

          5                    THE COURT:     And that is on today for hearings, the

          6         People have announced ready for the hearings as to both

          7         defendants.    What is the situation with defense counsel?

          8                     MR. PIMENTEL:    Your Honor, I wasn't ready for the

          9         hearing today, I thought I was only on for decision from

         10         last time we were here.

         11                     THE COURT:    Sir, that is unacceptable.

         12                     MR. PIMENTEL:    I understand.


 C       13                     THE COURT:    I am pellucidly clear in what things

         14         are adjourned for and when I endorse things I'm very clear

         15         in writing down what the adjournment is for and what this

I:       16         adjournment was on for today was a decision on consolidation

         17         and hearings as to both defendants.

         18                     MR. PIMENTEL:    I'm sorry, your Honor.

         19                     THE COURT:    I'm sure if you ordered the minutes of

         20         February 27th you were so advised on the record.           So simply

         21         saying I didn't know what it's on for doesn't cut it.

         22                     MR. PIMENTEL:    Well, your Honor    --




         23                     THE COURT:    Are you otherwise ready for the

         24         hearing?

         25                     MS. POVMAN:     Judge, this morning I advised Mr.



                                                                                     me
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                                                     Proceedings                                 4


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                            Schneidmill I could do this this morning, but, Judge, we

                            just got a CD of 911 calls and radio runs I'm not sure as to

                  3         the length of the CD.       So I would need to review that.

                  4                     THE COURT:    There is also two hearings waiting to

                  5         go out and cases that's not open.        Just understand in the

                  6         future don't play that game with me because you're going to

                  7         lose.

                  8                     MR. PIMENTEL:    Your Honor, I wasn't trying to play

                   9        a game, I made    --




                 10                     THE COURT:    I understand.

                 11                     MR. PIMENTEL:     I made a mistake and I currently

                 12         have a hearing in the afternoon as well.
    r             13                    THE COURT:    I think under the rules of engagement
    L
                  14        incarcerated defendants on criminal cases take precedence.

.                                       MR. PIMENTEL:     I understand, your Honor.
                  15

I                 16                    THE COURT:    What's the new date for the hearing?

                  17                    MS. HOWARD:     May 21st is good.

                  18                    THE COURT:    May 21st, for hearings.       Same bail

                  19        condition, time is excluded.        Defense request.     They just

                  20        ain't ready.

                  21                    (Continued transcript and certification on

                  22         following page.)

                  23

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                 1                     MR. PIMENTEL:    Thank you, your Honor.
    C            2                      *     *     *    *     *       *   *




                 3         The foregoing is certified to be a true and accurate

                 4         transcript of the original stenographic minutes taken of

                  5        this proceeding.                        A




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                  7
                                              V// %r/
                  8                         Maria B. Edmo d, RPR

                  9                         Senior Court Reporter

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            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF QUEENS : CRIMINAL TERM : PART K-20
                                                                     COPY
        2                         ---------------------X
            THE PEOPLE OF THE STATE OF NEW YORE
        3                                               Indictment No.
                                                         2228-2012
        4
                    -against-
        5                                                  HEARING

        6
            RAYMOND BALL and ELIJAH BROOKS,
        7
                                  Defendants.
        8                           ---------------------X
                                       Supreme Courthouse
        9                              125-01 Queens Boulevard
                                       Kew Gardens, New York 11415
       10                              May 21, 2013

       11   B E F 0 R E:
                            HONORABLE RONALD D. HOLLIE,
       12                             Justice of the Supreme Court.

       13   1½ P P E A R A N C S S:

      14         FOR THE PEOPLE:
                           RICHARD A. BROWN, ESQ.
      15                   District Attorney, Queens County
                      BY: NAOMI SCHNEIDMILL, ESQ.
      16                   Assistant District Attorney

      17         FOR DEFENDANT BALL:
                           LINDA POVAN, ESQ., 18-B
      18
                 FOR DEFENDANT BROOKS
      19                   ALEXIS PIMENTEL, ESQ. (Pvt.)

      20

      21
                                       HELEN BOUKAS
      22                               Senior Court Reporter

      23                                                                                     -

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                                           - PROCEEDINGS -                               2


           1                   THE CLERK: Calendar number 10. Indictment 2228

           2     of 2012. People versus Raymond Ball and Elijah Brooks.

           3     Sent forthwith from Part TAP-A. For hearing.

           4                  MS. SCHNEIDMILL: Naomi Schneidmill for the

           5     People. Good afternoon, your Honor.

           6                  MS. POVMAN: On behalf of Raymond Ball, Linda

           7     Povrnan, 123-35 82nd Road, Kew Gardens.

        8                     COURT OFFICER: Coming out.

        9                      (Defendant is present.)

       10                     MR. PIMENTEL: On behalf of Mr. Brooks, Alexis

       11        Pimentel, 37-53 90th Street, office number 10, Jackson

       12        Heights. P-I-M-E-N-T-E-L.

       13                     THE COURT: Thank you, Mr. Pimentel. Come up,

       14        please.

       15                     Both defendants are present. Both Mr. Ball and

       16        Mr. Brooks.

       17                     People s what kind of hearings have been ordered in

       18        this case?

       19                     MS. SCHNEIDMILL: Your Honor, I believe for

       20        defendant Ball, a Mapp Huntley Wade Dunaway. For defendant

      21         Brooks, a Mapp Huntley Wade Dunaway was also ordered.

      22         Although I believe that's not entirely correct. I believe

      23         it is a Wade/Dunaway, as far as defendant Brooks is

      24         concerned.

      25                      THE COURT; Okay. Counsel approach, please.



                                                                                    hb
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                                           - PROCEEDINGS -                           3


           1                   (Whereupon, an off-the-record discussion was held

        2        at the bench.)

        3                   THE COURT: Okay, now, People, just to make sure

        4        that I'm clear, you had mentioned that a number of hearings

                 had been ordered, different hearings with the two

                 defendants. As to Brooks, you said a Wade Mapp Huntley and

        7        Dunaway?

        8                   MS. SCHNEIDMILL: I believe all four of those were

        9        ordered, yes.

       10                   THE COURT: As to both or as to Brooks?

       11                   MS. SCHNEIDMILL: All four were ordered as to both

       12        defendants.

       13                   THE COURT: All right. Are you ready for

       14        hearings, People?

       15                   MS. SCHNEIDMILL: People    are ready.

       16                   THE COURT: Please call your first witness.

       17                   MS. SCHNEIDMILL: I am just handing up to the

      18         Court a Rosario disclosure as to Rosario. I handed up to

       19        both counsels.

      20                    THE COURT: Acknowledged by both counsels?

      21                    MS. SCHNEIDMILL: It has, first witness that

      22         People call is Officer Daniel Lanning.

      23                    COURT OFFICER: Ready for the witness?

      24                    THE COURT: We are.

      25                    COURT OFFICER: Witness entering.




                                                                                    hb
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                                            P.O. LANNING-PEOPLE-DIRECT                 4


                   D A N I E L    LA N N I N G, Police Officer, a witness called on

           2           behalf of the People, after having been first duly sworn and

           3           having stated his shield number as 20636 and his command as

           4           the 115th Precinct, New York City Police Department, took

           5           the witness stand and testified as follows:

           6,                     COURT OFFICER: People call Police Officer Daniel

           7           Lanning, D-A-N-I--E--L, L-A-N-N-I-N-G, shield number 20636 of

        8              the 115th Precinct, NYPD.

        9                         THE COURT: Inquire, please.

       10                         MS. SCHNEIDMILL: Thank you, your Honor.

       11          DIRECT EXAMINATION

                   BY MS. SCHNEIDMILL:

                       Q    Good afternoon, Officer Lanning.

       14              A    Good afternoon.

       15              Q    Who are you currently employed by?

       16              A    The NYPD.

       17              Q    And how long have you been employed by them?

       18              A    A little over seven years now.

       19              Q    And how long have you been out of the 115th Precinct?

                       A    Just under seven years.

                       Q    And, Officer, were you working on the evening of

                   July 3rd of 2012?

                       A    I was, yes..

      24              Q     What tour were you working that night?

      25              A     1500 by 2335.



               I                                                                    hb
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                                        P.O. LANNING-PEOPLE-DIRECT                     5


            1       Q    And who were you working with?

            2       A    Sergeant Rosenberg.

            3       Q    And what was your assignment that night?

            4       A    I believe I was assigned as the E'.I.O., Field

            5   Intelligence Officer.

            6       Q    What does that mean?

         7          A    Field Intelligence Officer tracks different things.

         8      Gang members, recidivists. We were just performing regular

         9      patrol that night.

        10                      THE COURT: And an officer, just so I'm clear as

       11           to what you mean by I believe --

       12                       THE WITNESS: I was. I was.

       13                       THE COURT: Okay.

                    Q    You said you were on patrol that night?

       15           A    Yes.

                    Q    And what areas were you patrolling?

       17           A    I was in the vicinity of 105th Street and Northern

       18       Boulevard in Queens.

       19           Q    Did there come a time that at approximately around nine

       20       p.m. that you received a radio run?

       21           A    Yes.

       22           Q    And what were you told over the radio run?

       23           A    There was a male being robbed at the corner, 105th

       24       Street and Northern Boulevard.

       25           Q    And when you received this radio run, where were you?



                                                                                  hb
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                                         P.O. LANNING-PEOPLE-OIRECT                       6


            1       A     I was about two blocks away from that area.

            2       Q    And once receiving this radio run what did you do?

            3       A    I proceeded to that location.

            4       Q    How did you proceed to that location? By foot?

            5       A    No in a car. Unmarked vehicle.

            6       Q    And in this unmarked vehicle were you in plain clothes

            7   that evening or in your uniform?

            8       A    Plain clothes.

            9       Q    And were you the driver that evening?

        10          A    I was the passenger.

        11          Q    How long did it take for your vehicle to respond to the

        12      location of 105th Street and Northern Boulevard?

        13          A    Couple of minutes. Two, three minutes.

        14          Q    And over this radio run that you received --

        15                       THE COURT: So if you were two blocks away, two

        16          minutes in a police car to arrive?

                                 THE WITNESS: It seemed about two minutes, maybe

        is          less, could have been less.

        19                       THE COURT: Co ahead.

       20           Q    Two minutes would be the ceiling, the maximum, that it

       21       took you to get there, maybe?

       22           A    Sure.

       23           Q    And you said,   you testified earlier that on the radio

       24       run you were told that a male was being robbed?

       25          A     Yes.



                                                                                     hb
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                                      P.O. LANNING-PEOPLS'-DIRECT                     7


            1       Q    And was there any description given over this radio run

         2      who was robbing this male?

         3          A    It was male Blacks dressed in white shirt, black pants.

         4          Q    When you responded to 105th Street and Northern

         5      Boulevard, was there anyone at that location? What is at that

         6      location actually?

         7          A    It is a bodega, corner store.

         8          Q    And was there anyone outside that location?

         9          A    Yes. Mr. Elturky was standing on the corner there.

        10          Q    Who was Mr. lturky?

       11           A    He was the complainant.

       12           Q    The victim of this robbery?

       13           A    Yes.

       14           Q    And what observations if any did you make about him or

       15       his appearance at that time?

       16           A    He was bleeding from the head, the mouth. He looked

       17       like he had been beaten up.

       18           Q    And what did he tell you?

       19          A     He told me that he was robbed and that they went south.

       20       He pointed southbound on 105th Street, said they went that way.

       21          Q     And what did you do at that point?

       22          A     We asked him to get into the vehicle. At which point

       23 i he got into the back seat of our RMP.

       24          Q    And where did you go?

       25          A     We proceeded southbound on 105th Street.



                                                                                     hb
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                                         P.O. LANNING-PEOPLE-DIRECT                   8


            1       Q        Did there come a point that you stopped?

            2       A        About two seconds of him being in the vehicle he said,

            3   that's the guy there. We stopped the vehicle.

            4                     THE COURT: Okay. Now, as far as time is

            5       concerned, you said, two blocks away it took three minutes

            6       in the car.

            7                     Two seconds relative to the corner of Northern,

            8       the bodega. Had you traveled halfway down the block, all

            9       the way down the block, a third of the way down the block?

        10          How long had you -- how long had you been on that block --

        11          did you drive, before you had seen --

        12                       THE WITNESS: I apologize. We got about halfway

        13          down the block.

        14          Q    And you said at that point you had stopped?

        15          A    We did, yes.

        16          Q    And what did the complainant say to you?

       17           A    He said, that's the guy there.

       18           Q    And what did you do at that point?

       19           A    We got out of the vehicle, and we placed a man in

       20       handcuffs.

       21           Q    The person that you placed in handcuffs, do you see

       22       that person in Court today?

       23           A    Yes, I do

       24           Q    And can you identify that person with an article of

       25       clothing that they are wearing?
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                                      P.O. LANNING-PEOPLE-DIRECT                     9


            1       A    Yes, he's wearing a black shirt.

            2                 THE COURT       Indicating defendant Brooks.

            3       Q    And once you placed the defendant or defendant Brooks

            4   in handcuffs, what did you do after that?

            5       A    We put over the radio that we had a male stopped. We

            6   called over for another sector car.

            7       Q    And just to be clear again, when you were in the

            B   vehicle what exactly had the victim said to you?

            9       A    He just said that he had been robbed and like I said,

        10      they went southbound on 101st Street. He didn't say

        11      "southbound." He pointed and said they went down that way.

        12          Q    You knew it to be southbound?

        13          A    Correct.

        14          Q    When you -- before stopping your vehicle, what had the

        15      complainant said to you?

        16          A    He said, that's the guy there.

       17           Q    Did you recover anything from the defendant Brooks

       18       after his arrest?

       19          A     I did not, no.

       20          Q     Did defendant Brooks make any statements to you?

       21          A     No statements, no.

       22                     MS. SCHNEIDMILL: Your Honor, I have no further

       23          questions for this witness.

       24                     NEt. FIMENTEL: Your Honor.

       25                     THE COURT: Counsel, please.
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                                    P.O. LANNING-PEOPLE-CROSS/PIMENTEL               10


            1   CROSS-EXAMINATION

            2   BY MR. PIMENTEL:

            3       Q    Good afternoon, Officer Lanning.

            4      A     Good afternoon.

            5      Q     Officer Lanning, do you recall what the actual radio

            6   run was? What was said over the radio run?

            7      A     That there was a 30 --

            e                 THE COURT: No. You're actually asked about the

            9       actual, which can be interpreted as exact words used. Do

        10         you recall the exact words used over the radio run?

        11                    THE WITNESS: I do not, no, but I do have the

        12         paperwork there if you will allow me to refresh my memory.

        13                    MR. PIMENTEL: Yes, you can refresh your

        1          recollection.

       15                     THE COURT: Sure.

       16                     THE WITNESS: Okay.

       17                     (Witness examining documents.)

       18                     THE WITNESS: At 2059 came over -- 2059 came over

       19          the radio as a "1030 male robbed."

       20                     THE COURT: So, is that -- are you saying that

       2].         those were the words given to you by the dispatcher? That

       22          "male robbed"?

       23                    THE WITNESS: Correct, yes.

       24                    THE COURT: Okay.

       25          Q    What was the description given of the defendants or of



                                                                                     hb
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                                    P.O. LANNING-PEOPLE-CROSS/PIMENTEL               11


            I   the alleged perpetrators?

            2                   MS. POVMAN: Judge, could we have it identified

            3       for the record what he's reading from?

            4                   THE COURT: Yes. I think he's looking at the

            5       Sprint.

            6                   THE WITNESS: Yes, I'm reading from the Sprint.

            7       It was for three male Blacks, one wearing white shirt and

            8       black pants.

            9       Q      So it was three male Blacks?

        10          A      That's how it came over, yes.

        11          Q      Was there any indication of a weapon used during the

       12       robbery?

       13           A      It doesn't say here and I don't recall that.

       14                       MR. PIMENTEL: If I may approach, your Honor?

       15                       THE COURT: Yes.

       16           Q      You're looking at the same Sprint report I'm looking

       17       at, correct?

       18           A      I believe so. Yes.

       19           Q      If you will see right after 2:20, the entry?

       20          A       Sorry, what are you looking? I apologize.

       21          Q       Sorry. Just take a look (indicating).

       22          A       I am sorry, you're right.

       23                       THE COURT: And also, Officer, we are not asking

       24          you to let us know what the Sprint says. Only whether or

       25          not if you read it, if it refreshes your memory as to what



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                                        .O.LANNING-PEOPLE-cRO3S/ p IMENTEL             12


             1           you heard. Because it is possible that your recollection is

            2            different or not as complete as the Sprint. So again, it's

            3            important that you understand that we are not asking you to

            4            tell us what the Sprint says. But only if it refreshes your

            5            memory as to what it is you heard.

            6                      THE WITNESS: Okay. Yes, came over as a

            7            knifepoint robbery.

            8                      THE COURT: And you recall --

            9                      THE WITNESS: I do recall that, yes.

        10                         THE COURT: -- that being said?

        11           Q       Do you recall if a knife was ever recovered?

        12           A       No, there was no knife recovered, to my recollection.

        13           Q       Did you have a conversation with Mr. Elturky when you

        14       first approached him?

        15           A       Very brief. He said that he was robbed and that they

        16       had gone.

       17            Q       Did you inquire of him of the description of the people

       18        that allegedly robbed him?

       19            A       No, we just asked him to get in the vehicle right away.

       20            Q       Did he describe the attack to you as it took place when

       21        he was robbed?

       22            A       He did not, no.

       23            Q       No, he did not. Now, you indicated that it took you

       24        three minutes or two minutes to arrive at the location. Were

       25        your sirens going? Did you have your lights and sirens on?



                                                                                     we
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                                       P.O. LANNING-PEOPLE--CROSS/PIMENTEL             13


            1            A    We did not have sirens in that particular vehicle, no.

            2            Q    Okay. Where exactly on the street did you approach

            3     Mr. Elturky or did Mr. Elturky approach you?

            4           A     He approached us.

            5           Q     Where exactly on the Street, was it in the corner?

            6           A     Right on the corner of 105th Street.

            .7          Q     Did you notice if there were any cameras around in that

            8    area?

            9        A       No. I did not.

        10           Q       Was this in front of a grocery store?

        11           A       It was, yes.

       12            Q       Did you notice if the grocery store had any cameras?

       13            A       Not that I recall, no.

       14            Q       You indicated that you drove four blocks in the two

       15        minutes -- I mean -- two seconds halfway down the block and you

       16        approached Mr. Brooks?

       17            A       Yes, that's correct.

       18            Q       That was in the middle of the block?

       19            A       Around about the middle of the block, yes.

       20            Q       On 105th Street or actually on Northern Boulevard?

       21            A       On 105th Street.

       22            Q       And was this in front of a residential home or in front

       23        of a commercial establishment?

       24                         THE COURT: If you know.

       25           A        I am sorry.



                                                                                    hb
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                                  P.O. LANNING-PEOPLE-CROSS/PIMENTEL                 14


            1                 THE COURT: If you know.

            2       A    I don't recall.

            3       Q    Okay. Was anything recovered from my client or near

            4   where my client was arrested?

            5       A    I didn't recover anything from your client.

            6       Q    Do you know if anything was recovered?

         7          A    I believe there was, yes.

         a          Q    What do you recall was recovered?

         9          A    I believe there was a -- oh, from your client?

       10       really couldn't say honestly what was recovered because, again,.

       11       I didn't recover it.

       12          0     Do you know if someone else did recover something?

       13          A     I believe that it was, yes.

       14                     THE COURT: But --

       15          A     Again, this is all --

       16                     THE COURT: Wait. If you know, let us know. If

       17          you don't have the information, let us know that also. But

       18          under no circumstances guess.

       19          A     I don't have that information to give you.

       20          O    Do you recall what my client was wearing that day?

       21          A    White shirt and black pants.

       22          Q    Was he wearing anything else, do you recall?

       23                    THE COURT: You mean in the way of footwear?

       24          O    Footwear, a hat?

       25                    THE COURT: If you know.



                                                                                 hb
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                                     P. O.LANNING-PEOPLE-CROSS/PIMENTEL              15


            1       A     I believe he was wearing a baseball cap.

            2       Q     Do you recall what color it was?

            3       A     I do not know.

            4       Q     Is there anything that would refresh your recollection?

            5       A     Maybe.

         6          Q     Such as?

         7          A     A picture of the hat?

         8                     MR. PIMENTEL: Your Honor, may I approach?

         9                     THE COURT; Yes.

       10           Q     I have a copy of the police report which you filled

       11       out. Can you take a look at it and see if that refreshes your

       12       recollection (handing)?

       13           A     I did not fill this out.

       14                      THE COURT: Yes, it doesn't matter if you did.

       15           Only whether or not it refreshes your memory as to how the

       16           defendant was dressed. And again, it doesn't matter what it

       17           says; it matters only if your memory is refreshed.

       18           A    It does not refresh my memory, no.

       19           Q    Okay. Were there any other individuals at the scene

       20       when Mr. Brooks was arrested?

       21           A    As far as --

       22           Q    Were there any other people standing around or was

       23       Mr. Brooks by himself?

       24           A    No, there was another individual stopped with

       25       Mr. Brooks.



                                                                                 hb
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                                  P.O. LANNING- PEOPLE-CROSS/IMENTEL                 16


            1       Q    There was another individual stopped with Mr. Brooks?

         2          A    Yes.

            3       Q    Who was that individual?

            4       A    I don't have his information because as soon as we

         5      stopped the both of them, Mr. Elturky said, that's the guy

            6   there. So we never --

         7          Q    There were two individuals there when he said, that's

         8      the guy there?

        9           A    Yes.

       10           Q    Did he give any description as to which guy he was

       11       referring to?

       12           A    He pointed directly to Mr. Brooks.

       13           Q    What were the lighting conditions?

       14           A    There was a street light, I believe, on that corner.

       15       We had our headlights pointed at Mr. Brooks and it was

       16       nighttime.

       17           0    Okay. At the corner. But you earlier indicated that

       18       you arrested Mr. Brooks in the middle of the block?

       19           A    Yes, I am sorry. There was a light pole in the middle

       20       of the block and our headlights were directly on Mr. Brooks.

       21           Q    What was the description of that other individual, if

       22       you recall?

       23           A    I don't recall.

       24           Q    Do you recall if he was also wearing a white shirt and

       25       black pants?



                                                                                 hb
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                                        P.O. LANNING-PEOPLE-CROSS/POVMAN             17


            1       A       I couldn't tell you.

         2          Q       Now, you indicated that the alleged victim was

            3   bleeding.

            4       A       Yes.

         5          Q       How would you quantify the amount of blood? Was it a

         6      lot, a little?

         7          A       He seemed to be bleeding a lot especially from the

         8      mouth.

         9          Q       Did you observe any blood on Mr. Brooks?

        10          A       I did not, no.

        11          Q       And at any point in time did the victim describe the

        12      actual attack to you?

        13          A       He did not, no.

        14          Q       Officer, did you come to the -- did you fill out the

       15       complaint or sign the complaint report?

       16           A       No, I did not.

       17                          MR. PIMENTEL: No further questions, your Honor.

       18                          THE COURT: Miss Povman?

       19                          MS. POVMAN: Yes, Judge, thank you.

       20       CROSS-EXAMINATION

       21       BY MS. POVMAN:

       22           Q       Good afternoon, Officer.

       23          A        Good afternoon.

       24           Q       You told us that you met up with the complainant at a

       25       bodega -- a deli; is that correct?
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 23 of 907 PageID #: 386


                                           P.O. LANNING-PEOPLE-CROSS/POVMAN           18


             1           A    It was a bodega, yes.

             2           Q    And do you know the address of the bodega?

             3           A    I don't know personally offhand. I have the

            4     information here if you need it.

            5            Q    Could you look it up? Thank you.

            6           A     Sure.

            7                         (Witness examines document.)

            8           A     It was 104-22 Northern Boulevard.

            9           Q    104-22 Northern Boulevard. Now, is that the location

        10       of the alleged robbery?

        11                            THE COURT: If you know.

        12           A       That's where it came over through Sprint. Over the

        13       radio.

        14           Q       Okay. So over the radio you received a call to respond

        15       to that location?

       16            A       To that location, yes, correct.

       17            Q       So yoi don't know whether that was the location of the

       18        robbery or not, but that was the location you were directed to?

       19            A       Yes.

       20            Q       And you said that you had a conversation with the

       21        complaining witness in this case; is that correct?

       22           A        Yes.

       23           0        But you didn't ask him what had happened?

       24           A        I did not, no.

       25           Q        So the information you received over the Sprint report



                                                                                  hb
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                                          P.O. LANNING-PEOPLE-CROS$/pQV[&AN           19


             1    was three male Blacks?

            2            A    Yes.

            3            Q    And was one of them wearing a white shirt and black

        .4        pants, or were all of them wearing a black shirt and white

            5     pants?

            6                        THE COURT Again, if you know.

            7            A    It came over as one of them wearing a white shirt and

            8    black pants.         I
            9         Q      Okay. JAnd there was also some description over the

        10       radio, a knife being used in this robbery?

        1]           A       Yes.

       12            Q       Now, if I understand correctly, you testified that when

       13        you met with the complainant, he just pointed you down 105th

       14        Street?

       15            A       Well, he said he was robbed. And that they had gone

       16        that way. Again, pointing southbound on 105th Street.

       17                            THE COURT: And again, just so I'm clear as to

       18            your memory as to the description that was on the radio that

       19            you responded to. Are you clear in your own mind that what

       20            you heard was three male Blacks, one of which was wearing a

       21            white shirt and black pants?

       22                            THE WITNESS: Yes.

       23                            THE COURT: Okay.

       24            Q       Okay. And the complainant got in your car; is that

       25        correct?



                                                                                     hb
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                                        P.O. LANNTNG-PEOPLE--CROSS/POVMAN            20


            1          A    That's correct.

         2             Q    And did you radio anything over the radio about having

            3   the complainant in the car or the aided?

         4             A    I did not, no, but my supervisor who was driving did,

         5      yes.

         6             Q    And if I understand your testimony correctly, you

         7      stopped Mr. Brooks approximately a half a block later?

         8             A    Yes.

9                      Q    Now, did you have anything to do with the arrest of

        10      Mr. Ball?

       11              A    I did not, no.

       12              Q    And when you arrived at the bodega on 104th and

       13       Northern, it was -- the robbery was completed, right?

       14              A    Yes.

       15              Q    You didn't observe anyone being assaulted?

       16              A    I did not, no.

       17              Q    And isn't it a fact that the complainant initially told

       18       you that he had been beat up?

       19              A    He said that he was robbed.

       20              Q    Okay. So he didn't -- he told you that property was

       21       taken from him?

       22           A      He just said that he was robbed. I thought it was

       23       urgent for him to get in the car and try and find who had done

       24       this to him.

       25                          THE COURT: So the only words that you recall that



                                                                                    hb
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                                   P.O. LANNThG-PEOPLE--CROSS/POVMAN                 21


         1        he said to you in your presence is, "1 was robbed."

         2                   THE WITNESS: Yes, and that they went that way.

         3                   THE COURT: "And that they went that way" but he

            4     didn't give you any information as to where he was robbed, a

         5        number of males involved, anything about a knife, nothing?

         6                   THE WITNESS: Nothing.

         7        Q    You told us that you observed -- withdrawn.

         8             Did you observe blood at the scene of the bodega?

         9       A     I did not, no, only blood on his face and head.

        10                   MS. POVMAN: I have no further questions of this

       11        witness.

       12                    THE COURT: People, anything further?

       13                    MS. SCHNEIDMILL: No, your Honor.

       14                    THE COURT: Thank you, Officer Lanriing.

       15                    THE WITNESS: Thank you very much.

       16                    (Whereupon, the witness was excused from the

       17        witness stand.)

       18                   THE COURT: People, call your next witness.

       19                   MS. SCHNEIDMILL: People call Police Officer

       20        Pampena.

       21                   THE COURT: Sorry?

       22                   MS. SCNNEIDMILL: Officer Pampena.

       23                   COURT OFFICER: Ready for the witness?

       24                   THE COURT: We are.

       25                   COURT OFFICER: witness entering.



                                                                                 hb
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                                         P.O. PAMPENA-PEOPLE-DIRECT                  22


            1   A N G E L 0       P A M P E N A, Police Officer, a witness called on

         2          behalf of the People, after having been first duly sworn and

            3       having stated his shield number as 19220 and his command as

            4       the 115th Precinct, New York City Police Department, took

         5          the witness stand and testified as follows:

         6                        COURT OFFICER: People call Police Officer Angelo

         7          Pampena, A-N-G-E-L-O, P-A-M-P-E-N-A, shield number 19220,

         8          115th Precinct, NYPO.

         9                        THE COURT: Please inquire.

        10                        MS. SCHNEIDMILL: Thank you, your Honor.

       11       DIRECT EXAMINATION

       12       BY MS. SCUNEIDMILL:

       13           Q      Good afternoon, Officer Pampena.

       14           A      Good afternoon.

       15           Q      Who are you currently employed by?

       16           A      New York City Police Department.

       17           Q      How long have you been employed by them?

       18           A      Six years.

       19           Q      How loig have you been at the 115th Precinct?

       20           A      Six years.

       21           Q      Officer, were you working on the night of July 3rd of

       22       2012?

       23           A      Yes.

       24           Q      And what were your duties and responsibilities that

       25       evening?



                                                                                     hb
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                                           P.O. PAMPENA-PEOPLE-DIRECT                 23


             1       A      I was the robbery auto.

            2        Q      What does that mean?

             3       A      In uniform in a plain police car, just driving around,

            4    answering to radio runs.

            5        Q      Like patrolman?

            6        A      Yes.

            7        0      And what area of Queens were you patrolling that

         8       evening?

            9        A      108th Street and Astoria Boulevard.

        10           Q      You said while you were on patrol you answered radio

        11       runs, correct?

        12           A      Yes.

        13           Q      And did you receive a radio run at approximately nine

       14        p.m. that evening?

       15            A      Yes.

       16            Q      What was the radio run for?

       17            A      It was a robbery in progress.

       18            Q      And where was this radio run directing you?

       19            A      105th Street and Northern Boulevard.

       20            Q      And how   far were you from that location when you

       2].       received this radio run?

       22            A      Approximately three blocks.

       23            Q      And how long did it take you to -- Did you end up at

       24        that location?

       25            A      Yes.



                                                                                     hb
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                                         P.O. PArPENA-PEOPLE-DIRECT                   24


            1                    THE COURT: Now, you mentioned that at nine p.m.,

            2       at the time that you received this radio transmission, you

            3       were at 108th and Astoria Boulevard?

            4                    THE WITNESS: Yes.

            5                    THE COURT: And you were directed to 105th and

         6          Northern?

         7                       THE WITNESS: Yes.

         8                       THE COURT: And it only takes you -- That's three
                              t.
                    blocks awa?
         9
                             I
        10                   THE WITNESS: Yes, sir.

        11                       THE COURT; Okay. Because 108th, it's three

        12          blocks over to 105th, and then a number of other blocks over

        13          to Northeri?

       14                        THE WITNESS: Yes.

       15                        THE COURT: So that's no more than three blocks

       16           away?

       17                        THE WITNESS: Yes. Yes.

       18                        THE COURT: I am just trying to make sure that I

       19           understand it exactly. You were asked about a number of

       20           blocks and you were on two separate boulevards involved.

       21                        THE WITNESS: It's three streets over, one avenue

       22           up. One avenue south. It's three streets west. One avenue
       23           south.

       24           0    And this radio run that you got was directing you to

       25       what location?



                                                                                     hb
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                                               P.O. PAMPENA-PEOPLE-DIRECT                     25


                     1       A    105th Street and Northern Boulevard.

                     2       Q    And over this radio run, was there, besides robbery in

                     3   progress, was there a description given of the people or the --

I '- -               4   I am sorry. Was there a description given of the robbers over

                  5      this radio run?

                  6          A    Yes, it was male Blacks, wearing a white shirt, black

                  7      pants.

                  B          Q    Now, what route did you take to get to 105th Street and

                  9      Northern Boulevard from where you were?

                10           A    I went westbound on Astoria. I made a left on 105th

                11       Street, heading southbound. And I was proceeding southbound on

                12       105th Street; I witnessed a male Black with a white tee shirt,

                13       black pants, running northbound away from the scene.

                14                     THE COURT: Also, Officer, just to make sure that

                15           I am clear as to what you were saying that you heard on the

                16           radio, when you said male Blacks, was there an indication as

                17           to a number of male Blacks?

                18                     THE WITNESS: I don't recall.

                19                     THE COURT: And when you also mentioned white

                20           shirt, black pants, any indication as to whether or not that

                21           the radio run said one of them, all of them?

                22                     THE WITNESS: Don't recall, sir.

                23                     THE COURT: People?

                24                And so you said, its your testimony, you said a male

                25       Black in a white tee shirt and black pants running northbound?



                                                                                          hb
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                                           P.O. PAMPENA-PEOPLE-DIRECT                 26


            1       A       Yes, on 105th Street.

            2       Q       And what did you do at that point?

            3       A       I stopped the car and I got out of the vehicle. And

            4   once I got out of the vehicle, the individual stated, I bought

            5   this phone from 105th Street and Northern Boulevard.

            6       Q       And this person that you stopped at this point, do you

            7   see this person in the Court today, Officer?

            8       A       Yes.

            9       Q       Can you identify them with an article of clothing that

        10      they are wearing?

        11          A    A brown Sweater.

       12                          THE COURT: Indicating the defendant Ball.

       13           Q    So, Officer, when you stopped defendant Ball, you said

       14       that he said to you --

       15           A    He said he just bought the phone from 105th Street and

       16       Northern Boulevard.

       17           Q    What phone was he talking about?

       18          A     He had an iPhone in his hand.

       19                          THE COURT: That statement, was it in response to

       20          any question that you had asked him?

       21                          THE WITNESS: Absolutely not.

       22                          THE COURT: And when you first saw him running, I

       23          think you said northbound, at the time that you made the

       24          observation of him, what if anything did you see in his

       25          hands?



                                                                                  hb
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                                         P.O. PANPENA-PEOPLE-DIRECT                  27


            1                     THE WITNESS: He had an iPhone in his hand.

            2                   THE COURT: People?

            3       Q    And what did you do with the defendant Ball at this

            4   point?

            5       A    I placed him in handcuffs. I proceeded to search him

            6   for additional weapons. He had currency in his pocket. It was

         7      a hundred-dollar bill, seven twenty-dollar bills and one

         8      ten-dollar bill. And I proceeded to go to the location that the

         9      crime happened, 105th Street and Northern Boulevard.

        10          Q    And who was at that location?

        11          A    The complainant.

        12          0    Do you know the complainant's name?

        13          A    It's Mr. Elturky.

        14          Q    And did you have an opportunity to read speak to

       15       Mr. Elturky at that location?

       16           A    Yes.

       17           Q    And what did he tell you?

       18           A    He told me that he was beat up by male Blacks, and he

       19       told me the items that were taken from him which was an iE'hone,

       20       his wallet, and he told me exact currency, in the denominations,

       21       because he just left the check cashing place.

       22           Q    And what was the exact denominations he told you was

       23       taken from him?

       24           A    One hundred-dollar bill; seven twenty-dollar bills and

       25       one ten-dollar bill, equalling 250 dollars.



                                                                                     hb
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                                          P.O. PAMPENA-PEOPLE-DIRECT                 28


            I       Q       And this is the exact denominations that you recovered

            2   from defendant Ball, correct?

            3       A       Yes.

            4       Q       And he told you that also his phone was taken?

            5       A       Yes.

            6       Q       And his wallet?

         7          A       Yes.

         8          Q       And what did Mr. Elturky look like when you observed

         9      him at this location?

       10                          THE COURT: And, People, you know, if you can,

       11           would you spell Mr. Elturky?

       12                          MS. SCHNEIDMILL: E-L-T-U-R-K-Y, I believe.

       13           O       How did Mr. Elturky look when you first saw him at this

       14       location?

       15           A       He had blood all down his face and his head. He had a

       16       large laceration on his head. His mouth was bleeding. His eye

       17       was black-and-blue. Swelled shut. And his clothes was all

       18       ripped up and disheveled with blood on it.

       19           Q       And did he give you more information? I know you told

       20       us that he told you that his wallet and money and phone were

       21       taken. Did he give you anymore details about this attack?

       22           A       Yeah. Whenever he seen the defendant he stated he was

       23       the one that took the iPhone and wallet from his pocket.

       24           Q    And which defendant are you talking about when you say

       25       whenever he saw the defendant?



                                                                                   hb
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                                        P.O. PAMPENA-PEOPLE-DIRECT                    29


            1       A    Mr. Raymond Ball.

            2       Q    So the victim in this case told you that defendant Ball

            3   was the person who had taken these items from him?

            4       A    Yes.

            5       Q    And did the complainant indicate to you what defendant

            6   Brooks had done to him?

            7       A    He said the defendant Brooks started the beating and

            8   Mr. Ball ensued with the beating. And Mr. Ball was the one that

            9   took the items from his pockets while he was being attacked.

        10         Q     And ---

        11                      THE COURT: So, Officer, at the time that you

        12         arrived back on 105th and Northern, was the complainant

        13         literally at that corner at that point, or did you summons

        14         him to that corner?

        15                      THE WITNESS: He was at 105th and Northern being

        16         treated by the EMT when I got there. He was inside the

       17          ambulance whenever I arrived at 105th Street and Northern

       18          Boulevard.

       19                       THE COURT: Okay, so at the time that you arrived,

       20          the complainant is in an ambulance and you're speaking with

       21          him in the ambulance?

       22                       THE WITNESS: Yes.

       23                       THE COURT: And you also said that there was

       24          someone else there. Someone I think that you said was

       25          Mr. Brooks. Did you actually see Mr. Brooks at the scene?



                                                                                     hb
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                                       P.O. PAMPENA-PEOPLE-DIRECT                     30


            1                  THE WITNESS: No. He was already in a vehicle

            2     being transported away as I was arriving at the scene.

            3                  THE COURT: So you were making reference earlier

            4     to the complainant saying that Ball is the one who had taken

            5     his property. And said that there was -- did you say that

            6     the complainant said that Brooks is the one that beat him

            7     up?

            8                  THE WITNESS: He started. He started attacking

            9     him first.

        10                     THE COURT: So had he identified to you this

        11        person who started attacking him first?

        12                     THE WITNESS: No.

        13                     THE COURT: Okay. So that person, at the time

        14        that you're getting this information as to what someone else

        15        did --

        16                     THE WITNESS: Yes.

       17                      THE COURT: -- that person was not at the scene at

       18        that point?

       19                      THE WITNESS: At the time, no, he was being

       20        transported away.

       21                      THE COURT: Okay. So the complainant, while the

       22        complainant at the scene told you what Ball did --

       23                      THE WITNESS: Yes.

       24                   THE COURT: -- and said what another individual

       25        had done, to your knowledge, that other individual was not



                                                                                     hb
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                                        P.O. PAMPENA-PEOPLE-DIRECT                   31


            1        at the scene --

         2                       THE WITNESS: Correct.

            3                    THE COURT: -- at the time that you were

            4        interviewing Elturky?

         5                       THE WITNESS: Correct.

         6                       THE COURT: Okay, People.

         7          Q     Officer, when you brought the defendant Ball to

         8      Northern Boulevard and 105th Street, at that point you went and

         9      had a conversation with Mr. Elturky?

        10          A     Yes.

        11          Q     And where was the defendant Ball in relation to where

        12      Mr. Elturky was at that point?

        13          A     Approximately ten yards between 105th and 106th Street,

       14       on Northern Boulevard. He was a couple of car lengths away from

       15       the ambulance.

       16           Q     And when you had this conversation with Mr. Elturky he

       17       was inside the ambulance?

       18           A     Yes.

       19           Q     And what did he tell you at that point?

       20           A     He told me that he was attacked by two individuals. He

       21       told me that one person was started attacked him. Another

       22       individual, Mr. Ball, begin to attack him after that. And

       23       Mr. Ball went through his pocket and took his iPhone, his

       24       wallet.

       25           Q     And at this point at this scene, did he make any



                                                                                     hb
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                                      P.O. FAMPENA-PEOPLE-DIRCT                      32


            1   identifications?

            2       A    Yes, he looked out of the ambulance to see if Mr. Ball

            3   is standing in front of my police car.

            4       Q    What did he tell you?

                    A    He said, yes, that's the individual that took his

         6      wallet and iPhone.

         7                     THE COURT: And you said, you're saying that in

         8          the conversation that you had with Elturky, he said that

         9          there were two individuals involved in the robbery or three

       10           individuals?

       11                      THE WITNESS: He told me two.

       12           O    Did you ever receive any information from the

       13       complainant that a weapon was used in this robbery?

       14           A    No.

       15           Q    And you mentioned before that you recovered an iPhone

       16       from the defendant Ball, correct?

       17           A    Correct.

       18           Q    What did you do with that iPhone?

       19           A    I brought it to Mr. Elturky, and I asked him if this

       20       phone was password protected. He said yes. I asked him for the

       21       password and he told me it. I had pushed it into the iPhone,

       22       and it was the correct password to unlock the iPhone.

                    Q    And do you know what time you were at the corner of

                Northern Boulevard and 105th Street with defendant Ball, what

       25       time you had brought him to that location?



                                                                                 hb
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                                        P.O. PAMPENA-PEOPLE-DIRECT                   33


            1       A    Approximately three, four minutes after the call came

            2   over.

            3       Q    And did Mr. Ball make any other statements to you at

            4   that time?

            5       A    Yes. We placed him back in the car after the positive

            6   ID from the complainant. He wanted to know what he was being

            7   charged with.

            8       Q    Did you tell him?

            9       A    Yes.

       10           Q    What did you tell him?

       11           A    Told him he was being charged with robbery.

       12           Q    And did he say anything in response to that?

       13           A    He stated that if the guy said it was his then I guess

       14       it was his.

       15                       THE COURT: Also, just to see if I'm clear as to

       16           the timing that you indicated that it took for you to get

       17           back to 105th and Northern, in that trip, back to 105th and

       18          Northern, you actually observed defendant Ball, correct?

       19                       THE WITNESS: Yes.

       20                       THE COURT: How long did you spend on the street

                   with Ball before you placed      Ball in your car to then go back
                   to 105th?

       23                       THE WITNESS: Approximately two minutes?

       24                       THE COURT: Okay. So in total, from the time that

       25          you received the radio transmission, begin the process of



                                                                                  hb
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                                      P.O. PAMPENA-PEOPLE-DIRECT                      34


         1        responding to 105th and Northern, inclusive of the time that

         2        you had stopped Ball, how long approximately had it taken

         3        for you to get fully -- to cover the distance from 108th and

         4        Astoria, to 105th and Northern?

         5                   THE WITNESS: Approximately four, four minutes.

         6        If I look at my notes it would tell me exactly when I got

         7                   THE COURT: Sure, sure. So if there's anything in

         8        your records that would refresh your memory, please look at

         9        those.

        10                   THE WITNESS: On the Sprint sheet which is what

        11        Central has, the job came over at 2059, which is 8:59. And

        12        it shows myself going there at -- I was on scene at 2103,

        13        9:03. So all in all, it was five minutes from when the

        14        transmission came over of a robbery in progress to actually

        15        got on the scene at 105th Street and Northern Houlevard.

        16                   THE COURT: And those records do refresh your

        17        memory as to the approximate time it took you to arrive?

        18                   THE WITNESS: Yes, five minutes.

        19                   THE COURT: People.

        20                   MS. SCHNEIDMILL: Thank you, your Honor.

        21        Q    And what was defendant Ball wearing when you stopped

        22   him, Officer?

       23        A     He was wearing a white shirt and black pants.

       24                    MS. SCHNEIDMILL: No further questions for this

       25         witness.



                                                                                     fib
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                                         P.O. PAMPENA-PEOPLE-CROSS/POVMAN              35


            1                        THE COURT: Miss Povman?

            2                        MS. POVMAN: Yes, I'll go first.

            3     CROSS-EXAMINATION

            4     BY MS. POVMAN:

            5         Q       Good afternoon. Did you say Officer or Detective?

            6,        A       Officer.

         7            O       You told us that on July 3rd of 2012, you were working

         8       - in uniform?

         9            A       Yes.

        10            0     But in an unmarked police car?

        11            A     Yes.

       12             0    And your assignment was to investigate radio runs that

       13         night?

       14             A     It's a Robbery Auto.

       15             0    And you told us that you received a radio call at 9:59?

       16             A    8:59.

       17             0    And that was a past robbery or a robbery in progress?            -

       18             A    A robbery in progress.

       19             Q    And did they give you the location to respond to?

       20             A    Yes.

       21             Q    And what was that location?

                      A    I believe from my notes, Central stated 104-22 Northern

                 Boulevard,

       24             Q    And you told the Judge that you were on 108th and

       25        Astoria Boulevard at the time you received the radio run?
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                                       P.O. PAMPENA-PEOPLE-CROSS/POVMAN               36


            1          A     Yes.

            2          Q   And that radio run gave a description of three male

            3   Blacks; is that correct?

            4          A     I don't recall.

            5          Q   And did that radio run give a description of a

            6   knifepoirit robbery?

            7          A     I don't recall.

            8          Q   But you do recall that you traveled about four or five

         9      blocks?

        10             A   Yes.

        11             Q   And what route did you take? I am sorry I put in

        12      here

        13             A   I was on 106th Street and Astoria Boulevard. I went

        14      westbound on Astoria. I made a left on 105th Street, going

        15      southbound, and at 105th Street and 32nd Avenue was I seen your

        16      defendant Mr. Ball running northbound 105th Street from Northern

        17      Boulevard.

        18             Q   So when you first saw Mr. Ball, he was on 105th and

        19      32nd Avenues is that what you're saying?

       20           A      He was running towards 32nd Avenue.

       21           Q      Towards 32nd Avenue so he was on 105th Street,

       22       travelling towards you, you were facing him?

       23          A       Yes.

       24          0       He was running towards your automobile?

       25          A       Yes.



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                                      P.O. PAMPENA-PEOPLE-CROSS/POVMAN                37


            I          Q   And you were the driver of your automobile?

            2          A   I don't recall.

            3          Q   You don't recall whether you were driving that night or

            4   not?

            5          A   Correct.

            6          Q   Well, let me ask you this. When you got the radio run,

            7   with the description of the three male Blacks, did you write

            8   that down at the time you received it?

         9             A   No.

        10             Q   And this description of three male Blacks, did they

        11      have any age?

        12          A      I don't recall.

        13          Q      Did they have any height?

       14           A      I don't recall.

       15           Q      Did they have any weight?

       16           A      I don't recall.

       17           Q      And can you describe the area of 105th Street

       18       between -- is it between Northern and 32nd Avenue, is that --

       19           A      When I stopped Mr. Ball?

       20           Q      Well, the area where the call came in. The area of the

       21       robbery. Is that a residential or a commercial area?

       22          A       It's a mix of both.

       23          Q       Okay. And this was nine p.m. at night, correct?

       24          A       Yes.

       25          Q       And it was July 3rd, it was a holiday weekend; is that



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                                      P.O. PAMPENA-PEOPLE-CROSS/P0VMAN               38


            1   correct?
            2       A      Yes.
            3       Q      And there were pedestrians on the street; is that
            4   correct?

            5       A      Correct.

            6       Q      People on the street?

            7       A      Sure, it's New York, yes.

         8          Q      Exactly. And there were cars on the street.

         9          A      Yes.

        10          Q      And 105th Street that you were travelling down, is that

        11      a one-way street or a two-way street?
        12          A      One-way street.

        13          Q      And there is cars parked on either side?

        14          A      Yes.

        15          Q      And when you first observed Mr. Ball, he was coming

        16      towards you on --

        17          A       105th.

        18          O      -- 105th Street?
        19          A      Yes.
       20           Q      Did you ever see Mr. Ball on 104th Street and 32nd
       21       Avenue?
       22           A      No.
       23           Q      How far is 105th Street and 32nd Avenue to 104th and

       24       32nd Avenue? Is one city block?
       25           A      Yes..


                                                                                     hb
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                                      P.O. PAMPENA-PEOPLE--CROSS/POVMAN              39


            1       Q      So it is your testimony you never saw Mr. Ball at 104th

            2   and 32nd Avenue?

            3       A      Correct.

            4       Q      Okay and you told us that you responded in about 9:03

            5   p.m. that you had arrived at the scene of the robbery; is that

            6   correct?

            7       A      Correct, yes.

        8           Q      And is it also correct that you stopped Mr. Ball

            9   approximately three minutes later, at 9:06 p.m.?

       10                         THE COURT: Again, if you know the exact time.

       11           A      No. I stopped him before -- I stopped him before I

       12       went to 105th Street.

       13           Q      Are you familiar with this area?

       14           A      Yes.

       15           Q      And the bodega at 104-22 1 how far is that from where

       16       you first observed Mr. Ball?

       17           A      A block, maybe a block and a half at most.

       18           Q      Okay. Not in avenue, a block?

       19           A      Going from 32nd to Northern, it would be an avenue, one

       20       avenue and a half a block, a quarter of a block. The avenues

       21       are very short.

       22           Q      The avenues are very short?

       23           A      Yes, not like Manhattan. Very, very short avenue.

       24           Q      How long would it take you to travel from the bodega to

       25       the area that you observed Mr. Ball?



                                                                                   hb
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                                    P.O. PAMPEWA-PEOPLE-CROSS/POVMAN                     40


            1       A    In car or on foot?

         2          Q    On foot.

            3                   MS. SCHNEIDMILL: Objection.

         4                      THE COURT: Sustained.

         5          Q    How long did it take you to get in your automobile --

         6      how long did it take you to travel that block and a half?

         7          A    I never -- seconds. In the automobile.

         8          Q    So if I understand your testimony correctly, you don't

         9      remember whether -- withdrawn.

        10               When you first observed Mr. Ball coming down the

        11      street, was he alone or was he with someone?

        12          A    He was alone.

        13          Q    And did you immediately get out of the car?

       14           A    Yes.

       15           Q    Did you pull -- was the car stopped in the middle of

       16       the street?

       17           A    Yes.

       18           Q    And when you exited your car, did you have your gun

       19       drawn?

       20           A    No.

       21           Q    And you were in uniform; is that correct?

       22           A    Yes.

       23           Q    And what was the first thing you said to Mr. Ball?

       24          A     Nothing.

       25           Q    What was the first thing Mr. Ball said to you?



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                                      P.O. PAMPENA-PEOPLE-CROSS/POVMAN               41


            1          A   I just bought this phone from 105th Street. I just

            2   bought this phone from 105th Street and Northern Boulevard.

            3          Q   I am sorry, I don't understand. You saw him coming

            4   down 105th Street, right?

            5          A   He was running northbound on 105th Street from Northern

         6      Boulevard.

         7             Q   And you got out of your vehicle?

         8             A   At 105th Street and 32nd Avenue.

         9             Q   Okay. And you waited for him to come to you?

        10             A   He was running up the street. We stopped the car.

        11      got out of the vehicle. That's when he stated --

        12             Q   He was just there? When you got out of the vehicle he

        13      stopped by your vehicle?

        14             A   He stopped right in front of our vehicle.

        15             Q   Well, did you tackle him?

       16              A   Absolutely not.

       17              Q   So, I'm sorry. So Mr. Ball saw you get out of your

       18       car?

       19                         THE COURT: Sustained.

       20              0   Thank you. You got out of your car in uniform?

       21              A   Yes.

       22              Q   And Mr. Ball stopped right in front of you?

       23              A   Yes.

       24          0       So you didn't see -- you didn't tackle Mr. Ball?

       25              A   Absolutely not.



                                                                                     hb
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                                      P.O. PAMPENA-PEOPLE-CROSS/POVMAN               42


            1          0    Did you tell him to: Stop, police?

            2          A    No.

            3          Q    And what was the first thing he said to you?

            4          A    I just bought this phone from 105th Street and Northern

            5   Boulevard.

            6               He told you that he bought the phone on 105th Street

            7   and NorthernBoulevard?

            8          A    Yes.

            9          Q   And what did you say to him? What if anything did you

        10      say to him aftr that?

        11          A      I don't recall.

        12          Q      Did you handcuff him?

        13          A      Yes.

       14           0      Did you search him?

       15           A      Yes.

       16           Q      Did you find a knife on him?

       17           A      No.

       18           Q      Did you make any observations of his physical condition

       19       at that time?

       20          A       Yes.

       21          Q       Did he have any blood on him?

       22          A       Not that I can recall.

       23          Q       And was his clothes disheveled in any way?

       24          A       Yes.

       25          0       Do you have the arrest photo with you?



                                                                                   hb
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                                        P.O. PAMPENA-PEOPLE-CROSS/POVMAN              43


             1          A    No, I don't.

             2                      THE COURT: And, counsel, what do you mean by the

             3          clothes disheveled?

             4                     MS. PO\TMAN: Well, do you have the arrest photo,

            5           the original?

            6                      THE COURT: Meaning?

            7                      MS. POVMAN: I will withdraw the question.

            8        Q       Did you observe any cuts on Mr. Ball?

            9        A      Not that I can recall.

        10           Q       Did you observe any bruises on Mr. Ball?

        11           A      No.

        12           Q      And did you observe any blood on Mr. Ball?

        13           A      No.

        14           Q      Thank you. Now, Mr. Ball told you he had just bought

        15       the phone or found the phone?

                    A       I believe he said he got the phone from 105th.

                    Q       Got the   phone?

        18          A       Yes.

       19                          THE COURT: So did he say bought it, got it, found

       20           it? What word had he used?

       21                          THE WITNESS: I believe he said he got the phone

       22           from 105th Street and Northern Boulevard. He did not say

       23           that he found it.

       24                          MS. POVMAN: Okay, he got it.

       25           Q       Did you place Mr. Ball in your car at that time?



                                                                                     hb
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                                        P.O. PA14PENA-PEOPL-CRO53/PQVMAN              44


             1          A     Yes.

            2           Q    And did you radio that. you had a person in your car?

            3           A     I believe so.

            4           O    And was Mr. Ball transported to another location?

            5        A       Yes.

            6        O       And where was he transported?

            7        A       105th Street and Northern Boulevard.

            8        Q       At any time that night -- withdrawn.

            9                At the scene, at any time did you see Mr. Ball and

        10       Mr. Brooks together?

        11           A       No.

        12           O       If I understood your testimony, you never saw

        13       Mr. Brooks at 105th and Northern?

        14           A       Correct.

        15           Q       And it was -- Mr. Brooks was stopped by another set of

        16       officers?

        17           A       Yes.

       18            O       And he was transported away before you arrived at 105th

       19        and Northern?

       20            A       He was transported away as I was arriving, yes.

       21            O       And when you arrived at Northern Boulevard and 105th,

       22        Mr. Ball, was he removed from the automobile?

       23           A        Yes.

       24           Q       And was he placed against the front fender of the car?

       25           A       He was standing in front of the car.



                                                                                     hb
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                                          P.O. PAMPENA-PEOPLE-CRQSS/POvMAN            45


             1           O    He was standing?

            2            A    Yes.

            3            Q    Now, was he handcuffed at that time?

            4           A     Yes.

            5           Q    And were there -- was there anyone standing with him on

6                the street?

            7           A    Yes.

            8           Q    And were those uniformed police officers standing next

            9    to him?

        10           A       Yes.

        11           O       And how many uniformed police officers were standing

        12       next to him?

        13           A       I believe I was with one other person.

        14           O       Was there one on each side of Mr. Ball?

        15           A       I believe one person, so on one side.

       16            Q       And he remained handcuffed at the time the complainant

       17        made the identification?

       18            A       Yes.

       19            Q       So, it was Mr. Ball standing with two uniformed police

       20        officers?

       21            A       No.

       22                            THE COURT: One, he said.

       23           Q        Just one police officer?

       24                            THE COURT: Correct?

       25           A        I never said two.



                                                                                    IM
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                                     P.O. PAMPENA-PEOPLE-CROSS/POVMAN                46


           1       Q       I am sorry, I thought you were with another officer?

           2       A       I was with another officer.

           3       Q       Was he standing with you on the street with Mr. Ball?

           4       A       I was in the ambulance whenever the ID process

        5      happened.

        6          Q       Okay. I am sorry. I misunderstood. So when you

        7      arrived at 105th and Northern, the complainant was in the

        8      ambulance?

        9          A       Yes.

       10          Q       And where was your car in reference to the ambulance?

       11          A       I was parked behind the ambulance, a couple of car

       12      lengths behind the ambulance.

       13          Q       Okay. So when you say a couple of car lengths, what is

       14      it about, can you estimate?

       15          A       Three car lengths?

       16          Q       Three car lengths. And 105th and Northern, is that

       17      commercial or residential over there?

       18          A       Commercial.

      19           Q       So did you use a flashlight or something to illuminate

      20       Mr. Ball?

      21           A       No.

      22           Q       So it's your testimony that at the time the

      23       identification was made, the complainant was three car lengths

      24       away from Mr. Ball?

      25           A       Yes.



                                                                                   hb
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                                       P.O. PAMPENA-PEOPLE-CROSS/ POVMAN              47


             1            And he was seated in the ambulance?

             2                    THE COURT: He who?

             3       A    No.

            4        Q    The complainant. He was standing outside the

            5    ambulance?

            6        A    No, he looked out of the ambulance.

            7        Q    When you say he looked out the ambulance, out the back

            8    door, the back window?

            9        A    The back door. It's the barn doors of the ambulance.

        10       They are wide open.

        1            Q    Was Mr. Ball ever brought over to the ambulance?

        12          A     No.

        13          Q     And was the complainant ever transported to Mr. Ball?

        14          A     No.

        15                       THE COURT: And was Mr. Ball front cuffed or rear

       16           cuffed?

       17                        THE WITNESS: He was rear cuffed.

       18                        THE COURT: And as he was standing in front of

       19           this car, was he facing toward the rear of the ambulance, or

       20           was his back to the rear of the ambulance, or was his

       21           profile to the rear of the ambulance?

       22                        THE WITNESS: He was facing the rear of the

       23           ambulance.

       24                        THE COURT; Okay. And from that position, his

       25           hands were behind his back?



                                                                                 hb
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                                       E.O. PAMPENA-PEOPLE-CROSS/POVMAN                 48


             1                     THE WITNESS: Yes.

            2                      THE COURT: From your position inside the

            3           ambulance, could you see his hands?

            4                      THE WITNESS: No.

            5                      THE COURT: Miss Povman?

            6                      MS. POVMAN: All right.

            .7       Q      Now, Officer, you told us that you recovered an iPhone

            B    from Mr. Ball; is that correct?

            9        A      Yes.

        10           Q      And did you show the iPhone to the complainant in this

        11       case?

        12           A      Yes.

        13           Q      And was that before or after the identification?

        14           A      It was before.

        15           Q      So when you arrived at 105th and Northern, you brought

        16       the iPhone over to the complainant first?

        17           A      Yes.

        18           Q      And I believe you told us that you asked him to --

       19            A      I asked him for the password.

       20            Q      The code or the password?

       21           A       Yes.

       22           Q       So did you tell the complainant that you recovered the

       23        iPhone from the individual standing by the police car?

       24           A       No.

       25           Q       Where did you tell the complainant you recovered the



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                                                                                        7
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                                      P.O. PAMPENA-PEOPLE-CROSS/ POVMAN               49


            1   phone?

            2                   THE COURT: If you did.

            3       Q     If you did.

            4       A     I never told him that I recovered the phone from the

            5   complainant. I said, is this the phone. He said yes.

            6            I asked him for the password to make sure it was his

            7   phone; he gave me the password.

            8       Q    Okay. After the complainant identified the telephone,

            9   did you go back to Mr. Ball?

        10          A    Yes.

        11          Q    And did you tell Mr. Ball that the complainant IID'd the

        12      phone?

        13          A    No.

        14               You said that Mr. Ball made a second statement to you?
                    r
        15          A    Yes.

        16          Q    And that statement, I believe, was, if the guy says

        17      it's his, it's his?

        18          A    It must be his.

        19          Q    It must be his?

        20          A    Yes.

       21           Q    Did you tell Mr. Ball that the guy IDd the phone?

       22           A

       23           Q    Mr. Ball just spit that out?

       24          A     He asked me what he was being charged with. I said he

       25       was being charged with robbery. He goes, it's -- what I stated:



                                                                                     hb
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                                     P.O. PAMPENA-PO?LE-CROSS/PIMENTEL                50


             1   He says it's his, then it must be his.

             2       Q    But he never told you that he had robbed the phone; is

             3   that correct?

             4       A    He never stated that to me.

             5       Q    Right. He told you that he had got the phone on 105th

             6   and Northern?

             7       A    Yes.

8                                MS. POVMAN: Judge, I just need about five minutes

             9       to go over some notes. Mr. Pimentel can do his cross.

        10                       THE COURT: Sure, if he wants.

        11                       MR. PIMENTEL: Sure.

        12                       MS. POVMAN: Thank you, Judge.

        13       CROSS-EXAMINATION

        14       BY MR. PIMENTEL

        15           Q    Good afternoon, Officer.

        16           A    How are you?

        17           Q    Sir, did you observe my client at any point in time on

        18       105th Street?

        19           A    Who is your client?

        20           Q    Mr. Brooks.

        21           A    No.

        22           Q    Other than Mr. Brooks, you and Mr. Ball, was anyone

        23       else arrested in this case?

        24          A     No.

        25          Q     Other than Mr. Brooks, was anyone else arrested on



                                                                                     hb
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                                        P.O. PAMPENA-PEOPLE-CROSS/PIMENTEL           51


            1    105th Street?

            2          A    Mr. Ball.

            3          Q    Mr. Ball was arrested on 105th Street?

            4          A    Yes.

            5          Q    So Mr. Ball and Mr. Brooks were the only two

            6   individuals that were arrested on 105th Street?

            7          A    At that time and that date, yes.

            8          Q    Earlier you indicated you had a conversation with

                Mr. Elturky?

        10             A    Yes.

        11             Q    And during that conversation, he described what

        12      occurred?

        13             A    Yes.

        14                         THE COURT: Did he? You know, that's a statement

        15             or a question?

       16              Q    Did the complainant describe to you what occurred, to

       17       you?

       18              A    Yes.

       19              Q   And what exactly did he state, if you recall?

       20              A   He stated that your client Mr. Brooks started the

       21       assault on him. He started, attacked him, punched him, kicked

       22       him about the face, the body. That's when Mr. Ball jumped in

       23       and started to help.

       24                          THE COURT Now, just to make sure that we are

       25           clear: At the time that this statement is being made to you



                                                                                    hb
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                                   P.O. PAF4PENA-PEOPLE-CROSS/PIMENTEL               52


            1       by Elturky, does Elturky have a name of any of these two

         2          individuals?

         3                    THE WITNESS: No.

         4                    THE COURT: So and at this point, Mr. Brooks is

         5          not at the scene?

         6                    THE WITNESS: Correct.

         7                    THE COURT: So in describing what it is that

         8          Elturky said, if you can, just use the words that he used.

         9                    THE WITNESS: Correct.

       10                     THE COURT: Please.

        11                    THE WITNESS: He stated the big Black guy with the

        12          shaved head was the one that started assaulting him when he

       13           came out of the check cashing place. Then a smaller Black

       14           guy began to help assault him. The smaller Black guy went

       15           into his pockets and took his phone and his wallet.

       16          Q    What was the exact description he gave of the bigger

       17       Black guy? Did you ask him for height?

       18          A    No.

       19          Q    Weight?

                   A    No.

                   Q    Any distinguishing features?

       22          A    Other than a big Black guy with a bald head.

       23          Q    Did he describe -- did he indicate what he was wearing?

       24                     THE COURT: Sorry, counsel. And you said "bald

       25          head, you said "shaved head." Or --



                                                                                     hb
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                                    P.O. PAMPENA-PEOPLE-CROSS/PIMENTEL               53


            I                    THE WITNESS: Sorry. I cannot be exact on

            2       exactly -- he said shaved or bald head, but there is no hair

            3       on the guy's head that started the assault on him.

            4       Q     Did he describe whether he had any facial hair?

            5       A     Not that I can recall.

         6          Q     When he described the assault, were they facing each

         7      other?

         8                       THE COURT: Who facing?

         9          Q     Was the victim face-to-face with the person they were

       10       assaulted by?

       11           A     I don't recall.

       12           Q     You don't recall if he was hit from the front, from

       13       behind?

       14           A     Don't recall.

       15           Q     Do you recall how many times he indicated he was hit?

       16           A     No.

       17           Q     Was he hit only with the fist or was he also hit with

       18       feet?

       19           A     He told me he was kicked and punched.

       20           Q     Was he punched while he was standing up or was did he

       21       indicate he was on the ground?

       22           A     Don't recall.

       23           Q     Did you go back to the scene of where the actual

       24       assault and robbery took place?

       25          A      Yes.



                                                                                  Mai
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 59 of 907 PageID #: 422


                                  P.O. PAMPENA-PEOPLE-CROSS/PIMENTEL                 54


            1     Q    Did you have an opportunity to inspect the scene?

         2        A    Yes.

            3                 THE COURT: Well, was the scene the place where

         4        the assault had taken place, how far was that scene from

         5        this bodega at the corner of 105th and Northern?

            6                 THE WITNESS: Within feet. Not a great distance.

         7                    THE COURT: So would it be a car length?

         B                    THE WITNESS: I would say about a car lerigth

         9        Part of two car lengths.

        10                    THE COURT: And was it on the sidewalk or in the

        11        streets, the place of this assault?

       12                     THE WITNESS: The assault was on the sidewalk and

       13         she was on the curb. Whenever I went back, it was on the

       14        corner of 105th and Northern, on the south side, and there

       15        was blood on the sidewalk and the curb and the gutter.

       16                     THE COURT: So is the bodega on the south side of

       17        Northern Boulevard?

       18                     THE WITNESS: Yes.

       19                     THE COURT: And so this assault and the curb, your

       20        saying, that is maybe between perhaps two car lengths from

       21        the entrance into that bodega?

       22                     THE WITNESS: Yes.

       23                     THE COURT: And this area that you observed the

       24        blood, was it both on the sidewalk and in the gutter?

       25                     THE WITNESS: Yes.
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 60 of 907 PageID #: 423


                                   P.O. PA11PENA-PE0PLE-CROSS/PIMENTEL               55


            I                   THE COURT: Counsel?

            2        0    And you said this occurred in front of a check cashing

            3   place?

            4        A    Yes. I believe Mr. Elturky went into the bodega to use

            5   the phone to call 911. That's the reason why 104-22 Northern

            6   Boulevard, that's why he gave us that location, that's where the

            7   complainant was at.

            8             The actual assault occurred at the corner. It would be

            9   the southwest corner of 105th Street and Northern Boulevard

        10      which is directly in front of the check cashing place.

        11                     THE COURT: And so then how many storefronts is

        12          this check cashing service from the entrance into the

        13          bodega?

        14                     THE WITNESS: I believe just one place in between

        15          it.

       16                      THE COURT: Okay. So it was two storefronts from

       17           the bodega?

       18                      THE WITNESS: No, I believe it's the cash cashing

       19           place, the miscellaneous store and the bodega.

       20                      THE COURT: Okay.

       21           Q     When you spoke to Mr. Elturky, did he describe a third

       22       person?

       23                     MS. SCf{NEIDMILL: Objection. This witness already

       24           testified that Mr. Elturky told him there was only two

       25           people involved.



                                                                                 hb
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                                   P.O. PAMPENA-PEOPLE-CROSS/PIMENTEL                56


         1                     THE COURT: Sustained.

         2        Q      You recall receiving a radio run that it was three male

         3    Blacks?

         4        A      No.

         5        Q      You don't recall that?

         6        A      No.

         .7       Q      Is there anything that would refresh your recollection

         8    to that?

        9        A       Frorn the incident, if I remember, I just heard male

       10     Blacks. I don't remember the number that it was with or five.

       11     I just know male Blacks, white tee shirt, black pants.

       12                      MR. PIMENTEL: Nothing further, your Honor.

       13                      THE COURT: Counsel? Anything?

       14                      MS. POVMAN: Nothing further.

       15                      THE COURT: People?

       16                      MS. SCFINEIDMILL: Nothing further, Judge.

       17                      THE COURT: Thank you, Officer.

       18                      (whereupon, the witness was excused from the

       19        witness stand.)

       20                      THE COURT: People, any further witnesses?

       21                      MS. SCHNEIDMILL: No further witnesses.

       22                      THE COURT: You rest?

       23                      MS. SCHNEIDMILL: Yes, People rest.

       24                      THE COURT: And any defense witnesses?

       25                      MS. POVMAN: No, the defendant Ball rests for the



                                                                                 hb
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                                             PROCEEDINGS -                           57


            1     purpose of the hearing.

            2                THE COURT: Would you each care to rest on the

            3     record or argue the evidence as you've heard it?

            4                MS. POVMN: Just I'd like to be heard very

            5     briefly. I would move to suppress the arrest of Mr. Ball

            6     and all the physical evidence seized from him.

            7                I submit, Judge, that this police officer did not

            8     have sufficient information or sufficient specific

            9     information to stop Mr. Ball on the street, handcuff him,

        10        place him in a radio car and transport him to the

        11        identification location.

        12                   The radio run said three male Blacks, no height,

       13        no weight, no age, and lacked specificity. And there was no

       14        probable cause to arrest the defendant and transport him to

       15        the identification location, Judge.

       16                    The identification itself, I would submit, is

       17        suggestive because Mr. Ball was handcuffed and in the

       18        presence of one or two uniformed officers.

       19                   He was viewed at nighttime from three car lengths

       20        away, according to the officer. The victim never even got

       21        out of the ambulance to look closely at Mr. Ball.

       22                   Further, the fact that the police officer showed

       23        the cell phone to the victim just prior to displaying one

       24        individual in handcuffs, I submit is highly suggestive.

       25                   And I would ask that both the identification and



                                                                                 hb
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                                           - PROCEEDINGS -                           58


            1     the physical evidence be suppressed.

         2                   THE COURT: Counsel?

            3                MR. PIMENTEL: Your Honor, I would ask that the

            4     identification as to Mr. Brooks also be suppressed. T1ere1

         5        is no particular description with any specificity.

            6                The testimony of Officer Lanning was that

         7        Mr. Brooks - the alleged complainant identifies Mr. Brooks

         8        while Mr. Brooks is standing in the street at night next to

         9        another individual, while the complainant is still inside

        10        the patrol vehicle.

        11                   The description that comes over is three male

        12        Blacks, white pants -- white shirt, black pants. Nowhere

       13        was it mentioned that Mr. Brooks, in the first description,

       14         that he had a bald head.

       15                    Additionally, when Mr. Brooks was arrested he was

       16        wearing a hat, a red hat which Officer Lanning testified to,

       17        which calls into question the alleged victim's description

       18        of Mr. Brooks to be even correct. There is no way of

       19        knowing if he even had a vantage point of being able to

       20        correctly identify Mr. Brooks after the incident.

       21                   The other piece of evidence is that both officers

       22        came in and testified that the alleged victim was bleeding

       23        profusely. Mr. Brooks was wearing a white shirt. If

       24        Mr. Brooks was the person that had been attacking him, it

       25        would surmise that some blood would have fell on him.



                                                                                     hb
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                                           - PROCEEDINGS -                           59


            1                Now, with regard to Mr. Ball's first statement, I

           2      got the phone from someone at 105th, I ask the Court to

            3     suppress that statement pursuant to Rubin and Cruz.

            4                The evidence establishes that the only person

           5     arrested on 105th Street, other than Mr. Ball, was

           6     Mr. Brooks.

           7                 There is no way a jury would not believe that this

           8     statement totally incriminates my client. No other person

           9     was arrested. So there is no way to allow that to come in

       10        on a joint trial and my client not be prejudiced.

       11                   THE COURT: People, anything or just rest on the

       12        record?

       13                   MS. SCHNEIDMILL: People would rely on the record,

       14        your Honor.

       15                   THE COURT: A suppression hearing was just held by

       16        this Court relative to both of these named defendants.

       17                   And this Court gives full credence to the

       18        testimony of the People's witnesses including the two

       19 1      officers, Police Officer Daniel Lanning and Police Officer

       20        Angelo Pampena.

       21                   And as they related, and now relative to the

       22        Dunaway issue and the Wade issue, at the time that these

       23        officers were separately on patrol, each one in the confines

       2         of the 115th Precinct, each one on duty approximately nine

       25        p.m., on the night of July 3, 2012.



                                                                                 hb
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                                           - PROCEEDINGS -                            60


            1                Each had received a radio run of a past robbery

         2        and identified where the complainant could be found.         he

         3        officers had responded separately to that location which is

         4        in front of a bodega, which is at the corner of 105th and

         5        Northern Boulevard.                        -

         6                   At the time that they arrived, certainly now as

         7        far as Police Officer Lanning is concerned, while he had

         8        reason to recall that the radio run had described three male

         9        Blacks, the content of that run was that the male Blacks

        10        were wearing a white shirt and black pants.

        11                   When the officer, meaning Lanning, arrived, the

        12        complainant Mr. Elturky had literally told him he, the

       13         complainant, was bleeding, had told him that they had run in

       14         that direction, meaning, I believe it was southbound on

       15         105th Street.

       16                    The officers had placed the complainant in the

       17        car, driven half a block down that street and saw literally

       18        a male Black wearing a white shirt, black pants. That male

       19        Black was with one other. But the complainant had told that

       20        officer that the male Black in the white shirt, black pants

       21        is one of the male Blacks involved in his robbery.

                            Under the circumstances, the officers had

                 sufficient information upon which to stop in this case

       24        Mr. Brooks -- yes, to stop Mr. Brooks. The identification

       25        of Mr. Brooks by the complainant was immediate. So the



                                                                                     hb
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                                            - PROCEEDINGS -                          61


            1     officers had probable cause to stop and arrest the

            2     defendant.

            3                  It seems to this Court that that stop was based

            4     on -- not the stop -- the identification of this defendant

            5     was in a short time and distance from the scene of this

            6     crime, that the actions of the police had lacked

            7     suggestiveness.

            8                  And so the motion by Mr. Brooks to suppress both,

            9     the theory being that a lack of probable cause and

        10        unreasonable police conduct, on both the Dunaway issue and

        11        the Wade issue, again, as to Mr. Brooks, is respectfully

        12        denied.

        13                     And now as to Mr. Ball. The officer testified to

       14         the route that he had taken in responding to 105th and

       15        Northern Boulevard, that he was driving northbound. He was

       16        driving toward Northern Boulevard on 105th, I believe. He

       17        was driving toward 105th and Northern.

       18                    He sees a male Black wearing black pants and a

       19        white shirt literally, running in the direction of the

       20        police car. Meaning that the person that he described as

       21        defendant Ball was literally running toward the front end of

       22        the police officer's car. They were corning closer and

       23 1      closer together.

       24                   As the officer had observed Ball, then he saw Ball

       25        wearing, again, black pants and a white shirt. He sees him



                                                                                 hb
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                                           - PROCEEDINGS -                           62


             1    carrying a cell phone and, without any questions being asked

            2     of Ball, Ball volunteered that this cell phone that he had

            3     in his hands, he had gotten the phone from 105th and

            4     Northern.

            5                 So the statement by the defendant -- first he

            6     matched the description. He then volunteers that he has

            7     just come from the area in which the officers had reason to

                  believe that there was a robbery that was committed. The

            9     officers had probable cause to arrest the defendant.

        10                    The defendant is at that point brought back to the

        11        scene of this crime. But before, at some point in the

        12        process, the officers searched Ball and he has cash on him

        13        in the denominations of one hundred-dollar bill, seven

        14        twenties and one ten -- one ten-dollar bill.

       15                     And at the time that the officer actually meets

       16        the complainant at the back of the ambulance at 105th and

       17        Northern, the complainant tells the officer that what had

       18        been taken from him was money in the denominations of a

       19 1      hundred-dollar bill, seven twenties and one ten, that also

       20        taken from him was an iPhone.

       21                     The officer had in his possession the iPhone that

       22        he recovered from this defendant, meaning defendant Ball.

       23        There was a password that was associated with that phone
       24        that was given to the officer by the complainant, and that

       25        password unlocked that phone.
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                                           - PROCEEDINGS -                           63


            1                So relative to Ball, the police officer -- the

            2     Dunaway issue and Wade issue, again, the police officers had

            3     probable cause to arrest the defendant.

            4                The actions of the defendant in setting up the

            5     identification of defendant Ball lacked suggestiveness. It

            6     happened a very short time after this robbery, a very short

            7     distance from this robbery. And the motion to suppress the

            S     identification and the arrest is respectfully denied.

            9                As to -- the money and the cell phone was found

        10        incident to a lawful arrest of defendant Ball. And so the

        11        motion made to suppress the money that had been recovered

        12        from Ball and the iPhone that was recovered from Ball,

        13        also denied.

        14                   As to the statements made eventually by Ball, each

        15        of those statements were made, the first one being, I just

       16        got the phone from 105th and Northern, that statement made

       17        by Ball was not in response to any statement made by the

       18        officer to Ball. And so that statement was voluntarily

       19        made. And so the motion to suppress that statement is

       20        denied.

       21                   As to the second statement, and it was in sum and

       22        substance, if the guy says it's' his, it must be his; that

       23        statement was made in response to the question asked by

       24        Ball, what am I being charged with. The officer tells him

       25        what he's being charged with, and then the defendant makes



                                                                                 hb
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                                           - PROCEEDINGS -                           64


         1       that statement. Again, that statement is not in response to

        2        any question asked of 2a11 by the officer. And so it was

        3        voluntarily made.

        4                   And the motion made then to suppress both of those

        5        statements is denied.

        6                   And I believe that that covers all the issues that

        7        had been addressed at this hearing. And again, the motions

        8        were made by each defendant to suppress, the probable cause,

        9        to arrest, the identifications of the defendants. And

       10        relative to Ball, the motion to suppress the property that

       11        was recovered and the statement's made by the defendant Ball,

       12        the motions are again respectfully denied.

       13                    I have to have this matter adjourned for a day

       14        certain for trial. Counsel?

       15                   MS. POVMAN: Judge, may I order the minutes

       16        pursuant to 18-s?

       17                   THE COURT: Yes.

       18                   MR. PIMENTEL: Your Honor, you didn't address my

       19        Bruton portion of the first statements, where it implicates

       20        my client. My client will be subject -- won't be allowed to

       21        cross-examine the declarant on that statement, and the only

       22        person connected to 105th Street is my client.

       23                   THE COURT: Well, the only person that was

       24        addressed -- he is connected to that street by the

       25        complainant who identified him within a half a block. The



                                                                                 hb
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                                             - PROCEEDINGS -                          65


            1       application -- the Bruton application is denied.

            2                 Anything else, counsel?

            3                 MS. SCHNEIDMILL: No, your Honor.

            4                 THE COURT: Okay. Day certain for trial?

         5                    MS. SCHNEIDMILL: TAP-A.

            6                 THE COURT: Yes, back in TAP-A for a day certain.

         71         And again, counsel, there was a prehearing offer made to the

         8          defendants. People, is that offer still on the table?

         9                    MS. SCHNEIDMILL: If they wanted it today, but

        10          today is the last day for that offer.

        ii                    THE COURT: You know, you Mr. Ball and you

        12          Mr. Brooks, the way these things normally work is at the

        13          earlier point in the proceedings in which these offers are

        14          made, then it only gets higher later.

        15                    So, you know, the only people that can make a

       16           decision to plead and to take the lower offer, are you. If

       17           that's something that you want, it's available. If not,

       18           then we will have the matter adjourned back to TAP-A, and

       19           you will deal with another Judge at that point.

       20                     DEFENDANT BALL: I have what you call a medical

       21           form here and what happened is, they asked me to have you

       22       1
                    fill out or give what you call a Court Order in order to

       23           subpoena the medical records because, you know, I have

       24           medical records that indicates me and my hand being severed,

       25           disabled in this hand.



                                                                                     hb
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            1                And so the records, they can't give them to me

         2        unless you will order them, you know, give me a Court Order

            3     for the medical.

         4                   THE COURT: Well, I've never - normally even in

         5        Corrections there is some records, medical records that you

         6        have had from other hospitals that they need in order to

         7        properly care for you.

         8                   DEFENDANT BALL: No, I mean, as part of for my

         9       defense. Because --

       10                    MS. POVMAN: Judge, he handed me a request for

       11        release of medical information, but I don't see anywhere on

       12        the document where the Court would sign it, it seems to me.

       13                    DEFENDANT BALL: That's what they told me.

       14                   MS. POVMAN: I know but there is no place here.

       15        We will have   to prepare a subpoena in TAP-A.

       16                    DEFENDANT BALL: Thank you.

       17                   THE COURT: A date, counsel, back in TAP-A?

       18                    DEFENDANT BALL: Thank you.

       19                   MS. POVMAN: It's for you to sign.

       20                   THE COURT: What about Tuesday, June 25th?

       21                   MS. POVMAN: That's fine.

       22                   MR. PIMENTEL: That's fine.

       23                   MS. SCF{NEIDMILL: That's fine.

       24                   THE COURT: Done.

       25                   THE CLERK: What date?



                                                                                 hb
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                                            - PROCEEDINGS -                           67


            1                 THE COURT: Tuesday, June 25th. TAP-A.

            2
                        *********** ** ******* ************ **
            3   CERTIFIED TO BE A TRUE AND ACCURATE TRANSCRIPT OF THE ORIGINAL
                STENOGRAPHIC MINUTES TAKEN OF THIS PROCEEDING.
            4
                                          (C           .-
            5                               HELEN BOUKAS
                                            Senior Court Reporter
            6

            7

            8

         9

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       24

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                                                                                     hb
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                                                                         1


   1   SUPREME COURT OF THE STATE OF NEW YORK
       COUNTY OF QUEENS: CRIMINAL TERM, PART K-20
   2   ---------------------------------------X
       THE PEOPLE OF THE STATE OF NEW YORK,   :
   3                                          : Ind. No.
                                              : 2228-12
   4             -against-                    :
                                              :
   5   RAYMOND BALL and ELIJAH BROOKS,        : Calendar Call
                                              :
   6                            Defendants.   :
       ---------------------------------------X
   7

   8                                      December 16, 2013
                                          Queens Supreme Court
   9                                      125-01 Queens Boulevard
                                          Kew Gardens, New York 11415
 10

 11    B E F O R E :                      HON. RONALD D. HOLLIE,
                                          Justice, Supreme Court
 12

 13    A P P E A R A N C E S :

 14    For the People:

 15    THE HONORABLE RICHARD A. BROWN,
       District Attorney, Queens County
 16
       BY: MS. SCHNEIDMILL, Atty.
 17        Assistant District Attorney

 18    For the Defendant Ball:

 19    LINDA POVMAN, ATTY.
       123-35 82nd Road
 20    Kew Gardens, New York

 21    For the Defendant Brooks:

 22    ALEXIS PIMENTEL, ESQ.
       37-53 90th Street
 23    Jackson Heights, New York

 24

 25                                    Alan H. Kimbarow, RPR
                                       Senior Court Reporter
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   1                    COURT CLERK:     Come to order.     Calendar No. 2,

   2        indictment No. 2228 of 2012, People versus Raymond Ball and

   3        Elijah Brooks.

   4                    THE COURT:     Appearances, please, counsel.

   5                    MR. PIMENTEL:     Good afternoon.     For Mr. Brooks,

   6        Alexis Pimentel, 37-53 90th Street, Jackson Heights, New

   7        York, 11372.

   8                    THE COURT:     Good afternoon, counsel.

   9                    MS. POVMAN:     On behalf of the Defendant Ball,

 10         Linda Povman, 123-35 82nd Road, Kew Gardens, New York.             Good

 11         morning -- good afternoon, your Honor.

 12                     MS. SCHNEIDMILL:       Naomi Schneidmill, for the

 13         People.    Good afternoon, your Honor.

 14                     THE COURT:     Good afternoon, counsel.

 15                     Defendants are produced and being brought into the

 16         courtroom now.

 17                     COURT OFFICER:     Yes, Judge.

 18                     COURT OFFICER:     One coming out.

 19                     THE COURT:     How are you, sir?

 20                     DEFENDANT BALL:        I'm looking forward to seeing

 21         you.

 22                     COURT OFFICER:     Just slide down.

 23                     DEFENDANT BALL:        I'm looking forward to seeing

 24         you.

 25                     THE COURT:     Okay.
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   1                     COURT OFFICER:     All right.   One coming out.

   2                     THE COURT:   Both defendants are now present.

   3                     This matter is still in a hearing posture.         And,

   4        People, you were ready for that continued hearing today?

   5                     MS. SCHNEIDMILL:    We were ready, your Honor.         I

   6        believe I knew that the Court was engaged on trial.            My

   7        officers had been notified, but once I knew that the trial

   8        was continuing I had canceled them for today.           But we were

   9        ready to proceed.

 10                      THE COURT:   And, for the record, as counsel has

 11         mentioned, this part is on trial.         I can't do the continued

 12         hearing today.     And it is in a stage where it is not a

 13         hearing that can be farmed out to any other judge, so it has

 14         to be heard by me.

 15                      It cannot be heard today, so it will have to be

 16         adjourned.    Counsel, prior to the matter being adjourned, I

 17         understand there's a defense application?

 18                      MR. PIMENTEL:    Yes.   At this point in time we have

 19         been on this case several times.        My client has been in for

 20         14 months.    There's been no forward progress in the case.              I

 21         would ask if your Honor would consider to reduce his bail.

 22         He previously had bail, made bail and was out on bail.              He

 23         returned to every court date.        He's not going to be a flight

 24         risk.   We would just ask --

 25                      THE COURT:   If he had been out on bail on this
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                                   Proceedings                           4


   1        matter and is now in, what happened that his status was

   2        changed?

   3                    MR. PIMENTEL:     He was subsequently arrested for

   4        another matter which was ACD'd in November.

   5                    THE DEFENDANT:     March.

   6                    MR. PIMENTEL:     March.     So, he's been in for the 14

   7        months.    Unfortunately, because of the motions that have

   8        gone back and forth, he doesn't have enough time for a 30 --

   9        30.20 motion.

 10                     But I would ask your Honor, in light of all the

 11         delays and circumstances of this case to consider reducing

 12         his bail so he could come out -- so his family could afford

 13         the bail and he could come out.

 14                     THE COURT:    People, what's your position?

 15                     MS. SCHNEIDMILL:     Your Honor, at this time there's

 16         no reason to reduce his bail.          There has been no undo delays

 17         in this case.     This case stems from an incident July 2012.

 18         Both defendants were indicted around September.           Defendant

 19         Brooks, who Mr. Pimentel represents --

 20                     THE COURT:    Indicted September of what date?

 21                     MS. SCHNEIDMILL:     2012.     Defendant Brooks filed a

 22         190.50 motion at some point which had, he had succeeded, had

 23         his indictment dismissed.

 24                     People re-presented in February 2013, this year,

 25         where he was then indicted again.          A motion to consolidate
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                                   Proceedings                           5


   1        was done.     Motions on that indictment were done.         The case

   2        was quickly moved to hearing stage and, in fact, the People

   3        were ready for trial before a motion was made to reopen the

   4        hearing.

   5                    So, there's been no delay on the part of the

   6        People in moving this case.        People were ready to do this

   7        trial months ago.      Once a motion was made to reopen the

   8        hearing and granted by this Court, that's the stage we have

   9        been at now for a few months.

 10                     At this point there's been no reason for the bail

 11         to be reduced because there has been no delay on the part of

 12         the People as to moving this case to trial.

 13                     THE COURT:    Unfortunately.     Well, fortunately --

 14         well, the reality is that there's been no delay on behalf of

 15         the People.     This is a matter that's still in the hearing

 16         posture because of the appropriate actions taken on the

 17         defendant's behalf by his counsel.         I just would want and

 18         ask that the People be ready for the continued hearing on

 19         the adjourn date, and once that date is chosen, I will keep

 20         that date aside, you know, to make sure that even if I am on

 21         trial then the trial will have to be worked around that

 22         hearing.

 23                     MS. SCHNEIDMILL:     Your Honor --

 24                     THE COURT:    I just need a firm date, counsel, for

 25         each side to be ready.
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                                   Proceedings                           6


   1                    MS. SCHNEIDMILL:     The only thing I would say, in

   2        terms of next date for hearing, your Honor, is that we --

   3        the posture in which this hearing is to be re-opened is to

   4        admit an ambulance report.       And in doing so, I believe both

   5        defense counsels want to cross-examine the witness that had

   6        testified at this hearing prior, so there's two witnesses,

   7        two police officers which were both available for today and,

   8        as I indicated to both defense counsels off the record, one

   9        of them is available all of January and one of them is not

 10         available until after January 22.

 11                     So, I have no problem picking an early January

 12         date to start it for the one officer, but if they intend to

 13         call and cross-examine the other witness, it will have to be

 14         continued because that other officer is in training and then

 15         he's away for two weeks on vacation.

 16                     THE COURT:    Counsel, is it possible after an

 17         examination of one that you would no longer need the second,

 18         or is it your position you'll need to examine both?

 19                     MR. PIMENTEL:     Probably need to examine both.        But

 20         until getting testimony from the first one, I couldn't make

 21         that determination at this point.

 22                     THE COURT:    Let's pick a date that we can hear

 23         from the one.     My understanding is that it's on a limited

 24         issue surrounding the ambulance and what the officer saw and

 25         did relative to the arrival of that ambulance.
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                                   Proceedings                           7


   1                     MR. PIMENTEL:     And relevant to the time of the

   2        incident taking place.

   3                     MS. POVMAN:     And the identification.

   4                     MR. PIMENTEL:     And the identification.

   5                     THE COURT:    What date can we be ready for that

   6        first officer?

   7                     MS. PIMENTEL:     January 8, your Honor.

   8                     MR. PIMENTEL:     Yes.

   9                     MS. POVMAN:     Judge, just two things I want to

 10         briefly put on the record.        Number one.    The district

 11         attorney has conveyed an offer off the top count of the

 12         indictment of a D non-violent felony with 2 to 4 years,

 13         which I have conveyed to Mr. Ball, and he's indicated he's

 14         not interested in that offer.

 15                      And when I spoke to him on Friday, he indicated to

 16         me that he wants a new lawyer.

 17                      DEFENDANT BALL:     Your Honor, may I speak?       I

 18         apologize.

 19                      THE COURT:    Very briefly, sir.

 20                      DEFENDANT BALL:     What happened is my lawyer, she

 21         explained to me her position, as far as her experience as a

 22         lawyer, has brought her to the conclusion that considering

 23         there's perjured testimony being used to prosecute me that

 24         it has no relevancy to my case.        And for that reason I feel

 25         that --
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                                   Proceedings                           8


   1                     THE COURT:   I think that you, I've known your

   2        counsel and the quality of her work for many, many years.

   3                     DEFENDANT BALL:    Right.

   4                     THE COURT:   So you're interpretation, I know it's

   5        one that you firmly have.

   6                     DEFENDANT BALL:    But --

   7                     THE COURT:   Hold on.    I think you might have taken

   8        what she said out of --

   9                     DEFENDANT BALL:    I'm sure you think so.

 10                      THE COURT:   The application to relieve her is

 11         respectfully denied.

 12                      DEFENDANT BALL:    Actually I'm asking, would you

 13         consider allowing me to go pro se because of the fact what I

 14         did is, I prepared my legal defense for myself thus far

 15         since I've been arrested.       May I continue, please?

 16                      THE COURT:   No, no, no.     At this point we're in a

 17         hearing posture.     This hearing is going to be adjourned to

 18         January 8.    I'm setting up a point in that day in the

 19         morning that this matter could be heard.

 20                      As to that next witness and the application you're

 21         making for change of counsel or to represent yourself will

 22         have to be made before the trial judge.          I'm not going to be

 23         the trial judge, I'm only doing the hearing.

 24                      And, so, the application to represent yourself in

 25         the course of this hearing is denied.
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   1                    DEFENDANT BALL:       Your Honor, I just want you to

   2        understand.    My lawyer, she has went on the record, you

   3        know, indicating that she's not going to be able to defend

   4        me considering that, you know, there's perjured testimony

   5        being --

   6                    THE COURT:    Sir.    There's nothing more for me to

   7        say.   She is your lawyer.        She will be your lawyer for the

   8        balance of this hearing, and that hearing date is January 8

   9        for the first witness, and probably sometime later in that

 10         month for the second.

 11                     DEFENDANT BALL:       Thank you.

 12                     MR. PIMENTEL:     I similarly want to convey, on the

 13         record, I informed my client of the same offer, and he

 14         indicated to me he's not interested in any offer at this

 15         moment and would like to proceed to trial.

 16                     THE COURT:    Okay.

 17                     MS. POVMAN:     Thank you, Judge.

 18                     MR. PIMENTEL:     Thank you, your Honor.

 19                     (The case was adjourned to January 8, 2014.)

 20

 21    CERTIFIED TO BE A TRUE AND ACCURATE TRANSCRIPT OF THE
       ABOVE-MENTIONED PROCEEDINGS.
 22                                 ________________________
                                     ALAN H. KIMBAROW, RPR
 23                                  SENIOR COURT REPORTER

 24

 25
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                                                                   C)rpi4-L51
            1   SUPREME COURT OF THE STATE OF NEW YORK

            2
                COUNTY OF QUEENS CRIMINAL TERM : PART K20
                                     ---------------------x
                                                                        COp,
                THE PEOPLE OF THE STATE OF NEW YORK,
            3
                               -against-                           INDICTMENT NO:
            4                                                      02228/2012
                RAYMOND BALL and ELIJAH BROOKS,
            5
                                                                   HEARING
            6                                      DEFENDANT.
                                           --------------------x
            7
                                                  Queens Supreme Courthouse
         8                                        125-01 Queens Boulevard
                                                  Kew Gardens, New York 11415
         9                                        January 6, 2014

        10      B E F 0 R E:

        11                      THE HONORABLE RONALD HOLLIE,
                                     JUSTICE
        12
                A P P E A R A N C E 5:
        13
                                RICHARD BROWN, ESQ.
                                                                                     Ej
        14                      District Attorney, Queens County
                                125-01 Queens Boulevard
        15                      Kew Gardens, New York 11415
                                BY: NAOMI SCHNEIDMILL, ESQ.
        16                      Assistant District Attorney

        17                      LINDA POVMAN, ESQ. (18B)
                                Attorney for the Defendant
        18                      RAYMOND BALL
                                123-35 82nd Road
        19                      Kew Gardens, New York 11415

       20                       LAW OFFICES OF ALEXIS PIMENTEL (RETAINED)
                                Attorney for the Defendant
       21                       ELIJAH BROOKS
                                37-53 90th Street, Suite 10
       22                       Jackson Heights, New York 11372
                                BY: ALEXIS PIMENTEL, ESQ,
       23

       24
                                                            Carrie Belmonte
       25                                                   Senior Court Reporter
                                                                                    cbb
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                                            Proceedings                           2

             1                THE CLERK: Calendar number 2, indictment 228 of

             2     2012, People versus Raymond Ball and Elijah Brooks.

             3                THE COURT: Appearances, counsel.

4                             MR. PIMENTEL: Alexis Pimentel, 37-53 90th Street,

             5     Jackson Heights, New York for Mr. Brooks. Good morning.

             6                MS. POVMAN: On behalf of Mr. Ball, Linda Povman,

             7     123-35 82nd Road, Kew Gardens, New York.

             8                MS. SCHNEIDMILL; Naomi Schneidmill for the

             9    People.

        10                    MR. BALL: I apologize. I want to go on the

11                record and let the record reflect that, you know, last time

        12        I was in front of you Z asked you to allow me to go pro se

        13        or have another lawyer represent me in the case. I don't

        14        feel Miss Povman will properly represent me. And she has

        151       been negligent, you know, in her duties in defending me.

        16                   So, you know, I just wanted to let the record

        17        reflect that, your Honor, we are going forward today with

        18        this hearing against, you know, my wishes, you know, of

        19        having her represent me and let the Court know I have

        20        submitted -- I don't know if you had an opportunity. I

        21        submitted a motion for dismissal which reflects, you know, a

        22        lot of information, your Honor, that pertains to the perjury

       23         testimony of Officer Pampena against me in this case,

       24                    THE COURT: Let me just, you know, address the

       25         issue as far as you're asking Miss Povman, you know, being
                                                                                c bb
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 84 of 907 PageID #: 447



                                           Proceedings                            a

            1     relieved, You had made that application before. The

            2     application was denied. We are literally in the middle of a

            3     hearing. The matter hasn't been --

            4                MR. BALL: I understand.

            5                THE COURT: The hearing hasn't been finished yet.

            6     Everything I have seen from each counsel in this case has

            7     been -- you know, you said counsel was negligent and things

            8     like that. There are things that         of the things I have

         9        heard from each counsel in the course of this hearing, I

        10        haven't seen any indication of that. And so because I have

        11        not then there is no reason, absolutely no reason, you know,

        12        both on the merits of the case and then also as far as

        13        expediency is concerned, there is no reason to address that

        14        issue again during the course of this hearing.

        15                   Now, at the end of the hearing if there are issues

       16        that you believe should have been raised and had not been

       17        raised that are appropriate for the hearing, then I will let

       Is        you -- if you your counsel approves I will let you address

       19        those issues you believe are relevant to this hearing.

       20                   MR. BALL: Yes, sir,

       21                   THE COURT: At the end of this hearing before I

       22        make a ruling.

       23                   MR. BALL: I will appreciate it.

       24                   THE COURT: As far as changing counsel, at this

       25        point the application is denied.
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                                            Proceedings                          4


1                             MR. BALL: Okay.

             2                THE COURT: Anything further at this point?

3                             MR. BALL: Thank you.

4                             MS. SCHNEIDMILL: Yes, y our Honor. I believe that

             5     as we discussed on the last date we were reopening this

             6     hearing for purposes of readmitting the EMS/EMI report I

             7     provided to defense, unless I let Court know I make one of

            8      the witnesses available today of the two officers that

            9     testified at this hearing. Both officers are here, Officer

        10        Pampena and Lanning, outside. At this point after reviewing

        11        the minutes from our hearing --

        12                    MS. POVrIAN: Is that the officer?

        13                   MS. SCHNEIDIIILL: No.

14                           After reviewing the minutes from the hearing, I

        15        don't believe if the issue that we are reopening the hearing

        16        for is narrowly addressing the EMS or EMT report and

        17        treatment of the victim during which time he made an

        18        identification of Defendant Ball, I don't believe that there

        19        is any testimony from Officer Lanning that would be helpful

        20        at this point because he had no interaction with the victim

21                once the victim was being treated by EMS and he had no
        22        interaction with him in regards to Defendant Ball's

        23        identification procedure.

       24                    Officer Lanning was the one that was present

       25         during the ID procedure concerning Defendant Brooks as well
                                                                                cbb
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                                           Proceedings                          5

            1     as recovery of property concerning only Defendant Brooks.

         2        So at this point I would just ask that

         3                   THE COURT: So I don't have the decision reopening

         4        the hearing in front of me, but by the terms of that

         5        decision is it reopened as far as Ball is concerned or both

         6        defendants?

         7                   MS. SCHNEIDMILL: I believe that decision was --

         8        very narrowly stated that it was actually only being

         9        reopened to admit the EMT or EMS report. Beyond that, I'm

        10        not searching anything beyond oral argument, if necessary,

        11        in terms of cross-examining the witnesses or actually

        12        defense wants to call these witnesses I would argue that

        13       they only need to call one of the two.

       14                    THE COURT: Okay. Before I hear from counsel, Al,

       15        would you give me a copy of the file so I can see.

       16                    (Whereupon, the item was given to the Court.)

       17                    THE COURT: Okay. I remember. Okay.

       18                    MR, PIMENTEL: Your Honor, if I may, Mr. Pampena's

       19        testimony at the hearing was when he arrived at the scene

       20        EMS was already there and at that point in time Mr. Brooks

       21        had already been removed from the scene. Mr. -- Officer

       22        Lanning was the last person with -- that is known now that

       23        was with the victim before EMS arrived. There must have

       24        been some kind of interaction between Officer Lanning and

       25        EMS when they arrived at the scene.
                                                                                cbb
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                                           Proceedings

         1                   Additionally, the EMS report clearly indicates

         2        that the victim's eyes were swollen which goes directly as

         3        to the victim's ability to perceive or . identifymy client

         4       when he had a swollen eye. We have no indication of whether

        5         he was even able to see Mr. Brooks from the vantage point he

        6        was at.

        7                    THE COURT: Okay. So you are saying that by

        8         looking at the content of the EMS report then you wish to

        9        cross-examine Lanning as to Lanning's perception of whether

       10        or not the witness was able to see who was being shown to

       11        him?

       12                    MR. PIMENTEL: Yes. As well as what interaction

       13        he had with EMS.

       14                    THE COURT: And now why would the -- you know,

       15        limiting, I mean, is there any -- other than the condition

       16        of the alleged victim in the ambulance that may have

       17        affected his ability to identify anyone, you know, to see

       18        someone and identify who they are, other than that

       19        information that you may not have, that you were not in

       20        possession of in arguably a timely manner, other than that,

       21        the ability of the victim to see, then what other

       22        information is in the report that you did not otherwise have

       23        available for the purposes of cross-examination?

       24                   MR. PIMENTEL: Well, your Honor seeing any

       25        additional statements were made while Officer Lanning was
                                                                                cbb
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                                            Proceedings                           7

                   present with EMS, assuming he was present with EMS when they

2                  arrived at the scene by the victim.

             3                 THE COURT: Okay. So of the two officers, ideally

             4     more concerned with Lanning than the second officer; is that

             5     correct?

             6                MR. PIMENTEL: Well both. I'm also interested in

             7     finding out what he -- what Officer Pampena observed, the

             8     interact-ion between EMS and the alleged victim.

             9                THE COURT: But that information, an interaction

        10        between the officers and the EMS people and the complainant,

        11        is there something in the report that you did not have, you

        12        know, at the time that the hearing ended?

13:                           MR. PIMENTEL: His condition. His condition as it

        14        was reported to EMS.

        15                    THE COURT: Okay. So you can inquire as reported

        16        to EMS so then wouldn't the most appropriate witness be the

        17        EMS tech?

        16                    MR. PIMENTEL: He could testify as to what he

        19        observed the alleged victim's condition was.

        20                    THE COURT: The officer can testify as to his

        21        observation of the complainant, whether or not his eyes were

       22         swollen, whether or not he -- based on the officer's

       23         observations whether or not he could see who it was that he

       24        was being shown?

       25                     MR. PIMENTEL: Yes,
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                                           Proceedings                           8

            I                THE COURT: And the distances. Yeah, okay. That

            2     is reasonable based on the description in the EMS report as

            3     far as the victim's eyes being swollen. But beyond that,

            4     what other questions can you ask of the officers that

            5     uniquely arose from that EMS report?

            6                MR. PIrIENTEL: Your Honor, one second.

            7                MR. BALL: May I?

            8                THE COURT: No, not yet.

            9                MR. PIMENTEL: Your Honor, there is also the issue

        10        as to Officer Pampena testifying and notes reflected in his

        11        memo book that he stopped -- from Laming that he stopped

        12        them before EMS arrived at the scene and they were

        13        transported before EMS arrived at the scene.

                             THE COURT: You know, as has been mentioned by the

       15        assistant, in my view of the decision it really is the

       16        hearing has only been opened to issues that are relevant, to

       17        issues that flow from -- issues that had not been addressed

       18        or issues that defense counsel would have had to question

       19        the officers about, the information that you would have if

       20        you had the EMS report, then that would have been useful

       21        information for you to cross-examine the officers about.

       22                   The understanding I'm having is based on that

       23        report the only issue that you did not -- that you arguably

       24        did not have, on submission, information to inquire of the

       25        officers about was the ability of the victim to see because
                                                                               ebb
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                                           Proceedings                               -

                  you were looking at that report and you are saying that the

            2     victim had his eyes swollen. So beyond that, you know, the

            3     officer's memo book entry as to what happened before EMS

            4     arrived, you know, that was all available to the defense and
            5    whether or not it had been explored to the extent that you

            6     find useful., that goes beyond the scope of the issues to be

            7    addressed in this reopened hearing.

            8                MR. PIMENTEL: Your Honor, there is a Sprint

            9    report also generated as a result of EMS and some of the

       10        times with the EMS report Sprint printout don't necessarily

       11        coincide with the Sprint report.

       12                   THE COURT: How does it not, you know, coincide?

       13        What is there in the EMS report that is contrary to what is

       14        in the Sprint report?

       15                   MR. PIMENTEL: I'm sorry, your Honor?

       16                   THE COURT: What is in the EMS report that's

       17        contrary to what was in the Sprint report?

       18                   MR. PIMENTEL: Your Honor, the address and time

       19        the police arrived' and when the EMS arrived at the scene.

       20                   THE COURT: Okay. So are you saying that in the

       21        Sprint we have already in the report, I guess, that the

       22        hearing as to what time it is that the officers said that

      23         they arrived we now have an EMS report that will be entered

      24         into evidence here that they show what time in their records

      25         they arrived, Those are all evidentiary facts that -- I
                                                                               cbb
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                                           Proceedings                           10

            1     mean, you don't need to have a hearing reopened to the

            2     witness if those types are already written on the report.

            3     will accept those times as evidence in this case and then

            4     have you make arguments, if you wish, showing, you know, the

            5     contrast between the times indicated by the officers and the

            6     time indicated by the EMS. But as far as further

            7     interviewing a witness, further cross-examination of a

            8     witness about an ID procedure that occurred at the back of

            9     the ambulance, information that you may well not have had at

        10        the time that the hearing was concluded, I don't have any

       11         problem with letting you ask the officers about his

       12        perception, of the ability of the victim to see, meaning

       13        distance from the complainant, was the complainant sitting

       14        up or lying down or what direction was the complainant's

       15        face positioned, you know. Those are the kinds of questions,

       16        on the issue of the ID process with eyes swollen I will let

       17        you, you know, cross-examine the officer if you chose but

       18        anything beyond that I don't see the reason to either

       19        look -- examine the memo book or the memo book of an officer

       20        or to -- because that does not flow from the EMS report.

       21                   MR. PIMENTEL; Understood, your Honor.

       22                   THE COURT: People?

       23                   MS. SCHNEIDMIL.L: Also, your Honor, based on that

       24        then I would again state that only Officer Pampena then

       25        would be of use to testify at this point because there is no
                                                                               cbb
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                                           Proceedings                           11

            1     evidence Officer Lanning was in the ambulance with the

            2     victim at the time that he made this ID of Ball, of

            3     defendant Ball     So if we are then cross-examining the

            4     officer as to what the victim looked like at the time he is

            5     making this ID, Officer Lanning was only involved in the ID

            6     made of defendant Brooks when the complainant was already in

            7     his RMP. So it was completely different IDs that were done

            8     for these defendants. So the complainant -- the testimony

            9     that was elicited from the hearing was that the complainant

        10       was in the car with Officer Lanning when they saw defendant

       11        Brooks and he pointed him out. Defendant Brooks was removed

       12        from the scene. The complainant was treated by EMS. While

       13        treated by EMS he identifies defendant Ball and Officer

       14        Lanning is no longer there.

       15                   THE COURT: Okay, So -- and I guess -- so it is

       16        useful to know, because I forget the details that are in

       17        this, in the course of this hearing it became clear that
       18        there were two separate ID procedures.

       19                   MS. SCHNEIDMILL: Yes.

       20                   THE COURT; One was an     idp.tifirtthn rf Rrnnkq
       21        the complainant in a car.

       22                   MS. SCHNEIDMILL: The complainant was in the car

       23        with Officer Lanning when he identified defendant Brooks.

       24                   THE COURT: Okay. Presumably his eyes were -- you
       25        know. If his eyes were identified by EMS a few minutes
                                                                               cbb
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                                          Proceedings                           12

I                later as being swollen, the ID of Brooks was before.

        2                    MS. SCHNEIDMILL: ID Brooks was before he was

        3        examined by EMS.

        4                    THE COURT: And EMS, in that report it says his

        5        eyes were swollen?

        6                    MS. SCHNEIDMILL: Doesn't say swollen. It says

        7        that they were -- it says that the right parietal region was

        8        laceration, superficial and swelling. I mean, that's the

        9        most they say about it. I don't know if that means the eye.

       10        I don't know what parietal means. But, in any event, the ID

       11        Brooks, because it was done before EMT arrived this report

       12        would have no bearing on because his injuries were elicited

       13        during the hearing already. His injuries were already

       14        elicited out there in the minutes.

       15                   So I don't believe that Officer Lanning then

       16        should now be cross-examined based on this EMS or -- EMS

       17        report as to what he looked like when he was identifying

       18        defendant Ball. If Officer Lannirig -- I understand the idea

       19        that this report was made after the ID defendant Brooks but

       20        I don't see any reason why he should then have to -- what

       21        good it would be to elicit the testimony.

       22                   THE COURT: Except now they know that there was a

       23        laceration to the -- an eye. As to where that laceration

       24        was and if it was observed by the officer, you know, I don't

       25        see any reason -- because this report is generated probably
                                                                          cbb
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                                           Proceedings                           13

            1     a few minutes on the -- EMS arrives probably within, I'm

            2     imagining -- ten minutes of the identification of Brooks,

            3     that the condition of the eye would be relevant to both

            4     Brooks and --

            5                MS. SCHNEIDMILL: Yes, it would have been

            6     irrelevant the first time we examined when he was asked and

            7     testified the complainant had cuts on his face and bleeding

            8     from his face, at that point defense counsel could have

            9     asked blood over the eyes.

        10                   THE COURT: He wasn't looking. He didn't have the

        11        EMS report. Whether or not the blood was on his cheek, the

        12        forehead, the eye, if he knew that then he may have well

        13        asked whether or not there was blood.

       14                    MR. PIMENTEL: Nor, your Honor, did it have any

       15         indication that there was any swelling to the face.

       16                    THE COURT: Okay. So I don't have any problem

       17        with the officers being able to -- the defense counsel being

       18        able to ask either officer about their observation of the

       19        complainant's face, whether or not they observed any cuts

       20        or, you know, bleeding, specifically to the eye. If so, if

       21        they recall, which -- if so, which eye. And if they have

       22        any -- did the witness express any difficulty in focusing

       23        their vision or identifying a person.

       24                   And so those are, the kind of questions that the

       25        defense counsel can ask of -- again, relative to Brooks and
                                                                               cbb
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                                              Proceedings                        14

                     the other officer relative to Ball, but that the hearing is

            2        literally limited to the condition of the eyes, whether or

            3        not bleeding or swelling, et cetera. And the officers'

            4        impression as to whether or not any of those observations

            5        affected the ability of the witness, you know, to see the

            6        people that they were being shown. And that could stretch

            7        to, again, include the distance that the defendant was from

            a        the victim at the time that he was observed from the car and

            9        distance, especially where the defendant Ball was from the

        10           back of that EMT car, but that's the limited extent of the

       11            hearing.

       12                        MR. PIMENTEL: Understood, your Honor,

       13                       THE COURT: Okay. All right. So who do you want

       14           to have called first?

       15                       MR. PIMENTEL: Sorry?

       16                       THE COURT: Who do you want to have - -

       17                       MR. PIMENTEL: Officer Lanning.

       18                       COURT OFFICER: Witness entering.

       19                       Judge, you want him re-sworn?

       20                       THE COURT: Yes.

       21       D A N I E L     L A N N I N G, a Police Officer, having been

       22 called as a witness by the Defendant and having stated his

       23 shield number as 2559 and command as 115 Precinct of the New

       24 York City Police Department, having been first duly sworn by the

       25 Clerk of the Court, was examined and proceeded to testify as
                                                                               cbb
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                                  PO Lanning/Defense/Direct-pimentel             15

            1   follows:

            2                    COURT OFFICER: Defense cans Officer Daniel

            3        Lanning, L-A-N-N-I-N-G, shield 2559, 115th Precinct.

            4                    THE COURT; Officer, I know that you were here on

            5       a hearing relative to those two defendants earlier. And

            6       since that hearing ended then there had been an EMS report

            7       that had been given to defense counsel, and defense counsel

            8       both have been given the opportunity to ask you a few

         9          questions relative to your observations of the complainant

        10          at the time of the identification of both your observations

        11          of the complainant and the circumstances under which the

       12           complainant identified each of the defendants.

       13                       Mr. Pimentel

       14 DIRECT EXAMINATION

       15 BY MR. PIMENTEL:

       16           Q.     Good morning.

       17          A.      Good morning. How are you?

       18          0.      As the Judge explained, you previously testified here.

       19 You were Mr. Brook's arresting officer. And after arriving at

       20 the scene, you spoke with the alleged victim, Mr. Elturkey; is

       21 that correct?

       22          A.      No. I am not the arresting officer, but I did briefly

       23 speak with . Mr. Elturkey, yes.

       24          Q.      You weren't the officer that put Mr. Brooks under

       25 arrest?
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                               PC Lanning/Defense/Direct-Pimentel               16

         I       A.    I'm sorry. I'm not his arresting officer, but I did

         2 place him in handcuffs, yes.

         3       Q.    Okay. Prior to placing him in handcuffs, you spoke

         4 with the alleged victim, Mr. Elturkey?

        5        A.    Yes, briefly.

        6        Q.    When you spoke to Mr. Elturkey, what was his condition?

        7                     THE COURT: Meaning what, Counsel?

        8        Q.    What was his physical condition?

        9        A.    He was beaten up. He was bleeding from the head and I

       10    believe the mouth, if I recall correctly.

       11        Q.    Okay. Did you observe any bruises, swelling on his

       12 face?

       13        A.    Urn, I believe he was a little swollen in the face, yes.

       14        Q.    Where exactly on the face?

       15                     THE COURT: If you recall.

       16        A.    I don't recall exactly.

       17        0.    Do you remember if he had either of his eyes swollen?

       18        A.    I don't recall.

       19        Q.    You testified previously that after you had that brief

       20 conversation with him he was -- you placed him inside your

       21    vehicle and you did a quick canvas of the area; is that correct?

       22        A.    Yes.

       23        Q.   And after driving approximately half a way down the

       24 block on 105th Street he pointed out Mr. Brooks?

       25        A.   Yes,
                                                                               cbb
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                                PO Lanning/Defense/Direct-Pimentel               17

            I      Q.   Where was he in the vehicle when he pointed out

            2 Mr. Brooks?

         3         A.   He was in the back of the vehicle.

         4                     THE COURT: By "the back" meaning the rear?

         5                     THE WITNESS: He was behind the passenger seat.

         6         was sitting in the passenger seat, and he was behind me.

         7         Q.   And this was at night, correct?

         8         A.   Yes.

         9         Q.   The windows were up on the vehicle?

        10                     THE COURT: If you recall

        11         A.   I don't recall.

        12         0.   Where was Mr. Brooks at the time?

       13         A.    He was walking northbound on the sidewalk.

       14                      THE COURT: And so from the position that you were
       15          in in your car on the passenger side of your car and you are

       16          saying that the complainant was also on the passenger side

       17          of your car?

       18                      THE WITNESS: Correct, yes.

       19                      THE COURT: But a rear passenger?

       20                      THE WITNESS: Yes.

       21                      THE COURT: This Street, was this, as you are

       22         driving down the street, was this -- Mr. Brooks walking

       23         towards your car or walking in the same direction your car

       24         was going?

       25                      THE WITNESS: He was walking towards our car and
                                                                             cbb
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                             P0 Lanning/Defense/Direct-Pimentel                 18

         1        he was on the same side as the passenger side. Does that

        2        make sense?

        3                    THE COURT: Yes.

        4        Q.    How fast was Mr. Brooks walking, if you recall?

        5                    THE COURT: Meaning was he --

        6        Q.    What rate of speed was he walking? Was he walking at a

        7 brisk pace? Was he walking slowly? Was he running?

        8        A.    He was wasn't running. Walking at a brisk pace.

        9        Q.    Okay. At what distance would you approximate was

       10 Mr. Brooks from the vehicle at that point in time?

       11                    THE COURT: At what point in time?

       12        Q.    When you first saw Mr. Brooks.

       13                    THE COURT: When he first saw Mr. Brooks or the

       14        witness first saw Brooks?

       15                   MR. PIMENTEL: When the witness first saw Brooks.

       16        A.    I couldn't attest to when he saw him. I can only

       17 attest to when I saw him.

       18        Q.    When you saw him, at what distance was it?

       19        A.    He was about nine, ten feet away from me.

       20        Q.    And it was dark outside. It was nighttime, correct?

       21        A.    It was but the sidewalk is pretty well-lit over there.

       22        Q.    Okay. And when Mr. -- when the alleged victim saw

       23 Mr. Brooks, was the alleged victim still bleeding?

       24        A.   Was he still bleeding?

       25        Q.   Yeah. You testified previously he was bleeding from
                                                                         cbb
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 100 of 907 PageID #: 463



                              P0 Lanning/Defense/Direct-Pinientel                19

             his face and his mouth.

         2        A.    I couldn't tell you if he was still bleeding at the

         3 time he pointed out Mr. Brooks.

         4        0,    When -- where exactly was he bleeding from?

         5        A.    His mouth.

         6                    MS. SCHNEIDMILL: Objection.

         7        A.    And the top of his head.

         8        Q.    From where on the tap of his head? Around the

         9 forehead?

        10                   THE COURT: If you know.

        11        Q.    Over the eyes?

        12        A.    From the top of his head.

        13        Q.    Do you recall if the blood was going down into his

        14 face?

        15        A.    Yes, it was.

        16        Q.    Do you recall if at any point in time the blood could

        17 have got in his eyes?

        18                   THE COURT: Could have.

        19        a.   Did get into his eyes.

        20                   MS. SCHNEIDMILL: Objection.

        21                   THE COURT: Overruled. If you know.

        22        A.   No, I couldn't testify to that.

        23        Q.   Did you ever observe the alleged victim squinting?

        24        A.   No.

        25        0.   Did you observe him wiping out his eyes?
                                                                                cbb
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 101 of 907 PageID #: 464



                                P0 Lannirig/Defense/Direct-Pimentel              20

         1        A.    No.

         2        Q.    Now, officer, why didn't -- you stated earlier you

         3 put -- you handcuffed Mr. Brooks?

         4        A.    Yes.

         5        Q.    After you handcuffed Mr. Brooks, did you remain on the

         6 scene?

         7        A.    I did, yes.

         8        Q.    At any point in time when you were -- remained at the

         9 scene, did you observe EMS arrive at the scene?

        10        A.    I did not. I left right before they had showed up.

        11        Q.    You left right before EMS showed up?

        12        A.    Yes.

        13                     THE COURT: And how do you know you had left right

        14        before?

        15                     THE WITNESS: I'm sorry. I left before they

        16        showed up.

        17                     THE COURT: You don't know?

        18                     THE WITNESS: I don't know if they showed up right

        19        after or.

        20        Q.   Officer, when you -- you testified previously there was

        21 another person at the scene with Mr. Brooks?

        22        A.   Yes, I did.

        23        Q.   How did you know that the person the alleged victim

        24 pointed at wasn't that other person?

        25                     MS. SCHNEIDMILL: Objection. This has been asked
                                                                            cbb
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 102 of 907 PageID #: 465



                              P0 Lanning/Defense/Direct-Pimentel                 21

         1        and answered in the last part of the hearing.

         2                   THE COURT: Sustained. It doesn't go to the

         3        ability of the --

         4                   MR. PIMENTEL: Your Honor, it goes directly to the

         5        ability of him to perceive. We don't know if he was able to

         6        accurately see who the person he was ID'ing.

         7                   THE COURT: It doesn't flow from any added

         8        information in the EMS report.

         9                   MR. PIMENTEL: Your Honor, it goes directly as to

        10        knowing whether or not he was able to see the right person

        11        and identified the right person because of his medical

        12        condition at the time because of his injuries.

        13                   THE COURT: The officer has described to the best

        14        of his recollection the physical condition of the

        15        complainant.

        16                   Officer, are you saying that at the time you are

        17        looking at Mr. Brooks Mr. Brooks is about ten feet from you?

        Is                   THE WITNESS: When I first observe him in the

        19        vehicle, yes.

        20                   THE COURT: Okay. And you said at that point that

        21        the complainant had said to you that. Brooks was one of the

        22        people involved?

       23                    THE WITNESS: Yes,

       24                    THE COURT: Objection sustained.

        25        Q.   Did he describe Mr. Brooks in any way?
                                                                                cbb
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                                P0 Lanning/DefensefOirect-Pimentel               22

            1                  MS. SCHNEIDMILL: Objection. This is beyond --

         2                     THE COURT: Hold on. As he is sitting in the back

         3        of. the car and saying --

         4                     MR. PIMENTEL: That's the person.

         5                     THE COURT: At the time that you are now looking

         6        at Mr. Brooks after the witness says that's him or what are

         7        the words the victim uses when he says -- when he looks over

         8        at Brooks?

         9                     THE WITNESS: That's him.

10                             THE COURT: Okay. At this point is Brooks alone?

        11                     THE WITNESS: He is with one other individual

        12                     THE COURT: So how are you able to tell -- do you

13                know the name of the other individual that he was -- that

14                Brooks was with?

        15                     THE WITNESS: I don't.

16                             THE COURT: How do you know the witness was

        17        identifying Brooks then, not the other person?

        18                     THE WITNESS: As soon as we exited the other

        19        vehicle --

        20                     THE COURT: "We" meaning --

       21                      THE WITNESS: Sorry. Me and Sergeant Rosenberg,

22               we exited the vehicle and stopped both vehicles at that

       23         time. Mr. Elturkey exited the vehicle at the same time and

24               pointed to Mr. Brooks and said again that's the guy.

       25                      THE COURT: So you are saying that initially
                                                                                cbb
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                              P0 Lanning/Defense/Direct- p imentel               23

             •1

                  Brooks said in looking at -- there were two people walking

            2     together - . said that's the guy, you and your sergeant

            3     exited your car, you stopped those two. The complainant now
            4     is exiting your car and now is -- are those two pointing to

            5     Brooks and saying that's the guy?

            6                THE WITNESS: Yes.

            7                THE COURT: At that point how far is Brooks -- the

            8     complainant from Brooks?

            9                THE WITNESS: Mr. Elturkey is about two feet,

        10        three feet from Mr. Brooks.

        11                   THE COURT: And anything further, counsel?

        12                   FIR. PIMENTEL: One second.

        13                   THE COURT: Sure.

        14                   (Whereupon, there was a pause in the proceedings.)

        15                   MR. PIMENTEL: Nothing further, your Honor.

        16                   MS. POVMAN: Judge, one or two -- I'm going to ask

        17        Mr. Ball be allowed to --

       18                    THE COURT: I will be patient.

       19                    MR. BALL: Thank you, your Honor. I mean, it's

       20         just that, you know, I have a couple of questions --

       21                    THE COURT: Okay. Sure.

       22                   MS. POVMAN: That's --

       23                   MR. BALL:    -- that's important.

       24                   THE COURT: Frankly, I would like --

       25                   MR. BALL: You said at the end.
                                                                                cbb
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                              Pa Lanriing/Defense/Direct-Pimentel                24

         1                   THE COURT: Counsel, have you heard the questions?

2                            MS. POVMAN: I haven't, Judge. I didn't want

3                 to -- if you want to give us a minute to speak now. I

         4        didn't want to talk --

         5                   MR. BALL: Your Honor, it's all based on the --

         6        what you call the EMS report. I will not even indicate

         7        anything other than issues pertaining to --

         8                   THE COURT: So we are focussed literally --

         9                   MR. BALL: On the EMS report.

10                           THE COURT: On the physical condition of the

        11        complainant.

12                           MR. BALL: Yes, your Honor.

13                           THE COURT: And distance at the time he made those

        14        observations,

        15                   MR. BALL: Yes. All right.

        16                   With the -- Officer Lanriing, the concern here is

        17        that when you question the EMS, the fact that the victim,was

        18        supposed to be treated by EMS, was being treated when I

        19        was -- what do you call -- transported back --

        20                   THE COURT: Now, hold it a second.

        21                   Officer, you were not present at the time that

        22        Ball was identified; is that correct?

       23                    THE WITNESS: That's correct.

       24                    THE : COURT: So - -

       25                    MR. BALL: So my point is he was not available
                                                                                ebb
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                                P0 LanningfDefense/Direct-Pimentel               25

             1     when the EMS technician -- when they were there. So my

             2     point is that at what point is it that Mr. Elturkey, to his

             3     knowledge, received any assistance from EMS, because he was

             4    with Mr. Elturkey.

             5                 THE COURT: Okay.

             6                 So, officer, I think that I understand the

             7    question and that is: At the time that you were with the

         8        complainant had he received any medical attention, to your

         9        knowledge?

        10                     THE WITNESS: No, not while I was there.

        11                     MR. BALL: 'Okay.

        12                     THE COURT: And is it your information that based

        13        upon your observations of the complainant did you actually

        14        call for medical assistance?

        15                     THE WITNESS: I had not, no.

        16                     THE COURT: So you had made the observations of

        17        the complainant, had the complainant in your presence for

        18        how long would you think total?

        19                   THE WITNESS: Two minutes.

        20                   THE COURT: Two minutes, So from the time that

        21        the complainant had -- you had seen the complainant, put him

        22        in your car, he had seen Brooks, got out of the car,

        23        identified Brooks, Brooks is now placed in handcuffs, what's

        24        the total span of time between your first leaving the

        25        complainant and the identification of Brooks?
                                                                                cbb
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                              P0 Lanning/Defense/Direct-Pimentel                 26

         1                    THE WITNESS: From the time -- I'm sorry?

         2                    THE COURT: From the time that you first saw the

         3        complainant until the time --

         4                    THE WITNESS: To the identification of Brooks?

         5                   THE COURT: Right.

         6                   THE WITNESS: It was about 30 seconds, if that.

         7                   THE COURT: Okay. So Brooks -- the complainant

         8        was in your -- under your supervision for a total from the

         9        time of first observation of the complainant until the time

        10        that you had the last individual contact with the

        11        complainant, was that two to three minutes?

        12                   THE WITNESS: It was about two or three minutes.

        13                   THE COURT: Okay. And during that time those

        14        observations that you described as far as cuts to the head,

        15        bleeding, those are observations that you made over the

        16        course of those two minutes?

        17                   THE WITNESS: Yes.

        18                   MR. BALL: Your Honor, I apologize but my question

        19        was this: Is the presence of the EMS technicians and

        20        whether or not they were available at the scene at that

        21        time.

        22                   THE COURT: Yeah.

        23                   MR. BALL: That's my concern.

       24                    THE COURT: And they were not available, right.

       25         I'm sorry. They were not present. They were not present at
                                                                                cbb
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                               P0 Pampena/Defense/Di rect-Plinentel              27

         I        the time that the officer was involved with the -- this

         2        officer was involved with the complainant. They were not

         3        present and he did not call for an ambulance in those two

         4        minutes.

         5                     MR. BALL: Okay, your Honor. I apologize but can

         6        I just raise the issue that I have here. Officer Lanning's

         7        book, his book.

         8                    THE COURT: Okay.

         9                    MR. BALL: I have a notation where it says here at

        10        a particular time on 105th Street that two males were

        11        stopped, right.

        12                    THE COURT: Okay.

1:                            MR. BALL: And they were stopped by Officer

                  Pamperia.

                              .THE COURT: Okay,

                              MR. BALL: He has it written down here.

                              THE COURT: Okay,

                              MR. BALL: So my point is this, is that --

                              THE COURT: Okay. So, officer, the two males that

        20        you, you and the sergeant stopped --

        21                    THE WITNESS: Yes.

22                            THE COURT: -- he has made reference to a memo

        23        book entry where you said two males were stopped by Officer

        24        Pampena, are those the same two males you were involved in

        25        stopping or were those two other males?
                                                                                cbb
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                                P0 Pampena/Defense/Di rect-Pimentel             28

            I                  THE WITNESS: Yes, those were the two males that I

         2        had stopped.

         3                     THE COURT: Now, you made reference to those males

         4        being stopped by Pampena?

         5                     THE WITNESS: No.

         6                     MR. BALL: I have it here in his memo book. Can I

         7        please let the Court reflect that --

         a                     THE COURT: People, would you make --

         9                     MS. POVMAN: Judge, I think I can clear it up,

        10        please.

        11                     MR. BALL: Excuse me, your Honor. Can I just

        12        please - -

        13                     THE WITNESS: I can clear it up.

        14                     THE COURT: Okay. It's the officer's memo book so

        15        he will clear it up. What does that entry mean?

        16                     THE WITNESS: It says that the two males were

        17        stopped and then it says, if you look at it, 92 Charley by

        18        115 anti-crime, P0 Pampena, meaning I stopped them in the

       19        corner but the arrest was taken by Pampena at the time. It

       20        was not taken by myself.

       21                      THE COURT: Perfect. That's it with this officer.

       22        Any further questions, People,

       23                      MS. SCHNEIDMILL: No.

       24                      THE COURT: Okay. Thank you, officer. Thank you

       25        very much.
                                                                                cbb
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                                 P0 Pampena/Defense/Di rect-Pimentel              29

             I                  (Whereupon, the witness stepped down from the

             2        stand and exited the courtroom.)

            3                   THE COURT: Defense, call your next witness.

            4                   MS. POVMAN: I guess I'm calling Officer Pampena.

            5                   Judge, may I have a moment to consult with the DA.

            6         I just have a question.

            7                   THE COURT: Sure.

            8                   (Whereupon, there was a pause in the proceedings.)

            9                   COURT OFFICER: Witness entering.

        10 A N G E L 0         P A N P E N A, a Police Officer, having been

        11       called as a witness by the Defendant and having stated his

        12 shield number as 19220 and command as Queens Gang Squad of the

        13 New York City Police Department, having been first duly sworn by

        14 the Clerk of the Court, was examined and proceeded to testify as

        15       follows:

        16                     COURT OFFICER: Defense calls Police Officer

        17           Angelo Pampena, P-A-M-P-E-N-A, shield 19220, Queens Gang

        18           Squad.

        19                     THE COURT: Good morning, officer.

       20                      THE WITNESS: Good morning.

       21                      THE COURT: Officer, the reason that this - I

       22            recall you had been here involved in this hearing on an

       23            earlier date and there was an application made by the

       24            defense to reopen the hearing because there was certain

       25            information they were not privy to at the time the hearing
                                                                                cbb
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                                 P0 Pampena/Defense/Di rect-Povman               30

         I        concluded. That information was the EMS report. So I

         2        allowed the defense to ask questions of you and your brother

         3        officer relative to your observations of the complainant at

         4        the time that they made -- he made the identification,

         5        meaning how did he appear or what did he look like or where

         6        was he at the time he had made the observation, what was the

         7        distance again between Ball and the witness. And so the

         8        hearing is limited to literally just that focussed period of

         9        time.

        10                     THE WITNESS: Yes, sir.

        11                     THE COURT: Ms. Povman.

        12                     MS. POVMAN: Judge, I will start I guess.

        13 DIRECT EXAMINATION

        14 BY MS. POVMAN:

        15        U.      Good morning, officer.

        16        A.      Good morning.

        17        U.      You previously testified that you stopped Mr. Ball on

        18 105th Avenue or 105th Street?

        19        A.      105th Street, yes.

        20        U.      Okay. And you returned to 105th and Northern; is that

        21 correct?

        22        A.      Correct.

        23        Q.      And do you remember what time you returned to 105th and

       24 Northern?

       25        A.       I can look at my notes, let you know.
                                                                                cbb
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                               P0 Pampena/Defense/Di rect-Povman                 31

         I                   THE COURT: Yes, please.

         2                    (Whereupon, there was a pause in the proceedings.)

         3        A.    In my notes I have 2113 which is 9:13 was the arrest

         4 time and the positive ID for them.

         5        Q.   Okay. So working backwards, do you have any indication

         6 when you stopped Mr. Ball?

         7                   (Whereupon, there was a pause in the proceedings.)

         8                   MR. BALL: Your Honor, what is he reading from?

         9                   MS. POVMAN: I didn't hear what he said.

        10                   THE COURT: The officer is looking at certain

        11        information in his possession.

        12                   Officer, what are you looking at?

        13                   THE WITNESS: My arrest paperwork.

        14                   THE COURT: Arrest paperwork.

        15        Q.   Does that reflect what time you stopped Mr. Ball?

        16        A.   I believe so. That's why I'm going to look.

        17 Approximately 2100 is when I stopped.

        18                   THE COURT: That's about nine o'clock.

        19                   THE WITNESS: Yes, sir, nine o'clock.

20                U.   And how long -- and you stopped him over, I think you

       21    testified, on 105th Street, right?

       22        A.    105th and 32nd Avenue.

       23        Q.    And how long did it take you to return -- how long did

       24 it take you to arrive at 105th and Northern?

       25                    MS. SCHNEIDMILL: Your Honor, I object. This was
                                                                          ebb
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                                P0 Pampena/Defense/Di rect-Povman                32

                  covered in the first part of the hearing.

            2                 THE COURT: Well, the -- you had -- at the time

            3     you had stopped Ball you said it was about 9:00 p.m. at 105

        OF I      and 32nd?

            5                 THE WITNESS: Yes,

                              THE COURT: And how far is 105 and 32nd from 105

            7     and Northern?

            8                 THE WITNESS: It's one avenue.

            9                 THE COURT: One avenue over?

        10                    THE WITNESS: One avenue up. One avenue north,

        11                    THE COURT: One avenue north?

        12                    THE WITNESS: Yes,

        13                    THE COURT: Defense, Miss Povman,

        14                    MS. POVMAN: Yes,

        15        Q.   So you stopped Mr. Ball at 9:00 p.m. I assume you

        16 frisked him on the scene, right? You frisked him before putting

        17 him in the car?

       18        A.    Yes.

       19        Q.    Then you took him by car to 105th and Northern, right?

       20        A.    Yes.

       21        0.    And that's approximately one block?

       22        A.    Yes.

       23        0.    So my question is just what time did you arrive

       24 approximately at 105th and Northern from the time you stopped

       25 Mr. Ball until the time you arrived at 105th and Northern?
                                                                                cbb
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 114 of 907 PageID #: 477



                                    PO PampenafOefense/Di rect-Povman

             'I                    THE COURT: You mentioned arrest time was 9:13.

             2         That's the formal arrest time given you by central?

             3                     THE WITNESS: Yes, sir,

             4                     THE COURT: So then are you going to have to

             5         estimate.

             6         A.    To estimate, approximately five minutes.

             7         Q.   Okay. So you would have arrived approximately 9:05

             8 p.m. in the vicinity of 105th and Northern. And when you

             9 arrived at that location, I believe you told us that you had

        10 contact with the complainant in this case, Mr. Elturkey?

        11             A.   Yes.

        12             Q.   And when you first observed Mr. Elturkey, where was he?

        13             A.   In the back of an ambulance.

        14             Q.   And was that -- did you make that observation when you

        15 arrived at 105th and Northern?

        16            A.    Yes.

        17            Q.    So that was approximately 9:05 p.m.?

        18            A.    Yes.

        19            Q.    And when you arrived at that location, did you walk

        20 over to the ambulance?

        21            A.    Yes.

       22             Q.    Okay. And were you able to make observations of

       23         your --.of Mr. El-turkey's physical condition?

       24             A.    Yes.

       25             0.    What, if anything . , did you observe?
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                               P0 Pampena/Defense/Di rect-Povman                34

         1        A.   He had a black eye, laceration to his head, his clothes

         2 were covered in blood. They were ripped up. They were

         3 disheveled. He looked like he just got jumped, beat up, mugged.

         4        0.   Okay. And did you observe any swelling in the eye

         5 area?

         6        A.   Yes.

         7        Q.   Okay. And was it one eye or both eyes?

         8        A.   From what I recall, one eye.

         9        Q.   And when -- how close to Mr. Elturkey were you when you

        10 made these observations?

        11       A.    I sat right next to him in the ambulance.

        12        Q.   Now, you previously testified that --

       13                     MS. POVMAN: Well, withdrawn.

        14       Q.    What if -- while in the ambulance with Mr. Elturkey,

       15 did you observe him receiving any medical treatment?

       16        A.    Yes.

       17        Q.    What, jf: any, medical treatment did you observe him

       18 receiving?

       19        A.    The medical technicians were taking his blood pressure,

       20 the normal statistics of a human being. I don't know exactly

       21 what they do, but they were checking his heart rate and his

       22 pulse.

       23        0.    Okay. Did -- were they working on his face or head

       24 area at the time you were with them?

       25        A.    They were trying to clean him up of his blood, yes.
                                                                                cbb
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                                 P0 Pampena/Defense/Di rect-Povman               35

         I        Q.    So they were cleaning up his face at the time?

         2        A.    Yes.

         3        Q.    And this is the time you said he made --

         4                     THE COURT: And in cleaning his face up, what is

         5        it that you observed them do relative to the face?

         6                     THE WITNESS: They have sterile gauze. They were

         7        giving it to him just to blot the blood off his face, off

         a        his neck, his arms, his hands.

         9                     THE COURT: Now, this sterile gauze, at the time

        10        that you saw -- so as you are sitting next to him, are you

        11        literally observing the techs using this gauze and then --

        12                     THE WITNESS: Yes. I sat exactly right next to

        13        him shoulder to shoulder as they were working on him.

        14                     THE COURT: And parts of his face, do you recall

        15        them using the gauze?

        16                     THE WITNESS: Most of it was the back. He had a

        17        large laceration to the back of his head.

        18                     THE COURT: So the gauze and the blood at the back

        19        of the head, did you observe how they were using the gauze

        20        as far as his face is concerned?

        21                     THE WITNESS: No. They were working on him. I

        22       wasn't paying detailed -- you know.

       23                      THE COURT: Right. So at the time you are sitting

       24        next to him and making these observations, do you have --

       25        what part of his face are you able to see as you are sitting
                                                                          cbb
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                                  PO Pampena/Defense/Di rect-Povman              36

            1     next to him?

         2                      THE WITNESS: The front of his face and the side

         3        of his face.

        .4                      THE COURT: Are you able to see literally the full

         5        front of his face?

         6                      THE WITNESS: Yes,

         7                      THE COURT: Now, as to the full front of his face,

         8        you described his -- you described a black eye, you

         9        described an eye being swollen?

        10                      THE WITNESS: Yes.

        11                      THE COURT: You also described -- had there been

        12        any other bruises you observed on his face?

        13                      THE WITNESS: Not that I can recall, no.

        14                      THE COURT: You mentioned that a black eye and eye

        15        swollen. The eye swollen and black eye, is that the same

        16        eye?

        17                      THE WITNESS: Yes.

        18                      THE COURT: All one eye that was affected?

        19                      THE WITNESS: Yes. Yes.

       20                       THE COURT: Miss Povnan.

       21        Q.      Officer, did you prepare an aided report in connection

       22 with this case?

       23        A.      Yes.

       24        Q.      Do you have a copy of that report with you today?

       25        A,      I can look to see if I have it,
                                                                                cbb
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 118 of 907 PageID #: 481



                                     P0 Pampena/Defense/Di rect-Povman             37

             1•                    (Whereupon, there was a pause in the proceedings.)

            2          A.    I don't have it with me. I don't have it with me.

            3                      MS. POVMAN: Judge, can the DA be directed to

            4          provide us with a copy of that aided report. I don't have

            5          the original Rosario list with me.

            6                      MR. BALL: I have it.

            7                      MS. POVMAN: Excuse me.

6                                  THE COURT: Sure.

         9                         (Whereupon, there was a pause in the proceedings.)

        10            Q.    Okay, officer, you just testified that you prepared an

        11        aided report in connection with this case?

        12            A.    Yes.

        13            Q.    Is that based on your memory or your practice or on --

        14 what is the basis for that?

        15            A.    Based on practice. We are supposed to fill out an

        16 aided card if somebody is injured.

        17            Q.    Right. And is there anything in your memo book to

        18 indicate that you filled out an aided card in this case?

        19            A.    Let me check.

       20                          (Whereupon, there was a pause in the proceedings.)

       21             A.    No. There is no reference to an aided card being

       22 filled out in my memo book.

       23            0.     So that your testimony is based on your practice, what

       24 you usually do, correct?

       25            A.     Yes.
                                                                                  cbb
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                                    P0 Pampena/Defense/Di rect-Povrnan              38

            I        0.     And is there something at the precinct that you could

            2 refer to to find out whether you actually did an aided report in

            3 this case or not?, Is there any record kept at the precinct?

            4        A.     I'm not sure.

            5                     THE COURT: And, you know, just to be clear, just

6                    so I'm clear as to what you meant by the answer you just

7                    gave, your testimony is based on your practice as opposed

         8           to -- you just described having arrived at the ambulance,

         9           gotten in the ambulance, was literally sitting next to the

        10           complainant and the observations you made sitting next to

11                   the complainant, is that observation based on practice or

        12          based on your actual recollection of what happened in this

        13          case?

        14                        THE WITNESS: Based on actual recollection of me

        15          sitting there shoulder to shoulder next to the complainant
       16           is what I observed.

       17                         THE COURT: All right, Miss Povman.
18                                MS. POVN1AN: One or two more questions and I'm

       19           done

       20                         THE COURT: Sure,

       21           Q.     And you were next to the complainant when he made his

       22       identification, right?

       23           A.     Yes.

       24           0.     And Mr. Ball was about three car lengths away at the

       25 time, right, I believe you testified?
                                                                                   cbb
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 120 of 907 PageID #: 483



                                P0 Pampena/Defense/Di rect-Pcvman                39

            1       A.   Approximately, yes.

            2       Q.   The -- was Mr. Elturkey receiving treatment at the time

            3 he made that identification?

            4                 THE COURT: Treatment as to what?

            5                 MS. POVMAN: He testified to his face being

            6      cleaned off and his head being cleaned off.

            7      A.    While he was in the ambulance, he looked out of the

            8 ambulance and he made a positive ID to myself while I was

            9 sitting next to him.

        10                    MS. POVMAN: Okay, Judge. Just a moment to

        11         consult with my client.

        12                   THE COURT: Sure.

        13                    (Whereupon, there was a pause in the proceedings.)

        14                   MR. BALL: Your Honor.

        15                   THE COURT: No. Anything else?

       16                    MS. POVMAN: I have one or two more questions.

       17                    THE COURT: And counsel , this is based --

       18                    MS. POVMAN: On the EMS report.

       19                    THE COURT: And based on a discussion with your

       20          client and questions he wishes you to ask?

       21                    MS. POVrIAN: Yes.

       22                    MR. BALL: Your Honor, I would apologize but, you

       23          know, the questions that I would like to ask I would like to

       24          ask them myself, you know, if it's not against the Court.

       25                    THE COURT: Are you going to ask your questions
                                                                               cbb
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 121 of 907 PageID #: 484



                               PO Parnpena/Defense/Di rect-Povman                40

         1        about the observations --

         2                   MR. BALL: Yes, sir.

         3                   THE COURT: -- this officer made of the

         4        complainant at the time he made the identification?

         5                   MR. BALL: Yes, sir.

         6                   THE COURT: Okay. Ask your question.

         7                   MR. BALL: I just want to start by asking Officer

         8        Pampena is he the one that arrested me.

         9                   MS. SCHNEIDMILL: Objection.

        10                   THE COURT: Overruled.

        11                   MR. BALL: Did you arrest me?

        12                   THE WITNESS: Yes.

        13                   MR. BALL: So my next question is: He took me

        14        allegedly to 105th Street to this EMS place to be

        15        identified. I have -- what you call -- a copy of the EMS

        16        report.

       17                    THE COURT: Ask your question.

       18                    MR. BALL: Okay. The question is -- is: Do you

       19        know that according to this EMS report that the victim

       20         refused all treatment?

       21                    MS. SCHNEIDMILL: Objection.

       22                    THE COURT: Well, okay.

       23                    MS. SCHNEIDMILL: We are misconstruing what

       24        refusing medical attention means here and reading from

       25        something not in evidence.
                                                                                cbb
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 122 of 907 PageID #: 485



                                 P0 Pampena/Defense/Di rect-Povman               41

            I                  MR. BALL: Your Honor, this is the EMS report.

            2                  THE COURT: You can ask him -- you can ask the

            3     officer based on his observations whether or not the

            4     complainant had refused medical attention.

            5                  MR. BALL: Do you know that he refused all medical

            6     attention?

            7                  THE WITNESS: After he was treated, yes, he

            8     refused to go to the hospital

            9                  THE COURT: Wait. Hold on. You asked him a

        10        question. Let him answer.

        11                     MR. BALL: Yes, sir.

        12                     THE WITNESS: Yes, After he was treated, he

        13        refused to go to the hospital. That's what refused medical

        14        attention means.

       15                    THE COURT: So he had received medical attention

       16         in the ambulance but he refused any further medical

       17        treatment at the hospital?

       18                    THE . WITNESS: Correct.

       19                   THE COURT: Okay. Anything else?

       20                   MR. BALL: Yeah.

       21                   Do.youknow that this EMS report reflects that

       22        there was no        what you call -- treatment done whatsoever?

       23                   MS. SCHNEIDMILL: Objection.

       24                   MR. BALL: As a matter of fact, the EMS report

       25        also reflect it never came to 105th Street. It was 106th
                                                                               cbb
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 123 of 907 PageID #: 486



                               P0 Pampena/Defense/Di rect-Povmari                42

            A
                  Street.

            2                THE COURT: You can ask him whether or not he

            3     recalls the ambulance was at 105 or 106 and Northern.

            4                MR. BALL: Yes. 105 --

            5                THE WITNESS: My recollection it was at 105

            6     Street and Northern Boulevard.

            7                MR. BALL: One more question. You said that you

            8     questioned the perpetrator -- I mean, the victim inside the

            9     EMS truck. Was the EMS workers with you at the time?

        10                   THE WITNESS: Yes.

        11                   MR. BALL: Okay. So that means that whatever

        12        information that you gave, you had as far as the victim's

        13        statement that I and Mr. Brooks were perpetrators, that

       14        means that the same information that you -- he gave you, the

       15        victim -- the EMS reporters, the technicians, should have

       16        that in their testimony --

       17                    THE COURT: That's a question -- that's a question

       18        that he cannot answer. He can only state what it is that

       19        the police officers do relative to their paperwork. He

       20        can't state what EMS does relative to theirs.

       21                   MR. BALL: Okay.

       22                   Did you write down what it is that he said?

       23                   THE WITNESS: No.

       24                   MR. BALL: Okay, Do you know that the EMS

       25        workers, that they wrote down the statement that he gave?
                                                                               cbb
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                                P0 Pampena/Defense/Di rect-Povman                43

         1        Did you know that?

         2                   THE WITNESS: Repeat the question.

         3                   MS. SCHNEIDMILL: Objection, your Honor.

         4                   MR. BALL: No, your Honor --

         5                   MS. SCHNEIDMILL: This is not the correct witness

         6        to be asking the witness.

         7                   MR. BALL: Did he know that the victim gave a

         B        statement to the EMS workers.

         9                   THE COURT: Do you know, officer, relative to the

        10        complainant, do you know whether or not he had given any

        11        statement to anyone other than yourself, if you know?

        12                   THE WITNESS: I do not know.

        13                   THE COURT: Okay.

        14                   MR. BALL: So let me ask you just one more

        15        question --

        16                   THE COURT: Well, you said that last one was. One

        17        more question.

        18                   MR. BALL: I apologize.

        19                   THE COURT: So one more question.

       20                    MR. BALL: Okay. Thank you. Thank you.

       21                    My one more question is going to be: Here on this

       22        EMS transfer, the times that you are saying that you arrived

       23        at this location and the person was being treated, okay, it

       24        was how many minutes after is it that you arrived there

       25        and - -
                                                                                cbb
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                                PO Pampena/Defense/Di rect-Povman                44

             1                (Whereupon, there was a pause in the proceedings.)

            2                 MR. BALL: Can you --

            3                 THE COURT: Okay. It sounds like you are asking

            4     you said that you had stopped this defendant and, you know,

            5     put him in your car at about 9:00 p.m. and you said that you

            6     had arrived at 105 and Northern at approximately 9:05?

            7                THE WITNESS: Yes.

            8                THE COURT: And at the time that you arrived at

            9     9:05 that the ambulance was already there?

        10                   MR. BALL: Yeah,

        11                   THE WITNESS: Correct.

        12                   MR. BALL: Your Honor --

        13                   THE COURT: You have a question?

        14                   MR. BALL: For the Court, for the record, just let

        15        it reflect according to this EMS report the ambulance never

        16        even arrived' until 11 minutes after.

        17                   THE COURT: Okay.

        18                   MR.: BALL: And that is for 106th Street.

       19                    THE COURT: Okay.

       20                    MR. BALL: So it is impossible for him to have

       21        been there at that time, your Honor.

       22                    THE COURT: Then the record -- what was just

       23        stated by the defendant Ball is his --

       24                   MR. BALL: No --

       25                   THE COURT: He bringing to my attention his
                                                                                cbb
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                               P0 Pampena/Defense/Cross- p imentel               45

            I,
                  understanding as to what that report says and that's noted

            2     for the record.

            3                 There is nothing further, counsel?

            4                 MR. PIMENTEL: I have just two questions.

            5                 MS. SCHNEIDMILL: Objection,

            6                 THE COURT: What standing, do you know?

            7                 MR. PIMENTEL: As to his observation of what

            8     Mr. Elturkey's condition was when he first arrived at the

            9     scene. He testified that there were --

        10                    THE COURT: Okay. Okay.

        11 CROSS-EXAMINATION

        12 BY MR. PIMENTEL:

        13        Q.   Good morning, Officer Lanning (sic). You previously --

        14                    THE COURT: Actually this is Pampena.

        15        0.   I'm sorry. Officer Pampena. You previously testified

        16 they were both arrested at 9:13 p.m.?

       17        A.    Yes.

       18        U.    You previously testified at the hearing though that

       19 Mr. Brooks was no -- not at the scene when you arrived?

       20        A.    Correct.

       21        Q. . If you arrived at 9:05 and he was no longer at the

       22 scene, how was he arrested at 9:13?

       23        A.    It was part of the same -- in the event. Whenever he

       24 gave a time, whether the crime happened an hour ago, we go by

       25 the time we have all the defendants together and there is
                                                                               cbb
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                                P0 Pampena/Defense/Cross-Pimente]                46

            A
                nothing further with the case. Then we ask central for an under

            2 time which is an arrest time. So he was away from the scene.

            3 Another officer detained him, put him in cuffs, brought him to

                the precinct. I was still doing the canvas when I came in

            5 contact with the other defendant, Mr. Ball.

            6       Q.   Okay. Now

            7       A.   There are no two arrest times for one incident. One

            8 arrest time for one incident.

            9       Q.   Understood. Officer Pampena, you testified previously

        10 you were side to side with Mr. Elturkey in the ambulance?

        11          A.   Yes.

       12           Q.   And you testified that when you arrived they were using

       13 sterile gauze to clean Mr. Elturkey?

       14          A.    Yes,

       15          0.    Did he -- did you observe if he had any blood around

       16 the eyes?

       17          A.    He had blood on his face. All about his face.

       18          Q.    All about his face. So they had to clean -- you

       19 observed them cleaning his eyes?

       20          A.    No.

       21          Q.    You observed them cleaning around his eyes?

       22          A.    They were cleaning his face and the back of his head.

       23 There was a laceration in the back of his head.

       24          0.    Okay. But did you observe them clean the front of his

       25 face where his eyes were?
                                                                               cbb
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                                 P0 Pampena/Defense/Cross-Pimentel               47

          1        A.   No.

          2        Q.   You did not observe that?

          3        A.   No.

          4        0.   Now, when you were next to him, did you have any

          5 conversations regarding a description that Mr. Elturkey gave

          6   regarding Mr. --

          7                     THE COURT: Gave or --

          8        0.   Made.

          9                     THE COURT: You can ask him about -- if there was

         10        any description that the complainant had given him as he is

         11        describing. Well, you shouldn't even be allowed to do this

         12        but you could ask him as he is looking at Ball and

         13        identifying Ball whether or not he is -- said anything like,

         14        you know, Ball, he is the guy that's wearing a brown shirt

         15        and blue pants, if that's the question you want to ask.

        16                      MR. PIMENTEL: Sure.

        17        Q.    Did he give any physical description?

        18                      THE COURT: Of the person he was identifying.

        19        Q.    Of the person he was identifying?

        20        A.    I don't understand the question.

        21                      THE COURT: So as the complainant is looking out

        22        the back of this ambulance in looking approximately three

        23        car lengths forward and at Mr. Ball, beyond saying that's

        24        him did he say anything else to you giving you a description

25                of the clothes Ball was wearing at the time or anything like
                                                                           cbb
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                                 P0 Panpena/Defense/Cross-Pimentel               48

         1        that?

         2                      THE WITNESS: Previously to me getting in there,

3                 he did give 9-1-1 a description of the people that robbed

4                 him.

5                               THE COURT: Right. But as you are sitting with

         6        him in the ambulance and if is he looking at Ball, is he

         7        saying anything other than that's him?

         8                      THE WITNESS: No. He just said that is him.

         9                      THE COURT: Okay.

10                Q.     While you were sitting next to Mr. Elturkey, did you

11           have any conversations with him?

        12        A.     Yes.

        13        Q.     What were those --

        14                      MS. SCHNEIDMILL: Objection.

15                              THE COURT: Sustained.

       16                       MR. PIMENTEL: Your Honor, I'm trying to get

       17         into --

       18                       THE COURT: I understand.

       19                       MR. PIMENTEL: No. No, your Honor. I'm trying to

       20        get into if there was anything depicting slurred speech.

       21                       THE COURT: Ask him,

22               Q.      Was Mr. Elturkey speaking with slurred speech?

       23        A.      No.

       24        Q.      Was it slurred at all?

       25        A.      No.
                                                                                cbb
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                               P0 Pampena/Defense/Cross-Pirnentel                49


1                             MR. PIMENTEL: No further questions.

         2                    THE COURT: Okay. Thank you all. Thank you,

         3        officer.

         4                    THE WITNESS: Thank you.

         5                    (Whereupon, the witness stepped down from the

         6        stand and exited the courtroom.)

         7                    THE COURT: To the Court's understanding and I

         8        believe the issues that are to be addressed as far as the

         9        possible issues that arise out of now the defense having a

        10        copy of the EMS report, those issues have been addressed

        11        with the questions -- questioning of each of the police

        12        officers.

        13                    And, you know, counsel, do you rest on the record

        14        or do you wish to make argument? As far as I'm concerned,

        15        you can rest on the record.

        16                    MS. POVMAN: Judge, I'm going to rest on the

        17        record, subject to the production of the aided report, if

        18        exists, because that aided report should have been turned

        19        over as part of the original Rosario material prior to the

       20         hearing. The officer testified he prepared one. It doesn't

       21        look like there is one in the Rosario list and I think we

       22        should just have a definite answer.

       23                     THE COURT: Yeah.

       24                     MS. POVIIAN: One way or the other.

       25                     THE COURT: My understanding of the officer's
                                                                                cbb
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 131 of 907 PageID #: 494



                                 PO Pampena/Deferise/Cross-Pimentel              50

         I        response is that that's something that he does as a matter

         2        of course, you know. He did not make any memo book entries

         3        about him having done it in this case. So, People, would

         4        you make a full search of the records to see whether or not

         5        that report exists?

         6                   MS. SCHNEIDMILL: Of course, your Honor.

         7                   THE COURT: It's now Wednesday, January 8th, you

         8        know. Can we have this matter then adjourned for a short

9                 date, a control date, just so I can make sure that that

        10        report is in the hands of the defense, if it exists, and

        11        then I will make a decision on that adjourn date.

        12                   MS. SCHNEIDMILL: We can, your Honor. The only

        13        thing is I believe Officer Parnpena is away for the next two

14                weeks so it would have to be - -

        15                   THE COURT: Except he is there today.

        16                   MS. SCHNEIDrIILL: No, no. He can check -- I mean,

        17        we can -- he can check sometime this week, but I believe

        18        this is his last week of work for two weeks.

        19                   THE COURT: Right. So I think -- expect that this

        20        is his last working day for the next two weeks?

        21                   MS. SCHNEIDMILL: I don't know if this is the last

       22        working day. I have to ask him. I know this was one of the

       23         last days he was around.

       24                    THE COURT: That's fine. The only thing that I

       25         need to make       I want to make sure defense has in their
                                                                                cbb
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 132 of 907 PageID #: 495



                               P0 Pampena/Defense/Cross-Pimentel                 51

         1        possession, if it exists, is a copy of that aided report.

         2        So since he is on duty today, he is working today, he will

         3        leave here to go back to the precinct. I need him to make a

         4        diligent search of his records to see if there was an aided.

         5        There are police department forms. There are places that

         6        they keep copies. He has to make a search of all of those

         7        areas today and make a statement to you as to whether or not

         8        it exists. And if it exists, get a copy of that to you, you

         9        know, hopefully today but certainly by the adjourn date.

        10        And I don't have to have the matter adjourned for two weeks.

        11        It seems to me that any work he needs to do to find that

        12        report can be done today.

        13                   MS. SCHNEIDMILL: I agree, your Honor.

        14                   THE COURT: This case can be adjourned, again, a

        15        control date for the production of that report, if it

        16        exists. It's the 8th today. Counsel what short date works

        17        for you all?

        18                   MR. PI1ENTEL: I can do Friday.

        19                   MR. BALL: I will do it this Friday.

        20                   MS. POVMAN: I can do Friday as well in the

       21         morning.

       22                    MS. SCHNEIDMILL: I have a hearing on Friday, your

       23        Honor. If we can do either next Tuesday -- no. Tuesday,

       24        morning of the 14th, can we do that?

       25                    MR. PIMENTEL: I can do the 14th.
                                                                                cbb
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 133 of 907 PageID #: 496



                                 PO Pampena/Defense/Cross-Pimentel               52

             I                  MS. POVMAN: I can do the 14th.

         2                      THE COURT: Then the matter is adjourned to

         3           Tuesday morning, 1/14 for control, for the production of

         4           that report, if it exists. And if it doesn't, an

         5           affirmative statement from the People that it does not

         6           exist.

         7                      MS. POVMAN: Judge, I'm going to request

         8           permission to order the minutes pursuant to 188.

         9                     THE COURT: Absolutely.

        10                      MR. BALL: Your Honor, I want to thank you very

        11           much

        12                     THE COURT: Sure. See you on the 14th.

        13

        14       CERTIFIED TO BE A TRUE AND ACCURATE TRANSCRIPT OF THE ORIGINAL

        15       STENOGRAPHIC MINUTES TAKEN OF THIS PROCEEDING.

        16

        17                                     Atw (tkuW
                                              CARRIE BELMONTE
        18                                    Senior Court Reporter

        19

        20

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       23

       24

       25
                                                                                cbb
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 134 of 907 PageID #: 497



                                                                               53



         11                       EXAMINATIONS

         2     WITNESS                                                          PAGE

         3
               DANIEL L A N N I N G
         4     DIRECT EXAMINATION                                                     15
               BY MR. PIMENTEL
         5
               ANGELO P A M P E N A
         6     DIRECT EXAMINATION                                                     30
               BY MS. POVMAN
         7     CROSS-EXAMINATION                                                      45
               BY MR. PIMENTEL
         8

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Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 135 of 907 PageID #: 498




        1   SUPREME COURT OF THE STATE OF NEW YORK

        2   COUNTY OF QUEENS:     CRIMINAL TERM PART K20

        3   ---------------------x

        4   THE PEOPLE OF THE STATE OF NEW YORK              Indictment
                                                             No. 2228/2012
        5                  -   against   -




        6   RAYMOND BALL, ELIJAH BROOKS,

        7                                    Defendants.        Proceedings

        S   ---------------------X

        9                                                  January 14, 2014
                                                           125-01 Queens Boulevard
       10                                                  Kew Gardens, N.Y.

       11
            BEFORE:
       12
                               HONORABLE RONALD HOLLIE, JUSTICE
       13
            APPEARANCES:
       14
                               OFFICE OF RICHARD A. BROWN
       15                      DISTRICT ATTORNEY
                               125-01 Queens Blvd
       16                      Kew Gardens, N.Y. 11415
                               BY: NAOMI SCHNEIDMILL
       17

       18                      FOR DEFENDANT BALL
                               LINDA POVMAN, ESQ.
       19                      123-35 82nd Road
                               Kew Gardens, N.Y. 11415
       20
       21                      FOR DEFENDANT BROOKS
                               ALEXIS PIMENTEL, ESQ.
       22                      3753 90th Road
                               Jackson Heights, N.Y.    11372
       23

       24                                      L

                                                     MARCIA MARSHALL
       25                                          SENIOR COURT REPORTER


                                                                          MAM
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 136 of 907 PageID #: 499



                                                                                2
                                            PROCEEDINGS
        1                     THE CLERK:    Calendar No. Four, Indictment No. 2228

        2       of 2012, People vs. Raymond Ball and Elijah Brooks.             Both

        3       are produced downstairs.

        4                     THE COURT:    Appearances, counsel.

        5                     MS. POVMAN:     On behalf of Mr. Ball, Linda Povrnan,

        6       123-35 82nd Road.

        7                     MR. PIMENTEL:     On behalf of Mr. Brooks, Alexis

        8       Pimentel, 3753 90th Street, Jackson Heights, New York.

        9                     MS. SCHNEIDMILL:     Naomi Schneidmill for the

       10       People.

       11                     Good morning.
       12                     THE COURT:    Good morning, counsel.    The defendants

       13       are incarcerated, produced and not in the courtroom.            This

       14       matter is on the calendar for me to determine whether or

       15       not   --   in part, for me to determine whether or not there was

       16       an aided report that was prepared and whether or not those

       17       copies have been provided to defense counsel.

       18                    MS. SCHNEIDMILL:     Yes, your Honor,    The officer

       19      went back to the precinct and he called me later that night

       20      to tell me there was never an aided report prepared for this
       21      case, so he was mistaken when he first said that.

       22                    THE COURT:     Okay, and you are satisfied that I am

       23      giving you this information        --   he was giving you this

       24      information; that was his conclusion after looking for a

       25      report and then thinking back to his activities on that day
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 137 of 907 PageID #: 500



                                                                             3
                                          PROCEEDINGS

        1       and he's made an affirmative statement to you that he had

        2       not prepared a report that day?

        3                   MS. SCUNEIDMILLi:      Yes, your Honor.

        4                   THE COURT:    All right, so there are no further     --




        5       the matter was on the calendar for that report to be given

        6       to counsel.      It does not exist.    The reopen hearing issues

        7       have been heard, examinations made, and the defendants are

        8       not present in court, but I will advise counsel that I will

        9       give them   --   give the defense written decision, essentially,

       10       denying the motions to suppress and having the matter

       11       adjourned for a firm trial date       --   for a trial date in Tap
       12       A.

       13                   Counsel, if you can just give me dates that work

       14       for you.

       15                   MS. POVMAN:     Whatever date you want.

       16                   THE COURT:    For the purposes of this call,

       17       counsel, you are waiving the appearance of your client?

       18                   MS. POVMAN:     Yes.

       19                   MR. PIMENTEL:    Yes.

       20                   MS. POVMAN:     February 12th.
       21                   THE COURT:    2/12. Tap A.

       22            THE ABOVE IS CERTIFIED TO BE A TRUE AND ACCURATE

       23                        TRANSCRIPT OF THE TESTIMONY.

       24

       25                               MARCIA MARSHALL
                                     SENIOR COURT REPORTER
                                                                                1
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 138 of 907 PageID #: 501


                               Proceedings

  1    SUPREME COURT OF THE STATE OF NEW YORK
       COUNTY OF QUEENS: CRIMINAL TERM: PART TAP A
  2    --------------------------------------------X
       THE PEOPLE OF THE STATE OF NEW YORK,
  3

  4                     - against -                        Indictment No.
                                                           2228-2012
  5    ELIJAH BROOKS, RAYMOND BALL,
                                   Defendant.
  6
       --------------------------------------------X
  7                                SUPREME COURTHOUSE
                                   125-01 Queens Boulevard
  8                                Kew Gardens, New York
                                   January 5, 2015
  9
       B E F O R E :     HONORABLE BARRY KRON, ESQ.
 10
       A P P E A R A N C E S :
 11
       FOR THE PEOPLE:
 12          THE HONORABLE RICHARD BROWN, ESQ.
             DISTRICT ATTORNEY, QUEENS COUNTY
 13    BY:   CHRISTOPHER DOOLEY, ESQ.
             ASSISTANT DISTRICT ATTORNEY
 14
       FOR THE DEFENDANT BALL:
 15          LINDA POVMAN, ESQ.
             123-35 82nd ROAD
 16          KEW GARDENS, NEW YORK

 17    FOR THE DEFENDANT BROOKS:
             WYATT GIBBONS, ESQ.
 18          125-10 QUEENS BOULEVARD
             KEW GARDENS, NEW YORK 11415
 19

 20

 21

 22

 23

 24                                      JENNIFER ROSENBLATT
                                         Senior Court Reporter
 25

                                                                                      jr
                                                                                2
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 139 of 907 PageID #: 502


                               Proceedings

  1                       THE CLERK:    This is calendar number 13, 2228 of

  2           '12, Raymond Ball, Elijah Brooks.

  3                       Appearances, please.

  4                       MS. POVMAN:    On behalf of Mr. Ball, Linda Povman,

  5           123-35 82nd Road, Kew Gardens, New York.

  6                       MR. GIBBONS:     Good morning, for Elijah Brooks, by

  7           Wyatt Gibbons, 125-10 Queens Boulevard, Kew Gardens.

  8                       Good morning, your Honor.

  9                       MR. DOOLEY:    Chris Dooley for the People.

 10                       THE COURT:    Are the People ready for trial?

 11                       MR. DOOLEY:    No, the People request January 14.

 12                       THE COURT:    Any specific information as to why the

 13           D.A. is not ready today?

 14                       MR. DOOLEY:    I have -- the arresting officer

 15           became unexpectedly unavailable this week.          I am not sure

 16           what exactly happened.

 17                       THE COURT:    The 14th?

 18                       MS. POVMAN:    I am available the 14th, Judge.

 19                       MR. GIBBONS:     For the record, your Honor, we are

 20           ready.

 21                       THE COURT:    It's a 2012 indictment.       I would hope

 22           this case finally gets tried.        Time charged.     Same bail

 23           conditions.

 24                       THE CLERK:    1-14.

 25                       THE DEFENDANT:     Excuse me, your Honor, how are you

                                                                                      jr
                                                                                3
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 140 of 907 PageID #: 503


                               Proceedings

  1           doing today?     We was supposed to --

  2                       THE COURT:    I am actually having an unpleasant

  3           day.   How are you doing?

  4                       THE DEFENDANT:     I would like to be understood.

  5                       THE COURT:    I treat everybody the same.        It

  6           doesn't matter.

  7                       THE DEFENDANT:     I wanted to say today we were

  8           supposed to go forward with me becoming my own lawyer, as

  9           pro se that is.

 10                       THE COURT:    Once --

 11                       THE DEFENDANT:     Excuse me, sir.

 12                       THE COURT:    Once everybody answers they're ready

 13           for trial, I can't go through it today.          It will take --

 14                       THE DEFENDANT:     I have been asking for pro se for

 15           over three years.

 16                       THE COURT:    You're preparing to represent

 17           yourself?

 18                       THE DEFENDANT:     I can't go -- continue with -- go

 19           forward with her as my lawyer.        I have established that this

 20           is something that is not new to the judge.          We brought this

 21           time and time again to your attention.          And last time we

 22           were here, your Honor, you said that today you would give me

 23           the questionnaire and so that I could be --

 24                       THE COURT:    The questionnaire?

 25                       THE DEFENDANT:     A litany of questions that you

                                                                                      jr
                                                                                4
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 141 of 907 PageID #: 504


                               Proceedings

  1           would be asking me.

  2                       THE COURT:    There is a litany of questions.

  3                       THE DEFENDANT:     That's what you said.      You would

  4           be asking them today.      I am looking forward to you --

  5                       THE COURT:    Okay.    Here we go.

  6                       THE DEFENDANT:     Thank you very much, your Honor.

  7                       THE COURT:    This is Mr. Ball?

  8                       MS. POVMAN:    Raymond Ball.

  9                       THE COURT:    Mr. Ball, in looking at this, I see

 10           that this arrest, just numerical, is listed as number 26 in

 11           the cycle of cases that you have had through the years.

 12                       Have you represented yourself on any of these

 13           other prior matters?

 14                       THE DEFENDANT:     Yes, I have.     I represented myself

 15           in front of Judge Grosso, like I explained to you

 16           previously.

 17                       THE COURT:    I deal with a lot of cases.        I don't

 18           remember the specifics of what you told me.

 19                       Is that for trial or hearing?

 20                       THE DEFENDANT:     Trial, sir.    What happened, it was

 21           from '97 to 2000.      I was incarcerated and -- so, yes.

 22                       THE COURT:    You represented yourself in front of

 23           Judge Grosso at trial?

 24                       THE DEFENDANT:     Yes.

 25                       THE COURT:    You went through the process of

                                                                                      jr
                                                                                5
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 142 of 907 PageID #: 505


                               Proceedings

  1           questioning witnesses, presenting evidence?

  2                       THE DEFENDANT:     Yes.

  3                       THE COURT:    Did you have an attorney there to

  4           assist you?

  5                       THE DEFENDANT:     Yes, I did.    I have co-counsel.

  6                       THE COURT:    It's not co-counsel.      It's somebody

  7           who is formally there to assist you just in case.            You

  8           understand that on this case you are charged with a C

  9           violent felony and that if you're convicted, and because you

 10           would be a predicate felon, if you're convicted, the minimum

 11           sentence by law that you do receive would be five years,

 12           five year's post-release supervision.         And the maximum would

 13           be 15 years and five year's post-release supervision.

 14                       THE DEFENDANT:     Yes, sir.

 15                       THE COURT:    How far along did you get in school?

 16           Formal education?

 17                       THE DEFENDANT:     I was actually going towards my

 18           liberal arts degree.

 19                       THE COURT:    From first grade you can be going for

 20           a liberal arts degree.

 21                       THE DEFENDANT:     I am like shy of maybe nine, ten

 22           credits.

 23                       THE COURT:    You have completed most of your

 24           undergraduate credits?

 25                       THE DEFENDANT:     Yes.

                                                                                      jr
                                                                                6
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 143 of 907 PageID #: 506


                               Proceedings

  1                       THE COURT:    Any particular field?      Philosophy?

  2                       THE DEFENDANT:     Liberal arts.     I just told you.

  3           You know, actually I favor law.        I have serious passion for

  4           law now.

  5                       THE COURT:    I wish I could share that.       Be as it

  6           may, you understand that I am required to warn you that even

  7           though you have a passion for law and even though you think

  8           that, based on your prior experience, you think that you're

  9           fully capable of representing yourself, Ms. Povman has, it's

 10           safe to say, decades of experience and has done many more

 11           trials than you.

 12                       She has much greater expertise in how to present

 13           evidence, how to cross examine witnesses and that, for your

 14           own personal benefit, it is generally a much better idea to

 15           simply consult with your lawyer and let them use their

 16           formal training and experience and expertise in representing

 17           you then having you present this yourself.

 18                       You understand that that is the warning, the sort

 19           of things that the Appellate Court requires that I warn you

 20           of before I allow you to represent yourself.

 21                       THE DEFENDANT:     I would like for you to take into

 22           consideration, it is because of Ms. Povman's expertise that

 23           you explain to me that has brought me to have to be

 24           incarcerated for such a long, extended period of time.            I

 25           have been incarcerated from July of 2012 and this is now

                                                                                      jr
                                                                                7
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 144 of 907 PageID #: 507


                               Proceedings

  1           January of 2015, your Honor.

  2                       THE COURT:    Every time you come out here -- you

  3           have to stop cutting me off.        I don't have the patience for

  4           that.   I don't allow that.      You understand?     Every time you

  5           come out here, I try to move the case forward as quickly as

  6           I possibly can.

  7                       I know Ms. Povman has had extended medical issues.

  8           Today the case is --

  9                       THE DEFENDANT:     It's been two years.      This is the

 10           second time I have seen her since last year, your Honor.

 11                       THE COURT:    You're satisfied that after everything

 12           I have told you and warned you about, that you believe it's

 13           in your best interest to represent yourself?

 14                       THE DEFENDANT:     Yes.

 15                       THE COURT:    Do you have any problem if I make Ms.

 16           Povman available during the course of the trial as your

 17           adviser?    So although you represent yourself in terms of

 18           should you need to consult with her about anything, you

 19           don't have to, but should you otherwise think it might be an

 20           area that you would defer to her experience or one would

 21           want her input, she will remain available to speak with and

 22           to talk about anything even though you are representing

 23           yourself.

 24                       THE DEFENDANT:     Honestly, I mean, I would really

 25           like to have her replaced as assistant.          However, in the

                                                                                      jr
                                                                                8
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 145 of 907 PageID #: 508


                               Proceedings

  1           case that, you know, it's impossible --

  2                       THE COURT:    I don't think it's necessary to do

  3           that.

  4                       Ms. Povman, based on that and your interaction

  5           with Mr. Ball, his prior history in representing himself,

  6           his ability to express his thoughts, his something of a

  7           formal education, his lengthy expertise based on personal

  8           history in the Criminal Justice System and my having

  9           formally warned him of the potential hazard of doing that,

 10           he still wishes to represent himself.

 11                       I am satisfied I made the necessary inquiry and he

 12           can represent himself.

 13                       You would not disagree with that?

 14                       MS. POVMAN:    I have no problem with that.

 15                       THE COURT:    At this point, you can represent

 16           yourself.

 17                       THE DEFENDANT:     Can I make one application to the

 18           court, please, before I go?        Can you help me with this,

 19           please?

 20                       THE COURT:    I am not trying to rush you.        I deal

 21           with 60 or 70 cases.      This is not a trial part.       I can't

 22           spend as much time as I would --

 23                       THE DEFENDANT:     I want to read one little excerpt.

 24                       THE COURT:    I don't think I will allow you to

 25           read.   What is your point?

                                                                                      jr
                                                                                9
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 146 of 907 PageID #: 509


                               Proceedings

  1                       THE DEFENDANT:      The point is, according to Mooney

  2           versus Holohan, it's my obligation, once it is, that it's

  3           established that perjury was placed in front of the Court.

  4                       THE COURT:      At this point I heard enough for now.

  5                       The People are not ready for trial.          The People

  6           are charged until January 14.        Same bail conditions.      Time

  7           is charged --

  8                       THE DEFENDANT:      I would like to say -- ask you

  9           that I could have access to the law library at my facility.

 10                       THE COURT:      Anything we could endorse to have full

 11           access to the law library, please let him know.

 12                       THE DEFENDANT:      Thank you.

 13

 14

 15    *                              *                            *

 16    Certified to be a true and accurate record of the

 17    proceedings herein.

 18

 19                                    _____________________________
                                        JENNIFER ROSENBLATT
 20                                    Official Court Reporter

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                                                                                      jr
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 147 of 907 PageID #: 510

                                                                 L-1V   "1L5

                                                           COPY
          1 SUPREME COURT OF THE STATE OF NEW YORK

          2 COUNTY OF QUEENS:         CRIMINAL TERM: PART K14

          3                         -----------------x
              THE PEOPLE OF THE STATE OF NEW YORK,
          4
                              -against-                    Indictment No.
          5                                                   2228/12
                                                            JURY TRIAL
          6 ELIJAH BROOKS and RAYMOND BALL,
                                    Defendants.
          7                        ---------------
                                                                               /
                                    January 20, 21, 22, 23, 26,
          8                         28, 29, 30, 2015
                                     125-01 Queens Boulevard
          9                         Kew Gardens, New York 11415

         10
              B E    0 R E:
         11
                               THE HONORABLE BARRY A. SCHWARTZ
         12
              A P P E A R A N C E S:
         13
                               RICHARD A. BROWN, ESQ.,
         14                    District Attorney, Queens County
                               BY:: TIMOTHY SHORTT, ESQ.
         15                         Assistant District Attorney

         16                    WYATT GIBBONS, ESQ.,
                               Assigned Counsel for the Defendant BROOKS
         17
                               RAYMOND BALL, Pro Se Defendant
         18
                               LINDA POVMAN, ESQ.,
         19                    Assigned Counsel, Legal Adviser

         20



         22

         23
                                             Nancy Samxns,
         24                                  Senior Court Reporter

         25


                                                                                   NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 148 of 907 PageID #: 511


                                                                             2
                                       Proceedings

         1                  THE COURT CLERK: Number two on the calendar,

         2         indictment 2228 of 2012, Raymond Ball and Elijah Brooks.

         3         Both defendants are incarcerated, produced and being

         4         brought before the Court.

                            Appearances, please.

         6                  MR. SHORTT: For the People, Assistant District

         7         Attorney Timothy Shortt. Good morning.

         8                  MR. GIBBONS: Wyatt Gibbons, 125-10 Queens

         9         Boulevard, Kew Gardens.

        10                  THE COURT: Good morning, sir.

        11                  MS. POVMAN: As legal advisor to Mr. Ball, Linda

        12         Povman, 123-35 82 Road, Kew Gardens, New York. Good

        13         morning, Judge.

        14                  THE COURT: Good morning to you. I gather we

        15         are going pro se on this case?

        16                  MS. POVMAN: He is ready to go.

        17                  THE COURT: Good.

        18                  (Defendant enters the courtroom.)

        19                  THE COURT CLERK: Let the record reflect

        20         Mr. Brooks is present before the Court.

        21                  (Whereupon, there was a brief pause in the

        22         proceedings.)

        23                  THE COURT CLERK: Let the record reflect Raymond

        24         Ball is present before the Court.

        25                  THE DEFENDANT BALL: Good morning, your Honor.


                                                                                 NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 149 of 907 PageID #: 512


                                                                             3
                                        Proceedings

         1         How are you doing this morning?                  -

         2                  THE COURT: Good morning, sir. Mr. Ball, I

         3         understand you want to represent yourself in this case.

         4         Does that remain your position having had an opportunity to

         5         think about it and continue talking to Miss Povman about

         6         this situation, is that what you want to do?

         7                  THE.DEFENDANT BALL: Yes, your Honor.

         8                  THE COURT: Do you read and write and speak and

9                  understand the English language?

        10                  THE DEFENDANT BALL: Yes, sir.

        11                  THE COURT: Have you ever received or are you now

        12         receiving any treatment for any mental or physical

        13         condition that might have any affect on your ability to

14                 understand what's going on here?

15                          THE DEFENDANT BALL:    No, sir.

        16                  THE COURT: Very good. You have had a sufficient

        17         amount of time to reflect upon this decision?

        18                  THE DEFENDANT BALL: Yes, sir.

        19                  THE COURT: How many years of school have you had,

        20         sir?

        21                  THE DEFENDANT BALL: Like maybe nine credits away

        22         from my associates, your Honor.

        23                  THE COURT: Very good. Have you worked in the

24                 past?

25                          THE DEFENDANT BALL: Yes, I have.


                                                                                  NS
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               1                  THE COURT: What have you done?

               2                  THE DEFENDANT BALL: I did modifications as an

               3         electricians helper, you know, different things.

                4                 THE COURT: Right. And I know you have been

                5        involved in the criminal justice system in the past; is

             '6          that correct?

                7                 THE DEFENDANT BALL: That is correct.

                8                 THE COURT: So you have been in a courtroom before

                9        many times, I'm sure that's true?

              10                  THE DEFENDANT BALL: Unfortunately.

              11                  THE COURT: All right. Has anybody threatened you

               12        or coerced you or influenced you against your will to make

               13        this decision to represent yourself?

               14                 THE DEFENDANT BALL: No, no one threatened or

               15         coerced me in that way, but -- you know, under the

               16         circumstances, your Honor, it's hard for a black man to get

               17         the proper representation here in the judicial system, you

               18         know, what is it that it provides for, it really puts us

               19         in, how do you say, awkward position. Sometimes we really

               20         don't have a choice in the matter in the case that we want

               21         to be represented.
I I
22                                 THE COURT: Well, you have a choice. You can have

               23         Miss Povman, represent you, that's your choice

               24                  THE DEFENDANT BALL: Well, actually, your Honor, I

               25         had what you call explained to the judge previously that it


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         1         was Miss Povman's inadequacy as a representation that

         2         played a big role in making this choice.

         3                  THE COURT: Right.

         4                  THE DEFENDANT BALL: I mean, I would like to go

         5         forward though at this stage of the proceeding.

         6                  THE ' COURT: All right. You explained all of this

         7         to Judge Kron. When did that happen?

         8                  THE DEFENDANT BALL: Well, actually over a period

         9         of three years, two and a half years, your Honor.

        10                  THE COURT: Okay. And whatever application you

        11         made, did you move to have Miss Povrnan removed from the

        12         case?

        13                  THE DEFENDANT BALL: Yes, I did.

        14                  THE COURT: Judge Kron turned you down.

        15                  THE DEFENDANT BALL: Very adamant.

        16                  THE COURT: Adamant.

        17                  THE DEFENDANT BALL: You like that word?

        18                  THE COURT: Well, I met Mr. Justice Kron once or

        19         twice, he is capable of being adamant.

        20                  THE DEFENDANT BALL: I see that.

        21                  THE COURT: All right. Just answer my questions.

        22         Do you understand what you are charged with here?

        23                  THE DEFENDANT BALL: Yes, sir.

        24                  THE COURT: What are you charged      with?
25                          THE DEFENDANT BALL: Robbery in the second degree


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                                        Proceedings

         1         and possession in the fifth degree of stolen property.

         2                  THECOURT: There is an assault count as well.

         3                  THE DEFENDANT BALL:    It's funny that you mention

         4         that because, your Honor, I'm not mentioned in those three

         5         charges in the indictment. I'm only named in the

         6         indictment on the fourth charge of stolen property so I

         7         would like the Court to reflect that.

         8                  THE COURT: Do you have a copy?

                            THE DEFENDANT BALL: I have a copy, but I have not

        10         been named in the body of the indictment. It's only in the

        11         caption, your Honor, in the fourth count of the indictment

        12         they have me named for possession of stolen property, and

        13         they don't have Mr. Brooks, what you call, named in the

        14         indictment at all.

        15                  THE COURT: I do note that each of the counts that

        16         I am flipping through indicate that the indictment charges

        17         acting in concert.

        18                  THE DEFENDANT BALL: But     it doesn't name the

        19         defendants,: .your Honor, and it has to name them.

        20                  THE , COURT: Okay.

        21                  THE DEFENDANT BALL: I'm requesting possibly that

        22         you can provide one for us.

        23                  THE COURT: What's that?

        24                  THEDEFENDANT BALL: What you call, an indictment,

        25         that we canbe able to --


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                                         Proceedings

          1                    THE COURT: I thought you said that you had it?

          2                    THE DEFENDANT BALL: It's not signed by the

          3         foreman.

          4                    MR. GIBBONS: If I may, your Honor, what I believe

          5         co-counsel is referring to, I was given this opinion by my

          6         client today, it's People versus Lopez 4 NY3d 686 from

          7         2005, and there is a statement in here where it says that

          8         "the Allocution when it's planned for the Court realizes

          9         that while the defendant's name was in the caption he was

         10        not named i the body of the indictment. Although the

         11        Grand Jury voted true bill against the defendant only

         12        Ramirez was named in the two counts which allege that she

         13        acted in concert with another. The Court adjourned the case

         14        recognizing the defendant's continued interest in the

         15        disposition possibly by way of SCI." It went on to state

        16         that the indictment was defective and dismissal was

         17        required.

        18                     THE COURT: Because what?

        19                     MR. GIBBONS: Because they weren't named in the

        20         body of the indictment. While they were named in the

        21         caption, they were not named in the body of the indictment.

        22         There was new to me. He gave it to me just this morning in

        23         the pens.

        24                     THE DEFENDANT BALL: Your Honor -- I apologize.

        25                     MR.GIBBONS: It is a Court of Appeals case from


                                                                                  NS
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          I        2005. Whether it's still good law or not again I have not

         2         had an opportunity to shepardize it, but I do have the case

          3        which I can hand up to the Court.

          4                 THE COURT: All right. I will take a look at it,

         5         but we will move forward.

          6                 Counsel, have you seen it?

         7                  MR. SHORTT: I reviewed something about that.

         8         There was a case out of the Bronx earlier this year where

         9         there was an unsigned indictment, and that was dismissed.

        10         The Court has the only copy signed by the forepersori.

        11         Counsel and defendant were provided courtesy copy that were

        12         unsigned. As to the allegations there was no mention in

        13         the body. The caption is limited only to the People of the

        14         State of New York versus both defendants. Subsequent after

        15         that caption therefore not part of the caption is robbery

        16         in the second degree specifically charging Brooks and Ball

        17         robbery in the second degree specifically charging Brooks

        18         and ball assault in the third degree specifically charging

        19         Brooks and Ball and final criminal possession of stolen

        20         property in the fifth charging Raymond Ball individually.

        21         So the idea they are not mentioned anywhere else except for

        22         the caption is incorrect.

        23                  THE COURT: All right. 1-have heard enough. I

        24         will reserve decision on the application so that I can have

        25         an opportunity to read the case.


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          1                 THE DEFENDANT BALL: Can you hand up that other

          2        case, please?      Because he has the controlling case the

          3        later case then he wants to read the other case as well.

          4        Thank you, your Honor.

          5                 THE COURT: All right. Let's continue this. Can

          6        you explain to me what the purpose of today's court

          7        proceedings are?

          8                 THE DEFENDANT BALL: Sure, I can. Your Honor,

                   before we continue --

         10                 THE COURT: We are not going to do that. The

         11         first rule is for me to decide whether or not it's

         12        appropriate for you to represent yourself. That is what I

         13        am trying to do. So don't interrupt the process. If you

        14         can represent yourself, I will listen.

         15                 THE DEFENDANT BALL: I apologize. We are doing

        16         the voir dire and the Sandoval.

        17                  THE COURT: Do you know what a Sandoval

         18        application is?

        19                  THE DEFENDANT BALL: Yes, sir, prior criminal

        20         cases.

        21                  THE COURT: All right. Can you tell me what my

        22         function is and what the jury's function is?

        23                  THE DEFENDANT BALL: Well, you know, it's funny

        24         that you bring that up, your Honor, because you know, I

        25         look forward -- I have been waiting now two and a half


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         1         years to come and have my day in court. You see, in order

         2         to be in front of the jury, which, you know, I understand

         3         the jury, you understand is what you call the sole what you

                   call controllers of the trial and you, your Honor, serve as

         5         what is called a referee between the actual defendant and

         6         the prosecution.

                            THE COURT: All right. I will make the legal

         8         decisions, and the jury will make the factual decisions,

                   fair enough?

        10                  THE DEFENDANT BALL: Yes, sir.

        11                  THE COURT: You indicated last week that you had

        12         done this once before, you represented yourself. Tell me

        13         about that. When did that happen?

        14                  THE DEFENDANT BALL; I don't want to bring up the

        15         case because I don't want to open up the door for the

        16         District Attorney to be able to use that later.

        17                  THE COURT: You already told us that you tried a

        18         case. Mr. Shortt I think was in the room.

19                          THE DEFENDANT BALL: The case is sealed.

        20                  THE COURT: I understand that I'm not going into

        21         the underlying facts of the case. I just want to

        22         understand what you did, when you did it, before whom you

        23         did it and what happened.

        24                  THE DEFENDANT BALL: I had to represent myself in

        25         front of Jucge Grosso, your Honor.


                                                                                  NS
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                                        Proceedings

          1                  THE COURT: When was that?

         2                   THE DEFENDANT BALL: Between 2000 -- 1997 and

          3        2000, your Honor.

          4                  THE COURT: Did you select a jury in that case?

         5                   THE DEFENDANT BALL: No, sir.

          6                  THE COURT: You tried non-jury in front of Judge

         7         Grosso?

         8                   THE DEFENDANT BALL: Actually, your Honor, in my

         9         applications I wound up being released, and the case was

        10         dismissed prior to trial on that case.

        11                   THE COURT: So you never actually tried a case?

        12                   THE DEFENDANT BALL: Well, not exactly, your

        13         Honor.

        14                   THE COURT: Big difference between making a motion

        15         and making applications and a jury trial.

        16                   THE DEFENDANT BALL: 1 1 m representing myself in

        17         the same frame that I did.

        18                   THE COURT: Is it fair to say that you have never

        19         selected a jury?

        20                   THE DEFENDANT BALL: That's fair to say.

        21                   THE COURT: Is it fair to say you have never made

        22         an opening statement?

        23                   THE DEFENDANT BALL: That's fair to say, I have

        24         never made an opening statement.

        25                   THE CoURT: Fair to say that you never questioned


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          1        a witness on the witness stand?

         2                  THE DEFENDANT BALL: I never questioned a witness.

          3                 THE COURT: And never summed up?

          4                 THE DEFENDANT BALL: Never summed up.

          5                 THE COURT: By the way, Miss Povman, how many

          6        cases have you tried?

          7                 MS. POVMAN: Hundreds, I think it's 39 years,

          8        Judge.

                            THE DEFENDANT BALL: Very impressive.

         10                 THE COURT: Well, it is impressive. Miss Povman

         11        has been a professional practitioner in the courts of

         12        Queens for she says 39 years. I will take her at her word.
         13         I don't really remember Linda not being around.

         14                 THE DEFENDANT BALL: It's not whether she has been

         15         around for • a long time, your Honor. We are talking about

         16         her effectiveness of her assistance as counsel

         17         representation.

         18                 THE COURT: So am I.

19                          THE DEFENDANT BALL: I'm here, and I had to have

         20         her as a lawyer so I'm the best judge of that.
         21                  THE COURT: I don't think that's true, but the law

22                  says at the end of the day, it's your choice so I am sort

         23         of bound by that. You have discussed this with Miss
         24         Povman, I'm.sure, on numerous occasions.
25                          THE DEFENDANT BALL: Yes.


                                                                                  NS
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             .1             THE COURT: You wish to waive your right to be

             2      represented; is that correct?

             3               THE DEFENDANT BALL: That's correct, sir.

             4               THE COURT: Do you understand that I'm going to

             5      hold you to the same legal standards at this trial that I

             6      would hold any attorney to, and that includes Mr. Gibbons,

7                   Mr. Shortt, everybody is going to have a level playing

             8      field except for the fact that you have never tried a case

                    in your life and, Mr. Gibbons, by the way, as you probably

         10         know, just :beat a double homicide in front of me within the

         11         last month and a half.

         12                  THE DEFENDANT BALL: Congratulations.

         13                  MR GIBBONS: Thank you.

         14                  THE COURT: Mr. Shortt himself is an experienced

15                  felony trial lawyer; do you understand all of that?

         16                  THE DEFENDANT BALL: Yes, sir.

         17                  THE COURT: You know I'm going to hold you to the

         1          same legal standards as all the other lawyers in the case?

         19                  THE DEFENDANT BALL: As long as you are fair,

         20         that's it, that's all I ask.

         21                  THE COURT: Do you understand that there is an

         22         inherent unfairness about this because when I speak to Mr.

         23         Gibbons and when I speak to Mr. Shortt and when I speak to

         24         Miss Povman, we speak a language that we all understand,

         25         you know, because we have all been doing this for years,


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          1        and we are all legally trained, and when we use terms like

          2         Sandoval, they have a meaning to us that has a lot more

          3        depth to be honest than how you explained what Sandova].

          4        means. When I say Sandoval to Mr. Shortt or Mr. Gibbons or

          5        Miss Povman, they understand the standards, they understand

          6        what it means, they understand the balance test and all

          7         kinds of stuff that all I have to do is say the word

          8         Sandoval, and they all understand all of that.

          9                   THE DEFENDANT BALL: Yes, sir.

         10                   THE COURT: You will be held to understanding all

         11        of that?

         12                   THE DEFENDANT HALL: I look forward to it.

         13                   THE COURT: All right.

         14                   THE DEFENDANT BALL: For the record, I want to

        15         indicate, you know, the fairness or the unfairness doesn't

        16         what you call, stem from me being a novice here in the

        17         courtroom trying to represent myself. However, I believe

        18         that, you knows that the unfairness comes in the due

        19         process clause prohibiting the government from using false

        20         evidence to obtain a conviction including evidence going

        21         towards a witness' credibility. Ceno (phonetic) versus

        22         Illinois, in the principle that a state may not knowingly

        23         use false evidence does not cease to apply merely because

        24         of the false testimony goes only to the credibility of the

        25         witness.


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          1                  THE COURT: That is a fine and accurate statement

          2         of the law, but the way we handle those things is by cross

          3         examining witnesses, something you have never done and

          4         something Miss Povman has been doing for 39 years.

          5                  THE DEFENDANT BALL: Okay.    It goes onto say --

          6                  THE COURT: So when we talk about fairness, that's

          7         what we talk about.

          8                  THE DEFENDANT BALL: It says, your Honor --

          9                  THE COURT: I understand all of that.

         10                  THE DEFENDANT BALL: -- when false testimony is

         11         introduced

         12                  THE COURT: Mr. Ball, I'm going to drive this bus.

         13                  THE DEFENDANT BALL: Is it all right that I

         14         represent myself an 'd speak in the presence of you? I have

         15         to say this --

         16                  THE COURT: I'm going to decide when we are going

         17         to address certain issues and when we are not. Okay?

         18         Right now, right now we are talking about whether or not I

         19         am going to permit you to represent yourself. Okay?

         20                  THE DEFENDANT BALL: Yes,    your Honor.

         21                  THE COURT: Do you understand that you run the

         22         risk -- off the record.

         23                  (Whereupon, an off-the-record discussion was

         24         held.)

         25                  THE COURT: Do you understand that the District


                                                                                  NS
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          1        Attorney is an experienced prosecutor and he is really not

                   -- he is interested in beating you?

                              THE DEFENDANT BALL: I question his experience,

          4        your Honor.

          5                   THE COURT: We will find out in the next three or

          6         four days. All right. You do believe you are capable of

          7         representing yourself in this case?

          8                   THE DEFENDANT BALL: Your Honor, I'm here to

          9        question his --

         10                   THE COURT: I'm talking about you not him.

         11                   THE DEFENDANT BALL: I am here to represent

12                 myself.

13                            THE COURT: You want to do this? Are you ready to

        14         do this?

15                            THE DEFENDANT BALL: Yes, sir.

16                            THE COURT: I will let you do it. I find that you

         17        have knowingly and intelligently and voluntarily waived

        lB         your right to counsel. I am going to ask Miss Fovman to

        19         stay with us in an advisory capacity if that's okay with

        20         you, Miss Povnian?

        21                    MS. POVMAN: That's fine, your Honor.

        22                    THE COURT: Very good. Now, when we try this

        23         case, there will be no bench conferences, no one will stand

        24         up, and that applies to everybody. You are going to pick a

        25         jury from your seat, you are going to question the jurors


                                                                                  NS
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          1         from your seat. You are going to open from your seat, and

          2         you are going to close from your seat. If there are

          3         records to be made, you make a note of it, and when we have

          4         a break and the jury is not in front of us, then you can

          5        make a record on whatever legal rulings that I make during

          6         the course of the trial. Do you understand that?

          7                 THE DEFENDANT BALL: Yes, your Honor.

          8                 THE COURT: Do you understand that?

          9                 MR. GIBBONS: I do, your Honor. That's kind of

         10        weird, I'm used to moving around a little bit.

         11                 THE COURT: I know that. Have a seat. Be

         12         comfortable.

         13                 THE COURT: Mr. Shortt?

         14                 MR. SHORTT: My chair is pretty comfortable, very

         15

         16                 MR. GIBBONS: So literally from my seat the voir

         17        dire?

         18                 THE COURT: That's where you will be.

         19                 MR. GIBBONS: Wow, okay. That's a first, but

        20         okay. I understand;

        21                  THE COURT: The alternative is to allow you to

        22         wander around the courtroom and Mr. Ball not to which is

        23         unfair to him.

        24                  MR. GIBBONS: I understand.

        25                  THE COURT: So that's what we are going to do.


                                                                                   NS
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                                          Proceedings

          1                  MR. GIBBONS: That's not something that we can

          2         disclose to the jury while we are sitting here?

          3                  THE COURT: I mean they are not experienced people

          4         that's way this case is tried. That's it. It's really

          5         nothing to explain.

                             MR. GIBBONS: Though this is not TV, the media,

          7         you know, entertainment is inundated --

          8                  THE COURT: If Mr. Shortt asks his questions and

                    does not get up and then you ask questions and don't get

         10         up, and he asks his questions and doesn't get up, everybody

         11         is square.

     ''I 12                  THE DEFENDANT BALL: I promise I will not get up

         13         there.

         14                  MR. GIBBON: The only thing I object to is that he

         15         has front row seats.

         16                  THE COURT: That application is denied. We have a

         17         Sandoval application to make here. Do you want to be

         18         heard?

         19                  MR.. Sf-ORTT: Yes, Judge, any preference as to

         20         defendants?

         21                  MS. POVNAN: Judge, can we have a minute here?

         22                  THE COURT: Mr. Brooks is the first named

         23         defendant on the indictment.

         24                  MR. SHORTT: We will do Mr. Brooks first.

         25                  THE COURT: Mr. Gibbons, since Mr. Brooks is the


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                                        Proceedings

          1        first named defendant, I'm going to generally as a practice

          2        start off with you, and that applies to cross-examination

          3        and jury selection anD everything else.

          4                 MR. GIBBONS: Fine, your Honor.

          5                 THE COURT: Mr. Shortt, I will hear you.

                            MR. SHORTT: I will start off with, I will go from

          7        the most recent cases using the defendant's rap sheet as a

                   guide to earlier cases. There is one case that is not

                   before the Court a subsequent arrest eventually adjourned

         10        in contemplation of dismissal which involves a robbery of

         11        October 22 of 2012 at about 4:30 P.M. at 103 Street and

         12        Northern Boulevard here in the County of Queens.

         13                 At that time, Judge, the defendant and an

         14        apprehended other Mr. Frances Blackman who also had the

         15        same disposition approached the complaining witness pushed

         16        him against the wall and pushed him eventually to the

         17        ground and repeatedly beat him in the face and body, and

         18        they removed a cell phone and a sum of United States

         19        currency from the complaining witness's pocket without

        20         permission or authority. That was ACD. I don't really

        21         intend to ask questions about it unless the defendant were

        22         to open the door to that. I am just more or less making

        23         the Court and defense counsel aware that I know of this

        24         incident. If he were to open the door, Judge, I would

        25         reserve the right to make application to discuss it, but


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          I         given the fact it was ACD primarily because the complaining

          2        witness was not cooperative, I will not seek to cross

          3         examine the defendant about those allegations. I just

          4        wanted to bting that to the Court's attention.

          5                  THE COURT: Very good.

          6                 MR. SI-IORTT: Judge, starting with cycle 17 on the

          7         defendant's rap sheet, this was a robbery incident --

          8         attempted robbery on November 17, 2010 at 101 Street and

          9         Northern Boulevard here in Queens at about 9:40 in the

         10         evening a New York City police officer actually observed

         11         the defendant approach a complaining witness Mr. Julio,

         12         G-A-L-A-V-I--Z, Mr. Brooks jumped out from behind a fence

         13        punched the complaining witness in the face and body

         14         several times and forced him to the ground. The officer

         15         further observed the defendant actually continue to beat

         16         the complainant unconscious and actually observed blood on

         17         the defendant's shoes later on. That's how much the

         18         complaining witness was bleeding. The officer also

         19         observed the defendant reaching into the complaining

         20        witness' pocket and removing -- attempting to remove

         21        property before being apprehended. When confronted by the

         22        police officer, the defendant flailed his arms and refused

        23          to be handcuffed or submit to the authority of the police

        24         officer. The case was ultimately given a disorderly

        25         conduct. I'm not asking about the eventual adjudication.


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              1         I would seek to cross examine the defendant about the

              2         specific facts concerning that incident as well as not only

              3         the fact that he beat the complaining witness unconscious,

              4         Judge, but also that he would not submit to the lawful

              5         authority of the police officer who observed that crime and

              6         confronted the defendant because it goes directly to his

              7         ability to listen to the authority of this Court as well.

              8                  Moving on as to cycle 16 this is an event -- a

              9         robbery, armed robbery. This occurred with a codefendant

             10         on September 13, 2008 approximately 1:55 A.M. outside of

             11         104-22 Northern Boulevard in the County of Queens. You may

             12         remember the location, that is the exact location of this

             13         crime. In that case the defendant and a codefendant

             14         displayed what appeared to be a knife while removing

             15         several -- taking currency from a customer of the store

             16         Mr. Samaroa, S-A-M-A-R-O-A. The complainant stated that he

             17         was confronted by Brooks and the codefendant Mr. Anthony

             19         Dyson. They surround the complainant and demanded money in

             19         English which the complainant did not understand because he

             20         is a non-English speaker. The defendant -- there was an

             21         unapprehended other who actually displayed what appeared to

             22         be a handgun from his waistband. The complaining witness

             23         took what they were meaning and gave over the contents of

             24         his pockets at that time.

             25                  The eyewitness recognized actually both defendants


I'         HNS
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          1        as people who routinely rob customers directly outside that

         2          store and when confronted by the police officers in that

          3        case, Judge, the defendant stated the words specifically

          4        upon finding out he was being charged with robbery, are you

         5         really going to believe that illegal, referring to the

          6        complainant.

         7                  The defendant ultimately pled guilty to assault in

         8         the third degree in Queens Supreme Court on October 27 of

          9        2009 and received the sentence of one year. I would ask to

        10         be able to cross examine the defendant first that he was

        11         convicted of a crime related to that case, specifically the

        12         crime of assault in the third degree, the date of the

        13         conviction and sentence. This is obviously a crime of

        14         moral turpitude that the defendant specifically shows

        15         somebody chose somebody because he believed they would not

        16         call the police or report what happened. He or his

        17         codefendant displayed what appeared to be a weapon to

        18         overcome their will to steal the property, clearly a case

        19         of moral turpitude which reflects upon his credibility, and

        20         I ask to cross examine him not only on the facts, but the

        21         fact that he pled guilty to assault in the third degree in

        22         connection with that case. My understanding the reason the

        23         case was even though indicted was ultimately disposed is

        24         because the . complaining witness was uncooperative and could

        25         not be located.


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             1               Moving onto cycle 15, Judge, the defendant pled

          2         guilty on March 26 of 2008 in Queens Criminal Court to the

          3         charge of attempted assault in the third degree. On March

          4         18, 2008 the defendant was accused of assaulting Lisa

          5         Fernandez by punching her in the mouth and causing her to

          6         sustain lacerations and did so in the presence of the

          7        complaining witness' daughter who was twelve years old.

          8        This happened at 34-12 113 street apartment 1-F.

          9                 You may remember this is a witness who the defense

        10         intends to call during this trial. I would seek to ask not

        11         only this defendant but that witness because it could show

        12         coercion on the part of the complaining witness, the

        13         witness is coming forward because this defendant has

        14         admittedly been violent towards this complainant in the

        15         past.

        16                  THE COURT: You lost me.

        17                  MR. SE-IORTT: The defense is going to call Lisa

       :18         Fernandez who is the common law spouse.

        19                  THE COURT: The wife?

        20                  MR. Sf{ORTT: The common law spouse of the

        21         defendant. Speaking to Mr. Gibbons on Wednesday I don't

        22         know if this was on the record, she may be called to

        23         testify by the defense to state that the defendant was home

        24         in the moments prior to the incident that's before this

        25         Court    It is my belief, Judge, that given the domestic


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         1         violence history in this case, I don't know how much that

         2         testimony could be coerced. I would ask to be allowed to

         3         ask the defendant and the witness about whatever history is

         4         going on between the two of them.

         5                  The defendant in this case pled guilty to

         6         attempted assault in the third degree specifically

         7         assaulting the witness he is now calling. So I would ask

         8         to be allow to inquire of the defendant and also the

         9         complaining witness in that case who is going to be a

        10         witness for the defense Lisa Fernandez about that incident

        11         as well as the defendant's underlying convictions.

        12                  As to cycle 14, that case was the possession one

        13         bag of crack cocaine Northern Boulevard and 104 Street, I

        14         don't really intend to ask any questions with regard to

        15         that. The same would be for cycle 13, criminal possession

        16         of controlled substance in the seventh degree on 32 Avenue,

        17         I would not seek to ask the defendant about that or his

        18         2004 intoxicated driving offense.

        19                  THE COURT: And nothing previously presumably?

        20                   IR. SHORTT: The only thing I would ask for as to

        21         the July 19, 2001 the defendant's conviction for criminal

        22         facilitation where he attempted or acted in concert with

        23         another person to sell cocaine to an undercover police

        24         officer at the intersection of 101 Street and northern

        25         Boulevard. I do think that the fact that he is willing to


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                                        Proceedings

             1      participate with other people in obvious criminal activity

          2         does bear on his credibility.

          3                  THE COURT: Mr. Gibbons?

          4                  MR. GIBBONS: Thank you, your Honor. I don't care

          5         when we are not in front of the jury, but I'm trying to

          6         train you.

          7                 MR. GIBBONS: I appreciate that. I need to be

          8         trained. All my life speak to the judge, stand up, stand

          9        up, now you are telling me not to. Okay.

         10                 As to the conviction in in October of 2012 that is

        11         not contained in the rap sheet. I understand that Mr.

        12         Shortt said that -- you said you would not be going into

        13         it?

        14                  MR. SHORTT: No, unless it's raised.

        15                  MR. GIBBONS: It was adjourned in contemplation of

        16         dismissal back in 2012 and at this point it is dismissed

        17         and sealed so there should be no record, and I request that

        18         Mr. Shortt not be allowed to go into it under any

        19         circumstances.

        20                  As to the June 11 disorderly conduct, despite the

        21         fact that Mr. Shortt said exists, I would disagree and

        22         state that they were alleged facts but no facts were ever

        23         proven. He pled guilty to disorderly conduct. Any witness

        24         could have said anything in the complaint or even the

        25         indictment, but there was no conviction, and I don't


                                                                                  NS
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              I        believe there would have been any facts brought out in the

              2         allocution regarding beating somebody unconscious or

              3         reaching into their pockets, only that he was disorderly at

              4         that time, date and place. I would argue anything I don't

              5        understand it that is too prejudicial to be allowed to come

              6         out before the jury.

              7                 As to the October 27, 1 09 assault three, again

              8        while Mr. Mr. Shortt claims the underlying facts indicate

              9         an armed robbery, again my client pled to assault in the

             10         third degree, and I don't believe that Mr. Shortt if the

             11        Court allows him to go into it, should be allowed to go

             12         into anything beyond what the allocution was which was to

             13        an assault not to any type of robbery or attempted robbery.

            14                   Further I would argue that this would be too

             15        prejudicial as there is a charge of assaultive behavior in

             16        this indictment, and if that is brought before the jury,

            17         the prejudice would outweigh any probative value.

            18                  The March 2008 attempted assault, again I believe

            19         because it's a crime of alleged violence, I would argue

            20         it's too prejudicial to be brought out before the jury

            21         again because the fact this crime involves violence as

            22         well.

            23                  Regarding the questioning of the witness herself,

            24         honestly that's a new issue for me, your Honor, and I'm not

            25         sure what the case law says about something like that. I
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                                                                                      NS
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                                        Proceedings

             1      would certainly argue it's prejudicial and would outweigh

          2         any type of probative value that the DA may find. So I

          3         would ask that the Court rule that he not be allowed to go

          4         into any of the underlying facts or should Miss Fernandez

          5         or her daughter testify be allowed to inquire about this

          6         incident.

          7                 As far as the criminal facilitation on July 2001 I

          8        would argue initially that is too remote in time, that was

          9        almost 14 years ago, your Honor, and I submit to the Court

        10         again it's too remote in time, and the DA should not be

        11         allowed to go into that conviction or any of the underlying

        12         facts thereof.
        13                  THE COURT: All right. I am going to preclude the

        14         District Attorney from inquiring about the criminal

        15         facilitation case. I do find it is too remote. I am going
        16         to permit the District Attorney to inquire about the

        17         attempted assault in the third degree where the victim is

        18         an alleged -- I guess we will call her a semi-alibi witness

        19         in this case. I do find that because of who the

        20         complainant is, there is a probative value to the inquiry

        21         that bears on bias, coercion.

        22                  MR. GIBBONS: Is that if my client takes the stand

        23         or to the witness herself?

        24                  THE COURT: Well, I'm prepared to rule on that.

        25         This is not part of a Sandoval application, but since the


                                                                                  NS
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         1         subject has been raised, yes, I will allow him to cross

         2         examine the witness on this subject, and of course it would

         3         be bizarre to allow him to crass examine the witness on

         4         this and then allow your client to take the stand and not

         5         allow the DA to inquire on the subject.

         6                  MR. GIBBONS: I understand.

         7                  THE COURT: With respect to the October 27, 2009

         8         assault charge, I will permit the District Attorney to

         9         inquire about the underlying facts with the proviso that

        10         the location not be inquired into. And of course you can

        II         also inquire as to whether the defendant pled guilty to

        12         assault in the third degree on that case.

        13                  And finally with respect to the June 9, 2011

        14         disorderly conduct case I will preclude the Assistant

        15         District Attorney from inquiring about either that plea or

        16         the underlying facts that led to that plea. That is the

        17         ruling of the court.

        18                  MR. GIBBONS: Thank you, your Honor.

        19                  THE COURT: With respect to Mr. Ball, I will hear

        20         you, Mr. Shortt.

        21                  MR. SHORTT: Thank you, Judge. I will do the same

        22         sequential order with Mr. Ball starting with the most

        23         recent going back into his past. The first cycle number 27

        24         on the defendants conviction on a plea of guy April 13 of

        25         2012 for the crime of a trespass in the third degree for


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          1        which the defendant received a sentence of ten days, the

          2        defendant was observed inside of a foreclosed home -- I

          3        don't have the address -- by a New York City police officer

          4         and arrested for being inside the home that was not his.

          5        ask to be allowed to inquire if the defendant was convicted

          6        of a misdemeanor as to that particular charge as to cycle

          7        27.

          8                 Moving onto cycle 26 the defendant's conviction on

          9        March 19, 2012 in Queens Criminal Court this was an

        10         incident that occurred on December 3, 2011 about 6:00 P.M.

        11         at 99 Street and Northern Boulevard here in Queens County.

        12                  The defendant and a complaining witness who were

        13         friends at the time had a dispute over money and the

        14         defendant took out a knife and stabbed the complainant in

        15         the stomach with a knife. The victim was taken to Elmhurst

        16         Hospital after several days of being left unconscious and

        17         eventually had to have part of his intestines removed as a

        18         result of that case. He ultimately pled guilty to assault

        19         in the third degree and received a sentence of time served.

        20                  It is my understanding he was then incarcerated

        21         from the date of his arrest until the date of the plea on

        22         March 19. The complaining witness was a friend of the

        23         defendant and not cooperative, Judge. That was why the

        24         case eventually ended up being reduced to a misdemeanor

        25         plea. I would ask to inquire of the defendant not only the


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         1         fact that he pled guilty to this charge on March 19 of

         2         2012, but the fact that it was assault in the third degree

         3         specifically a misdemeanor as well as the facts underlying

         4         it.

         5                  It shows the defendant, when things do not go his

          6        way, is willing to revert to particularly egregious

         7         conduct. If he is willing to take out a knife and settle a

         8         dispute, I don't think it would be anything to put past him

          9        that he would lie to the jury and I think the jury should

        10         know that. That's what I would ask for as to cycle 26. As

        11         to cycle 27, Judge --

        12                  THE COURT: 25.

        13                  MR. SHORTT: My apologies, you are right. The

        14         defendant pled guilty to menacing in the second degree. It

        15         was a domestic violence allegedly in New York County,

        16         Judge. The only information is the defendant waived a

        17         knife at the complaining witness. The defendant eventually

        18         pled guilty on February 16 2012 to menacing in the second

        19         degree a, class A misdemeanor and sentenced to a term of 30

        20         days in jail.

        21                  I would ask to be allowed to inquire of the

        22         defendant as to the facts underlying the conviction that

        23         was a dispute the defendant decided to settle by taking out

        24         a knife. On February 16 2012 he pled guilty to misdemeanor

        25         menacing in the second degree and received 30 days in jail.


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         I                  Cycle 24, Judge, the defendant was arrested in

         2         February of 2012 for possession of marijuana and assault.

         3         He ultimately pled guilty in April of that year to

         4         possession of marijuana and received time served. He also

         5         had some sort of about burglar's tool on him. I'm not

         6         seeking to ask the defendant about that conviction.

         7                  As to cycle 23 the defendant was arrested on June

         8         21, 2011 at the corner of Third Avenue and East 123 Street.

         9         The defendant was observed -- the defendant assaulted a New

        10         York City police officer by spitting in the officer's face.

        11         When the officer attempted to arrest him the officer -- the

        12         defendant failed his arms and refused to be handcuffed. I

        13         would ask to be allowed to inquire of the defendant about

        14         not only his ultimate conviction on June 28 of 2011 for

        15         resisting arrest a class A misdemeanor in New York Criminal

        16         Court but also the facts underlying as it demonstrates the

        17         defendant's lack of respect of authority, of law

        18         enforcement and possibly of this Court.

        19                  As to cycle 27 -- cycle 22 the defendant was

        20         arrested and convicted for criminal possession of marijuana

        21         in New York County, I'm not seeking to ask the defendant

        22         any questions about that.

        23                  As to cycle 21, October 5th of 2010 the defendant

        24         was arrested on the charge of attempted rape in the first

        25         degree for an incident that occurred on September 3rd of


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          1        2010 about 4:00 A.M. at 32-50 106 Street. The case was

         2         investigated by the District Attorney's office and

          3        eventually sent to court on the charge of sexual

          4        misconduct. The defendant eventually pled guilty to

          5        coercion in the second degree, a class A misdemeanor on

          6        November 18, 2010.

         .7                 The facts of that case is the complaining witness,

         8         whose name T will not place on the record, went to the

          9        defendant in and around the area of 32-50 106 Street, and

        10         inquired about purchasing narcotics the defendant directed

        11         her to follow him into an abandoned house. when they got

        12         inside the abandoned house, the defendant took out a knife

        13         and put it against the complaining witness and forced her

        14         to perform oral, anal and vaginal sex.

        15                  The complaining witness reported the case

        16         immediately, but eventually became uncooperative. She was

        17         treated at a local area hospital for injuries and

        18         lacerations suffered during the assault, Judge.

        19                  This case classically goes to the fact that the

        20         defendant lured the complaining witness under the false

        21         pretense to provide her narcotics. She was very forthright

        22         in her admissions to the District Attorney's office that is

        23         exactly why she was there, she was a recovering and

        24         relapsing narcotics addicted person, and the only reason

        25         she had anything to do with the defendant that day was to


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             :1.   seek narcotics. He lured her into the abandoned house and

            2      assaulted her in the most heinous ways, so I would ask to

            3      inquire about the defendant's actions and the ultimate

            4      conviction of coercion in the second degree to show that he

            5      is willing to mislead people.

            6               THE COURT: Do you know what he allocuted to?

            7               MR. SI-TORTT: It was coercion in the second degree,

            8      Judge. He forced her -- my understanding speaking to the

            9      assigned assistant, I don't have the minutes because he is

        10         no longer at the office, he pled guilty to forcing her to

        11         perform acts and overcoming her will by threatening her,

        12         that was my understanding. it was very pro forma that

        13         eventually -- it was not on the criminal court complaint.

        14         It was a motion to be added at the time of disposition for

        15         purposes of disposition.

        16                  THE COURT: We are up to number 20.

        17                  MR. SHORTT: Thank you, Judge. As to number 20,

        18         it's a conviction on December 26 of 2008 for criminal

        19         possession of a controlled substance in the seventh degree.

        20         I will not seek to ask any questions about that. The same

        21         with cycle 19, October 31 of 2007, criminal possession of

        22         controlled substance in the seventh degree.

       23                  As to cycle 18, however, the defendant was

       24          observed in possession of and attempting to sell

       25          counterfeit DVDs. He does not possess any license to sell


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            1      them, Judge. This was a Street arrest by members of the 25

         2         Precinct anti-crime team, Judge, for selling counterfeit

            3      DVDs on the street.

            4               I ask to be allowed to inquire that the defendant

         5         was convicted of the crime of trademark counterfeiting in

         6         the third degree, a class A misdemeanor. It shows the

         7         defendant is willing to disobey the law very clearly out on

         8         the street a
                              ' nd out in the open, and it goes to his

         9         credibility as a witness, Judge.

        10                  Moving onto cycle 17 this was an arrest for an

        11         event that occurred on September 12, 2006 about 8:00 P.M.

        12         at 120, East 119 Street in New York County. The defendant

        13         eventually pled guilty on October 17 of 2006 to burglary in

        14         the third degree and received a sentence of nine months.

        15                  In that case, Judge, the defendant was found

        16         inside of a closed hair salon. The complaining witness had

        17         been out all night and decided to stop at her store to

        18         check things. When she approached she saw the metal roll

        19         gate was actLially rolled up even though she actually closed

        20         it earlier when she left for the day. She observed the

        21         defendant walking Out carrying a large black garbage bag.

        22         She attempted to stop him, but he fled. She called the

       23          police who eventually caught the defendant carrying

       24         property that was found inside the store. He was found

       25          several blocks away with the property, Judge, so I would


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         J.        ask to be allowed to inquire of the defendant not only of

         2         the crime of burglary in the third degree and the sentence

         3         of nine months, but also the facts underlying that as

         4         burglary in the third degree and possession of stolen

         5         property which he did not plead to but was included on the

         6         charges, clearly crimes of moral interpret which would bear

         7         on his credibility to anything he says to this jury.

         8         Judge, cycles 15, 14 --

         9                  THE COURT: 16,

        10                  MR. SHORTT: I'm sorry, 16, 15, 14 and 13 are all

        11         marijuana or controlled substance related counts, I'm not

        12         seeking to ask the defendant questions regarding those

        13         particular incidents. However, I would seek to cross

        14         examine the defendant as to cycle number 12 wherein it is

        15         an incident that occurred August 26 of 2004 about eleven

        16         A.M. at 101-16 31 Avenue here in Queens County.

        17                  The defendant ultimately in that case pled guilty

        18         on September 14, 2004 to assault in the third degree and

        19         received a sentence of probation of three years which he

        20         eventually violated and was sentenced to a term of sixty

        21         days. The facts underlying that case were the defendant

        22         was in sort of a verbal dispute with the complaining

        23         witness Mr. Eric Tait, T-A-I--T, and during the course of

        24         that verbal dispute, the defendant took out an electric

        25         drill and struck the complaining witness in the shoulder


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          1        and arm causing bruising, swelling and substantial pain to

         2         the shoulder. The complainant was removed to the local

         3         hospital. From what I can see in the file, he was

         4         diagnosed with a possible broken shoulder. It shows that

         5         when in doubt, the defendant will resort to dishonest means

         6         in order to settle things. I would seek to ask the

         7         defendant about those events as well as the events of

         8         conviction for assault in the third degree and essentially

         9         violating probation eventually showing that he will not

        10         listen to the orders of the court.

        ii                  Judge, that would be the sum total of my request

        12         on Sandoval for Mr. Ball.

        13                  THE COURT: Mr. Ball?

        14                  THE DEFENDANT BALL: Yes, sir. Okay. I guess we

        15         will start with cycle number 27; is that correct?

        16                  THE COURT: All right.

        17                  THE DEFENDANT BALL: Regarding the situation with

        18         an assault with a knife?

        19                  MS. POVMAN: That was a trespass you were in a

        20         building.

        21                  THE DEFENDANT BALL: Okay. Yeah. I would ask

22                 your Honor not for him to allow because that address he

        23         gave, it was actually my house, your Honor, and he doesn't

        24         have the address and he doesn't have the other information

        25         that would firly represent my situation in that case, your


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          1         Honor. So : I would ask for him not to be able to use that

          2        particular case because the address is not able and

          3        available, and he does not have other information that

          4        could go forwards, you know, establishing that I was there

          5         illegally.

                            THE COURT: Keep going.

         7                  THE DEFENDANT BALL: Okay. The next would be stop

         8         with a knife, 26?

         9                  THE COURT: That's correct.

         0                  THE DEFENDANT BALL: Your Honor, in that case, you

        11         see, we pled out to a class A misdemeanor because of the

        12         fact that in that case there wasn't enough evidence to

        13         establish the allegations in that case so I would ask for

        14         you to, you know, not allow that case to be used as well

        15         because of the fact that, you know, in the elements of the

        16         crime charged, you know, it doesn't constitute an A

        17         misdemeanor, and so the court and the District Attorney at

        18         that time in the case that they had, what you call, facts

        19         to support the allegations in that case then they would

        20         have went forward with the prosecution of a felony so

        21         that's what I would ask you please do not allow them to use

        22         that either. Thank you.

        23                  Going onto 25, you know, your Honor, the actual

        24         name of that person is domestic violence okay, that was

        25         actually a young lady that I was with for twelve years,


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                 1   your Honor, and that was the reason that I moved back to

                2    Queens. There was, you know, very disappointing to me,

                3    that sometimes women have a tendency to, you know, tell

                4    fibs, your Honor, and so one thing I learned as a man is

                5    that in situations with women even if you are wrong

                6    sometimes if you are right you still have to say you are

              7      wrong and that was the situation with the a young lady at

              8      350 East 124 Street I was with for over twelve years, and I

              9      raised her and her two sans, and it was a domestic dispute

            10       your Honor, but there was no violence, no knives or

            11       anything involved in that case. So I would ask for you to

            12       not allow him to use that as well.

           1 13              You know, your Honor, the next one is dealing with

            14       basically another same    issue -- okay, the resisting arrest
            15       I apologize.: Can you help me out?

            16               MS. POVMAW: Yes. What number is it, 25?

            17               THE DEFENDANT BALL: I apologize, your Honor.

            18               MS. POVMAN: Here is cycle 25.

            19               THE DEFENDANT BALL: What was the circumstances

            20       under this, your Honor?     We don't have it available so I

            21       really can't protest.

            22               MS. POVMAN: The DA is going to tell you.

            23               MR. SHORTT: Which cycle are we talking about?

           24                MS. POVMAN: 25.

           25                THE COURT: The resisting arrest    case.

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         1                  MR. SHORTT: 25 is the domestic violence, 23 is

         2         the resisting arrest.

         3                  THE COURT: 23.

         4                  THE DEFENDANT BALL: Is that with the purchase of

         5         the marijuana?

         6                  THE COURT: No, that's when you spit in the face

         7         of the cop.

         8                  THE DEFENDANT BALL: That was actually the

         9         purchase of marijuana, and that is actually what that case

        10         originated from is me purchasing marijuana, and I was part

        11         of what you call an operation where they buy and bust,

        12         people after buying coming out of 123 Street where there is

        13         a known drug lot. So the assault itself was never, what

        14         you call, that was never the issue. The case it was based

        15         on a purchase of marijuana which that's what the original

        16         case was all about so I would ask for you not to allow him

        17         to use that as well, your Honor.

        18                  The next one is the coercion, your Honor, you

        19         know, I want to just reflect on this. Your Honor, do you

        20         see the charges that's here?       They are very serious

        21         charges, they are charges about sexual rape and things of

        22         that nature. Your Honor, the judge that went in front of

        23         this she rejected it because she knew it was false. Anna

        24         Portrella (phonetic) is a friend of mines, like I said to

        25         you, she hasissues with getting high because that's what


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             1     we do, but she told me she was coerced by her relative, you

            2      see, to tell the police that this is what happened, and you

             3     know, ultimately this is what is it that the judge decided.

            4      The judge decided to have it brought down to a misdemeanor

            5      and sent the District Attorney back out because she would

            6      not accept it, and it was a woman judge actually so she

            7      would not allow them to bring this type of charges because

            8      she knew there was no basis to it.

            9               So, you know, when you have the report like the

        10         one that he is describing here, when I went to the

        11         precinct, your Honor, I already knew who the victim was,

        12         who the person was, and I knew the name. The name is Anna

        13         Portiella (phonetic), all right, your Honor, so the

        14-        circumstances that he described is not what happened, your

        15         Honor. I believe maybe she missed an appointment and had

        16         to give what you call some type of excuse for not being

        17         available someplace, so ultimately, you know, and I have

        18         seen her since again, so, your Honor, it's the situation

        19         that he described is not what happened otherwise I wouldn't

        20         be sitting here, your Honor, they would have prosecuted me

        21         for that, so I ask that you please not allow that case to
       22          be put into evidence or even consider that's the type of

       23          individual that I am, your Honor.

       24                  The CDs, I sold, your Honor, yes, I did, and if he
       25         decides he wants to use that, your Honor, by all means, I


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             1     did, and, your Honor, I will say it for the record that

         2         anything that I'm guilty of, your Honor, I will cop out to

         3         it as you see. So onto the next one.

         4                  MS. P0V4AN: That's the burglary incident.

         5                  THE DEFENDANT BALL: Okay, your Honor, in the case

         6         that the District Attorney wants to use the burglary, your

         7         Honor, it's okay, I agree with this. I concede to that

         8         because, your Honor, what happened is I was -- previously I

         9         used crack and actually this is one of the issues that is

        10         going to be raised throughout the trial, you know, because

        11         I am a substance abuser and not a robber, you understand,

        12         your Honor, I don't commit robberies. What happens in this

        13         burglary like he said the door was open, and I went in,

        14         your Honor, because it was open and I took the stuff. And

        15         so that's really what happened. I mean considering that

        16         the door was open, you know, that I didn't break-in, I

        17         didn't hurt nobody, I would ask that you not use that as

        18         well. If you would like to know the circumstances, yes,

        19         that is true:. I did go in through and open door, your

        20         Honor

        21                  THE COURT: All right. Thank you, Mr. Ball.

        22                  MS. POVMAN: One more. Go to twelve, it's an

        23         assault where you got probation.

        24                  THE DEFENDANT BALL: Can you give me the

        25         circumstances on that? Assault?        Oh --


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             1              THE COURT: You had a fight with a friend of

            2      yours.

            3               THE DEFENDANT BALL: Right, your Honor. If you

            4      look at the record, that was my house where I lived at and

            5      the guy -- actually he assaulted me, your Honor, and he

            6      worked across the street at a child day care where I was

         7         trying to work and have a part-time job, so he came to my

         S         residence, your Honor, so the officer -- because he was

         9         injured, they said they have to arrest me, because the

        10         actual event took place at my house in my residence.

        11                  THE COURT: All right.

        12                  THE DEFENDANT BALL: So I ask that you not allow

        13         him to use that as well.

        14                  THE COURT: Very good. Thank you, Mr. Ball.

        15                  THE DEFENDANT BALL: Yes, sir.

        16                  THE COURT: All right. Working my way up, I will

        17         preclude the District Attorney from inquiring about the

        18         September 14, 1 04 assault. I will permit the District

        19         Attorney to inquire about both the underlying facts and the

        20         conviction for burglary in the third degree. I do find

        21         that such a crime demonstrates that the defendant will

        22         place his interests above that of society.

        23                  I will permit the District Attorney to inquire

       24          about the conviction for trademark counterfeiting under the

       25          theory that Ehe defendant's engaging in this such conduct
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1                  also is indicative of him placing his interests above that

            2      of society. I will preclude the District Attorney from

            3      inquiring about the underlying facts of the coercion. I

            4      will permit the District Attorney to inquire as to whether

            5      or not the defendant pled guilty to coercion on November

            6      2010. The same rationale applying. I will permit the

         7         District Attorney to inquire about the underlying facts of

         8         the resisting arrest as well as his conviction for an A

         9         misdemeanor under the same rationale.

        10                  I will permit the District Attorney to inquire as

        11         to whether ot not on February 16, 2012 he was convicted of

        12         an A misdemeanor. I will also permit the District Attorney

        13         to inquire about his conviction on March 19, 2012 of an A

        14        misdemeanor and of his conviction on April 13, 2012. Just

        15         the fact that he was convicted of misdemeanors on those

        16         last three cases. That is the ruling of the Court.

       17                  THE DEFENDANT BALL: Thank you, your Honor.

       18                  THE COURT: Very good. It's 20 after twelve.

       19         What I will do now, I will direct that we get a panel over,

       20         but just so everybody understands, Mr. Gibbons knows my

       21         drill, but I will say it for everybody else, I fill the

       22         courtroom with close to 60 people is what we can squeeze in

       23         here including the jury box. I will then myself make

       24         inquiries of the entire panel as to things like illnesses

       25         religious beliefs, vacations, whether or not they know any


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         1         of us or any of the individuals named on the witness list,

         2         although I'm not sure the depth to which I want to inquire

         3         about whether there are people in the audience that know

         4         someone named Cohen in Queens County, it's kind of hard not

         5         to.

         6                  THE DEFENDANT BALL: Your Honor --

         7                  THE COURT: Mr. Ball.

                            THE DEFENDANT BALL: Please forgive me.

         9                  THE COURT: Let me please finish then I will hear

        10         you. Mr. Shortt, I think I can reasonably tell this jury

        11.        this case is going to be completed at least if not the

        12         latest early next week.

        13                  MR. SI-{ORTT: I hope so, Judge.

        14                  THE COURT: The address.

        15                  MR. SHORTT: It's in the Bill of Particulars.

        16                  THE COURT: Just sing it out.

        17                  MR. SHORTT; The corner of 105 Street and Northern

        18         Boulevard.

        19                  THE COURT: That's Corona?

        20                  '1R. SHORTT: Yes.

        21                  THE COURT: Also at that stage I will inquire as

                   to any language problems that the witnesses -- the

                   prospective jurors may have. We will then fill the box.

        24         will ask them as a group whether or not they can follow the

        25         law from me, whether they agree with it or not. I will


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            1      inquire about whether or not they can hold the District

            2      Attorney to the burden of proof which is beyond a

            3      reasonable doubt not higher, not lower.

            4               Mr. Gibbons and Mr. Hall, do you want me to

            5      inquire about whether or not they can follow the directive

            6      of should the defendant not testify that they are not to

         7         draw any inferences adversely to the defendant; is that

         8         what you want, Mr. Gibbons?

         9                  MR. GIBBONS: Yes, your Honor.

        10                  THE COURT: Mr. Ball?

        11                  THE DEFENDANT BALL: Yes, sir.

        12                  THE COURT: I will do that.

        13                  MR. GIBBONS: That will not preclude me from

        14         inquiring myself about it?

        15                  THE COURT: No. I will then ask them if they can

        16         keep an open mind and not decide the case until they have

        17         heard everything including my instructions on the law. I

        18         will then inquire individually of the men and women in the

        19        box as to what neighborhood they live in, how far they went

       20          in school, what they do for a living, single, married

       21         widowed, divorced, kids if relevant, prior jury service,

       22         whether or not they or a loved one have been convicted of a

       23         crime or have been victimized by a crime, friends and

       24         family in law enforcement, and whether or not they can be

       25         fair.


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            1               I will then permit each side 15 minutes to inquire
2                  on your own, seated, and that's how we will proceed. We
3                  will reconvene at 2:00. Anything before we break?

4                           MR. GIBBONS: Yes, your Honor, my client signed
         5         the Antorrimarchi waiver.

         6                  THE COURT: It's kind of academic in this case.

         7         For the record, I will note that the defendant has waived
         8         Antormnarchi, the defendant Brooks has waived Antomxnarchi.
9                  I will sign it, but I don't see under these circumstances

10                 how there would be any instance when anything is going to
11                 be done in this case other than in open court so it's
        12         somewhat academic.

13                          MR. GIBBONS: Understood. I have a subpoena duces
        14         tecum for medical records.

        15                  THE COURT: All right.

16                          MR. GIBBONS: My client has raised the issue of

        17         30.30 and I guess 30.20 as well. He wants to go forward

        18         with the case and does not want me to file the motion which

        19         I told him would halt the proceedings, but he wanted me to
        20         put on the record that he does not want to waive his right
       21          to any 30.30 relief he might have.

       22                  THE COURT: Duly noted.
       23                  THE DEFENDANT BALL: Yes, your Honor.
       24                  MR. GIBBONS: I believe he joins that application.
       25                  THE COURT: Very good. The defendant Ball joins

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            1      in the application. Okay. I will hear you now.

            2               THE DEFENDANT BALL: I just wanted to ask you, you

            3      know, in respect to me putting in the application for you

            4      to charge the jury a certain way, would this be a good time

            5      to ask you?

            6               THE COURT: No, we will do that at the end of the

         7         case because what I instruct the jury and what I don't

         8         instruct the jury in large part will be influenced by what

         9         the evidence is and what the evidence isn't. So that's

        10         when we do it.                                           -

        11                  THE DEFENDANT BALL; Okay. I will ask Miss

        12         Povman. Thank you.

        13                  THE. COURT: Anything else?

        14                  MR. GIBBONS: No, your Honor defendant.

        15                  THE DEFENDANT BALL: No, your Honor.

        16                  MR. SHORTT: No, your Honor.

        17                  THE COURT: 2:00.

        18                  MR. GIBBONS: I understand Mr. Ball is a Muslim;

        19         is that correct?

       20                  MS. POVMAN: You don't come to court on Friday?

       21                  THE DEFENDANT BALL: I will come to court. I will

       22         not hold up the trial.

       23                  THE COURT: Very good.

       24                  MR. GIBBONS: I have one scheduling issue.            I am

       25         closing on the sale of my co-op. and I'm trying to get it


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            I      done before the end of the month, so I don't have to make

         2         another mortgage and maintenance payment so I might need

            3      one day. I will try to schedule around the court's

         4         schedule obviously but I want to do it before the end of

         5         the month so I just wanted to alert the court to that

         6         possibility.

         7                  THE COURT: All right. Are you going pro se on

         8         that?

         9                  MR. GIBBONS: I am.

        10                  THE COURT: What a fool.

        11                  (Defendants exit the courtroom.)

        12                  (Luncheon recess taken.)

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            1               AFTERNOON              SESSION

         2                  THE COURT CLERK: Recall of number two on the

            3      calendar, indictment 2228 of 2012, Raymond Ball and Elijah

            4      Brooks. The defendants are incarcerated and produced being

         5         brought before the Court. The appearances are the same.

6                           (Whereupon, there was a brief pause in the

         7         proceedings.)

         8                  THE COURT CLERK: The defendant Brooks is present

         9         before the Court.

        10                  (Defendant enters the courtroom.)

        11                  THE COURT CLERK: The defendant Raymond Ball is

        12         present before the Court.

        13                  MR. GIBBONS: Your. Honor, just one brief issue, in

        14         reviewing my client's rap sheet after the Sandoval, the

        15         People had originally filed notice of I believe

        16         discretionary persistent when he was first arraigned. I

        17        was not the attorney at the time. In reviewing the sheet,

       18          it appears he is just a predicate felon, not violent

       19         predicate felon and the minimum would be five years, and I

       20         don't know if that was ever relayed to him, and I just let

       21         him know what it is, and he said he would not be interested

       22         anyway.

       23                   THE COURT: All right. Duly noted.

       24                   MR. GIBBONS: Thank you, your Honor.

       25                   THE COURT: Over the lunch break, I had an


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            1      opportunity to read the Lopez case that was furnished to me

            2      as well as the Bennett case, an 1867 Court of Appeals case,

            3      even before Gibbons was born.

            4                THE DEFENDANT BALL: Controlling case, your Honor.

            5                THE COURT: I am satisfied that neither of those

         6         cases will require me to dismiss this indictment. I do

         7         adapt the District Attorneys view that the defendants were

         8         not only named in the caption, but in the bottom portion of

         9         the caption both defendants' names were mentioned, and all

        10         of the counts refer to the defendants acting in concert

        11         with each other allowing for no misunderstanding as to who

        12         was indicted by this Grand Jury so the motion to dismiss is

        13         denied.

        14                   MR. GIBBONS: Note our objection, your Honor.

        15                   THE COURT: Noted. You have an exception as well.

        16                   MR. GIBBONS: Thank you.

        17                   THE COURT: Are we ready for the jury?

        18                   MR. SHORTT: Judge, because of the pro se

19                 defendant, I would make a motion in liminae at this time to

        20        preclude the defendant or at least be admonished not to

       21         mention the facts of the case or any law of the case during

       22         the jury selection process. Specifically the defendant

       23         stated he would make his substance abuse history part of

       24         this trial, .1 move to preclude any mention of that as not

       25         being relevant to this case and certainly to the first


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         1         round of voir dire.

         2                  THE COURT: Do you want to be heard?

         3                  THE DEFENDANT BALL: Of course. Your Honor, you

         4         know, the actual case it all revolves around 105 Street

         5         which is a notorious crack block, and this is where is it

         6         that this alleged crime took place. So, you know, I think

         7         this would be a very important aspect of our case because

         8         this is where if you look at my criminal background, that

         9         is a place where what you call was caught previously with

        10         possession of crack, possession of marijuana at that same

        11         location so I think that if you don't allow us to bring

        12         that into evidence, it would prejudice my case.

        13                  THE COURT: That's not what he is asking. He is

        14         simply asking that you, and I will expand this from you to

        15         everybody, be precluded from addressing the facts of the

        16         case during the voir dire portion of the trial. I am going

        17         to grant that motion, and that ruling will apply to you and

        18         apply to Mr. Gibbons and Mr. Shortt, the District Attorney.

        19         Anything else before we bring in the jury?

        20                  THE DEFENDANT BALL: No, Judge.

        21                  MR. SHORTT: That's it, Judge.

        22                 MR. GIBBONS: Nothing, your Honor.

        23                 THE COURT: Very good. Bring them in.

       24                  THE COURT OFFICER: Are you ready, Judge?

       25                  THE COURT: Ready.


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         1                   THE COURT OFFICER: Jury entering.

         2                    Whereupon, the prospective jurors enter the

         3         courtroom.)

         4                   THE COURT: Mr. Shortt, will you move the case to

                   trial?

         6                   MR. SHORTT: The People so move, your Honor.

         7                   THE COURT: Thank you. Good afternoon, ladies and

         8         gentlemen. My name is Justice Barry A. Schwartz. I want

         9         to welcome you to [<-14, an American court of law. We are

        10         here to try the case of the People of the State of New York

                   against Elijah Brooks, who is the gentleman in the black

12                 sweater, and Raymond Ball, who is the gentleman seated next

        13         to him.

        14                   This trial will beginwith the selection of a jury

        15         from amongst you people. We are all very fortunate to live

        16         in a free and democratic society. Our system of justice is

        17         a key component to our freedom and at the heart of our

        18         system of justice is the right to a fair trial by a jury of

        19         our peers. That is the purpose of today's procedure, to

        20         help ensure that both sides get a fair trial. For this

        21         process to continue to work as it has for more than 200

        22         years, you men and women are being asked to make this small

       23          sacrifice of time from your , daily lives. By serving as

       24          jurors you are serving your country, you are helping to

       25         make our system of justice a fair one, and for your service


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            1      and for your cooperation, I do thank you.

         2                  In this case, the defendants have been indicted

         3         for committing the crimes of robbery in the second degree

         4         and related counts. You will note that there are two

         5         defendants in this case. We are trying this case together,

         6         but it is your obligation to evaluate the evidence as it

         7         applies or fails to apply to each defendant separately.

         8         Every instruction on the law must be considered by you as

         9         referring to each defendant separately.

        10                  You must at the end of the case, and we will talk

        11         about this more, you must return separate verdicts for each

        12         defendant, and these verdicts may be but need not be the

        13         same. As I said, it will be your sworn duty to give

        14         separate consideration to the case of each individual

        15         defendant.

        16                  Now, bear in mind that the charges set forth in

        17         the indictment are allegations only, it is simply a device

        18         to bring defendants to Court. An indictment is proof of

       19         nothing. The defendants are presumed innocent, and their

       20         presumption of innocence rides with them as they sit here

       21         now and continues throughout the trial unless and until

       22         they are proven guilty separately beyond a reasonable

       23         doubt. That burden of proof never shifts to the

       24         defendants. Should either or both defendants choose not to

       25         testify on their own behalf, you may draw no inference of


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         I         guilt from that decision.

         2                  Now, at this point I want to take the opportunity

         3         to introduce the attorneys. The People are represented by

         4         District Attorney Richard A. Brown, Assistant District

         5         Attorney Timothy Shortt will prosecute this case on his

         6         behalf. He is seated to my right.

         7                  MR. Sh'ORTT: Good afternoon, ladies and gentlemen.

                            THE COURT: The defendant Brooks who I already

         9         named is represented by Mr. Wyatt Gibbons.

        10                  MR. GIBBONS: Hello, everyone. Good afternoon.

        11                  THE COURT: Mr. Ball has elected to represent
12                 himself at this trial as is his right. Under our law every

        13         defendant has a right to have a lawyer represent him and to

        14         have the court appoint a lawyer if he cannot afford one.

        15         At the same time, every defendant has a right to represent

        16         himself if he so chooses. The defendant here has chosen to

        17         exercise that right. Again you are not to draw any

        18         inference unfavorable to the defendant from his exercise of

        19         his right to represent himself.

       20                   Seated next to Mr. Ball is Miss Linda Povman, who

       21         will serve in an advisory capacity for him.

       22                  MS. POVMAN: Good afternoon.

       23                  THE DEFENDANT BALL: Good afternoon.

       24                  THE COURT: It is your function to apply the

       25         questions offact and from the meshing of the law and the


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         1         facts, you, the jury, will make the ultimate determination

         2         as to whether any or both of these defendants are guilty or

         3         not guilty of the crimes charged.

         4                  We select a jury by asking questions of the

         5         prospective jurors questions. Those of you who are called

         6         to the jury box will be asked questions by me, by the

         7         prosecutor, and by the defense lawyers. The purpose of

         8         this questioning is to select a fair and impartial jury,

         9         fair to the prosecution and fair to the defense.

        10                  I want all of you who are not called initially to

        11         the jury box to listen to the questions asked of those in

        12         the jury box because before this process is over, many, if

        13         not all of you, will be called to the jury box, and you

        14         will be asked similar questions. Again I want to thank you

        15         for your willingness to serve as jurors.

        16                  The clerk will now swear the panel.

        17                  THE COURT CLERK: Please stand and raise your

        18         right hands.

        19                  (Panel sworn.)

        20                  THE COURT: Ladies and gentlemen, we are going to

        21         begin this process by me asking a series of questions to

        22         everybody in the room. Number one, is there anyone here

        23         who has a religious belief that will prevent you or

       24          prohibit you. from sitting in judgment of a person and

       25          voting guilty or not guilty?


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         1                  The crimes that are charged allegedly took place

         2         on 105 Street and Northern Boulevard which is in Corona.

         3         Jurors will be prohibited from going to the scene during

         4         the course of your service. Is there anyone here who lives

         5         so close to that particular intersection, that it would be

         6         impossible for you to obey my directive not to go to that

         7         area for the next couple of days? Very good.

         8                  Is there anybody here who has a medical condition,

         9         that's not a cold, that's not the flu, but a medical

        10         condition that would interfere with your ability to serve

        11         as a juror?    Very goad.

        12                  Is there anybody here who knows me or any of the

        13         three lawyers or the two defendants, or any of the

        14         following individuals; Tarek El Turkey, Detective Daniel

        15         Lanning, Police Officer Angelo Pamperia, Michael Cohen or

        16         Janet Cohen, Lisa Fernandez, Aja Brooks?       Thank you.

        17                  Now, this trial should be concluded hopefully by

        18         the end of this week, but certainly by the first day or two

        19         into next week. It will, of course, interfere with

        20         everybody's personal life, everybody's work, everybody's

        21         social life, but that is not a justification for shirking

        22         your duty as a citizen to serve as a juror.

        23                  Raving said that, is there anyone who has an

        24         obligation that is so critically important that it would
        25         create an exceptional hardship for you to serve?


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      ii.                     Sir, state your name.

         2                    JUROR: Singh.

         3                    THE COURT: What's the problem?

         4                    JUROR: I'm a medical solo practitioner and I have

         5         nobody to take care of my patients.

         6                    THE COURT: You are a doctor?

         7                    JUROR: Yes.

         8                    THE COURT: You have your own practice?

         9                    JUROR: Yes.

        10                    THE COURT: Do you have office hours today?

        11                    JUROR: Yes.

        12                    THE COURT: Who is covering for you today?

        13                    JUROR: Just for today, my secretary is there, but

        14         nobody is there.

        15                  THE COURT: Are they postponing those appointments

        16         and putting them over to next week?

        17                  JUROR: Only for today.

        18                  THE COURT: If you go Out of town, there is no

        19         doctor that can cover an emergency for you?

       20                   JUROR: Yes, but that's planned before, I plan

       21          like six to two months.

       22                  THE COURT: You did not plan on being on jury

       23         duty? You got a notice in the mail like everybody else in

       24         the room.

       25                  JUROR: At the same time I'm leaving the country


                                                                                  NS
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            1      next week for four or five days.

         2                  THE COURT: Do you have anything else in your back

            3      pocket that would persuade me that you shouldn't be a juror

         4         in this case?

         5                  JUROR: I have the ticket, and reservation.

         6                  THE COURT: You have tickets that you bought?

         7                  JUROR: Yes.

8                           THE COURT: You have them with you?

         9                  JUROR: I have it on line.

10                          THE COURT: You have it with you?

11                          JUROR: Yes.

12                          THE COURT: Where are you going?

13                          JUROR: Bermuda.

        14                  THE COURT: When?
15                          JUROR: On the 29th.

        16                  THE COURT: We will be done by then. Have a seat.

        17        Anybody else?     Yes, sir?     Your name.

       18                  JUROR: Do you think we will be done by the 27th?

19                         THE COURT: Yes.

       20                  JUROR: All right.

       21                  THE COURT: Yes, sir?

       22                  JUROR: I am a full-time student, I live and study
       23         in Philadelphia, but my permanent residence is here.

       24                  THE COURT: Everybody here is going to miss work,
       25         everybody who is not working, who is in school is going to


                                                                                  NS
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         1         miss school. That's it. Anybody else?

         2                  Finally, is there anybody here who does not

         3         understand what I am saying? Anyone that has such a

         4         problem with the English language that you believe it would

         5         be impossible for you to understand what is being said by

         6         the witnesses, what is being said by the lawyers, and what

         7         is said by me?

         B                  Fill the box.

         9                  THE COURT CLERK: When your name is called, please

        10         gather all your belongings and follow the directions of the

        11         court officer. I apologize now for anybody's name I

        12         mispronounce.

        13                  Number one, Kimberly Matthias, K-I-M-B-E-R-L-Y,

        14         last name, M-A-T-T-H-I--A-3. Number two, Yuda Matatov,

        15         Y-tJ-D-A, last name, M-A-T-A-T-O-V. Number three, Claude

        16         Masse, C-L-A-U-D-E, last name, M-A-S-S-E. Number four,

        17         Joshua Hyde, J-O--S-H-U-A, last name, U-Y-D-E.

        18                  THE DEFENDANT BALL Can you repeat that, please?

        19                  THE COURT CLERK: Joshua Hyde, H-Y-D--E.

        20                  THE DEFENDANT BALL: Thank you.

        21                  THE COURT CLERK: Number five, Leopoldo Hinds,

        22         L-E--O-P-O-L-D-O, last name, H-I-N-D-S. Number six, Andrew

       23          Hilbert, H-I-L-B-E-R--T. Number seven, Randy Ramdyal,

       24          R-A-N-D-Y, last name, R-A--M-D-Y-A-L. Number eight, Jean

       25          Barrett, first name, J-E-A-N, B-A-R-R-E-T-T. Number nine,

                                                                                  N5
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                                        Proceedings

             1     Patricia Bacchi, P-A-T-R-I-C-I-A, B-A--C-C-H-I. Number ten,

         2         Nicholas Altomerianos, A-L-T--0-M-E--R-I-A-N-0-S. Number

         3         eleven, Greg Goldstein, G-0-L-D-S-T-E-I-N. Number twelve,

         4         Hasina Poly, H-A-S-I-N-A, last name, P-O-L-Y. Number 13,

         5         Robert Persico, P-E-R-S-I-C-O. 14, Sofia Almeida,

         6         5-0-F-I-A, last name, A-L-M-E-I-D-A. 15, Wandali Perez,

         7         first name W-A-N--D--A-L-I, P-E-R-E-Z. Number 16, Lai Ha Ng,

         8         L-A-I, H-A, last name N-G.

         9                  THE COURT: Ladies and gentlemen, I'm going to

        10         begin by asking a series of questions to all 16 of you that

        11         are in the box. You will be the sole judges of the facts.

        12         I am the sole judge of the law, and you must apply the law

        13         as I give it to you whether you agree with me or not. Can.

        14         everybody here promise me that you will do that?

        15                  One law that I mentioned already, I will repeat

        16         it, the defendant is presumed innocent. He is required to

        17         prove nothing. The burden of proof is on the District

        18         Attorney. He must prove beyond a reasonable doubt that the

        19         defendants committed the crimes they are charged with. Can

        20         everybody prmise to hold the District Attorney to that

        21         burden of proof?

        22                  I said beyond a reasonable doubt. I did not say

        23         beyond all doubt. That is virtually impossible. Can all

        24         of you promise not to hold the District Attorney to a

        25         higher burden than beyond a reasonable doubt?


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                                        Proceedings

         1                  THE JURORS: Yes.

         2                  THE COURT: On the flip side of that, of course,

         3         is can everybody promise not to hold the District Attorney

         4         to a lesser burden than beyond a reasonable doubt? Can

         5         everybody do that?

         6                  I told you that the defendants do not have to

         7         testify on their own behalf, that is a cornerstone of our

         B         American system of justice, and I tell you that you cannot

         9         draw an adverse inference against the defendants should

        10         either of them choose not to testify. Can all of you

        11         promise to follow that law?

        12                  THE JURORS: Yes.

        13                  THE COURT    Finally, can all of you promise to

        14         keep an open mind, that is not decide this case until you

        15         have heard all of the evidence, all-of the arguments of the

        16         attorneys and my final instructions to you on the law; can

        17         all of you promise to do that?

       18                  THE JURORS: Yes.

       19                  THE COURT: Thank you very much. I will now ask a

       20          series of questions to you individually. I'm not prying.

       21          I will forget what you tell me very quickly, but it is an

       22         important part of the jury selection process. We will

       23         begin -- and again as our clerk said, please, if I

       24         mispronounce your name, please call me on it. I don't like

       25         my name being mispronounced. You all deserve the same


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                                           Proceedings

            1      respect.

            2                 Miss Matthias, what neighbor do you live in?

            3                 JUROR: Cambria Heights.

            4                 THE COURT: How far did you go in school?

            5                 JUROR.: College.

            6                 THE COURT; Are you a college graduate?

            7                 JUROR: Yes.

            8                 THE COURT: What do you do for a living?

            9                 JUROR: Medical assistant.

       10                     THE COURT: Single, married,widow, divorced?

       11                     JUROR: Single.

       12                     THE COURT: Have you ever served as a juror

       13         before?

       14                     JUROR: No.

       15                     THE COURT: Have you or a loved one ever been

       16         convicted of a crime?

       17                     JUROR: No.

       18                   THE COURT: Have you or a loved ever been the

       19         victim of a crime?

       20                   JUROR: No.

       21                   THE COURT: Do you have friends or family in law

       22         enforcement, that means assistant district attorneys, cops,

       23         court officers, correction officers, anybody like that, FBI

       24         agents?

       25                   JUROR: Friends. Yes.


                                                                                 NS
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                                                                             63
                                       Proceedings

         1                   THE COURT: Tell us about that?

         2                   JUROR: I have a few friends that are cops.

         3                   THE COURT: There are about 35,000 cops I think in

         4        New York City. I think the District Attorney i .s planning

         5         calling two of them. Can you promise me that you will

         6         evaluate the police officer testimony in the same way you

         7         evaluate any other witness, can you do that?

         8                   JUROR: Yeah.

         9                   THE COURT: Can you be fair?

        10                   JUROR: Yes.

                             THE COURT: Thank you very much.

        12                   Mr. Matatov, where do you live, sir, what

       13         neighborhood?

       14                    JUROR: Fresh Meadows.

       15                    THE COURT: How far did you go in school?

       16                    JUROR: I no go to school.

       17                    THE COURT: How far did you go when you went, high

       18         school?

       19                    JUROR: I finished in Russia, not here, my

       20         country.

       21                    THE COURT: How far did you go in Russia, high

       22         school?

       23                    JUROR: Yes.

       24                    THE COURT: Did you do any college?

       25                    JUROR: No, just high school.


                                                                                  NS
 Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 210 of 907 PageID #: 573


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                                         Proceedings

         1                  THE COURT: What do you do for a living, sir?

         2                  JUROR: Yellow cab driver.

         3                  THE COURT: Single, married, widowed, divorced?

         4                  JUROR: tarried.

         5                  THE COURT: What does your wife do?

         6                  JUROR: Social worker.

         7                  THE COURT: Do you have kids?

         S                  JUROR: Three.

         9                  THE COURT: Are they adults?

        10                  JUROR: And a grandchild, too.

        11                  THE COURT: I am assuming the grandchild does not

        12         work. I am asking about the kids to find out what they do

        13         for a living.

        14                  JUROR: One finished the college just looking for

        15         job. The other one is working for real estate business.

        16                  THE COURT: Have you ever served as a juror

        17         before, sir?

        18                  JUROR: No.

19                          THE COURT: Have you or a loved one ever been

        20         convicted of a crime?

        21                  JUROR: No.

        22                  THE COURT: Have you or a loved one ever been the

        23         victim of a crime?

        24                  JUROR: No.

        25                  THE COURT: Do you have friends or family in law


                                                                                  NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 211 of 907 PageID #: 574


                                                                             65
                                         Proceedings

         1         enforcement?

         2                  JUROR: No.

         3                  THE COURT: Can you be fair?

         4                  JUROR: Yeah.

5                           THE COURT: Good.

         6                  Mr. Masse, where do you live?

         7                  JUROR: Fresh Meadows.

         8                  THE COURT: How far did you go in school?

         9                  JUROR: College.

        10                  THE COURT: What do you do for a living?

        11                  JUROR: Chemist.

        12                 THE COURT: Single, married, widowed, divorced?

        13                  JUROR: Married.

        14                 THE COURT: What does your wife do?

       15                  JUROR: She is home.

       16                  THE COURT: Taking care of kids too young to work?

       17                  JUROR: Yes.

       18                  THE COURT: Have you ever been a juror before?

       19                  JUROR: No.

       20                  THE COURT: Have you or a loved one ever been

       21         convicted of a crime?

       22                  JUROR: No.

       23                  THE COURT: Have you or a loved one ever been the

       24         victim of a crime?

       25                  JUROR: No.


                                                                                  NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 212 of 907 PageID #: 575


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                                          Proceedings

         1                   THE COURT: Do you have friends or family in law

         2         enforcement?

         3                   JUROR: No.

         4                   THE COURT: Can you be fair?

         5                   JUROR: Sure, yes.

         6                   THE COURT: Thank you very much.

         7                   Mr. Hyde, where do you live, sir?

         8                   JUROR: Jamaica.

         9                   THE COURT: How far did you go in school?

       10                    JUROR: College, but I didn't graduate.

        11                   THE COURT: What do you do for a living?

       12                    JUROR: Security.

       13                    THE COURT: What kind of security?

       14                    JUROR: JFK.

       15                    THE COURT: Are you a police officer, or a peace

       16         officer?

       17                    JUROR: Just a security.

       18                    THE COURT: Anything about that job that you think

       19         would cause you not to give a fair shake to either side in

       20         this case?

       21                    JUROR: No.

       22                    THE COURT: Can you evaluate the police officer

       23         testimony fairly?

       24                    JUROR: Yes.

       25                    THE COURT: Good. Single, married, widowed,


                                                                                  NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 213 of 907 PageID #: 576


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                                         Proceedings

            1      divorced?

            2               JUROR: Single.

            3               THE COURT: Have you ever been a juror before?

            4               JUROR: No.

            5               THE COURT: Have you or a loved one ever been

            6      convicted of a crime?

            7               JUROR: No.

            S               THE COURT: Have you or a loved one ever been the
            9      victim of a crime?

        10                  JUROR: No.

        ii                  THE COURT: Do you have friends or family in law
        12         enforcement?

        13                  JUROR: No.
        14                 THE COURT: Can you be fair?

       15                  JUROR: Yes.
       16                  THE COURT: Thank you very much.

       17                  Mr. Hinds, how are you,     Sir?
       18                  JUROR: Okay, fine.

       19                  THE COURT: Where do you live.

       20                  JUROR: Springfield Gardens.

       21                  THE COURT: How far did you go in school?
       22                  JUROR: I finished high school.
       23                  THE COURT: What do you do for a living?

       24                  JUROR: Retired.
       25                  THE COURT: From what?


                                                                                  NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 214 of 907 PageID #: 577


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                                         Proceedings

         1.                 JUROR: Pattern making.

         2                  THE COURT: Single, married, widowed, divorced?

         3                  JUROR: Married.

         4                  THE COURT: What does your wife do?

         5                  JUROR: She is also retired.

         6                  THE COURT: From what?
       :7
                            JUROR: She was working in insurance.

         8                  THE COURT: Do have kids?

                            JUROR: No.

        10                  THE COURT: Have you ever been a juror before?

        11                  JUROR: Yes.

        12                  THE COURT. Tell us about that, civil or criminal?

        13                  JUROR: Civil.

        14                  THE COURT: Okay. You will appreciate that the

        15         rules in a criminal case are different than they are on the

        16         civil side, okay? You will take the law as I give it to

        17         you?

        18                  JUROR: Yes.

        19                  THE COURT: Anything about that experience being a

20                 juror that would cause you not co be a fair juror in this

21                 case?

        22                  JUROR: No.

        23                 THE COURT: Good. Have you or a loved one ever

       24         been convicted of a crime?

       25                  JUROR: No.


                                                                                  NS
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                                                                             69
                                         Proceedings

         1                  THE COURT: Have you or a loved one ever been the

         2         victim of a crime?

         3                  JUROR: No, sir.

         4                  THE COURT: Do you have friends or family in law

         5        enforcement?

         6                  JUROR: No.

         7                  THE COURT: Can you be fair?

         8                  JUROR: Yes.

         9                  THE COURT: Good. Thank you, sir.

       10                   Mr. Hilbert, where do you live, sir?

       11                   JUROR: Howard Beach.

       12                   THE COURT: How far did you go in school?

       13                   JUROR: Associates degree now, and I am going for

       14         my bachelors full-time.

       15                   THE COURT: So you are not working?

       16                   JUROR: I am working.

       17                   THE COURT: What do you do?

       18                   JUROR: Registered nurse.

       19                   THE COURT: Single, married, widowed, divorced?

       20                   JUROR: Single.

       21                   THE COURT: Have you ever served as a juror

       22         before?

       23                   JUROR: No.

       24                   THE COURT: Have you or loved one ever been

       25         convicted of a crime?


                                                                                  NS
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                                         Proceedings

         1                  JUROR: No.

         2                  THE COURT: Victim of a crime?

         3                  JUROR: No.

         4                  THE COURT: Friends or family in law enforcement?

         5                  JUROR: No.

         6                  THE COURT: Can you be fair?

         7                  JUROR: Yes.

         8                  THE COURT: Very good. Thank you.

         9                  Mr. Ramdyal, where do you live, sir?

        10                  JUROR: Woodhaven.

        11                  THE COURT: How far did you go in school?

        12                  JUROR: High school.

        13                  THE COURT: What do you do for a living?

        14                  JUROR: Warehouse supervisor.

        15                  THE COURT: Single, married, widowed, divorced?

       16                   JUROR: Married, three children.

       17                   THE COURT: What does your wife do?

       18                   JUROR: She is home taking care of the kids.

       19                   THE COURT: Have you ever served as a juror

       20         before?

       21                   JUROR: No.

       22                   THE COURT: Have you or a loved one ever been

       23         convicted of a crime?

       24                   JUROR: I don't think so.

       25                   THE COURT: Have you or a loved one -- you would


                                                                                  NS
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                                          Proceedings

          1        would have probable noticed. Have you or a loved one ever

                   been the victim of a crime?

                             JUROR: No.

                            THE COURT: Friends or family in law enforcement?

                            JUROR: No.

                            THE COURT: Can you be fair?

                            JUROR: I think so.

                            THE COURT: Good. You know, this is an important

                   case, and I know that somewhere during this process,

                   somebody is going to say, you know, think so doesn't really

                   cut it. Do you think you are a fair person, sir?

                            JUROR: Yes, I do.

                            THE COURT: Can you be fair in this case?

                            JUROR: Yes.

                            THE COURT: Thank you very much.

        16                  Miss Barrett, how are you?

        17                  JUROR: Okay.

18                          THE COURT: Where do you live?

19                          JUROR: Queens Village.

        20                  THE COURT: How far did you go in school?

        21                  JUROR: High school.

        22                  THE COURT: What do you do for a living?

        23                  JUROR: 1 1 m a nurse.

        24                  THE COURT: Single, married, widowed, divorced?

        25                  JUROR: Married.


                                                                                   NS
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                                         Proceedings

         1                  THE COURT: What does your husband do?

        2                   JUROR: Mechanic.

        3                   THE COURT: Do you have kids?

        4                   JUROR: Three big ones.

        5                   THE COURT: What do they do?

        6                   JUROR: One is a supervisor at a bank; one just

        7         resigned from correction officer, and the other one goes to

        8         school.

        9                   THE COURT: Does the fact that one of your

       10         children is a correction officer, would that prevent you

       11         from evaluating the two cops that we are going to see on

       12         the stand?

       13                   JUROR: No.

       14                   THE COURT: Have you ever served as a juror

       15         before?

       16                   JUROR: Yes.

       17                   THE COURT: Civil or criminal?

       18                   JUROR: Civil.

       19                   THE COURT: The rules are different. Will you

       20         follow the law as I give it to you?

       21                   JUROR: Yes, sir.

       22                   THE COURT: The main rule that's different is the

       23         burden of proof.

       24                   JUROR: Yes.

       25                   THE COURT: In a civil case it's like 51-49. Here


                                                                                 NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 219 of 907 PageID #: 582


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         1         it's beyond a reasonable doubt. It's a big difference.

         2         Anything about your experience as a juror that would cause

         3         you not to be a fair juror here?

         4                  JUROR: No.

         5                  THE COURT: Have you or a loved one ever been

         6         convicted of a crime?

         7                  JUROR: No;

         8                  THE COURT: Have you or a loved one ever been the

         9         victim of a crime?

        10                  JUROR: No.

        11                  THE COURT: Do you have friends or family in law

        12         enforcement?

        13                  JUROR: No, only my son resigned.

        14                 THE COURT: Can you be fair?

       15                   JUROR: Sure.

       16                  THE COURT: Thank you very much.

       17                  Miss Bacchi, where do you live?

       18                  JUROR: Maspeth.

       19                  THE COURT: How far did you go in school?

       20                  JUROR: I graduated high school.

       21                  THE COURT: What do you do for a living?

       22                  JUROR: Retired correction officer.

       23                  THE COURT: So you have many, many, many, many

       24         friends in corrections?

       25                  JUROR: Oh, yes.


                                                                                  NS
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                                        Proceedings

         1                  THE COURT : Is it fair to say since you know so

         2        many of then tha: there are honorable, mostly in the

         3        middle, and some not so good; is that a fair statement?

         4                  JUROR: They are all good.

         5                  THE COURT: All right. How about the 35,000 cops,

         6        would you say the same thing about them?

         7                  JUROR: I have family that are cops, they are all

         8        good.

         9                  THE COURT: So the question becomes are you going

        10         to balance the scales for one side in this case or not?

       11         Can you give both sides a fair trial?

        12                 JUROR: I don't think so.

       13                  THE COURT: Because of your background?
                              (     F



14                         JUROR: Yes.

       15                  THE COURT: I appreciate that. Somewhere along

       16         the line somebody going to tell you, and it is true, there

       17         are no wrong answers. If that's the way you feel, that's

       18         okay, and that's why or part of reason why we are doing

       19         this. Thank you.

       20                   '1r. Altomerianos, where do you live?

       21                  JUROR: East Elmhurst.

       22                  THE COURT: How far did go in school?

       23                  JUROR: NYU Law School.

       24                  THE COURT: Are you a practicing attorney?

       25                  JUROP: Unfortunately, no.


                                                                                 NS
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                                                                             75
                                       Proceedings

         1                  THE COURT: Have you ever practiced law?

         2                  JUROR: Yes.

         3                  THE COURT: What type of law did you practice?

         4                  JUROR: Immigration.

         5                  THE COURT: Did you ever practice criminal law?

         6                  JUROR: In the beginning when I was under the

         7         tutelage of the gentleman that I worked for.

         8                  THE. COURT: Was that in Queens?

         9                  JUROR: Yes, many years ago.

        10                 THE COURT: Tell me who he is.

        11                  JUROR: He is now a federal international college

        12        Nicholas Tucalas (phonetic).

       13                  THE COURT: I know him well. Will you take the

        14        law as I give it to you, sir?

       15                  JUROR: Its not a question of that. My

       16         stepdaughter is a federal special agent in ICE. My closest

       17         other friend is a lieutenant in the New York City hostage

       18         negotiation team. It puts me in a tough spot. I feel you

       19         need the prober answers.

      1 20                 THE COURT: So your answer will be?

       21                  JUROR: It would be tough.

22                         THE COURT: Thank you sir. Fair enough.

       23         Mr. Goldstein, where do you live?

       24                  JUROR: Jamaica.

       25                  THE COURT: How far did you go in school?


                                                                                  NS
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                                         Proceedings

         1                  JUROR: College.

         2                  THE COURT: What do you do for a living?

         3                  JUROR: I own a plumbing and heating company.

         4                  THE COURT: Married?

         5                  JUROR: Single.

         6                  THE COURT: Have you ever served as a juror

         7        before?

         8                  JUROR: No.

         9                  THE COURT: Have you or a loved one ever been

      • 10        convicted of a crime?

      • 11                  JUROR: No.

       12                   THE COURT: Have you or a loved one ever been the

       13         victim of a crime?

       14                   JUROR: No.

       15                   THE COURT: Do you have friends or family in law

       16         enforcement?.

       17                   JUROR: Yes.

       13                   THE COURT: Tell us about that?

       19                   JUROR: I have a couple of friends that work for

       20         detectives.

       21                   THE COURT: NYPD?

       22                   JUROR: Yes,

       23                   THE COURT: Same question to you, 35,000 cops, all

       24         different kinds Mr. Shortt plans on calling two of them.

       25         Can you evaluate their testimony fairly like any other


                                                                                  NS
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                                       Proceedings

         1         witness, can you do that?

         2                  JUROR: yes.

         3                  THE COURT: Thank you very much. Can you be fair?

         4                  JUROR: Yes.

         5                  THE COURT: Thank you very much.

         6                  Miss Poly, where do you live?

         7                  JUROR: Jamaica.

         B                 THE COURT: How far did you go in school?

         9                  JUROR: In my country college.

       10                  THE COURT: What do you do for a living, do you

       11         work?

       12                  JUROR: Yeah.

       13                  THE COURT: What do you do?

       14                  JUROR: School lunch helper.

       15                  THE COURT: Are you single, married, widowed,

       16         divorced?

       17                  JUROR: Married.

       18                  THE COURT: What does your husband do?

       19                  JUROR: MTA.

       20                  THE COURT: Do you have kids?

       21                  JUROR: Yes, three.

       22                  THE COURT: Big or little ones?

       23                  JUROR: 13, 15 and 18, one in college, one in 11th

       24         grade and one ninth grade.

       25                  THE COURT: Have you ever been a juror before?


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              1                 JUROR: No.

              2                 THE COURT: Have you or a loved one ever been

              3         convicted of a crime?

              4                  JUROR: No.

              5                 THE COURT: Have you or a loved one ever been the

              6        victim of a crime?

              7                 JUROR: No.

              8                 THE COURT: Friends or family in law enforcement?

              9                 JUROR: No.
II

            10                  THE COURT: Can you be fair?

            11                  JUROR: Sure.

            12                  THE COURT: Thank you.

            13                  Mr. Persico, where do you live?

            14                  JUROR: Little Neck.

            15                  THE COURT: How far did you go in school?

            16                  JUROR: Graduated high school.

            17                  THE COURT: What do you do for a living?

            18                  JUROR: I fix tug boats.

            19                  THE COURT: Single, married, widowed, divorced?

            20                  JUROR: Divorced.

            21                  THE COURT: Do you do that for a private company?

            22                  JUROR: I work for myself.

            23                  THE COURT: Do you have kids?

            24                  JUROR: No.

            25                  THE COURT: Have you ever served as a juror


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         1         before?

         2                   JUROR: Yes, alternate juror in a criminal case in

         3         Long Island City.

         4                   THE COURT: That is a long time ago. There

         5         haven't been criminal cases in Long Island City for a long

         6         time. Is it fair to say you forgot all of the law the

         7         judge told you?

         8                   JUROR: Yes.

         9                   THE COURT: Will you take the law as I give it to

       10          you?

       11                    JUROR: Yes.

       12                    THE COURT: Thank you. Anything about that

       13         experience that would cause you not to be fair in this

       14         case?

       15                    JUROR: No, not at all.

       16                    THE COURT: Have you or a loved one ever been

       17         convicted of a crime?

       18                    JUROR: No.

       19                    THE COURT: Have you or a loved one ever been the

       20         victim of a crime?

       21                    JUROR: I have had my house broken into.

       22                    THE COURT: Did they find the person that did it?

       23                    JUROR: No.

       24                    THE COURT; You are not going to blame Mr. Shortt

       25         for that, areyou?


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         1                   JUROR: No.

         2                   THE COURT: That's not going to impact your

         3         ability in this case to be fair, is it?

         4                   JUROR: I don't think so.

         5                   THE COURT: Do you have friends or family in law

         6         enforcement?

         7                   JUROR: Quite a few friends that are in law

         8         enforcement.

         9                   THE COURT: You are going to hear from two

        10         officers in this case. Can you evaluate their testimony

        11         fairly?

        12                   JUROR: I will do my best.

        13                   THE COURT: Maybe three?

        14                   MR. SHORTT: Possibly.

        15                   THE COURT: All right. Can you be fair?

        16                   JUROR: I will do my best.

        17                   THE COURT: Thank you very much. Miss Almeida,

        18         where do you live?

        19                   JUROR: Ozone Park.

        20                   THE COURT: How far did you go in school?

        21                   JUROR: I'm in college right now, second year.

       22                    THE COURT: Are you working too?

       23                    JUROR: Yes, I work as a file clerk in a law

       24         office.

       25                    THE COURT: What kind of law do they practice?


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         1.                 JUROR: Personal injury.

         2                  THE COURT: Any criminal law?

         3                  JUROR: No.

         4                  THE COURT: The rules are different here. You can

         5        appreciate that?

         6                  JUROR: Yes.

         7                  THE COURT: If you are selected as a juror, do you

         8        promise not to talk about this case to your bosses?

         9                  JUROR: Yes, sir.

                            THE COURT: You will take the law as I give it to

       ii         you, right?

       12                   JUROR: Yes.

       13                   THE COURT: Are you single, married, widowed,

       14         divorced?

       15                   JUROR: Single.

       16                   THE COURT: Have you ever served as a juror

       17         before?

       18                   JUROR: No.

       19                   THE COURT: Have you or a loved one ever been

       20         convicted of a crime?

       21                   JUROR: No.

       22                   THE COURT: Ever been the victim of a crime?

       23                   JUROR: Yes,

       24                   THE COURT: Tell us about that.

       25                   JUROR: I was robbed before when I was younger in


                                                                                 NS
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                   elementary school, but they never found the person.

          2                 THE COURT: Can you put that aside and evaluate

          3        the facts in this case fairly?

         4                  JUROR: Yes.

          5                 THE COURT: Do you have friends or family in law

          6        enforcement?

         7                  JUROR: No.

         8                  THE COURT: Can you be fair?

         9                  JUROR: I can try, yes.

        10                  THE COURT: Again, the lawyers they hate that

        :ii        because it's an important matter. Do you think you are as

        12         fair as the gentleman next to you?

        13                  JUROR: Yes.

        14                  THE COURT: And the woman next to you?

        15                 JUROR: Yes.

        16                 THE COURT: You can be fair?

       17                  JUROR: Yes.

        18                 THE COURT: Speaking of the woman next to you,

        19        Miss Perez, where do you live?

       20                  JUROR: Jackson Heights.

       21                  THE COURT: How far did you go in school?

       22                  JUROR: College.

       23                  THE COURT: Are you in college?

       24                  JUROR: I graduated.

       25                  THE COURT: What do you do for a living?


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      Ii                      JUROR: I work in payroll.

          2                   THE COURT: Single, married, widowed, divorced?

          3                   JUROR: Single.

          4                   THE COURT: Have you ever served as a juror

                   before?

          6                   JUROR: N:.

          7                   THE COURT: Have you or a loved one ever been

          8        convicted of a crrne?

          9                   JUROR: No.

        10                    THE COURT: Have you or loved one ever been the

        11         victim of a crime?

        12                    JUROR: Yes.

        13                   THE COURT: Tell us about that.

        :14                  JUROR: When I was young, my parents' home broken
        15         into.

       16                    THE COURT: Can you put that aside? This case has

       17         nothing to do with that. Can you do that?
       18                    JUROR: Yes.

       19                    THE COURT: Friends or family in law enforcement?

       20                    JUROR: No.

       21                    THE COURT: Can you be fair?

       22                    JUROR: Yes.

       23                    THE COURT: Thank you very much.
       24                  • Nliss, 'Jg, where do you live?

       25                    JUROR: Astoria, Woodside.


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            1               THE COURT: How far did you go in school?

            2               JUROR: Graduate school.

            3               THE COURT: What do you do for a living?

            4               JUROR: Database administrator in computers.

            5               THE COURT: Are you married?

            6               JUROR: Married, my husband is the owner of a

                   point of sale systems.

            S               THE COURT: I'm not sure I know what that is.

            9               JUROR: They sell point of sale, the whole

        10         inventory control system to stores.

        11                  THE COURT: Do you have kids?

        12                  JUROR: Yes, two big ones.

        13                  THE COURT: Are they working?

        14                  JUROR: Yes, thank God. The older one is a buyer

        15         for Anthropology, her husband is a lawyer. The younger one

        16         is a teacher.

        17                  THE COURT: Does the lawyer practice criminal law,

       18         do you know?

       19                   JUROR: No, patent law.

       20                   THE COURT: All right. You will not talk to him

       21         about this case for the next couple of days if you are

       22         selected; is that fair?

       23                   JUROR: No, he lives in Philadelphia.

       24                   THE COURT: Have you ever served as a juror

       25         before?


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         1                 JUROR: No.

        2                  THE COURT: Have you or a loved one ever been

        3         convicted of a crime?

        4                  JUROR: No.

        5                  THE COURT: i-lava you or a loved one ever been the

        6         victim of a crime?

        7                  JUROR: Yes, several times I was mugged at

        B         gunpoint and my car.

        9                  THE COURT: Can you put those incidents aside and

       10         evaluate the facts in this casefairly?

       11                  JUROR: I will try my best.

       12                  THE COURT: Can you do better than that for me,

       13         can you give me a commitment that you will be a fair juror

       14         in this case?

       15                  JUROR: Yes.

                           THE COURT: Friends or family in law enforcement?

       17                  JUROR: No.

       18                  THE COURT: Mr. Shortt.

       19                  MR. SHORTT: In light of the hour, the concern I

       20         brought up earlier, I don't know if you want to break?

       21                  THE COURT: All right. We will break at this

       22         point. Do not discuss this case amongst yourselves, do not

       23         speak to the attorneys, the parties, the witnesses or

       24         anybody in connection with this case. Do not go to the

       25         scene of the alleged incident. Do not research this case


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            1      in any way whether on the Internet or Google, Facebook, the

            2      library or anything like that. Should anybody contact you

            3      about this case, notify the officer immediately. We will

            4      reconvene tomorrow at 10 A.M.

            5               Thank you for your service today. The lawyers are

            6      instructed not even to say hello to you. So when I say

            7      don't talk to them, I mean do not even say hello, do not

            8      nod to them. They have been instructed not to do it to

            9      you. As I will say to you at a later point in this trial,

       •lO         I do this to protect your integrity so nobody thinks that

        11         anything is going on. Thank you again for your service.

        12         10:00 tomorrow morning.

        13                 Officers, take charge.

       14                    Jurors exit the courtioom.)

       15                  THE COURT: Gentlemen, 10:00 tomorrow, Miss

       16         Povman, 10:00.

       17                   (Defendants exit the courtroom.)

       18                   (Trial adjourned to January 21, 2015.)

       19

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         1         SUPREME COURT OF THE STATE OF NEW YORK

         2 COUNTY OF QUEENS: CRIMINAL TERM: PART 1<14

         3                          -----------------------x Indictment No.

         4 THE PEOPLE OF THE STATE OF NEW YORK                    2228112

         5                  -against-

         6 ELIJAH BROOKS and RAYMOND BALL,

         7                      Defendants.

         8                          ----------------------x

         9                       125-01 Queens Boulevard

        10                       Kew Gardens, New York

                                 January 21, 2015

        12                   * *****.*** *****r********

       13                  THE COURT CLERK: Number one, 2228 of 2012,

        14        Raymond Bali and Elijah Brooks.

       15                  MR. SHORTT: For the People, Assistant District

        16        Attorney Timothy Shortt.

       17                  Good morning, your Honor.

       18                  THE COURT: Good morning, sir.

       19                  MS. POVMAN: On behalf of Mr. Ball, Linda Povman,

       20         123-35 82 Road, Kew Gardens, New York.

       21                  Good morning, your Honor.

       22                  THE COURT: Good morning.

       23                  MR. GIBBONS: For Mr. Brooks, Wyatt Gibbons,

       24         125-10 Queens Boulevard.

       25                  Good morning, your Honor. Firmly seated.


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          1                 THECOURT: Good morning,

          2                 MR. GIBBONS: Would it be possible to give the

          3        jurors some instruction saying because the courtroom is so

          4        small, you have a policy for everybody to remain seated?

          5        It seems unnatural and maybe disrespectful to the jury that

          6        I am sitting here instead of standing up to address them.

          7                 THE COURT: I don't want to do it because I don't

          8        want them to think that we are doing something differently

          9        here.

        10                  MR. GIBBONS: Okay.

        11                  (Defendants enter the courtroom.)

        12                  THE DEFENDANT BALL: Good     morning, your Honor.

        13         Good morning, everyone.

        14                  THE COURT: Good morning, sir. Before we bring

        15         the jury in, jurors number nine and ten have declared

        16         rather vociferously that they cannot be fair in this case.

        17         I'm going to recommend that you not ask those jurors two

        18         individuals any questions since they are likely going to be

        19         challenged for cause and no good can come from allowing

        20         them a platform to speak.

        21.                 Anything before the jury?

        22                  MR. GIBBONS: Do you want to cause them out now

        23         and fill them with two more?

        24                  THE COURT: No, then I have to redo them again.

        25                  THE DEFENDANT BALL: You said nine and ten?


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         1                  MS. POVMAN: Nine and ten will be challenged for

         2         cause so don't waste your 15 minutes on them and don't ask

         3         them anything.

      :4                    MR. GIBBONS: Don't ask them anything.

         5                  THE COURT: That's right. Are we ready for the

         6         jury?

         7                  MR. SHORTT: Yes, Judge.

8                           THE COURT: Mr. Gibbons?

         9                  MR. GIBBONS: Yes, your Honor.

        10                  THE COURT: Mr. Ball, are you ready for the jury?

        11                  THE DEFENDANT BALL: Yes, sir.

        12                  (Whereupon, there was a brief pause in the

        13         proceedings.)

        14                  THE COURT OFFICER: Are you ready for the panel,

        15         Judge.

        16                  THE COURT: Ready.

        17                  THE COURT OFFICER: Jury panel entering.

        18                  (Prospective jurors enter the courtroom.)

        19                  THE COURT: Good morning, ladies and gentlemen.

       20         This morning we are going to continue the process of

       21         selecting a jury, and at this point in the proceedings we

       22         will call on Assistant District Attorney Shortt to inquire

       23         of the panel.

       24                   Mr. Shortt, you have 15 minutes.

       25                   MR. S-{ORTT: Thank you, your Honor. Good morning,


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             1     ladies and gentlemen. I know it's jury service, but one of

             2     the biggest requirements is that you be alive and awake so,

             3     good morning, ladies and gentlemen.

             4              Very important question: Who is the perfect juror

             5     for this case?     I don't see a single hand. That's the

             6     right answer. You don't know and we don't know, and that's

         7         what we will be talking about this morning. Not every

         8         juror is right for every case, that's okay, there is no

         9         wrong answers here, but it's very important that we find a

        10         fair and impartial jury for this case. That is the most

        11         important goal of what we are doing here this morning and

        12         hopefully by the end of today.

        13                  Is there anyone here for any reason, religious,

        14         moral, ethical or otherwise that just knows that you cannot

        15         sit in judgment as a juror in a criminal trial?        Anyone

        16         who would just feel uncomfortable, it's heavy weight,
        17         anybody that just knows they cannot do it?       Thank you,

        18         ladies and gentlemen.

        19                  The job we are going to ask you to do is to be

        20         jurors. If 1 were to put an ad in the paper, I don't

        21         suspect we would get many people calling us. What we ask

        22         you to do is be fact finders, not detectives. There is no
        23         mystery. Jurors find facts. If you are picked, you will

        24         listen to testimony, view evidence and be asked to make a

        25         decision about what happened on a certain date at a certain


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          1.       time here in Queens County, to decide what happened, then

          2        to use that, what you find as fact, and apply the law as

          3        the judge gives it to you.

          4                  Mr. Hilbert, would you promise me if you were

          5         selected that you would limit yourself only to the evidence

          6        as you hear it here and with the law as the judge gives it

7                  to you?

          8                  JUROR: Yes.

9                            MR. SHORTT: Would you promise not to speculate on

         10        what might have happened if people could go back and do

         11        things differently?

         12                  JUROR: Yes.

        13                   MR. SHORTT: We can't change the past, right?

         14                  JUROR: Yes.

         15                  MR. SHORTT: Would you promise to only focus on

        16         what happened and make a decision based on only that?

        17                   JUROR: Yes.

        18                   MR. SHORTT: Mr. Masse, you are a chemist?

        19                   JUROR: Yes, sir.

        20                   MR. SHORTT: Never ray strongest subject, that's
21                 why I became a lawyer. You deal with formulas?

        22                   JUROR: Yes.

        23                   MR. SHORTT: As a juror, you will be asked to go

        24         back into the jury room and take the facts as you find them

        25         as a juror, take the law as the judge gives it to you and


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             I      render a verdict; do you understand?

          2                 JUROR: Yes.

          3                 MR. SHORTT: If I had to reduce it to a formula,

          4        would you agree it's the facts as you find them and the law

          5        as the judge gives it to you equals a verdict?

          6                 JUROR: Right.

          7                 MR. SHORTT: Certain things are not in that

                   formula like sympathy. Do you think sympathy should play a

         9         role on the part of a juror?

        10                  JUROR: No, because it's not facts, it's not part

        11         of the formula.

        12                  MR. SHORTT: Mr. Hinds, did you hear that?

        13                  JUROR: Yes.

        14                  MR. SHORTT: Do you think sympathy should play any

        15         role in the role of a juror?

        16                  JUROR: No.

        17                  MR. SHORTT: Why not?

        18                  JUROR: Because like he said, you present the

        19         facts, and that's what I have to work with, the facts,

        20         that's it.

        21                  MR. SHORTT: Sympathy for anybody does not help

        22         you decide what happened on the streets of Queens one

        23         night?

        24                  JUROR: Yes.

        25                  MR. SHORTT: Do you promise to exclude that if you


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             I     are picked as a juror?

          2                 JUROR: Yes.

          3                 MR. SHORTT: Ladies and gentlemen, while your duty

          4        is to ultimately came up with a verdict, the first thing is

          5        to apply the law to the facts and render a verdict. You

          6        have an important preliminary duty to find the facts to

         7         figure out what is credible, what is believable, what is

         8         the evidence and what it shows by listening to all of the

         9         evidence presented to you from the witness stand. The most

        10         important thing, the most important tools that you have as

        11.        jurors are your common sense and life experience. A lot of

        12         people think when you come into a courtroom, this is

        13         unfamiliar that you should leave that at the door. We are

        14         asking you to bring those qualities to the courtroom.

        15                  Miss Matthias, if I was walking down Jamaica

        16         Avenue -- you are from Cambria Heights?

        17                  JUROR: Yes.

        18                  MR. SHORTT: I'm sure you have been shopping along

        19         Jamaica Avenue sometimes?

        20                  JUROR: Used to.

        21                  MR. SHORTT: If a guy came up to you, I have a 60

        22         inch plasma TV for $50, but I have to go to my car to get

        23             are you going to give him the $502

        24                  JUROR: No, where did he get it from?

        25                  MR. SHORTT: Too good to be true.


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         1                  JUROR: Yes.

         2                  MR. sH0RTr: Do you promise to apply the same

         3         common sense here in the courtroom listening to the

         4         evidence?

         5                  JUROR: Yes.

         6                  MR. SHORTT: You are New Yorkers, you have more

         7         Politicians and more salesman trying to get your votes and

         8         trying to sell you things than anybody else. One of the

         9         most important things is judging whether or not people are

        10         telling the truth. I will call witnesses to the stand and

        11         ask you to listen very carefully to what they have to say.

        12                  Mr. Matatov, what are some things to look for in

        13         determining whether or not you think a witness is telling

        14         the truth?

        IS                  JUROR; If somebody rob me can I be juror or not?

        16                  MR. S1{CRTT: I'm sorry?

        17                  JUROR: If somebody rob me.

        19                  MR. SHORTT: were you ever the victim of a crime?

        19                  JUROR: Last time we got robbery of a pawn shop

        20         with my son.

        21                  MR. SHORTT: Is your son okay?

22                          JUROR: Okay, but now the customer sue us.

        23                  MR. SHORTT: Can you promise to put that aside and

        24         promise to be fair in this case, or do you think that may

        25         weigh on your mind?


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          1                    JUROR: I try.

          2                    MR. SHORTT: Do you understand these defendants

          3         did not commit that robbery?

          4                    JUROR: Yes, but I been robbery two times, usually

          5         guilty I say what I say.

          6                    MR. SHORTT: Do you think those experiences would

          7         weigh on your mind so maybe a criminal case is not right

          8         for you?

          9                    JUROR: Yeah.

         10                    MR. SHORTT: Thank you. I appreciate your

         11         honesty. The evidence will mostly take the form of

         12         testimony people taking the witness stand and telling you

         13         what happened.

         14                    Mr. Ramdyal, one of the witnesses is an eyewitness

         15         somebody that was there, and you will be asked to rely on

         16         that person in making your ultimate decision. What are

         17         some qualities or some things that you want to hear from

         18         the eyewitnesses to decide whether or not you would believe

         19         them?

         20                    JUROR: Depends on what he saw.

         21                 MR. SHQRTT: What do you mean?

        22                     JUROR: When you get eyewitness, sometimes its

        23         not the right eyewitness or they try to --

        24                  MR. SHORTT: Would you consider how close the

        25         witness came to the person?


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          1                   JUROR: Yes.

          2                   MR :         Why is that important?

          3                   JUROR: Because you can't see far away, and if

          4         it'.s dark

                              MR SHORTT: Are the lighting conditions

          6         important?

                              JUROR: Yes, a lot of light, and it depends on the

          B         distance.

          9                   MR. SHORTT: Miss Perez, did you hear what he had

         10         to say?

         11                   JUROR: Yes.

         12                   MR SHORTT: Who are some qualities that you would

         13         look for in terms of an eyewitness?

         14                   JUROR: The kind of information they provide, how

         15         much inforration,

         16                   MR SHORTT: What do you mean by that?

         17                   JUROR: How specific they can be in what they saw

         18         and what they heard.

         19                   MR SH0RTT      Would you consider, for instance, how

         20         close the person got to the person they are identifying?

         21                   JUROR:' Yes.

22                            MR; SHORTT     Would you consider the lighting

         23         conditions?

         24                   JUROR: Yes.

         25                   MR. SHORTT: Would you consider whether or not


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               1         they have seen this person before?

               2                    JUROR: Yes.

               3                    MR SEiORTT: Why is that important?

               4                    JUROR: Because if they are familiar to that

               5         person, it looks like them?

               6                    MR. SHORTT: Miss Ng, what do you think? What are

               7         some of the qualities that you would look for?

               8                    JUROR: Pretty much what they said. It's just to

               9         say how accurately they can identify that person, if I can

              10         pick them out from the lineup, if they seen him before,

              11         very close.

              12                    MR. SHORTT: Would you agree it's the qualities,

              13         not necessarily the quantities of witnesses that matters in

              14         a case?       I




15                                  JUROR: It all depends.

              16                    MR. SHORTT: Well, if I call ten witnesses who saw

              17         an event, but none of them were paying attention, they were

              18         on phones, iPods, every kind of distraction, or reading the

              19         paper or just talking in a conversation, they did not

              20         really see anything, but I call ten witnesses, would that

              21         be helpful 'in determining anything?

              22                    JUROR: Quantity does not necessarily make up for

              23         quality.

              24                    MR SE{ORTT: Mr. Persico, would you agree that

              25         quality matters more than quantity?
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          1                  JUROR: Yeah, but if you have a quantity of people

          2         that have a similar story, it kind of all winds up.

          3                  MR. SHORPT: So would you compare to what one

          4         witness has to say with other witnesses?

          5                  JUROR: Of course, if they all have the same

          6         story, it probably leads to the truth.

          7                  MR SH0RTT Any time multiple people view the

          8         same events you may have differences?

          9-JUROR:             Yes.

         10                  MR. SFiORTT: Did you watch the Seehawks versus

         11         Greenbay Packers game?

         12                  JUROR: No, I missed it.

         13                  MR. SHORTT: Are you a sports fan?

         14                  JUROR: No.

         15                  MR. SHORTT: Did you watch the State of the Union?

         16                  JUROR: A little bit.

         17                  MR. SHORTT: Did you read the papers? You

         18         probably hear about 15 different versions of what the most

         19         important line of the speech was, right?

         20                  JUROR: Of course.

         21                  MR SHORTT: Does not mean they viewed a different

         22         event, right?

         23                  JUROR: Yes.

        24                  MR. SEIORTT; People can have a difference of

        25          opinion and different perspectives?


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          1                 JUROR: Yes.

         2                  MR. SHORTT: Miss Poly, if you hear differences in

          3        witness testimony, will you consider the differences?

         4                  JUROR: Yes.

         5                  MR. SHORTT: Would you think it's good or bad that

          6        there are differences in witness stories?

         7                  THE COURT: Everybody has to speak up.         We all

         8         have to hear you, including the folks in the audience. As

         9         I said earlier people in the audience will be in the box

        10         sooner or later, and you will hear the same questions.

        11                  MR. SHORTT: Witnesses may testify and have

        12         different versions, would you consider that as a juror in

        13         determining whether or not you think they are believable if

        14         the two witnesses tell different stories?

        15                  THE COURT: You have to speak up so everybody is

        16         able to hear you.

        17                  JUROR: My English is poor so I can't explain.

        18                  MR.' SHORTT; Thank you. Mr. Goldstein, if you

        19         were to hear two different versions of the same event,

        20         would you automatically disbelieve them?

        21                  JUROR: No.

        22                  MR. SHORTT: Why not?

        23                  JUROR: You would have to hear the facts.

        24                  MR SI-IORTT: Would you agree with me there are

        25         important facts and less important facts in any story,


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          1         right?

          2                   JUROR: Yes.

          3                   MR. SE-IORTT: My favorite TV show that I watched

          4         with my grandfather was The Honeymooners. Did you ever

          5         watch that show?

          6                   JUROR: Sure.

          7                   MR. SHORTT: What did Ralph Kramden do for a

                    living?

                              JUROR: Bus driver.

         10                   MR.' SHORTT: There is actually a statue in front

         11         of Port Authority. Ralph is driving his bus and two sets

         12         of twins get on the bus and then two more. The second set

         13         get off and the third set goat on, and then a none priest

         14         and rabbi get on the bus. Who is driving the bus?          Ralph

         15         Kramden, right?

         16                   JUROR: Yes.

         17                   MR. SHORTT: There are important facts and like

         18         that scenar'io, it's easy to get lost in small facts versus

         19         big facts. Would you promise me if you are picked as a

         20         juror to keep yourself focused on what the big question is

         21         in the case and if there are differences and

         22         inconsistencies to weigh those against what's important in

         23         the case?

         24                   JUROR: Yes.

U-25                          MR.' SHORTT: Ladies and gentlemen, during this


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             1      case you are going to hear testimony coming from the

             2      witness stand and the judge will instruct you that evidence

             3      can come from the witness stand in a very specific form, it

             4      has to be       question and answer.

             5               Miss Matthias, isn't it true that you came here

             6      today in a helicopter with Mr. Matatov, but before you

             7      came, you stopped at Dunkin' Donuts?

             8               JUROR: No.

             9               MR. SHORTT: Ladies and gentlemen, the question

         10         and the answer together are what matters not what I as the

         11         lawyers saj or try to imply, it is the question and the

         12         answer together.

         13                  Miss Matthews, would you promise to listen and

         1          only consider the evidence, that is the question and the

         15         answer together?

         16                  JUROR: Yes.

         17                  MR. SFIORTT: Mr. Matatov, do you understand that I

         18         as a lawyer, Mr. Gibbons or Mr. Ball, when acting as his

         19         own lawyer, we are not on the witness stand, what we say is

         20         not evidence; can you accept that?

         21                  JUROR      Yes.

         22                  MR. SHORTT: Mr. Masse, Mr. Ball is going to be

         23         representing himself during this trial. Do you understand

         24         that's hisichoice and right?

         25                  JUROR: Yes.


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         1                    MR. SHORTT: Would you promise me to treat him as

         2         you would either me or Mr. Gibbons in terms of how we

         3         conduct ourselves in this case?

         4                    JUROR: Yes.

         5                    MR. SHORTT: Do you think he is entitled to any

         6         sort of benefit because he is representing himself?

         7                    JUROR: No.

         8                    MR' SHORTT: Does anybody feel that way or feel

         9         that he is infairly burdened because he decided to

        10         represent himself?       Can you promise me to treat him like

        11         any other attorney?       Can you promise to take the oath

        12         seriously that only testimony that comes from the witness

        13         stand is what matters in this case, can you promise that?

        14                    THE JURORS: Yes.

        15                    MR. SHORTT: Thank you, Judge.

        16                    TI-FE COURT; Thank you, Mr. Shortt.

17                            We will hear now from Mr. Gibbons. You have 15

        18         minutes.

        19                    MRGIBBONS: Good morning, ladies and gentlemen.

        20         To just reiterate what Mr. Shortt said initially this is a

        21         very important duty and this is not a science, Mr. Masse,

        22         we are tryig to pick the best jurors for this case. So I

                   apologize in advance, I'm not looking to pry or delve into

                   your personal lifer but it's very important that we try to

        25         find the best jurors suited for this case. So my apologies


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          1         in advance;

          2                 Now, one of the things that you are asked to do,

          3        maybe the most important thing is to utilize your common

          4         sense, you are picked as a jury of my client's peers, and

          5        we rely on the fact that you can look into your life

          6         experiences and bring them to the table, and as Mr. Shortt

          7        pointed out to Miss Matthias, hey, I have a 60 inch plasma

          8         for 50 bucks. You are automatically New Yorker BS

          9        detective, it raises an alarm, and you use that everyday.

         10        Everyday on the subway someone a little sketchy, your alarm

         11        goes off, you maybe going to the other side.

         12                  If somebody tells you a story, it does not sound

         13         right, the alarm goes off, we utilize it everyday without

         14        even thinking about it. It's second nature.

         15                 Car you promise me, Miss Perez, that you will

        16         bring that to the table and utilize your common sense?

         17                 JUROR: Yes.

         18                 MS. POVMAN: Mr. Persico, can you promise me that?

         19                 JUROR: Yes.

        20                  MR. GIBBONS: You will utilize that when you

        21         listen to the evidence from the stand?

        22                  JUROR: Yes.

        23                  MR. GIBBONS: One of the things that Mr. Shortt

        24         discussed was what you would listen for when you are

        25         listening to a witness, what would make a good witness and
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          I         what they would tell you, how close they were and the

          2         lighting conditions, but would you agree that apart from
3                   those issues, the chaos of a certain situation might have

          4         some bearing on someone's ability to recall, Mr. Hubert?

          5                  JUROR: Yes.

          6                  MR.! GIBBONS: If it was calm and we are sitting

          7         here quitely and something drew your attention to the

          B         clerk, and you can see what she is doing, you      would say she
9                   is reading 'through paper papers, no problem, but if I

         10         knocked over my notebook and the chaos of a situation has

         11         an impact; is that correct?

         12                  JUROR: Yes.
         13                  MR. GIBBONS: Mr. Hinds, correct?

         14                  JUROR: Yes.

         15                  MR.l GIBBONS: Also someone mentioned I think you

         16         Miss Ng, that the specificity,     was that you, or maybe Miss
.17                 Perez, how specific someone is, it's the details, the truth

         18         is in the details. Anybody can say that I walked through
         19         the door but walking through the door is reaching out your

         20         hand, grabbing the knob,    stepping forward with your left
         21         foot and right foot and pulling the door closed with your

22                  right hand that is walking through the door and the truth

         23         is in the details, correct? Would you agree, Mr. Matatov?

24                           JUROR: Yes.

         25                  MR.'GIBBONS: One of the things that the judge


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         1         spoke to you about is police officer testimony. I know

         2         that some of you have police officers either friends or

       :3          family.

         4                   Mr. Goldstein, you said you have detective friends

         5         in the NYPD. Can you promise me to treat the police

         6         officer testimony just the same as you would anyone else?

         7                   JUROR: Yes.

         8                   MR. GIBBONS: Not give it any greater weight just

         9         because they are a police officer?

        10                   JUROR: Yes.

        11                   MR. GIBBONS: They are the same as you and me, as

        12         anybody, they could take the stand, they could tell the

        13         truth, they could lie or be mistaken, correct?

        14                   JUROR: Yes.

        15                   MR. GIBBONS: Just like you and me like any other

        16         witness, they could be telling the truth or lying or simply

        17         be mistaken, correct?

        18                   JUROR: Yes.

        19                   MR. GIBBONS: Mr. Ramdyal, do you agree?

        20                   JUROR: Yes.

        21                   MR. GIBBONS: Treat the cop just like anyone else,

        22         and any witness on that stand again could lie, tell the

        23         truth or simply he mistaken?

        24                   JUROR: Yes.

        25                   MR. GIBBONS: Miss Almeida, have you ever had the


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          1         situation where you are walking down the street, and you

          2         see someone that you think you recognize?

          3                  JUROR: Yes.

          4                  MR GIBBONS: You may go up to them and tap them

          5         on the shoulder, and it's not the person, you are

          6         embarrassed, oh, my Gad, I could have sworn that was my

          7         friend Joe who I have known 30 jurors, you don't look that

                    old, I'm so sorry I thought you were somebody else. Has

          9         that ever happened to you?

         10                  JUROR: Yes.

         11                  MR. GIBBONS: It occurs, I could have bet my life

         12         if it was Joe but if you had, you would be dead because you

         13         were wrong?

         14                  JUROR: Yes.

         15                  MR GIBBONS: That illustrates the difference

         16         between cetainty and accuracy, you were wrong, I would

         17         have bet my life, but I was wrong, we all agree that

         18         happens not just in that situation, but other situations.

         19         I thought I knew the answer I was watching Jeopardy, I

         20         swore that was it, but you were wrong certainty versus

         21         accuracy, we have all had that experience.

         22                  JUROR: Yes.

         23                  MR GIBBONS: Mr. Hinds?

         24                  JUROR: Yes.

25                           MR GIBBONS: Mr. Masse?


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          1                  JUROR: Yes.

          2                  MR. GIBBONS; One of the most important rights

          3         that we all 'have is the right to remain silent. Now, my

          4         client may1or may not testify. He may take the stand, he

          5         may not. If he does not take the stand, you will not hear

          6         his side of the story. Mr. Hinds, is that a problem for

          7         you?

          8                  JUROR: Not hearing his side of the story?

          9                  MRL GIBBONS: Yes, him not testifying.

         10                  JUROR: Maybe because we have to hear both sides

         11         of the story.

         12                  MR! GIBBONS: But do you understand that he and

         13         all of us have a constitutional right, a constitutional

         14         right, indelible, to remain silent, to not be a witness

         15         against yourself. So he exercises that right, can you

         16         promise methat you are not going to hold that against him?

         17                  JUROR: No.

         18                  MR. GIBBONS; That's fine.

         19                  THt COURT: I'm sorry, What do you mean no?

         20                  JUROR; [4o, I mean I promise that.

         21                  MR GIBBONS: Okay. Understand there is no wrong

         22         answer, but I need to know the honest answer, and it's 100

         23         percent okay because human nature dictates I want to know

         24         the other side, what's on the other side of that door.

         25         That's why we come as far as we have because of our


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         1         curiosity so it's okay to want that story. But if it's

         2         going to affect you, if you don't get it, if you are going

         3         to hold it against my client, I need to know, I need to

         4         know.

         5                    Miss Matthias, will that bother you if you don't

         6         hear my side of the story?

         7                    JUROR: Yes.

         S                    THE COURT: And if I tell, and I did tell you

         9         earlier yes.erday that under our law, you must not hold it

        10         against a defendant if he chooses not to take the stand, if

        11         he invokes his right not to testify, if he says to the

        12         government you locked me up, prove     it, prove it. Can you
        13         do that?

        14                    JUROR: I can.

        15                    MR. GIBBONS: You can?

        16                    THE COURT: So can you promise me that you will

        17         not hold it against either Mr. Ball or Mr. Gibbons's client

        18         if they cho'ose not to testify, if they simply stand there

        19         and say prdve it?

        20                    JUROR: I can, yeah.

                              THE COURT: Okay. Good.

        22                    MR.' GIBBONS: You still seem like you are a little

        23         unsure. Mr. Matatov, could you promise me not to hold it

        24         against my client?

        25                    JUROR: Yes.


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          I                  MR. GIBBONS: Mr. Masse?

          2                  JUROR: Yes.

          3                  MR. GIBBONS: Mr. Hinds?

          4                  JUROR: Yes.

          5                  MR. GIBBONS: Anybody here that would not be able

          6         to give this Court and me that assurance that if he does

                    not testify, you would not hold it against him?        Anybody?

          8         Miss Ng and Mr. Persico?      Mr. Persico.

          9                  JUROR: I'm a little on the fence. I think if you

         10         really, you should be able to tell your story regardless.

         11         I understand it's the law that you don't have to, but --

         12                  MR'. GIBBONS: It would create a problem for you?

         13                  JUROR: It might.

         14                  MR. GIBBONS: Okay. How about this: You are

         15         about to get on a plane to go on vacation, you walk past

         16         the pilot, you say do you think you might be to land this I

         11         might, are you getting on the plane?

         18                  JUROR: Probably, sense of adventure.

         19                  MR. GIBBONS: I can't run that same risk. I need

         20         you to be a little more unequivocal.

21                           JUROR: I am being honest.

         22                  MR. GIBBONS: I appreciate that you are not sure,

         23         but there is a possibility it will affect you?

         24                  JUROR: Yes..

         25                  MR L.: GIBBONS: Miss Ng?


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           1                   JUROR: I feel the,same way.

          2                    JUROR: It is your constitutional right, you can

           3        hold the Fifth, but it's still if you telling the truth,

           4        tell it.

           5                   MR. GIBBONS: Okay. Anybody else feel that way?

           6        Okay.

           7                   TH COURT: You have a few minutes.

           8                   MR. GIBBONS: Another important issue, my client

           9        is on trial with a codefendant, Raymond Ball. They are

         10         being charged with more or less the same crimes, but they

         11         are being tried, though at the same time, individually.

         12         The facts, as you hear them you have to apply to them

         13         separately.

         14                    Do you understand what I mean by that, Mr. Hinds?

         15                    JUROR: Yes.

         16                    MR. GIBBONS: Can you all promise me that you will

         17         not lump them together, and that you will listen to the

         18         facts and apply them separately and individually to each of

         19         these defendants, Mr. Persico?

         20                    JUROR: Yes.

         21                    MR. GIBBONS: Miss Almeida?

         22                    JUROR: Yes.

         23                    MR. GIBBONS: Can everyone promise that?      Miss

         24         Barrett, can you promise that?

25                             JUROR: Yes.


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          1                  MR. GIBBONS: Great. Say we have been on trial

          2         for three weeks, God forbid --

          3                  THE COURT: We are not going to be on trial for

          4         three weeks. This is a pretend scenario. That's not going

          5         to happen here.

          6                  MR. GIBBONS: If some horrible thing happens now

          7         it's three' weeks later, and you are deliberating. You see

          8         the finish line almost there and whatever the vote is, it's

                    eleven to one, one way or the other way.

         10                  Mr. Hubert, you are the last hold out, whether

         11         you are saying guilty or not guilty. It's 5:30 Friday you

         12         have been here three weeks everyone is hired and want to go

         13         home, come on, Mr. Hilbert, we are all saying this, just

         14         change your vote, but you have been voting the other way,

         15         this is what you feel. Would you succumb to the pressure?

         16                  JUROR: No.

         17                  MR. GIBBONS: If they gave you a reason look at

         18         this again, this and this, you say, okay, I didn't think of

         19         it like that, that's a reason to change your vote?

         20                  JUROR: Yes, if it's the facts.

         21                  MR. GIBBONS: Right, but if it's 5:30, three

         22         weeks, we have to get out of here, would you change your

         23         vote?

         24                  JUROR: No

         25                  MR. GIBBONS: Stick to your guns because that's


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         1         what's corrct. Can you promise not to succumb to pressure

         2         because you'want to go home, Mr. Persico?

         3                  JUROR: Yes.

         4                  MR.IGIBBONS: Mr. Hinds?

         5                  JUROR: Yes.

         6                  MR.'GIBBONS: Everybody yes?

         7                  THE ! JIJRORS: Yes.

         8                  MR.GIBBONS      My client, all of us are presumed

         9         until proven guilty. That's a term that you hear on TV, in

        10         the movies and papers, and everybody throws it around. I

        11         always find that it's not something people really think

        12         about it. They just hear it and it's not analyzed what it

        13         means.

        14                  My client and Mr. g all as they sit here now are

        15         presumed innocent.

        16                  Mr. Ramdyal, if Mr. Shortt decides to put on his

        17         case, and he does not call one witness, and he sits down

        18         and says the People rest, now you are called to give us a

        19         verdict, what would your verdict be?

        20                  JUROR: Depends on the situation.

        21                  MR. IGIBBONS: Listen to me, you did not hear one

        22         shred of evidence, nothing. He stood up and rested. I

       23          have no witnesses. He sits down, what would you vote?

       24                   JUROR: I have to talk to the rest of the jury.

       25                   MR. 'GIBBONS: That's the issue. My client is


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                1        innocent a's he sits here. If you did not hear any

               2         evidence, what's there to debate?

                3                 THE COURT He is presumed innocent.

                4                 MR. GIBBONS: If you did not hear any evidence,

                5        what would the verdict have to be?

               6                  JUROR: Not guilty.

               7                  MR. GIBBONS: Do you all understand that?         There

               8         has to becredible evidence that you believe beyond a

               9         reasonable doubt which the judge will explain to find my

              10         client guilty. If the burden to do that to show you that

              11         evidence is always on the prosecutor, and if he does not

              12         meet that burden, the verdict has to be not guilty. That's

              13         an extreme circumstance. He is not going to go through all

              14         of this and not --

              15                  THE COURT: Wrap it up.

              16                  MR. GIBBONS: Just to finish this up, there will

              17         be evidence, but he still has a burden of proving every

                         element of this case beyond a reasonable doubt.

              19                  Mr. Masse, you are a chemist --

              20                  THE COURT: Mr. Gibbons, you are done.

              21                  MR. GIBBONS: Thank you.

              22                  THE COURT: Mr. Ball, you have 15 minutes, sir.

              23                  THE DEFENDANT BALL: Good morning, ladies and

              24         gentlemen. You know, I think that it would be good for me

El            25         to use this opportunity to familiarize myself with everyone


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         1         and introduce myself. That's the first thing that I would

         2         like to do.

         3                  My name is Raymond Ball, and I'm 50 years old.

         4         I'm here representing myself only because of the fact that

         5         I have a substantial element of education and the judge

         6         feels I amsvchologically competent and educated enough to

         7         proceed, you know, as my own lawyer. I wanted to just to

         8         try to familiarize myself with the names of the jurors so

         9         that I can, you know, what do you call, confront you

        10         properly with the proper names.

        11                  Mis's Kimberly Matthias. Yuda Matatov. Claude

        12         Masse. Joshua Hyde. Leo Hinds -- how do you spell that?

        13                  JUROR: L-E-O-P-O-L-D-O.

        14                  THE DEFENDANT BALL: Andrew Hubert, nice to meet

        15         you. Randy Ramdyal. Can you spell it for me?

        16                  JUROR: R-A-M-D-Y-A-L.

        17                  THE-DEFENDANT BALL: Thank you. Jean Barrett.

        18         Patricia Ba'cchi. Nicholas Altomerianos. Greg Goldstein.

        19         Hasina Poiy. Robert Persico. Sofia Almeida. Wandali

        20         Perez. Lai, Ha Ng. The thing that I just want to reflect

        21         on is that the District Attorney, he gave a clear

        22         implication of a scenario where tricks are being played on

        23         a person's perception in his analogy, and you know, I

        24         wanted to give an analogy of my own.

        25                  Théte was a man in a boat, and he was fishing and


                                                                                   NS
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         1         along comes' a fly and the fly badgers him so he swats the

         2         fly and wind up falling into the water, thereby retrieving

          3        himself, got into the boat -and decided to, you know, finish

          4        the day on the shore contemplating the events of the day,

          5        and so while he was there contemplating the events that

          6        took place that day, he thought to himself he said, well,

          7        you know, here we have the water to him was a liquid. The

          8        water to the fish was a gas, and to the fly the water was a

          9        solid so in that scenario you have a perception that gives

        10         you three different truths, and I wanted to raise that

        11          issue to the ladies and gentlemen of the jury, that, you

         12         know, sometimes when we deal with our perceptions, we might

         13        not come at the same truth when we deal with our

         14        perceptions.

         15                    And what happens is the judge used the word called

         16        presumption, and, Miss Matthias, I would like to ask you a

         17        question pertaining to the scenario that was given. In the

         18         case that you have a person on the corner of 34 Street with

         19         a suit on with the logo of a well known electronics for

         20         during the holidays, and he has TVs that he is selling for

         21         $50. Would you buy from him a TV? And he is in the

         22         vicinity with the logo on the suit, would you buy the TV

         23         for $50?     I

         24                    JUROR: No.

         25                    THE DEFENDANT BALL      Is there anyone else, would


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          1         you buy the TV?

          2                  JUROR: No.

                             THE DEFENDANT BALL: Would you buy the TV, sir?

          4                  JUROR: No.

          5                  THE DEFENDANT BALL: So no one would buy the TV?

           6        Okay.

          7                  My next question is, you know, there is another

          8         scenario that was given about the facts in a case, some of

           9        the jurors were saying that you need certain things in

         10         order to come to a particular conclusion, and the first

         Ii         thing that! came to my mind, you know, the dots, you know,

         12         you have to follow the dots.       Anybody ever followed the

         13         dots as a 'C'hild?    You know, like the one, two, three,

         14         four?    So, you know, in that following the dots program,

         15         you know, you don't really need certain things to get at

         16         the picture. All you really need is just to follow the

         17         dots. And so I wanted to just raise that issue, you know,

         18         as to how is it that some people, you know, the process

         19         that you can come to, to get a particular picture like the

         20         one that we described of determining whether or not the

         21         person got on the plane in order to get the picture, and so

         22         there is other processes that we could use to get at the

         23         picture. I want to also say that, you know, there is a

         24         presumption that attaches to a lot of things, you know,

         25         natual1y,:you know. Like right now when I ask the


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         1         question, I, ask well, you know, would you buy the

         2         television from the person who has the suit on.

         3                  Noi, I would think to myself that in order for you

         4         not to be willing to buy the TV for $50 is because you

         5         attached the presumption on that to that person, you see,

         6         without any facts. You automatically came to some

         7         conclusion that the person has to be up to something

         8         illegal, and you know, I just wanted to raise these issues

         9         about presumption. Presumption is a very serious tool, you

        10         know, and it can be, how do you say, it can be a hindrance

        11         to us being able to make clear decisions in our life and

        12         come to an understanding about things that we really have

        13         no real understanding because you don't want to take things

        14         on face value, and you don't want to attach presumptions to

        15         things, you know, until you have all of the evidence to

        16         establish what it is that you want to come to the

        17         conclusion of.

        18                  And so, you know, I ask the jurors, you know, in

        19         the case that you do wind up being one of the jurors to use

        20         a different method of coming to a conclusion than attaching

        21         presumption to a situation. Like, I'm not a lawyer,

        22         however, I would like for you guys, you know, to be

        23         open-minded and not, you know, attach a presumption to me

        24         because I'm not a lawyer in order to be able to, you know,

        25         allow me to get across to you my side of the story and to


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               1        present maybe facts because    the District Attorney is going
               2        to present to you facts that are available.

3                                Ten there are some facts that's not available,
               4        and you know, I would like for you as the jurors you have
               5        the authority to make sure, you know, to ascertain       the
6                        facts that's not available, and not be swayed to make
               7        decisions or conclusions based on facts that is available
8                       and add a presumption to these facts. And so that's my

               9        only real concern. That's it.

             10                  THE COURT: Is that it?

             11                  THE DEFENDANT BALL: Yes, sir.

             12                  THE COURT: All right. At this point, I will ask

             13         the jurors to step Out of the room. Can we put the people
14                      in the box in the jury room, and we will ask the audience

             15         to step out. We will take a few minutes break.

             16                   (Jurors exit the courtroorn.

             17                   (Whereupon, there was a brief pause in the
18                      proceedings.)

             19                  THE COURT: Ready?

             20                  MR. SHORTT: Yes.

             21                  THE DEFENDANT BALL; Yes.

22                               MR. GIBBONS: Yes.
23                               THE COURT: Jurors one through twelve, People
             24         challenge for cause?



I            25                  MR. SHORTT: We made clear numbers nine and ten NS
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          1         for cause, also Miss Poly number twelve for language

          2         reasons. So nine Bacchi, ten Altomerianos and twelve, Miss

          3         Poly.

          4                  THE COURT: Mr. Ball, Mr. Gibbons?

          5                  MR. GIBBONS: I consent to those. I have some

          6         additional! --

          7                  THE COURT: Do you consent to those as well?

          8                  THE DEFENDANT BALL: Yes.

          9                  THE COURT: All right.

         10                  Defense, one through twelve challenges for cause?

         11                  MR. GIBBONS: Miss Matthias and Mr. Matatov. Miss

         12         Matthias even though I know she tried to rehabilitate her,

         13         she never seemed unequivocal about your ability to follow

         14         your rule and not hold anything against the defendant if he

         15         decides not to testify.

         16                  MR SHORTT: I will consent.

         17                  THE COURT: All right. Mr. Matatov, I don't think

         18         he was clear or he understood when he was asked the

         19         question if he or anyone in the family were the victim of a

         20         crime then he notified us here that he was the victim of

         21         two robberies and I think he acknowledged that this may not

         22         be a good jury for him to sit on.

         23                  MR. SHORTT: Well, I don't think he was the

         24         victim, my understanding it was his son at the pawn shop.

         25                 MR GIBBONS: Right, well, I think he said two


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          1         robberies, his son at the pawn shop and himself.

          2                    THE COURT: Do you want to be heard, Mr. Ball?

          3                    THE DEFENDANT BALL: He indicated that he was in

          4         the process of being sied.

                               THE COURT: All right. I will grant that

          6         challenge.

                               THE DEFENDANT BALL: Thank you, your Honor.

          S                    MR. GIBBONS: Thank you.

        '9                     THE COURT: That's it for cause?

         10                    MR. GIBBONS: Yes, one through twelve.

11                             THE COURT: People, peremptory challenges, one

         12         through twelve?

         13                    MR. SHORTT: Number four, Mr. Hyde number six,

         14         Mr. Hubert; number seven, Mr. Ramdyal; and eight, Miss

         15         Barrett.

         16                    MS. POVMAN: Just one moment, Judge.

         17                    (Defendants and counsel confer.)

         18                    MR. GIBBONS: Number eleven is our perempt on the

         19         defense.

         20                    THE COURT: That's it one through twelve?

         21                    MR. GIBBONS: That is it, your Honor.

         22                    THE COURT: People, jurors 13 through 16,

         23         challenge for cause?

         24                    MR. SH0RTr: None for cause.

         25                    THE COURT: Defense, challenges for cause?


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          I                  MR. GIBBONS: Yes, 13, Mr. Persico. He was pretty

          2         clear one le said that he had friends in law enforcement,

          3         he would dc his best to not have it affect him, but then he

          4         had a clear issue with the fact that my client may not

                    testify, add he said that he would want to hear from him,

          6         and he feels that he should give his side of the story.

          7                  THE COURT: Mr. Shortt?

          S                  MR! SHORTT: Mr. Persico has been a juror in the

          9         past. I uiiderstand counsel's version that he is

         10         unequivocal, but he said he could be fair.

         11                  THE COURT: I will grant the challenge.

         12                  MR GIBBONS: Also number 16, Miss Ng. She was

         13         the victim'of a gun point robbery. She said she would try

         14         to be fair: She did not seem like she wanted to be here in

         15         the first place, and she was very adamant if you want to

         16         tell the truth then you get up and tell the truth, and I

         17         want to challenge her for cause.

         is                  THE COURT: Mr. Shortt?

         19                  MR. SHORTT: I consent, Judge.

         20                  THE COURT: That challenge is granted. Is that it

         21         for cause?1

         22                  MR. GIBBONS: Yes.

         23                  THE COURT: People pererrpt?

         24                  MR. SHORTT: No.

25                           THE COURT: Defense perempt?


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               1                   (Defendant and counsel confer.)

               2                   MR. GIBBONS: Number 14, Almeida defense perernpt.

                                   THE COURT: That's it?

               4                   MR.' GIBBONS: That is it, your Honor.

               5                   THE DEFENDANT BALL: Thank you, your Honor.

               6                   THE COURT: Let's take a couple of minutes.

               7                   (Whereupon, a brief recess was taken.)

               B                   THE COURT: Let's get the jury in.

               9                   (Panel enters the courtroom.)

              10                   THE COURT CLERK: Jurors, if I call your name,

              11        please remain seated. If you do not hear your name, please

              12         take all your belongings and step outside into the hallway

              13         and await further instructions from the court officer:

              14         Claude Masse, please remain seated. Leopoldo Hinds, please

              15         remain seated. Wandali Perez, please remain seated.

              16         Everybody else, please take all your belongings and exit

              17         the courtroom at this time.

             18                    Are the remaining jurors satisfactory to the

              19         People?

             20                    MR SI-IORTT: Yes.

             21                    THE COURT CLERK: Satisfactory to the defense?

             22                    MR! GIBBONS: Yes.

             23                    THE DEFENDANT BALL: Yes.

             24                    (Jurors sworn.)

                                   THE COURT; Gentlemen and Miss Perez, we are going
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             1      to spend the balance of the day continuing the process of

             2      selecting a jury. There is no purpose to you continuing to

             3      hang around today while we engage in that, so I am going to

             4      excuse the three of you and direct you to report back

             5      tomorrow morning at 10 A.M.

             6                In the meantime, do not discuss this case amongst

             7      yourselves or with anybody else. Do not speak to the

             8      attorneys, the parties, the witnesses or anybody involved

             9      in this ca g e. Do not go to the scene of the alleged

         10         incident. :00 not research this case in any way. Should

         ii         anybody speak to you about this case report it to the

         12         officer immediately. I thank you for ycur service today.

         13         I will see you tomorrow morning at 10:00. Safe home.

         14                   (Jurors exit the courtroom.)

         15                   THE COURT: Fill the box.

         l                    THE COURT CLERK: Yes, sir.

         17                   IflI call your name, please step up with all your

         18        belongings and take the seat indicated by the court

         19        officer.

        20                    Seat number one, Sergey Ermolov, sorry if I

        21         mispronounce your name. First name, S-E-R-G--Y, last

        22         name, E-R-N-0-L-0-V. Seat number two, Ra y ! Beepath,

        23         R-A-V-I, last name, B-E-E-P-A-T-H. Seat number three,

        24         Kathy Farduchi, F-A-R-D-U-C-H-I. No answer. Seat three

        25         Eric Sutton, E-R-i-C, last name S-U-T-T-0-N. Seat four,


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               1         Christine Rug,gieri, C-H-R-I--S-T-I-N-E, last name,

               2         R-U-G--G-I-E-R-I.

               3                  THE COURT OFFICER: Kathy Farduchi is here, your

               4         Honor.

               5                  THE COURT: Make her number five.

               6                  THE COURT CLERK: Seat number five, Kathy with a

               7         K, K-A-T-HTY, last name, F-A-R-D--U-C-H-I. Seat six,

               8         Michael Brennan, B-R-E-N-N--A-N. Seat number seven, Eva

               9         Marie Bougdanos, E-V--A first name, middle N-A-R-I-A, last

              10         name B_O_U!G_D__N_O_S. Seat eight, David Delaney,

              11         D-E-L--A-N-E-Y. Seat nine, Van Vo, V-A-N, last name V-O.

              12         Seat number, ten, Jeanette Olivares, J-E-A-N-E-T-T-E. Last

              13         name, O-L-I-V--A-R-E-S. Seat eleven, Pritam Singh,

              14         P-R-I--T-A-M, last name, S-I-N-G--H. Seat twelve, Violet Li,

              15         V-l-O-L-E-T. Last name, L-I. Seat 13, Arvind ['lanik,

              16         A-R-V-1--N-D, M-A-N-I-K, Seat 14, Michael Clark, C-L-A--R-K.

              17         Seat 15, Jacquetta Wright, J-A-C-Q-U-E--T-T-k, last name,

              18         WR_I,G_H_T . Number 16,' Carol Taylor, T-A-Y-L-O--R.

              19                  THE COURT: Good afternoon, ladies and gentlemen.

              20         Once again I'm going to begin by asking a series of

              21         questions to all 16 of you at once.

              22                  Yoii will be the sole judges of the facts. I am

             23          the sole judge of the law, and you must apply the law as I

             24         give it to'you whether or not you agree with it. Can all

             25          of you pro hise me that you will do that?
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          1                  THE JURORS: Yes.
          S


          2                  THE COURT: The defendant is presumed -- the

                    defendants are presumed innocent. They are required to

          4         prove nothing. The burden of proof is on the District

          5         Attorney. iHe must prove beyond a reasonable doubt that the

          6         defendants committed the crimes they are charged with. Can

          •1        all of youpromise to hold the District Attorney to that

          8         burden of proof?

          9                  THE JURORS: Yes.

         10                  THE COURT: I said beyond a reasonable doubt, I

         11         did not say beyond all doubt. That is virtually

         12         impossible, so can all of you promise me that you will not

         13         hold the District Attorney to a higher burden than beyond a

         14         reasonable I doubt?

         15                  THE JURORS: Yes.

         16                  THE COURT: The flip side of course is can you all

         17         promise me that you will not hold the District Attorney to

         18         a lesser burden than beyond a reasonable doubt?

         19                  THE JURORS: Yes.

         20                  THE COURT: The defendants do not have to testify

         21         on their own behalf. That is their right under the

         22         American system of law, and the law says that should a

         23         defendant choose not to testify, you were not to draw any

         24         adverse inference from that fact. Can all of you promise

         25         me that you will follow that law?


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          1                  THE JURORS: Yes.

          2                  THE COURT: Finally, can all of you promise me

          3         that you will keep an open mind and not decide this case

          4         until you have heard all of the evidence, all of the

          5         arguments from the attorneys, and my instructions to you on

          6         the law, can you all of you promise to do that?

          7                  THE JURORS: Yes.

          8                  THE COURT: Very good. Again, if I mispronounce

          9         any names,-please let me know.

10                           Mr'. Erinolov, where do you live?

         11                  JUROR: Rockaway Beach.

         12                  THE COURT: How far did you go in school?

         13                  JUROR: College.

         14                  THE COURT: what do you do for a living?

         15                  JUROR: Digital design.

         16                  THE COURT: Single, married, widow, divorced?

17                           JUROR: Single.

         18                  THE COURT: Ever served as a juror before?

19                           JUROR: No.

20                           THE COURT: Have you or a loved one ever been

21                  convicted of a crime?

         22                  JUROR: No.

         23                  THE COURT: Have you or a loved one ever been the

24                  victim of 'a crime?

         25                  JUROR: Yes.

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          1                   THE COURT: Tell us about that.

          2                   JUROR: House broken in a couple of times.

                              THE COURT: Do you appreciate that the facts that
          4         you will hear in this case have nothing to do with that?

          5         Can you put that incident aside and judge the facts in this

          6         case fairly'?

          7                   JUROR: Yes.

          8                   THE COURT: Why is that a struggle for you to say?

          9         You do appreciate that what happened to you has nothing to

         10         do with this case, right?

         11                   JUROR: Yes, I understand.

         12                   THE COURT: Is there a problem with you putting

         13         that aside and judging the facts in this case fairly,

         14         giving both sides a fair shake in the case?

         15                   JUROR: Perhaps, yes.

         16                   THE COURT: Why is that?

         17                   JUROR: Because, you know, when something bad

         18         happens to you, it kind of traumatize you psychologically.

         19                   THE COURT: So you don't think you can give both

         20         sides fair trial in this case?

         21                   JUROR: I would like to say yes, but, again, you

         22         know --

         23                   TI-LE COURT: You are not sure?

         24                   JUROR: When something happens to you, you would

         25         judge thins differently, you will be more cautious.


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          I                  THE COURT: All right. That's honest.

          2         appreciate that. I will take that.

          3                  Mr.. Beepath, where do you live?

          4                  JUROR: Richmond Hill.

          5                  THE COURT: How far did you go in school?

          6                  JUROR: High school.

          7                  THE COURT: What do you do for a living?

          8                  JUROR: Machinist.

          9                  THE COURT: Single, married, widowed, divorced?

         10                  JUROR: Married.

                             THE COURT: What does your wife do?

         12                  JUROR: She is a stay at home mom.

         13                  THE COURT: So you have kids?

         14                  JUROR; Yes.

         15                  THE COURT: Little ones?

         16                  JUROR: Grown up.

         17                  THE COURT: Grown up?

         18                  JUROR: Yes.

                             THE COURT: What do they do?

                             JUROR: My daughter is in Europe, and my son going

         21         to school.

         22                  TH .E COURT: Have you ever been a juror before?

         23                  JUROR: No.

         24                  THE COURT: Have you or a loved one ever been the

         25         victim of a crime?


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              £                  JUROR; No.

              2                  THE COURT: Have you or a loved one ever been

             .3         convicted df a crime?

              4                  JUROR: No.

              5                  THE COURT: Do you have friends or family in law

              6         enforcement?

              7                  JUROR: No.

              a                  THE COURT: Can you be fair?

              9                  JUROR: Yes.

             10                  THE COURT: Mr. Sutton, where do you live?

             11                  JUROR: Floral Park.

             12                  THE COURT: Education?

             13                  JUROR: High school.

             14                  THE COURT: Your occupation? -

             15                  JUROR: New York City fireman. My wife also' works

             16         for the fire department.

             17                  THE COURT: As a firefighter?

             18                  JUROR; Yes.

             19                  THE COURT: Are you a firefighter?

             20                  JUROR: Yes.

             21                   THE COURT: Any kids?

             22                  JUROR: No.

             23                  THE COURT: Have you ever served as a juror

            24         before?     I

            25                   JUROR: No.
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          1                   THE COURT: Have you or loved one ever been

          2         convicted of a crime?

          3                   JUROR: No.

          4                   THE COURT: Victim of a crime?

          5                   JUROR: Yes.

          6                   THE COURT: Tell us about that.

          7                   JUROR: My wife was mugged years ago, and my house

          0         was robbed

                              THE COURT: Can you put those incidents aside and

         10         give both sides a fair trial here?

         11                   JUROR: Yes.

12                            THE COURT: Good. Do you have friends or family

         13         in law enforcement?

         14                   JUROR: Yes.

         15                   THE COURT: Tell us about that.

         16                   JUROR: My brother is a police officer, and my

         17         uncle is also a police officer.

         18                   THE COURT: Out of 35,000 cops, the DA is going to

         19         call two, maybe three, I don't know. Can you evaluate

         20         their testimony just like anybody else?

         21                   JUROR: I would tend to believe what they are

         22         saying.

         23                   THE COURT: Okay. So do you think - let me try

         24         this. 35,000 cops, is it fair to say that some of them are

         25         heroes, mot of them are just guys making a living doing


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          1         their job, some of them not so much; is that a fair

          2         statement?

          3                  JUROR: Yes, that's fair.

4                            THE. COURT: So you don't know where these two or

5                   three cops fall into that; is that fair?

          6                  JUROR: Yes.

          7                  THE COURT: So when I talk about one or two cops,

          8         can you evaluate them and give them a clean slate?

          9                  JUROR: Yes.

         10                  THE COURT: All right. Thank you, sir. Can you

         11         be a fair juror, sir?

         12                  JUROR: Yeah.

         13                  THE COURT: Thank you very much.

         14                  Miss Ruggieri, how are you?

15                           JUROR: Just fine, thank you.

16                           THE COURT: Where do you live?

         17                  JUROR: Glen Oaks.

18                           THE COURT: How far in school?

         19                  JUPOR: College.

         20                  THE COURT: What do you do for a living?

         21                  JUROR: Retired from the post office.

         22                  THE COURT: Single, married, widowed, divorced?

         23                  JUROR: Widowed.

24                           THE COURT: What did your husband do?

25                           JUROR: Also worked for the post office.


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             1              THE COURT: Do you have kids?

             2              JUROR: Yes.

             3              THE COURT: What do they do?

             4              JUROR: My daughter is an organist in the church,

             5     and my son has his own business.

             6              THE COURT: Have you ever been a juror before?

                             JUROR: No.

             8              THE COURT: Have you or a loved one ever been

             9      convicted of a crime?

         10                  JUROR: No.

         11                  THECOURT: Victim of a crime?

         12                  JUROR; Yes.

         13                  THE; COURT: Tell us about that.

         14                  JUROR: My daughter's house was broken into, my

         15         husband was mugged on the street, and my daughter-in-law

         16         was mugged 'on the street.

         17                  THE COURT: Can you put those experiences aside

         18         and give both sides a fair shake in this case?

         19                  JUROR: I would do my best.

         20                  THE COURT: They like to hear more than that

         21         because it'.s important for both sides.

         22                  JUROR: Yes.

         23                  THE COURT: Friends or family in law enforcement?

         2                   JUROR: Yes. I have my cousins are cops, my

         25         cousin ' s sOns are cops, my friend's sons are cops.


                                                                                   NS
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 279 of 907 PageID #: 642


                                                                                   133
                                             Proceedings

               1                  THE COURT: Same question to you.

               2                  JUROR: I will say the same thing that Mr. Sutton

               3         did, I would believe what the cops said.

               4                  THE COURT: No matter what?

               5                  JUROR: Not no matter what, it depends on the

               6         evidence, but my first initial feeling is to believe what

               7         the cop says.

               8                  THE COURT: How about what I said about 35,000

               9         cops, they run the gamut?
10                                JUROR: Yes, I heard you.
11                                THE COURT: Just like 35,000 of any of us, there
              12         is nothing 1 special about that.
              13                  JUROR: Yes, I am just trying to be honest.
14                                THt COURT: I appreciate that. Do you think you

15                       can be fafr?

              16                  JUROR: I would do my best.

              17                  THE COURT: All right.

18                                Miss Farduchi, where do you live?

              '9                  JUROR: Jamaica.

              20                  THE COURT; How far did you go in school?

              21                  JUROR: High school.

              22                  THE COURT: What do you do for a living?

              23                  JUROR: At this time I'm unemployed.

              24                  THE COURT: What have you done in the past?
25                                JUROR: I was a certified home health aide.

01                                                                                         NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 280 of 907 PageID #: 643


                                                                              134
                                          Proceedings

          1                  THE COURT: Single, married, widowed, divorced?

                             JUROR: Single.

          3                  THE COURT: Have you ever been a juror before?

          4                  JUROR: Yes.

          5                  THE COURT: Civil or criminal?

          6                  JUROR: Civil.

          7                  THE COURT: Do you appreciate the rules are

          8         different oii the criminal side than the civil side?

          9                  JUROR: Yes.

         10                  THE COURT: The rules of law I mean. You will

11                  take the law as I give it to you?      When I tell you what

         12         the law is you will accept it as the law?

         13                  JUROR: Yes.

         14                  THE COURT: Was there anything about jury service

         15         before that would make you uncomfortable sitting as a juror

         16         in this case?

         17                  JUROR: No.

         18          -       THE COURT: Have you or a loved one ever been

         19         convicted of a crime?

         20                  JUROR: No.

         21                  THE COURT: Have you or a loved one ever been the

         22        victim of a crime?

         23                  JUROR: No.

        24                  THE COURT: Do you have friends or family in law

        25         enforcement?


                                                                                    NS
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                                                                             135
                                        Proceedings

         1                  JUROR: No.

         2                  THE COURT: Can you be fair?

         3                  JUROR: Yes.

          4                 THE COURT: Good. Thank you very much.

          5        Mr. Brennan', how are you, sir?

          6                 JUROR: Well, thanks. How are you?

          7                 THE COURT: Good. Where do you live?

          8                 JUROR: Jackson Heights, I am working on .a masters

          9        right now.

        10                  THE COURT: What do you do for a living?

         11                 JUROR: Actor and stunt double for a TV show.

         12                 THE COURT: What show?

         13                 JUROR: The-Black List.

         14                 THE COURT: I love that show.

         15                 JUROR: Keep watching. It's moving to Thursdays.

         16                 THE COURT: Are you single, married, widowed,

         17        divorced?

         18                  JUROR: Married.

         19                 THE. COURT: What does your wife do?

         20                  JUROR: She is a gernologist.

         21                 THE COURT: What is that?

         22                  JUROR: She manages a diamonds boutique in the

         23         city.

         24                 THE COURT: Do you have kids?

       i 25                  JUROR: No.


                                                                                   NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 282 of 907 PageID #: 645


                                I.                                           136
                                         Proceedings

          1                 THE COURT: Served as a juror before?

          2                  JUROR: Negative.

          3                 THE COURT: Have you or loved one ever been the

          4         victim of a crime?

          5                  JUROR: No.

          6                 THE COURT: Convicted?

          7                  JUROR: No.

          8                  THE COURT: Do you have friends or family in law

          9         enforcement?

         10                  JUROR: Multiple, FBI, ATF, ESU, bomb squad from

         11        my time in the service.

         12                 THE COURT: Can you evaluate the testimony of the

         13         two or thre cops in this case fairly, no better, no worse?

         14                  JUROR: Yes, sir.

         15                 THE COURT: Can you be fair?

         16                 JUROR: Yes, sir.

         17                 THE COURT: Goods. Thank you very much.

        18                  Miss Bougdanos, where do you live?

         19                 JUROR: Astoria.

        20                  THE COURT: How far did you go in school?

        21                  JUROR: College.

        22                  THE COURT What do you do for a living?

        23                  JUROR: Student and bartender.

        24                  THE COURT: Single, married, widowed, divorced?

        25                  JUROR: Single.


                                                                                   NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 283 of 907 PageID #: 646


                                                                              137
                                        Proceedings

          1                   THE COURT: Have you ever served as a juror

          2         before?

          3                   JUROR: No.

          4                   THE COURT: Have you or a loved one ever been

          5         convicted of a crime?

          6                   JUROR: No.

          7                   THE COURT: Victim?

          8                   JUROR: No.

          9                   THE COURT: Friends and family in law enforcement?

         10                   JUROR: No.

         11                   THE COURT: Can you be fair?

         12                   JUROR: Yes.

         13                   THE COURT: Thank you.

         14                   Mr. Delaney, where do you live?

         15                   JUROR: Hollis.

         16                   THE COURT: How far did you go in school?

         17                   JUROR: College.

         18                   THE COURT: What do you do for a living.

         19                   JUROR: Currently unemployed.

         20                   THE COURT: What have you done in the past?

         21                   JUROR: Interned at Downstate Medical School.

         22                   THE COURT: What do you hope to do?

         23                   JUROR: Veterinarian.

         24                   THE COURT: Are you single, married, widowed,

         25         divorced?


                                                                                    NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 284 of 907 PageID #: 647


                                                                              138
                                         Proceedings

          1                    JUROR: Single.

          2                    THE COURT: Ever served as a juror before?

          3                    JUROR: No.

          4                    THE COURT: You or anyone you know ever convicted

          5         of a crime?

          6                    JUROR: No.

          7                    THE COURT: Have you or a loved one ever been the

          8         victim of a crime?

          9                    JUROR: No.

         10                    THE COURT: Friends or family in law enforcement?

         11                    JUROR: No.

         12                    THE COURT: Can you be fair?

         13                    JUROR: Yes.

         14                    THE COURT: Thank you, sir.

         15                    Miss Vo, where do you live?

                               JUROR: In Queens.

         17                    THE COURT: What neighborhood in Queens do you

         18         live in?

         19                    JUROR: Neighborhood?

         20                    THE COURT: What neighborhood?

         21                    JUROR: I don't know.

         22                    THE COURT: Do you live in Flushing?

         23                    JUROR: Yeah, Woodside.

         24                    Tf-E COURT: Okay. How far did you go in school?

         25                    JUROR: High school in my country.


                                                                                      NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 285 of 907 PageID #: 648


                                                                              139
                                          Proceedings

          1                  THE COURT: Where are you from?

          2                  JUROR: Vietnam.

          3                  THE COURT: Are you working?

          4                  JUROR: Yeah.

                             THE COURT: What do you do?

          6                  JUROR: I do nails.

          7                  THE COURT: Single, married, widowed, divorced?

                             JUROR: Yeah, I'm married.

                             THE COURT: What does your husband do?

         10                  JUROR: My husband work in the school.

         11                  THE COURT: Okay.

         12                  JUROR: Clean.

         13                  THE COURT: He cleans?

         14                  JUROR: Yeah.

         15                  THE COURT: Okay. Do you have kids?

         16                  JUROR: Yes.

         17                  THE COURT: Big ones or little ones?

         18                  JUROR: She eight years old, and five years old.

         19         I ask her what you want, she say she want like you.

         20                  THE COURT: It's a good job. Have you ever served

         21         as a juror, before?

         22                  JUROR: i never.

         23                  THE COURT: Have you or a loved one ever been

         24         convicted of a crime?

         25                  JUROR: I don't speak good, just little bit.


                                                                                      NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 286 of 907 PageID #: 649

                                I.
                                                                              140
                                              Proceedings

          1                  THE COURT: Are you having trouble understanding

          2         me?

          3                  JUROR: Just little bit, very simple.

          4                  THE COURT: All right. Thank you.

        '5                   Mis Olivares, where do you live?

          6                  JUROR: Ozone Park.

          7                  THE COURT: How far did you go in school?

          8                  JUROR: Bachelor's degree.

          9                  THE COURT: what do you do for a living?

         10                  JUROR: Program assistant.

         11                  THE COURT: Single, married, widowed, divorced?

         12                  JUROR: Married.

         13                  THE COURT: What does your husband do?

         14                  JUROR: TJnemployed.

         15                  THE COURT: What has he done in the past?

         16                  JUROR: Construction.

         17                  THE COURT: Do you have any children?

         18                  JUROR: Yes, little ones.

         19                  THE COURT         Ever been a juror before?

         20                  JUROR: No.

         21                  THE COURT: Have you or a loved one ever been

         22         convicted of a crime?

         23                  JUROR: No.

         24                  THE COURT: Have you or loved one ever been the

         25         victim of        crime?


                                                                                      NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 287 of 907 PageID #: 650


                                                                              141.
                                        Proceedings

          1                  JUROR: No.

          2                  THE COURT: Friends or family in law enforcement?

          3                  JUROR: No.

          4                  THE COURT: Can you be fair?

          5                  JUROR: Yes.

          6                  THE COURT: Thank you very much.

          7                  Dr. Singh, where do you live?

          8                  JUROR: Bayside.

          9                  THE COURT: How far did you go in school?

         10                  JUROR: College.

         11                  THE COURT: Medical school I assume?

         12                  JUROR: Medical school.

         13                  THE COURT: What kind of doctor are you?

         14                  JUROR: Internal medicine.

         15                  THE COURT: Single, married?

         16                  JUROR: Married.

         17                  THE COURT: What does your wife do?

         18                  JUROR: Retired from real estate.
         19                  THE COURT: Any kids?

         20                  JUROR: Yes.

         21                  THE COURT: Adults?

         22                  JUROR: Yes, adults.

         23                  THE COURT: What do they do?

         24                  JUROR: One is college advisor, one is disabled.
25                           THE COURT: Have you ever been a juror before?


                                                                                      NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 288 of 907 PageID #: 651


                                  I                                           142
                                          Proceedings

          1                     JUROR: No.

          2                     THE COURT: Have you or a loved one ever been

          3         convicted of a crime?

          4                     JUROR: No.

          5                     THE COURT: Have you or a loved one ever been the

          6         victim of a crime?

          7                 •   JUROR: No.

          8             •       THE COURT: Friends or family in law enforcement?

          9                     JUROR: No.

         10                     THE COURT: Can you be fair?

         11                     JUROR: Yes.

         12                     THE COURT: Thank you very much.

         13                     Miss Li, where do you live?

         14                     JUROR: Queens, Flushing.

         15                     THE COURT: How far did you go in school?

         16                     JUROR: High school.

         17                     THE COURT: What do you do for a living.

         18                     JUROR: Bookkeeper.

         19                     THE COURT: Single, married, widowed, divorced?

                                JUROR: Married.

                                THE COURT: What does your husband do?

         22                     JUROR: He was a police officer.

         23                     THE COURT: In New York?

         24                     JUROR: New York City.

         25                     THE COURT: Is he still a police officer?


                                                                                      NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 289 of 907 PageID #: 652


                                                                              143
                                            Proceedings

          1                   JUROR: He retired.

          2                   THE COURT: Where did he work?

          3                   JUROR: Now he works at the courthouse as a court

          4         officer in Manhattan.

          5                   THE. COURT: He is a court officer?

          6                   JUROR: Yes.

          7                   THE COURT: I will ask you the question, can you

          8         judge the testimony of the police officers in this case

          9         fairly?

         10                   JUROR: Yes.

         11                   THE COURT: Good. Do you have kids?

         12                   JUROR: Yes.

         13                   THE COURT: Big ones or little ones?

         14                   JUROR: Big, two.

         15                   THE COURT: What do they do?

         16                   JUROR: One is registered nurse, and one is a

         17         secretary.,

         18                   THE COURT; Have you ever been a juror before?

         19                   JUROR: No.

         20                   THE COURT: Have you or any loved one ever been

         21         convicted of a crime?

         22                   JrJCp   No.

         23                   T28 COURT: Have you or a loved one ever been the

         24         victim of     crime?

         25                   JUROR: I was a victim.


                                                                                      NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 290 of 907 PageID #: 653


                                                                              144
                                        Proceedings

          1                  THE COURT: Can you put that incident aside and

          2         judge the facts in this case fairly?

          3                  JUROR: I try.

          4                  THE COURT: Well, I think they need more than try.

        .5          Do you think you are as fair as the gentleman sitting to

          6         the right of you and the gentleman sitting to the left of

          7         you, are you a fair person?

          8                  JUROR: Yes.

          9                  THE COURT: So you know what happened to you has

   I     10         nothing todo with what you are going to learn in the next

         11         couple of days, right?

         12                  JUROR: Yes.

         13                  THE COURT: So my question is can you put that

         14         aside and judge the facts fairly and render a fair verdict,

         15         can you do it?

         16                  JUROR: Yes.

17                           THE COURT: Thank you. Your husband is a court

         18         officer, so you must know many of them?

         19                  JUROR: Yes.

         20                  THE COURT: Thank you. Mr. Manik, where do you

         21         live?

         22                  JUROR: Forest Hills.

         23                  THE COURT: How far did you go in school?

         24                  JUROR: Medical school.

         25                  THE COURT: What do you do for a living?
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 291 of 907 PageID #: 654


                                                                                  145
                                             Proceedings

               I                 JUROR: Physician, family medicine.

              2                  THE COURT: Single, married, widowed, divorced?

               3                 JUROR: Divorced.

               4                 THE COURT: Any children?

               5                  JUROR: Yes, big ones.

               6                 THE COURT: what do they do?

               7                  JUROR: My daughter is a physician too.

               S                  THE COURT: Have you ever been a juror before?

               9                  JUROR: Yes, sir.

              10                  THE COURT: Civil or criminal?

              11                  JUROR: Civil.

              12                  THE COURT: Do you appreciate that the laws are

              13         different on the criminal side than the civil side?

              14                  JUROR: Yes.

              15                  THE COURT: Primarily in a civil case the burden

              16         of proof is like 51-49. Here the DA has to prove it beyond

              17         a reasonable doubt, okay?

              18                  Anything about serving as a juror that would make

              19         you not corifortable serving as a juror in this case?

              20                  JUROR: Not really.

              21                  THE COURT: Have you or a loved one ever been

              22         convicted of a crime?

              23                  JUROR: No.

              24                  THE COURT: How about the victim of a crime?

              25                  JUROR: No.
Ii
                                                                                           NS
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 292 of 907 PageID #: 655


                                                                                   146
                                              Proceedings

               1                   THE COURT: Friends or family in law enforcement?

               2                   JUROR: No.

               3                   THE COURT: Can you be fair?

               4                   JUROR: Sure.

               5                   THE COURT: Good. Thank you very much.

             .6                    Mr. Clarke, where do you live?

                                   JUROR: Belle Harbor.

               B                   THE COURT: How far did you go in school?

               9                   JUROR: I went to college.

              10                   THE COURT: What do you do for a living?

              11                   JUROR: Retail salesman at a hunting store on Long

              12         Island.

              13                   THE. COURT: Single, married, widowed, divorced?

              14                   JUROR: Single.

              15                   THE COURT: Ever served as a juror before?

              16                   JUROR: No.

              17                   THE COURT: Have you or a loved one ever been

              18         convicted of a crime?

              19                   JUROR: No.

              20                   THE COURT: Have you or a loved one ever been the

              21         victim of a crime?

              22                   JUROR: No.

              23                   THE. COURT: Friends or family in law enforcement?

              24                   JUROR: No.

              25                   THE COURT: Can you be fair?
Ii
                                                                                           NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 293 of 907 PageID #: 656


                                                                             147
                                         Proceedings

         1                  JUROR: I'm not 100 percent on that one. I can't

         2         say I won't get hung up on one certain detail on one side

         3         and go with that one. I will try.

         4                  THE COURT: Well, is there a particular detail you

         5         are talking about?

         6                  JUROR: It's -- detail like if somebody was hurt,

         7         that might weigh on me.

         8                  THE COURT: Well, we don't know what the evidence

         9         is going to be yet, I don't know certainly. I know about

        10         as little about this case as you do at this point.

        11                  JUROR: I guess I can be fair then.

        12                  THE COURT: All right. Good. Thank you very

        13         much.

        14                  Miss Wright, where do you live?

        15                  JUROR: Queens Village.

        16                  THE COURT: 1-low tar did you go in school?

        17                  JUROR: College.

        18                  THE COURT: What do you do for a living?

        19                  JUROR: Data entry clerk.

        20                  THE COURT: Single, married, widowed, divorced?

        21                  JUROR: Married.

        22                  THE COURT: What does your husband do?

        23                  JUROR: Construction.

        24                  THE COURT: Kids?

25                          JUROR: No.


                                                                                   NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 294 of 907 PageID #: 657


                                                                             148
                                        Proceedings

         1                  THE COURT: Ever served as a juror before?

         2                  JUROR: No.

          3                 THE COURT: Have you or a loved one ever been

          4        convicted of a crime?

                            JUROR: No.

          6                 THE COURT: Have you or a loved one ever been the

          7        victim of a crime?

          8                 JUROR: No.

          9                 THE COURT: Friends or family in law enforcement?

        10                  JUROR: No.

        11                  THE COURT: Can you be fair?

        12                  JUROR: Yes.

        13                  THE COURT: Good.

         14                 Miss Taylor, where do you live?

         15                 JUROR: Laurelton.

         16                 THE COURT: How far did you go in school?

         17                 JUROR: College.

         18                 THE COURT: What do you do for a living?

         19                 JUROR: Case manager.

        20                  THE COURT: Single, married, widowed, divorced?

        21                   JUROR: Married, he is a pharmaceutical rep.

         22                 THE COURT: Kids?

        23                  JUROR: Yes.

24                          TH8 COURT: Big or little?

        25                  JUROR: Combination.


                                                                                   NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 295 of 907 PageID #: 658


                                                                             149
                                         Proceedings

         1                  THE COURT: You know what I want to know. Adult

         2         kids what do they do for a living?

         3                  JUROR: My son was in the military, he just came

         4         out, and I have a son who is a home health aide, and my

         5         daughter is a nurse.

         6                  THE COURT: Ever been a juror before?

         7                  JUROR: No.

         8                  THE COURT: Have you or loved one ever been

         9         convicted of a crime?

        10                  JUROR: My uncle was locked up for selling

        11         marijuana.

        12                  THE COURT: Anything about that experience that

        13         would cause you not to be fair in this case?

        14                  JUROR: Absolutely not.

        15                  THE COURT: How about the victim of a crime?

        16                  JUROR: No.

        17                  THE COURT: Friends or family in law enforcement?

        18                  JUROR: My sister in law's husband is a detective.

        19                  THE COURT: Can you judge the testimony of the

        20         police in this case fairly?

        21                  JUROR: Definitely.

        22                  THE COURT: Can you be fair?

        23                  JUROR: Yes, I can.

        24                  THE COURT: Thank you very much.
                                                                 S
        25                  Mr.' Shcrtt, 15 minutes.


                                                                                   MS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 296 of 907 PageID #: 659


                                                                              150
                                        Proceedings

          1                  MR. GIBBONS    Your Honor, you want to keep going?

          2                  THE COURT: Yes. You got someplace to go?

          3                  MR. GIBBONS: All right

          4                  MR. SHORTT: Everyone here, you will give me the

          5         same promies that I asked the first group not to let

          6         sympathy come into play here?

          7                  Mr Sutton, you heard me speak to Mr. Masse

8                   before. Would you agree with me that your job is take the

          9         evidence from the witness stand and combine it with what

         10         the judge cives you and come up with a verdict?

         11                  JUROR: Yes.

         12                  MR. SPORTT: Do you think sympathy should play any

         13         factor at 11?

         14                  JUROR: No, it has nothing to do with whether or

         15         not something happened?

         16                 MR SHORTT: Miss Taylor, would you agree with

         17         that, do you think sympathy should play a role?

         18                  JUROR: Definitely not, base it on the facts.

         19                 MR. SHORTT: Would you agree sympathy could be a

         20         two way street, you will hear from a victim and you may the

        21          judge told you that there may be allegations of injuries in

        22         this case, can you promise not to have sympathy?

        23                  JUROR: Still can't mix the facts with sympathy.

        24         Being fair, sympathy, I can't put that into the equation of

        25         being fair. I have to listen and make a decision.


                                                                                    NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 297 of 907 PageID #: 660


                                                                              151
                                         Proceedings

          1                  MR. SHORTT: You will listen to the testimony of

          2         an eyewitness. You may only hear testimony from one

          3         eyewitness. Is that troubling to you at all? Would you be

          4         able to make a decision based on one eyewitness?

          5                  JUROR; I would be.

          6                  MR. SHORTT: What are you looking for in terms of

          7         an eyewitness if you want to believe them?

          8                  JUROR: An eyewitness would have to be able to

          9         identify who they saw, how close, it there is a certain

         10         body pierce or mark or whatever that stands out to make

         11         them say what happened.

         12                  MR SHORTT: Mr. Clarke, if you were listening to

         13         the testimony of an eyewitness, what would you want to hear

         14         or consider:?

         15                  JUROR: Pretty much the same thing, could he

         16         identify them clearly, any distinguishing markings, how

         17         close he was, if he heard anything specific, just you know,

         18         as detailed as possible.

         19                  MR . S!-[ORTT: Would you consider what his

         20         observations were with the other evidence in the case?

         21                  JUROR: I'm sorry?

         22                  MR. SHORTT: Would you consider what that

         23         eyewitness what they observed would you compare it to other

         24         facts in the case?

         25                  JUROR: Yes.


                                                                                      NS
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 298 of 907 PageID #: 661


                                                                                  152
                                              Proceedings

              1                     MR. SHORTT: Would you consider where a suspect

              2         was caught,1 do you think that could be important?

               3                    JUROR: Could be.

               4                    MR. SHORTT: How?

               5                    JUROR: If he was close to the scene when it

               6        happened, if he fits the description that the eyewitness

                         said while he was maybe trying to get away, that could play

               8         a role.

               9                    MR. SHORTT: Mr. Manik, do you think where a

              10         person is Caught would play a role in your decision?

              11                    JUROR: It depends on the witness, how tar he was

              12         and how close he was to the witness.

              13                    MR SHORTT: What do you mean by that?

              14                    JUROR: what I mean is that if there was some

              15         clear identification.

              16                    MR. SHORTT: I'm sorry?

              17                    JUROR: Whether the witness identified the person

              18         clearly.

              19                    MR SHORTT: Okay. Miss Bougdanos, do you think

              20         it would be important for you to in your decision making

              21         process to consider where the suspect was caught compared

              22         to the crime?

              23                    JUROR: No.

              24                    MR S}-ORTT: Why not?

              25                    JUROR: I think that you have to balance
II

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               1         everything out very fairly. I think you need to see things

               2         as they are. I think where they are needs to be weighed

                         out in comparison to what the crime was, I think it all

               4         matters in order to see the bigger picture of things.

               5                  MR. SHORTT: So would you consider where the

               6         person was caught?

                                  JUROR: Yes.

                                  MR. SHORTT: Why would that be important?

                                  JUROR: I guess it all has to do with where they

              10         are, how far they got away, who else was involved, the

              11         locations of things, it just falls into place.

              12                  MR SHORTT: I appreciate that.

              13                  Miss Ruggieri, do you agree with that, that where

              14         a person is caught matters in terms of deciding whether or

              15         not the police have caught the right person?

              16                  JUROR: Well, if he is in the vicinity of the

              17         crime, it's very shortly thereafter it would have to have

              18         some kind of affect on what the facts are.

              19                  MR SHORTT: As opposed to he is caught five hours

              20         later 40 blocks away?

              21                  JUROR: That would not have any bearing on it, but

              22         if he was caught right outside the store right after it

              23         happened.

              24                 MR SHORTT: You would consider that?

              25                  JUROR: Yes.
II

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          1                 MR. SHORTT: Ermolov, would you consider whether

          2        or not anything is recovered from a suspect in deciding

          3        whether or not you think the eyewitness is making an

          4         accurate identification?

          5                 JUROR: I'm sorry, I didn't get it.

          6                 MR. SHORTT: If the police recover something from

          7         the pocket of a suspect relevant to the case, would you

          8         consider in deciding whether or not you believe the witness

          9         is accurate in their identification?

         10                 JUROR: Yes, perhaps.

         11                 MR. Sf-IORTT: Why would you do that?

         12                 JUROR: Because it's additional evidence that was

         13        taken from the pockets, is that what you said?

         14                 MR.: SI-TORTT: Yes, so you would consider that in

         15        deciding whether or not that eyewitness is making a correct

        16         identification, right?

        17                  JUROR: I'm sorry, I'm not too sure.

        18                  MR. SHORTT: Would you consider that additional

        19         evidence in deciding whether or not you think an eyewitness

        20         is being accurate?

        21                  JUROR: Yes, additional evidence but it depends on

        22         the case. If it's a robbery, it depends.

        23                  MR. SHORTT: In terms of deciding whether or not

        24         you believe an eyewitness is being accurate will you

        25         promise that besides the testimony of the eyewitness, you


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          1         will consider it in light of all the testimony and all the

          2         evidence given at this trial?

          3                  JUROR: Yes.

          4                  MR. SHORTT: Thank you, sir. Ladies and

          5         gentlemen.

          6                  Mr. Beepath, do you understand as the defendants

          7         sit here they are innocent until proven guilty?

          8                  JUROR: Yes.

          9                  MR. SHORTT: Do you understand that I don't fight

         10         that, as the prosecution, they are innocent, if I do not

         11         call a single witness to the stand at any point what is

         12         your verdict going to be?

         13                  JUROR: Not guilty.

         14                  MR. SHORTT     Because they are innocent as it

         15         stands right now.

         16                  JUROR: Yes, there is no evidence.

         17                  MR. SHORTT: However, if I bring witnesses here

         18         and I bring eyewitnesses here that will testify that they

         19         committed a crime, and I prove to your satisfaction beyond

         20         a reasonable doubt that they are guilty as charged in the

         21         indictment, would you have any hesitation removing that

         22         presumption-of innocence and finding them guilty?

         23                  JUROR: I would have to see more evidence.

         24                 MR. SFIORTT: what do you mean by that?

         25                  JUROR: Like more testimony.


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          1                  MR. SHORTT: You would want more than beyond a

          2         reasonable doubt?

          3                  JUROR: Yes, beyond the eyewitness account.

          4                  MR. SHORTT: Anyone else who feels as Mr. Beepath

          5         that you would need more than an eyewitness testimony?

          6         Anybody else you would need more than that?

          7                  JUROR: Sure, I would need to see some

                    corroborating evidence. Like you mentioned earlier, if the

          9         person saw'the individual with a red cup in their hand and

         10         the red cup was found in the pockets, that's more evidence.

         11         An eyewitness account is probably the least accurate and

         12         least reliable bit of evidence. We all see things

         13         differently.

         14                  MR SHORTT: The judge will instruct you that it's

         15         the quality of the evidence not the quantity of the

         16         evidence that's presented that matters in a case, and there

         17         is no required form that evidence be presented, but you are

         18         telling me you would consider an eyewitness testimony if

         19         there was additional evidence as well?

         20                  JUROR: Sure.

         21                  MR SHORTT: If I call one eyewitness ad you

         22         believe that eyewitness beyond a reasonable doubt, would

         23         you still hesitate finding the defendants guilty or would

         24         you need a little more?

         25                  JUROR: If it's solely based on an eyewitness


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          1         saying I saw that individual do said act would I be able to

          2         convict that person?

                             MR. SHORTT: Yes.

          4 JUROR: It would depend on the believability how

                    far was the witness, how old is the person, the lighting,

                    angle they were standing at, how old they are, do they wear

          7         glass, etcetera, etcetera. If all of those things line up

          8         and that person seems believable, that person seems logical

                    and intelligent and they say this is what I saw, then, yes,

         10         I can do that.

         11                  MR SHORTT: Thank you, sir.

         12                  Mr. Delaney, how do you feel?

13                           JUROR: I agree wholeheartedly with what the last

         14         gentleman just said.

         15                  MR: SHORTT: Why do you think that way?

         16                  JUROR: Because that places an important factor in

         17         a case such as this because these are gentlemen's lives in

         18         our hands basically and if we just find them guilty off of

19                  oh, all right we don't have any other evidence aside from

         20         an eyewitness and if he was standing three blocks away, and

         21         he just sa them running away, it's like 12:00 at night and

         22         there is no street light and they just happen to see a

         23         figure run away and they just happen to see these two

        24          gentlemen, that's not enough evidence.

         25                 MR. SHORTT: That would be troubling for you,


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          1         right?

          2                  JUROR: Yes.

          3                  MR 1. SHORTT: For me, too. Would you consider if

          4         the suspect got closer to the witness is that important to

          5         you?

          6                  JUROR: Yes, that plays a factor too.

          7                  MR. SHORTT: Why?

          8                  JUROR: Because that would give me a proper

          9         descriptioi that would tell me okay this person is where I

         10         am in relation to you, I can give a full description of

         11         what I saw and what he was wearing and everything else.

         12                  MR . SHORTT: Okay. Mr. Singh, do you watch TV?

         13                  JUROR: Sometimes.

         14                  MR. SHORTT: Do you watch Law and Order?

         15                  JUROR: No.

         16                  MR. SHORTT: I know there is competition. Mr.

         17         Clarke, what is the biggest difference between Law and

         18         Order and this courtroom?

         19                  JUROR: Nicer courtroom.

         20                  THE COURT: Me too.

         21                  MR SHORTT: A lot more waiting around here,

         22         right?

         23                  JUROR: Yes.

         24                  MR: SUORTT: If you are picked as a juror, you

         25         don't get to see the crime, right?


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          1                  JUROR: Yes.

          2                  MR. SHORTT: As the judge just told you, you can't

          3         go to the brime scene. If you are picked as a juror, what

          4         do you think is the biggest differences between the

          5         witnesses that will testify here and the witnesses that

          6         testify on the TV show?

          7                  JUROR: These are real people. They have no real

          8         reason to lie, I think. I don't really know what the big

          9         difference is except they are not paid actors just real

         10         people recounting what they believe they saw.

         11                  MR. SHORTT: Not reading a script?

         12                  JUROR: No.

         13                  MR. SHORTT: No multiple takes, take two, take

         14         ten, take 20?

         15                  JUROR: Right.

         16                  MR. SHORTT: Just trying to tell us what happened?

         17                  JUROR: Yes.

         18                  MR. SHORTT: Can you promise us not to hold them

         19         to the standards of TV or a super human standard?

20                           JUROR: Yes.

         21                  MR. SHORTT: Miss Wright, would you agree with

         22         that?

         23                  JUROR: Yes, I understand that.

         24                  MR. SHORTT: I know this is not fun to spend the

         25         day here, the lighting is a little weird, but do you


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          1        promise --,do you understand that witnesses may be a little

         2         nervous corning into a courtroom and speaking in front of a

         3         group of people?

          4                 JUROR: Yes.

          5                 MR. SHORTT: I am a little nervous too. Do you

          6        promise that you will consider that but that's not the only

          7        factor that you will consider?

         8                  JUROR: Correct.

          9                 MR. SHORTT: Miss Taylor, do you watch sports?

        10                  JUROR: Just Miami Heat.

        11                  MR. SHORTT: So do you read the papers about the

        12         games?

        13                  JUROR: Once in a while.

        14                  MR. SHORTT: Any time there is a game, do you read

        15         multiple sports writers?

        16                  JUROR: No, not really. I really just watch the

        17         game. I don't read anything.

        18                  MR. i SHORTT: If I ask    you about a game two months

        19         ago, do you think you would remember every detail about the

        20         game?

        21                  JUROR: Definitely not.

        22                  MR. SHORTT: If I replayed the game you would have

        23         more of a memory?

        24                  JUROR: Yes.

        25                  MR. SJIORTT: If I ask you six month from now to


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          1         give me the same story about the game would you probably

          2         tell it a little differently?

          3                  JUROR: Yes.

          4                  MR. SHORTT: That's natural, tell the same story a

          5         little differently each time?

          6                  JUROR: Yes.

          7                  MR; SHORTT: You may hear that in this case.

          8         would you consider that in deciding whether or not you

          9         believe thm?

         10                  JUROR: Yes, because the facts won't change. You

         11         can tell it different ways but still have the same

         12         information different ways.

         13                  MR. SHORTT: If there is a small difference, could

         14         you chalk that up maybe they said it a little differently?

         15                  JUROR: Yes.

         16                  MR. SHORTT: But if there is a major difference you

         17         will consider that as well?

         18                  JUROR: Definitely.

         19                  THE COURT: One minute.

         20                  MR. SHORTT: Thank you. Ladies and gentlemen, do

         21         you understand that we have had some light hearted moments

         22         here, but this is a serious case. Do you understand at the

         23         end of the case, I will come to you, and I will ask you

         24         after all the evidence is presented to find the defendants

         25         guilty. Anybody here if I prove my case beyond a


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          1         reasonable doubt would have any hesitation because of

          2         moral, religious, ethical reasons that could not find the

          3         defendants: guilty if I have proven my case?       Sir?    You

          4         might have a little problem?

                             JUROR: I will hear everything, and I will try to
          6         listen to everything clearly and try to understand it all,

          7         but you always hear about some poor guy spending 22 years

          B         in jail f6r a crime he did not commit.

          9                  MR. SHORTT: I appreciate that. Ladies and

         10         gentlemen, there are wrong answers here. Anybody else feel

         11         that way?     Thank you for your time.

         12                  THE COURT: Thank you, Mr. Shortt.

         13                  At this point we will break for lunch. Do not

         14         discuss this case amongst yourselves or with anybody else.

         15         Do not speak to the attorneys, the parties, the witnesses.

         16         Do not go -- I don't expect you to run to Corona over

         17         lunch, but .do not go to the scene. Do not research this

         18         case in any fashion. Should anybody speak to you about

19                  this case,: report it to the officer immediately. Thank

         20         you. We will reconvene at 2:15. Have a good lunch.

         21                  Officer, take charge.

22                            (Jurors exit the courtroom.)

         23                  THE COURT: 2:15.

         24                  MR. SHORTT: Thank you.

         25                  MR. GIBBONS: Thank you.


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          1                  (Jurors exit the courtroom.)

          2                  (Luncheon recess taken.)

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           1                 AFTERNOON               SESSION

          2                    Defendants enter the courtroom.)

                             THE COURT CLERK: Case on trial continues. All

           4        parties are present. All appearances remain the same.

                             THE COURT: Ready for the jury?

           6                 MR1 SIIORTT: Yes, Judge.

           7                 MR. GIBBONS: Yes.

           8                 THE COURT OFFICER: Ready, Judge?

           9                 THE COURT: Yes.

         10                    Jurors enter the courtroom.)

         11                  THE COURT: Good afternoon, ladies and gentlemen.

         12         We will continue t:he process of selecting a jury. We are

         13         now going 'to hear from Mr. Gibbons.

         14                   Sir, you fiave 15 minutes.

         15                  MR. GIBBONS: Thank you. A 1t of this will be

         16         repetitive, but I will try and make it a little more

         17          interesting as well. I thank you all for being here, it's

         18         very important. I know this is taking time out of your

         19         lives so you have the thanks of myself and my client and

         20         Mr. Ball as well. It's not a science, no right or wrong.

         21         We are trying to pick jurors that are good for this case so

         22         my apologies if I pry and make you feel uncomfortable, not

         23         my intention, but I am just looking for honest answers.

         24                  I want to pick up on something that Mr. Shortt was

         25         asking, and I believe he was speaking to you, Miss Taylor,


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          I         and maybe ou, Miss Wright, as well about when you tell a

          2         story and d y er time, you may tell stories a different way.

          3                  if   ask you today, you may tell it one way, and

          4         if I ask you five months from now, you tell it a different

          5         way. I think, Miss Taylor, you said something that the

          6         facts don't change, though, you may tell the story

          7         differently, and can we all agree to that, that you may

          8         have emphais on what a person was wearing the first time,

          9         then you might have emphasis on what the person did, they

         10         fell down or something or what the person smelled like, he

         11         had on a nice cologne, but despite the fact there may be a

         12         different way to tell the story, the facts of the story

         13         remain the same because the truth is the truth is the

         14         truth.

         15                  If I ask you today, are you wearing lemon yellow

         16         pants, are you?

         17                  JUROR: I am.

         18                  THE COURT: If I ask you 20 years from now were

         19         you wearing lemon yellow pants that day assuming you

         20         remember you were wearing them, correct? Because the truth

         21         is the truth is the truth and regardless of how you tell

         22         the story, 'the facts are the same. Do we all agree to

        23          that?

        24                   THE JURORS: Yes.

        25                   MR. GIBBONS: Mr. Sutton, do you agree?


                                                                                    NS
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         1                  JUROR: Yes.

         2                  M. GIBBONS: Mr. Brennan and Mr. Delaney, you

         3         were asked about whether or not an eyewitness alone would

         4         be enough or would you need more. I think it was common

         5         consensus some people said it might be enough, but you

          6        would want to determine how a person testified and

         7         different circumstances surrounding what they were telling

         8         you, what the lighting condition was, how close they were

          9        to the person, things of that nature, correct?         It is okay

        10         that you don't want to just rely on one thing, you can, but

        11         it's human nature to want to kno *w more about what the

        12         circumstances were, and we call it the gestalt, the whole

        13         package, what was going on, was it raining, water in your

        14         eyes, had you fallen down, was your head hurt, was it dark

        15         out, were )ou blinded, all of these things go toward not so

        16         much the credibility but the -- I don't want to say the

        17         believability because the person testifying, this might be

        18         what they really believe, but how accurate are they and

        19         again that brings me back to the certainty versus accuracy.

        20         I talked about it in the first round.

        21                  Miss Bougdanos, have you ever had the situation

        22         where you see someone on the street, and you think you know

        23         them, maybe you tap them on the shoulder, hey, Joe, it's

        24         me, and it's not him?

        25                  JUROR: Yes.


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           1                 MR. GIBBONS: Common occurrence we have all shared

           2        that, right?     I bet rrty life on it, it was him, but you

           3        were wrong,' but. you were certain. Does not mean you are

           4        right and that happens in your everyday life, it can happen

                    here in court, right?

           6                 JUROR: Yes.

           7                 MR. GIBBONS: Some of the things that add to that

           8        situation the chaos of the situation, we are standing here

           9        quitely, you can see the court reporter is taking notes on

         10         everything, but if I threw the table over, and I knock the

         11         phone over and all hell breaks loose, your attention might

         12         be distracted from what was there or here or what was

         13         happening right in front of me, do you all agree that the

         14         chaos of the situation can alter your ability to perceive

         15         what happens in that situation, yes?

         16                  JUROR: Yes.

         17                  MR. GIBBONS: Mr. Clark?

         18                  JUROR: Yes.

         19                  MR. GIBBONS: Okay. Miss Ruggieri, you have

         20         cousins that are cops and friends?

         21                  JUROR: Yes.

         22                  MR. GIBBONS: You said you tend to believe the

         23         cops, and, Mr. Sutton, you are the same way?

         24                  JUROR: Yes.

         25                  MR. GIBBONS: Can you promise us when you hear the


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          1         testimony of the police officer, you are not going to

          2         automatically give him or more her more credibility than

          3         anybody else, you listen to what they have to say and use

          4         common sense to discern the believability of that witness

          S         despite the-fact that he is a police officer just like

          6         everyone else; can you promise me that?

                             JUROR: Yeah, I guess so.

          8                  MR. GIBBONS: You guess so. Same thing with the

                    airplane, you see the pilot, can you land this plane, I

         10         guess so, do you understand we need a little bit more

         11         assurance?

         12                  JUROR: I would certainly do my best to not be

         13         biased, absolutely.

         14                  MR.-GIBBONS: I'm not saying the police officers

         15         are lying. We hear more stories about that in the papers.

         16         I'm not saying they are lying, but they could be mistaken

         17         just like anybody else, they could see somebody in the

         18         street, he 1 Joe, I'm a trained police officer, should he

         19         have been any better than picking out anybody? Pm

        20          infallible, I'm a police officer, that's not correct,

        21          right?

        22                   JUROR: No.

        23                   MR. GIBBONS:     Maybe a police officer is your best

        24         friend, they are human beings, all the foibles. They can

        25         mistakes, tell the truth or tell a lie. Can you agree with


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          1         that?

          2                  JUROR: Yes.

          3                  MR. GIBBONS: Can you hold them to being a witness

          4         like anyone else, no greater or lesser credibility, you

          5         will make the determination by what you see and hear on

          6         that stand, can you agree to that, Miss Ruggieri?

          .7                 JUROR: Yes.

          8                  MR. GIBBONS: Mr. Sutton?

          9                  JUROR: I will try.

         10                  MR. GIBBONS: That's fair. That's all I ask.

         11         Everybody else, can you agree to hold them like anybody

         12         else?

         13                  THE JURORS: Yes.

         14                  MR. GIBBONS: Thank you. One of the things

         15         Mr. Shortt was talking about things that would be important

         16         for believability of a witness was where a person was

17                  caught, and I think it was a common consensus someone

         18         caught near, the scene maybe lends more credibility.

19                           isn't it possible someone just happens to be near

         20         the scene, you come out of the subway station out of the
         21         bowels of the Earth, and there is a commotion going on,

         22         that's him, what are you talking about, I just came out of

         23         the subway, but it happened right next door to the subway

         24         entrance. 'You walked out, he said it's you, you could get

         25         stopped, crrect, that could happen? So mere proximity to


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          1         the crime écene just in and of itself does not mean it's

          2         more likely that the person did it, correct?        It's a

          3         factor, but again you would weigh that in the entire

          4         package to see if it really made a difference, correct?

          5                  JUROR: Yes.

          6                  MR. GIBBONS: If proceeds of a robbery were found,

          7         that's a factor. Again, if proceeds were not found, that

          8         would be afactor too, correct?

          9                  JUROR: Yes.

         10                  MR. GIBBONS: All right. I had spoken before

         11         about the fight to remain silent, it bears repeating. I

         12         always find somebody has an issue with it, and that's

         13         perfectly okay. We all as Americans have a constitutional

         14         right to remain silent to not bear witness against

         15         ourselves. Do we all agree that exists?

         16                  THE JURORS: Yes.

17                           MR. GIBBONS: Now, to put that into practice

         18         because again you hear it all the time, but you do not

         19         really analyze it, if my client chooses to remainsilent

         20         and not take the stand, would you hold that against him,

         21         Nit. Manik?

         22                  JUROR: No.

         23                  MR. GIBBONS: I really want to hear what he has to

         24         say and if he did riot, he must be hiding something?

         25                  JUROR: No, no problem.


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              1                   MR. GIBBONS: Miss Farduchi, would that be a

              2         problem if you did not hear from him?

              3                   JUROR: No.

              4                   MR. GIBBONS: Miss Olivares, any problem with

              5         that?

              6                   JUROR: No.

              7                   MR. GIBBONS: Can everybody promise me if he does

              8         not take the stand, you would not draw any negative

              9         inference from that and presume he was guilty because he

             10         did not testify?       Yes, everybody, yes?

             11                   THE JURORS: Yes.

             12                   MR. GIBBONS: Yes, Mr. Clark?

             13                   JUROR: For me to make the right judgment, it

             14         would be helpful if I heard what he had to say.

             15                  MR. GIBBONS: Of course it would be, but he has a

             16         right to not take the stand.

             17                   JUROR: I understand that.

             18                  MR. GIBBONS: Assuming that he exercises that

             19         right, a right that we all enjoy as citizens, is that going

             20         to create a problem for you, one, in making a decision and,

             21         two, holding it against him swaying your decision against

             22         him?

             23                 • JUROR: It might.

             24                  MR GIBBONS: It might sway your decision against


I            25         him?
                                    I.
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          I                  JUROR: It might just make it hard to make any

          2         type of decision.

          3                  MR. GIBBONS: Anybody else feel similarly?        This

          4         is the time to tell me now and if you are not communicating

          S         with me, I'm failing in my task, and I don't like that.

          6         Please be honest and tell me. It's not a wrong answer.

          7         It's perfedtly understandable. We want to know but you may

          8         not get that opportunity. Miss Ruggieri?

          9                  JUROR: You know you are saying he does not have

         10         to testify against him testify, that's the E'ifth Amendment

         11         you can remain silent because you don't have to testify

         12         against yourself. It's very hard to say, well, he doesn't

         13         want to testify against himself and not take that

         14         negatively.'

         15                  MR GIBBONS: Why is that?

         16                  JUROR: Because he does not want to testify

         17         against himself.

         18                  MR. GIBBONS: What if he is not the most educated

         19         person and he knows this is a sharp ADA that may kind of

         20         spin some of the things he says and he may be subject to

         21         blistering cross-examination. He says I have an attorney

         22         seems like he knows what he is doing, I will let him speak

        23          for me. That's understandable?

        24                   JUROR; Yes.

25                          MR. GIBBONS:     But you automatically shoot him


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             J.     down you figure that he is hiding something.

          2                    JUROR: That's what the Fifth Amendment says.

             3                 MR. GIBBONS: You don't have to testify against

          4         yourself, you remain silent. Will you afford him the

          5         constitutional right that we all have and not hold it

          6         against hiri for whatever his reasoning might be because as

          7         I pointed out, there may be a good reason he doesn't want

          8         to take the stand. Do you think you can promise not to

          9         hold it against him?

         10                    JUROR: I would certainly try.

         11                    MR. GIBBONS: Mr. Sutton, the same?

         12                    JUROR: Yes.

         13                    MR. GIBBONS: Anybody else feel that way? Mr.

         14         Clarke, I got you. Anybody else. Tell me now. Mr.

         15         Beepath?

         16                    JUROR: No.

         17                    MR. GIBBONS: You can keep an open mind about

         18         that?

         19                    JUROR: Yes.

         20                    MR. GIBBONS: Can all of you agree that you will

         21         keep the evidence separate as far as both of these clients

        22         are concerned, that you will look at the evidence and treat

        23         one separately from the other and not lump them together

        24         say, well, if I think this guy did it that guy probably did

        25         it too, can you promise me to keep them separate?


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          I         Mr. Delaney?

          2                  JUROR: Yes.

          3                  MR GIBBONS: Mr. Errnolov?

          4                  JUROR: Yes.

          5                  MR GIBBONS: Everybody can promise me that?

          6                  THE COURT: You have about two minutes.

          7                  MR. GIBBONS: All right. I gave the scenario

          8         before three week trial, and it's 5:30 on a Friday. You

          9         have been deliberating two days, everyone wants to go home,

         10         and it's eleven to one. Dr. Singh, you are the one hold

         11         out, wheth6i guilty or not guilty, everyone says come on,

         12         doc, we wart to go home, it's eleven to one, you are the

         13         only hold out change, your vote, what do you do?

         14                  JUROR: I would not change.

         15                  MR GIBBONS: If they convince you based on the

         16         facts look at it this way, and you say that's a valid

         17         reason to bhange your opinion, do you change your verdict?

         18                  JUROR: Yes.

         19                 MR. GIBBONS:    Just because we are tired I want to
         20         go home, that's not a good reason, Miss Li, would you agree

        21         with that?

        22                  JUROR: Yes.

        23                  MR. GIBBONS: Everyone will stick to their guns?

        24         The burden of proof, my client is presumed innocent. We

        25         discussed that. Mr. Short discussed it. He did a very


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             1      good job. As he sits there, innocent, correct?         If you

          2         hear no evidence in this case, and you go back to

             3      deliberate what does your verdict have to be?

             4               THE JURORS: Not guilty.

             5               MR. GIBBONS: Will you promise to hold Mr. Shortt

             6      to his burden of proving each and every element of this

                    case beyond a reasonable doubt?

          8                  THE JURORS: Yes.

          9                  MR GIBBONS: The elements if you are making tea,

         10         hot water, tea bag, cup, maybe a slice of lemon. If he

         Ii         leaves outthe water, has he proven the cup of tea? No.

         12                  Identity, just because he proves someone was

         13         robbed, their property was taken, they were assaulted, he

         14         has to prove that the right person that was arrested is the

         15         one that did it, that the person that was arrested is the

         16         right one. Do you all follow that's an element, too?

         17                  THE JURORS: Yes.

         18                  MR. GIBBONS:    Will you   hold him to the burden of

         19         proving that element as well beyond a reasonable doubt?

         20                  THE JURORS: Yes.

         21                 MR. GIBBONS: Thank you very much.

        22                  THE COURT: Thank you, Mr. Gibbons.

        23                  MR. GIBBONS: Thank you, your Honor.

        24                  THE COURT: Mr. Ball, you have 15 minutes.

        25                  THE DEFENDANT BALL:    Okay. Thank you. Ladies and


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             1      gentlemen of the jury, my name is Raymond ball, and I would

           2        like to start by asking you, now, he, similarly in vein

             3      what we have been talking about thus far concerning the

             4      issue of sequence of events, you know, in the case that,

           5        you know, you have a situation that unfolds, and the

       '6           sequence of events in how it unfolds does not add up to the

          7         testimony, would you still accept the testimony as being

          8         valid?

          9                     I will give you an example. You know, in the

         10         process of us watching TV, movies and so on and so forth,

         1.1        you have a lot of times on the show where you have the guy

         12         that is the karate expert, he goes into the room, and he

         13         kills everybody, he cuts the heads off, does certain

         14         things, chops them up and beats them up, and he walks out,

         15         but on the way out, you don't see any blood on him. Now

         16         you seen him kill them, you see, however, on the way out,

         17         there is no evidence that he ever committed any type of

         18         violence.

         19                  My question to you is in situation like that, how

         20        would you rule. I would like to ask you particularly, Mr.

        21         Brennan, because I think that I would like to hear what you

        22         have to say with respect to that?

        23                   JUROR: How would I rule based on the fact that we

        24         saw him supposedly commit this crime, and he walks out with

        25         no blood? I


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          1                  THE DEFENDANT BALL: You literally seen him in the

2                   movies, we watch all the time, you are in the movie

          3         business.

          4                  JUROR: I would find it rather odd after such a

          5         melee would take place that he would have no physical

           6        evidence on him that would be strange.

          7                  THE DEFENDANT BALL: But it represents a reality

8                   in what we see and what's being relayed to us. Would you,

           9        would you be able to separate what's being relayed to you,

         10         what is beingprojected to you and be able to decipher for

         11         yourself the reality in the equation in what is available?

         12                  JUROR: I guess I am confused. I understand you

13                  are saying there is a fight scene, all the people are

         14         killed and the person walks out, but there is no blood or
         15         there is no --

         16                  THE DEFENDANT BALL: Evidence that would point --
         17                  JUROR: That scenario I. would say that's rather

         'a         odd, how could somebody do that?

         19                  THE DEFENDANT BALL: I'm asking you in a

         20         situation, would you in your judgment call if you had to

         21         say that person committed that crime that you seen him

         22         commit in that room on that television, would you commit

        i 23        him and say he was guilty of committing that crime?

         24                  JUROR: If I saw him do it, yes.

         25                  THE DEFENDANT BALL:    Okay. But you didn't have no


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          1         evidence to indicate that he did.

          2                  THE COURT: I'm going to sustain that. Ask

          3         another question, sir.

          4                  THE DEFENDANT BALL: The next question in the same

          5         vein, let's say that there is a sequence of events that

          6         takes place in time, and I say to you or you have to tell

          7         with the issue that I was arrested at 9:00, and the person

          8         was treated by an ambulance, you see, that arrived at the

          9         crime scen6 five minutes after, but the ambulance report

         10         says -

         11                  MR. SHORTT: Objection, your Honor.

         12                  THE COURT: Sustained.

         13                  THE DEFENDANT BALL: Okay. But there is a

         14         different time

         15                  THE COURT: Sustained.

         16                  THE DEFENDANT BALL: -- that is indicated.

         17                  THE COURT: Sir, move an.

         18                  THE DEFENDANT BALL:   I would like to know whether

         19         or not we can use an analysis in being able to come to an

         20         understanding about things when you deal with the issue of

         21         sequence of events and times. That's my concern. In the

         22         case that someone says to you that they got something off

         23         you f you know, some property, would you be able to accept

         24         that they took the property in the case because it's

         25         similar I would think to not having to take the stand and


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             1      you know speak out in the case that a person doesn't have

             2      to account for

             3               THE COURT: I will sustain that as well.

             4               THE DEFENDANT BALL: Okay. My next question is

             5      going to be, you know, do you take -- would you take and

             6      hold a person resconsible, right, in a situation where they

             7      take themselves into a situation and the situation that

             8      they take themselves into, you know, like sometimes you

             9      have affairs 4ith men and women, and you know, in the

         10         process of you having an affair with another woman, and a

         1.1        lot of times people say well, you know, that was a mistake.

         12                  I would like to know, you know, would you see a

         13         person's willful act of what they did, would it be

         14         justifiabl6 as a mistake in the case that someone did it?

         15                  JUROR: I this still directed at me? I'm sorry.

         16                  TH DEFENDANT BALL: Well, it's at the panel, but

         17         you can answer.

         1                   JUROR: Well, a person is responsible for his or

         19         her own actions. If there is regret, there is regret.

         20         They have to suffer the consequences whether they have or

         21         have not.

         22                  THE DEFENDANT BALL: Okay. My next question is

         23         Bougdanos, : is that how you pronounce your name?

         24                  JUROR: Yes.

         25                  THE DEFENDANT BALL: I would like to know in the


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          1         case that you have a situation where the person is being

          2         held responsible for his actions, do you think that the

          3         person should have to get on the stand and justify what was

          4         his action?     Do you think that in order for you to be able

          5         to like have a better understanding?

          6                  JUROR: Is the question what we have been talking

          7         about?

          8                  THE DEFENDANT BALL: Yes, it is.

          9                  JUROR: I believe that for whatever the reason is

         10         whether they would like to testify or not, that is totally

         11         up to them. I don't think it should swing in either way

         12         for whatever reason. I think that if you for whatever

         13         reason believe that you can't get your words out correctly

         14         or express ' what it is that you want to say properly, you

         15         have that right to stay silent, and in my opinion it does

         16         not change my viewpoint. I will take the facts into

         17         consideration, I think that's the most important thing,

         18         putting the story together as a whole and coming to a

         19         conclusion through that.

         20                  THE DEFENDANT BALL: Thank you. You know, I would

         21         like to ask another question, in the case in the process

         22         of, you know, going over the evidence, and we come to a

         23         conclusion that there was evidence available but it's not

         24         available     they are not able to account for the evidence

         25         where it came from, how did it get there, you know, would


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          I         you accept it on face value that this evidence is you know

          2         without any chain of custody, it is a part of the crime,

          3         and would you take it for face value and believe what is it

          4         that they say and how it came into play or would you

          5         require them to show you a chain of custody and a way --

          6                  THE COURT: I will sustain that. I will ask you

          7         to rephrase it a little more clearly.

          S                  THE DEFENDANT BALL: Would you expect for them to

        .9          have to give you an account for who, what, when, where and

         10         how the evidence came into play?       I would like to direct

         11         the question to you, sir. I apologize. Your name is?

         12                  JUROR: Mr. Beepath.

         13                  TH COURT: The young man in the back?

         14                  JUROR: Delaney.

         15                  THE DEFENDANT BALL: I apologize. Please be

         16         patient. I'm new at this. Would you like to help me out

         17         with that question?

         18                  JUROR: Well, with that type of evidence -- can

         19         you repeat it one more time?

         20                  THE DEFENDANT BALL: In the case that you are

         21         presented with a particular evidence, you know., with the

         22         evidence, you know, it doesn't have a history, they give

         23         you the evidence but don't tell you who it came from, who,

         24         what, when; where and how, but it's a part of the evidence

         25         like thatibut there is no account for where it came from,


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          1         how it got there, so on and so forth, would you accept it

          2         for the value that it's beihg presented to you?

          3                  JUROR: That evidence would then have no

          4         credibility.

           5                 THE DEFENDANT BALL: Thank you. I appreciate

           6        that. You knou, I'm really concerned about contradictions

           7        and inconsistencies, you know. Like the scenario that I

           B        gave you earlier, Mr. Brennan, where you have a situation

                    where a person walks into the room, and, you know, he

         10         commits this act, he fights, and there is no blood, there

         11          is no evidence, you know, that would indicate any realism

         12         to what i is that's being portrayed, you see. How would

13                   you, you know, deal with that kind of a predicament, how

14                  would yr.0 go forward in being able to analyze or come up

         15         with a conclusion?

16                           THE COURT: I will sustain that again. Rephrase

         17          that.

         18                  THE DEFENDANT BALL: Okay. I'm going to go with

         19         this question here: [-low many of you think it was

         20         appropriate for the police officers to turn their back on

         21         the mayor?.

         22                  MR. SHORTT:     Objection, your Honor.

23                           THE COURT: I will allow it.

24                           THEDEFENDANT BALL: Thank you, your Honor.

         25                  Did everyone hear my question?       Is there anyone


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          1         that is in objection to the fact that the police officers

          2         turned their back on the mayor?       Is. there anyone that was

          3         against it, what they did? Just by show of your hands who

          4         was it against?

          5                  JUROR: Both ways. I think it's disrespectful to

          6         the mayor and to the uniform, but at the same time police

          7         officers dOn't have much of an option to voice their

          8         concerns because they are in uniform. I come from a

           9        similar background. You don't disrespect your superiors,

         10         you just -- sometimes you just have to suck it up. It's

         11         not great but if you don't like it, you can put in your

         12         resume and find another job, but at the same time you don't

         13         have an avenue to voice your concerns, and they have a hard

         14         job.

         15                  THE DEFENDANT BALL: With that in mind would you

         16         hold officers to that high level of responsibility in the

         17         case that you had to pass judgment on their actions and

         18         conduct, would you hold that same level?

         19                  JUROR: I'm torn because I understand both sides

         20         of it. It's very difficult for me because of my

         21         background. I wouldn't do that personally.

         22                  THE DEFENDANT BALL: Not     that with the mayor, I'm

         23         talking about would you hold another police officer with

         24         his conduct on other issue?

         25                  JUROR: Yes, I hold it to a higher standard,


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          1         absolutely.

          2                  THE DEFENDANT BALL: Thank you.

          3                  THE . COURT: All set?

          4                  THE DEFENDANT BALL: Thank you.

          5                  THE COURT: Very good. Can we take the jurors out

          6         for a few minutes, please. If you will excuse us.

          7                  (Jurors exit the courtroom.)

          8                  THE 'COURT: Ready?

          9                  MR. SHORTT:    Yes.

         10                  MR. GIBBONS: Yes.

        •11                  THE DEFENDANT BALL: Yes.

         12                  THE COURT: People, jurors one through nine,

         13         challenge fr cause?

         14                  MR. SHORTT:    For cause, I think we discussed this

         15         number one, Mr. Ermolov, and number nine, Miss Vo for

         16         language reasons.

         17                  MR. GIBBONS; Consent.

18                           THE COURT: Mr. Ball?

.19                          THE DEFENDANT BALL: Yes, sir, I consent.

         20                  THE COURT: Very good.

         21                  MR. SHORTT:    That wold be it for cause one

         22         through nine.

         23                  THE COURT: Defense?

         24                  MR.! GIBBONS: Three and four, Mr. Sutton started

         25         our he tends to believe the P.C.s, I don't think he ever


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                   reallyrehabilitated himself. The same thing with Miss

         2         Ruggieri ab6ut her not taking a negative inference about

         3         not testifying.

         4                  THE COURT: Mr. Shortt?

         5                  MR. SHORTT:       Mr. Sutton specifically he said yes

         6         I can be fair and treat police officers the same so as to

       H 8
                   Mr. Sutton I believe he can be fair. As to Miss Ruggieri I

                   don't think Mr. Gibbons gave her the opportunity to clarify

                   her position. It seems like -- she said I will follow the

        10         instruction, arid listen to the Court.

        11                  THE COURT: Those challenges are both granted. Is

        12         that it for cause?

        13                  MR. GIBBONS: Yes.

        14                  THE COURT: People, one through nine, perempt?

        15                  MR SHORTT:        Number five, Earduchi, six, seven

        16         and eight.

        17                  THE COURT: So as to juror two, defense?

        18                  MR. GIBBONS: No challenges.

        19                  THE COURT: So we have four. Jurors ten through

        20         16, People, challenge for cause?

        21                  MR.' SHORTT:      Mr. Clark, Judge, 'he said even if I

        22         prove my case beyond a reasonable doubt, he could not be

        23         fair. He also said he could not be fair because the

        24         complaining witness was hurt in this case. I believe he

        25         expressed doubt whether or not he could be fair if the


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          1        defendant did not testify. I can't read my handwriting.

          2        would challenge Mr. Clark.

          3                 THEiCOtJRT: Do you want to be heard, Mr. Ball or

          4        Mr. Gibbons?

          5                 MR. GIBBONS: I consent, your Honor.

          6                 THE COURT: Challenge granted on consent.

          7         Defense, challenge for cause, ten through 16?

          8                 MR. GIBBONS: None, your Honor.

          9                 THECOURT: People, peremptory challenges ten

        10         through 16?.

         11                 MR. SHORTT:     Numbers 15 and 16.

        12                  MR. GIBBONS: Can I confer with co-counsel?

        13                   (Defendant and counsel confer.)

        14                  MR. GIBBONS: We challenge ten through 13, your

        15         Honor.

        16                  THE COURT: All right. We have one juror.

        17                   (Prospective jurors enter the courtroom.)

        18                  THE COURT CLERK: Folks, if you hear your name,

        19         please remain seated. If you do not hear your name, please

        20         gather up all your belongings and exit the courtroom and

        21         step outside into the hallway and listen to further

        22         instructions from the court officer. Ravi Beepath, please

        23         remain seated. Everybody else may exit the courtroom.

        24         Thank you very much for your service.

25                          Is the remaining juror acceptable to the People?


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         1                  MR.: SRORTT:      Yes.

         2                  MR. GIBBONS: Yes.

         3                  THE DEFENDANT BALL: Yes.

          4                  (Juror sworn.)

         5                  THE COURT: Mr. Beepath, I will excuse you for the

          6        remaining of the day, and I ask you to come back at 10:00

         7         tomorrow morning. Do not discuss this case with anyone.

         8         Do not speak to the attorneys, the parties, the witnesses

          9        or anybody 'connected with this case. Do not go to the

        10         scene of the alleged incident. Do not research this case

        11         in any way. Should anybody speak to you about this case,

        12         report it to the officer immediately. Thank you for today.

        13         We will see you 10:00 tomorrow morning. Have a good night.

        14                  Fill the box.

        15                  THE COURT CLERK: If you hear your name, please

        16         take the seat indicated by the court officer.

        17                  Seat number one, Debra Moschitto,

        18         M-0-S-C-H--I-T-T--0, D-E-B-O-R-A-H. Seat two, Timothy Derum,
19                 last name, :D-E-R-U-M. Seat number three, Jennifer

        20         Williams, common spelling. Seat number four, Dustin Chang,

        21         D-U-S-T-I-N last name, C-H-A-N-G. Seat number five, first

        22         name J-A-Y-A-N-T, last name, S-O-O-R-Y'-A. Seat six Tyler

        23         Ward, T-Y--L-E-R, W-A-R-D. Seat number seven, Dexter

        24         Eversley, D--X-T-S-R, E-V-E-R-S-L-E-Y. Number eight,

        25         Christopher Fernandez, usually spelling. Seat nine, Paula


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          1        Gonzalez, usual spelling. Seat ten, Constance Brown, usual

         2         spelling. Seat number eleven, E'arida Ahmed, F-A-R-I-D-A,

          3        last name, A-I-i--M-E-D. Seat number twelve, Serhat Akkoc,

4                  S-E-R-H-A-T, last name, A-K-K-O-C. Seat number 13, first

S                  name, Y-A--S-S-1-N-E, last name, S-A-M-O-R-A-H. Seat 14,

          6        Gissell Cardenas, G-I-S-S-E-L-L, C-A-R-D--N-A-S. Seat 15,

         7         Harrykissobn Rarndeo, H-A-R-R-Y-K-I-S--S-O--O-N. Last name,

          8        R-A-M-D-E-O. Number 16, James Jaskiewicz,

          9        J-A-S-K-I-E-W-I-C--Z.

        10                  Does either side need the board?

        11                  MR:. SHORTT:    No, thank you.

        12                  MR. GIBBONS: No, thank you, ma'am.

        13                  THE COURT: Ladies and gentlemen, once again I
        14         will begin by asking a series of questions to the entire

        15         panel. You will be the sole judges of the facts. I am the

        16         sole judge of the law, and you must apply the law as I give
        17         it to you whether or not you agree with it. Can everybody

        18         promise to-do that?

        19                  THE JURORS: Yes.

        20                  THE COURT: The defendants are presumed innocent,

        21         they are required to prove nothing. The burden of proof is

        22         on the District Attorney. He must prove beyond a

        23         reascnable doubt that the defendants committed the crimes

        24         they are charged with. Can everybody promise to hold the
25                 District Attorney to that burden of proof beyond a

                                                                                   NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 335 of 907 PageID #: 698


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                                        Proceedings

         1         reasonable doubt?

         2                  THEJURORS: Yes.

         3                  THE. COURT: I said beyond a reasonable doubt, I

         4         did not say 'beyond all doubt, that is virtually impossible.

         5         Can all of you promise me that you will not hold the

         6         District Attorney to a burden higher than beyond a

         7         reasonable doubt?

         8                  THE JURORS: Yes.

         9                  THE COURT: And conversely, can everybody promise

        10         that you will not hold the District Attorney to a lesser

        11         burden than beyond a reasonable doubt?

        12                  THE JURORS: Yes.

        13                  THE COURT: The defendants do not have to testify,

        14         that is their right in an American courtroom, and the law

        15         is that you are not permitted to draw any adverse inference

        16         from that decision should they choose not to testify. Can

        17         all of you promise to follow that law?

        18                  THE JURORS: Yes.

        19                  THE COURT: Finally, can everybody promise to keep

        20         an open mind, not to decide this case until you have heard

        21         all the evidence, the arguments of the attorneys and my

        22         instructions to you on the law?

        23                  JURORS: Yes.

        24                  THE COURT: Very good. Again, if I mispronounce

        25         your name, p1ease call me on it.


                                                                                   NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 336 of 907 PageID #: 699


                                                                              190
                                           Proceedirig

          1                   JUROR: Moschitto.

          2                   THE COURT: Thank you. Miss Moschitto, where do

          3         you live?

          4                   JUROR: Howard Beach.

          5                   THE COURT: How far did you go in school?

          6                   JUROR: Associates degree.

          7                   THE COURT: What do you do for a living?

          B                   JUROR: Freelance court reporter.

          9                   THE COURT: How is she doing?

         10                   JUROR: She is good.

         Ii.                  THE COURT: Single, married, widow, divorced?

         12                   JUROR: Married.

         13                   THE COURT: What does your husband do?

         14                   JUROR: He is an insurance broker, health

         15         insurance.

         16                   THE COURT: Kids?

         17                   JUROR: Two kids, one is older working as a lab

       I lB         tech.

         19                   THE COURT: Have you ever served as a juror

         20         before?      I

         21                   JUROR: No.

         22                   THE COURT: Have you or a loved one ever been

         23         convicted of a crime?

        24                    JUROR: No.

         25                   THE COURT: Have you or a loved one ever been the


                                                                                    NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 337 of 907 PageID #: 700


                                                                             191
                                        Proceedings

            1      victim of a crime?

            2               JUROR: Yes, I was mugged on the train, and I had

            3      my car robbd.

            4               THE COURT: All right. Can you take those

            5      incidents, put them aside, judge the facts in this case

            6      fairly and give both sides a fair shake?

            7               JUROR: Yes.

            8               THE COURT: Good. Do you have friends or family

            9      in law enforcement?

        10                  JUROR: Yes.

        11                  THE COURT: Tell us about that.
        ¶                   JUROR: My brother is a cop.

        13                  THE COURT: Okay. NYPD?

        14                  JUROR: Not anymore, he is retired from NYPD. He

15                 is in Monroe.

        16                  THE COURT: Same question you heard all day, there

        17         will be two cops that will testify in this case, two out of
        18         35,000. Can you give their testimony the same evaluation

        19         that you will give anyone else's?

        20                  JUROR: Yes.

        21                  THE COURT: Can you be fair?

        22                  JUROR: Yes.

        23                  THE COURT: Thank you very much.

        24                  Mr Derum, where do you live?

25                          JUROR: Sayside.
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 338 of 907 PageID #: 701


                                                                             192
                                        Proceedings

          1                  THE COURT: How far did you go in school?

          2                  JUROR: College.

          3                  THE! COURT: What do you do for a living?

          4                  JUROR: Retired from New York State tax department

          5         civil enforement.

          6                  THE COURT: Single, married, widowed divorced?

          7                  JUROR: Married.

          B                  THE COURT: What does your wife do?

          9                  JUROR: Retired from Wall Street.

         10                  THE COURT: Kids?

         11                  JUROR: Two cats.

         12                  THE COURT: Cats?     Are they working?
13                           JUROR: No.

        14                   THE COURT: Okay. Have you ever been a juror

        15         before?

        16                   JUROR: Federal Grand Jury in Brooklyn.

        17                   THE COURT: All right.
        18                   JUROR: 18 months.

        19                   THE COURT: You appreciate that a Grand Jury is

        20         very diffeent than what we call a petit jury which is what
        21         we are selecting here? Here you have a trial, you have

22                 defense lawyers totally different thing?

        23                   JUROR: Yes.

        24                   THE COURT: Al]. right.

        25                   JUROR: Yes.


                                                                                   NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 339 of 907 PageID #: 702


                                                                             193
                                        Proceedings

          1                 THE COURT: Okay. Anything about that experience

         2         that will cause you not to be a fair juror in this case?

          3                 JUROR: No.

          4                 THE COURT: All right. Have you or a loved one

                   ever been convicted of a crime?

          6                 JUROR: No.

          7                 THE COURT: How about the victim of a crime?

          8                 JUROR: Prior to our marriage, my wife's apartment

                   was robbed..

        10                  THE COURT: Same question, can you put that aside?

        ii                  JUROR: Yes.

        12                  THE COURT: And be fair?

        13                  JUROR: Yes.

        14                  THE COURT: Friends and family in law enforcement?

        15                  JUROR: Based on my work with the tax department,

        16         we came in contact with --

        17                  TEE COURT: Some of the men and women are peace

        18         officers oi police officers in that agency.

        19                  JUROR: Not the civil enforcement but whatever,

        20         our police officers.

        21                  THE COURT: All right. But you know where I'm

        22         going with this, can you evaluate the two cops that Mr.

        23         Shortt is going to call fairly?

        24                  JUROR; Yes.

        25                  THE COURT: You can be fair, sir?


                                                                                   .NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 340 of 907 PageID #: 703

                                 I
                                                                             194
                                          Proceedings

1                            JUROR: Absolutely.

         2                   THE COURT: Good. Thank you very much. Miss

          3        Williams, how are you?

          4                  JUROR: All right.

          5                  THE COURT: Where do you live?

          6                  JUROR: Jamaica.

          7                  THE COURT: How far did you go in school?

                             JUROR: College.

          9                  THE COURT: What do you do for a living?

        10                   JUROR: 9-1-1 operator.

        11                   THE COURT: So you work with lots of cops?

        12                   JUROR: Yes, sir.

        13                   THE COURT: Can you evaluate the testimony of a

        14         police officer in this case fairly?

        15                   JUROR: You want yes or no answers?

16                           THE COURT: There is no wrong answer.

        17                   JUROR: Yes.

        18                   THE COURT: All right. Single, married, widowed,

        19         divorced?

        20                   JUROR: Single.

        21                   THE COURT: Have you ever served as a juror

        22         before?

        23                   JUROR: No.

        24                   THE COURT You or a loved one ever been convicted

        25         of a crime?


                                                                                   NS
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 341 of 907 PageID #: 704


                                                                                  195
                                              Proceedings

               1                 JUROR: Yes.
               2                 THE COURT: Tell us about that.

               3                 JUROR: I don't know the details of it.

               4                 THE COURT: Will it impact you one way or another

                         in this case? That's the bottom line.

            '6                   JUROR: Probably yes.

               7                 THE COURT: It probably will impact you or it

               8        won't?

               9                 JUROR: No, it won't.

              10                 THE COURT: How about the victim of a crime?

             11                  JUROR: Yes.

              12                 THE COURT: Tell us about that.

              13                 JUROR: My sister was mugged and punched in the

              14         face, my cdusin was mugged, shot and killed, and my

             15         mother's house was robbed.

             16                  THE COURT: Well --

             17                  JUROR: And they never caught the people who did

             18         any of this.

             19                  THE COURT: The homicide was in Queens County?

             20                  JUROR: No, it was in Maryland -- Pennsylvania,

             21         I'm sorry.

             22                  THE COURT; All right. Can you put those

             23         incidents a side and evaluate the facts and the witnesses in

             24         this case fairly?

             25                  JUROR: No.
It
                                                                                        NS
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 342 of 907 PageID #: 705


                                                                                  196
                                              Proceedings

               1                 THE COURT: No, okay. That's a fair answer.

               2        Mr. Chang, where do you live, sir?

               3                 JUROR: Philadelphia.

               4                 THE COURT: But are a resident of Queens County?

                                 JUROR: Yes, resident of Long Island City.

               6                 THE COURT: Are you a full-time student in

                         Philadelphia?

               B                 JUROR: Yes, I am.

                                 THE COURT: All right. But your residency is

              10        definitely in Queens?

             11                  JUROR: Yes.

             12                  THE COURT: All right. Do you vote in Queens?

              13                 JUROR: I do, yes, sir.

             14                  THE COURT: All right. Because you have to be a

             15         Queens resident to serve, that's why I'm pressing the

             16         question. All right. Are you in college how far?

             17                  JUROR: Pursuing a masters degree.

             18                  THE COURT: Do you work as well?

             19                  JUROR: I did before leaving for school.

             20                  THE COURT: What did you do?

             21                  JUROR: I worked in finance.

             22                  THE COURT: Single, married, widowed, divorced?

             23                  JUROR: Single.

             24                  THE COURT: Ever served as a juror before?

•i           25                  JUROR: No.


                                                                                        NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 343 of 907 PageID #: 706


                                                                             197
                                          Proceedings

          1                 THE COURT: Have you or a loved one ever been

         2         convicted of a crime?

          3                 JUROR: No.

          4                 THE COURT: Victim of a crime?

          5                 JUROR: No.

          6                 THE COURT: Do you have friends or family in law

          7        enforcement?

          B                 JUROR: No, I do not.

          9                 THE COURT: Can you be fair?

        10                  JUROR: Yes.

        11                  THE COURT: Thank you very much.

        12                  Mr. Soorya, where do you live?

        13                  JUROR: Flushing.

        14                  THE COURT: How far did you go in school?

        15                  JUROR: I have masters.

        16                  THE COURT: What do you do for a living?

        17                  JUROR: I'm in operation risk management for Bank

        18         of America.!

        19                  THE COURT: Single, married, widowed, divorced?

        20                  JUROR: Married.

        21                  THE COURT: 'that does your wife do?

        22                  JUROR: She is a homemaker.

        23                  THE COURT: Do you have kids?

        24                  JUROR: Yes.

        25                  THE COURT: Big or little ones?


                                                                                   NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 344 of 907 PageID #: 707


                                                                             198
                                           Proceedings

          1                   JUROR: One is big, the other is ready for

          2        college.

          3                   THE COURT: Have you ever been a juror before?

          4                   JUROR: Yes, criminal case 2006.

          5                   THE COURT Anything about that experience that

          6        would cause 1 you not to be a fair juror in this case?

          7                   JUROR: No.

          8                   THE COURT: Good. Have you or a loved one ever

          9        been convicted of a crime?

        10                    JUROR: No.

       i 11                   THE COURT: Have you ora loved one ever been the

        12         victim of a1 crime?

        13                    JUROR: Yes.

        14                    THE COURT: Tell us about that.

        15                    JUROR: Our house was broken into many years ago.

        16                    THE COURT: Didn't catch that.

        17                    JUROR: Our house broken into.

        18                    THE COURT: Okay. Anything about that experience

        19         that would cause you not to be fair in this case?

        20                    JUROR: No.

        21                    THE COURT: Do you have friends or family in law

        22         enforcement?

        23                    JUROR: No.

        24                    THE COURT: Can you be fair?

        25                    JUROR: Yes.


                                                                                   NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 345 of 907 PageID #: 708


                                                                              199
                                         Proceedings

            :1.             THE COURT: Good. Thank you very much. Mr. Ward,

            2      where do you live, sir?

            3               JUROR: Astoria.

            4               THE COURT: How far did you go in school?

            5                JUROR: College, restaurant consulting.

            6               THE COURT: Single, married, widowed, divorced?

            7               JUROR: Single.

            8               THE COURT: Ever served as a juror before?

            9               JUROR: No.

        10                  THE COURT: Have you or a loved one ever been

        11         convicted of a crime?

        12                  JUROR: No.

        13                  THE COURT: Victim?

        14                  JUROR: Yes.

        15                  THE COURT: Tell us about that.

        16                  JUROR: I was assaulted two and a half years ago.

        17                  THE COURT: Anything about that experience that

        18         would caus you not to be a fair juror in this case?

        19                  JUROR: No.

        20                  THE COURT: Can you give both sides a fair shake?

        21                  JUROR: Yes.

        22                  THE COJRT: Friends and family in law enforcement?

        23                  JUROR: No.

        2                   THE COURT: Can you be fair?

        25                  JUROR: Yes.


                                                                                    NS
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 346 of 907 PageID #: 709


                                                                                  200
                                    I        Proceedings

              1                  THE COURT: Thank you. Mr. Eversley, how are you?

              2                  JUROR: Not bad.

              3                  THE COURT: Where do you live?

              4                  JUROR: Corona.

              5                  THE COURT: How far in school?

              6                  JUROR: College surveyor.

              7                  THE COURT: Single, married, widowed, divorced?

              8                  JUROR: Married.

            '9                   THE COURT: What do you do for a living?

             10                  JUROR: Stay home mom, two big ones, one small one.

             11                  THE COURT: Tell us about the big ones.

             12                  JUROR: One is a saleswoman, one is a nurse.

             13                  THE COURT: Ever been a juror before?

             14                  JUROR: No, sir.
15                               THE COURT: Have you or a loved one ever been

             16         convicted of a crime?

             17                  JUROR: No, sir.

             18                  THE COURT: Victim of a crime?

19                               JUROR: Yes, sir. I was mugged, my second

20                      daughter was mugged on the way from school.

             21                  THE COURT: Can you put that aside and evaluate

             22         the facts in this case fairly?

             23                  JUROR: I think so.

             24                  THE COURT: Good. Do you have friends or family

             25         in law enf6rcement?
11
                                                                                        NS
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 347 of 907 PageID #: 710


                                                                                  201
                                               Proceedings

                  1              JUROR: Yes, sir.

                  2              THE COURT: Tell us about that.                              —

                  3              JUROR: My cousin is a police officer.

                  4              THE COURT: Same question, can you evaluate the

                  5     cop testimony in this case fairly?

                  6              JUROR: Yes, sir.

                  7              THE COURT: You can be fair?

                  8              JUROR: Yes, sir.

                  9              THE COURT: Great. Thank you very much.

              10        Mr. Fernandez, how are you?

              11                 JUROR: Okay.

              12                 THE COURT: Where do you live?

              13                  JUROR: Woodside.

              14                 THE COURT: How far did you go in school?

              15                  JUROR: Currently in college.

              16                 THE COURT: Are you working as well?

              17                  JUROR: No, full-time college.

              18                 THE COURT: Single, married, widowed, divorced?

              19                  JUROR: Single.

              20                 THE COURT: Ever served as a juror before?

              2                   JUROR: No.
.,
              22                 THE COURT: Have you or a loved one ever been

              23         convicted of a crime?

             24                   JUROR: No.

             25                  THE COURT: Have you or a loved one ever been the


                                                                                        NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 348 of 907 PageID #: 711


                                                                             202
                                        Proceedings

         1         victim of a crime?

         2                  JUROR: No.

         3                  THE COURT: Do you have friends or family in law

         4         enforcement?

         5                  JUROR: No.

         6                  THE COURT: Can you be fair?

         7                  JUROR: Yes.

         8                  THE COURT: Thank you very much.

                            Miss Gonzalez, how are you?

        10                  JUROR: Good and you?

        11                  THE COURT: Good. Where do you live?

        12                  JUROR: Ozone Park.

        13                  THE COURT: How far did you go in school?

        14                  JUROR: I'm in college right now.

        15                  THE COURT: Full-time?

        16                  JUROR: Yes, full-time.

        17                  THE COURT: Are you working at all?

        18                  JUROR: Yes, I work at a gym.

        19                  THE COURT: Single, married, widowed, divorced?

        20                  JUROR: Single.

        21                  THE COURT: Ever served as a juror before?

        22                  JUROR: No.

        23                  THE COURT: Have you or a loved one ever been

        24         convicted of a crime?

        25                  JUROR: No.


                                                                                   NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 349 of 907 PageID #: 712


                                                                             203
                                        Proceedings

         1                  THCOURT: Have you or a loved one ever been the

         2         victim of a crime?

         3                  JU R: No.

         4                  TH COURT: Do you have friends or family in law

         5         enforcement

         6                  JU R: Yes, a lot because I go to a criminal

         7         justice sch ol.

         8                  THE COURT: John Jay?

         9                  JU R: Right.

        10                  THE COURT: Can you evaluate the testimony of the

        11         police offi ers in this case fairly?

        12                  JU R: I can try my best, yes.

        13                  THE COURT: Well, you know they hate that word.

        14         The reason hey hate it is because this is a very important

        15         matter for hem, and they need a commitment not just from

        16         you, but fr m everybody to be fair and to follow the law as

        17         I give it t you. So I will press the question, can you

        18         evaluate th testimony of a police officer fairly?

        19                  JUR: Yes.

        20                  TH COURT: Good. Miss Brown, how are you?

        21                  JU R: Fine, thank you.

        22                  THE COURT: Where do you live, ma'am?

        23                  JU R: Jamaica.

        24                  THS COURT: How far did you go in school?

        25                  JU R: Graduate school. I completed grad school.


                                                                                   NS
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                                                                             204
                                          Proceedings

          1                  THE COURT: What do you do for a living?

          2                  JUROR: Educational director in an early childhood

                   education center.

                             THE COURT: Single, married, widowed, divorced?

5                            JUROR: Widowed, he was an electrician.

          6                  THE COURT: Do you have kids?
7                            JUROR: One son.

          B                  THE COURT: Big?

                             JUROR: Old, yes.

10                           THE COURT: Old?

         11                  JUROR: Yes.

         12                  THE COURT: Old?      I'm oldest not as old as me.

         13                  JUROR: 47.

         14                  THE COURT: Okay. What is he doing?

        15                   JUROR: -*Ae just retired last month from

16                 Corrections.

        17                   THE COURT: Same question I asked all day, can you

        18         evaluate the testimony of police officers in this case
19                 fairly?
20                           JUROR: Absolutely.
21                           THE COURT: Okay. Very good. Have you ever been

22                 a juror before?

        23                   JUROR: No.

        24                   THE COURT: Have you or a loved one ever been

        25         convicted of a crime?


                                                                                   NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 351 of 907 PageID #: 714


                                                                              205
                                         Proceedings

          1                  JUROR: No.

          2                  THE COURT; Have you or a loved one ever been the

                    victim of a crime?

          4                  JUROR: No.

          5                  THE COURT: You have lots of friends and family in

          6         law enforcement I would think?

                             JUROR: Plethora.

                             THE COURT: Can you be fair?

                             JUROR: Absolutely.

         10                  THE COURT: Thank you very much.

         11                  Miss Ahmed, how you are you?

         12                  JUROR: Fine, thank you.

         13                  THE COURT: Where do you live?

         14                  JUROR: Jamaica, Queens.

         15                  THE COURT: How far did you go in school?

         16                  JUROR: College.

         1?                  THE COURT: What do you for a living?

         18                  JUROR: Special ed teaching assistant.

         19                  THE COURT: Single, married, widowed, divorced?

         20                  JUROR: Married.

         21                 THE COURT: What does your husband do?

         22                  JUROR: He works in the Department of Correction.

        23                  THE COURT: Is he a correction officer?

        24                   JUROR: No, civilian.

        25                  THE COURT: Same question I have asked all day,


                                                                                    NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 352 of 907 PageID #: 715


                                                                             206
                                           Proceedings

                    can you evaluate the testimony of the two cops that are

          2         going to testify in this case fairly?

          3                   JUROR: Yes.

          4                   THE COURT: Good. Have you. ever been a juror

                    before?

                              JUROR: No.

          7                   THE COURT: Did I ask you whether you had

                    children?

                              JUROR: No, you skipped that. I have one son and

         10         one daughter.

         11                   THE COURT: Are they old enough to work?

         12                   JUROR: One is ten going in fifth grade, and one

         13         is four going into pre-K.

         14                   THE COURT: Have you ever been a juror before?

         15                   JUROR: No.

         16                   THE COURT: Have you or a loved one ever been

         17         convicted of a crime?

         18                   JUROR: No.

         19                   THE COURT: Have you or a loved one ever been the

        20         victim of a crime?

        21                    JUROR: No.

        22                    THE COURT: You have lots of friends in law

        23         enforcement, right, you can be fair, ma'am?

        24                    JUROR: Yes.

        25                    THE COURT: Good. Thank you very much.


                                                                                   NS
                                                                                   I
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 353 of 907 PageID #: 716


                                                                             207
                                         Proceedings

          1         Mr. Akkoc, where do you live?

          2                    JUROR: Woodside.

          3                    THE COURT: How far did you go in school?

          4                    JUROR: I graduated from college.

          5                    THE COURT: What do you do for a living?

          6                    JUROR: I'm an accountant and single.

                               THE COURT: Have you ever served as a juror

          8         before?

          9                    JUROR: No.

         10                    THE COURT: Have you or a loved one ever been

         11         convicted of a crime?

         12                    JUROR: No.

         13                    THE COURT: Victim?

         14                    JUROR: Yes, unfair parking ticket by police

         15         officer.

         16                    THE COURT: Unfair parking ticket from a police

         17         officer?

         18                    JUROR: I can explain what happened.

         19                    THE COURT: Okay.

20                             JUROR; Me and my girlfriend parked at the grocery

         21         store so we got the ticket, it was like 9:40 so we just got

         22         it for 10 A.M., we get in the car, we went and shopped and

         23         we come out, I saw the cop was writing me a ticket and I

         24         went there, I was like what's going on, I was like it's

         25         past 10 A.M. I look at my watch it's 9:58 it's not past ten


                                                                                       RK
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 354 of 907 PageID #: 717


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                                        Proceedings

         1         yet, then he looked at his watch all right, yeah, you are

         2         right, then he didn't give me the ticket, but he started

                   writing it so he just scrambling it and put it in his

         4         pocket. I was like, okay, so we drive away, and two weeks

          5        later I received a ticket, and I paid so I believe that's a

6                  crime, stealing

                            THE COURT: There is one police officer in this

         8         town that you hate is that a fair statement?

          9                 JUROR: Oh, I have had bad experience with cops in

        10         the United States and in my hometown. I am from Turkey.

        11                  THE COURT: Okay. Do you think that you can

        12         evaluate the testimony of the police officers?

        13                  JUROR: No, because I don't believe them, I think

        14         they are lying.

        15                  THE COURT: Okay. All 35,000 of them?

        16                  JUROR: No, I don't want to generalize but --

        17                  THE COURT: All right. I understand. Thank you

        18         very much.

        19                  JUROR: There were people in the first jury, the

        20         seconds have family or friends of cops they said I said

        21         tends to believe the cops, I don't tend to believe the

        22         cops.

        23                  THE COURT: Fair enough. We have been saying all

        24         day there are no wrong answers, and that's an honest answer

        25         I appreciate that.


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             1                   Mr. Samovah, where do you live?

             2                   JUROR: East Elmhurst.

             3                   THE COURT: How far did you go in school?

             4                   JUROR: College.

             5                   THE COURT: What do you do for a living?

             6                   JUROR: Letter carrier, assistant mailman, not

             7         regular mailman.

             8                   THE COURT Where do you deliver the mail?

             9                   JUROR: My primary station is Jackson Heights, but

            10         I am assigned to other station Corona, Elmhurst, Woodside,

            11         East Elmhurst.

            12                   THE COURT: There is no potential in the next

            13         couple of days that you will be assigned to deliver mail in

            14         Corona?

            15                   JUROR: Probably packages on Sunday.

            16                   THE COURT: In Corona?

            17                   JUROR: Yeah, I don't know, just Saturday the day

            18         before we assigned to a station.

            19                   THE COURT: So you don't know whether you will be

            20         assigned?

            21                   JUROR: Not yet.

            22                   THE COURT: What happens if you become a juror,

            23         and you tell your boss I can't work that area, will he

            24         assign you somewhere else?


I           25                   JUROR: I don't know.


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                             THE COURT: Single, married, widowed, divorced?

         2                   JUROR: Married, she is a bartender.

         3                   THE COURT: Kids?

         4                   JUROR: Not yet.

         5                   THE COURT: Ever served as a juror before?

         6                   JUROR: No.

         7                   THEC0URT: Have you or a loved one ever been

                   convicted of a crime?

                             JUROR: No.

        10                   THE COURT: Have you or a loved one ever been the

        11         victim of a crime?

        12                   JUROR: No.

        13                   THE COURT: Do you have friends or family in law

        14         enforcement?

        15                   JUROR: Yes.

16                           THE COURT: Tell us about that?

        17                   JUROR: My best friend is NYPD, his wife is NYPD,

        lB         too, and I know a lot of police officers.

        19                   THE COURT: So you know what the next question is.

        20         Can you evaluate the testimony of the two cops in this case

        21         fairly?

        22                   JUROR: I probably know them, so I don't know. I

        23         don't know the names, but I deliver mail for the 92 street

       24          precinct, so I'm sure that they belong to that station.

       25                    THE COURT: All right. Miss Cardenas, where do


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             1      you live?

          2                  JUROR: Corona.

             3               THE COURT: You know what the address is in this

             4      area, 105?

             5               MR. SHORTT:      105 Street and Northern Boulevard,

             6      your Honor.

          7                  THE COURT: You know where that is I'm sure?

          8                  JUROR: Yes.

          9                  THE COURT: If you are selected as a juror, you

         10        cannot go to that area. Can you obey that directive?

        11                   JUROR: Yes.

        12                   THE COURT: Very good. Now far did you go in

        13         school?

        14                   JUROR: I'm in college right now.

        15                   THE COURT: Are you working as well?

        16                   JUROR: Yes.

        17                   THE COURT: What do you do?

        18                   JUROR; Library office.

        19                   THE COURT: Single, married, widowed, divorced?

        20                   JUROR: Single.

        21                   THE COURT: Have you ever served as a juror

        22         before?

        23                   JUROR: No.

        24                   THE COURT: Have you or a loved one ever been

        25         convicted of a crime?


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          1                  JUROR: No.

          2                  THE COURT: You or a loved one ever been the

          3         victim of a crime?

          4                  JUROR: No.

          5                  THE COURT: Do you have friends and family in law

          6         enforcement?

          7                  JUROR: No.

          S                 THE COURT: Can you be fair?

          9                 JUROR: Yes.

         10                 THE COURT: Thank you very much. Mr. Ramdeo,

         11        where do you live?

         12                 JUROR: Ridgewood.

        13                  THE COURT: How far did you go in school?

        14                  JUROR: High school.

        15                  THE COURT: What do you do for a living?

        16                  JUROR: Building maintenance.

        17                  THE COURT: Single, married, widowed, divorced?

        18                  JUROR: Married.

        19                  THE COURT: What does your wife do?

        20                  JUROR: Home health aide.

        21                  THE COURT: Do you have kids?

        22                  JUROR: One daughter.

        23                  THE COURT: Big or little?

        24                  JUROR: Big.

        25                  THE COURT: What does she do?


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          1                  JUROR: Citibank.

          2                  THE COURT: Have you ever served as a juror

          3        before?

          4                  JUROR: No.

          5                  THE COURT: Have you or a loved one ever been

          6        convicted of a crime?

          7                  JUROR: No.

          8                  THE COURT: Have you or a loved one ever been the

          9        victim of a crime?

        10                   JUROR: No.

        1-I                  THE COURT: Do you have friends or family in law

        12         enforcement?

        13                   JUROR: No.

        14                   THE COURT: Can you be fair?

        15                   JUROR: Yes, your Honor.

        16                   THE COURT: Mr. Jaskiewicz, where do you live?

        17                   JUROR: Rockaway.

        18                   THE COURT: How far did you go in school?

        19                   JUROR: High school.

        20                   THE COURT: What do you do for a living?

        21                   JUROR: Operating engineer.

        22                   THE COURT: Single, married, widowed, divorced?

        23                   JUROR: Married.

        24                   THE COURT: What does your wife do?

        25                   JUROR: She is in advertising.


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            1                  THE COURT: Kids?

            2                  JUROR: Two.

            3                  THE COURT: Big ones, little ones?

            4                  JUROR: Older.

            5                  THE COURT: What do they do?

            6                  JUROR: One just graduated college and is

         7         travelling, the other one is a tattoo artist.

         B                     THE COURT: All right. Have you ever served as a

         9         juror before?

        10                     JUROR: No.

        11                  THE COURT: Have you or a loved one ever been

        12         convicted of a crime? -

        13                  JUROR: No.

14                          THE COURT: You or a loved one ever been the

        15         victim of a crime?

        16                  JUROR: No.

        17                  THE COURT: Do you have friends or family in law

        18         enforcement?

        19                  JUROR: I have relatives and a lot of friends who

        20         are cops.
        21                  THE COURT: Same question, can you evaluate the

        22         testimony of the cops in this case fairly?

       23                   JUROR: If everything else is equal, I would

       24          always come down on the side of the cops.

       25                  THE COURT: Do you think you can be a fair juror

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            1      in this case because of that or not?

         2                  JUROR: Yes, I do.

            3               THE COURT: Thank you very much. Can we do this

            4      in ten minutes, gentlemen? We are in the third round. We

         5         have all heard it all day long. I'm glad you agree.

         6                  Mr. Shortt, I'm glad you agree.

         7                  MR. SHORTT:       Of course, your Honor. This is

         8         number three, I know you are bored by now but hopefully

         9         only a little longer. I want to talk to you about some of

        10         the small issues. As you have all seen, Mr. Ball has

        11         elected to represent himself.

        12                  Mr. Moschitto, do you understand that's Mr. Ball's

        13         choice that he represent himself?

        14                  JUROR: Yes.

        15                  MR. SHORTT:       Do you understand when he sits at

        16         that table just like me or Mr. Gibbons, he is bound by the

        17         same rules.

        18                  JUROR: Yes.

        19                  MR. SHORTT:       That's again his choice.

       20                   JUROR: Yes.

       21                  MR. SRORTT;        Can you promise me that you will not

       22          give him any benefit of the doubt because he has elected to

       23         exercise his right.

       24                  JUROR: Yes.

       25                  MR. 5}-IORTT:     Anyone that feels sympathy for


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             1      Mr. Ball because he decided to do this or think it's not

             2      fair because he is not trained as an attorney.

             3               JUROR: I feel sympathy. I don't know if I feel

             4      like it's unfair because he elected to make that choice,

             5      but I can't disguise sympathy.

             6              MR. SHORTT:      Okay. Is that something that would

          7         factor into your decision making process.

          8                 JUROR: No.

          9                 MR. SHORTT:      Anyone else here who thinks that may

        10          factor into your decision making process or gives you any

        11          feelings in general?      Thank you very much.

        12                  As I told you ladies and gentlemen, you will hear

        13         from several police officers in this case. Anybody here

        14         besides Mr. Akkoc that had a bad experience with police

        15         officers? I have gotten tickets I don't like, not as bad

        16         as yours, I didn't have to pay for it, anybody had a bad

        17         experience with the police? Anybody?

        18                  Does anybody have strong feelings or disapprove of

        19         the fact that the police officers turned their back on

        20         Mayor DeBlaslo? You thought that was inappropriate by show

        21         of hands? Miss Brown?

        22                  JUROR: Again it's a show of disrespect for his

        23         position, and for the uniform, and they were at someone's

        24         funeral, so it's just disrespect.

        25                  MR. SHORTT:     I appreciate that. Mr. Jaskiewicz,


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         1         what were your feelings on that.

         2                  JUROR: I don't think they should have done it at

         3         the funeral. When they did it at the hospital I was fine.

         4                  MR. SHORTT:     Okay. Thank you. You will hear

         5         from an eyewitness in this case, and I want to hear from

         6         you what you would like to hear in terms of believing an

         7         eyewitness.

         8                  Mr. Mr. Derum, you have heard me say before I'm

         9         sure it's round number three, quality matters more than

        10         quantity; would you agree with that?

        11                  JUROR: Yes.

        12                  MR. SHORTT:     Why would you agree with that.

        13                  JUROR: As long as you are presenting the facts,

        14         whatever the facts may be, you don't have to have a whole

        15         lot of them as long as there is a straight path to whatever

        16         you are trying to prove to us.

        17                  MR. SHORTT:    Okay. Could that path be through

        18         just one particular witness if you believe that witness.

        19                  JUROR: Sure.

        20                  MR. SIORTT:    Mr. Soorya, what about you, if I

        21         called ten witnesses here, all of whom were on that street

        22         but were not paying attention, either on the phones talking

        23         to other people, weren't paying attention to the event,

        24         would that help you make a decision about what happened on

        25         that street if they couldn't give you any information.


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            1                JUROR: Any information I question if you are

            2       conveying to me they were not paying attention, and I know

            3       they conveyed this to me they were not paying attention,

            4       that would be a factor?

            5               MR. SHORTT:        How about some people give you a lot

            6       of information, but you did not believe, would that happen

            7       help you.

            8                JUROR: It's credibility, the numbers, no.
            9               MR. Sf-tORTT:      If I brought you one witness who was

         10        paying attention before, during and after the crime, and

         U         was able to stand up not only to my questioning but the

         12        questioning of defense counsel and Mr. Ball, and at the end

        13         of that you believed him, would you have any hesitation of

         111       convicting the defendant based on his testimony alone?
        I                   JUROR: I don't know the side of the law, just one
        16         factor that needs to be considered in that?

        17                  MR. SI-IORTT:      If you believed an eyewitness or

        18         just listening to the witness, what are some of the things

        19         you would want to consider.

        20                  JUROR: Basically the credibility of the witness.

        21                  MR. SI-iORTT:      How would you test that.

        22                  JUROR: The credibility of the witness, basically

        23         how the witness stands to cross-examination, and do the

        24         things add up what the witness is conveying, is he

        25         contradicting himself during cross-examination, I would


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              1         consider those factors.

              2                    MR. SHORTT:        Thank you. Mr. Eversley, what would

              3         you consider in determining the credibility of an

              4         eyewitness.

              5                    JUROR: Like I said the truth don't ever change,

              6         it may differ but it wont change. On cross-examination he

              7         might answer the question different but it all boils down

              8         to one point.

              9                    MR. SHORTT:        Thank you. Mr. Fernandez, would you

             10         agree that quality matters over quantity.

             11                    JUROR: Yeah.

             12                    MR. SHQRTT:        You had to think about that.

             13         Anything that troubles you about that.

             14                    JUROR: No, I was just processing the question.

             15                    MR. SHORTT:        Okay. What are some of the things

             16         that you would look for in evaluating whether or not you

             17         believe a witness.

             18                    JUROR: I'm not sure. I need evidence on that,

             19         like I need to see.

             20                    MR. SE-{ORTT:      Do you watch CSI, Law and Order, are

             21         you a fan? Raise your hand. I'm as guilty as the next

             22         person, okay, I watch them too. I have them programmed on

             23         my TiVo.
RE

24                                 Miss Gonzalez, I will tell you right now, you will

            25          not hear about fingerprints or DNA or any of that, no video


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             I      camera.

             2                JUROR: Of course.

             3                MR. SHORTT:      Despite that do you still think you

             4      can view the evidence in this case from a witness I bring

             5      in front of you just based on eyewitness testimony, would

             6      that be enough for you or would you need more.

             .7               JUROR: Whatever the eyewitness says depending on

             8      how close they were, the lighting, how it was mentioned

             9      before that plays a big role in the eyewitness testimony,

         10         so I believe whatever if it sounds like it's very possible,

         11         if there was a lot of lighting, if they were there the

         12         entire time, you know, during and after, then that would

         13         play a big role in my decision.

         14                   MR. SHORTT:      Miss Brown, what do you think about
         15         that?

         16                   JUROR: In addition to their testimony, you would

        17         have to put that in conjunction with everything else that

        18         has been presented, and it's basically the scene, and what

        19         happened, does it make sense, is it logical, and did they

        20         really have a clear picture of what was going on, because

        21         sometimes we see things that we are interpreting as

        22         something else, so I would have to not base solely on what

        23         that eyewitness is saying, but what is surrounding and what

        24         compliments that testimony.

        25                    MR. SHORTT:     If the case depended on the accuracy


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         1         of one eyewitness, you are saying you wouldn't be able to

         2         convict somebody; is that right.

         3                  JUROR: I'm not saying that.

         4                  MR. SHORTT:        Tell me a little more.

         5                  JUROR: Like you said the circumstances, the type

         6         of pressure that particular person is under, and how they

         7         explain what's occurring, and is it consistent once it's

         B         being repeated, and all of that comes into play.

         9                  MR. SHORTT:        You bring up an interesting point

        10         about pressure. Mr. Gibbons talked about flipping over the

        11         table, I hope he does not do it. He keeps talking about

        12         it.

        13                  Mr. Ramdeo, would you agree when adrenaline is

        14         pumping, sometimes your ability to perceive and remember

        15         things is actually heightened?          If it's an excited

        16         situation the first time you are experiencing something, do

        17         you remember things more clearly?

        18                  JUROR: No.

        19                  MR. S}-JORTT:      Anybody here ever been in a car

        20         accident?    Do you remember that day.

        21                  JUROR: Yes.

        22                  MR. SHORTT: Will you ever forget that day?

       23                   JUROR: Po.

       24                  MR. SHORTT:         'Thy not.

       25                   JUROR: It was scary, different and unexpected.


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         1                  MR. SHORTT:     Miss Williams, you were the victim

         2         of a mugging?

          3                 JUROR: No, my sister.

          4                 MR. SHORTT:     I'm sorry.

          5                 Mr. Eversley, you were mugged. Will you ever

          6         forget that?

          .7                 JUROR: No, sir.

          8                 MR. SHORTT:     What was your attention like when

          9         that was going on? Where were you focused.

         10                  JUROR: The person right on the side of me and I

         11         was focused on the front. I will never forget.

         12                  MR. SHORTT:    Would you agree pressure can

         13         actually heighten your awareness.

         14                  JUROR: Speak for me I always try to be aware of

         15         my surroundings.

         16                  THE COURT: You have about a minute.

         17                  JUROR: It would not affect me.

         18                  MR. SHORTT:    Ladies and gentlemen, I will ask for

         19         the same promise, we have had a few laughs and talked about

         20         some serious things, but if I prove my case at the end of

         21         this trial, if you believe the witnesses that I put

         22         forward, if you believe beyond a. reasonable doubt the

         23         defendant has committed the crime as charged in the

         24         indictment, anybody here for reasons outside the evidence

         25         for personal, religious, any reason that you just know it's


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             1      not within you to do this, tell me now. But if I prove my

             2      case beyond a reasonable doubt, anybody here that would

             3      hesitate to strip these defendants of their presumption of

             4      innocence and convict them?

             5               JUROR: I have something to say. I don't know the

             6      law, I'm not a lawyer, and either the, defendant's lawyer or

             7      you can influence my decision and because of that, I don't

             8      want to come up with guilty or not guilty for these two

             9      gentlemen.

         10                  MR. Sf-IORTT:   I appreciate that.

         11                  JUROR: I don't want to take that responsibility.

         12                  MR. SHORTT:     I appreciate that. Thank you.

         13         Anybody else?     Mr. Fernandez.

         1                   JUROR: I feel the same way.

         15                  MR. SHORTT;     Thank you. Anyone else?      Thank

         16         you, ladies and gentlemen.

         17                  THE COURT: Mr. Gibbons?

         18                  MR. GIBBONS: Just one second?

         19                  THE COURT: Sure.

         20                  (Whereupon, there was a brief pause in the

         21         proceedings.)

         22                  MR. GIBBONS: Good afternoon, everybody.

         23                  THE COURT: Ten minutes, sir.

         24                  MR. GIBBONS: Thank you again for your patience

         25         putting up with this. The same thank yous and apologies


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          1         for me prying into your lives. I wanted to pick up on

          2         something ADA Shortt said as I have been doing.

          3                  Mr. Eversley, he asked you when you were robbed

          4         did it kind of heighten your awareness.

                             JUROR: Yes.

          6                  MR. GIBBONS: Would you agree when you were being

          7         robbed, were you thinking the guy is five nine, brown hair

          8         and tan slacks and red shirt, or, gee, hope I don't get

           9        killed or what's going on or were you kind of blanking?

         10                  JUROR: I was not afraid.

         11                  MR. GIBBONS: You were not?

         12                  JUROR: No, sir.

         13                  MR. GIBBONS: Were you making a mental inventory

         14         about your surroundings?

         15                  JUROR: Yes, sir.

         16                  MR. GIBBONS: Would you say that's common, or is

         17         it possible someone in a similar situation might totally

         18         blank out?

         19                  JUROR: I can only speak for myself.

         20                  MR. GIBBONS: Would it be as possible somebody

         21         else might not be as calm as you?

         22                  JUROR: Probably.

         23                  MR. GIBBONS: Would it possible the person was not

         24         taking inventory or not 100 percent accurate in the

         25         inventor because of the situation?


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          1                  JUROR: Probably, but I can only speak for me.

          2                  MR. GIBBONS: Mr. Ward, when the car accident

          3         happened, it was a terrifying thing. Did you immediately

          4         make note it was a blue Pinto, the Street light was on and

          5         a red light and stop sign and pot hole; did you gather all

          6         that information?

          7                  JUROR: Not those details.

          8                  MR. GIBBONS: So there were some things that you

          9         latched onto in the accident?

         10                  JUROR: Urn-hum.

         11.                 MR. GIBBONS: But you did not take full inventory?

         12                  JUROR: No.

         13                  MR. GIBBONS: It's possible you might have been

         14         mistaken in the chaos, correct?

         15                  JUROR: I suppose so. Also those kind of things

         16         don't seem to matter that much as opposed to what was right

         17         in front of me.

         18                  MR. GIBBONS: That was a decision that you made as

         19         to what mattered?

         20                  JUROR: Yes.

         21                 MR. GIBBONS: In that split second you picked up

         22         on a couple of things?

        23                  JUROR: Yes.

        24                  MR. GIBBONS: There could have been 500 other

        25          things some might have been unimportant, some could have


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          1         been important?

          2                  JUROR: Urn-hum.

          3                  MR. GIBBONS: Mr. Soorya, Mr. Shortt asked you

          4         about what would you want to hear from an eyewitness and

          5         how you would determine his credibility, and you were very

          6         strong about that on the credibility of the witness. One

                    of the things you said was during cross-examination would

          8         he be contradicting himself, correct?

          9                  JUROR: What?

         10                  MR. GIBBONS: If the witness would contradict that

         11         would weigh into your judgment of his credibility.

         12                  JUROR: Correct, sure.

         13                  MR. GIBBONS: It could be that he remains constant

         14         saying the same thing from the first time it happened to

         15         when he testified again here at trial. But we talked about

         16         this, the fact that he is certain about his story, doesn't

         17         necessarily mean that he is accurate about his story,

         18         correct? He could have been incorrect as we say, ab

         19          iriitio, from the first instant, he was incorrect. He said

         20         the guy was seven foot two, he was four foot nine, but he

         21          said seven foot two the day the crime happened. He said

         22          seven foot two when he spoke in the Grand Jury and to the

         23         police officers and to Mr. Shortt right, then you see the

         24         defendant and he is four foot nine, so he remained constant

         25          in his story, but he was inaccurate.


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              1                  JUROR: When I say credibility, I did not mean

              2         constancy.

              3                  MR. GIBBONS: I understand, but that's part of it

              4         how you determine a person's credibility, again not

              5         credibility whether he is telling the truth necessarily

              6         because he could think in his head that this is the truth,

              7         this is what my perception was but he could he wrong.

              8                  JUROR: I meant primarily credibility and

              9         cross-examination so that's part, yes.

             10                  MR. GIBBONS: You understand my point, you can be

             11         certain about something and be incorrect?

             12                  JUROR    Yes.

             13                  MR. GIBBONS: Mr. Chang, do you agree?

             14                  JUROR    Certainly, I always continued to believe

             15         someone is wrong or I don't trust them that they are lying.

             16                  MR. GIBBONS: You default I don't believe you.

             17                  JUROR: I do, that's my nature and my nature of my.

             18         job I always assume someone is wrong unless proved

             19         otherwise.

             20                  MR. GIBBONS: I touched on that. Miss Brown, you

             21         see someone you think you know, you tap them on the

             22         shoulder, hey, Sylvia, how are you doing, it's me and they

             23         don't know you, and you realize you don't know them. That

             24         ever happen to you?


I            25                  JUROR: Quite a few times.


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          1                   MR. GIBBONS: Universal thing, you made a mistake,

          2         I could have sworn it was that person, it's not. That

          3         could happen. Okay.

          4                   My client's right to remain silent. Again I know

          5         I said it, but it bears repeating because it is so

          6         important. That is a fundamental constitutional right that

          7         each and every one of us as citizens of the United States

          8         has. My client may employ that right.

          9                   Miss Moschitto, would that bother you if we go

         10         through this case and my client does not testify on his

         11         behalf?

         12                   JUROR: It wouldn't bother me, no.

         13                   MR. GIBBONS: Would you draw any negative

         14         inference from that?

         15                   JUROR: No.

         16                   MR. GIBBONS: Would you think that he is hiding

         17         something, he must be guilty?

         18                   JUROR: I always think that way, but I would not

         19         do that. I feel like if you are not guilty, that you would

         20         say something.

         21                   MR GIBBONS: But you would respect his right not

         22         to testify?

         23                   JUROR: Yes.

         24                   MR. GIBBONS: The fact that he might not will not

         25         influence you negatively?


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          1                  JUROR: No.

          2                 MR. GIBBONS: Mr. Derum, any problem with that?

          3                  JUROR: No, no problem.

          4                 MR. GIBBONS: Anybody have an issue if my client

        .5          decided not to take the stand, and you did not hear his

          6         side of the story, Mr. Chang?

          7                  JUROR: I would do my best to ignore it, it would

          8         give me a little pause, and I would think about that. A

          9         lot of things when I was working was what was not said.

         10         It's hard for me to separate that especially if there is

         11         something that should have been said that is not said what

         12         is the implication so it would concern, me if someone is

         13         innocent, and they don't try to back up their story.

         14                  MR. GIBBONS: Miss Williams, do you feel that way?

         15                  JUROR: I actual agree what you said, maybe he did

         16         not want to incriminate himself so you are being his voice

         17        displaying the facts.

         18                 MR. GIBBONS: Okay. Anybody else have a problem

         19        besides, Mr. Chang? I appreciate the honesty.

        20                   How am I doing, Judge?

         21                 THE COURT: You have a few minutes.

        22                  MR. GIBBONS: One of the things that Mr. Shortt

        23         talked about again in deciding whether or not someone is

        24         guilty is where a person was caught, and I had asked it's

        25         possible even if they are caught at the scene that maybe


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           1         the wrong person was stopped.

           2                    Is that possible, Mr. Ramdeo, possible someone was

           3         caught close to the scene, and they caught the wrong

           4         person?

           5                    JUROR: Yes, it could be possible.

           6                    MR. GIBBONS: This is a big city, this is New York

           7         City. People are out on the street all the time. There is

                     only a limited amount of things that you can wear. If a

           9         description is vague, black jacket, grayish hair, or a

          10         blacktop and grayish hair or slightly balding, that could

          11         be you or it could be you, correct?

          12                    So it's possible that there is a description that

        • 13         might kind of fit but still be the wrong person; is that

          14         correct?     Can we agree to that?    Can you all promise me

          15         that you will listen to the evidence and treat each of

          16         these clients separately, that you will apply the facts to

          17         each one individually and not lump them together, Miss

          18         Gonzalez, can you promise me to do that?

          19                    JUROR: Yes.

         20                     MR. GIBBONS: You will separate the evidence for

         21          both of the defendants?

         22                     JUROR: Yes.

         23                     MR. GIBBONS: Mr. Fernandez, you can promise me

         24          the same?

         25                     JUROR: Yeah.


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          I                 MR. GIBBONS: You are a little equivocal there on

          2        me? Are you having an issue with being on a jury to start

          3         with sitting in judgment with someone? It seems like you

          4         have been hesitant throughout this.

                             JUROR: No, I have no problem.

          6                 MR. GIBBONS: I don't want to put you on the spot

          7         but I need to know are you okay listening to the evidence

          8         and making a decision?

          9                  JUROR: Yes.

         10                  MR. GIBBONS: Can everybody promise me to hold the

         11         District Attorney to his burden of proof beyond a

         12         reasonable doubt, and you all recognize my client and

         13         Mr. Ball as they sit there now are presumed innocent, so if

         14         Mr. Shortt gave you no evidence, what would your verdict

         15         have to be, Mr. Ward?

         16                  JUROR: Not guilty.

         17                 MR. GIBBONS: Miss Ahmed, what would your verdict

         18         have to be if you didn't hear any evidence from the

         19         District Attorney?

        20                  JUROR: Actually, the things I understand, but I

        21          cannot explain you perfectly.

         22                 MR. GIBBONS: All right. No problem.

        23                  Miss Cardenas, if you heard no evidence from the

        24          District Attorney, what would your verdict have to be?

        25                  JUROR: Not guilty.


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          1                  MR. GIBBONS: All right. He has to prove each and

          2         every element. I talked about the tea. If he doesn't give

          3         you water, is it tea?      Every element, the tea bag, the

          4         water, the cup, slice of lemon. All of that, each and

          5         every element beyond a reasonable doubt. Identity is also

          6         something that needs to be proven, correct, do we agree,

          7         Mr. Jaskiewicz?

          8                  JUROR: Yes.

          9                  MR. GIBBONS: The last thing, 5:30 you have been

         10         on trial three weeks, it's Friday you all want to go home.

         ii         Mr. Ward, you are the one hold out. Come on, come on,

         12         change your vote, let's get out of there.

         13                  JUROR: If that's all that's there, I would not

         14         change my vote if they convince me with facts but not just

         15         it's 5:30 and we should leave.

         16                  MR. GIBBONS: You can change your mind if you are

         17         swayed by the facts but do you promise me if it's time to

         18         go, you will stick to your guns?

         19                  THE JURORS: Yes.

         20                  THE COURT: Thank you.

         21                  Mr. Ball, you have ten minutes, sir.

         22                  THE DEFENDANT BALL: Thank you, your Honor.

         23                  Hello, again, ladies and gentlemen of the jury, I

                    guess you heard me try to articulate in my own little way

         25         how is it that I would like to know if the people that is


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          1         going to represent the jury pool will take in consideration

          2         like in the same vein that people look forward to the

          3         testimonies of the defendants. You know, I would like for

          4         you to also keep in mind that there is a requirement that I

          5         would like to see a challenge in the way of holding the

          6         District Attorney and the people that testify against us,

          7         hold them accountable for what it is that they say has

          8         happened, and to bring forth the evidence, you know, that

          9         would indicate a guilt of a crime being committed.

         10                  You know, that's my main concern, you know, in the

         11        way of like the sequence of events, time factors. I heard

         12         the District Attorney say, you that you know in this case

         13         you won't see fingerprints and things of that nature which

         14         I think, you know, I would like to know how do you guys

         15         feel, you know, knowing that the technology that we have

         16        today is easy to get fingerprints, you know, how do you

         17         feel about the fact that, you know, that he is going to

         18        bring forth evidence and don't, what you call, represent

        19         the evidence with fingerprints, you know?        I apologize.

        20                   Is that Eversley, Mr. Eversley?

        21                  JUROR: Yes, sir.

        22                  THE DEFENDANT BALL: How would you feel about that

        23          knowing that today with the technology that's available to

        24         have the Assistant District Attorney allow him to bring

        25         forth evidence where-there is no fingerprints?


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          1                   JUROR: Once it's consists of evidence, it's

          2         supposed to have everything with technology or without

          3         technology because we have been doing it for the past

          4         years, you are supposed to have everything, that's why it's

          5         called evidence.

          6                   THE DEFENDANT BALL: Okay. Mr. Ward, how would

          7         you feel in the case that they brought forth evidence with

          8         no DNA?

                              JUROR: We managed fine without -- maybe not fine,

         10         but we managed without DNA evidence for a long time. It

         11         depends on what they bring, I guess is my honest answer.

         12                   THE DEFENDANT BALL: Even in the case if there was

         13         a violent issue where there was a lot of blood?

         14                   JUROR: Yes, I think so.

         15                   THE DEFENDANT BALL: You would hold them

16                  responsible?

         17                   JUROR: No, it would depend on the evidence

         18         brought, and I wouldn't hold the lack of DNA against him if

         19         the rest of the evidence proved it beyond a reasonable

         20         doubt.

         21                   THE DEFENDANT BALL: Okay. How about in the case

         22         that the testimony doesn't coincide with the physical

         23         evidence, would you rule in that case?

         24                   JUROR: If the physical evidence seems certain,

         25         that would make me discount the testimony.


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          1                  THE DEFENDANT BALL: Okay. I apologize. Is it

          2         Jaskiewicz?

          3                  JUROR: Yes.

          4                  THE DEFENDANT BALL: I apologize, what is it that

          5         you said you do?

          6                  JUROR: Operating engineer.

          7                  THE DEFENDANT BALL: Okay. And you know, my

          8         concern is this, you said that you know police officers; is

          9         that correct?

         10                  JUROR: Yes, I do.

         11                  THE DEFENDANT BALL: Do you hold police officers

         12         at a high standard, do you have like a high expectation of

         13         police officers in their diets, you know, in other words,

         14         you know, if you seen a police officer negligent in his

         15         duties, would you call them on that?

         16                  JUROR: Would I actually call up their boss? No.

         17                  THE DEFENDANT BALL: Would you hold him

         18         accountable for his negligence in the case that you seen

         19         him or would you say, you know, cover for him? Sometimes

         20         we have a tendency if we see negligence, we have an

21                  alliance to things sometimes.

         22                  JUROR: I'm not going to cover for him.

         23                  THE DEFENDANT BALL: Would you overlook it or

         24         would you call a person on it if you see negligence?

         25                  JUROR: I will not overlook it, but what would you


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          1         like me to do? That's the part I don't understand what you

          2         are asking me.

          3                  THE DEFENDANT BALL: I mean, you know, would you

          4         bring it to the light is what I'm asking you, or would you

          5         cover it up that's what I'm asking you.

          6                  THE COURT: I will sustain that. Ask another

          7         question.

                             THE DEFENDANT BALL: In the case, Miss Brown,

          9         Raymond Ball is my name. In the case that you seen that

         10         because it appears to me like you was able to get a grasp

         11         of what I was trying to articulate throughout the day in

         12         respect to perception, and you know, the need for certain

         13         information to be uncovered in order for us to get a better

         14         understanding of what is it that we are looking at. And my

         15         concern is would, in the case, that there was an officer

         16         who testified to a particular situation and the evidence

         17         does not coincide with the testimony of the evidence, you

         18         know, would you stand with the officer in his testimony in

         19         light of the fact that the officer doesn't support the

         20         testimony?    Or would you, you know, reject the testimony

         21         of the officer?

         22                  JUROR: Are you asking me again?

         23                  THE DEFENDANT BALL: Miss Brown.

         24                  JUROR: Would I reject the evidence if the

         25         testimony does not support the evidence?


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          1                  THE DEFENDANT BALL: Yes,     ma'am.

          2                  JUROR: Then there is a true conflict there, so

          3         something else or another testimony or more evidence would

          4         have to be presented because you are in direct conflict if

                    you have evidence and the testimony that's being given is

                    not related to or does not support that evidence that's

          7         presented, that's a problem. It would be a problem for me.

          8                  THE DEFENDANT BALL: Is there anyone else in the

          9         jury that would like to maybe express their views

         10         concerning that particular issue?       I apologize.

         :ii        Mr. Chang, how are you doing today?

         12                  JUROR: Okay. What's your specific question?

         13                  THE DEFENDANT BALL: I wanted     to know because what

         14         happens is sometimes, you know, certain evidence is

         15         presented, and the testimony that's presented along with

         16         the case is conflicting with the evidence that's being

         17         presented. And so, you know, sometimes we have a tendency

         18         to give value to testimony without having the necessary

         19         physical evidence to corroborate the actual testimony.

         20                  JUROR: I got the question. Basically I look at

         21         the whole picture, the whole piece, not one piece only.

         22                  THE COURT: Would the sequence of events play a

         23         part in how you decide these things?.

         24                  JUROR: If they apply to the specific situation,

         25         those would have a certain weight.


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          1                  THE DEFENDANT BALL: Mr. Chang, how about you,

          2         would time play a factor in how you analyze, you know, the

          3         evidence that's being brought before you, Mr. Chang?

          4                  THE COURT: You have about a minute, Mr. Ball.

          5                  THE DEFENDANT BALL: Mr. Chang?

          6                  JUROR: You would have to be a little more

          7         specific with that question.

          8                  THE DEFENDANT BALL: In other words, you have the

          9         testimony, you have the evidence, you have sequence of

         10         events and then you have time factors. Would you use time

         11         factor in your being able to evaluate the totality of the

         12         circumstances as the case is presented to you?

         13                  JUROR: I'm still not sure I understand what you

         14         are asking. Are you asking about the order in which

         15         something is presented or the length of time that --

         16                  THE DEFENDANT BALL: The length of time.

         17                  JUROR: Of what, when evidence was discovered or

         18

         19                 THE DEFENDANT BALL; Like the judge, said things,

         20         time periods have elapsed between different testimonies,

         21         you know, this is indication of a time factor, you know,

         22        would you use that time factor as an issue in you being

        23          able to come to a clear decision on what is it that you are

        24

        25                  JUROR: I would have to see. I mean without a


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                        specific example

              2                  THE COURT: Thank you, Mr. Ball.

              3                  THE DEFENDANT BALL: Thank you. Thank you, ladies

              4         and gentlemen.

                                 THE COURT: All right. Can we take the jury out?

              6                   (Jurors exit the courtroom.)

                                  (Whereupon, there was a brief pause in the

              8         proceedings.)

              9                  THE COURT: Are you all ready?

             10                  MR. SHORTT: Yes.

             11                  MR. GIBBONS: Yes.

             12                  THE DEFENDANT BALL: Yes, sir.

             13                  THE COURT: All right. We have four jurors. One

             14         through eight, People, challenge for cause?

             15                  MR. SI-IORTT:   As to cause number three, Jennifer

             16         Williams she emphatically stated she could not be fair.

             17         Number four, Mr. Chang, he said first of all he assumes all

             18         info presented to him is wrong, it has to be proven true,

             19         he had difficulty when defense asked him questions about

             20         needing to hear both sides, and number eight --

             21                  THE COURT: Let's stick with those two. Any

             22         objection to Miss Williams?

             23                  MR. GIBBONS: None.

             24                  THE DEFENDANT BALL: No, sir.

II           25                  THE COURT: Mr. Chang?


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          1                  THE DEFENDANT BALL: No, sir.

          2                  MR. GIBBONS: No objection, your Honor.

          3                  THE COURT: Next?

          4                  MR. SHORTT: Mr. Fernandez wholeheartedly joined

          5         with Mr. Akkoc on the last question that whatever its not

          6         proved he would have difficulty rendering a verdict of

          7         guilty. There was another issue, but most importantly he

          8         said no matter what evidence I provided, he would not be

          9         able to find the defendant guilty.

         10                  MR. GIBBONS: I join that, he said it was almost

         11         like burdened with a verdict.

         12                  THE COURT: All right. Without objection,

         13         Mr. Ball?

         14                  THE DEFENDANT BALL: No objection.

         15                  THE COURT: That's it?

         16                 MR. SHORTT:      Yes.

         17                  THE COURT: Defense, one through eight for cause?

         18                 MR. GIBBONS: No.

         19                 THE COURT: People peremptory challenges one

        20          through eight.

        21                   (Defendant and counsel confer.)

        22                  THE COURT: Peremptory challenges one through

        23         eight, People?

        24                  MR. SHORTT: None, Judge.

        25                  THE COURT: Defense.


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          I                    MR. GIBBONS: If I could confer?

          2                    (Whereupon, an off-the-record discussion was

          3         held.)

          4                    MR. GIBBONS: Your Honor, number two, the defense

          5         perempt.

          6                    THE COURT: Anybody else?

          7                    MR. GIBBONS: No, your Honor.

          8                    THE DEFENDANT BALL: Thank you.

          9                    THE COURT: So we now have eight jurors; is that

         10         correct?

         11                    MS. POVMAN: Yes.

         12                    MR. GIBBONS: Yes, your Honor.

         13                    THE COURT: Jurors nine through twelve, People,

         14         challenge for cause?

         15                    MR. SJ-IORTT:      Number twelve, Mr. Akkoc.

         16                    THE COURT: Any objection?

         17                    MR. GIBBONS: No objection.

         18                    THE COURT: No objection, Mr. Ball?

         19                    THE DEFENDANT BALL: No, sir.

         20                    THE COURT: Anybody else?

         21                    MR. SHORTT: Miss Ahmed, number eleven, she

         22         obviously had difficulty understanding questions, I think

         23         Mr. Gibbon's one ouestion.

         24                    MR. GIBBONS: She said she could not express

         25         herself because of language.


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          1                  THE COURT: All right. No objection?

          2                  MR. SHORTT:     No objection.

           3                 MR. GIBBONS: No objection.

           4                 THE COURT: Is that it for the People cause?

           5                 MR. SHORTT:     Yes.

           6                 THE COURT: Defense, nine and ten for cause?

           7                 MR. GIBBONS: Nothing for cause.

           8                 THE COURT: People, perempt?

           9                 MR. SHORTT:     Miss Brown, number ten.

          10                 THE COURT: Is that it, Mr. Shortt?

          11                 MR. SHORTT:     Yes.

          12                 THE COURT: Juror nine, defense?        Perernpt.

          13                 MR. GIBBONS: Yes, number nine, your Honor.

          14                 THE COURT: People, 13 through 16?

          15                 MR. SHORTT;     None for cause.

          16                 THE COURT: Defense.

          17                 MR. GIBBONS: None for cause for me.

          18                  MR. SHORTT:    We spoke about Mr. Soorya in the

          19         beginning, but he gave you answers that he could not be

          20         fair or -- this is the mailman, some college bartender.

          21         am thinking of somebody else.

          22                  THE COURT: Defense, challenge for cause?
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23                            THE DEFENDANT BALL: 16 for cause, your Honor.

          24                  THE COURT: I will hear you.

          25                  THE DEFENDANT BALL: He said, you know, that he is
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          1         what you call tied to -- he has close ties to the police,

          2         and he won't be able to fairly pass judgment.

          3                  MR. GIBBONS: I think that the :Language that he

          4         used was all things being equal he always comes down on the

          5         side of the cops, your Honor, and I don't believe that

          6         would represent someone that would give us a fair shot.

          7                  THE COURT: 4r. Shortt?

          8                  MR. SHORTT:     I wrote specifically I won't cover

          9         it up, I won't overlook, I will hold them. Whatever

         10         equivocation he had in the beginning the defense solved for

         11         me in terms of not overlooking any negligence, he would not

         12         overlook it or cover it up.

         13                  THE COURT: All right. That application is

         14         denied. People peremptory?

         15                  MR. Sf-fORTT:   No peremptories.

         16                  THE COURT: Defense?

         17                  MR. GIBBONS: 13, 15, and 16.

         18                  THE COURT: Bring in the jury.

         19                  (Jurors enter the courtroom.)

         20                  THE COURT CLERK: Case on trial continues, all

         21         parties are present, all prospective jurors are present.

         22         Again, same instructions. If you hear your name, please

         23         remain seated. If you do not hear your name, please step

         24         outside in the hallway and wait for further instructions

         25         from the court officer.


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                             Debra Moschitto, please remain seated. Jayant

          2         Soorya, please remain seated. Tyler Ward, please remain

          3         seated. Dexter Eversley, please remain seated. Gissell

          4         Cardenas, please remain seated.

                             Everyone else, please step outside and await

          6         further instructions. Thank you for your service. Are the

          7         remaining jurors satisfactory to the People?

          B                  MR. SHORTT:     Yes.

                             THE COURT CLERK: Defense?

         10                  MR. GIBBONS: Yes.

       • ii                  THE DEFENDANT BALL: Yes, very much too.

         12                  (Jurors sworn.)

         13                  THE COURT CLERK: Thank you. Have a seat, please.

         14                  THE COURT: All right. Folks, that is it for the

         15         evening. These instructions apply both to the five men and

         16         women in the box, and the remaining panel out in the

         17         audience: Do not discuss this case amongst yourselves or

         18        with anybody else. Do not speak to the attorneys, the

         19        parties, the witnesses, anybody in connection with this

         20         case. Do not go to     the scene of the alleged incident. Do

         21        not research this case in any way. Should anybody speak to

        22          you about this case, report it to the officers immediately.

        23         We will reconvene tomorrow at 10 A.M. I thank you all for

        24         your service. Have a good evening. Officers, take charge.

        25                   (Jurors exit the courtroom.)


                                                                                    NS
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                                        Proceedings

          1                 THE COURT: All right. 10:00 tomorrow, gentlemen

          2         and Miss Povrrian. The lawyers, hang around for a little bit
          3         and let the jurors take the elevators.

          4                  (Defendants exit the courtroom.)

          5                  (Trial adjourned to January 22, 2015.)

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                                          Proceedings

          1 SUPREME COURT OF THE STATE OF NEW YORK

          2 COUNTY OF QUEENS; CRIMINAL TERM; PART K14

          3                            ---------------------x Indictment No.

          4 THE PEOPLE OF THE STATE OF NEW YORK                      2228/12

          5                  -against-

          6 ELIJAH BROOKS and RAYMOND BALL,

          7                                   Defendants.

          8                            ---------------------x

          9                       125-01 Queens Boulevard

         10                       Kew Gardens, New York

         11                       January 22, 2015

         12                  ***k***       ** * **** ******lr* * *


13                           THE COURT CLERK: Number one, case on trial,

         14         indictment 2228 of 12, People versus Raymond Ball and

         15         Elijah Brooks from the pens.

         16                 Appearances, please.

         17                 MR. SHORTT:      For the People, Assistant District

         18        Attorney Timothy Shortt.

         19                 MS. POVMAN: Linda Povrnan on behalf of Mr. Ball.

        20                  MR. GIBBONS: For Mr. Brooks, Wyatt Gibbons,

        21          125-10 Queens Boulevard, Kew Gardens.

        22                  THE COURT: Good morning to all of you.

        23                   (Defendant enters the courtroom.)

        24                  THE COURT CLERK: The defendants are produced

        25         before the Court.


                                                                                     NS
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                                        Proceedings

          1                 THE DEFENDANT BALL: Good morning, your Honor.

          2                 THE COURT: Good morning, sir.

          3                 MS. POVMAN: Can the defendant address the Court?

          4                 THE COURT; Sure.

          5                 THE DEFENDANT BALL: I would like to just ask I

          6         haven't completed my witness list. I wanted to request --

          7         I wanted to make sure that I put the EMS workers as part --

          8         put them down on the list that I look forward to using as

          9         part of the defense.

         10                  THE COURT: Sure.

         11                  THE DEFENDANT BALL: Okay.

         12                  THE COURT: Do you have their names?

         13                  THE DEFENDANT BALL: I can have them for you, your

         14         Honor, if it's okay. I don't have them readily available.

         15         I wanted to make sure I put in the request so you know

         16         ahead of time before. And there is one other thing that I

         17         wanted to ask you in respect to the discovery, I would like

         18         for you to not allow the District Attorney to bring,

         19         introduce any discovery that was never a part of the

         20         disclosure, and any discovery that was not turned over to

         21         the defense, that you don't forget the sanctions that are

         22         required under the failure of the District Attorney.

         23                  THE COURT: Well, I mean, if we get to a point

         24         where you are more specific, then I will entertain your

         25         application, listen to what Mr. Shortt has to say in


                                                                                   NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 394 of 907 PageID #: 757


                                                                              248
                                           Proceedings

            1       response and make a ruling, but that kind of broad brush

            2       request, I'm not going to entertain.

            3.               THE DEFENDANT BALL: Well, I mean we have a list

            4       of the disclosure already.

            5                THE COURT: Right.

            6                THE DEFENDANT BALL: So I wanted to make sure the

            7       District Attorney doesn't try to introduce into evidence

            8       anything that's --                         -

            9                THE COURT: When and if that happens, you will

           10       make an application.

       I   11                THE DEFENDANT BALL: Yes, sir. Thank you.

           12                THE COURT: And I will rule on it. Are we ready

           13       for the jury?
           14                THE DEFENDANT BALL: Yes, sir.

           15                MR. GIBBONS: Yes, Judge.

           16                MR. SHORTT:      Yes.

           17                THE COURT: You are advised that there are

           18       there were twelve left.

           19                THE COURT CLERK: We have all twelve.

           20                THE COURT: All right. Good. Bring them in.

           21                (Jurors enter the courtroom)

           22               THE COURT CLERK: When you hear your name called,

           23       step forward and take your belongings and take the seat

           24       indicated by the court officer.

           25               Seat number one, Mohamed, M-O-E{-A-M--A--D. Last


                                                                                    NS
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          1         name, A-D-I-B-Z-A-D--E-H. Seat number two, first name,

          2         W-O-J-C-I-E-C-H, last name, 1-J-N-A--T-0-W-I-C-Z, seat

          3         number two. Seat three, T-O--M-I-C-Q-U-A, Smith, S-M-I-T--H.

          4         Seat four, L-O--M--A-S-H, S-O-M-W-A-R-U, seat four. Seat

          5         five, Hary, I-I-A-R-Y, D-O-C-T-E-U-R, seat five. Seat six,

          6         Ngaryung Chang, N-G-A-R-Y-U-N-G, last name, C-H-E-N-G.

                    Seat seven, Vivek Surve, first name, V-I-V--E-K, last name,

       '8           S-U-R-V-E, seat seven. Seat eight, Maksim Ivanchenko,

                    M-A-K-S-I-1, last name, I-V-A-N-C-H-E-N-K-0, seat eight.

         10         Seat nine, Brandon Palmieri, B-R--A-N-D-0-N,

         11         P-A-L-M-I-E-R-I, seat nine. Seat ten, Karen Cho, C-H-O,

         12 -       seat ten. Seat eleven James, C-I-A-C-C-I--A. Seat number

         13         twelve, Alexander Apter, A-P-T--R.

         14                  THE COURT: Good morning, ladies and gentlemen.

         15         Once again I will begin by asking a series of questions to

         16         all twelve of you at once. You are the sole judge of the

         17         facts, I am the sole judge of the law, and you must apply

         18         the law as I give it to you whether you agree with me or

                    not. Can all of you promise to do that?

        20                  THE JURORS: Yes.

        21                  THE COURT Very good. The defendants are

        22         presumed innocent. They are required to prove nothing.

        23         The burden of proof is on the District Attorney. He must

        24         prove beyond a reasonable doubt that the defendants

        25         committed the crimes they are charged with


                                                                                    NS
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                                                                              250
                                        Proceedings

          1                  Can all of you promise to hold the District

2                   Attorney to that burden of proof beyond a reasonable doubt?

          3                  THE JURORS: Yes.

          4                  THE COURT: I said beyond a reasonable doubt, I

          5         did not say beyond all doubt. That is virtually

          6         impossible. Can all of you promise me not to hOld the

          -7        District Attorney to a higher burden than beyond a

          8         reasonable doubt?

          9                 THE JURORS: Yes.

        10                  THE COURT: And the flip side of that is can all

        11         of you promise not to hold the District Attorney to a

        12         lesser burden than beyond a reasonable doubt?

        13                  THE JURORS: Yes.

        14                  THE COURT: Once again, the defendants have a

        15         constitutional right to choose not to testify on their own

        16         behalf. I don't know what they are going to do, but if

        17         they choose not to testify in this case, the law requires

        18         that you not draw any adverse inference from that decision.

        19         Can all of you promise to obey that law?

        20                  THE JURORS: Yes,

        21                  THE COURT: Very good. Finally can all of you

        22         promise to keep an open mind, not to decide this case until

        23         you have heard all of the testimony, all of the evidence,

        24         all the arguments of the attorneys and my final

        25         instructions to you on the law?      Can all of you do that?


                                                                                    NS
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                                         Proceedings

          1                    THE JURORS: Yes.

          2                    THE COURT: Very good. We will begin with --

          3         again if I mispronounce names, call me on it, please.

          4                    Mr. Adfbzadeh, where do you live, sir?

          5                    JUROR: Rego Park.

          6                    THE COURT: How far did you go in school?

          7                    JUROR: College..

          8                    THE COURT: What do you do for a living?

          9                    JUROR: Salesman.

         10                    THE COURT: Single, married widowed, divorced?

         11                    JUROR: Married.

         12                    THE COURT: What does your wife do?

         13                    JUROR: She is a department manager in a logistic

         14         company.

         15                    THE COURT: kids?

         16                    JUROR: Yes, two.

17                             THE COURT: Big or little?

         18                    JUROR: Big, one is in construction, and one

         19         social worker in Jersey.

         20                    THE COURT: Have you ever served as a juror

         21         before?

         22                    JUROR: No, sir.

         23                    THE COURT: Have you or a loved one ever been

         24         convicted of a crime?

         25                    JUROR: Yes.


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                                                                              252
                                         Proceedings

          1                    THE COURT: Tell us about that.

          2                    JUROR: My son was convicted of possession.

          3                    THE COURT: Anything about that experience that

          4         would cause you not to give both sides a fair shake in this

                    case?

          6                    JUROR: I don't think so. I should be okay.

          7                    THE COURT: Good. All right. Have you or a loved

          B         one ever been the victim of a crime?

          9                    JUROR: Yes.

         10                    THE COURT: Tell us about that.

         11                    JUROR: Myself I was hold up many years ago at

         12         gunpoint and my daughter at her ex-job, she was held up at

         13         her job.

         14                    THE COURT: Can you put those aside -- I mean it's

         15         fair to say that whatever the testimony is in this case

         16         it's got nothing to do with those lousy things that

         17         happened to you?

         lB                    JUROR: Yes.

         19                    THE COURT: Is that a fair statement?

         20                    JUROR: Yes.

         21                    THE COURT: Can you put those experiences aside

         22         and give both sides a fair shake?

         23                    JUROR: I would say almost 100 percent.

         24                    THE COURT: Well, all right. Applying ray theory

         25         that nothing is perfect in life, I will take that. Thank
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 399 of 907 PageID #: 762



                                                                             253
                                        Proceedings

         1         you. Do you have friends and family in law enforcement,

         2         sir?

         3                  JUROR: Yes, my wife's cousin is a lieutenant in

         4         New York City.

         5                  THE COURT: You know the next question, can you

6                  evaluate the testimony of the couple of cops that will

         7         testify in this case fairly?

         8                  JUROR: Yes.

         9                 THE COURT: Good. You can be fair, Sir?

        10                  JUROR: I think so.

        11                 THE COURT: Thank you. Mr. Ijnatowicz, where do

        12         you live?

        13                  JUROR: Maspeth.

        14                 THE COURT: How far did you go in school?

       15                  JUROR: College now.

       16                  THE COURT: Are you a full-time student?

       17                  JUROR: Part time.

18                         THE COURT: What do you do for a living?

       19                  JUROR: Salesman.

       20                  THE COURT: Single, married, widowed, divorced?

       21                  JUROR: Married, she is a student.

       22                  THE COURT: Full-time?

       23                  JUROR: Yes.

       24                  THE COURT: Kids?

       25                  JUROR: No.


                                                                                   NS
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                                         Proceedings

          1                  THE COURT: Ever been a juror before?

          2                  JUROR: No, first time.

                             THE COURT: Have you or a loved one ever been

          4         convicted of a crime?

5                            JUROR: No.

          6                  THE COURT: Victim of a crime?

          7                  JUROR: Yes.

          8                  THE COURT: Tell us about that.

          9                  JUROR: My car was stolen, and my garage was broken

         10         into sometime ago.

         11                  THE COURT: Sounds like two cases that didn't get

         12         solved; is that right? Did they catch anybody?

         13                  JUROR: No, I don't think so, no.

         14                  THE COURT: Anything about those experiences that

         15         would cause you not to be a fair juror in this case?

         16                  JUROR: No, I will do my best.

         17                  THE COURT: Do you have friends or family in law

         18         enforcement?

         19                  JUROR: No, not really.

         20                  THE COURT: Can you be fair?

         21                  JUROR: Yes.

         22                  THE COURT: Good. Thank you very much. Miss

         23         Smith, where do you live?

         24                  JUROR: Far Rockaway.

         25                  THE COURT; How far did you go in school?


                                                                                      MS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 401 of 907 PageID #: 764


                                                                             255
                                        Proceedings

           1                JUROR: High school.

           2                THE COURT: What do you do for a living?

           3                JUROR: Medical assistant.

           4                THE COURT: Single, married, widowed, divorced?

           5                JUROR: Single.

           6                THE COURT: Ever served as a juror before?

           7                JUROR: No.

           8                THE COURT: Have you or a loved one ever been

           9       convicted of a crime.

        10                  JUROR: Yes, I don't know the details, but I have

        11         two brothers that were incarcerated and two cousins

        12         incarcerated, and currently my father is incarcerated.

        13                 THE COURT: Anything about those facts that would

        14         cause you not to be a fair juror in this case?

       15                  JUROR: Not really.

        16                 THE COURT: Have you or a loved one ever been the

       17         victim of a crime?

       18                  JUROR: Yes.

19                         THE COURT: Tell us about that.

       20                  JUROR: My apartment has been robbed twice.

       2   1L              THE COURT: Did they catch anybody?

       22                  JUROR: No.

       23                  THE COURT: Anything about that that would cause

       24         you not to be fair in this case?

       25                  JUROR: I would say yes.


                                                                                   NS
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                                       Proceedings

         1                 THE COURT: What's that?

         2                  JUROR   I felt very violated by that.

         3                 THE COURT: As you should have. Certainly that's

         4         right. The question is whether or not you can put that

         5         aside and evaluate the facts in this case, the witnesses in

         6        this case --

         7                 JUROR: I can evaluate the facts of the case, yes.

         8                 THE COURT: That's what we need. I don't expect
         9
                  anybody to forget things that happened to them, bad things

       10         that happened to them, relationships that you have with

       11         people, but part of judging the facts, taking the law as I

       12         give it to you is to say all right, I feel this way, but

       13         the judge says this, I will put this aside, and follow the

       14         law. Can you do that and be fair?

       15                  JUROR: I guess I can.

       16                  THE COURT: All right, good. Thank you, Miss

       17         Smith.

       18                  Mr. Somwaru, where do you live?

       19                  JUROR: Jamaica.

       20                  THE COURT: How far did you go in school?

       21                  JUROR: College.

       22                  THE COURT: What do you do for a living?

       23                  JUROR: Electrical engineer.

       24                  THE COURT: Single, married, widowed, divorced?

       25                  JUROR: Married, she is a homemaker.


                                                                                  NS
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                                        Proceedings

            I                THE COURT: Do you have kids?

         2                   JUROR: Three kids, big ones. Two in college and

         3         one graduated as an accountant.

      .4                     THE COURT: Have you ever served as a juror

         5         before?

         6                   JUROR: Multiple times.

         7                   THE COURT: Civil, criminal?

       •8                    JUROR: Two civil, one criminal.

         9                   THE COURT: Anything about those experiences that

        10         would cause you not to be fair in this case?

        11                   JUROR: Absolutely riot.

        12                   THE COURT: Very good. Have you or a loved one

        13         ever been convicted of a crime?

        14                   JUROR: No, sir.

        15                   THE COURT: Have you or a loved one ever been the

       16          victim of a crime?

        17                   JUROR: Yes.

       18                    THE COURT: Tell us about that.

       19                    JUROR: My car was stolen once.

       20                    THE COURT: Anything about that experience that

       21         would cause you not to be a fair juror in this case?

       22                    JUROR: No, sir.

       23                    THE COURT: Do you have friends or family in law

       24         enforcement?

       25                    JUROR: No sir.


                                                                                   NS
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                                         Proceedings

         1                  THE COURT: Can you be fair?

         2                  JUROR: Absolutely.

         3                  THE COURT: Mr. Docteur, where do you live?

         4                  JUROR: Cambria Heights.

         5                  THE COURT: How far did you go in school?

         6                  JUROR: College.

         7                  THE COURT: What do you do for a living?

       .8                   JUROR: Service coordinator.

                            THE COURT: Are you married?

        10                  JUROR: Yes.

                            THE COURT: What does your wife do?

        12                  JUROR: Technologist.

        13                  THE COURT: Kids?

        14                  JUROR: The big one is in college, the little one

        15         is in high school.

        16                  THE COURT: Ever been a juror before?

        17                  JUROR: No.

        18                  THE COURT: Have you or a loved one ever been

        19         convicted of a crime?

        20                  JUROR: No.

        21                  THE COURT: Have you or a loved one ever been the

        22         victim of a crime?

        23                  JUROR: Yes, my niece's apartment was broken into

        24         and vandalized.

        25                  THE COURT: Anything about that experience that


                                                                                   NS
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                                                                             259
                                         Proceedings

         1         would cause you not to be able to evaluate the facts in

         2         this case fairly?

         3                  JUROR: No.

4                           THE COURT: Good. Friends and family in law

         5         enforcement?

         6                  JUROR: Ho.

         •1                 THE COURT: Can you be fair?

         8                  JUROR: Yes.

         9                  THE COURT: Thank you. Miss Chang, where do you

        10         live?

        11                  JUROR: Rego Park.

        12                  THE COURT: How far did you go in school?

        13                  JUROR: College.

        14                  THE COURT: What do you do for a living?

        15                  JUROR: Stay home mom.

        16                 THE COURT: What does your husband do?

        17                  JUROR: Software programmer.

        18                 THE COURT: If you are staying at home, I am

        19         assuming you have kids?

       20                  JUROR: One just turned one and the older one is

       21         three.

       22                  THE COURT: Have you ever been a juror before?

       23                  JUROR: No.

       24                  THE COURT: Have you or,a loved one ever been

       25         convicted of a crime?


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Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 406 of 907 PageID #: 769


                                                                             260
                                         Proceedings

         1                  JUROR: No.

         2                  THE COURT: Victim of a crime?

         3                  JUROR: Yes. My family house -- I mean my mom

         4         house was robbed like two years ago.

         5                  THE COURT: Anything about that experience that

         6         would cause you not to be able to evaluate the facts in

         7         this case fairly?

         8                  JUROR: I try my best.

         9                  THE COURT: Friends or family in law enforcement?

        10                  JUROR: I have a    couple of friends who are police

        11         officers in New York.

        12                  THE COURT: You know what the next question is,

        13         can you evaluate the testimony of the cops that testify in

        14         this case fairly?

        15                  JUROR: Yes, I will.

        16                  THE COURT: Can you be fair?

        17                  JUROR: Yes.

        18                 THE COURT      Good. Thank you very much. Mr.

        19         Surve, where do you live?

       20                  JUROR: Woodside.

       21                  THE COURT: How far     did you go in school?

       22                  JUROR: College.

       23                  THE COURT: What do you do for a living?

       24                  JUROR: Tutor and a student mentor at City

       25         University of New York.


                                                                                   NS
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                                                                             261
                                         Proceedings

         1                  THE COURT: Are you married?

         2                  JUROR: Single.

         3                  THE COURT: Ever serve as a juror before?

         4                  JUROR: No.

         5                  THE COURT: Have you or a loved one ever been

         6         convicted of a crime?

         7                  JUROR: No.

         8                  THE COURT: Have you or a loved one ever been the

         9         victim of a crime?

        10                  JUROR: Yes.

        11                  THE COURT: Tell us about that.

        12                  JUROR: Years ago our house was broken into.

        13                  THE COURT: Can you put that aside and evaluate

        14         the facts in this case fairly?

        15                  JUROR: Yes.

16                          THE COURT: Good. Do you have friends or family

        1)         in law enforcement?

        18                  JUROR: I know a neighbor who is in law

        19         enforcement.

       20                  THE COURT: Same question, can you evaluate the

21                 testimony of the police officers in this case fairly?

       22                  JUROR: Yes.

       23                  THE COURT: Can you be fair?

       24                  JUROR: Yes.

       25                  THE COURT: Good. Thank you very much.


                                                                                   NS
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                                                                             262
                                         Proceedings

          1                 Mr. Ivanchenko, where do you live?

          2                 JUROR: Rockaway peach.

          3                 THE COURT: How far did you go in school?

          4                 JUROR: College.

          5                 THE COURT: What do you do for a living?

          6                 JUROR: United States Postal Service mail handler.

                            THE COURT: Are you married?

         8                  JUROR: Married.

          9                 THE COURT: What does your wife do?

        10                  JUROR: She is a full time student.

        11                  THE COURT: Do you have kids?

        12                  JUROR: Yes.

        J-)                 THE COURT: They are not old enough to work are

        14         they?

        15                  JUROR: No, little.

        16                  THE COURT: Have you ever served as a juror

        17        before?

        18                  JUROR: I wasn't picked.

        19                  THE COURT: Have you or a loved one ever been

       20         convicted of a crime?

       21                   JUROR: No.

       22                   THE COURT: Victim of a crime?

       23                   JUROR: No.

       24                   THE COURT: Do you have friends or family in law

       25         enforcement?


                                                                                   NS
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                                                                             263
                                         Proceedings

         1                  JUROR: No.

         2                  THE COURT: Can you be fair?

         3                  JUROR: Yes.

         4                  THE COURT: Thank you, sir. Mr. Palmieri, where

         5         do you live?

         6                  JUROR: Forest Hills.

         7                  THE COURT: How far did you go in school?

         8                  JUROR: I'm a junior in college.

         9                  THE COURT: Do you work as well?

        10                  JUROR: No.

        11                  THE COURT: Single, married, widowed, divorced?

        12                  JUROR: Single.

        13                  THE COURT: You ever serve as a juror before?

        14                  JUROR: No.

        15                  THE COURT: Convicted of a crime?

        16                  JUROR: No.

        17                  THE COURT: Victim?

        18                  JUROR: Nope.

        19                  THE COURT: Do you have friends or family in law

        20         enforcement?

        21                  JUROR: My dad is a deputy lieutenant.

        22                  THE COURT: Same question to you, can you evaluate

        23         the cop testimony in this case fairly?

        24                  JUROR: Sure.

       25                   THE COURT: Can you be fair?


                                                                                   NS
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                                                                             264
                                         Proceedings

         1                  JUROR: Of course.

         2                  THE COURT: Thank you. Miss Cho, where do you

         3         live?

         4                  JUROR: Bayside.

         5                  THE COURT: How far did you go in school?

         6                  JUROR: College.

         7                  THE COURT: What do you do for a living?

         8                  JUROR: Designer.

         9                  THE COURT: Single, married, widowed, divorced?

10                          JUROR: Single.

        11                  THE COURT: Ever served as a juror before?

12                          JUROR: No.

        13                  THE COURT: You or a loved one ever been convicted

        14         of a crime?

15                          JUROR: No.

        16                  THE COURT: Victim of a crime?

        17                  JUROR: Yes, multiple hold ups and robbery.

        18                  THE COURT: Multiple hold ups?

        19                  JUROR: well, not hold ups, sorry, like robbery?

        20         Like robbed the store, no guns, sorry.

        21                  THE COURT: Can you put those incidents aside and

22                 evaluate the facts in this case fairly?

        23                  JUROR: Yes.

        24                  THE COURT: Very good. Do you have friends or
25                 family in law enforcement?


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         1                  JUROR: No.
         2                  THE COURT: Can you be fair?
         3                  JUROR: Yes.
         4                  THE COURT: Thank you. Mr. Ciaccia, where do you

         5         live?

         6                  JUROR: Rockaway.

         7                  THE COURT: How far did you go in school?

         8                  JUROR: High school.

         9                  THE COURT: What do you do for a living?
        10                  JUROR: Electrician.

        U                   THE COURT: Are you married?

        12                  JUROR: Yes, my wife is a stay home mom.

        13                  THE COURT: Do you have kids?

        14                  JUROR: Yes, little ones.

        15                  THE COURT: Ever been a juror before?

        16                  JUROR: No, sir.

        17                  THE COURT: Have you or a loved one ever been

        18         convicted of a crime?

        19                  JUROR: No.

        20                  THE COURT: Victim of a crime?

        21                  JUROR: Yes, sir.

        22                  THE COURT: Tell us about that.
        23                  JUROR: Our home was broken into.

       24                   THE COURT: Same question, can you put that

       25          incident aside and evaluate the facts in this case fairly?


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         1                  JUROR: I will do my best, yes. Yes, sir.

         2                  THE COURT: Yes?

         3                  JUROR: Yes.

         4                  THE COURT: All right. Do you have friends or

         5         family in law enforcement?

         6                  JUROR: My dad is a retired cop. My uncle is a

         7         retired court officer.

         8                  THE COURT: In this building?

         9                  JUROR: Federal, Brooklyn.

        10                  THE COURT: Can you evaluate the testimony of the

        11         police officers in this case fairly?

        12                  JUROR: Yes.

        13                  THE COURT: Can you be fair?

14                          JUROR: Yes.

       15                  THE COURT: Mr. Apter, where do you live?

        16                 JUROR: Forest Hills.

       17                  THE COURT: How far did you go in school?

       18                  JUROR: College.

       19                  THE COURT: What do you for a living?

       20                  JUROR: Analyst for a bank.

       21                  THE COURT: Are you married?

       22                  JUROR: Divorced.

       23                  THE COURT: Are you in contact with your ex at

       24         all?

       25                  JUROR: Yes.


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         1                   THE COURT: what does she do?

         2                   JUROR: Paralegal.

         3                   THE COURT: Does she work in a law firm?

         4                   JUROR: Yes, she currently does actually.

         5                   THE COURT: Do you know if they practice criminal

         6         law at all?

         7                   JUROR: I think she is more into like patents.

         8                   THE COURT: Do you have kids?

         9                   JUROR: Two.

        10                   THE COURT: Little?

        11                   JUROR: Elementary school.

        12                   THE COURT: Have you ever served as a juror

        13         before?

14                           JUROR: No.

15                           THE COURT: Have you or a loved one ever been

16                 convicted of a crime?

        17                   JUROR: No.

        18                   THE COURT: Have you or a loved one ever been the

19                 victim of a crime?

20                           JUROR: Yes, I was mugged on the street once.

21                           THE COURT: Anything about that incident that

        22         would cause you not to be fair in this case?

23                           JUROR: No.

       24                    THE COURT: Friends and family in law enforcement?

       25                    JUROR: No.


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          1                   THE COURT: Can you be fair?

         2                    JUROR: Yes.

          3                   THE COURT: Mr. Shortt, I will give you 15.

          4                   MR. SEIORTT:     Thank you.    Good morning,

         5         everybody. This is day three, you have heard all my same

          6        stories and jokes so I will try to be a little fast.

         7                    Mr. Adibzadeh, number one, I'm going to call an

         8         eyewitness to this case, what kind of quality do you want

         9         to hear?

        10                    JUROR: Authenticity to be convincing be able to

        11         give the information correctly based on the evidence.

        12                    MR. SHORTT What are some of the things that you

        13         would consider to be sure they are being accurate?
        14                    JUROR: I guess body movement, facials, or you

        1.5        know, the way they represent themselves and everything

        16         else.

        17                    MR. SHORTT: Miss Smith, what are you going to be

        18         looking for?

        19                    JUROR: More or less body language.

        20                    MR. SHORTT:      Now, this is the first time you are

        21         speaking in a roomful of people like this. Do you

        22         understand a witness may be nervous?

       23                     JUROR: Yes.

       24                     MR. SHORTT:      You can tell I get nervous even when

       25          I speak in front of a group. Are you only to look at that


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         1         one factor?

         2                  JUROR: No, also the evidence that's given.

         3                  THE DEFENDANT BALL: I apologize. Can you speak

         4         up?

         5                  THE COURT: Yes, please.

         6                  JUROR: Basically the evidence that's given,

         7         whether they coincide with what the witnesses say.

         8                  MR. SHORTT:      Okay. Mr. Somwaru, you have been on

         9         a jury before?

        10                  JUROR: Yes.

        11                  MR. SHORTT:      How many times before?

        12                  JUROR: Three.

        13                  MR. SHORTT:      Were they criminal cases?

        14                  JUROR: One criminal case.

        15                  MR. SUORTT:      Without telling me the verdict, did

        16         you reach a verdict?

4       17                  JUROR: Yes.

        18                  MR. SHORTT: Without telling me the verdict, could

        19         you tell me a little about the case that you sat on?

        20                  JUROR: It was an accident, and the car operator,

        21         the driver had a motorcycle, and the motorcycle was taking

        22         him up with the law who has the right ofway.

        23                  MR. SHORTT: Anything about that trial that gave

       24          you any feelings towards the criminal justice system.

       25                   JUROR: Absolutely not.


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         1                  MR. SHORTT: Did you feel it was a valuable

         2         experience?

         3                  JUROR: Yes.

         4                  MR. SHORTT:      You were also on a civil trial?

         5                  JUROR: Yes.

         6                  MR. SHORTT: Kind of trial was that?

         7                  JUROR: It was a minor infraction where a student

         8         had a fall, and they were claiming negligence.

         9                  MR. SHORTT:      Do you understand the judge will

        10         give you different standards in this trial than that one?

        11                  JUROR: Yes.

        12                  MR. SHORTT:      Do you promise to uphold those?

        13                  JUROR: Yes.

        14                  MR. SHORTT:      Thank you. Mr. Docteur, do you

        15         understand during this trial I will call police officers to

        16         the witness stand, and your niece was burglarized?

        17                  JUROR: Yes.

        18                  MR. SHORTT: Did she call the police?

        19                  JUROR: Yes.

        20                  MR. SHORTT: Do you know did the police respond?

        21                  JUROR: I know the police came and get the facts,

        22         whatever, get the name and check make a quick check in the

        23         house to see what was stolen.

        24                  MR. SHORTT: Did they follow up, did she ever hear

        25         anything from them after that?


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          1                 JUROR: I think so because the credit card also

         2         was stolen so the police make sure they call the credit

          3        card company but they never found.

         4                  MR. SI-IORTT: Do you understand the police officers

         5         that dealt with her are different than here?

          6                 JUROR: Yes.

         7                  MR. SHORTT: Do you promise to give the officers a

         8         fair shot despite the fact that the officers in that case

         9         were unable to find the perpetrator of that crime?

        10                  JUROR; Yes, definitely.

        11                  MR. SHORTT: Miss Chang, what are some things that

        12         you would look for in terms of an eyewitness?

        13                  JUROR: Details and also accuracy.

        14                  MR. SI-{ORTT: What would help you make you believe

        15         someone was being accurate?

        16                  JUROR: First, there shouldn't be any

        17         contradiction, and then for the detail part like the

        18         appearance and also like the sequence of the thing.

        19                  MR. SHORTT: Let's talk about that. You said

        20         there shouldn't be any discrepancy.

        21                  JUROR: It depends because sometimes when you are

        22         calm -- I mean when you are the victim or something happen

        23         you get nervous and then maybe they miss something, I'm not

        24         sure about that.

        25                  MR. SHORTT: Okay. Mr. Surve, how do you feel


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         1         about that, do you think a witness shouldn't have any

         2         discrepancies in their testimony?

                            JUROR: Well, it's possible that they could be off

         4         or may not remember something exactly as it happened.

                            MR. SHORTT: Would you consider that in

         6         determining whether or not they are being accurate in the

                   testimony?

         B                  JUROR: I mean everything should be weighed with a

         9         lot of accuracy. Everything should be taken into

        10         consideration.

        11                  MR. SHORTT:      Would you weigh say a small

        12         difference versus a big difference?

        13                  JUROR: It is possible that they could maybe have

        14         those differences when they describe what happened, but it

        15         doesn't necessarily mean that it's not what they saw at

        16         that time and what they remembered.

17                          MR. SHORTT:      Okay. You were all here on day one

                   of the trial when the judge gave some initial instructions

        19         and gave you some initial ideas about our laws in our

        20         state, we all remember that, right?       Mr. Surve, do you

21                 think if I asked everybody here to take out pen and paper

        22         and write down word for word everything the judge said, do

        23         you think I would get twelve different versions of the

        24         exact same thing?

        25                  JUROR: I don't believe so but it's possible
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         1                  MR. S!-IORTT:    Is it like lying?

         2                  JUROR: No.

         3                  MR. SEIORTT:     Twelve different people with twelve

         4         different minds, right?

         5                  THE COURT: I don't think I could do it.

         6                  MR. SHORTT:      And you have the book.

         7                  THE COURT: If I had the book I could do it.

         8                  MR. SFIORTT:     Mr. Ijnatowicz, how do you feel

         9         about that, if I gave all twelve people here a pen and

        10         paper asked them to rewrite the instructions of the judge

        11         from day one, do you think we would have the same result?

        12                  JUROR: Not the same but maybe similar not exactly

        13         the same because everyone do things a     little differently.
14                          MR. SHORTT:      Mr. Adibzadeh, if six months from

        15         now I recall all of you back to the same courtroom, relax,

        16         this is only a hypothetical, ladies and gentlemen, if I

        17         call you back to the same courtroom to sit in the same

        18         seats, and I will ask you to do it again, write down the

        19         same thing that the judge told you on day one of the trial,

        20         do you think you would be able to do it?

        21                  JUROR: 1 1 m not sure. I might forget.

        22                  MR. SHORTT:      It is okay. it happened two or

        23         three days ago but does it change the fact that you -were

        24         here in the courtroom?

        25                  JUROR: Yes, I remember the environment slightly


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          1        and who was in the room.

         2                   MR. SHORTT:      You may remember Judge Schwartz but

          3        maybe forget some of the things he said, right?

          4                  JUROR: Yes.

          5                  MR. SHORTT:      So there are big and little details.

          6                  JUROR: Yes.

         7                   MR. SHORTT:      If you were picked as a juror, would

         8         you look at big differences versus little differences?

          9                  JUROR: Bigger difference is better, people

        10         forget.

        11                   MR. SHORTT: I am telling you to consider those, I

        12         ask you not to throw up your hands and say we can't figure

        13         this out. Would you promise to weigh the differences and

        14         try to work it out and resolve them?

        15                   JUROR: Yes.

        16                   MR. SFORTT: Sir, Would you make the same promise?

        17                   JUROR: Yes.

        18                   MR. SHORTT:      Would you agree if someone is asked

        19         to come back six months --

        20                   JUROR: People live busy lives, it would be

        21         difficult to recall everything exactly. You might get like

        22         the main idea of what the judge said, but fine details you

        23         lose them over time.

        24                   MR. SHORPT      Okay. Miss Cho, how do you feel?

        25                   JUROR: 1 think it's details could be lost, and


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             1     things that my might not be true could be added.

        '2                   MR. SHORTT:      Okay. The judge will instruct you

         3         about something called acting in concert. That's for the

         4         judge to talk about. Mr. Apter, you work for the post

         5         office?

6                            JUROR: Yes.

         7                   MR. SHORTT:      what do you do at the post office?

         8                   JUROR: Handle the mail.

         9                   MR. SHORTT:      Are you a letter carrier?

        10                   JUROR: No, I work in the distribution center

        11         where they process the sale sequence for the letter

        12         carriers and post offices and facilities.

        13                   MR. SHORTT: So you get the mail from one truck and

        14         send it to out for the letter carriers?

        15                   JUROR: Yes, mostly the machines do it, processing

        16         the mail.

        17                   MR. SI-IORTT: You are all working together on that?

        18                   JUROR: Yes.

        19                   MR. SHORTT: If you don't do your job, the mail

20                 does not get through, right?

21                           JUROR: Yes.

        22                   MR. SHORTT: If the letter carrier does not do

        23         their part, no mail?

        24                   JUROR: Exactly.

       25                    MR. SHORTT: Everybody working under the same goal


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             1     to get the mail where it's going?

          2                  JUROR: Yes.

          3                  MR. SHORTT: Can you appreciate the law recognizes

          4        that people can work together in a crime, not just to get

          5        the mail where it's supposed to go, can you appreciate

          6        that?

          7                  JUROR: Yes.

          8                  MR. SHORTT:        Can you appreciate just as you are

          9        part of getting the mail to the mailbox even though you

        10         don't put it in the mailbox, the law recognizes that you

        11         don't have to commit every part of the crime in order to be

        12         guilty?

        13             -     JUROR: Excuse me?

        14                   MR. SHORTT: You don't have to do every part of

        15         the crime to be guilty if you are playing an active role?

        16                   JUROR: Probably.

        17                   MR. Sf-IORTT:      We are not talking about a bank

        18         robbery, but the get away driver is just as guilty as the

        19         guy that goes in with the gun?

        20                   THE COURT: That would require him understanding

        21         what the law of accomplice is, and I'm going to do that.

        22                   MR. SFfORTT:       Okay.

        23                   THE COURT: Let's not dance on this.

        24                   MR. SHORTT: I will move on.

        25                   Mr. Apter, do you understand that as the


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         1
         -I-       defendants sit here today, they are presumed innocent?

         2                  JUROR: That's correct.

         3                  MR. SHORTT:      If I were not to call any witnesses,

         4         what would your verdict be?

                            JUROR: Not guilty.

         6                  MR. SHORTT: On the other hand when I      prove my
         7         case to you beyond a reasonable doubt when I bring

         8         witnesses here and you believe them, will you have any

         9         hesitation to remove that presumption of innocence and find

        10         them guilty?

        ii                  JUROR: If it's proven beyond a reasonable doubt

        12         to me, yes.

        13                  MR. SHORTT:      would you consider when you are

        14         corning up with the verdict you heard me say in the first

        15         round if you are picked as a juror coming up with a verdict

        16         is basically the facts as you find them plus the law the

        17         judge gives you and that equals the verdict?

        18                  JUROR: Yes.

        19                  MR. SHORTT: Can you promise me to exclude things

        20         like sympathy?

        21                  JUROR: Yes, I can put that aside.

        22                  MR. SHORTT: Do you think sympathy has any role in

        23         deciding what happened on a certain night in Queens?

        24                  JUROR: It shouldn't be a part of it, no.

        25                  MR. SHORTT:      Mr. Ciaccia, can you exclude


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          1        sympathy for either of the defendants or the victim in

          2        coming to a decision?

          3                 JUROR: Absolutely.

          4                 MR. SEIORTT: Ladies and gentlemen, you know that

          5        Mr. Ball decided to represent himself. Anybody here just

          6        based on that has a problem with that, Miss Cho?

          7                 JUROR: It's not a problem, but I think I will not

                   be able to put sympathy aside. I don't think I would be

          9        fair.

                            MR. SHORTT:      Anybody else that has that feeling?

        11         You think you might be sympathetic to Mr. Ball?

        12                  JUROR: Not really sympathetic. In my opinion

        13         personally he has a right to defend himself. Everyone has

        14         that right but to me personally I feel more or less sorry

        15         because he doesn't have really that much advice with the

        16         law personally. That's me.

        17                  MR. SHORrT:      Okay. So we have other trials,

        18         maybe you would be better on a case only lawyers presenting

        19         the evidence.

        20                  JUROR: Yes.

        21                  MR. SHORTT:      Okay. Understandable. Yes, sir?

        22                  JUROR: I just feel it looks a little better that

        23         he decided to do that, I don't know if it's good or bad,

        24         but it's just in my opinion.

        25                  MR. SHORTT:      What do you mean by that, it looks


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          1         better, what -- I'm not following.

          2                    JUROR: I don't know, he is trying to prove his

          3         own case.

          £1                   MR. SHORTT:      Okay. I appreciate that. Anybody

          5         else have a strong feeling one way or the other?

          6                    JUROR: Same thing. I think he is at a

          7         disadvantage at this point because he is not represented by

          8         proper advice, no insult to you, sir, but it should be

          9         lawyers.

         10                    MR. SHORTT:      Do you think you would .be able to

         11        put that aside?

         12                    JUROR: It would be tough. I have been listening

         13         for the past two or three days. I feel it's tough but I

        14         feel he needs to be -- even though he might not be guilty

        15         or guilty but he has to have a proper lawyer to represent

        16         him because he is not coming across properly.

        17                     MR. SHORTT: Okay. Anyone else. Thank you. As I

El
        18         said, ladies and gentlemen, this is not like TV.

        19                     Mr. Ijnatowicz, do you watch Law and Order, any

        20         crime shows?

        21                     JUROR: Not so much.

        22                     MR. SHORTT: You have seen Court TV, things like

23                 that?

        24                     JUROR: Yes.

        25                     MR, SHORTT: Do you understand the witnesses are


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          1         not paid actors on a script?

          2                   JUROR: Yes.

          3                   MR. SHORTT: Do you understand that the witnesses

          4         I will call are not robots, they may have lapses in memory,

          5         can you promise to try to resolve the differences?

          6                   JUROR: Yes.

                              MR. SHORTT: Thank you, Judge..

          8                   THE COURT: I want to ask you a couple of
am
9                   questions, to you, sir. If the People prove their case

         10         beyond a reasonable doubt, will you have any hesitancy to

         11         convict because the defendant is representing himself?

         12                   JUROR: Not really, no, as long as the facts is
         1)         there, and the proof is there.

         14                   THE COURT: And if fits with the law as I give it

         15         to you?

         16                   JUROR: Right.

         17                   THE COURT: Will you have any hesitancy to vote

         18         guilty in the case?

         19                   JUROR: No.

         20                   THE COURT: Anybody who feels differently?        You

         21         expressed some concern.

         22                   JUROR: It's a combination of things, not just one

         23         thing.

         24                   THE COURT: Well, the issue is if the People prove

         25         their case beyond a reasonable doubt, and you apply the law


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         1         as I give it to you, will the fact that he is representing

         2         himself cause you to hesitate to convict?

         3                  JUROR: No, the answer is no.

         4                  THE COURT: Anybody who feels differently?

         5                  JUROR: I think I said that I would be unfair,

         6         that I would feel sympathy.

         7                  THE COURT: Do you understand what I am trying to

         B         say to you, all Pm trying to find out from you is given

         9         the fact that he has chosen to represent himself with all

        10         of the pluses and minuses that that might entail, it was a

        11         choice that he made. My question to you is given that

        12         fact, if you find that the People have proven their case

        13         beyond a reasonable doubt, and you apply those facts to the

        14         law as I give it to you, would you hesitate to convict?

        15                  JUROR: I would, because actually I root for the

        16         underdog so I think I would have a hard time.

        17                  THE COURT: Okay. Fair enough.

        18                  Mr. Gibbons, you have 15 minutes.

        19                  MR. GIBBONS: Thank you, your Honor.

        20                  Good morning, ladies and gentlemen. My thanks and

        21         my apologies for prying. I wanted to pick up as usual on

        22         some things Mr. Shortt went through. He asked you if you

        23         each wrote out a version of what you originally heard from

        24         the judge, would you expect they would all be the same. I

        25         think rightfully so you said no. But what if individually


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         1         shouldn't each individual's be the same? If you write it

         2         down now and then you write it down six months from now,

         3         individually you, Mr. Docteur, shouldn't what you remember

         4         pretty much be the same?

         5                  JUROR: Not really. I think the big picture can

         6         be the same, but not the details.

         7                  MR. GIBBONS: But your individual recollection

         8         should more or less be the same, it might be different from

         9         Mr. Palmieri's?

        10                  JUROR: Of course.

        11                  MR. GIBBONS: But your individual recollection

        12         should be the same?

        13                  JUROR: Yes.

        14                  MR. GIBBONS: If you did not know that you were

        15         being quizzed on it, no one told you there was a quiz so

        16         now he is asking to write down the recollection of what you

        17         heard four days ago, you might not remember everything,

        18         correct? Right?

        19                  JUROR: Yes.

        20                  MR. GIBBONS: If you knew from the beginning you

        21         will be asked and there will be a test, you will be paying

        22         more attention?

        23                  JUROR: Yes.

        24                  MR. GIBBONS: If you knew you would be quizzed

        25         again and again and maybe again and it was important like a


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         1         trial, you would be sure to have the facts down, correct?

         2                  JUROR: Yes.

         3                  MR. GIBBONS: Mr. Somwaru, do you agree?

         4                  JUROR: Yes, people's choice of words and

         5         vocabulary and grammar is different.

         6                  MR. GIBBONS: But what you are describing is still

         -7        the same. Mr. Ignatowicz, your jacket might be described

         8         as red, maybe described as black or maybe described as dark

         9         red, but it's still a red and black jacket, correct?

        10                  JUROR: Yes.

        11                  MR. GIBBONS: So knowing that you will be asked

        12         about it later you would expect to have a little more

        13         accuracy in the details, correct?

        14                  JUROR: Yes.

        15                  MR. GIBBONS: As I said before, the truth is the

        16         truth is the truth. Miss Cho, you are wearing a burgundy

        17         scarf, maybe plum. If I asked you ten years from now were

        18         you wearing that plum scarf, it would be true, correct?

        19                  JUROR: Yes, it would.

        20                  MR. GIBBONS: That wouldn't change, the truth is

        21         the truth is the truth. Mr. Shortt also asked you about

        22         what would be important when you hear an eyewitness

        23         testimony to help you discern credibility.

        24                  Would you agree that one of the issues you would

        25         look at would be the person's ability to observe if I am


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         1         watching you right now Miss Chang, and I am trying to

         2         describe what you are doing, suddenly the lights go off

         3         pitch black and the lights come back on and you switched

         4         seats. I was watching everything, and I am gathering that

         5         you switched seats with Mr. Surve because now you are in a

          6        different seat, but I didn't really see because the lights

         7         were off so I was an eyewitness to most of this, then my

         B         ability to observe was blocked or maybe it's not as

         9         dramatic as the lights went out maybe Mr. Shortt raised his

        10         book and I missed something.

        11                  I watched pretty much everything, there were a few

        12         moments where my ability to observe was hindered, would you

        13         consider something like that in listening to th6 testimony,

        14         how well did this person have an opportunity to observe,

        15         that's important, right?

        16                  JUROR: Yes.

        17                  MR. GIBBONS: Maybe you have something in your eye

        18         and you flinched for a second. Somebody ever watch aball

        19         game Mr. Apter, sometimes you are watching a game it's

        20         great, and then your wife calls you, yeah, then there was a

        21         -- the screen goes nuts and you turned and missed it. You

        22         watched every minute up to that point and for the split

        23         second you were distracted, you missed the big play, right?

        24                  JUROR: Yes.

        25                  MR. GIBBONS: So you may be a great eyewitness,


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             1      but there was a moment when your ability to observe was

          2         hindered and that's a factor. Do you all agree to that?

             3               THE JURORS: Yes.

             4               MR. GIBBONS: Okay. I had talked about, and it's

          5        very important, certainty versus accuracy. Mr. Apter, have

          6        you ever had that situation where you think you see

          7         somebody you know, maybe tap them on the shoulder?

8                            JUROR: Yes.

          9                  MR. GIBBONS; Even if it hasn't happened, we are

        10         all aware of that situation where you thought you knew

        11         somebody or you knew something was right, and you were

        12         wrong. You are playing Jeopardy you think you know the

        13         answer you could have sworn, you were right, bet your life

        14         and you were wrong. That's the difference between

        15         certainty and accuracy. So even if a witness comes on the

        16         stand and he testifies a certain way, and he is consistent

        17         throughout the whole thing seven foot two tells the police,

        18         the DA and tells you, you see my client and he is four foot

        19         nine, yes, he was consistent, but was he accurate?

        20         Probably not. That's a factor to consider, correct?

        21         Mr. Ciaccia?

        22                   JUROR: Yes.

        23                   MR. GIBBONS: Not the only factor, but a defining

        24         factor?

        25                   JUROR: I agree.


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          1                 MR. GItBONS: Can you all promise me, Miss Smith,

         2         can you promise me that you will look at the evidence and

          3        apply it separately and individually to the two clients

          4        here?

         5                  JUROR: Yes.

          6                 MR. G:BB0Ns: What you see and hear, you will look

         7         towards my cli.•nt ad make a determination as to his guilt

         8         or innocence and then to Mr. Ball and make a determination

          9        as to his guilt or innocence, promise not to lump them

        10         together if they didn't do it or if I think this guy did do

        11         this, you would not lump them together?

        12                  JUROR: Yes.

        13                  MR. GIBBONS: Mr. Ivanchenko?

        14                  JUROR: Yes.

        15                  MR. GIBBONS: Mr. Palmieri?

        16                  JUROR: Sure.

        17                  MR. GIBBONS: Can everybody give me that promise

        18         not to lump this together, look at each one individually

        19         and separately?     The right to remain silent, you have

        20         heard me talk about this, the judge asked you about this,

        21         and I always go into it because it's always important.

        22         That's a term you throw around. You hear it on TV, in the

        23         movies, inundated. Each panel I have asked someone has had

        24         an issue, and it is always happens.

        25                  If my client exercises that constitutional right


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             I      that we all have not to testify is that going to affect the

          2         way you look at my client and the way that you perceive the

          3         evidence, Miss Cho?

          4                  JUROR: I would have sympathy because I understand

          5         that so I think I would put something on that.

          6                  MR. GIBBONS: Good or bad?

          7                  JUROR: I'm saying good and it's not fair.

          8                 MR. GIBBONS: So it would have an impact on you,

          9         you may not take a negative inference, maybe as positive?

         10                 JUROR: Yes, it would affect me.

        11                  MR. GIBBONS: Anybody else have similar feelings,

         12        Mr. Ciaccia, how would it affect you?

        13                  JUROR: Well, if you are innocent, you should

        14         prove it and speak for your own self. I know the rights,

        1.5        and I know your right is to be silent, but --

        16                  THE COURT: And you have all committed to me as

        17         jurors or potential jurors that you will obey the law and

        18         this is precisely the area --

        19                  JUROR: Pm sorry, your Honor, but I was grown up

        20         in a home where honesty at the table --

        21                  THE COURT: We are not in a home. We are in an

        22         American court of law.

        23                  JUROR: That's my gut feeling. You want me to be

        24         honest and I'm an honest guy. Pm telling you how I feel.

        25                  THE COURT: Can you put those feelings aside?


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          1                  JUROR: It's hard because when you are brought up

2                   in 44 years in that type of household.

          3                  THE COURT: If your answer is no, if your answer

          4         is no, that's fine.
5                            MR. GIBBONS: We appreciate the honesty. I need

          6         to know now. I can't find out later because then I'm in

          7         trouble. Mr. Apter?
8                            JUROR: I kind of tend to agree. I understand the

          9         defendants' right not to say anything, but it would be good

         10         to hear both sides of the story, not just one.

         11                 MR. GIBBONS: Well, you are hearing his side, he

         12         is saying not guilty, I didn't do it. You will hear my

         13         arguments why, but we don't have to prove anything. He has

         14         to prove that this happened.

         15                 JUROR: I understand that.

         16                 MR. GIBBONS: The judge will give you the
17                  instructions. You will have to swear that you can do that,

         18        but I need the honest answer, but you are not a child. You

         19        are a grown man. You have developed your feelings and

        20         ideas and moral compass throughout your life so it's being

        21         called on now and I need the honest answer. If that

        22         situation occurs where he does not testify, are you going

        23         to draw a negative inference?

        24                  JUROR: It would be a tiny red flag in my head.

        25                  THE COURT; Say that again..


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       II,                  JUROR: Small red flag in my head if the

         2         defendants don't testify.

          3                 THE COURT: Do you think that would cause you to

          4        lessen your view of what the burden of proof is or would
5                  you still hold the OP. to his burden of proving this case

          6        beyond a reasonable doubt based on the evidence that he

          7        presents to you?
B                           JUROR: I would still try to do my best to do my
          9        best.
10                          MR. GIBBONS: Out it would raise a flag?

        11                  JUROR: In my head, yes.

        12                  MR. GIBBONS: Anybody else feel that way?

        13                  JUROR: Same thing.

        14                  MR. GIBBONS: Anyone else?

        15                  JUROR: Same thing. I just feel like if he is not

        16         guilty, he should speak up, but I know it's his right not

        17         to say anything, so I will try to be fair.

        18                  MR. GIBBONS: If he did not testify, you might

        19         feel that he is hiding something?

20                          JUROR: Yeah.

        21                  MR. GIBBONS: All right. Mr. Surve, do you feel

        22         the same way?

        23                  JUROR: it would probably depend on a lot of
        24         things, but I understand he has a right to remain silent

        25         and that would be something that you respect that person's


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         1         right to remain silent.

         2                  MR. GIBBONS: You might all respect the right, but

         3         still want to hear what he has to say and maybe he is

         4         hiding something?

         5                  THE COURT: You know what, I would disagree with

         6         that.

         7                  MR. GIBBONS: I am asking if they feel that way.

         8                  THE COURT: The way you phrase it, either you

         9         honor and respect this right or you don't, then you don't.

        10         If you say you don't then you don't. Mr. Ciaccia said he

        11         doesn't. The issue is whether or not you respect the right

        12         and whether or not you will obey the law. If you say you

        13         can't do it, it is fine. I get that.
        14                  MR. GIBBONS: Mr. Apter, I know what you said.

        15         Mr. Ijnatowicz, can you respect that right and honor that

        16         right?

        17                  JUROR: Yes.

        18                  MR. GIBBONS: Miss Smith?

        19                  JUROR: I respect his rights.

        20                  MR. GIBBONS: Mr. Somwaru?

        21                  JUROR: Yes.

        22                  MR. GIBBONS: Mr. Docteur?

        23                  JUROR: Yes.

        24                  MR. GIBBONS: Miss Chang?

       25                   JUROR: Yes.


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         1                  MR. GIBBONS: Mr. Surve?

         2                  JUROR: Yes.

         3                  MR. GIBBONS: Mr. Ivanchenko, any problem with

         4         that?

         5                  JUROR: No problem.

         6                  MR. GIBBONS: You are sure if he does not testify,

         7         you will not draw a negative inference?

         8                  JUROR: No.

         9                  MR. GIBBONS: Mr. Palmieri?

        10                  JUROR: I don't think it will hinder him. I don't

        11         think it would help him.

        12                  MR. GIBBONS: When you say that, you don't think I

        13         would be able to do a sufficient job.

        14                  JUROR: I bet you would do a quite sufficient job.

        15                  THE COURT: One minute.

        16                  MR. GIBBONS: The fact that your father was a

        17         sheriff --

        18                  JUROR: No.

        19                  M. GIBBONS: The rest I know what you all said,

        20         Miss Cho and Mr. Ciaccia and Mr. Apter.

        21                  THE COURT: Wind it down.

        22                  MR. GIBBONS: 5:30 at night on Friday, three weeks

        23         now you want to go home, can you all p romise to stick to

        24         your guns and remain true to the verdict unless you are

        25         swayed by competent evidence shown to you by your fellow


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             1      jurors, do you promise not to be swayed because it's late,

             2      and you want to go home, everyone?

             3               THE JURORS: Yes.

             4               MR. GIBBONS: Thank you.

             5               THE COURT: Mr. Ball, you have 15 minutes.

             6               THE DEFENDANT BALL: Good morning, everyone. My

             7      name is Raymond Ball, and it's good to have an opportunity

          8         to, you know, have my day in court. And you know, I'm

          9         listening to some of the things that the jurors, what you

         10        guys are saying in respect to different issues as to me not

         Ii        having any experience as being a lawyer which is correct.

        12          I'm not a lawyer, and I don't want to profess myself to be

        13         a lawyer. . However, I do have a right to, you know, to be

        14         able to represent myself because of the fact I feel I can

        15         represent the truth for myself better than someone else

        16         might be able to represent the truth and to also be present

        17         to bring the information to the attention of whoever it is

        18         that's going to be jurors, certain information that might

        19         be able to help them articulate what the truth is.

        20                  Like, since I'm here right now this morning, I was

        21         able to just point out, come up with one particular thing.

        22         You know, when the issue of the guilt or innocence was

        23         raised by Mr. Shortt, he used the term when he proves that

        24         we are guilty. And when the judge presented the issue of

        25         our innocence or guilt to you guys, he said if Mr. Shortt


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          1         proves it, so I'm here merely because I want to bring out

          2         issues to the jurors to be mindful of these things because

          3         sometimes things like this can get past us, you know,

          4         because some things can, you know, impose, things can be

                    imposed on our judgment, on our minds.

          6                  I will give you another example. You know, there

          7         is a lot of scenarios being given out here, and you know

.8                 what came to my mind was you have things called abstract

          9         scenarios then you have things that's more concrete. You

         10        guys, they have been asking like hey, you know, would you

11                  remember what the weather was like, you know, at a certain

         12        point further back in your lives. And no, we won't be able

        13         to know about whether the weather was hot, cold or maybe in

        14         between. However, there are some concrete things that goes

                   on in our lives, such as learning how to ride a bike.

                   These things I think become more personal, these things are

                   more part of us, and I would think that that is what I

                   would like for you guys to look at. I would like for you

                   to be able to discern --

                            THE COURT: Mr. call, this an opportunity for you

                   to ask questions, not to make a speech.

                            THE DEFENDANT BALL: Yes, sir. Mr. - I

                   appreciate your patience. Okay. Is it all right that I

                   say your first name, Mohamed?

                            JUROR: Yes.


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         1                  THE DEFENDANT BALL: i apologize. Can you tell me

         2         how to pronounce your last name.

         3                  JUROR: Adibzadeh.

         4                  THE DEFENDANT BALL: Would you agree with me it's

         5         not hard for you to remember who your first girlfriend was?

         6                  JUROR: It's hard or not hard?

         7                  THE DEFENDANT BALL:   Would you agree that's

         8         something that you would be able to know?

         9                  JUROR: I would say, yeah, I agree with you, okay.

        10                  THE DEFENDANT BALL: Because that's more personal?

        11                  JUROR: Yes, not that I know, but that's all

        12         right.

        13                  THE DEFENDANT BALL: Okay. I apologize. My point

        14         is this, that you know, sir, I apologize for not being able

        15         to pronounce your name correctly, but I would like to ask

        16         you, would you be able to accept me as being innocent, you

        17         see, until, you know, not when, however, if Mr. Shortt and

        18         all the other people who are presented before you are able

        19         to bring enough evidence to meet the standard of being

        20         guilty beyond a reasonable doubt?

        21                  JUROR: I agree.

        22                  THE DEFENDANT BALL: That's     what I'm asking. And

        23         I look forward to that, okay, whoever it is that finally do

        24         decide to be here. You know, honestly, I'm not really

        25         going to keep you guys much longer. I just wanted to like


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         1         kind of introduce myself, and try to get to know you a

         2         little better and hopefully you will accept me and what is

         3         it that I represent, you know, accept me for what it is

         4         that I want to achieve, and be able to consider the facts

         5         in the case, which I think, you know, you guys are very,

         6         very, you know, intuitive, you know. You seem like a very

         7         intuitive group so I don't feel that I have any need to

         8         really ask a lot of questions. I think you guys will be

         9         able to ascertain the truth. So I will close with that.

        10                  THE COURT: Thank you, Mr. Ball. Can you please

        U          take the jury out for a few minutes?

        12                  (Jurors exit the courtroom.)

        13                  THE COURT: Ready?

        14                  MR. SHORTT:      Yes, sure, Judge.

        15                  THE COURT: Ready?

        16                  MR. GIBBONS: Yes.

        17                  THE DEFENDANT BALL: Yes.

        18                  THE COURT: All right. We have nine, jurors one

        19         through three, People, challenge for cause.

        20                  MR. SHORTT:      One and three, both said they could

        21         not be fair because of Mr. Ball's going pro se. Also

        22         number one said he would have trouble respecting the right

        23         to remain silent.

        24                  MR. GIBBONS: I concur, your Honor, to both.

        25                  THE COURT: On both?


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               I                 THE DEFENDANT BALL: I mean, I have my own

               2        opinion, your Honor. I think --

               3                 THE COURT: Well, state it.

               4                 THE DEFENDANT BALL: I think that Mr. Mohamed --

              S         Mr. Apter, I think he said that he would in spite of all

               6        the things he would be able to put aside those issues and

              7         go forward.

              8                  THE COURT: How about Miss Smith?

                                 THE DEFENDANT BALL: Same, you know, I will concur

             10         with Miss Smith. I will agree with Miss Smith but number

             11         one, I mean, you know, I think she came around but I will

             12         concur with Miss Smith but number one I think in all due

             13         respect your Honor, I think he has been very active in his

             14         participation in the whole process so far.

             15                  THE COURT: Very good. The challenge for cause is

             16         denied with respect to juror one and granted on consent

             17         with respect to juror three. Defense, challenge for cause?

             18                  MR. GIBBONS: Well, again I challenge number one.

             19         I don't think that he rehabilitated himself, your Honor.

             20         think he was fairly clear it would create a problem. While

             21         it might not be a problem if Mr. Ball decides to testify my

             22         client is in all likelihood not going to testify, I think

             23         he was pretty adamant it would be a problem, and he may not

             24         be able to put your ruling aside and come to a clear mind
I-           25         if my client does not testify.
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             1               THE DEFENDANT BALL: In sight of the fact that my

             2      codefendant's lawyer insist, I will concede.

             3               THE COURT: Consent?

             4               THE DEFENDANT BALL: Yes, sir.

             5               MR. GIBBONS: Thank you.

             6               THE COURT: People, number two, peremptory

             7      challenge?

             8               MR. SHORTT:      No peremptory.

             9               THE COURT: Defense?

         10                  (Defendant and counsel confer.)

         11                  MR. GIBBONS: We are good with him.

         12                  THE COURT: All right. Jurors four and five,

         13         People, challenge for cause?

         14                 MR. SHORTT:       None for cause.

         15                 THE COURT: Defense?

        16                  MR. GIBBONS: None for cause, your Honor.

        17                  THE COURT: People perempt?

        18                  MR. SHORTT:       Number four, Mr. Somwaru. That's

        19         it.

        20                  THE COURT: Defense, juror five, perempt?

        21                  MR. GIBBONS: We are good With number five, your

        22         Honor.

        23                  THE COURT: All right. So we have eleven jurors

        24         now. Juror six, People challenge, for cause?
        25                  MR. SHORTT;      Yes, she said she could not be fair


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             1      to the pro Se defendant. Also she had trouble with the

          2         right to remain silent.

             3               THE COURT: Defense?

          4                  MR. GIBBONS: I agree, your Honor, I concur.

          5                  THE COURT: Mr. Ball?

          6                  THE DEFENDANT BALL: Okay, I consent

          7                  THE COURT: All right. On consent.         Juror seven,

          8         People, challenge for cause?

          9                  MR. SHORTT:      None for cause?

         10                  THE COURT: Defense challenge for cause.

11                           MR. GIBBONS: No.

         12                  THE DEFENDANT BALL: None for cause.

         13                  THE COURT: People, perempt?

         14                  MR. SHORTT:      Perempt.

         15                  THE COURT: Juror eight, People challenge for

         16         cause?

         17                  MR. SHORTT:      None.

         18                  THE COURT: Defense?

         19                  MR. GIBBONS: No, your Honor.

        20                   THE COURT: People perempt?

        21                   MR. SHORTT:      No perempt.

        22                   THE COURT: Defense, perempt?

        23                   MR. GIBBONS: No, your Honor.

        24                   THE COURT: Mr. Ball, are you on board?

        25                   THE DEFENDANT BALL: I'm on board.


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         1                  THE COURT: All right. We have a jury. We will

         2         try for two alternates here. Juror number nine, People,

         3         challenge for cause?

         4                  MR. SEIORTT:     None for cause?

         5                  THE COURT: Defense challenge for cause as to

         6         Mr. Palmieri?

         7                  MR. GIBBONS:      Not for cause.

         8                  THE COURT: People, perempt?

         9                  MR. SHORTT:      Perempt.

        10                  THE COURT: Juror number ten, Miss Cho, People?

                            MR SHORTT:       Cause, she stated very clearly she

        12         could not be clear to the pro se defendant and root for the

        13         underdog, she could not be fair.

        14                  MR. GIBBONS: Consent, your Honor.

        15                  THE COURT: Jurors eleven and twelve?

        16                  MR. SHORTT:      There is no question.

        17                  MR. GIBBONS: Can we' go back and try and agree on

        18         two alternates?

        19                  THE COURT: Can the three of you agree?        Let's go

        20         off the record.

        21                  (Whereupon, an off-the-record discussion was

        22         held.)

        23                  THE COURT: Palmieri is one, Surve is two?

        24                  MR. GIBBONS; All right.

        25                  THE DEFENDANT BALL: Your Honor --


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             1                  THE COURT: There has been an offer of record

          2         conversation with Mr. Ball, with the participation of Miss

             3      Povman and Mr. Gibbons and Mr. Shortt, and we have come to
          4         an agreement that juror number nine, Mr. Palmieri will be

          5         alternate one, and juror seven Mr. Surve will be alternate

          6         number two; is that correct?
          7
                             MR. GIBBONS: Yes, your Honor.

          8                  THE COURT: Isn't that correct, Mr. Ball?

          9                  THE DEFENDANT BALL: Yes, sir.

         10                  THE COURT: Mr. Shortt?

         11                  MR. SHORTT:      Yes.

         12                  THE COURT: All right. Bring in the jurors.

         13                  We will have a full day tomorrow.

         14                  MR. GIBBONS: My witness has a meeting Monday, I

         15         don't think her testimony will be more than an hour, hour

         16         and change. I know we are not working Monday afternoon.

         17         She said she could be here Monday by 11:30.

         18                  THE COURT: Obviously it depends.

         19                 MR. GIBBONS: Assuming we finish the People's case

        20          tomorrow.

        21                  THE COURT: Do you think that will happen?

        22                  MR. SHORTT:       It's fairly short, Judge. Its

        23         pretty simple. At the end of the day, this is a simple

        24         case. I am thinking we may run a little over on the third

        25         witness until Monday morning.


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             .1.             THE COURT: Let's figure this out tomorrow.

             2               THE DEFENDANT BALL: I just wanted to make sure

             3      that we supposed to put in application to get an

             4      investigator to be able to contact some of the witnesses.

             5               MS. POVMAN: Judge, I was going to raise the issue

             6      later after the jury is sworn.

             7               THE COURT: All right. Let's wait until the jury

             8      is sworn. Bring in the jury.

             9              THE COURT OFFICER: Are you ready, Judge?

         10                 THE COURT: Ready.

        11                  THE COURT OFFICER: Jury entering.

        1.                   (Whereupon, the panel enters the courtroom.)

        13                  THE COURT CLERK: Jurors, if you hear your name

        14         please remain seated. If your name was not called, please

        15         report back to Central Jury. Wojciech Ijnatowicz, Hary

        16         Docteur, Maksim Ivanchenko, Brandon Palmieri, Vivek Surve.

        17                  If your name was not called, you may step out and

        18         report back to Central Jury. Are the remaining jurors

        19         satisfactory to the People?

        20                  MR. SHORTT:      Yes.

        21                  THE COURT CLERK: Satisfactory to the defense?

        22                  THE DEFENDANT BALL: Yes.

        23                  MR. GIBBONS: Yes.

        24                  (Jurors sworn.)

        25                  THE COURT: Gentlemen, this concludes this portion


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                   1         of the trial. With the selection of you, we have completed

                   2         the selection of the jury. We will begin hearing the

                   3         opening statements and the evidence in the case tomorrow

                   4         morning, so you are all excused for the balance of the day.

                   5                  Once again, do not discuss this case amongst

                   6         yourselves or with anybody else. Do not speak to any of

                   7         the attorneys, the parties, the witnesses or anybody

                   8         involved in this case. Do not go to the scene of the

                   9         alleged incident. Do not research this case in any way. -

                  10         Should anybody speak to you about this case, notify the

                  11         court officer immediately. I thank you for your service

                  12         and your attention. 10:00 tomorrow morning. Have a good

                  13         day. Take charge.

                  14                  (Jurors exit the courtroom.)

                  15                  THE COURT: Do you want to be heard before we

                  16         break?

                  17                  MS. POVMAN: Judge, I have never been a legal

                  18         adVisor before, Mr. Ball has instructed me that there are
     S
                  19         certain things he wants me to do. I'm not sure if I'm his

                  20         legal assistant or legal advisor.

                  21                  THE COURT: You are his legal advisor. You are

                 22          the lawyer in the case.

                 23                   THE DEFENDANT BALL: Yes,    sir.

                 24                   THE COURT: You don't have an assistant, you have

                 25         an advisor.
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          1                  THE DEFENDANT BALL: Yes, sir.

          2                  MS. POVMAN: Mr. Ball wants an investigator

          3         assigned this to this case.

          4                  THE COURT: Let him make the application.

          5                  THE DEFENDANT BALL: I was in the process. Your

          6         Honor, I would like to make the application that you

          7         provide for us an investigator because what happens is we

          8         was able to provide the names of some of the witnesses,         and
9                   there is some information that we    are still seeking to get.
         10                  THE COURT: Well, are you looking for police

         11         officers or civilians?

         12                  THE DEFENDANT BALL: No, actually, what it is

         13         there is information pertaining to witnesses actually.

         14                  THE COURT: Civilian witnesses?

         15                  THE DEFENDANT BALL: Yes.

         16                  THE COURT: Do you have names of these people that

         17         somebody can go look for?      I mean we are on trial now, and

         18         this case is now how old, two and a half years old?

         19                  THE DEFENDANT BALL: Your Honor, please forgive

         20         me, but I have been asking this for a long time and this is

         21         the first opportunity that I have had     to be in front of a
         22         judge that was like yourself, arid I'm really, I beg you

23                  please allow us to have it because it's a necessity in our

         24         defense. I wouldn't ask unless -- this is not like the
         25         first time. I understand it's not a good time, the best


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          1        time, but every nchez time, it wasn't been entertained, and

         2         when we did it at that appropriate time, your Honor, so I

         3         would ask you knowing that it's an intricate of our defense

         4         to provide for us, please.

          5                   THE COURT: You are looking for civilian

          6        witnesses?

         7                    THE DEFENDANT BALL: Just not civilians.

          B                   THE COURT: Witnesses to what, who saw the

          9        incident?

        10                    THE DEFENDANT BALL: Yes, sir. Not alibi,

        11         eyewitnesses your Honor, because they were there after the

        12         crime took place during the actual arrest.

        13                    THE COURT: Do you know who they are?

        14                    THE DEFENDANT BALL: Well, yes I do. I gave the

        15         name of the Cohen family and the address, but I wasn't able

        16         to provide a phone number, and, you know, a direct contact

        17         so that's going to be one of the issues. There is also the

        18         issue --

                              THE COURT: Do you know anything about the Cohen

                   family, Mr. Shortt?

                              MR. SHORTT:   I have heard nothing, Judge. I

                   asked the officers and every person associated with this

        23         case, no one has ever heard of a Cohen family at any point.

        24                    THE DEFENDANT BALL: Your Honor, like I said,

        25         there is also the issue of the check cashing place where


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          1         this robbery allegedly took place. There is information

          2         there, I have an account there, I have been with that

          3         checking place for maybe 15, 20 years. There is

          4         information pertaining to whether or not surveillance,

          5         things of that nature, that the investigator could provide

          6         for me. I need, what you call, documents.

          -7                 THE COURT: Do you know anything about a

          8         surveillance where this happened in front a check cashing

          9         place?

         10                  MR. SHORTT:      The complaining witness went to a

         11         check cashing place shortly before the robbery, that's why

         12         he had so much money on him. I am fairly new in the case,

         13         it was twelve, there is no video in terms of record. I

         14         don't see

         15                  THE COURT: Let me understand something. It did

         16         not happen in front of check cashing place?

         17                  MR. SHORTT:      In front of a bodega.

         18                  THE DEFENDANT BALL        No, your   Honor. -

         19                  THE COURT      How far?

         20                  MR. SHORTT:      One block.

         21                  THE COURT: You cant talk at the same time, and

         22         number two is respect for our court reporter who cannot

         23         take everything down when everybody is talking which you

        24         are doing.

        •25                  THE DEFENDANT BALL        I'm sorry. Forgive me.


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         1                  THE COURT: Okay. Do you know whether there is

         2         any surveillance either at the check cashing place or in

         3         front of the bodega?

         4                  MR. SHORTT:     None in my possession, and it was

         5         deleted long before I ever got on the case because I

         6         inquired when I went on the scene.

                            THE COURT: So there is no surveillance.

                            THE DEFENDANT BALL: It's not just a matter of the

         9         surveillance. It's the location. First of all, Mr.

        10         Shortt, according to the testimony of the police officer,

        11         your Honor, me and Mr. Brooks are robbing the guy coming

        12         out of the check cashing place actually. So what Mr.

        13         Shortt is saying that he was there prior --

        14                  THE COURT: Well, it sounds like you guys are a

        15         block apart?

        16                  THE DEFENDANT BALL: I     apologize.

        17                  THE COURT: It sounds like you are talking about a

        18         block away from where Mr. Shortt --

        19                  THE DEFENDANT BALL: I can read it off to you.

        20         It's in the testimony. It's in the testimony. He went and

        21         actually the officer did an investigation and he said that

        22         the bodega -- the check cashing place is next to the bodega

        23         there. Is a miscellaneous store and the .bodega is next to

        24         the door so this is the reason we need an investigator.

        25                  THE COURT: You say it's a block away?


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          1                  THE DEFENDANT BALL: It's actually a lengthy block

          2         away, and we don't have pictures or anything like that, we

          3         ask you to please provide these things for us along with

          4         the other issue, simple things like the logbook. When we

          5         were originally arrested, we were never given the logbook.

          6                  THE COURT: Well, these are not things that an

          7         investigator can find out about. If there are --

          8                  THE DEFENDANT BALL: Well, let's stick with the

          9         issues at hand.

         10                  THE COURT: Yes. You say the Cohens were where?

         11                  THE DEFENDANT BALL: Well, actually, they own a

         12         home on the same block, well, actually on the avenue where

         13         I was.

         14                  THE COURT: You say they saw what?

         15                  THE DEFENDANT BALL: I was with them talking with

16                 him before I left off and I was arrested on the next corner

         17        not running away from the crime scene.

        18                   THE COURT: After the incident?

        19                   THE DEFENDANT BALL: Exactly.

        20                   THE COURT: So you have a home address for the

        21         Cohens?

        22                   THE DEFENDANT BALL; Yes, but like you say the

        23         time factor and you know the application went unheard.

        24                   THE COURT: Do you have a home address for the

        25         Cohens?


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         1                  THE DEFENDANT BALL: Yes, sir.

         2                  THE COURT: All right. I will appoint an

                   investigator, but I am telling you that I will not delay

         4         this case.

       '5                   THE DEFENDANT BALL: I understand, your Honor.

         6                  THE COURT: We are on trial. We spent two and a

         7         half days picking a jury, and we will proceed with this

         8         case.

         9                  THE DEFENDANT BALL: I apologize. May L talk?

        10                  THE COURT: Yes.

11                          THE DEFENDANT BALL: There is also my concern

        12         about the EMS workers coming in because there is

        13         information inside the EMS report that other people can't

        14         testify to.

        15                  THE COURT: If you want the EMS people Mr.

        16         Shortt, can you arrange that?

        17                  THE DEFENDANT BALL: Thank you.

                            MR. SHORTT:     I don't know if they are available.

        19         I didn't line them up.

        20                  THE DEFENDANT BALL: This is the reason that I

        21         would like the investigator, to make sure.

        22                  THE COURT: I understand that but you sa'id you

        23         were ready to try this case and we are going to try it.

        24         Within those parameters, I said I would point an

        25         investigator and I will, but --


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          1                  THE DEFENDANT BALL: If he gets the witnesses in,

          2         you will allow them in is that correct?

          3                  THE COURT: Yes, if they are relevant, if they are

          4         relevant.

          5                  THE DEFENDANT BALL; Thank you.

          6                  THE COURT: Anything else?

          7                  THE DEFENDANT BALL: Thank you.

          B                  MR. GIBBONS: I just want to turn over some

          9         documents to my client. I don't know if it the court

         10         officer needs to look through them. I am turning them

         11         over, there is no staples or anything. I took all the

         12         clips off.

13                           THE COURT: Okay. 10:00.

         14                  MR. GIBBONS: Thank you, your Honor.

         15                  MR. SHORTT:      Thank you.

         16                  (Trial adjourned to January 23, 2015.)

         17

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          1 SUPREME COURT OF THE STATE OF NEW YORK

          2 COUNTY OF QUEENS: CRIMINAL TERM: PART K14

          3                             ---------------------x Indictment No.

          4 THE PEOPLE OF THE STATE OF NEW YORK              .     2228/12

          5                  -against-

          6 ELIJAH BROOKS and RAYMOND BALL,

          7                       Defendants.

          8                             ---------------------x

          9                       125-01 Queens Boulevard

         10                       Kew Gardens, New York

         11                       January 23, 2015

         12                  THE COURT CLERK: Number two, case on trial,

         13         indictment 2228 of 12, Raymond Ball and Elijah Brooks.

         11         Both defendants are incarcerated and produced being brought

         15         before the Court.

         16                 Appearances, please.

         17                 MR. SHORTT: For the People, Assistant District

         18        Attorney Timothy Shortt.

         19                 Good morning, your Honor.

        20                  THE COURT: Good morning, sir.

        .21                 MS. POVMAN: As legal advisor to Mr. Ball, Linda

        22          Povman, 123-35 82 Road, Kew Gardens, New York.

        23                  THE COURT: Good morning.

        24                  MR. GIBBONS: For Mr. Brooks, Wyatt Gibbons. Good

        25         morning, your Honor.


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          1                    THE COURT: Mr. Gibbons.

          2                    (Defendant enters courtroom.)

          3                    THE COURT CLERK: Let the record reflect defendant

          4         Brooks is present before the Court.

          5                    (Defendant enters the courtroom.)

          6                    THE COURT CLERK: Let the record reflect the

          7         defendant Ball is present before the Court.

          8                    MR. GIBBONS: Your Honor, if my client could have

          9         a pen that he could use, he was not allowed to bring his

         10         pen out.

         11                    THE COURT: All right. Are we ready ror tne Jury,

         12         gentlemen?

         13                    THE DEFENDANT BALL: Your Honor, I just have a

         14         couple of things that I would like to ask before we call

         15         the jurors out.

         16                    MS. POVMAN: Judge, number one, Mr. Ball wants to

         17         know if he can have daily copy of the testimony of the

         18         witnesses, because it will be difficult for him to question

         19         the witnesses and take notes at the same time. His second

         20         application --

         21                    THE COURT: Well, before we get to that, do we

         22         have a chance of finishing the testimony today?

         23                    MR. SHORTT: Everyone is here, Judge. I wouldn't

         24         mind it. I don't know how long it will take.

         25                    THE DEFENDANT BALL: I apologize. I was going to


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          1         ask you also we needed the subpoena approval for the

          2         investigator as well as I was going to ask if we do, what

          3         you call, the witness testimony today that we could do, can

          4         we put off the two officers for Monday?

          S                 THE COURT: No. Anything else?

          6                 THE DEFENDANT BALL: Because there is information,

          7         your Honor, just until Monday, we could do the witness

          8         today and the victim --

          9                 THE COURT: No. I told you that we are not going

         10        to delay this trial, and we are riot. Anything else?

         11                 MR. SHORTT: No, Judge.

         12                 THE COURT: Well, I have something.

        13                  THE DEFENDANT BALL: You never answered about for

        14         the investigator.

        15                  THE COURT: The investigator has been assigned.

        16                  MS. POVMAN: The order has been signed.

        17                  THE DEFENDANT BALL: Not for the investigator, he

        18         needs to get the EMS worker, and he needs the subpoena.

        19                  THE COURT: Prepare a subpoena, and I will be

        20         happy to consider it.

        21                   (Whereupon, an off-the-record discussion was

        22         held.)

        23                  THE DEFENDANT BALL: A so ordered subpoena?

        24                  THE COURT: Prepare one and I will consider it.

        25                  THE DEFENDANT BALL: Thank you.


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               1                    (Whereupon, an off-the-record discussion was

2                        held.)

               3                    THE COURT: I just want to caution both sides with

               4         respect to opening statements that the purpose of opening

               5         statements is to state for the jury what you intend to

               6         prove, and I know, Mr. Gibbons understands that, and

               7         Mr. Shortt understands that, I want you to understand that

                         as well.

               9                    THE DEFENDANT BALL: I apologize,, your Honor?

              10                    THE COURT There are limitations on what you can

              11         say during opening statement.

              12                    THE DEFENDANT BALL: Can you go over --

              13                    THE COURT: Look --

              14                    THE DEFENDANT BALL: You said there are

15                       limitations. I want to be sure I stay within --

              16                    THE COURT: The purpose of the opening statement

              17         is to tell the jury what you expect to prove.

              18                    MR. GIBBONS: Your Honor, we don't have to prove

              19         anything though really.

              20                    THE COURT: Well, then don't open.

              21                    MR. GIBBONS: I know. It's a comment on what we

22                       believe the evidence will show, not what we have to prove.

              23                    THE COURT: That's fine, I just want to make sure
             24          everybody stays within the parameters of what an opening

             25          statement is and what it is not. Ready for the jury?
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         1                  THE DEFENDANT BALL: Any water available?

         2                  THE COURT: Let's go. Bring in the jury.

         3                   (Whereupon, there was a brief pause in the

         4         proceedings.)

         5                  THE COURT OFFICER: Are you ready, Judge?

         6                  THE COURT: Ready.

         7                  THE COURT OFFICER: Jury entering.

         8                   (Whereupon, the sworn jury enters the courtroom.)

         9                  THE COURT CLERK: Are the remaining jurors

        10         satisfactory to all sides?

        11                  MR. SHORTT: Yes.

        12                  MR. GIBBONS: Yes.

13                          THE DEFENDANT BALL: Yes. Good morning.

        14                  (Jurors sworn.)

        15                  THE COURT: Good morning, ladies and gentlemen.

        16                  JURORS: Good morning.

        17                  THE COURT: Members of the jury, at this point Pm

        18         required by law to instruct you generally concerning your

        19         basic functions, duties, and conduct as jurors. I will

        20         acquaint you in a general way with the trial procedure and

        21         certain rules which apply to every jury.

        22                  The defendants have been indicted for two counts

        23         of robbery in the second degree, one count of assault in

        24         the third degree, and one count of criminal possession of

        25         stolen property in the fifth degree. I remind you that
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                                       Preliminary Instructions

                1       this indictment is simply an accusation, and it is not in

                2       any way evidence of the allegations it contains. It is

                3       merely a device used by law to bring the charges against

                4       the accused to trial. The People have the burden of

                5       proving beyond a reasonable doubt each element of the

                6       crimes charged in the indictment. The defendants do not

                7       have to prove anything and are presumed to be innocent of

                8       the charges.

                9                Now, this trial has already commenced with the

               10       selection of you folks as the jury. The next step in the

               11       trial will be an opening statement by Assistant District

               12       Attorney Shortt during which he is required by law to

               13       indicate to you what he intends to prove by way of evidence

               14       to support the charges set forth against the defendants.

               15       Then defense counsel, if they desire, may also make opening

               16       statements. What counsel for either party says in an

               17       opening statement is not evidence.

               18               As you are aware, the defendant Raymond Ball has

               19       elected to represent himself. Under our law, every

               20      defendant has a right to have a lawyer represent him and to

               21      have the court appoint a lawyer if he cannot afford one.

               22      The defendant Ball has waived his right to counsel and has

               23      chosen to represent himself, and as you know, Miss Povman,

               24      who is an attorney, has been made available to him to

               25      advise him should he so desire. You are not to draw any


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                                 Preliminary Instructions

             1     inference favorable or unfavorable to the defendant from

            2      the exercising of his right to represent himself.

             3              After the opening statements, the District

            4      Attorney will present a witness or witnesses who will be

            5      questioned by him. We call this direct examination. After

            6      the DA completes his questions, defense counsel will be

            7      given an opportunity to question the witness. We call

            8      this, as I'm sure most of you know, cross-examination.

            9               After the People have concluded calling their

        10         witnesses and the introduction of any exhibits which are

        11         admissible into evidence, either defendant, may if they

        12         choose to do so, offer evidence in their defense, but again

        13         they are not required to do so.

        14                  After you have heard all of the evidence, the

        15         defendants may make a closing argument following which the

        16         People will make a closing argument. What a lawyer says in

        17         summation is also not evidence. The summations do provide

        18         the lawyers with an opportunity to review the evidence

        19         presented and submit for your consideration the facts,

        20         inferences and conclusions which they contend may be

        21         properly drawn from the evidence presented. I will then

        22         charge you on the law, and you will retire to deliberate

       23          for the purpose of reaching a verdict.

       24                  That is a general outline of the trial procedure.

       25          For the most part evidence consists of testimony of


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                                 Preliminary Instructions

                    witnesses under oath and exhibits which are introduced into

             2      evidence. Questions in and of themselves are not evidence.

             3      Therefore, you cannot infer any fact from the mere asking

             4      of a question. It is the answer coupled with the question

             5      that constitutes evidence.

             6               Now, during the course of the trial, either

             7      attorney, the District Attorney or defense counsel may

             8      object to a question or an answer on the grounds that it is

             9      somehow legally improper or inadmissible. If I sustain the

         10         objection, this means that I have determined that the

         11         question or answer was in some manner improper, and you are

         12         to disregard it.

         13                  If I overrule the objection, then it means the

         14         question is proper, and I will permit it to be answered.

         15         Please do not resent the fact that either attorney makes or

         16         any of the attorneys make objections. That is their right

         17         and their duty. Please do not hold it against any of the
         18        attorneys if I rule against them. That's my job.

        19                  As I will explain to you in detail in my final
        20         charge, as jurors in the case, you are the sole judges of

        21         the facts, and I am the sole judge of the law, and you must

        22         accept the law as I give it to you without hesitation or
        23         reservation even if you privately disagree with me. It is

        24         my function to make rulings and to charge you on the law.
        25         You must neither offer nor express an opinion as to the


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                                Preliminary Instructions

         I         guilt or lack of guilt of the defendants until you have

         2         heard all of the evidence, all the arguments of the

         3         attorneys and my instructions to you on the law.

         4                  Do not attempt to research any fact, issue or law

         5         related to this case whether by discussion with others, by

         6         research in a library or on the Internet or any other

         7         means. You must not visit or view the premises or place

         8         where the crimes charged were allegedly committed or any

         9         other premise or place involved in this case.

        10                  Keep in mind that the lawyers have been directed

        11         not to speak to you even if they come across you in the

        12         elevator or see you in the hallway or on the boulevard,

        13         please do not talk to them, not even to pass the time of

        14         day. 1 impose these rules so that no one can question your

        15         impartiality.

        16                  You must promptly report to the Court any incident

        17         within your knowledge involving an attempt by any person

        18         improperly to influence any members of the jury. You are

        19         not to take notes during the course of the trial. Note

        20         taking will distract you from what is being said in the

        21         courtroom, and I want all of you to be concentrating on

        22         what is being said in the courtroom. Bear in mind that at

        23         any time during your deliberations, you have a right to

        24         request the testimony be read back to you and that any

        25         exhibits received and marked in evidence be delivered to


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                                                                              319
                                 Preliminary Instructions

          1         you.

          2                  Under our law, only twelve jurors will deliberate

          3         on this case when it is submitted to you to render a

          4        verdict. We have selected two additional jurors.

          5        Alternate jurors are selected to serve because a regular

          6         juror may be prevented from continuing to serve by some

          7         serious emergency. Therefore, the alternates are required

          8        to pay the same careful attention to the trial as the

          9         regular jurors.

         10                 Again, I want to thank you for assuming the

        ii         important responsibility-of serving as jurors in this

        12         criminal case.

        13                  We will now hear the opening statements beginning

        14         with the Assistant District Attorney, Mr. Shortt.

        15                  You may proceed.

        16                  MR. SHOTT: Thank you, your Honor.

        17                  Good morning, ladies and gentlemen. On the night

        18         of July 3 of 2012, Tarek El Turkey left his home to go for

        19         a walk, have a cigarette and clear his head. What ended up

        20         happening to him was he had his pocket slit open, his money

        21         stolen and his head bashed against the sidewalk. Ladies

        22         and gentlemen, these defendants are the men that did it.

        23         To these men Tarek El Turkey was nothing more than a

        24         walking, breathing ATM machine, unable to communicate or to

        25         speak to the police.


                                                                                    NS
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                                                                             320
                                Opening Statement-People

         1                  In a few moments you will hear from the man that

         2         was left bleeding on the sidewalk that night. He came to

         3         this country from Egypt 25 years ago. For the past eleven

         4         years he works everyday as a New York City cab driver.

         5         Everyday six days a week twelve hours a day Tarek El Turkey

         6         is proud to go to work driving a New York City cab here in

         7         New York City. Gas prices, weather, insurance all are

         8         factors whether or not he makes the rent every week but

         9         still he goes out everyday happy and proud to have a job in

        10         this city.

        11                  You will hear in July of 2012 Mr. El Turkey lived

        12         in a basement apartment on 105 Street just a few doors away

        13         from Northern Boulevard in Queens. He lived with a friend

        14         of his who worked at the deli a few blocks away. On that

        15         night he had come home from a long day driving the cab. He

        16         took a shower, watched a movie.

        17                  The land lady who lived upstairs had two very

        18         simple rules, the rent has to be paid in cash, and there is

        19         no smoking. The first rule Tarek never had a problem with.

        20         You will learn though that he is a life long pack a day

        21         smoker, and the second one got on his nerves a little bit,

        22         but the rules of the house are the rules of the house. He

        23         understood that the woman upstairs had children, so 8:30

        24         that evening he felt the urge to go outside and have a walk

        25         and have a cigarette. He stepped out of the house and went


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                                                                              321
                                 Opening Statement-People

             1      down to Northern Boulevard and to the deli on the corner of

          2         105 on Northern Boulevard. It was a regular haunt for

             3      Tarek. His friends worked there. They came from the same

             4      region of the world. The manager was from Yemen, and he

          5         was from Egypt.

             6               That night before Tarek went to the store, he had

          7         to pick up cash. He crossed Northern Boulevard, saw some

          8         people in front of the deli which was nothing new, but

          9         before he went in, he made a left turn and went to the

         10         check cashing place that he went to regularly. He went

         11         there instead of the ATM because it was two dollars

         12         cheaper. Not thinking of it, but his detour did not go

         13         unnoticed. He took out $260 from the check cashing place

         14         exactly. It was his share of the rent. The rent was

         15         coming due and again it had to be paid in cash.

         16                  He went back to 105 Street to pick up coffee and

         17         have a cigarette with his friend. When Tarek got to the

         18         corner of 105 and Northern Boulevard, he saw an all too

         19         familiar face, the defendant Raymond Ball. During the

         20         trial, you will hear that he is a fixture in the

         21         neighborhood. You will almost always find him in front of

        22          that deli on that corner. Tarek will tell you he has seen

        23         him dozens, hundreds of time, can you help me out, give me

        24         something, dollar, $5. Most of time he pays him no mind.

        25         Some days he may throw him a buck or two to be rid of him.


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                                                                             322
                                Opening Statement-People

         1                  On that night Tarek did not think anything of it

         2         then, but he did not know that Raymond Ball was not going

         3         to take no for an answer. Tarek went inside the store, and

         4         he had a coffee. It was night before the 4th of July in

         5         the bodega. People were stocking up for parties that night

         6         so his friend did not have time to chat.

         7                  He took the hint, but before he left, he asked the

         B         friend for a pack of cigarettes, $10 exactly. He gave over

         9         one of the brand new you crisp $20 that he had just taken,

        10         out from the cash machine. He asked to change five

        11         twenties for hundred dollar bill to make it easier for him

        12         to carry and the landlady prefers it. The business owners

        13         are always happy to get rid of big bills, and he made the

        14         change no problem.

        15                  Tarek walked out of the store, not the victim of a

        16         crime and not knowing what laid in store for him. He could

        17         see the front of the deli was crowded with people that he

                   had not seen before and one he had Raymond Ball. He took

        19         out his cell phone, and he made a phone call to a friend in

        20         Jersey. Not wanting to make a call in front of a crowd of

        21         people, he made the right down 105 Street as he had

        22         hundreds of times before when he went for a cigarette. It

        23         was then that he realized something was wrong, someone was

        24         behind him as he walked down 105 Street, someone he had not

        25         seen before, the defendant, Elijah Brooks.


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                                                                                   323
                                      Opening Statement-People

                  1               Following close five or ten feet away, Mr. El

                  2      Turkey kept 'looking back and seeing the face of Elijah

                  3      Brooks following him down the street, this empty street.

                  4      He started walking faster, and Mr. Brooks started walking

                  5      faster. Every time Mr. El Turkey looked back, he saw the

                  6     face of that man Elijah Brooks following him.

                  7              Realizing he was that getting away from the crowds
                  8     and the lights of Northern Boulevard, he realized he was in

                  9     trouble. Tarek immediately started walking faster and so

             10         did he. As they got about 100 feet off the block of

             11         Northern Boulevard, Tarek chose that moment to make a run

             12         for it. He hopped into the middle of the street thinking

             13         the man would not be so brazen to follow me or rob me in

             14         the middle of the street on a well lit Street.

             15                  That's exactly what he did. He followed him, and

             16         as Tarek turned around to make a break towards Northern
             17         Boulevard, that's when these defendants struck. He made

             lB         about halfway up the block when this defendant called out

             19         to his crony, Raymond Ball, push him, get him. That's when
             20         this defendant shoved Tarek El Turkey between two parked

             21         cars, shoved him with such force that he actually launched
             22         Mr. El Turkey on top of Raymond Ball forcing them both to

            23          fall Onto the ground between two parked cars.

            24                  Raymond Ball then proceeded to hold down Mr. El
            25         Turkey while Elijah Brooks beat him to within an inch of
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                                                                                         NS
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                                                                              324
                                 Opening Statement-People

           1        his life, punching him in the face, taking his head

          2         slamming it against the is sidewalk. Tarek tried to fight

          3         back but he couldn't because Raymond Ball dropped his knees

          4         onto Tarek's hands and all he could do was take the beating

          5         after Brooks landed blow after blow on to his head and

          6         face. As he tried to fight it off, Mr. Ball with his knees

          7         on top of his hands went through his pockets ripping open

          8         his pants to get his cell phone and wallet. When that was

          9         not enough, he ripped open even more pockets, but there was

         10         nothing more than the cell phone and wallet.

         11                  Raymond Ball took it and ran but Mr. Brooks was

         12         not done. He was not happy with small haul he got yelling

         13         out, you motherfucker, and repeatedly slamming his skull on

         14         the curb of the sidewalk. Then Elijah Brooks left.

         15                  Mr. El Turkey never lost consciousness. He

         16         staggered into his friend's store and told him what

         17         happened. He saw his friend covered in blood and

         18         immediately called the police.

         19                  As this was going on you will hear that police

         20         Officers Pampena and Detective Lanning, two members of the

         21         New York City Police Department, were individually on

         22         routine patrol. At the same time they both got the call

         23         and ran to the location of 105 Street and Northern

         24         Boulevard.

         25                  Officer Lannirig will tell you that he was driving
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                                                                             325
                                Opening Statement-People

         1         around as the. field intelligence officer doing his normal

         2         rounds, and he was the first one on scene, and he arrived

         3         to see Tarek standing on the corner of 105 Street bleeding

         4         from the head and mouth. He did not need to be told too

         5         much. Tarek aved him down and pointed and he said he went

         6         that way, I saw him, Officer Lanning did not need much

         7         more than that, he said, hop in, let's go get him. They

         8         drove down 105 Street and within about one hundred feet saw

         9         Elijah Brooks standing there with another individual.

        10         Tarek said stop, there he is, that's the man that did this

        11         to me.

        12.                 You will hear Officer LannirLg say he saw two
        13         people and did not know which one to stop. He hopped out,

        14         drew his weapon and told them both to stop. Tarek was

        15         clear not that one,, that one, Elijah Brooks is the man that

        16         robbed me.

        17                  While this was going on Officer Pampena was making

        18         his way from the opposite direction of 105 Street. He came

        19         across the defendant Raymond Ball running, running at a

       20          full sprint up the opposite way of 105 Street away from

       21         Northern Boulevard with a cell phone in his hand, the cell

       22         phone you will eventually learn was Tarek El Turkey's.

       23                   Officer Pampena stopped the defendant eventually

       24         opened up the phone and saw pictures of Tarek El Turkey

       25         inside. The defendant said, I got it from somebody down on


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                                                                                   326
                                       Opening Statement-People

                 I        Northern Boulevard, the most honest thing he probably ever

                 2        said, I got it from a guy on Northern Boulevard. The

                 3        officer says' let's go find Out who that guy was, he did, it

                 4        was Tarek El Turkey as he was being treated in the

                 5        ambulance.

                 6                These are the allegations -- these are the facts

                 7        that lead a Grand Jury of the County of Queens to vote the

                 8        indictment that you will consider. I would like to read

                '9       that indictment to you now.

                10                The Grand Jury of the County of Queens by this

                11       indictment accuses the defendants of robbery in the second

                12       degree as committed as follows: The defendants each aiding

                13       the other on or about July 3 in the County of Queens each

                14       actually being present forcibly stole certain property, to

                15       wit: Personal property from Tarek El Turkey.

                16                The Grand Jury of the County of Queens by this

                17       indictment accuses the defendants of robbery in the second

                18       degree committed as follows: The defendants each aiding

                19       the other on or about July 3 of 2012 in the County of

                20       Queens forcibly stole property, to wit: Personal property

                21       from Tarek E! Turkey and in the course of the commission of

                22       the crime or immediate flight therefrom caused physical

                23       injury to.Taiek El Turkey who was not a participant in the

                24       crime.

                25                The Grand Jury of the County of Queens by this


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                                                                            327
                               Opening Statement-People

        1         indictment accuses the defendants of assault in the third

        2         degree committed as follows: The defendants each aiding

        3         the other on or about July 3, 2012 in the County of Queens

        4         with intent to cause physical injury to another person

        5         caused such injury to Tarek El Turkey.

        6                   Finally, the Grand Jury of the County of Queens by

        7         this indictment accuses the defendant Raymond Ball of

        8         criminal possession of stolen property in the fifth degree

        9         committed as follows The defendant on or about July 3 of

       10         2012 in the County of Queens with intent to benefit himself

       11         or a person other than the owner thereof or to impede the

       12         recovery by an owner thereof knowingly possessed stolen

       13         property, to wit: Stolen property taken from Tarek El

       14         Turkey.

       15                   It is on these facts and on this indictment that

       16         you will ultimately judge these defendants. It is on their

       17         actions that day that you will judge these defendants. As

       18         the Court told you, this is only a legal tool to bring the

       19         defendants before the Court. More importantly it is a road

       20         map to this case. It is my obligation to prove the

       21         elements contained in this indictment, nothing more,

       22         nothing less. Hold me to the burden of proving this road

       23         map to you of showing you what happened on that night of

       24         proving the accusation of the charges contained in this

       25         indictment, not beyond all possible doubt or beyond all


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                                                                              328
                                 Opening Statement-People

          1         possibility of a doubt, nor is it my obligation to prove

          2         them beyond a shadow of a doubt as the Court said, that is

          3         impossible. My obligation is to prove it beyond a

          4         reasonable doubt, a doubt based on reason.

          5                  As you listen to the evidence, consider what is

          6         reasonable and not reasonable, what is credible and not

          7         credible. I implore you to use the most valuable assets

          8         you brought to the courtroom, common sense and life

          9         experience. These are the qualities that you walked in

         10         here with on day one of jury selection and they make you

         11         the person you are today. Do not hesitate to use them in

         12         this setting. You were picked because of your common sense

         13         and life experience that you demonstrated during jury

         14         selection. There is no sign in the courtroom that says

         15         leave common sense at the door. Use the qualities of

         16         listening to the evidence in evaluating what is the

         17         credible evidence in this case. Remember the ultimate goal

         18         is to render a fair verdict based upon the credible

         19         evidence presented to you.

         20                  I ask you to remember trial is not seeking some

         21         great moral truth or answering or speculating on what ifs,

         22         what if things were different. There are no mysteries to

         23         be solved, only accusations to be proven. At the end of

         24         the trial I will come back to you and speak to you about

         25         what the evidence has shown, and    I will ask you to render a

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                                                                              329
                              Opening Statement-Mr. Gibbons

          1         verdict consistent with the credible evidence presented in

          2         the courtroom.

          3                  Before I do that, the evidence will speak far

          4         louder or clear than my words. I ask you to pay attention

          5         the evidence, consider what is credible and use your common

          6         sense, and at the end of this trial, I am confident there

          7         will be no verdict you can reach but guilty. Thank you.

          8                  THE COURT: Thank you.

          9                  Mr. Gibbons, do you wish to open?

                             MR. GIBBONS: Yes, your Honor.

         11                  THE COURT: You may proceed.

         12                  MR. GIBBONS: Thank you.

         13                  Good morning, ladies and gentlemen. Thank you for

         14         your service. The indictment that was read by Mr. Shortt,

         15         his opening statement, my opening statement, the opening

         16         statement of Mr. Ball should he choose to make one, is not

         17         evidence. It's not evidence. This opening statement is

         18         merely an overview, road map of what we believe the

         19         evidence is going to show you, what the testimony will tell

         20         you what the evidence will show you, to help you determine

         21         what the facts actually are.

         22                  What's not in dispute is whether Mr. El Turkey was

         23         robbed. Common sense, the same common sense that

         24         Mr. Shortt talked about clearly will tell you he was robbed

         25         and viciously beaten. What's in dispute is whether or not


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                                    Opening Statement-Mr. Gibbons

                1         my client, Elijah Brooks was one of those assailants. At

                2         the end of this trial, when you have heard all of the

                3         evidence, common sense will tell you that he couldn't have

                4         been, that he was not. You will hear about the assault

                5         from Mr. El Turkey, the fact that he knew one of the

                6         robbers, he had seen him before, but he had never seen the

                7         other one, that the attack happened suddenly, and it was

                8         violent with punches to the face, with his head slammed to

                9         the street, that Mr. El Turkey goes into a nearby deli and

               10         the clerk calls 911, a vague description is put over, three

               11         male blacks and that one of them was wearing a white shirt

               12         and black pants.

               13                  Mr. El Turkey is going to tell you that he saw

               14         this assailant the stran ger again moments later outside the

               15         deli just a few seconds later after the first call and he

               16         goes back into the deli, Mr. El Turkey goes back into the

               17         deli. The cops are called again, Mr. El Turkey goes

              18          outside a few seconds, a minute later, and he sees an

              19          unmarked car. He goes over to it and speaks to the officer

              20          inside, and he gets in to canvass the area and while

              21         travelling southbound on 105 Street. You will figure out

              22         the directions, traveling southbound on 105 Street, just a

              23         few feet from the intersection of 105th and Northern.

              24                  Mr. El Turkey sees my client Elijah Brooks walking

              25         towards them, walking towards them, towards the crime
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                                                                             331
                             Opening Statement-Mr. Gibbons

          1        scene, not running away from the crime scene, towards the

          2        crime scene, walking and chatting with another individual.

          3        Mr. Brooks is arrested, he is searched right then and

          4        there, a couple of minutes after this all happened.

          5        Nothing is found on him, no proceeds from this robbery. He

          6        is wearing a white shirt but he is wearing black shorts and

          7        wearing a red baseball cap, and he is missing a bunch of

          8        teeth.

          9                 Then you will hear a few moments later another

        10         police car stops Raymond Ball who is running down 105

        11         Street away from the crime scene. When he stops he blurts

        12         out absolutely unprompted something to the effect he just

        13         bought this phone on the boulevard. When he was arrested

        .14        he is found to have the victim's phone, money in the exact

        15         amount and denominations taken from the victim, he is

        16         identified by the victim and he is wearing a white shirt,

        17         black pants and his description was his clothes were

        18         disheveled.

        19                  There will be other evidence, that's the heart of

        20         the allegations here. I need you to keep an open mind

        21         while the case is being presented to you. Do not prejudge.

        22         Wait until you hear all the evidence, seen all the

        23         evidence. Hold Mr. Shortt to his burden of proof beyond a

        24         reasonable doubt.

        25                  Once you do and the judge has instructed you on


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                                                                               332
                                  Opening Statement-Mr. Ball

           1         the law to apply to the facts, and you go back and

           2         deliberate, I'm sure that you will be -- you will have to

           3         come back with the only verdict possible for Mr. Brooks

           4         which is not guilty on all counts. Thank you.

           S                  THE COURT: Thank you, Mr. Gibbons.

           6                  Mr. Ball, do you wish, to open?

           7                  THE DEFENDANT BALL: Yes.

           8                  THE COURT: You may proceed.

           9                  THE DEFENDANT BALL: Good morning, ladies and

          10         gentlemen of the jury. How are you doing today? I have

          11         been looking for this moment for a long time.

          12                  You know, on the date when this crime allegedly

          13         took place is 2012, July 3 of 2012, and, you know, this is

          14         -- today is what, 2015, so the length of time between the

          15         time that I have waited to come here has been a long time,

          16         and I'm looking forward to it, and I'm glad that I have you

          17         guys as jurors to help me through this. I appreciate it.

          18         Thank you.

          19                 THE COURT: Anything else? That's it?

         20                  THE DEFENDANT BALL: No.

         21                  THE COURT: Okay.

         22                  THE DEFENDANT BALL: I want to start out by

         23          reading what: you call Justice Lewis Brandeis, one of the

         24         greatest Supreme Court judges, he lived during the time of

         25          1856 to 1941 - -


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                                Opening Statement-Mr. Bali

             1               THE COURT: Mr. Ball?

             2               THE DEFENDANT BALL: The greatest thing --

             3               TI-SE COURT: Mr. Ball?

             4               THE DEFENDANT: -- to lurk --

             5              THE COURT: Mr. Ball.

                            THE DEFENDANT BALL: Yes, sir, is there a problem?

             7              THE COURT: Yes.

             8              THE DEFENDANT BALL: What's the problem?

             9              THE COURT: The problem is that's improper for an

        10         opening statement.

        11                  THE DEFENDANT BALL: The United States wins its

        12         point when justice is done as citizens in this court.

        13                  THE COURT: You are ignoring what I just said to

        14         you, aren't you?

        15                  THE DEFENDANT BALL: Ladies and gentlemen of the

        16         jury, the District Attorney Shortt has checked his ethical

        17         responsibilities

        18                  THE COURT: Mr. Ball.

        19                  THE DEFENDANT BALL: -- at the door.

        20                  THE COURT: Mr. Ball, address yourself to what you

        21         think the evidence is going to show.

        22                  THE DEFENDANT BALL: This trial will reveal itself

        23         as a dark bloom, a terrible flower and the root cause of

        24         the dark bloom is that this cause has fundamentally poorly

        25         prosecuted from the outset.


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                                                                             334
                               Opening Statement-Mr. Bail

            1               MR. SHORTT:    Objection, your Honor.

            2               THE COURT: Sustained.

            3               THE DEFENDANT BALL: Mr. Shortt --

        .4                  THE COURT: Sustained. Again, Mr. Ball, address

        .5         yourself to what you think the evidence will show or will

            6      not show.

            7               THE DEFENDANT BALL: Ladies and gentlemen of the

            8      jury. I will prove that the District Attorney has

            9      flagrantly violated my constitutional rights -

        10                  MR. SFIORTT:   Objection.

                            THE COURT: Sustained.
        1
        1                   THE DEFENDANT BALL: Ladies and gentlemen of the

        13         jury, the evidence and the situation that he described to

        14         you guys is not what happened. What happened is I was

        15         walking from a friend of mine's house on 32 Avenue, and I

        16         was stopped by some police officers, car 242, like they

        17         said, Pm a person who is known in the neighborhood. I was

        18         walking, I had slippers on, shorts and a white shirt, and I

        19         had just came from my friend's house. The officers stopped

        20         me, brought me back to the crime scene because they wanted

        21         to question me.

        22                  When I got back to the crime scene with the

        23         officers, they took me out the car, and they surrounded me.

        24         The next thing, I know they put me back in the car and took

        25         me to the precinct. What happens is in the testimony that


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                                                                              335
                                Opening Statement-Mr. pall

          1         was presented is that I was running away from the crime

       :2           scene with the victim's phone in my hand, and that I

          3         voluntarily just went to the police without no provocation

4                   at all, I just ran up to them and voluntarily turned myself

          5         in and told them that I have a phone that I got from 105

          6         Street. What happens is     in the testimony that was
          7         presented to me in like the testimony of the officers,       they
8                   testified in the Grand Jury --

          9                  MR.. S1-{ORTT   Objection.

         10                  THE COURT: Well, just tell us what     you think the
11                  evidence is going to show at the trial.

         12                  THE DEFENDANT BALL: Okay. The evidence, in       other
13                  words, is going to show that it was impossible for me to

         14         have committed the crime. This is a crime where there was

         15         a lot of blood, and, you see, Mr. Shortt already has

         16         explained to you guys that I was allegedly the person who

         17         held Mr. El Turkey down on the ground, and later on you

         18         will see evidence of me after I was, you know, arrested

         19        with a white shirt and no indications of blood or anything.

        20                  This trial, you know, is lacking a lot of evidence

        21          that I need to show and prove my innocence, but the truth,

        22         the truth is something that I know, that's the reason I'm

        23         here, because I know that the truth. It can't last

        24         forever, it has to be uncovered so I think that throughout

        25         the process of this trial I think that if we take our time,


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                                                                              336
                                 Opening Statement-Mr. ball

1                   ladies and gentlemen of the jury, I'm confident that you

2                   guys will, you know, help me uncover the truth of the

          3         matter.

          4                   This is my first time doing this, but I appreciate

          5         everything, and I'm not going to hold you. I want to get

          6         straight into the trial and possibly, hear, you know, more

          7         of the testimony that's being presented against me so that

          8         we could probably evaluate the testimony along with the

          9         evidence that's being presented, and I will have an

         10         opportunity to confront my accusers. Thank you.

         11                   THE COURT: Thank you, Mr. flail.

         12                   Mr. Shortt, call your first witness.

         13                   MR. SHORTT:   Your Honor, the People call Tarek El

         14         Turkey.

         15                   THE COURT OFFICER: Witness entering.

         16 T-A-R-E-K E-L T-tJ-R-K--E-Y, having been duly sworn, was examined

         17   and testified as follows:

         18                   THE COURT CLER!(: Please be seated and answer all

         19         questions in a loud clear voice.

         20                   THE COURT OFFICER: The People call Tarek El

         21         Turkey, T-A-R-E-K, last name, E-L-T-U-R--K-E--Y, resident of

         22         Queens County.

         23                   THE COURT: Mr. Shortt, you may inquire.

         24                   MR. SHORTT:   Thank you, Judge.

         25   DIRECT EXAMINATION:


                                                                                    NS
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         1   BY MR. SHORTT:

         2           Q   Good morning, Mr. El Turkey.

         3           A   Good morning.

         4           Q   How are you today, sir?

                     A   I'm fine. Thank you.

         6           Q   How old are you?

                     A   55.

         8           Q   Where were you born?

A                        Egypt, Alexandria.

        10           Q   When did you come to this country?

        11           A   1988.

        12           Q   How did you come to this country?

        13           A   By airplane.

        14           Q   Why did you come?

        15           A   To get a better life.

        16           Q   Did any of your family come with you?

        17           A   No.

        18           Q   Just you?

        19           A   Yes.

        20           Q   Where did you first come when you arrived in America?

        21           A   New York.

        22           Q   And what did you do when you first arrived in New

        23   York?

        24           A   I work restaurant for four years, then I moved to

        25   Texas.


                                                                                   NS
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          1         Q      Where in Texas did you move?

          2         A      Houston.

          3         Q      How long were you there for?

          4         A      Six years.

          5         Q      What did you do down there?

          6         A      I used to have gas station.

          7         0      Then what happened?

          8         A      My brother took it.

          9         Q      Okay. When did you come back to New York?

         10         A      '03.

         11         0      What do you do fox work, sir?

         12         A      Yellow cab taxi driver.

         13         0      How long have you done that?

         14         A      Like around ten or eleven years.

         is         0      Do you have your own cab?

         16         A      No, I lease it.

         17         Q      Do you lease it with other people?

         18         A     Yes, sir.

         19         0     How many days a week do you drive your cab?

         20         A      Six, sometimes seven.

         21         Q     What's the average shift for you, how long?

         22         A     Twelve hours.

         23         0      I'm sorry?

         24         A     Twelve hours.

         25         0     I would like to talk to you a little about what you


                                                                                      NS
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             1   were doing in July of 2012. Were you still living in New York

         2       City at that time?

         3            A     Yes, sir.

         4            Q     Where in Few York City were you living?

         5            A     Corona.

         6            Q     Where in Corona?

         7            A     105 between Northern Boulevard and 32 Avenue.

         8            Q     How far off Northern Boulevard was your house?

         9            A     Like 40 feet.

        10            Q     How many houses is that?

        11           A      Third house from Northern Boulevard.

        12                    MR. CIBBON5      I'm sorry?

        13                    THE COURT: third house, 40 feet.

        14           Q      What type of building was that?

        15           A      Family house, two floors.

        16           Q     Where in the house did you live?

        17           A     The basement.

        18           Q      Did you live there alone?

        19           A     No, I have roommate.

        20           Q     Who was your roommate?

        21           A     From same country, his name is Hany.

        22           Q     How long had you been living at that place for?

        23           A     Four years.

        24           Q     Had Hany always lived with you at that time?

       25            A     Yes, sir.


                                                                                   NS
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             1           Q    What was your rent when you lived there?
            2            A    1200.
            3            Q    Who else lived in that building?
            4            A    The owner.
            5            Q   Who was she?
            6         A      Her name is Carmen.
         7            Q      Did Carmen have any rules about the house?

         8            A      Yes, no smoking in the house. She has a daughter,
         9 she had asthma.
        10            Q      Okay. Do you smoke?
        11            A      I smoke outside, yes.
        12            Q      How much do you smoke?
        13            A      Like pack and a half.

        14            Q      How long have you been doing that for?
        15            A      25 years.
        16            Q      Are you planning on quitting any time soon?
        17            A      Yeah.

18                    Q      I want to talk to you specifically now about the day

        19       of July 3 of 2012, okay?
       20             A      Yes.
       21             Q      Were you working on that day?

22                    A      Yes, day shift, yes.

23                   Q       What is the day shift for taxicab driver?
24                   A       From five to five.
25                   Q       5:00 A . M . to 5 P.M.?


                                                                                   NS
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          1         A      Yes.

          2         Q      Where do you usually drive your cab?

          3         A      In Manhattan or airport.

          4         Q      When did you go -- when did you finish work that day?

          5         A      5:00.

          6         Q      What did you do after work?

          7         A      I went home, eat, take a shower, stay on the laptop.

          8         Q      What do you do on the laptop?

          9         A      F'acebook, I always watch 48 Hour Mystery.

         10         O      Is that the show you usually watch?

         11         A      Yes.

         12         Q      I want to talk to you a little about around like 8:30

         13   in the evening, okay?

         14         A      Yes.

         15         Q      Did you stay in the house all night?

         16         A      No, I always go outside for a smoke.

         17         O      Let's talk about 8:30 at night, did you go out at

         18   that time?

         19         A      Yes, sir.

         20         Q      Where did you go when you left the house?

         21         A      I went to the ATM machine.

         22         Q      Where is the ATM machine?

         23         A      On corner of 106 and Northern Boulevard.

         24         Q      If I were to walk out the front of the door of your

        25    house at the time, how would I get to that check cashing place?


                                                                                    NS
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                                    El Turkey-People-Direct

         1            A      Just to; cross the street to Northern Boulevard as I

         2      said and take a left, it's one block.

         3            Q      So it's across the street from your house?

         4            A      Yes.

         5            Q      On the other side of Northern Boulevard?

         6            A      Yes.

            1         Q      How lon4 did it take you to go from your house to the

         8      check cashing place that day?

         9            A      Two minutes.

        10            Q      Are there any stores in that area that you like to go

        11      to?

        12            A      Yes. The deli.

        13            Q      Where is that deli located?

        14            A      On the corner same of my house 105 and Northern

        15      Boulevard.

        16            0      Where is that deli located compared to your house?

        17            A      Just across the street.

        18            Q      Is it across 105 or across Northern Boulevard?

        19            A      105.

        20            0      Is it on your side of Northern Boulevard?

        21            A      No, the other side.

        22            Q      Where 15 : that deli compared to the check cashing

        23      place?

       24             A      The opposite 105 corner and 106, it's one corner.

       25             0      When you went to the check cashing place, did you


                                                                                     NS
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                                                                             343
                                  El Turkey-People-Direct

         1. pass the deli?

         2           A   No.

         3           Q   How did you get there?

         4           A      I went H- I took the money and then I went to the

         5   deli.

         6           Q   Okay. How did you get from your house to the check

         7   cashing place?

       Ls            A   Walking.

         9           Q   What route did you take?

        10           A   I just cross the street, take a left one block,

        11   that's the check cashing, then I come back one block, and I be

        12   in the deli.

        13           Q   Do you know anybody that works in the deli?

        14           A   What, sir?

        15           Q   Do you know anybody that works at the deli?

        16           A   Yes, my friend is the owner, I know him since I live

        17   in this area.

        18           Q   How often did you go into that deli?

        19           A   I go all the time, maybe ten times a day.

        20           Q   Ten times a day?

        21           A   Yes, to buy coffee and cigarettes, and I stay with

       22    the guy because he is from Middle East.

       23            Q   Where is he from?

       24            A   From Yemen.

       25            Q   What do you guys talk about?


                                                                                   NS
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           1        A      The revolution and politics, woman, normal, we are

           2   friends.

           3        Q      Okay. Was he there when you went to the deli on July

           4   3?

           5        A      Yes.

           6        Q      Was -- did you get to talk to him?

           7        A      Yes.

           8        Q      What did you talk to him about?

           9        A      Before the accident?

         10         Q      When you first walked into the deli that day?

         11         A      We was talking about he was planning to get married

         12    so I give him advice about marriage, we talk about woman.

         13         Q      Okay. Were there other people in the deli that day?

         14         A      Yes, it was busy rush hour.

         15         Q      About how many people in the deli at that time?

         16         A      Maybe like six or seven people.

         17         Q      Before you walked into the deli, did you see anybody

         18    that you had seen before?

         19         A      Yeah, I saw one guy.

         20         Q      Who was that?

         21         A      He is a black guy, homeless, I always give him dollar

         22    or coffee or something.

         23         Q     How often had you seen that person before?

         24         A      I see him like three or four times.

25                  Q     And when was the last time before that day that you


                                                                                      NS
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                                    1 Turkey-People-Direct

          1   had seen him?

          2           A    Maybe like three or four days.

          3           Q    What happened three or four days before, how did you

          4   see him? What was he doing at that time?

          5           A    He always begging for dollar.

          6           Q    Where does he do that?

         7            A    In the same, in the corner 105 and Northern

         8    Boulevard.

          9           0    Okay. What time of day did you see him that first

        10    time?

        11            A    It's after I finish work I always when I got off from

        12    the bus, sometimes I always see him in the corner of 105 and

        13    Northern Boulevard.

        14            Q    For how long had you been seeing him there, weeks,

        15 months, how long?

        16            A    Yeah, maybe like months, month and a half.

        17            Q    Where was he the first time that you saw him on the

        18    night of July 3rd, 2012?

        19            A    It was in the corner of 105, outside the deli.

        20            Q    Where outside the deli?

        21            A    Corner of 105 and Northern Boulevard.

        22            Q    What was he doing?

        23            A    He was standing with bunch of guys.

        24            Q    I'm going to ask you to take a look around the

        25 courtroom and see if you recognize the person that you have


                                                                                   NS
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          1   talked about just now.

          2           A    He is not here.

          3           Q    Look around the whole courtroom, sir.

          4           A    No, not here.

          5           Q    After you saw this person, what did you do after you

          6 saw him for the first time?

          7           A    I went inside the deli to buy cigarette.

          8           0    How long were you in the deli for?

          9           A    Stay like couple, three minutes because it was busy

         10   time.

         11           Q    And when you went -- when did you leave the deli?

         12           A    I spend like three or four minute, and then I went

         13   outside like 8:30.

         14           Q    Where were you going when you left the deli?

         15           A    Just around the corner walking 105 to smoke a

         16   cigarette and talk on the phone.

         17           Q    Who were you going to call?

         18           A    A friend of mine in New Jersey.

         19           Q    What were you going to talk about?

         20           A    She is a girlfriend, yeah.

         21           Q    When you left the store, was there anybody outside of

         22   the store?

        23            A    Yeah, it was a lot of guys.

        24            Q    Can you describe what those people looked like?

        25            A    It was one side has like four or five guys and the


                                                                                    NS
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                                                                                347
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             1   other side had four or five or six guys.

             2            Q   What did you do when you walked outside of the deli?

             3           A     Just light my cigarette and I dial the number and I

             4   walk.

             5           Q     I'm sorry?

             6           A     I light my cigarette and I dial the number, and I

             7   just walk on the sidewalk.

             8           Q    What direction did you go after you walked out of the

             9   front of the deli?:

         10              A    Sorry?

         11              Q    Where did you go as soon as you walked out of the

         12      deli?

         13              A    I walk on the sidewalk like to the other way like

         14      going 34 Avenue.

         15              Q    What street were you taking to get to 34 Avenue?

         16              A    Same, 105, but I didn't catch 34 Avenue, I just walk

        17       like maybe hundred: feet

        18               Q    Okay, Were you walking away from or towards Northern

        19 Boulevard?

        20               A    Opposite from Northern Boulevard.

        21               Q    And you were on 105 Street?

        22            A       Yes, sir.

        23            Q       What happened when you walked along 105 Street?

        24           A        I find Someone following me.

        25           Q        What do you mean by that?


                                                                                      NS
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                                                                              348
                                  El Turkey-People-Direct

          1          A     Like I catch the phone and it's dark, and I'm not

          2   strong enough, I always sneak like look like this I find someone

          3 and so I moved and someone moved also and I said better for me

          4   safe to go outside so I leave the sidewalk and I turn in the

          5 street to be the car -- visible to the car so he is also look at

          6 me and I hear to say someone push him, or punch him, so I look

          7 and the other guy, homeless guy is behind me so I turn, wherever

          8   I turn to talk to the heavy guy what you want, he push me, the

          9 guy behind me we both go down on the floor, and my head was in

         10 his lap, and his legs, the other guy so he stand up to search my

         11 clothes, he cut my pants, he took my phone and when -- when he

         12 got off to search me, my head touch the base so the heavy guy he

         13   is -- his legs, he is jump -- he is in front of me, on top of

         14 me, and he took my head, and he push it in the sidewalk two

         15   times, and then he punch me in the eye and the teeth, I lose

         16 this one, this teeth (indicating) and he say a lot of bad word

         17   like I kill you MV bad word, and the guy was talking to the

         18   other guy, take it, take it, fast, fast, then before the guy,

         19 the homeless guy, he took the phone and the wallet and the money

         20 and then the guy, he push me again to make me dizzy, and he push

         21 me again in the sidewalk like three times, it was blood, and he

        22    run.

        23           Q    I want to back up a little bit. You said that you

        24    saw somebody following you?

        25           A    Yes.


                                                                                    NS
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.                                                                                349
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              1        Q      How close did that person get to you while they were

              2   following you?

              3        A      Seven feet.

              4        Q      Could you point to something in the courtroom what

              5   you mean by that?

              6        A      Like me and this lady.

              7        Q      That's how close that person who followed you was?

              a        A      Yes.

              9                  THE COURT: This lady meaning the clerk?

             10                  THE WITNESS: Yes.

            11         Q      Had you ever seen that person before?

            12         A      No.

            13         Q      Could you describe for the jury what that person

            14    looked like?

            15         A      Yeah, he is heavy, taller than me and maybe heavy,

            16    maybe weigh like 300 pounds, I don't know, like 250 pounds,

            17    black guy wearing like white shirt and dark jeans.

            18         Q      Could you see what kind of hair he had, long hair?
            19         A      No, short hair.

            20         Q      Did you notice anything else about him?
            21         A      What?
            22         Q      Did you notice anything else about him?

            23         A      No.
            24         Q      What happened when --

            25                   MR. SHORTT:    Withdrawn.


                                                                                       NS
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          1           Q     How far down 105 Street did you walk?

          2           A     Like 80 feet, I pass like five or six houses.

          3           Q     How close was this person while you were walking?

          4           A     He was close to me like same   like lady, like seven
5             feet.

          6           Q     Did you ever get closer?

          7           A     No, because I moved also.
          8           Q     What do you mean that you moved?

          9           A     I mean 1 walk like this, I catch the phone, I hang

         10   up, but I act like I'm not scared, just walk, walk, walk, and I

         11   get down the street.

         12           Q    And what happened then?

         13           A     Yeah, I find him, he start talk to someone like make

         14   a deal push him, push him.

         15                   MR. GIBBONS: Objection, your Honor, to what he

         16           thinks they were making a deal or something.

         17                   THE COURT: Sustained as to that. Just tell us

         18           what you heard them say, okay?

         19           A     I mean -- okay.                                               -

         20           Q    Mr. El Turkey, how many times did you look back     and
21            see the person who. was following you?

         22           A    Not time, all the time.

         23           Q    What do you mean by that?

         24           A    Like I'm walking if I feel someone behind me, I

         25   always look, not one time or three times, just look my eye like


                                                                                     NS
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                                                                              35-
                                         El Turkey-People-Direct

             1   this.

                          Q    So were you looking at that person's face while you

             3 were walking?

             4            A    Not face, just the view, I like feel he is behind me.

             5            Q   Okay. Could you see his face at that time?

             6           A    When 1 turn, yes.

             7           Q    When did you turn?

             8           A    When I get off in the street.

             9           Q    Let me back up a little bit before we get there,

        10       okay?

        11               A    Urn-hum.

        12                    Had you seen that person outside the deli?

        13               A    I didn't recognize him because 1 don't know him. It

        14       was a lot of guys outside.

        15               Q    When you were walking down the street and the person

        16       was following you, could you tell us were the deli lights on at

        17       that time?

        18               A    Yes.

        19               Q    Were the street lights on at that time?

        20            A       Yes.

        21            O       Were there any other lights on at that time?
        22            A       Few store, three store on this side and dancing club
        23       on the other side.

        24            Q       What do you mean, what dance club?

        25            A       Dance club is open to midnight, take classes, tango


                                                                                    NS
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             1   classes.

         2            Q     Where is that compared to the deli?

         3            A     In front of him, the other corner of 105.

         4            Q     How far down the block of 105 Street between these

         5       two stores did you t get, about how far?

         6            A     What?

         7            Q     How far did you go down 105 Street between these two

         B       stores on 105 Street?

         9            A     I just pass the store like three or four houses.

        10            Q     What happened when you got down to the third or

        11       fourth house?

        12            A     He was too close to me.

        13            Q     So what did you do?

        14            A     That's hen I got out in the street.

        15            Q     Why did you do that?

        16            A     To come back.

        17            Q     Go back where?

        18            A     To the store.

        19            Q     Why were you doing that?

        20           A      Why?

        21            Q     Yes.

        22           A      Why I go to the store?

        23           Q      Yes.

        24           A      To my friend, to have protection, to have safe to

        25 walk to him to comeback to the store to my friend.


                                                                                    NS
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          1           Q   Did you ever get back to the store?

          2           A   After took all the money, yes.

          3           Q   What happened when you started walking back 105

          4   Street up towards Northern Boulevard?

          5           A   The guy, yes, the guy he talk to the other guy he

          6 told him, punch him, punch him so I look to him, what like

          7 wonder what you want to the time between two cars he push me,

          8   and I fell down.

                      Q   The person that you have told us that was following

         10 you was the same guy as the homeless guy?

         11           A   No.

         12           Q   Would you recognize that person if you saw them

         13   again?

         14           A   Yeah, maybe, yeah.

         15           Q   I ask you to take a look around the courtroom and see

         16   if you recognize that person?

         17           A   Okay, been long time. No.

         18           Q   You said it's been a long time, what do you mean by

         19   that?

         20           A   It was like you know, I'm not -- I mean, I didn't

         21   give attention, I'm a person like I don't know if I see the

         22   person 20 times, I don't know what he was wearing. I mean like

        23    I always look for basic things, but I'm not remember faces or --

        24            Q   Okay. You said it was a long time, what do you mean

        25    by that specifically?


                                                                                    NS
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                                                                             354
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           1           A   It was : -jj two or three years ago.

           2           Q   Are you having difficulty remembering?

           3           A   Yes.

           4           Q   I want to speak specifically about the guy that was

           5    following you. When you walked towards 105 Street what

           6    happened, what did he Jo?

           7           A   When I walk?

           8           Q   When you walked -- when you were on 105 Street

           9    walking back towards Northern Boulevard, what did that person

        10      do, the guy that had been following you?

                       A   He pushed me.

        12             0   Pushed you where?

        13             A   In my chest.

        14                 What hand did he use to push you?
        1
        .1..J          A   Two hands.

        16             Q   And what direction was he pushing you in?

        17             A   The guy was behind me, I don't know, it was between

        18      two cars on 105 Northern Boulevard.

        19             Q   Where were those cars parked?

        20             A   On the left side.

                       Q   Of what?

                       A   Of 105.

        23             Q   And was there anyone else there when he was pushing

        24      you?

        25             A   The homeless guy.


                                                                                   NS
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                                  El Turkey-People--Direct

          1         Q      Who was that -- I mean where was he?

          2         A      He was behind me.

          3         Q      What do you mean he was behind you?

          4         A      I was in the street and maybe he was between the

          5   cars, the two cars.

          6                   MR. SHORTT:    I would like to have this marked as

          7         People's Exhibit 1 for identification and 2.

          8                   THE COURT: Have you seen this?

9                             MR. GIBBONS: Yes.

         10                   THE DEFENDANT BALL: No.

         11                   THE COURT: Show it to the defense.

         12                   (Handing.)

         13                   (People's Exhibits 1 and 2, photographs, marked

         14         for identification.)

         15                   THE COURT OFFICER: So marked for identification

         16         being shown to the witness.

         17         Q     Mr. El Turkey, do you recognize what's being shown in

         18   front of you?

19                  A     Yes.

         20         Q     What is that?

         21         A     This is the deli, and this is the check cashier here
         22   this corner, and I got hit here between these two cars.

         23         Q     Is that the location where those events happened?

        24         A      Yes.

        25         Q      Do those pictures fairly and accurately depict what


                                                                                    NS
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                                                                              356
                                   El Turkey-People-Direct

          1   the streets and the buildings looked like?

          2         A       Yes.

          3         Q       On July 3 of 2012?

          4         A       Yes.

5                             MR. SHORTT:    Your Honor, with that foundation I

          6         move these into evidence as People's Exhibits 1 and 2 into

          7         evidence.

          8                   THE COURT: Mr. Gibbons?

          9                   MR. GIBBONS: No objection, your Honor.

         10                   THE COURT: Mr.Ball?

         11                   THE DEFENDANT BALL: No.

         12                   THE COURT: Mark it as People's Exhibit 1 and 2.

         13                   (People's Exhibits 1 and 2, marked and teceived

         14         into evidence.)

         15                   MR. SHORTT:    Do we have an easel to display for

         16         the jury while the witness testifies?

         17                   THE COURT OFFICER: Do you want to show it to the

         18         jury?

         19                   MR. SHORTT:    Show it to the jury first, please.

         20                   THE COURT: Show it.

         21                   (Exhibits shown to the jury.)

         22                   THE COURT OFFICER: The exhibits have been

         23         published to the jury.

        24                    THE COURT: Officer, maybe you can just hold the

        25          photos.


                                                                                    NS
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                                                                             357
                                 El Turkey-People-Direct
          1         Q     Mr. El Turkey, just to go back a bit in your story.

          2 When you said you were going to a deli, is that deli displayed

          3 in this photograph?

          4         A     Yes, this one.

          5         Q     Where is the check cashing place that you went to the

          6 ATM machine?

          7         A     Here in this block, end of this block.

          8         Q     Which end of the block?

          9         A     This 105 so the next block is 106.

        1• 0        Q     Could you show us the direction that you were walking

        11 when you came back from the check cashing place?

        12          A     Yes. I live in the same side for 105 so I just cross

        13     105, and I take a left one block to went to the check cashier.

        14          Q     I want to talk to you about what. happened at the

        15 check cashing place. How much money did you take out?

        16          A     260.

        17          Q     Why did you take out so much money?

        18          A     I always because we didn't -- yellow cab we didn't

        19 take cash, the garage take money and debit card and they post

        20     three hours after sheet so everyday I leave my money, I don't

       21      leave it in account.

       22                 What kind of bills came out of the ATM machine?

       23           A     All twenties.

       24           Q     How long were you at the check cashing place?

       25           A     Just three minutes.


                                                                                   NS
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                                                                              358
                                  El Turkey-People-Direct

          1         Q     Where did you go after the check cashing      place?
2                   A      The deli.
          3         Q     Can we show People's Exhibits I and 2 to the witness

          4   again?    Could you show the jury the route that you took from

          5 the check cashing place to the deli?

6                   A      Yes, just got off from the deli like two store like
7             this, cross the street and go to the deli.

          8         Q     How long were you in the deli for?
9                   A      I stay like three or four or five minutes max.

         10         Q     Did you buy anything at the deli?
11                  A      I buy cigarettes.

         12         Q     How many packs of cigarettes did you buy?

         13         A     I buy one.

         14         Q     How much did that pack of cigarettes cost?

         15         A     He gave give it to me $10.

         16         Q     What kind of bill did you give him?

         17               I give him 20, and he gave me ten.

         18         Q     Did you give him any other money that night?

         19         A     I guess: I broke one, I change $100 for some customer

         20 because always the deli take the money step by step, they don't

         21   leave the money in the register so I take 100 dollar and I

         22   change for someone.

         23         Q     What bill did you get in return?

        24         A      Hundred.

         25        Q      So how much money did you have in your pocket when


                                                                                    NS
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                                                                             359
                                    El Turkey-People-Direct

            1   you walked out of €he deli?

          2          A      250.

          3          Q      When you walked out of the deli --

          4                   MR. SHORTT:     Can we keep holding up one and two
          5          for the witness, please? Thank you.

          6          Q      Mr. 51 Turkey, you said there was a crowd of people

          7     on the Street that night. Using the picture on the left side

          8 could you point to where you saw the crowd of people?
          9          A      Here like five six, here, this is ice machine,
        10 outside is here, also both corner a lot of guys.
        1.1          Q      I want to talk to you specifically about the homeless

        12 guy that you have told us you have seen in the past. Where was
        13      he the first time that you saw him on July 3 of 2012.

        14           A      Outside the deli.

        15           Q      What was he doing?

        16           A      He always begging people as they going inside or

        17      outside, ask for quarter, dollar or something, like any

        18      homeless.

        :19          O      What was he doing that night specifically?

       20            A      Same.

       21                   When you walked out of the deli where was he?

       22            A      Same place outside the deli.

       23            Q      When you walked out of the deli, could you show us

       24       using the picture on the left where you went?

       25            A      Where I went or --


                                                                                   NS
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                                                                               360
                                    El Turkey-People-Direct

           1           Q    Where did you walk after you left the deli?
2                      A    Me.
3                      Q    Yes.
4                      A    Yeah, I walked this way. I got out of the deli and

           5 walked this way opposite of the car.

6                      Q    I want you to look at the picture on the right-hand

           7    side of the photograph. Do you recognize that?

8                      A    Yeah.
9                      Q    What is that?

10                     A    This is the street I walk, I walk like up to here,
11.            then I went, I go out in the street, and I come back and between

12             the two cars he start punch.

          13           Q    Let me stop you for a second and back up a little
          14   bit. Is this the street that you walked down after you left the

15             deli?

          16           A    Yes.

          17           Q    Where were you when you first realized that somebody
          18 was following you?

19                     A   Maybe like in the second store.
          20           Q   Okay. And Mr. El Turkey, had you ever been to those

21             stores before?

          22           A   This stores?
23                     Q   Yes.
24                     A   No, I never go this bar and salon.

          25           Q   Were they open at that time?


                                                                                       NS
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                                                                              361
                                     El Turkey-People-Direct

            1        A        The bar, yes.

         2           0        Were the lights on in this area?

            3        A        No. Bar, no lights.

         4           Q        How far were you walking along the street with the

         5      person following you?

         6           A        Yeah, like to third house, hundred feet from the

         7      beginning.

         8           0        How many times did you look back to see this person?

         9                      MR. GIBBONS: Your Honor, I think that was asked

        10           and answered.

        11           A        I didn't full turn to look to make sure, I'm scared.

        12                      THE COURT: I will allow it.

        13                      MR. SHORTT:   Thank you, Judge.

        14           Q        What caused you to go into the street?

       15            A        Me?

       16            0        Yes.

       17            A        What what?

       18            Q        What caused you to walk from the sidewalk into the

       19       street?

       20            A        Normal smoke cigarette and talk on the phone.

       21            Q        Where on the block did you go from the sidewalk on to

       22       the street?

       23            A        Yeah, like in the third house here.

       24            0        Then what did you do once you reached the street?

       25            A        I come back, but I come back not in the sidewalk in


                                                                                    NS
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                                                                                 362
                                   El Turkey-People-Direct

            1   the street walking close to the middle of the street like to let

            2 the cars see me because I feel like something wrong is going to

            3 happen.

            4         Q     The person that was following you was not the

            5   homeless guy, right?

            6        A      No.

            7        Q      The person that was following you, what did he do

            8 when you walked onto the street?

            9        A      Yeah, I didn't give him attention, like he is passing

        10      me like wait or something, I'm scared so I'm not - I just move,

        11      come back like this, and then he talk to someone, push him,

        12 punch him so I look, I .ind someone behind me so he hit - beat

        13      -- talking like punch h--..-a, push him, then I just close the

        14      phone, and I look at him, and then just take second, he just

        15      pushed me, and I find myself in the floor.

        16           Q     Okay. You say that somebody yelled something out?

        17           A     What?

       18            Q     Somebody yelled something out?

       19                     THE DEFENDANT BALL: Objection, he is leading the

       20            witness, your Honor.

       21            A     No.

       22                    THE COURT: Well, I will allow it.

       23            Q     Mr. El Turkey, somebody yelled something out; is that

       24       Correct?

       25            A     Yell?


                                                                                       IN   S
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                                                                               363
                                       El Turkey--People-Direct

            I               Q   Yes, or said something?

            2           A       Yes, he said something.

            3           Q       Can you show us in the photograph, where were you

            4 standing when you heard him say something?

            5           A       Like here in the street before the cars.

            6           Q       What did you hear them say?

            7           A       Punch him or attack him; something like that, attack

            8   him, punch him.

            9           Q       Who said that?

        10              A       The heavy guy.

        11              Q       Was that the person that was following you?

        12              A       Yes.

        13              Q       And could you see anybody else in the Street at that

       14       time?

       15               A       Yeah, it's still some people in this corner, in the

       16       other corner.

       17               Q       Where was the homeless guy when you heard the person

       18       behind you say that?

       19               A       He was behind me, like five feet behind me.

       20               Q       Which way were you facing at this time?

       21               A       Northern: Boulevard.

       22               Q       Where was the person that was following you when he

       23       yelled that out?

       24            A          Front of me like same like the lady.

       25               Q       What happened when the person in front of you pushed


                                                                                      NS
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                                                                              364
                                  El Turkey-People-Direct

          1    you?

          2           A    I fell down on the floor.

          3           Q    Could you show us on the picture on the right where

          4   you fell on the floor?

                      A    Yes, like between two cars because after I stand up,

          6    I find the girl from the bar she is standing up.

          7           Q    Where was the homeless guy when you found yourself on

          8   the floor?

          9           A    I was in his lap, my head was in his lap.

         10           Q    So were you on the ground?

         11           A    Yes.

         12           Q    What position was he in, the homeless guy what

         13   position was he in?

         14           A    His legs, in my shoulder, like if someone behind you,

         15 and I push you both of you, you are going to fell down, but you

         16 going to fell down in the guy behind you so I fell down the guy

         17   behind me.

         18           Q    Okay. And what happened next?

         19           A    And then he got my hand and the other guy he start to

         20   push me, so the guy stand up because he can't take my wallet and

         21   I'm -- he is down so he get up, so when he stand up, but he

         22   still catch my hand so my head catch the base.

         23           Q    Let me stop you for a second. Mr. El Turkey, where

         24   were your hands while you were getting punched?

         25           A    Like behind me.


                                                                                    NS
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                                                                             365
                                   El Turkey-People-Direct

            1        Q      Was anything holding them?

            2        A      Yes, the guy.

            3        Q      How was he holding your hands?

            4        A      By his legs.

            5        Q      What do you mean by that?

            6        A      Because as soon we both got up so he get his feet

            7   because there is one in the top, he got his feet, and he put it

            8 on my hand.
            9        Q      What do you mean?

        10           A      You want me to show here?

        11                    MR. SRORTT:   With the Court's permission.

        12                    THE COURT: What part of his leg was on you his

        13           knee, his leg---

        14                    THE WITNESS: Yes.

       15                     THE COURT: His knee?

       16                    JUROR: No, his two legs.

       17                    THE COURT: His legs extended out?

       18                    THE WITNESS: No, no.
       19                    MR. SHORTT:    I think the witness --

       20                    THE WITNESS: Like we both fell down.

       21                    THE COURT: Right.

       22                    THE WITNESS: But he get his feet and he put it

       23           like this.

       24                    THE COURT: Foot over your arms?

       25                    THE WITNESS: Yes.


                                                                                   NS
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                                                                                 366
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             1                   THE COURT: All right.

             2            Q    Mr. El Turkey, where was your back, were you seated,

             3 or were you laying on the ground while this person was holding

            4    your hands?

            5         A        Yeah, behind me, I'm in the first sidewalk, like

            6 behind me is the store.

            7         Q        Okay. Were you seated or were you laying down?

            8         A        Me?

            9         Q        Yes.

        10            A        No, I'm not sitting, I'm lay down.

        1_i           Q        Was this person on his feet or was he on his knees?

        12            A        The one behind me.

        13            Q        Yes.

        14            A       No, his knees.

        15            Q       Where were his knees resting?

        16            A       On my hand.

        17            Q       What happened as you were on the ground with that

        18       person resting his knees on your hands?

        19            A       The guy on top of me, he took my head, and he push it
       20        like three times in the sidewalk in the curb.

       21             Q       Who did that?

       22             A       The heavy guy.

       23             Q       Was that: the person that was following you?

       24            A        Yes.

       25            Q        What was the homeless guy doing during all this?


                                                                                       NS
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                                                                             367
                                        El Turkey-People-Direct

            1         A       Search my pocket.

            2         Q       What do you mean stretch your pocket?

            3         A       Because I*m on the floor my wallet in the pants so

            4   I'm on the floor so he have to bring me over to take my wallet

            5   so he cut the whole pants.

            6         Q       How did he cut your pants?

         7            A       From one on top of me and the other guy he try to get

         8      it.

         9            Q       Did he use a tool to cut your pants?

        10            A       No.

        11            Q       How did he do that?

        12            A       He tried three or four times so it's easy to get cut.

        13            Q       What was in your pants pocket at that time?

        14            A       Phone, iPhone and my wallet.

       15             Q       What was in your wallet?

       16             A       The money, $250, my I.D., my Social Security

       17       everything.

       18             Q       Was there anything else in your wallet?

       19             A       The phone.

       20             Q       What type of phone did you have?

       21             A       iPhone.

       22             Q       How long, had you had that phone for?

       23             A       I used to have it like one year.

       24             Q       What happened to your iPhone during all of this?

       25             A       He took it.


                                                                                   NS
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                                                                             368
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         1         Q     Who did?

         2         A     The homeless guy.

         3         Q     And did you see him take it?

         4         A      I'm in the floor, I have blood, but when I get up I

         5   find everything empty.

         6         Q     Was it in the pocket that he reached into?

         7         A     Yes.

         S         Q     What else was in that pocket?

         9         A     The phone and the wallet, that's it.

        10         Q     Flow many times were you hit while you were on the

        11   ground?

        12         A     By hand?

        13         Q     By either of them?

        14         A     My head two times and after few seconds before he

        15   leave also two times, and before he leaves he say bad word, I

        16 will kill you, he call my mom and one here, my eye and one here.

        17         Q     What did he hit you with?

        18         A     No, his hand.

        19         Q     How many times did he hit you with his hand not

        20 hitting your head against the sidewalk?

        21         A     Two times.

        22        Q      Where did he punch you?

       23         A      One in eye, one in teeth here.

       24         Q      Describe to the jury what kind of pain you were in

       25 after he punched you in the face?


                                                                                   NS
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                                                                                  369
                                     El Turkey-People-Direct

              1         A     I would say like -- I would say I'm dying just my

              2   imagination, I'm done.            -

              3         Q     What kind of injuries did you suffer when you got

              4   punched?

              5         A     My eye it was getting bigger fast and I have like

              6 three eyes, one here one here and one here and here was blood

              7   and here was blond, and at this time I didn't feel any pain even

              8   I didn't went to the hospital. I feel after I went home and

              9   took a shower, I can't sleep but in the same time maybe hot

             10 blood make me -- even I don't know after I touch I find I have

             11   blood.

             12         Q     You said something about your teeth?

             13         A     Yes.

I            14         Q     What happened to your teeth?

             15         A     I pull it next day because it was just         you can't

             16   do crazy glue, it was half out, half --

             17         Q     What tooth are you talking about, where?

             18        A      This one.

             19         Q     Is that still missing?

             20        A      Yes.

             21                 THE DEFENDANT BALL: Your Honor, I object that he

            22          is testifying to his injuries.

            23                  THE COURT: Overruled.

            24         Q      What happened to your tooth immediately after -- how

            25    did your tooth feel.inirnediately after being punched?


                                                                                         NS
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                                                                                370
                                    £1 Turkey-People-Direct

            1           A    It hurt.

         2              Q    Was it loose before you were punched?

            3           A    No.

         4              Q    How long were you on the floor for while this person

         5      punched you?

         6              A    Maybe minute two minute and a half.

         7              Q    After that minute to minute and a half, what happened

         8      next?

         9              A    I went tb the deli, to call the police.

       10               Q    Did you -- what happened to the homeless guy where

       11       did he go?

       12               A    I was on the floor. I didn't see what direction he

       13       went.

       14               Q    Who took your phone?

       15               A    The homeless guy.

       16               Q    Who took your money?

       17               A    The homeless guy.

       18               Q    Did the person that punched you take anything?

       19               A    No.

       20               Q    Did you see where the person who punched you went?

       21               A    Yes.

       22               Q    Where did he go?

       23               A    He went from 105 same like going 34 Avenue.

       24               Q    Is that towards or away from Northern Boulevard?

       25               A    No, opposite from Northern Boulevard.


                                                                                      NS
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                                                                              371
                                   El Turkey-People-Direct

          1           Q     After he left, what did you do?

          2           A     I went to the store.

          3           Q     At any point did you lose consciousness or black out?

          4           A     No.

          5           Q     How long did it take you to get up off the ground and

          0 go into the store?

          7           A     A minute.

          8           Q     When you went into the store, what happened?

          9           A     It was, myself, I mean myself, I told the guy call

         10   the police so he called the police.

         11           Q     Was that the person that you had seen earlier that

         12   day?

         13           A     Yes, my friend.

         14           Q     Did you tell him what happened?

         15           A     After, after he call the police, I told him I got

         16   mugged.

         17           Q     And what happened while you were in the store?

         18           A     I was looking to the door, the window so look for the

         19   police coming so I saw the heavy guy he comes like he make full
         20   turn from 34, he saw me in the store, and he repeat I will kill

21            you, t1F word, so I told to the guy call the police again because

         22 the      guy, the suspect is here, so the guy he called the police
23            again, the deli guy.

         24           Q     I want to talk to you about where in the store were

         25   you when you saw this person.


                                                                                      NS
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                                                                               372
                                      El Turkey-people-Direct

            1              A   Outside the door inside the store but looking in the

            2   door, looking the street.

            3              Q   The person that you said you saw who was he?

            4            A     The heavy guy.

            5            Q     Was that the person that followed you?

            6            A     Yes.

            7            Q     Is that t'xe person that punched you?

            8            A     Yes.

            9            Q     What was that person doing when you saw them when you

       10       were looking outside the door?

       11              A       He was like looking for something, he was walking and

       12       he took right on 105, h :       coming like from Northern Boulevard

       13       104.

       14              Q       And what dire :tion was he heading?

       15              A       He took a right, the same place where I got punched.

       16              Q       And what, was that person wearing when you saw him?

       17              A       Same clothes.

       18              Q       What clothes were those?

       19              A       I guess black jeans and red shirt I guess.

       20              Q       What color shirt?

       21              A       Red.

       22              Q       When you left the store -- did you ever leave the
       23       store?

       24              A       Yes, I was looking outside waiting for the police

       25       car, but I can't because the guy I remember already saw the guy


                                                                                     NS
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                                                                              373
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          1 he just turned so I went outside, and I find the car in the

          2 middle in the intersection for Northern Boulevard 105 with the

          3 light because maybe he saw the blood so I went and I see Chevy

          4 car so I know Chevy car is undercover car so I went he say what

          5 happened I said a guy mug me here. He told me jump in the car

          6

          7         Q     Let me stop you. How much time passed from the time

          8   that you were -- you walk the into the store to when you walked

              out of the store to meet the police car?

         10         A     Maybe less than 90 seconds.

         11                  MR. GIBBONS: How much?

         12                  THE COURT: 90 seconds, less than 90 seconds.

         13         Q     When you walked out of the store, what did you see?

         14         A     I saw police car or not marked car stop in the middle

         15   of the street.

         16         Q     The person that you said you saw the person that

         17 attacked you in front of the store before that?

         18         A     Yes.

         19         Q     How long had time passed --

         20        A      Yeah maybe like 15 seconds.

        21         Q      And could you see what direction he went in?

         22        A      Yeah, the same direction I got punched.

        23         Q      When you got out of the store, could you describe the

        24    police car that you Saw?

        25         A      Yeah, it was Chevy beige -- I guess the color or


                                                                                    NS
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                                                                            374
                                 El Turkey-People-Direct

         1   gray.

         2           Q    How did you know they were police officers?

         3           A    I know from Chevy and because he is going opposite

         4   way 105 is going east, and he is going west so I thought he is

         5   undercover car.

        6            Q    When the car approached you, could you describe what

        7    the people inside the car looked like?

        8            A    Yeah, two white guys one wearing shorts.

         9           Q    What happened when you approached them?

       10            A    I mean, he doesn't know me so when I open he saw the

       11 blood so he told me jump in the car, I tell him I got mugged so

       12    I told him I know the guy, I know the guy, I saw the guy, the

       13 one he punched me so I jumped in the car.

       14            Q    What direction did you guys go?

       15            A    Opposite! cars on 105.

       16            Q    What do you mean opposite cars?

       17            A    105 the cars going this way so we went in the car

       18    this way.

       19            Q    How far down 105 Street did you go?

       20            A    Maybe like 80, 60 feet, and I saw the guy. I told him

       21    here the guy is here.

       22            Q    Who did you see?

       23            P.   I saw two guys, the one he punched me, and he was

       24    staying with a guy I don't know him.

       25            Q    What did you do when you saw the guy that punched you


                                                                                  NS
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                                                                                   375
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               1   on the street?

               2         A      The police told me stay in the car so I told him this

               3   guy, so the police go out and they arrest him.

               4         Q     Who did they arrest?

               5         A      They arrested -- they ask me which one? I say this

               6   one, they say only one guy. I hear him say, I didn't do nothing.

               7         Q      Could you describe the other person not the person

               8 that punched you, but the person he was walking with what did

               9   that person look like?

              10         A      He was tall, maybe taller than, the one he punched he

              11   is more heavy, but the other guy is taller than that guy.

              12         Q     What color was the person?

              13         A     Black also.

              14         Q     Do you remember what he was wearing?

              15         A     I guess like maybe white shirt and black leans also.

              16         Q     Was that the same as the person that the police

              17   arrested?

              18         A     The police arrested the correct one.

              19                  MR. GIBBONS: Your donor, I object to that, his

              20 characterization-

              21                  THE COURT: I will allow it.

              22         A     No, because three times he punched me, and three

              23   times --

             24         Q      Did you ever - where were you when you saw the

             25 police arrest that person?

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         1         A     I'm inside the car and like maybe this gentleman, I'm

         2   inside the car.

         3                  THE COURT: Indicating about six or seven feet.

         4        A      Yeah.

         5         Q     Was there anything between you and the police

         6 officers and that person?

         7        A      With what between?

         8         Q     Was there any cars in between you?

         9                 MR. SHORTT:     I will withdraw that question.

       10         A      It's car yeah parked on the other side.

        11                 THE COURT: All right. Stop for a second. Ask

       12         another question.

       13                  MR. SHORTT:     Thank you, Judge.

       14         Q      Did you eventually get out of the police car?

       15         A      Yeah.

       16         Q      When did that happen?

       17         A      I went to the police car?

       18         0      Yes.

       19         A      From the intersection I went to the car.

       20                  THE COURT: No, when did you get out of the police

       21         car?

       22         A      When the other the uniform police coming and they

       23 asked me what happened.

       24         Q      Fm going to ask you to take a second and look around

       25    the courtroom. Do you see the person that the police arrested?


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            I   Do you see the person in the courtroom that the police arrested

            2   that day?

            3                     THE DEFENDANT BALL: Asked and answered, your
            4        Honor.

            5                     THE COURT: I will allow it.

            6                   MR. GIBBONS: Which person?

            7                   THE COURT: Are you talking about the first

            8        person?

            9        Q        The first person stopped do you see the person in the
        10 courtroom that the police stopped?
        11           A        You mean the policeman?
        12                      MR. SHORTT:    Yes.

        13                      THE COURT: Do you see the person that punched

        14           you?

        15           A        Oh, he punched me.

        16                      THE COURT: Do you see that person?

        17           A      No.

        18           Q      Mr. El Turkey, were you certain that the person the

        19 police stopped is the person that assaulted you?
       20                   Sorry?
       21            Q      Are you sure the person the police stopped is the

       22       person that assaulted you?

       23            A      Yes.

       24            Q      How long ago was this assault Mr. El Turkey?

       25            A      How long?


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           I
           I
                               THE COURT: Sustained.

          2                    MR. GIBBONS: Thank you, your Honor.

           3           Q   Mr. El Turkey, are you having any trouble remembering

           4   who that person was today as you sit here?

          5            A   Yes.

           6           Q   Why is that?

          7                    MR. GIBBONS: Objection, your Honor.

          8                    THE COURT: Sustained.

          9                    MR. GIBBONS: To the leading and to that question.
         10                    THE COURT: Sustained. We have been over this.
         11            Q   Mr. El Turkey, after you got out of the police car,

         12    were any ambulances ever called to the scene?

         13            A   Yes.

         14            0   Were you treated by an ambulance?

         15            A   Yes.

         16            Q   Mr. El Turkey, were any other police officers brought

         17    to the scene?

         18            A   Yes.

         19            Q   Could you describe what those police officers looked
         20    like?

         21            A   Two police officers, one little tall and one normal.

         22            Q   And --

         23            A   One Hispanic, one white American.

         24            0   Were they in uniform or also in plainclothes?

         25            A   No, uniform.

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                  1            Q    Were they in a police car with NYPD on it?

                  2            A    Yes.

                  3            Q   Or unmarked car?

                  4        A        Yes.

                  5            Q    Did any other police officers arrive on scene?

                  6        A        It was like maybe like three, two police cars and

                 7    undercover car police.

                 S         Q       How long after the undercover car came did the other

                 9    police officers come?

             10            A       Seconds.

             11            Q       When the other officers came, did they bring anybody

             12       with them?

             13            A
I            14
                                   He told me he going to bring the guy they find the

                      money with him and from far away, and I can recognize him I say

             15       yes or no 50 he bring him like this table so I tell him, yes,

             16       this guy.

             17            Q       Okay. When the police officers came, did they show

             18       you anything?

             19            A       He showed me phones.

             20            Q       What do you mean they showed you phones?

             21            A       He told me this your phone first phone, I said, no,

            22        it was not mine like Blackberry old one, so he come back with my

            23        phone, it was my phone, has my picture and everything.

            24             Q       Was that the phone that was taken from you?

            25             A       Yes.

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          1        Q        Row did you recognize that to be your phone?

          2        A        It was my photo inside.

          3        Q        What do you mean your photos inside?

          4        A        My numbers, I know my phone, my numbers, the photos,

          5   everything. I opened it, I find it's my phone.

          6        Q        Who gave that phone to you?

          7        A        The policeman.

          8        Q        Was that officer in uniform or plainclothes?

          9        A        Uniform.

        10         Q        Where were you when he gave you that phone for the

              first time?

        12         A        I was in 105 and Northern Boulevard.

        13         Q        Was the ambulance there at that time?

        14         A        Yes.

        15         O        Did the police officers give anything else to you?

        16         A        No, the money, I took it in the precinct.

        17         O        While you were on the scene, did the police officers

        18    show you anything else?

        19         A        He showed me the first phone and I said no, and the

        20    second phone, yes.

        21         Q        They showed you another phone at first?

        22         A        Yes.

        23         O        What kind of phone was that?

        24         A        I guess Blackberry.

                   Q        Had you ever seen that before?


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           1     •       A    No, it's not mine.

           2             Q   After they showed you the Blackberry, they show you

           3 anything else?

           4             A    The iPhone.

           5             Q   Whac kind of phone was that?

           6         A        iPhone.

           7         Q       That was your phone?

           8         A       Yes.

          9          Q       Were you treated by the fire department and the

      10 ambulance?

      11             A       Yes.

      12             Q       How long were you in the ambulance for?

      13             A       Maybe like 15 minutes.

      14             Q       What did the paramedics do for you while you were in

      15 the ambulance?

      16             A       I always don't like blood so I close my eyes I don't
      17       know what they doing, so they put some treatment here, like a

      18 cologne like alcoholic something to stop the blood and they gave

      19 me some bandage and clean here, the neck.

      20             Q       Were there any police officers inside of the

      21 ambulance with you?

      22             A       Yeah, sure, there was one.

      23             Q       Was he in a uniform or plainclothes?

     24              A       Uniform.

     25              Q       Was he a white guy or black guy?


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              1         A     White guy.

             2          Q     Did you speak to the police officers at that time?

             3          A     Yeah, sure.

             4          Q     Did you go to the hospital?

             5          A     Na.

             6          Q     Why not?

          7                         MR. GIBBONS: Objection, your Honor.

          8                         THE COURT: Sustained.

          9             A     I don't have --

         10                         THE COURT: You don't have to answer that

         11             question.

         12             Q     Were you ever asked to go to the hospital?

         13             A     When what?

         14             Q     Were you ever asked by the paramedics to go to the

         15       hospital?

         16             A     No,
                                •      didn' co.
                                            - a 2




         17                     MR. GIBBONS: Leading.

         18                     THE COURT: Overruled.

         19             A     I didn't ask to go. He asked me to go, but I said

         20       no.

         21                     THE COURT: All right.

        22              Q     What was the reason you didn't want to go to the

        23        hospital?

        24                      MR. GIBBONS: Objection.

        25                      THE COURT: Sustained. You don't have to answer


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          1           that

          2           Q      After -- did the ambulance eventually leave?

          3           A      I was in the ambulance.

          4           Q      Okay. Where did you go after you were in the

          5 ambulance?
          6           A      I went to the precinct.

          7           Q      What precinct did you go to?

          B           A      92 Street.

          9           Q      How long after you were in the ambulance did you go

         10   to the precinct?

         11           A      Maybe 15, ten minutes.

         12           Q      How did you get there?

         13           A      The deli, he call his friend, he drive me by his car,

         14           Q      And when you went to the precinct, did you meet with

         15 the police officers again?
         16           A      Yes.

         17           Q      What happened while you were at the precinct?

        'B            A      I saw the guy, the one they arrest him, and they took

         19 a. photo for my phone and my money, and they give me the money
        20    back.

        21            Q      What money did they give you back?

        22            A      The $250.

        23            Q      Did you ever get your wallet back?

        24            A      Yes.

        25            Q      When did they give you your wallet back?


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                  1        A       In the same day.

                  2        Q       When?

                  3        A       In the precinct.

                  4        Q       I just want to back up a little bit going back to

                  5 when you were at the ambulance. You said the police officers

                  6 brought somebody over to you, a person?          The police officers

                  7 showed you a person?

              8                      THE DEFENDANT BALL: Objection, leading.

              9                      THE COURT: Overruled.

             10            A       Not the ambulance, outside the ambulance.

             11            Q       Where were you when that happened, where were you

             12 when the police showed you a person?

                           A       I was in the same spot during the course undercover

             14       arrest the guy.

             15-           Q       Was the ambulance there at that time?

             16            A       But the ambulance in the corner in Northern

             17       Boulevard.

             18            Q       Who did the police officers bring to show you?

             19            A       He bring the homeless.

             20            0       Did you recognize the person?

             21            A       He bring the homeless -- you want me --

            •22                      THE COURT: They brought the homeless guy to you?

             23                      THE WITNESS: Yes.

             24                      THE COURT: Okay.

I            25                    Who was that person, what did he do to you?


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              1     A        The homeless?

          2         0        Yes.

              3     A        He was the one behind me and the one he took the

          4 money and the phone.

          5         0        That was the person the police had in custody?

          6         A        Yes.

          7         Q        ['rn going to ask you to take a look around the

          8 courtroom and see if you recognize the person they had in

          9 custody?

         10                    THE DEFENDANT BALL: Asked and answered, your

         ii         Honor.

         12                    THE COURT: Overruled. You can look around.

         13         A        You mean the homeless guy?

         14         Q        Yes.

         15                    THE COURT: See if you see the homeless guy.

         16         A        No. I know him very well. No.

         17         Q        Are you sure the person police had there the homeless

         18 guy was the person that assaulted you --

         19                    MR. SHORTT:   Withdrawn.

         20         O        Are you the sure the person the police arrested was

         21 the person that took your property?

         22         A        Yes.

         23         Q        Can you remember what that person looked like today?

         24         A        The homeless or the heavy guy?

         25                    MR. GIBBONS: Objection.


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                  1                  THE COURT: Overruled.     What did he look like?

              2            A       Sometimes he acted like a gay, act like a woman

3                     sometime, this is the homeless guy.

              4            Q       Okay. Do you recall what the homeless guy was

              5 wearing the day he assaulted you?

              6            A       I guess jeans and white shirt.

              7                      MR. SHORTT:   No further questions, your Honor.

8                                    THE COURT: All right. We are going to break for

              9            lunch    Once again, ladies and gentlemen, do not discuss

             10            this case amongst yourselves, do not speak to the

             11            attorneys, the parties, the witnesses. Do not go to the

             12            scene of the alleged incident. Do not research this case

             13            in any way. Should anybody speak to you about this case,

             14           report it to me immediately.

             15                      Jurors exit the courtroom.)

             16                     THE COURT: Sir, you can step down.

             17                      (Witness excused.)

             18                     THE COURT: Officer, take charge. We will

             19           reconvene at 2:00 P.M.

             20                      (Jurors exit the courtroom.)

             21                     THE COURT: Mr. Shortt, your witness is still on

             22           the witness stand. I am directing you not to discuss this

             23           case with him over the lunch hour.

             24                     MR. SHORTT:    I will not, Judge

I            25                     THE COURT: Very good. 2:00 P.M.


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             1              MR. GIBBONS: Thank you.

             2              THE DEFENDANT BALL: Thank you, your Honor. Thank

             3     you, Mr. Shortt.
             4              (Defendants exit the courtroom.)

             5              (Luncheon recess taken.)

             6

             7

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        J.



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         1                  AFTERNOON               SESSION.

         2                  THE COURT CLERK: Recall of the case on trial,

         3         2228 of 2012, Raymond Ball and Elijah Brooks.

         4                  THE COURT OFFICER Do you want the witness on the

         5         stand?

         6                  THE COURT: Yes.

         7                  (Defendants enter the courtroom.)

         8                  THE COURT CLERK: Let the record reflect the

         9        defendant Brooks is present before the Court. Let the

       10          record reflect the defendant Hall is present before the

                  Court.

       12                   THE COURT: Bring in the witness.

       13                   MR. SHORTT: Judge, before we bring in the witness

       14         and the jury, I have two questions that I neglected to ask

15                before we begin cross.

       16                   THE COURT: Two?

       17                   MR. SHORTT: Two.

       18                   THE COURT: Not three?

       19                   MR. SHORTT: Not three, two.

       20                   THE COURT: All right.

       21                   MR. SFiORTT: Thank you, Judge.

       22                   (Witness resumes the witness stand.)

       23                   THE COURT: Bring in the jury.

       24                   (Whereupon, there was a brief pause in the

       25         proceedings.)


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          1                     THE DEFENDANT BALL: Your Honor, I object to allow

         2            him to go forward after he did the closing.

          3                     THE COURT: Duly noted. The objection is

         4            overruled. Ready.

          5                     THE COURT OFFICER: Jury entering.

          6                     (Whereupon, the sworn jury enters the courtroom.)

         7                      THE COURT CLERK: Do both sides stipulate to the

         8            present and proper seating of the jury?

         9                      MR. SHORTT: Yes.

        10                      MR. GIBBONS: Yes.

        :ii                     THE DEFENDANT BALL: Yes.

        12                      THE COURT:    All right. Admonish the witness,

13                    please.

        14                      THE COURT CLERK: Sir, you are reminded you are

       15             still under oath.

       16                       THE WITNESS: I didn't understand.

       17                       THE COURT CLERK: You are still under oath, okay?

       18                       THE WITNESS: Okay. All right.

       19                       THE COURT: Mr. Shortt?

       20 DIRECT EXAMINATION

       21     BY MR. SHORTT: (Cont.)

       22             Q     Mr. El Turkey, the cell phone that was taken from you

       23 on July 3 of 2012, what cell phone provider did you have for

       24     that?

       25             A     iPhone.


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         1         Q     No, who was the carrier, the cell phone carrier for

         2 that phone?

         3         A     AT&T.

         4         Q     I'm sorry?

         5         A     AT&T.

         6         Q     Mr. El Turkey, at any point on July 3 of 2012 did you

         7   give Raymond Ball permission to have your phone or to have your

         8 money?

         9         A     To give to who?

        10         Q     Did you ever give a person by the name of Raymond

        U Ball permission or authority to have your cell phone or your

        12 money on the day that you were robbed?

        13         A     No,

        14                  THE DEFENDANT BALL: Objection, your Honor.

        is                  THE COURT: The objection is overruled. The

        16         answer will stand.

        17                  Mr. Gibbons, would you like to cross examine?

        18                 MR. GIBBONS: I certainly would, your Honor. If I

        19         could have just one second, actually maybe five seconds?

       20                   THE COURT: I will give you ten.

       21                  MR. GIBBONS: You are very kind. Thank you. I

       22         don't think I will need all of that.

23                          (Brief pause.)

       24 CROSS EXAMINATION

       25    BY MR. GIBBONS:


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                         El Turkey-People-Cross (Mr. Gibbons)

         1         0     Good afternoon, Mr. El Turkey. How are you?

         2         A      Fine, thank you.

         3         Q     My name, is Wyatt Gibbons. I'm representing

         4   Mr. Brooks in this case.

         5         A     Okay.

         6         Q     I'm sorry that you had to go through that, I'm sure

         7   it was terrible.

         8               Let me ask you on July 3, do you remember that day,

         9 July 3, that was 2012 when this happened?

        10         A     Yes.

        11         Q     What time did you get off of work that day?

        12         A     Around 8:30.

        13         Q     8:30?

        14         A     Yes.

        15         Q     In the morning?

        16         A     No, P.M.

        17         Q     You got up

        18                      COURT: Get off.
                            THE COURT:

        19         A     I wake up everyday 4:30, 5:00.

        20         Q     4:30?

        21        A      Yes.

        22         Q     And you take a bus to work?

       23         A      Yes.

       24         Q      You woke up that day at 4:30 and took a bus to work?

       25         A      Yes, I took the bus around 5:15, 5:30.


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                         El Turkey-People-Cross (Mr. Gibbons)

            1      Q      And you worked to 5 P.M.?
         2         A      Yes

         3         Q      Then you took a bus back home?
         4         A      Yes.

         5         Q      You worked all day?

         6         A      Yes.

         7         Q     You showered and went outside?

         8         A      Yes, sir.

         9         Q     That was a little before 9:00, maybe 8:30 P.M.?

        10         A     Yes.

        11         Q     You work very hard?

        12         A     Yeah.

        13         Q     Okay.

        14               Now, when you went to see your friend at the deli,

        15 you said he is from Yemen, correct?
        16         A     Yes.

        17         Q     You met him from the time you moved back to New York?
        18         A     The time I moved, I live in Corona.

        19         Q     Okay. And what language do you speak with him?

        20        A      Arabic.

        21         Q     So there is no problem understanding each other?

        22        A      No.

       23         Q      He speaks Arabic, that's his native language?
       24         A      Yes.

       25         Q      And you speak Arabic, that's your native language?


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                         El Turkev-Pop 1e-Cross (Mr. Gibbons)

         1         A     Yes.

         2         Q     So there is no mistaking when you are speaking to

         3 each other?

         4         A     Different accents from the same country north and

         5   south.

         6         Q     But you understand each other?

         7         A     He understood me more because Egyptian is more public

         8   for all the Arabic countries.

         9         Q     You speak Egyptian, and that's like dialect of

        10 Arabic, type of Arabic?
        11         A     No, because the movie, everything is Egyptian so

        12 Yemen doesn't have so they know our language. We don't like

        13 Moroccan language, is different for us.

        14         Q     I see. But he understood your Egyptian language,

        15   correct?

        16        A      Yes, that's correct.

        17        Q      But no problem communicating with him?

        18        A      No.

        19        0      All right. Now, after you went to the check cashing

       20 place and you went to the deli, you walked out to smoke a

       21    cigarette and call your girlfriend you testified, correct?

       22         A      Yes.

       23         Q      And you said that two people came up from behind you?

       24         A      One.

       25         Q      One person came up behind you?


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                          El Turky-People-Cross (Mr. Gibbons)

         1         A      Yes.

         2         Q      It wasn't two?

         3         A      No.

         4         Q      You are sure about that?

         5         A      Yes.

         6         Q      Okay. Now, do you remember testifying before about

         7   this case?

         8         A      Yeah.

         9         Q      Do you remember you went to the Grand Jury and you

        10   testified two times?

        11         A      Yes.

        12         Q      Okay. Mr. El Turkey, do you remember testifying in

        13 the Grand Jury the first time page four line 17 you were asked

        14   this question and you gave this answer:

        15                  (Reading:) And you say two guys came up behind

        16         you?

        17                  (Reading:) Answer: Right.

        18 Do you remember being asked that question and giving that

        19   answer?

       20         A       Yes.

       21         Q       Okay. And then again you testified in the second

       22 Grand Jury page four line 16:

       23                 (Reading:) Question, and did anything unusual happen

       24 as you were outside that evening?

       25                 (Reading:) Answer: Yes two it was two black guys


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         1 walking behind me and started to be too close?

         2                  MR. SHORTT: Objection. Counsel is not reading

         3         the full quotation.

         4         A     No --

         5                  TH,E COURT: Wait. Let him rephrase the question.

         6                  MR. GIBBONS: There is a lot. I can read the whole

         7         thing, but that's the pertinent part, whether it was one

         8         guy or two guys, that's all.

         9                  MR. SHORTT: Objection, Judge. If we are going to

        10         impeach the witness with the statement, it should be the

        11         entire statement.

        12                  THE COURT: Read the entire statement.

        13         Q      (Reading:) Yes, two. It was two black guys walking

        14 behind me and started to be too close but I didn't give them

        15 attention so I -- fine going to away from Northern Boulevard. I

        16 was at main street so I come back and he is walking behind me so

        17   I walk in the middle of the street towards anybody help me like,

        18   like, like, I feel dangerous. I walk in the middle of the

        19 street to come back to come back to go home to Northern

        20 Boulevard so the black guy I don't know him he go behind me he

        21 show me something I talking to you show me something he push me

        22   right away in the car. It was a car parking in the other side,

       23 it was other guy behind me. He grab my hand and I me and him I

       24    fall down on the sidewalk and then the black guy farther to beat

       25 in my eye and my teeth, I lost one teeth and the other one told


                                                                                   NS
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                                                                             396
                          El Turkey-People-Cross (Mr. Gibbons)

         1   me take his money, take his money, then he I don't know what he

         2 took now I was still in the sidewalk and then the guy he took

         3 something, take one minute when he stand up one behind me so it

         4 was the other guy over me so he took me my, my, my head in the

         5   sidewalk he comes three times. He punch me again in the eyes it
         6 was a lot of bruises here and then he told me I -- I -- I kill

         7   you so I, I and he run    oh, he walk I don't know I stand up I
         8 find my whole waist from the cut from the back, from the back, I

             have no wallet he took iPhone, I went.

        10                Do you remember being asked that question and giving

        11   that answer?

        12         A      Yeah.

        13         Q      The important part was at that time you said it was

        14 two guys behind you?

        15         A     No, if in the speech you said he, he not there, so

        16   it's one the first, but when I come back it's two guys.

        17         Q     Okay. I wanted to clarify. You sensed that

        18 something was wrong, you felt dangerous, you felt there was

        19 danger?

        20         A     Yeah, sure.

        21         Q     All right. And you testified that you glanced over

        22 your shoulder, you kind of made a motion just turning your head

        23 a little bit to see that someone was behind you?

        24         A     Yes.

        25                   R. GIBBONS: For the record showing that he


                                                                                   NS
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                                                                             397
                         El Turkey-People-Cross (Mr. Gibbons)

         1.        turned his head slightly to the side.

         2                  THE COURT: The record will so reflect.

         3         Q     You testified that you never turned around fully?

       .4          A     No.

         5         Q     At first to look at him in the face, correct?

         6         A     No.

         7         Q     Okay. But you knew that you hadn't seen him before?

         8         A     No.

         9         Q     Okay. You said that you weren't looking at his face,

        10 correct? When you were glancing over your shoulder, you said you

        ii were not looking at his face?

        12         A     But I saw his face the time I go out from the store.

        13         Q     Okay. All right. Let me get back to that. Now,

        14    actually, I'm back at that.

        15               You said that you hadn't seen him at the deli or at

        16 the corner where the dance school was, correct, you had never

        17    seen him before?

        18         A     Yes.

        19         Q     It wasn't until you were walking up the block you

        20 sensed someone behind you?

       21          A     Yes.

        22         0     Okay. But you never seen this person before, correct?

       23         A      No.

       24          Q     Okay. And you testified that you didn't fully --

       •25        A      I didn't see him. 1 don't know him, not see him.


                                                                                   NS
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                                                                             398
                             El Turkey-People-Cross (Mr. Gibbons)

         1   But --

         2          Q        You didn't know him?

         3          A        Yeah.

         4                     THE COURT: But you had seen him before?

         5          A        I seen urn in the store outside the store but not

         5 recognize him, you know, not -- lot of guys not dealing with

         7   him.

         8                     THE COURT: When did you see him outside the

       '9           store?

        10                     THE WITNESS: The third time I come back from the

        11          store.

        12                     THE COURT: After the incident?

        13                     THE WITNESS: Yes.

        14          Q        After the incident?

        15          A        No, before I go to the store after the check cash

        16 when I go to the store, it was all the guys outside the store.

        17          Q        You noticed all the people?

        18          A        I don't know him.

        19          Q        But you didn't know him?

        20          A        No, I know one of them only.

        21          Q        All right.

        22                   You testified that you didn't fully see him until you

        23   turned around, correct?

        24          A        Yes.

        25          Q        When you turned around, you testified that you were


                                                                                   NS
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                                                                             399
                         El Turkey-People--Cross (Mr. Gibbons)

         1 immediately pushed very hard on to the ground?

         2         A     Yeah, but my face .1 saw him.

         3         Q     Okay.

4                  A     Yes, not --
        .5         Q     You turned fully around and you saw him?

         6        A      Yes.

         7        Q      Right away you were pushed to the ground?

         B        A      Yes.

         9        Q      And you fell to the ground, correct, okay? You

       10    testified that took just seconds, right, you turned around,

       11 boom, pushed you to the floor, correct?

       12         A      Urn-hm,

       13         Q      He pushed   you hard?

       14         A      Yes.

       15         Q      Your head   snapped back, you fell to the ground?

       16         A      Not my head didn't touch the ground.

       17         Q      But your head flew back, and you flew back, correct?

       18         A      Yes.

       19         Q      Now you said that the guy that you hadn't seen before

       20 he was the heavy guy you called him, correct?

       21         A      Urn-hum.

       22         Q      Okay.

       23                When you fell, the heavy guy was immediately on top

       24 of you and started punching you?

       25         A      No, no. He just to control because I move, move,


                                                                                   NS
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                                                                             400
                           El Turkey-People-Cross (Mr. Gibbons)

         1   move, move, I move a lot.

         2         Q       Okay.

         3         A       Even my hand is behind me, I tried my legs,

         4   everything.

         S         Q       You are trying to get away?

         6         A       Yes.

         7         Q       So you are moving forward, your body?

         S         A       Sure, so he didn't punch me until the guy, he stand

         9 up, until my head it was clear in the floor.

        10         Q       On the floor?

        11        A        So he start to push me.

        12         Q       Did he punch you first or grab your head and slam you

       13 on the ground, what did he do first?

       14         A        No, slam my head first.

       15         Q        Slammed your head on the ground?

       16         A        Yes.

       17         Q        How many times did he do that, twice?

       18         A        Two to three times.

       19         Q        He grabbed it bang, bang, bang?

       20         A        Yes, first two then he did it again twice.

       21         Q        So the first time that you got your head slammed to

       22    the ground, it was twice in a row, correct?

       23         A        I didn't count it exactly because --

       24         Q        Because you were scared and disoriented, correct, you

             did not know what was happening?


                                                                                   NS
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                                                                             401
                           El Turkey-People-Cross (4r. Gibbons).

            1        A     Suddenly I know I'm dying so I'm not going to count,

            2 Urn not remember two or three maybe sure.

            3        Q     Is this person slammed your head twice on the floor?

            4        A     Yes.

            5        Q     And then he started punching you in the face?

            6        A     Yes.

            7        Q     He punched you in the eye?

            B        A     Yes.

            9        Q     And in the mouth?

        10           A     Yes.

        11           Q     In the head also?

        12           A     No.

        13           Q     Then he slammed your head one more time?

        14           A     Yes.

       15            Q     You said your eye swelled up very quickly, right?

       16            A     Yes.

       17            Q     You said he was talking to you, correct?

       18            A     Talking to me?

       19            Q     Yes, saying something to you?

       20            A     No, he is talking to the other guy, the homeless guy,

       21       take his money.

       22            Q     Didn't he say I kill you?

       23            A     Yes, he say a bad word.

       4.            Q     He said, I will kill you, motherfucker?

       25            A     Yes.


                                                                                   NS
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                                                                             402
                         El Turkey-People-Cross (Mr. Gibbons)

         1         Q     Yelling, at you, scaring you?

         2         A     Urn-hum.

         3         Q     As he slammed your head, he said I will kill you

         4   motherfucker, right?

         5         A     Yes.

         6         Q     He was close to you, right?

         7         A     Yes.

8                  Q     You said he had short hair, correct?

         9         A     Yes.

        10         Q     You saw short hair?

        11         A     Yes.

        12         Q     What color was the hair?

        13         A     Black.

        14         Q     Like an afro or something?

        15        A      No, like black, very short.

       16         Q      Okay. All right.

        17               Now, when they got off you and they let you go you

        18   said the heavy guy went down 105 street towards 34 Avenue,

       19    correct?

       20         A      Yes.

       21         Q      And that's away from Northern Boulevard?

       22         A      Correct.

       23         Q      Away from the deli?

       24         A      Yes.

       25         Q      That's the same direction that you were walking?


                                                                                   NS
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                                                                             403
                         El Turkey-People-Cross (Mr. Gibbons)

         1         A     Yes.

         2         Q     And he went that way?

         3         A     Yes.

         4         Q     Where did the other guy go?

         5         A     I was on the floor. I didn't see him go because I

         6   was still bleeding.

         7         Q     Okay, then you went into the deli, correct?

         8         A     Yes.

         9         Q     And you asked your friend to call the police,

        10 correct? And then you testified that you saw the heavy guy

        11   again, right?

        12         A     Yes.

        13         Q     Now, were you inside the deli when you saw him again?

        14        A      Yes.

        15         Q     You hadn't stepped out, you were inside the deli?

        16        A      Yeah.

        17        Q      And you are looking out the door?

        18        A      Yes.

        19                   MR. GIBBONS: Do we have People's Exhibit 1?

       20                    (Handing).

       21         Q      Mr. El Turkey, could you please look at People's

       22    Exhibit 1, that's the picture on the left, and you see where the

       23 deli is, can you point to the door?

       24         A      This is the door.

       25         Q      The door there   that's in the middle of the store,


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                                                                             404
                         El Turkey-People-Cross (Mr. Gibbons)

         1    correct?
         2         A     Yes.
         3         Q     All right. Thank you. And you said you are looking

         4    out of that door, correct?

         5         A     Yes.

         6         Q     And then you see the heavy guy come outside?

         .7        A     Yes.

         8         O     You said he came from your left, right?

         9         A     Yes, from like 104.

        10         O     From like 104 Street?
        11         A     Yes.

       12          Q     So he would have gone possibly up 105 go around and

       13 come back?
       14         A      Yes.
       15          O     You saw him again?
       16         A      Yes.
       17         Q      You were inside, not outside?
       18         A      Yes.
       19         Q      He said something to you again?

       20         A      Yes.

       21         O      And you recognized it was the same guy?

       22         A      Yes.

       23         O      He even cursed you the same way, I will kill you

       24 motherfucker?
       25         A      Yes.


                                                                                   NS
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                                                                              405
                           El Turkey-People-Cross (Mr. Gibbons)

          1            Q   You are sure it's the same heavy guy, right?

          2         A      Yes.

          3            Q   And you testified that he was wearing black jeans and

          4   a red shirt, correct?

          5        A       Yes.

          6        Q       Red shirt?
          7        A       Yes.
8                  Q       That's the same clothes that the heavy guy who pushed

          9 you down and punched you was wearing, correct?

        10         A       I try to remember because it was one red and one
        11 white so one wearing -- I'm going to try to remember which one.

12                 Q       Well --

        13                   THE COURT: Let him finish.

        14         A       I'm not good memory.
15                 Q       Take a moment.

        16                   THE COURT: Mr. Gibbons, slow down. Let him

        17         answer.

        18         A       I see maybe red or white because it was like uniform,

        19 eight guys outside wearing white but this guy maybe red, red

        20    shirt.

        21         Q       Red shirt?

        22         A       Red shirt black jeans.

23                 Q       That's what you saw coming back?

        24         A       Yes.

        25         Q       And he cursed at you again, right?


                                                                                    NS
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                                                                             406
                         El Turkey-People-Cross (Mr. Gibbons)

         1         A      Yes.

         2         Q     Now, did you ever leave the deli -- withdrawn?

         3               After you came into the deli    after the incident, your
4            friend called the police, did you step out of the deli and see

         5 the other person -- coming from the left?

         6         A     Yes.

                   Q     You were outside or inside to be clear?
         8         A     Like.I open the door and close, I'm hyper.

                         Okay. So you are kind of peeking your head out?

10                 A     Yes.

        11         Q     And you see him coming from the left?

        12         A     Yes.
13                 Q     And you have the confrontation and close the door

        14   again?

        15         A     Yes.

        16         Q     You were scared?
17                 A     Sure.

        18                  MR. GIBBONS: Could I have these marked please

        19         Defendant's Exhibits Al and 2?

        20                  THE COURT: Mr. Shortt, can have     you seen those?
        21                 MR. SHORTT: Yes.

        22                  THE COURT: Mr. Ball, have you seen those as well?

       23                  MR. GIBBONS: I turned them over this morning,

       24          your Honor.

       25                  THE COURT: All right.


                                                                                   NS
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                                                                             407
                          El Turkey-People-Cross (Mr. Gibbons)

         1                   (Defendants' Exhibits A-i, A-2, photographs,

         2         marked for identification.)

         3         Q      Mr. El Turkey, could you look at what's been marked

         4   Defendants' Exhibits Al and 2.

         5         A      Yes.

         6         Q      Do you recognize those pictures?

         7         A      Sure.

         8         Q      What are they?

       .9          A      This is the deli, and this is deli and you can see

        10   the other corner which is ambulance, it was in this corner.

        ii         0     Okay. Do those pictures fairly and accurately

        12 represent the deli and that area?

        13         A     Yes.

        14         Q     That's what the place looks like, correct?

        15         A     Yes.

        16                  MR. GIBBONS: Your Honor, I move those in as

        17         Defendants' Exhibits Al and 2.

        18                  THE COURT: Mr. Shortt?

        19                  MR. SHORTT: No objection if I can see which one

        20         is A and B.

        21                  THE COURT: Mr. Ball, do you have any objection to

        22         the pictures going into evidence?

        23                  THE DEFENDANT BALL: No, your Honor.

        24                  (Defendants' Exhibits Al and A2, marked and

        25         received into evidence.)


                                                                                   NS
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                                                                                  408
                                El Turkey-People-Cross (Mr. Gibbons)

             1                    THE COURT: Mark them in evidence without

             2            objection.

             3                        (Defendants' Exhibits A-i and A-2, marked and

             4            received into evidence.)

             5            Q     If you can look at Defendant's Exhibit A-i, that's

             6    just a bit more of a closer picture of the door of the deli?

             7            A     Yes.

            8             Q    And you were standing behind that door?

            9             A    Yes.

           •10            Q    As you are facing the door the counter where your

           11 friend is the clerk where you go to pay for something if you are

           12    facing the door is it's on your right-hand side, correct?

           13         A       'Yes.

       14             Q        If you walk into the deli, it's on the left?
       15             A        Yes.

       16             Q        So as you are facing out the door your friend the

       17        clerk is on the right-hand side?

       18             A        Yes.

       19             Q        And you testified that you saw Mr. -- you saw the

       20 other person come from the left side?

       21             A        Yes.

       22             Q        And then you had words with him and you closed the

       23 door and you turned to your friend and said call the police

       2         again?

       25             A        Yes.


                                                                                        NS
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                                                                             409
                           El Turkey-People-Cross (Mr. Gibbons)

         1         Q       Did you go back outside after that?

         2        A        Again?

         3        Q        Only when you saw the police car, correct?

         4        A        Yes.

         5        Q        Now can you look Defendants' Exhibit A-2, do you see

         6   that ice stand there, that ice container, was that there back on

             July 3; do you remember?

         8        A        It was little bit inside the store.

         9        Q        Closer to the store?

       10         A        Yes, closer inside, closer to the street little bit.

       11         Q.       Now, you testified that 15 seconds after you saw the

       12    heavy guy again, you saw a police car out front?

       13         A        Undercover car, yes.

       14         Q        Like 15 seconds, it was quick, maybe 30 seconds, very
       15    quick?
       16         A        Yes.

       17         Q        And you walked out to the car thinking it was a

       18    police car?

       19         A        Yes.

       20         Q        And you spoke to the people inside?

                  A        Yes.

       22         0        He said okay, get in the car?

       23         A        Yes.

       24         0        You got in the car?

       25         A        Yes.


                                                                                   NS
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                                                                             410
                            El Turkey-People-Cross (Mr. Gibbons)

            1        Q      Again very quick?

         2           A      Uh-huh.

         3           Q      Was the car facing down Northern Boulevard or was it

         4      facing --

         5           A      Facing 105 opposite way.

         6           Q      Against traffic?

         7           A      Against car, yes, against traffic.

         B           Q      Sc was he like near where the ice machine is?

         9           A      The car.

        10           0      On 105 was he in the street alongside the ice

        11      machine?

        12           A      The car?

        13           Q      Yes.

        14           A      The car in the intersection.

        15           Q      That's how you can see him because you were still in

        16      the car?

        17           A      Yes.

        lB           Q      So you saw the car?

        19           A      Yes.

        20           0      And you go out and talk to him?

        21           A      Yes.

       22            0,     You get in the car and go up 105 against traffic?

       23            A      Yes.

       24           0       Did he turn on the lights and sirens?

       25           A       The lights?


                                                                                   NS
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                                                                             411
                         El Turkey-People-Cross (Mr. Gibbons)

         1           Q    Yes.

         2           A    I don't know, I'm inside the car, I didn't see

         3   outside.

         4           Q    You didn't see the reflection of lights?

         5           A   No, because we didn't drive, drive two seconds.

         6           Q   Okay. It was dark out, too?

         7           A    Dark, but the traffic light, and the store still

         B   open.

         9           Q   So you drove just a couple of seconds, I think you

        10   testified about 60 feet, correct?

        11           A   Maybe little less. I'm not good with destination by

        12   feet because we use meter.                           -

        13           Q   How many meters?

        14           A   It's just like -- we didn't drive like maybe 60 feet,

        15   less.

        16           Q   All right. You saw the same guy again?

        17           A   Yeah.

        lB           Q   And he is walking towards you, correct?

        19           A   No, he is staying with his friends.

        20           Q   He was with his friends?

        21           A   Yes.

        22           Q   Is he walking towards you or did he have his back to

       23 you?

       24            A   No, he was facing to me.

       25            Q   Facing to you?


                                                                                   NS
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                                                                             412
                              51 Turkey-People-Cross (Mr. Gibbons)

            1           A     Yes.

            2           Q     Okay. You said he is with another man, correct?

            3           A     Yes.

            4           Q     And they are talking?

            5           A     I'm not -- I just told the police this guy, that's

            6   it, I finished my job, I mean yes.

            7        Q        I understand. I understand. I'm lust trying to find

            8 out what you observed when you were in the car and going down

            9   the block.

        10                   So you observed the guy that you said you had seen

        11      before that assaulted you?

       12            A       Yes.

       13            Q       He is standing there with another person facing you,

       14 did you see them walking?

15                   A       No.

       16            Q       Did you see them talking?

       17            A       Yes.

       18            Q       Okay. So they are talking and standing there, they

       19       are facing you, correct?

       20            A       Yes.

       21            Q       Now, you had said that the cops got out of their car

       22 with their guns drawn, correct?

       23           A        Yes.

       24           Q        How many police officers were in your car?

       25           A        Two.


                                                                                   NS
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                                                                              413
                          El Turkey-People-Cross (Mr. Gibbons)

          1          Q    And they both got out with their guns drawn?

          2          A    Yes.

          3          Q    Were there other police officers at the scene?

          4          A    This moment not yet.

          5          Q    Okay. Did other police officers arrive at that

          6   location?

          7          A    Yes.

          8          Q    How soon after your officers got out of the car?

          9          A    Maybe 20, 25 seconds.

        10           Q    So quick, instantaneous?

        11           A    Yes.

        12           Q    They got out and the other car came and other

        13 policemen got out?

        14           A    Yes.

        15           Q    Did that car come the same direction that you went or

        16 did they come in the other direction?

        17           A    The one with the police?

        18           0    Yes.

        19           A    No, he stayed in the corner. He didn't go in the

        20    street, stayed Northern Boulevard. I didn't see -- I was

        21    sitting in the car behind the traffic. I didn't see the police

        22    car.

        23           Q    So you just saw the other police officers come up?

        24           A    Yes.

        25           0    Okay. How many cops were there in total?


                                                                                    NS
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                                                                               414
                          El Turkey-People-Cross (Defendant Ball)

            I        A     Maybe like two police car, like two or three cops.

         2           Q     They had, they all had their guns drawn?

            3        A     No, I mean they have gun, but it's not outside.

         4           Q     You testified that the cops got out?

         5           A     The undercover to arrest the guy, yes.

         6           Q     You said you heard the guy that they stopped say he

         7      didn't do anything?

         8           A     Yes.

         9           Q     Did you ever see if the cops hit him or put him on

        10 the ground?

        11           A     No, no.

       12            Q     Okay.

       13                       (Defendant and counsel confer.)

       14                       MR. GIBBONS: Nothing further, your Honor.

       15                       THE COURT: Mr. Ball, would you like to cross

       16            examine?

       17                       THE DEFENDANT BALL: Yes, sir.

       18 CROSS EXAMINATION

       19 BY THE DEFENDANT BALL:

       20            Q     Hello, Mr. El Turkey.

       21            A     How are you?

       22            Q     Not bad. I'm sorry that you had to go through this

       23       horrible experience, but, you know, I just want to ask you a

       24       couple of questions. Is that all right?

       25            A     Yes, sure.


                                                                                     NS
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                                                                             415
                        El Turkey-People-Cross (Defendant Ball)

         1         Q       You feel comfortable with that?

         2         A       Yeah.

         3         Q       First I just want to ask you do you understand like

         4 what they said to you as far as oath is concerned, you know when

         5 you come into a courtroom, when they say to you oath that you

         6 are taking an oath, that means that you know it's against the

         7   law for you to tell the lie. Do you understand that?

         8         A       Yes, sure.

         9         Q       Do you understand it's a crime?

        10         A       To lie.

        11         Q       To lie in court, do you understand that?

        12         A       Yes, sure.

        13         Q       Okay. Good. I want to ask you a question, how long

        14   did you know Mr. Ball?

        15         A       Who is Mr. Ball?

        16         Q       I'm just asking you. You just testified that you

        17 didn't give him permission to have your phone; is that correct?

        18 You just told the District Attorney that you never gave him

        19   permission, Mr. Ball --

        20         A       I don't know who Mr. Ball.

        21         Q       But you just testified that you never gave him

        22   permission.

        23         A       He ask me did I give permission to anyone.

       24          Q       He didn't say anyone, he said Mr. Ball.

       25                    THE COURT: Don't argue with the witness.


                                                                                   NS
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                                                                             416
                          El Turkey-People-Cross (Defendant Ball

1                  Q       So you don't know who Mr. Ball is?

          2        A       I didn't give permission.

          3        Q       You can't testify whether or not you gave Mr. Ball --

          4                  MR. SJ-!ORTT: Objection.
5                            THE COURT: Mr. Ball, one of the rules when the

          6        witness is speaking, you cannot speak. You cannot

          7        interrupt the witness. If the witness wants to give a full

          8        answer, then he can give it, then you can ask another

          9        question or object to the answer.

        10                   THE DEFENDANT BALL: I apologize. I will go on to

                   the next question.

        12         Q       I think you have satisfied my answer, okay, because

        13    you don't know Mr. Ball; is that correct?

        J-1        A       I didn't know Ball or anyone given permission to get

        15 my phone or my money.

        16         0       That's good. I'm satisfied with that.

        17                 You know what I am concerned about is I heard you

        18    testify earlier to the fact that when you arrived at the

        19 precinct in order to get the rest of your property or whatever

        20    it is, you said that you seen the perpetrator while he was in

        21    the precinct; is that correct?

        22         A       I think I was sitting, I saw him, yeah, he is passing

        23    far away.

       24          Q       Did you see him when he was handcuffed?

       25          A       Yes, I guess.


                                                                                   NS
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                        El Turkey-People-Cross (Defendant Ball)

         1         Q     Of course you did, yes?

         2         A     Handcuffed or going to hospital.

         3         Q     You seen him in the precinct, yes?

         4         A     Yes.

         5         0     And he was handcuffed in the precinct; is that

         6 correct?

         7         A     Yes.

         8         Q     Okay.

         9               My next question is this, Mr. El Turkey, the night of

        10 the crime that this terrible thing happened to you, you know, in

        11 the Grand Jury testimony you never identified --

        12                 MR. SHORTT: Objection.

        13                  THE COURT: Sustained.

        14                 Miss Povrnan, do you want to help him?

15                         THE DEFENDANT BALL: No, please, 1. have it.

       16                  THE COURT: Ask the question the right way.

       17                  THE DEFENDANT BALL: Yes, sir.

18                Q      I have here, right, you was asked, okay, by the

       19 officer that came to the crime scene how did the person look?

       20                  MR. SHORTT: Objection.

       21         0      -- who assaulted you?

       22                  THE COURT: I will allow it.

       23                  THE DEFENDANT BALL: Thank you.

       24         Q      And he asked you how did the other guy look, and as

       25    far as your testimony --


                                                                                 NS
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                        El Turkey-People-Cross (Defendant Ball)

         1                  THE COURT: Now you are making a speech. Ask one

         2         question at a time.

         3                  Did the police ask you what the person who

         4         assaulted you looked like? Did he ask you for a

         5         description?

         6                  THE WITNESS: The police?

         7                  THE COURT: Yes.

         8                  THE WITNESS: He is already handcuffed, they

         9         already arrest him so how can I describe someone?

        10                  THE COURT: So the answer is no.

        11         Q      No, you never gave the description?

        12         A      I told him the heavy black

        13         Q     Do you understand that I got it --

        14                  THE COURT: Sir, do not interrupt the witness when

        15         he is answering a question.

        16         Q     That was going to be my next question, Mr. El Turkey.

        17         A     Yeah.

        18         Q     You know, your description is, what do you call, only

        19 of a black guy, gay guy, homeless guy?

        20         A     Yeah.

        21         Q     And you also said, right, that the police officer

        22   said that he caught the guy?

        23         A     He ---

        24         Q     You said in your testimony that the police officer

        25 told you, and you heard over the radio that they caught the guy


                                                                                   NS
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                             El Turkey-People-Cross (Defendant Ball)

             1   who had your stuff?

         2            A       No radio, they bring the homeless.

             3        Q       Okay.

         4                    I'm asking you did you know that they had caught the

         5 guy the homeless guy with your property before they brought him

         6       back to the crime scene, that's what I'm asking. Because you

         7       testified --

         8                       MR. SHORTT: Objection.

         9                       THE COURT; Did the cops tell you that they caught

        10            the guy with your cell phone?

        11                      THE WITNESS: Yes, they saw him throw something in

        12            the floor, the paper, social, the license, even bring to

        13            the precinct.

        14            Q       Thank you very much. Now, you said here in your

        15       testimony

        16                      THE DEFENDANT BALL: I apologize. Just give me a

        17            second, please.

        18            Q       That when the officers did what you call, bring the

        19 person to you, is that before or after they had brought the

        20 Blackberry to you, did they bring the Blackberry to you before

        21 the homeless guy?

        22            A       No, they got the guy first from far away and said yes

        23       and then start to bring my stuff.

        24            Q      Your stuff?

        25            A       Yes.


                                                                                   NS
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                                                                              420
                        El Turkey-People-Cross (Defendant Ball)

          I         Q     But you just testified that they brought you a

          2   Blackberry that didn't belong to you?

          3         A     Yes, after I said the guy.

          4         Q     Okay. After you said the guy?

          5         A     Yeah.

          6         0     Okay. Now, you said here, right, that you knew that

          7 it was the homeless guy who robbed you because he had your money

          8   and your I.D.; is that correct?
          9        A      Not me, the police knows, when the police find my

         10   wallet with someone so its logic it's hirn

         11        0      Yes.

         12        A      Yes.

         13        O      So that is how you know --
       H 14        A      No, I know because he is the guy. He is the one I

         15 saw him, I tried to get up from the heavy guy and the homeless

        16    guy, I'm not blind, he is the one who took, the other one he
        17 came push and took the money at the same time.

        18         Q      Okay. Now, I would like to ask you speaking of not

        19 being blind, can you give us a description of the homeless guy?

20                 A      Yeah.

        21         0      Today-,

        22         A      Today, yeah.

        23         Q      Can you give us a description of him?

        24         A      Yes.

        25         Q      Can you please tell us a description of him?


                                                                                    NS
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                                 El Turkey-People-Cross (Defendant Ball)

                  1        A      Yeah, black guy, same tall, skinny.

              2            Q      How tall?

              3            A      Same tall like me. You want me to stand up?

              4                      THE COURT: How tall are you? Do you know how

              5            tall you are?

              6            A      Yes, like five six. But he is maybe a little shorter

              7       to me and curl hair.

              8            0      Curl hair?

                                    THE COURT: Curl.

             10            A      Yeah, like the always black guys hair.

             11            Q      Curl?

             12            A      Yes.

             13            Q      Is it dredlocks?

I!
             14            A      Yes.
             15            Q      Is it like dreds, like Jamaican or like a girl?

             16            A      Like Jamaican but short, same like your hair.

             17                     THE COURT: Do you mean tight curls?

             18            A      Yes.

             19            Q      You mentioned earlier    that the guy is gay; is that
             20       correct?

             21            A      He act gay, I'm not --

             22            0      Did you ever see him dress differently than a man?

             23            A      Sometimes yeah.

             24            Q      Sometimes he dresses like a woman?

             25            A      Yes.


                                                                                          NS
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                                                                              422
                         El Turkey-People-Cross (Defendant Ball)

          1         Q      Have you ever had a relationship with him?

          2         A      Never.

          3                  MR. SHORTT: Objection.

          4                  THE COURT: Sustained. Sustained. The jury will

          5         disregard that. I will remind you that the questions are

          6         not evidence. It is the question coupled with the answer

          7         that is evidence.

          8         Q     Okay. My next question is this: You said that you

          9   identified the homeless guy; is that correct?

         10         A     Yeah.

         11         Q     You identified him while you was outside, is that

         12   correct, when you were on the street; is that correct?

         13         A     I know him long time.

         14         Q     I'm not asking whether you know him a long time, I'm

         15 asking at what point they brought him to you, they brought him

         16 to you and you identified him when you were on the street; is

         17 that correct?

         18        A      Yes.

         19         Q     Not in the ambulance?

         20        A      Not in the ambulance.

         21        Q      You never identified the man when he was in the

        22 ambulance?

        23         A      I identified him one time only.

        24         Q      I didn't ask you that. I asked you --

        25                  THE COURT: He answered your question. He said he


                                                                                    NS
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                         El Turkey-People-Cross (Defendant Ball)

          1         identified him one time.

          2         Q      So you were not in the ambulance when you identified

          3   the homeless guy; is that correct?

          4         A     No.

          5         Q     Okay. Thank you. You said, right, Mr. El Turkey,

          6 that you was in the ambulance for 15 minutes; is that correct?

          7         A     Urn-hum.

          8         O     How did you get in the ambulance, did you walk?

          9         A     Yes.

         10         Q     Was you brought in by a stretcher?

         11         A     No, I walk.

         12         O     You walked?
13                  A     Yeah.

         14         O     Let me ask you a question, Mr. El Turkey, you walked

         15 into the ambulance, and you received treatment?

         16         A     Urn-hum.

         17         O     Okay. How long was it before the time that this

         18   incident took place, you know, that the unfortunate occurrence

         19 happened, between that time and the time that you literally went

         20 into the ambulance, how long was that period of time?

         21         A     Maybe six minutes.

         22         O     I apologize?

         23         A     Maybe six minutes.

         24         Q     Between the time this happened?

         25        A      The time that I got punched.


                                                                                    NS
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                             1 Turkey-People-Cross (Defendant Ball)

            1            Q   And the time that you went into the ambulance?

            2        A        Before I called the police?

            3        Q        Yes.

            4        A       Like seven or ten minutes.

            5        Q       So between the time--

            6        A       Between I got robbed and I go ambulance.

            7        Q       Yes.

            8        A       All take ten minutes. The police come right away and

            9 my friend call right away so couple of minutes couple minutes

       10       like six or seven minutes.

       11            Q       So how long would you say that it was that they

       12 brought the homeless guy back to you to identify him while you

       13 was in the street?

       14            A       I don't know what you trying --

       15            Q       You don't --

       16            A       I understand the question but I'm not -- I'm in a

       17       situation not counting seconds and minutes, just hurry call the

       18 police, I stand up to go to the ambulance, they bring the guy to

       19       recognize him, so I'm not counting minutes time.

       20            Q       So you have no idea --

       21            A       I have idea   everything but I'm not counting.

       22            Q       I'm not asking you whether you are counting or not.

       23       I would like you to give us, you know, an answer --

       24                      TEE COURT: Your best estimate.

       25            Q       Flow long?


                                                                                     NS
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                             El Turkey-People-Cross (Defendant Ball)

             1                    THE COURT: As to how long it was between the time

          2           you were robbed and the time you identified the homeless

          3           guy.

          4           A       Maybe like seven or eight minutes.

          5           Q       So they brought the homeless guy back to the scene of

          6      the crime --

                      A       Not close from me.

          8           Q       I'm not asking --

          9                       THE COURT: Don't argue.

         10           A       The crime is from far away.

         11                       THE COURT: Don't argue with each other. He asks

         12           questions, you answer questions.

         13           A       I know him from far away.

         14                     THE COURT: Okay.

         15           Q       So you know him from far away?

         16           A       Yes. They bring him not too close to me, not very

        17       close. They told me they going to bring him little bit and

        18       recognize him, so before I know him from far way I said I know

        19       it's this guy.

        20            Q       You also said you knew it was him because you already

        21       knew it was him that had the money so you know --

        22            A       I didn't arrest him to find he has the money so he is

        23 the one that has the money.

        24            0      All right. Well, the next question is this, Mr. El

        25 Turkey, thank you. You are being very helpful.


                                                                                    NS
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                         El Turkey-People-Cross (Defendant Ball)

          1         A      You are welcome.

          2         Q      What we are doing here --

           3                 THE COURT: Don't lecture the witness. Just ask

          4         him questions.

          5         A      I know your job.

          6         Q      Now, you have the homeless guy at the crime scene,

          7    the officers bring you the Blackberry; is that correct?

          8         A      They bring me phone, that's yours, I said no, so they

          q bring me another phone.

         10         Q      How long before they went and found the other phone

         11 and brought it back to you; do you know?

         12         A      Yes, just the way he go and come back.

         13         Q      How long, where did he go?

         14         A      Where?    I'm not looking because I'm still talking to

         15 the other cop to explain what happened because like two cops

         16 with me and the other cop bring the homeless, he bring the

         17    phone, I said, no, so he go back, and he bring after one minute

         18    is that your phone I said, yes, mine.

         19         Q      Did he tell you or did anybody tell you that they had

         20 gotten that phone off the homeless guy?

         21         A      They told me they think they catch the guy because he

         22    ask me how much money I said, yes, 250, they said they find 250

         23    exactly. They asked me what kind of phone, iPhone, they said

         24    they find iPhone, they find the Social Security and my license

         25    so I'm not going to say nothing.


                                                                                      NS
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                        El Turkey-People-Cross (Defendant Ball)

         1          Q     I just need to know specifically whether or not you

         2   were informed, that's it, is that the fact that the cops caught
         3   him?
4                   A     Yes, they say they got the    guy.
5                   Q    And that they found the property?

         6          A     They found the property    with him, yes.
         7          Q    That's what I'm asking.

         B          A     Yeah.

         9          Q    Okay. My next question to you is do you remember

        10 that night while you     was with the EMS workers that you was asked
        11 to fill out    a form, do you remember that?
        12          A     Remember what?    Your question --

        13                  THE COURT: The EMS guys, did they ask you to fill

        14          out a piece of paper?

        15                  THE WITNESS: The cops?

        16                  THE COURT: The ambulance guys.

        17                  THE WITNESS: Yes, to sign like I'm not going to

        18          go to the hospital, yes, sure.

19                  Q    That you are not going to go to the hospital?

        20          A     Yes, I sign, sure.

        21          Q     But you didn't refuse all treatment at the crime
22           scene?

        23          A     I didn't refuse. I refuse to go to the hospital
        24 because I didn't want to stay four or five days because I want

        25   to work.


                                                                                   NS
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                         El Turkey-People-Cross (Defendant Ball)

          1         Q        Okay. But do you remember that you made a statement,

          2 do you remember that you wrote a statement?

          3         A        What statement?

          4                    THE DEFENDANT BALL: Is it all right that we hand

          5         it up?

          6                    THE COURT: Show it to the witness.

          7                    (Handing.)

          8         A        Yes, I sign this.

          9         Q        Yeah?

         10         A        What's wrong?

         11         Q        No, nothing is wrong. We just need to get some

         12    information from you.

         13                    THE COURT: Don't make a speech. Ask questions.

         14         Q        There is a statement that's made there by you that

         15    you were assaulted?

         16         A        Um-hum.

         1.7        Q        By a group of guys?

         18                    MR. SHORTT: Objection, your Honor.

         19         A        Group guys?

         20                    THE COURT: I will allow it.

         21         Q        It says there that's your statement that you stated?

         22         A        Group?

         23         Q        That's what it says?

         24         A        I don't know.

25                  Q        You don't remember making that statement?


                                                                                      NS
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                             El Turkey-People--Cross (Defendant Ball)

              1         A      No, I never say group.

              2         Q      You never said group?

              3         A      Yes.

              4         Q      So that is a mistake?

              5         A      Yes.

              6                  THE COURT: Did you write that or did the

              7         ambulance guy write it?

              8         A      No, I didn't write anything.

                        Q      Did you say that you was okay?

             10         A      This is my signature.

             11         0      I didn't ask you that.

             12                  THE COURT: Did you write out the rest of it or

             13         did the ambulance guy?

             14         A      It's not my handwriting.
II

15                      Q      Did you say to the ambulance that you were okay

             16 because it also says that you said I'm okay?

             17         A      Yeah, I said that.

             18         Q      You said that to the EMS?

             19         A      I'm okay not go to the hospital.

             20         Q      I'm just asking you because that's what's in the

             21 paper?

22                               MR. SHORTT: Objection.

             23                  THE COURT: That's what he said that he said he

             24         was okay.

                        Q      So you did say you was okay?


                                                                                        NS
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                         El Turkey-People-Cross (Defendant Ball)

          1         A       Yeah.

          2         Q       Okay. All right.

          3                   THE COURT: You said that because you did not want

          4         to go to the hospital?

          5         A       Yes.

          6         Q       Okay. Thank you very much.

          7                   THE COURT: Is that it?

          8                   THE DEFENDANT BALL: That's it, your Honor.

          9                   THE COURT: Thank you.

         10                   MR. GIBBONS: I have one more question to ask.

         11                   THE COURT: One more but we are not dancing around

         12         here.

         13 RECROSS EXAMINATION.

         14   BY MR. GIBBONS:

         15         Q       Mr. El Turkey, as you sit here today do you remember

         16 what these two individuals looked like, if you close your eyes,

         17 do you know what they look like?

18                  A       I know it is I know the homeless guy because I saw

         19 him three, four, five times, I always see him, but the other guy

         20   I'm not recognize him.

         21                   THE COURT: Any redirect?

         22                   MR. SHORTT: Yes, your Honor.

         23 REDIRECT EXAMINATION

         24   BY MR. SHORTT:

         25         Q       Mr. El Turkey, you talked about the length of the


                                                                                      NS
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                                                                              431
                                 Cl Turkey-People--Redirect

           1 hair of the homeless guy. Do you remember talking about that

           2 during cross-examination?

        '3          A     who?
                                                                                      -
           4        Q     You talked during cross-examination about the length

               of the hair in the homeless guy?

           6        A     Yes.

           7        Q     You said someone in the courtroom has similar style

           8   hair, could you point to that person?

                    A     Yes.

         10         Q     Who is that?

         11         A     Similar hair like this guy like the lawyer.

         12         Q     The gentleman sitting across from you?

         13         A     Yes.

         14         Q     That's the same style of hair?

         15         A     Yes.

         16         Q     Anything else similar about him?

         17         A     Same heavy like him.

         18         Q     Okay. The form that you were shown by the EMS

         19 worker, did you fill that out?

         20         A     How came I'm bloody and writing?

         21         Q     Did you read it before you signed it?
         ,),        A     No.

         23         Q     Why did you sign it?

        24          A     I sign because I don't want to go to the hospital.

        25     I'm not going to cheat him.
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                                                                              432
                                 El Turkey-People-Redirect

         1                   MR. SHORTT: No further questions, your Honor.

         2                   THE COURT; Anything else, gentlemen?

         3                   MR. GIBBONS: No redirect.

          4                  THE DEFENDANT BALL: I do.

          5                  THE COURT: All right.

          6 RECROSS EXAMINATION

          7 BY THE DEFENDANT BALL;

          8        Q       Mr. El Turkey, I need to know it's very important for

          9   us, you said that you was assaulted --

        10                   THE COURT: All right.

        11         Q       -- and the homeless guy was on the back of, you?

         12        A       Urn-hum.

         13                  THE COURT: I'm going to sustain this line of

         14        questioning.

         15        Q       Okay. At what point --

         16                  THE COURT: Mr. Ball, you want to limit your

         17         questions to what Mr. Shortt just brought out on redirect.

         18         That's the limitation to what you can ask. So if you don't

         19         have any questions about what Mr. Shortt just asked, then I

         20         can't permit you to ask these questions.

         21                  THE DEFENDANT BALL: Thank you, your Honor.

         22                  THE COURT: Is that it?

         23                  Mr. El Turkey, you may step down. Thank you very

         24        much.

         25                  THE WITNESS: Thank you.


                                                                                    NS
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                                                                              433
                                    Lanning-People--Direct

          1                    (Witness excused.

          2                    THE COURT: Call your next witness.

          3                    MR. SHORTT: The People call Detective Daniel

          4         Lanning.

          5                    THE COURT OFFICER: Witness entering.

          6   D E T.    D A N I E L L A N N I N G, having been duly sworn,

          7 was examined and testified as follows:

          8                    THE COURT OFFICER: The People call Detective

          9         Daniel Lanning, L-A-N--N-I-N-G, shield 2559 of the 115

         10         Precinct New York City Police Department.

         11                    THE COURT: Mr. Shortt, you may inquire.

         12 DIRECT EXAMINATION

         13   BY MR. SHORTT:                                   -

         14         Q       Good afternoon, Detective.

         15        A        Good afternoon.

         16         Q       How long have you worked for the New York City Police

         17   Department?

         18         A       Approximately nine years now.

         19         Q       What is your -- what precinct are you currently
         20   assigned to?

         21        A        115 precinct in Jackson Heights, Queens.

         22         Q       What areas of Queens County?

         23        A        Jackson Heights, Corona, East Elmhurst.

        24         Q        How long have you been assigned to     the 115 police
        25 precinct?


                                                                                    NS
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                                                                              434
                                  Larining-People-Direct

          1         A     About eight and a half years now.

          2         Q     Have you ever been anywhere else?

          3         A     Just the police academy.

          4         Q     What is your current assignment at the 115 Precinct?

          5         A     I work as a field intelligence officer.

          6         Q     What does it mean to be a field intelligence officer

          7   in the NYPD?

          8         A     As the field intelligence officer, I keep track of

          9 recidivists, gang members and parolees meaning we kind of keep

         10 tabs on people who have been arrested numerous times for the

         11 same thing, what they are doing, if they have been arrested in

         12   the past, things of that nature.

         13         Q     How long have you held that position for?

                   A      Approximately four years now.

                    Q     What did you do at the 115 before that?

                   A      Prior to that I worked on patrol, I worked doing four

         17   to twelve which is 3 P.M. to 11:30 P.M.

         18        0      Were you assigned to any particular area of the 115

         19 during that time?

        20         A      well, being assigned to patrol, you can be sent out

        21    to any -- they call it a sector so I was sent out to different

        22     ectors on different days depending on where they needed me.

        23         Q      I want to talk to you specifically about the day of

        24    July 3 of 2012. Were you working as an officer that day?

        25         A      I was, yes.


                                                                                    NS
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                                       Lannirg-People-Direct

              1           Q     What time did you report to work?

              2           A     I was doing a four to twelve that day again 3 P.M. to

              3    11:30 P.M. at night.

              4           Q     What was your current assignment at that time?

              5           A     I was assigned as the field intelligence officer that

              6    day.

                          Q     What was -- did you have any plans as a police

              8    officer that day?

              9           A     Well, as a field intelligence officer, some days we

             10    go out in the field, some days we stay in tracking recidivists,

             11    gang members, parolees --

             12                   THE COURT: The question is what plan if any did
I'                        you have?
             13

             14           A     I'm sorry I was trying to get to that. I apologize.

             15 We had no plans that day, no.

             16           Q     At any point did you leave the precinct?

             17           A     We did, yes.

             18           Q     Around what time did you leave the precinct?

             19           A     I left around 3:30 P.M.

             20           Q    And where were you going?

             21           A     I believe we were going to get a cup of coffee.

             22           Q     After you got a cup of coffee, where else did you go

             23 that day?

             24           A     We had gone to College Point to drop off some

             25 paperwork, and then we headed back to the confines of the 115


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                                                                              436
                                   Lanning-People-Direct

           1    Precinct.

           2                When you left the precinct that day were you in

           3 uniform?

           4         A      No, I was not. I was in plainclothes.

           5         Q      Did you go by foot or by vehicle when you left?

           6         A      By vehicle.

           7         Q      What type of vehicle did you take?

           8         A      It was an unmarked vehicle, it was actually RMP

           9 number 1227.

         10          Q      What kind of car is that?

         11          A      That is a Chevy Impala.

         12          Q      When you left, did you go by yourself or with any

         :1.3   other police officers?

         14          A      I went out with my sergeant, Sergeant Jeff Rosenberg.

         15          Q      Had you worked with Sergeant Rosenberg before?

         16          A      Yes, I had.

         17          Q      How long have you worked with Sergeant Rosenberg?

         18          A      Approximately three years.

         19          Q      When you left who was driving the vehicle?

         20          A      He was, Sergeant Rosenberg.

         21          Q      When you left, did you alert any of the police

         22 officers that you were going to be out on the street that day?

         23          A      We usually let the desk sergeants know when you leave

         24     the precinct that you will be out there just in case something

         25 happens, they know you are in the Street, but that was the only


                                                                                    NS
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                                                                             437
                                  Lanning-People-Direct

         1 person we had spoke to before we left.

         2            Q   Are you familiar with Police Officer Angelo Pampena?

         3           A    Yes.

         4           Q    Was he working that day as well?

         5           A    Yes, he was.

         6           Q    Had you told Officer Parnpena that you were going to

         7 be out in the street that day?

         8           A    No.

         9           Q    When you left, did you have a police radio with you?

        10           A    I did, yes.

        11           Q    I want to talk to you a little about what you were

        12   doing around 8:30 in the evening on July 3 of 2012. Do you

        13 recall where you were around that time?

        14           A    I was in the vicinity of 107 Street and Northern

        15   Boulevard.

        16           Q    Is that in the confines of your precinct?

        17           A    Yes, it is.

        18           Q    What type of area is that?

        19           A    It's mainly a commercial area, a lot of store fronts,

        20   it's a heavily -- not heavily, it has a lot of car traffic

        21   there.

        22           Q    I want to fast forward a little bit to just before

        23   about 9:00 in the evening. Was your police radio on at that

        24   time?

        25           A    Yes, it was, yes.


                                                                                   NS
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                                   Lannirig-People-Direct

          1         Q       Are you familiar with what the term radio run means?

          2         A       Yes.

          3         Q       What is a radio run?

          4         A       A radio run is when central, meaning the person on

          5 the other end of that radio, they dispatch a call to a police

          6 officer and a police officer as myself responds to that call

          7 hence the term radio run.

          8         Q       As a field intelligence officer are you in the habit

          9 of responding to radio runs?

         10         A       I don't normally, but it's a heavy job meaning if

         11 it's something like a burglary or a robbery or a rape or

         12   something of that nature, I will respond to it, especially if

         13   I'm close to the proximity of that radio run.

         14         Q       Just before 9:00 that evening, did you receive any

         15   radio runs?

         16         A       I did, yes.

         17         Q       Where were you when you received that call?

         18         A       Again around 107 Street and Northern Boulevard

         19 heading westbound.

         20         Q       Who was driving the vehicle at that time?

         21         A       Sergeant Rosenberg was still operating the vehicle.

         22         Q       What type of call came over the radio?

         23         A       A male being robbed at knifepoint.

         24         Q       Was there any further description of the event at

         25   that time?


                                                                                      NS
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            1         A        I don't remember the address exactly, but it came

            2 over happening at the corner of 105 Street and Northern

            3 Boulevard and a description was two male blacks, one wearing

            4   white shirt and black pants.

            5        Q         Did you respond to the location of 105 Street and

            6 Northern Boulevard?

         7           A         I did, yes.

         8           Q         Had you ever been to that location before?

         9           A         Yes, I.have.

        10           Q         How often do you pass by that location?

        11           A         I pass by that location everyday.

        12           O     How much would you say on a daily basis do you pass

        13      by it?

        14           A         20 days a month.

        15           Q     Fair to say you are familiar with that area?

        16           A     Yes.

        17           Q     Could you describe that area of 105 Street and

        18 Northern Boulevard for the members of the jury please?

        19           A     Sure. All of Northern Boulevard is commercial so on

        20 the corner there is a bodega, and as you head southbound on 105

       21 Street, there is another commercial building, then a bar as you

       22 get about quarter way down the block it turns into all

       23       residential.

       24            O     what about on the other side what's on the other side

       25       from the bodega?


                                                                                    NS
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                                                                            440
                                 Lanning- People-Direct

        1         A Directly across from the bodega I think it's a Latin

        2   dance studio another store behind that, and again it turns into

        3    residential so about three quarter of the block is residential,

        4    the other quarter of the block is commercial.

        5         Q       Are there light posts around that area?

        6         A       Yes, there is.

        7         Q       Where are there light posts   around that intersection?
        B         A       There is a light post right in front of the bodega,

        9   and then there is one about quarter of the way down the block.

       10         Q       Down which block?

       11         A       I'm sorry down 105 Street -

       12         Q       Were those lights on when you arrived on scene?

       13         A       They were, yes.

       14         Q       Are you familiar with whether or not there are lights

       15   in the bodega?

       16         A       There are, there are lights in front of the bodega as

       17   well as there is lit signs in front of the bodega as well.

       18         Q       What about the Latin dance studio, any signs on the

       19   front of that building?

       20         A       Yes, there are signs.

       21         Q       what type of signs?

       22         A       I believe there is a Western Union sign, the name of

       23   the dance studio is in neon lights in front, too.

       24         Q       Further down 105 Street you said there are other

       25   businesses?


                                                                                  NS
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                                                                             441
                                  Lanning-People-Direct

        1         A        Yes.

        2                    MR. GIBBONS: Which direction are we talking

        3         about?

        4         Q        Southbound on 105 Street, you said there are

        5 businesses behind the bodega?

        6         A        Yes.

7                 Q        Do any of those stores have exterior lights?

        8         A        There is a bar I believe its two stores behind the

        9 bodega that has lighting in front of it also with neon lights in

       10   the window it's a bar.

       11         Q        Were those lights on when you arrived on scene?

       12         A        They were, yes.

       13         Q        Could you describe what you say -- first of all,

       14 when you drove up on the scene, what street were you on when you

       15   first arrived?

       16         A        I pulled up to the corner, it was actually the

       17   southwest corner of 105 street and Northern Boulevard.

       18         Q     What did you see when you arrived on scene at that

       19   location?

       20         A        I saw a male waving us down on the corner at which

       21 point I pulled up and rolled down my window.

       22         Q     What did that person look like?

       23         A     Male Indian, skinny, kind of balding. He had blood

       24   on his face and coming from his mouth.

       25         Q     What happened when you arrived on scene?


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                                     Lanning-People-Direct

           1        A        I engaged in conversation with the individual, and he

        2      said that he had been robbed, and he said that they went that

        3 way, pointing southbound on 105 Street.

4                   Q        How long were you speaking to this individual for?

        5           A        A few seconds, because with that type of job --

        6                      THE COURT: Just answer the question. Two

        7           seconds.

        S           A        Few seconds, yes.

        9           Q        After that few seconds did you say anything to the

       10      individual?

       11           A        No, he got right in our car.

       12           Q        What happened -- where in the car did he get in?

       13           A        He got into the rear vehicle right behind the

       14      passenger seat.

       15           Q        What did you do after he got in the vehicle?

       16           A        We drove southbound on 105 Street.

       17                      MR. SHORTT: Can you we show the witness what's

       18           been previously introduced as People's Exhibits 1 and 2 in

       19           evidence, please?

      20            Q        Officer, do you recognize what is being shown to you

      21       right now?

      22            A        Yes.

      23            Q       What is that?

      24            A       This is the corner of 105 Street --

      25                       THE COURT: Officer, can you tilt that so all the


                                                                                     NS
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                                                                            443
                                     Lanning-People--Direct
            1          jurors can see it.

            2          Q     I want to focus on the picture on the left-hand side,

            3 do you recognize that picture?

         4             A     Yes.

         5             Q     What is that?

        6              A     That's the corner of 105 Street and Northern

        7       Boulevard.

        8              Q     Is that what the buildings appeared like and the

        9 light posts appeared the day you arrived on July 3 of 2012?

       10              A     Yes.

       11              0     Officer, where was the individual who was bleeding

       12 when you first saw him on July 3 of 2012?

       13              A     He was standing right in the crosswalk here, we were

       14 coming westbound and pulled in nose first to where the crosswalk

       15       was.

       16              Q     After the individual got into your car, where did you

       17       go?

       18              A     We headed southbound on 105 Street.

       19              0     How long were you traveling southbound on 105 Street?

       20              A     About a few seconds.

       21              Q     Could you estimate in terms of a number?

       22              A     Four, five seconds maybe.

       23              0     What happened after four or five seconds?

       24              A     Mr. El Turkey, the complainant, stated that's him at
       25 which point we stopped the vehicle.

                                                                                  NS
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                                                                            444
                                 Lanning-People--Direct

        I           Q     Flow far down the street had you traveled?

        2           A     About a quarter of the way down the block.

        3                   MR. S1-(ORTT: If we can show the witness again

        4           People's Exhibits 1 and 2.

        5           Q    Officer, could you point to using the picture on the

        6 right-hand side, is where you stopped the vehicle depicted on

        7 the right-hand side?

        8           A    Yes, right in front of this bar here.

        9           Q    And was there anybody in front of the bar at that

       10   time?

       11           A    Yes, there was two male blacks in front of the bar at

       12   that time.

       13           Q    What direction were those two individuals facing?

       14           A    They were headed northbound on 105 Street.

       15           Q    So were they facing towards your vehicle or away from

       16   your vehicle?

       17           A    They were facing towards my vehicle.

       18           Q    How close while in your vehicle did you get to these

       19 two individuals?

       20           A    Once we stopped them in front of bar here, we were

       21 pulled over to the curb so we were about five to seven feet away

      22    from them at that time.

      23         Q       Using something in the courtroom could you point

      24 about the distance you are referring to as the distance between

      25 you and the vehicle and the two individuals that you stopped?


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                                                                            445
                                 Lanning-People-Direct

         1        A      From about here to the wall there approximately, I

         2 mean to you.

         3        Q      To me sitting here?

         4        A      About from here to the wall there, I would say.

                            THE COURT: Indicating about twelve feet.

         6                  MR. SFIORTT: Thank you.

         7               Officer, where was Mr. El Turkey when you -- where

         8 was the individual when you stopped the individual, the person

         9 that was bleeding stopped the vehicle?

        10        A      He was sitting behind me in the back of the vehicle.

        11        Q      Did you eventually learn the name of the person who

        12 was in the back of the vehicle?

        13        A      Yes, Mr. El Turkey.

        14         Q     What did you do when you stopped the vehicle?

        15        A      I got out due to the severity of the job, male being

        16 robbed at knifepoint so I got out of my vehicle with my gun

        17 drown, and I stopped the two individuals that Mr. El Turkey had

        18   pointed out.
19                Q      I ask you to look around the courtroom. Do you see
       20 any of the individuals that you stopped that night in the

        21 courtroom today?

        22        A      Yes.

       23         Q      Could you point to that person and describe an

       24    article of clothing they are wearing?
       25         A      Sure, he is wearing a black jacket right there.


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        1                  THE COURT: Indicating the defendant Brooks.

        2          Q    When you first saw Mr. Brooks, the defendant, that

        3 night, what was he doing at the very first moment you saw him?

        4          A     Like I said, he was walking northbound on 105 Street.

        5          Q    Was he closer to the sidewalk or to the building at

        6 that time?

        7          A     He was closer to the building.

        8          Q    And could you describe the other individual that he

        9 was standing next to?

       10          A    He was another male black a little shorter and a

       11   little thinner.

       12          Q    Do you recall what Elijah Brooks was wearing that

       13   day?

       14          A    He was wearing a white shirt and black shorts.

       15          Q    Do you recall what the other individual who was

       16   standing next to Mr. Brooks was wearing?

       17          A    I know he was wearing dark pants, I couldn't recall

       18 what kind of shirt he was wearing.

       19          Q    Do you recall was the person that was with Mr. Brooks

       20   white, Hispanic, black?

       21          A    He was a male black as well.

       22          Q    Could you tell how old he was?

       23          A    Mid to late forties.

       24          Q    After you stopped these two individuals, what happens

       25 next?


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                                                                            447
                                 Lanning-People-Direct

        1          A      Mr. El Turkey I.D.'d Mr. Brooks again and said that's

        2   the guy, at which point I placed Mr. Brooks under arrest.

        3          Q      How did you do that?

        4          A      I placed him in handcuffs.

        5          Q      What happened to Mr. Brooks after that point?

        6          A      He was transported back to the 115 for arrest

        7   processing.

        8                   THE COURT: By you or by someone else?

        9                   THE WITNESS: Not by me, by another officer.

       10                   THE COURT: All right.

       11                   MR. SHORTT: If we could show the witness People's

       12          Exhibits 1 and 2 again, please.

       13          Q      Officer, you referenced a light post about quarter of

       14   the way down the block, do you see that in the picture number

       15   two?

       16          A      Yes.

       17          0      Could you point to that, please?

       is          A      Sure, it's right there.

       19          Q      Officer, do you recall whether or not that light post

       20 was on the night that you were on scene?

       21          A      It was on, yes.

       22          0      Officer, you described some exterior lights on the

       23 side of the building could you point to those using exhibit

       24 number one what exterior lights you made reference to before in

       25   front of the deli?


                                                                                  NS
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                                                                            448
                                  Lanning-People-Direct

        1         A      There is lights in the window here as well as

        2    underneath the awning.
        3         Q      What do you mean there are lights underneath the

        4    awning?

        5         A      There is lights that kind of shine down on to the

         6   sidewalk there.

                  Q      Were those on when you arrived on scene?

         S        A      Yes.

         9        Q      Were there any lights along 105 Street?

       10         A      Yes, there is a light post there as well.
       11         Q      Where?

       12         A      Right here.

       13         Q      Was that light on when you arrived on scene?

       14         A      It was, yes.
       15                  THE COURT: Detective, can you tell us how far

       16          from the light post on 105 Street Mr. Brooks was standing

       17          at the time that Mr. El Turkey identified him initially?

        18                  THE WITNESS: When I had stopped Mr. Brooks, he

        19         was against the wall there right in front of the bar.

       20          had him up against the wall the light post was at the edge

       21          of the curb so I'm bad with numbers, so he was the distance

        22         from the edge of the curb to where the wall was.

       23                   MR. SI-iORTT: Thank you, Judge. Can we show the

       24          witness one and two again?

       25          Q     Could you point exactly where Mr. Brooks was standing

                                                                                  NS
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                                                                            449
                          Lanning-People-Cross (Mr. Gibbons)

         1.   the moment Mr. El Turkey identified him?

         2         A     This wall right here, this brick wall between that

         3 bar and this salon here.

         4         Q     Thank you, Detective.

                           MR. SEIORTT: No further questions, your Honor.

         6                 THE COURT: Cross-examination?

         7                 MR. GIBBONS: Yes, your Honor. Just a quick

         8         minute, please.

         9                  (Whereupon, there was a brief pause in the

       10          proceedings.)

       11 CROSS EXAMINATION

       12     BY MR. GIBBONS:

       13          Q     Good afternoon, detective. How are you?

       14          A     Good. Yourself?

       15          Q     Good. My name is Wyatt Gibbons. I'm representing

       16 Mr. Brooks. You testified that the radio run came over as a

       17     knife point robbery, correct?

       18          A     Yes.

       19          Q     And you said that it was two male blacks one wearing

       20 white shirt and black pants, correct?

       21          A     Actually I believe it was three.

       22          Q     It was three male blacks?

       23          A     Yes, okay.

       24          Q     I was going to ask you that. So if came over as

       25 three male blacks?


                                                                                  NS
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                                                                             450
                          Lanning-People-Cross (Mr. Gibbons)

                     A   Yes, you are correct.

         2           Q   And one of them wearing white shirt, black pants?

         3           A   Yes.

         4           Q   You said you were on the scene in about two minutes,

         5   seconds?

         6           A   Yes.

         7               Now Northern Boulevard and 105 is a relatively busy

         8   area?

         9           A   Urn-hum.

       10            Q   You said it was all commercial, but there are actual

       11    residential buildings on top of the store front?

       12            A   In that particular area I don't believe so.

       13            Q   Take a look at People's Exhibit 1. Do you see the

       14    buildings on top?

       15            A   Okay, yes.

       16            Q   And the buildings next and across so on top of the

       17    store front there is residences, correct?

       18            A   Yes.

       19            Q   Okay. And this was about 9:00 on a summer night,

       20    right?

       21            A   Yes.

       22            Q   And the evening before July 4th holiday?

       23            A   Yes.

       24            Q   And there were people on the street?

       25            A   When I pulled up to that corner, the only person that


                                                                                   NS
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                                                                             451
                           Lanning-People-Cross (Mr. Gibbons)

         1    I kind of honed in on was Mr. El Turkey at the time.

         2         O      So there could have been other people, you don't

         3 remember?

         4         A      Correct.

          5        O      But the streets certainly were not deserted?

          6        A      No.

         7         Q      You said Mr. El Turkey was on the corner, and he was

         8 bloody, he looked like he had been beaten, correct?

          9        A      Yes.

        10         Q      He got in the car quickly, and you drove southbound

        11    on 105 Street, correct?

        12         A      Yes.

        13         Q      And that's against traffic?

        14         A      Correct.

       ''5         O      Did you put your lights and sirens on?

        16         A      There are no lights and sirens in that particular

        '7    vehicle.

        18         0      Okay. As you passed the deli, you went about half

        19 block you said?

        20         A      It was actually a quarter of the way up the block.

        21         Q      It wasn't half a block?

        22         A      It was about quarter of the way.

23                 Q      Do you remember testifying at a hearing in this

        24 matter a couple of times actually?

        25         A      Yes.


                                                                                   NS
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                          Larinir±g-People-Cross (Mr. Gibbons)

         1         Q     Page eight --

         7                 MR. SHORTT: Which one?

         3                 MR. GIBBONS: Hearing number one.

         4        Q      This was on May 21 of 2013; do you recall that,

         5 Detective?

         6        A      Yes.

         7        Q      You swore to tell the truth there?

         B        A      Correct, yes, I did.

         9        Q      And you told the truth of course, right? Page eight

       10    starting at I guess line four:

       11                   (Reading:) Okay. Now as far as time is concerned

       12          you said two blocks away, it took three minutes in the car

       13          two seconds relative to the corner of Northern and bodega.

       14         Had you travelled halfway down the block, all the way down

       15         the block, third of the way down the block. How long have

       16         you been on that block before you had seen the witness?

       17                   (Reading:) Answer: I apologize, we got about

       18         halfway down the block.

       19                   Do you recall being asked those questions and

       20         giving that answer?

       21         A      Yes, I do.

       22         0      Then again this is hearing two on January 8 of 2014,

       23    page 16 line 19:

       24                   (Reading:) You testified previously that after you

       25         had that brief conversation with him, he was -- you placed


                                                                                   NS
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                          Lanning-People--Cross (Mr. Gibbons)

         1         him inside your vehicle and did a quick canvass of the

                  -area; is that correct?

         3                  (Reading:) Yes.

         4                  (Reading:) And after driving approximately half a

         5         way down the block on 105 you are talking about Mr. Brooks?

         6                  (Reading:) Answer: Yes. Do you remember being

         7         asked those questions and giving that answer?

         8         A     Yes.

         9         Q     Mr. Brooks you stated he was walking northbound on

        10   105 Street, correct?

        11         A     Correct.

        12         Q     Okay. Towards you?

        13         A     Yes.

        14         Q     Towards Northern Boulevard?

        15         A     Um-hrn.

        16         Q     When you saw him, you and Sergeant Rosenberg exited

        17   the vehicle guns drawn, correct?

        18         A     That's correct.

        19         Q     Now, when you went up to my client did he say -- did

        20 you order him to the ground?

        21         A     I ordered him to put his hands up.

22                 Q     Did he ask you why? Did he say I didn't do anything?

        23                  MR. SHORTT: Objection.

       24                   THE COURT: Sustained.

        25         Q     Did he comply right away?


                                                                                   NS
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                              Lanning-People--Cross (Mr. Gibbons)

           1          A   No.

           2          0   Did he ask anything of you?

           3          A   I believe he told me to go fuck myself.

                      Q   Now, he was walking with another male, correct?
      :
           5          A   He was, yes.

           6          0   They weren't running, correct?

           7          A   They were not running, no.

           8          Q   They appeared to be talking?

           9          A   Yes.

          10          0   His clothes weren't disheveled, correct?

          11          A   Not that I recall, no.

          12          0   And he had on a red baseball cap, do you recall that

          13   too?

          14              I do remember the baseball cap. I don't recall the

          15   color.

          16          Q   Okay, but he did have a baseball cap on?

          17          A   Yes.

          18          Q   And he was missing front teeth in his mouth; do you

          19   recall that?

          20          A   Mr. El Turkey?

          21          Q   No, no, no, Mr. Brooks, the person that you stopped?

          22          A   No, I did not notice that he was missing teeth.

          23          Q   At the time?

          24          A   At the time.

          25          Q   Not at all?


                                                                                   NS
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                           Laming-People-Cross Mr. Gibbons)

         1           A    No.

         2           Q    You noticed the hat, though, correct?

         3           A    Yes.

         4           Q    Now you said that you arrested Mr. Brooks, correct?

         5           A    Yes, I placed Mr. Brooks under arrest at that point,

         6   yes.

         7           Q    Okay. I guess it's a technicality, but the arrest

         8   was given to a different officer, correct?

         9           A    Correct.

        10           Q    So you detained my client, correct, placed him in

        11 handcuffs?

        12           A    Yes.

        13           Q    And he was not free to go anywhere, right?

        14           A    Not after Mr. El Turkey pointed him out as the person

        15 who had assaulted him.

        16           Q    Right. So he was not technically under arrest, but

        17 he was detained, would that be fair?

        18           A    No, he was under arrest at that point.

        19           Q    He was under arrest, so -- this was a little after

        20   9:00?

        21           A    This was, yes, that's fair to say.

        22           Q    So if there is a police report that says the arrest

       23    took place at the p recinct about half hour later, would that be

       24    a mistake?

       25            A    I don't think I understand your question.


                                                                                   NS
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                          Lanning-People-Cross (Mr. Gibbons)

         1          Q    Well, is it common that even though you might stop

         2   somebody and detain them, credit for the arrest would be given

         3   to somebody else, does that happen?

         4          A     If there is other officers on scene, I don't

         5   necessarily have to take the arrest. If someone else another

         6   fellow officer is there, they can take the arrest as long as

         7   they are there on scene.

         8          Q    Okay. Well, do you recall that evening Officer

         9   Pampena who Mr. Shortt asked you about he was given credit for

        10   both of the arrests, do you recall that?

        11          A    He did take both of the arrests, yes.

        12          Q    Okay. And now when you arrested Mr. Brooks, you

        13   searched him, correct?

        14          A    Yes, I did.

        15          Q    And there were no proceeds from the robbery found on

        16   him?

        17          A    Not that I found, no.

        18          Q    And he had shorts   on, correct?

        19          A    He had black shorts on, yes.

        20          Q    Now, when Mr. El Turkey got in the car you testified

        21   that he was bleeding a lot, correct?

        22          A    Urn-hum.

        23          Q    From the head and the mouth?

        24          A    Correct.

        25          Q    When you arrested Mr. brooks, he had a white shirt


                                                                                   NS
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         1   on, correct?

         2         A     Correct.

         3         Q     Did you notice any blood on him?

         4         A      I did not notice any blood on him.

         5         Q      Did you notice if his hands were cut or bleeding or

         6   anything?

         7         A      I did not, no.

         8         Q     The other person that he was with that was a male

         9 black, correct?

        10         A     Yes.

        11         Q      Did you take that person's name?

        12         A      I did not personally. I couldn't cell you if my

        13   sergeant at the time had taken it, but I did riot.

        14         Q      Do you have any contact information for this person?

        15         A     No, I do not.

        16         Q     He was a potential witness though, correct?

        17                   THE COURT: Sustained.

        18         Q     Now the total time that you spent with the

        19 complainant from your initial encounter on the corner --

        20                   MR. GIBBONS: Withdrawn. Withdrawn.

        21         Q     After my client was arrested, was he transported --

        22                   MR. GIBBONS: Withdrawn. I'm sorry.

        23         Q     After my client was arrested, did you take him back

        24   to the precinct?

        25         A     No, I did not.
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                          Lannirig-People-Cross (Mr. Gibbons)

         1         Q     Do you know who transported him back?

         2         A     I'm not sure.

         3         Q     From the time of the initial encounter with the

         4   complainant to the canvass, the arrest of '4r. Brooks and then

         5 leaving the scene, about how much time --

         6                   THE COURT: Who leaving the scene?

         7         Q     I'm sorry. You leaving the scene about how much time

         8 went by?

         9         A     I couldn't tell you a definite amount of time it

        10   seemed like all of 15 minutes maybe, ten minutes.

        11         Q     Would two or three minutes be more accurate?.

        12         A     No, it was a little longer than that. Maybe --

        13         Q     Okay. Hearing number two, page 26 line 7, do you

        14   remember being asked this question and giving this answer:

        15                   (Reading:) THE COURT: Okay. So Brooks the

        16         complainant was in your -- under your supervision for a

        17         total -- from the time of first observation of the

        18         complainant until the time that you had the last

        19         individual, contact with the complainant was that two to

        20         three minutes?

       21                    (Reading:) THE WITNESS: It was about two or three
        22        minutes.
23                 Q     Do you remember being asked that --

       24                    THE COURT: I'm going to sustain that objection,
       25          or I'm going to strike that question.


                                                                                   NS
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                           Lanning-People--Cross (Mr. Gibbons)

         1                So you don't think it was two or three minutes --

         2                  THE COURT: From when to when?

         3         Q      From the initial encounter to the time he left the

         4   scene?

         5                  THE COURT: I don't think that's addresses that

         6         question, that question doesn't address it.

         7                  MR. GIBBONS: Let me rephrase.

         8         Q     When was your last contact with Mr. El Turkey?
         9         A     As far as what?
10                       On that day?

11                 A     That day when I left the scene.

        12         Q     When you left the scene?

        13         A     Correct.

        14         Q     And you didn't transport Mr. El Turkey anywhere

        15 because you were pretty much at the scene, correct?

        16         A     I think what I was referring to there in that line of

        17 questioning is the point of us picking up Mr. El Turkey and him

        18   I.D.irig Mr. Brooks and being handed over.

19                       I stayed at the scene for a little bit while my boss

        20 put over the radio that there was someone under arrest, that

        21   Officer Pampena was taking    the arrest, so all of that took 15
        22 minutes. It was about three minutes, two minutes from the

       23 points of us picking up Mr. El Turkey and actually placing

       24    Mr. brooks under arrest so that's what it was to clarify it

       25         Q      Were you still at the scene when Officer Pamperia


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            1   showed up with the other arrestee?

         2           A     I was there when Officer Pampena showed up. I

         3 couldn't tell you if the other arrestee was there.

         4           0     Okay. Now, after Mr. Brooks was arrested, do you

         5 know did you or any of your brother officers ask any of the

         6 local shops or commercial establishments

         7                   THE COURT: Sustained. I'm going to sustain that.

         8           You can ask if he asked.

         9           Q     Did you ask any of the local shops or stores if there

        10 was any possible videotapes of the scene?

        11           A     I did not, no.

       12            Q     So you relied Solely on the word of Mr. El Turkey?

       13                    MR. SHORTT: Objection.

       14                    THE COURT: Sustained.

       15            Q     Did you find any other evidence that would tie

       16 Mr. Brooks to this crime?

       17                    MR. SHORTT: Objection, your Honor.

       18                    THE COURT: Sustained.

       19            0     Did you do any further investigation about this case

       20       after you arrested Mr. Brooks?

       21                    MR. SHORTT: Objection.

       22                    THE COURT: I will allow that.

       23            A     I did not, no.

       24            Q     Now, the complainant's eye was black and swollen and

       25       his clothes disheveled, and you testified he was covered in


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            I   blood?

            2        A     Yes.

            3        O     Can you explain what an aided card is?

            4        A    An aided card is done for a victim of a crime when

            5   they are injured or sent to the hospital. It's basically a

            6 pedigree of what happened and their information.

         7           Q    Okay. Now you had testified previously that you

         8 prepared an aided card but you didn't; is that correct?

         9           A     I never testified to filling out an aided card, no.

        10           Q    Okay. Withdrawn, my apologies. Do you know if

       11 Mr. Brooks went to the hospital that evening?

       12            A    No, I do not.

       13                    MR. GIBBONS: Nothing further. Thank you.

       14                    THE COURT: Mr. Ball, do you have anything?

       15                    THE DEFENDANT BALL: Yes, I do actually.

       16 CROSS EXAMINATION

       17 BY THE DEFENDANT BALL:

       18           0     How you doing, officer?

       19           A     Good. How are you, Mr. Ball?

       20           Q     Not bad.

       21           A     Good.

       22           O     You know, Officer Lannirig, I would like to just

       23 remind you about --

       24                   THE COURT: No, no, no. Ask a question.

       25           Q     You are aware that you are under oath and your


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         1   responsibility to tell the truth; is that correct?

         2         A     Yes.

         3         Q     Officer Lanning, you know, in       previous suppression

         4 hearing you were asked by the judge specifically, you see, the

         5   judge asked you --

         6                  MR. SHORTT: Objection.

         7                  THE COURT: Sustained.

         B                 THE DEFENDANT BALL: I can't ask what the judge

         9         asked him in the suppression hearing, your Honor?

        10                 THE COURT: Do it right.

        11        Q      Officer Lanning, in the time that you arrived at the

        12   crime scene and the time that you left, did you ever write

       13 anything down?

       14         A      Yes, I did.

       15         Q      What did you write down?

       16         A      Mr. El Turkey's information.

       17         Q      Did you --

       18                  THE COURT: You mean his pedigree?

       19                  THE DEFENDANT BALL: Yeah, because we never

       20         received that.

       21                  THE COURT: Mr. Ball, we don't make comments in

       22         the middle of cross-examination.

       23                  THE DEFENDANT BALL: Yes.

       24         Q      Are you sure?

       25         A      I'm not sure if I recall if I wrote it or Officer


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         1    Pampena. His pedigree was written down on a piece of paper.

              believe Officer Pampena wrote it.

         3         Q      Of course because you testified previously that you

         4 didn't write anything down actually?

                            THE COURT: That's accurate, is that correct?

         6         A      Yes.

         7         Q      Yes, you did. And my thing is that you just said to

         B us that you have a system that you use --

       '9                   THE COURT: He didn't say anything like that.

        10                  THE DEFENDANT BALL: He did, your Honor,

        11         pertaining to the arrest, that an officer has to be on the

        12         scene in order for him to take credit for the arrest.

        13         Q      Is that correct?

        14         A      Correct.

        15         Q      So that means that Officer Parnpena was on the scene

        16   when Mr. Brooks wa's arrested; is that correct?

        17         A      He was there, yes.

        18         Q      He was on the scene?

        19         A      Yeah.

        20         Q      Okay.

        21                  THE DEFENDANT BALL: Your Honor, for the record --

        22                  THE COURT: No, no, no. Ask questions.

        23                   (Defendant and counsel confer.)

        24         Q      So my next question is did you ever call for an

        25 ambulance, help fQr the victim?


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         1                 I believe my supervisor did, yes.

         2         Q       No, not your supervisor, you can't testify for your

         3   supervisor.

         4                   THE COURT: Don't debate with him.

         5                   THE DEFENDANT BALL: He is testifying, your Honor,

         6         I object to that.

         7                   THE COURT: Mr. Ball.

                   Q       Did you call for medical help for the victim?

         9                   THE COURT: You may answer that question.

        10         A       Me personally I did not call for medical assistance

             but when --

        12                   THE COURT: No.

        13         Q       Very well. So in other words, you are saying you

        14   came to the crime scene, you arrested Mr. Brooks, you never

        15 wrote anything down and you never served as assisting the victim

        16 in no kind of way; is that correct?

        17                   MR. SHORTT: Objection, compound question.

                             THE COURT: Sustained.

        19         Q       Did you assist the victim in any kind of way?

        20         A       Yes, I did.

        21         Q       What type of assistance did you provide for the

        22   victim?

        23         A       We put him in the vehicle, we did a canvass for the

        24 defendant, and he was pointed out. As far as I'm concerned,

        25 that's the assistance that I provided to him. As far as medical


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           1 assistance, other officers had provided that for him.

           2          Q        But can you give us the names of the other officer

            3 that provided that?

           4          A        Sure, Officer Pampena and Sergeant Rosenberg.

           5          Q        So you're saying to us that while you were at the

           6 crime scene, Officer Pampena provided help, assistance for the

           7 victim --

           8          A        What kind of assistance are you referring to?

9                     Q        Medical assistance?

        10            A        EMS showed up on scene and provided medical

        11       assistance.

        12            Q        I didn't ask you that.

        ,,. .J                   THE COURT: How long did it take for them to get

        14            there?

        15                       THE DEFENDANT BALL: I didn't ask that, Judge.

        16                       THE COURT: I know but I did.

        17                       THE DEFENDANT BALL: Okay.

        18                       THE COURT: How long did it take for EMS to get

        19            there?

        20            A        About seven to ten minutes they were there.

        21            0        Okay.

        22                       THE DEFENDANT BALL: May I proceed?

        23                       THE COURT: Yes, you may.

        24                       THE DEFENDANT BALL: Thank you.

        25                     So my question is you never assisted the victim in


                                                                                     NS
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          I anything other than just getting him in the car; is that
         2 correct?

          3                 THE COURT: Sustained asked and answered.

         4                  THE WITNESS: Can    I answer?

          5                 THE COURT: No.

6                  Q      My next question is, Officer Lanriing, did you fill

         7 out an aided report?

         8         A      No, 'I did not.

          9   •    Q      Is that usually the what you call -- did anyone that

         10 was there while you were there did they fill out an aided report

        11    for the victim that you know of?

        12                  MR. SHORTT: Objection.

        13                  THE COURT: In your presence did you see anyone

        14         fill out an aided report?

        15         A      No.                            -

        16         Q      Is that the usual procedure that you would follow if

        17 you come to a crime scene where a person is injured that you

        18 don't fill out an aided report or is it that when you come and

        19 you see a person who is injured that you do fill out an aided

        20 report?

        21                  THE COURT; What is the procedure with respect to

        22         an aided report when you have an injured victim?

        23         A      Like I said before, if there is someone injured or

        24    going to the hos p ital, there is an aided report prepared.

        25         Q      So you have to fill out an aided card?


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                           Lanning-People--Cross Defendant Ball)

         1                    THE COURT: And who is responsible for filling out

         2         that report?

         3                    THE WITNESS: The arresting officer.

         4                    THE COURT: And when and where is he obligated to

         5         fill that report out?

         6                    THE WITNESS: Usually he does it back at the

         7         precinct depending on the circumstances. Sometimes he can

         8         do it in the field if he wanted to.

         9                    THE COURT: Okay.

        10         Q       Okay. But to your knowledge there was never an aided

        11   card, report turned over from you; is that correct?

        12                    THE COURT: Sustained. We have been down this

        13         road.

        14         Q       My next question is, Officer Lanrting, you said that

        15   you stayed at the crime scene; is that correct?

        16         A       Urn-burn.

        17         Q       Who is it that transported Mr. Brooks back to the

        18 precinct do you know?

        19         A       1 don't recall exactly who transported him back, no.

        20         Q       Do you know who you was at the crime scene with the

        21   other officer?

        22         A       Yes.

        23         Q       Can you give us -- do you want to tell us who it was?

        24                   THE COURT: Sustained.

        25                   THE DEFENDANT HALL: He can't tell us the name of


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             1        the officer?

         2                       MR. SHORTT: Objection.

         3                       THE COURT: That's what I said. Sustained.

         4            Q      How many officers was at the crime scene?

         5                       THE COURT: Sustained.

         6                       THE DEFENDANT BALL: No?

         7                       THE COURT: No.

         B            Q     Officer Lanning, so you're saying that when you were

         9 at the crime scene, you was there while the EMS truck was there;

        10       is that correct?

        11            A     Yes, I was there.

        12            Q     Okay. Now, I would like to ask you when the EMS

        13 truck was there, were you there when I was there brought back to

        14       the crime scene?

        15            A     I don't remember if you were there or not.

        16            Q     You don't remember but you -- so how long is it that

        17       you stayed around the crime scene from the time that you arrived

        18 to the time that you left?

        19            A     Approximately 15 minutes, ten or 15 minutes.

        20            Q     Ten or 15 minutes. Now, you talked about your radio

        21       run, and, you know, your communications. Does the officers have

        22 more than one communication system that you use, I mean, other

        23       than like the 911, is that the sole communication that you have

        24       or is it another device of communication that you use, can you

        25       tell us that?


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                     A        There is.

            2                   THE COURT: Sustained as to relevance.

            3                   THE DEFENDANT BALL: We need to know if they used

            4        the communication of the 9-1-1.

            5                   THE COURT: I ruled.

            6        Q        Did you communicate any of your activity over the

         7      9-1-1 call?

         8                      MR. SHORTT: Objection.

         9                      THE COURT: Sustained.

        10           Q        Okay. You said that you had RMP number what was that

        11 number that you said you drove that night?

        12           A        1227,

        13           Q        RMP 1227. Did you ever call in that you were going

        14 to come to the crime scene?

        15          A         Yes.

        16          O         So should that have been in the 9-1-1?

        17                      MR. SI-iORTT: Objection.

        18                      THE COURT: I will sustain it. You don't have to

        19          answer that.

        20          O         Does a call -- the SPRINT report, the calls that you

        21 made does it go out into the SPRINT report?

       22           A     Yes.

       23                       THE COURT: What call are you talking about?

       24                       MR. GIBBONS: The calls that he made does it go

       25           out to the SPRINT report?


                                                                                    NS
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          1                  THE COURT: You can answer that.

         2         A      I'm not really sure I understand. You are asking --

          3                  THE COURT: When you respond on your radio telling

          4        central that you are responding to a call, is it recorded

          5        anywhere?

          6                  THE WITNESS: Is that what you meant?

         7         Q      Of course?

          8        A      Yes.

          9        Q      It does, okay. The reason I'm asking is --

        10                   THE COURT: No, no, no. Just ask the question.

        11                   THE DEFENDANT BALL: Okay, your Honor --

        12                   THE COURT: Just ask questions. That's what you

        13         are on now.

        14                   THE DEFENDANT BALL: Your Honor, is it possible --

        15                   THE COURT: No.

        16                   THE DEFENDANT BALL: I haven't asked what I want

        17         to ask.

        18                   THE COURT: Ask a question.

        19                   THE DEFENDANT BALL: I want to ask you a question.

        20                   THE COURT: No.

        21                   THE DEFENDANT BALL: I want to ask whether or not

        22

        23                   THE COURT: Mr. Ball, ask a question.

        24                   (Defendant and counsel confer.)

        25                   THE COURT: Mr. Shortt, do you have any objection


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         I         to him putting the SPRINT report in?

         2                  MR. SHORTT: Yes, I object, Judge..

         3                  THE COURT: You do?

         4                  MR. SHORTT: Yes.

         5                  THE COURT: You want to put it into evidence?

         6                  THE DEFENDANT BALL: Yes.

         7                  THE COURT: Good. Over the DA's objection, mark

         a         it in evidence.

         9                  THE DEFENDANT BALL: Thank you.

        10                   (Defendant and counsel confer.)

        11                   (Defendants' Exhibit B, SPRINT report, marked for

        12         identification.

        13                  THE DEFENDANT BALL: I'm asking that this be marked

        14         Defendant's Exhibit S in evidence.

        15                  THE COURT: Very good. Over the District

        16         Attorney's objection.

        17                  THE DEFENDANT BALL: Thank you very much.

        18                  THE COUR'1: Do you have a position, Mr. Gibbons?

        19                  MR. GIBBONS: No objection.

        20                  THE COURT OFFICER: So marked and received into

        21         evidence being shown to the witness.

        22                  (Handing.)

        23                  (Defendants' Exhibit B, marked and received into

        24         evidence.)

        25         A     Okay.


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         1                  THE COURT: You have a question, Mr. Ball?

         2         Q      Other than do you identify anywhere on that 9-1-1

         3 call where --

         4                  THE COURT: Is that a 9-1-1 call?

         5         Q      I apologize. SPRINT report where the RMP is your

         6 call is listed on that, are you able to identify anywhere on

         7   there?

         8         A      I'm sorry. What is the question?

         9         Q     On the SPRINT report that you have in front of you,

        10 are you able to identify any of the calls that was made from RMP

        11

        12                  THE COURT: As coming from you?

        13         A     Yes.

        14         Q     You know, you see there it says --

        15                  MR. SHORTT: Objection. Could the witness be

        16         allowed to answer, the question?

        17                  THE COURT: Is there anything on the SPRINT report

        18         that reflects your response?

        19                  THE WITNESS: Yes.

        20                  THE COURT: The answer is yes.

        21         0     Okay. Can you for the Court can you tell let us

       22    know, indicate where is it?

       23                  THE COURT: Do you want to read it?

       24                  THE DEFENDANT BALL: Please.

       25                  THE COURT: Read it.


                                                                                   NS
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                           Lanning-People-Cross (Defendant Ball)

       .1          A       At 21:03, PlO on scene.

         2                    THE COURT: You are the FlO, correct?

3                             THE WITNESS: That is correct.

         4                    THE COURT: All right.

         5         Q       Okay. Its not under RMP. Okay. Just for the

         6 question, do you know because there is another RMP 242, are you

         7   aware of that who is the officers of 242, R M P, 242 because

         8    they were the first respond --

         9                    MR. SHORTT: Objection.

        10                    THE COURT: Sustained.

        11         Q       Okay. Do you see here that on the SPRINT report it

        12    says that 21:00 RMP 242 responded on that SPRINT sheet?

        13                    THE COURT: Is that correct?      Is that what it

        14         says?

        15         A       Yes. Yes.

        16                    MR. SHORTT: Can we reference where on the exhibit

        17         we are looking?

        18                    THE DEFENDANT BALL: 21:00 on the SPRINT report.

        19                    MR. GIBBONS: The top of the second bucket of

        20         numbers.

        21         Q       So just because I'm not an officer, but just for some

        22   reason --

        23                    THE COURT; Mr. Ball?

        24         Q       Can you help me out?

        25                    THE COURT: Just ask questions.


                                                                                   NS
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                               Lanning-People-Cross (Defendant Ball)

              1         O      Does that indicate that there was another officer at

              2    that crime scene or responded to that at that time?

              3         A      Yes.

              4         O      Okay. So you mean you weren't the first officer?

              5         A      Well, responding on scene are two different scenes

              6 you can respond from the other side of the precinct. It doesn't

              7 mean that you are on scene.

              8         Q      Now, I just want --

              9                  THE COURT: You have no idea who two four two is?

             10                  THE DEFENDANT BALL: That's what I wanted to ask.

             11                  THE COURT: You have no idea where that car was do

             12         you?

I.           13                  THE WITNESS: No, I do not.

             14         Q      You don't know where -- all right, well, you know --

             15         A      I think I know.

             16                  THE COURT: If you know, say so but don't guess.

             17         A      It's a guess.

             18                  THE COURT: Don't guess.

             19         Q      Well, I mean --

             20                  THE COURT: But that indicates that somebody in

             21         car two four two stated that they were going to respond to

             22         this scene from somewhere in the precinct?

             23                  THE WITNESS: Yes, correct.

             24                  THE DEFENDANT BALL: You know, your Honor, I have

             25         with me a CD. I would like to just mark it as well because


                                                                                        NS
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                         Lanninq-People-Cross (Defendant Ball)

         1         you know it's a what you call CD of the actual SPRINT

         2         report and I think that you know the SPRINT report itself

         3         will not be helpful to the jury in the case that they don't

         4         have the other what do you call the audio in order to get a

         5         better understanding of how to interpret --

         6                  THE COURT: The CD is --

         7                  THE DEFENDANT BALL: It's the same thing, your

         8         Honor.

         9                  THE COURT: I don't see the relevance of this

        10         frankly. I am trying to help you out. If you want it in

        11         evidence, the SPRINT report I let it in.

        12                  THE DEFENDANT BALL: Thank you, your Honor. So

        13         they can have an opportunity to listen --

        14                  THE COURT: Come on, Mr. Ball.

        15                  THE DEFENDANT BALL: Other than that I don't have

        16         anymore questions, but I would like to put the CD in.

        17                  THE COURT: Thank you very much. You have a

        18         question?

        19                  MR. GIBBONS: I do.

        20                  THE COURT: Based on what he put in?

        21                  MR. GIBBONS: I'm not sure of the logistics, but I

        22         have a couple more questions on my cross.

        23                  THE COURT: Based on his cross?

        24                  MR. GIBBONS: No, separate of that, but he raised

        25         an issue I wanted to bring out.


                                                                                   NS
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                           Lannlng-People--Cross (Mr. Gibbons)

         1                    THE COURT: All right. Be brief.

         2                    MR. GIBBONS: Yes, very quick.

         3 RECROSS EXAMINATION

         4   BY MR. GIBBONS:

         5         Q      Detective Lanning,     you did not witness the robbery?

         6         A      No.

                   Q      So you don't know exactly what happened, correct?

         8         A      Other than -

         9         Q      What you were told?

        10         A      Correct.

        11         Q      Okay.

        12                    MR. GIBBONS: Can I have this marked as

        13         Defendant's Exhibit C, please. It's two pages. It's

        14         stapled.

        15                    THE COURT: Are you marking it for identification?

        16                    MR. GIBBONS: Yes.

        17                    THE COURT: Mr. Shortt, you know what that is?

        18                    MR. SHORTT: Yes.

        19                    THE COURT: Mr. Ball, you have seen that?

        20                    THE DEFENDANT BALL: Yes.

21                              (Defendants' Exhibit C, marked for identification,

        22         two documents).

        23                    THE COURT OFFICER: Being shown to the witness.

        24         Q      Detective Lanning, could you look at Defendant's

        25    Exhibit C, it's two pages?


                                                                                    NS
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                          Lannirig-People-Cross (Mr. Gibbons)

          1        A      Yes.

          2        Q      Do you recognize that?

          3        A      Yes, I do.

          4        Q     What is that?

          5        A     This is a mugshot of Mr. Brooks.

          6        Q     Was that taken the night of the arrest?

          7        A     Yes, it was.

          B        Q     Okay. Do you recall is that the way that Mr. Brooks
          9 looked at the time that you stopped him and placed him under

        10    arrest more or less?
        1•1
                   A     Yes.

        12         0     Those are the clothes he was wearing?

        13         A     Yes.

        14         0     Without the hat though, correct?

        15         A     Correct.

        16         Q     Is that a fair and accurate representation of how he

        17 looked the night that you stopped him and arrested him?

        18         A     It is, yes.

        19                  MR. GIBBONS: At this time I would like to have

        20         that marked as Defendants' Exhibit C in evidence.

        21                  THE COURT: Any objection?

        22                  MR. SHORTT: No.

       23                   THE COURT: Mr. Ball?

       24                   THE DEFENDANT BALL: No, sir.

       25                  MR. SHORTT: Brief voir dire?


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                           Lanning-Peop1e-Cro5s Mr. Gibbons)

         1                  THE COURT: Yes.

         2 VO1R DIRE EXAMINATION

         3    BY MR. SHORTT:

         4         Q      Officer, when are these pictures typically taken?

         5         A      A little later on after the arrest.

         6         Q      Taken at the Central Booking facility?

          1        A      Yes.

         8         Q      After the defendant has already been transported from

         9 the precinct?

        10         A      Yes.

        11         Q      Ready for court?

        12         A      Yes.

        13         Q      And undergone any medical treatment?

        14         A      Yes.

        15                  MR. SI-{ORTT: No objection.

        16                  THE COURT: All right. Mark it in evidence

        17         Defendant's Exhibit C.

        18                     (Defendants' Exhibit C, marked and received, in

        19         evidence)

        20    BY MR. GIBBONS;

        21         Q      Detective, while this was taken at Central Booking

        22    after he was arrested, this is the way he looked when you

        23 stopped him and placed him under arrest, correct?

        24         A      More or less, yes.

        25         Q      More or less I mean without the hat but those are the


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                           Lanning-People-Cross (Mr. Gibbons)

         1   clothes he was wearing, correct?

         2         A      Yes.

3                  Q      Looking at Defendant's Exhibit B, the second page if

         4   I could direct your attention to 21:26 hours that's 9:26,

         5 correct?

         6         A     Okay.

         7         Q     There is three of them there the third one that

         8   refers to 9:26 P.M. in layman time?

         9         A     Yes.

        10         Q      It says off of FlO crime unit taking under as of

        11   21:13 hours, what does that mean?

        12         A     That means the person that I had been driving with is

        13   a sergeant, they usually okay the arrest that the officer can

             bring it in so on authority of my supervisor Sergeant Rosenberg

        15 he is allowing Officer Pampena to take the arrest.

        16                  THE DEFENDANT BALL; Objection to him testifying.

        17                  THE COURT: Overruled.

        18         Q     And that's what we were talking about even though you

        19 said you arrested Mr. Brooks the arrest was given to Officer

        20   Pampena, correct?

        21         A     Correct.

        22                  MR. GIBBONS: Thank you. Nothing further.

        23                  THE COURT: Mr. Shortt, any redirect?

        24                  MR. SHORTT: Yes, Judge.

        25 REDIRECT EXAMINATION


                                                                                   NS
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                                   Lanning-People-Redirect

         1 BY MR. SHORTT:

         2         0        Detective, the other individual that was stopped with

              the defendant Brooks, what happened to that person?

         4         A        He was set free because Mr. El Turkey had said that

         5    wasn't him.

         6         Q        What do you mean said it wasn't him?

         7         A        He said it was Mr. Brooks, not that guy.

         8         Q        And what did he indicate Mr. Brooks did to him?

          9        A        That he was the individual that robbed him.

        10         Q        Officer, there has been a lot of talk about what on

        11    scene means, is that a police term?

        12         A        Yes.

        13         Q        What does on scene mean?

        14         A        On scene means that you are physically at that

        15    location.

        16         Q        At every point of it or at any time?

        17         A        I'm sorry?

        18         Q        Is that for the whole time that the incident is going

        19 on, or could it also be for a portion of the time?

        20         A        It could be for a portion of the time as well.

        21                    MR. SHORTT: No further questions, Judge.

        22                    THE COURT: Anything else?

        23                    MR. GIBBONS: No, your Honor.

        24                    THE DEFENDANT BALL: I    do have one. Is it all

        25         right?


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                                  Lanning-People-Redirect

         1                    THE COURT: Ask it.

         2 RECROSS EXAMINATION

         3 BY THE DEFENDANT BALL:

         4         Q        While you were at the crime scene, you said you were

         5 there for about 15 minutes; is that correct?

         6                    THE COURT: We are going over old ground here,

         7         sir

         8         Q        Were you there when I was identified?

         9                    THE COURT: Sustained. He testified he didn't

        10         know.

        11                    THE DEFENDANT BALL: Thank you. That's all, your

        12         Honor.

        13                    THE COURT: Thank you. You may step down.

        14                    (Witness excused.)

        15                    THE COURT: Ladies and gentlemen, we are going to

        16         break for the weekend. I am going to advise you that we

        17         are going to work Monday morning, but not Monday afternoon,

        18         so you can make your personal plans accordingly.

        19                    In the meantime, do not discuss this case amongst

        20         yourselves, do not speak to the attorneys, the parties the

        21         witnesses. Do not go to the scene of the alleged

        22         incidents. Do not research this case in any way. Should

        23         anybody speak to you about the case, report it to me

        24         immediately. I thank you for your service today. Have a

        25         good weekend. 10:00 Monday morning.


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                                      Larining-People-Recross

              1                  (Jurors exit the courtroom.)

              2                  THE COURT: 10:00.

              3                  (Defendants exit the courtroom.)

              4                  THE DEFENDANT BALL: Your Honor, I still never got

              5         a chance to mark this into evidence.

              6                  THE COURT: Do you object to that?

              7                  MR. SHORTT: No, Judge, fine.

              8                  THE COURT: Good. Mark it.

              9                  (Defendants Exhibit D, CD, marked and received

             10         into evidence.)

             11                  (Defendants exit the courtroom.)

             12                  (Trial adjourned to January 26, 2015.)

             13

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          1 SUPREME COURT OF THE STATE OF NEW YORK

          2 COUNTY OF QUEENS: CRIMINAL TERM: FART K14

          3                             ----------------------x Indictment No.

          4    THE PEOPLE OF THE STATE OF NEW YORK                  2228/12

5                            -against -

          6 ELIJAH BROOKS and RAYMOND BALL,

          7                  Defendants.

          8                               ---------------------x

           9                      125-01 Queens Boulevard

         10                       Kew Gardens, New York

         11                       January 26, 2015

         12                  THE COURT CLERK: Number two, case on trial,

        • 13        indictment 2228 of 2012, Raymond Ball and Elijah Brooks.

         14         The defendants are incarcerated produced and being brought

        • 15        before the Court.

        • 16                 Appearances, please.

         17                  MR. SHORTT: For the People, Assistant District

         18         Attorney Timothy Shortt. Good morning.

         19                  THE COURT: Good morning.

         20                  MS. POVMAN: On behalf of Mr. Ball, Linda Povrnan,

         21         123-35 82 Road, Kew Gardens, New York.

         22                  MR. GIBBONS: For Mr. Brooks, Wyatt Gibbons.

         23                  THE COURT: Good morning.

        • 24                  (Defendant enters the courtroom.)
25                           THE COURT CLERK: Let the record reflect the


                                                                                      NS
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          1         defendant Brooks is present before the Court. Let the

          2         record reflect the defendant Ball is present before the

          3         Court.

          4                  THE COURT: Yes, sir.

          5                  THE DEFENDANT BALL: Yeah, good morning. Judge

          6         Schwartz, I apologize. We requested the daily read backs

          7         so that we can use them for cross-examination, and it

          B         wasn't provided.

          9                  THE COURT: I never ruled on it.

         10                  THE DEFENDANT BALL: Is there any reason?

         11         Because that's like -- I thought we agreed that you would

         12         do everything you can to keep this trial proceeding fair

         13         for me, you know, and how can I go forward with what you

         14         call the cross-examination of witnesses without the prior

         15        daily read back?

         16                  THE COURT: Well, I don't see the daily copy in

         17         this case of one witness really bears a hell of a --

         18                  THE DEFENDANT BALL: Your Honor, I'm the lawyer

         19        here so I needed that so that I can rely back to the

        20         testimony of the previous people, and it was two witnesses

        21         by the way. :1t was the, what you call, the victim witness

        22         and as well as the police officer witness.

        23                   THE COURT: All right. It's in my discretion, and

        24          I'm not going to do it.

        25                   MS. POVMAN     Judge, the other thing is that


                                                                                    NS
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               1         Mr. Ball still wants the EMS worker to be called, and we

               2         would -- I know it's our obligation, we will attempt to

               3         subpoena him for Wednesday, but if the DA could also

               4         perhaps assist.

               5                   MR. SHORTT: I will do my best, Judge. I have him

               6         subpoenaed actually for tomorrow to hopefully move things

               7         along here. That was obviously before the snowstorm. I

               8         will see what I can do about Wednesday just to keep things

               9         moving.

              10                   THE COURT: All right.

              11                   MS. POVMAN: Thank you very much.

              12                   THE COURT: It's my intention to advise the jury

I.            13         that we are not going to work tomorrow. Everybody has cell

              14         phone numbers that have been given to my clerk. We will

              15         work Wednesday. If we are not working Wednesday, everyone

              16         will be notified on their cell phone as quickly as that

              17         decision can be made, but on the assumption that we are

              18         going to work Wednesday, if you can get that EMS guy in on

              19         Wednesday that would be a good thing.

              20                   What about your witness, Mr. Gibbons?

              21                   MR. GIBBONS: I'm not calling anyone, your Honor.

              22                   THE COURT: All right. Have you made a decision

             23          about testifying yourself?

             24                    THE DEFENDANT BALL: No, I don't have to.

             25                    THE COURT: So the answer is no?


                                                                                         NS
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                             THE.IDEFENDANT BALL: No.

          2                  THE COURT: Okay. Maybe we can get this to the

          3         jury on Wednesday. Let's do the witness today, and we will

          4         talk a little about the charge, and get rid of the jury as

          5         fast as we can.

          6                  MR. SHORTT: I don't know if we made a record

          1         Friday, but the SPRINT radio runs is now in evidence as

          8         Defendants' Exhibit D. It's my intention to have that

          9         played for the officer during his testimony so I have the

         10         laptop ready.

         11                  THE COURT: I think Mr. Ball offered -- after the

         12         jury left, Mr. Ball offered the disk into evidence, right?

         13                  THE DEFENDANT BALL: The only thing with that I

         14         never got an opportunity to listen to it, your Honor.

         15                  MS. POVMAN: Judge, I have listened to the

         16         original. I am assuming that the copy that the DA provided

         17         is an accurate copy.

         18                  THE COURT:' All right. Well, you have read the

         19         SPRINT report?

         20                  THE DEFENDANT BALL: Yes,

21                           THE COURT: Okay. Ready for the jury?

         22                  MR. GIBBONS: Yes,

         23                  MR. SHORTT: Yes.

         24                  THE COURT: Mr. Bail, do you want to offer the

         25         disk itself into evidence in front of the jury?


                                                                                      NS
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          1                    THE DEFENDANT BALL: Yes.

          2                    THE COURT: You did not have that opportunity to

          3         do that Friday.

          4                    THE DEFENDANT BALL: So they can listen.

                               THE COURT: He will play it on the cop's direct

6                   testimony, but you are the one that offered it into

          7         evidence so you should have the opportunity to offer it in

          8         front of the jury if you want this morning.

9                              THE DEFENDANT BALL: Okay.

         10                    MS. POVMAN: So the record is clear.

         11                    THE COURT: So the jury knows that you are the one

12                  that wanted to play it.

         13                    THE DEFENDANT BALL: Thank you very much.

14                             MR. SHORTT: It is also my intention to introduce

         15         this, these have all been previously turned over to the

         16         defense.

         17                    THE COURT: What is it?

         18                    MR. SHORTT: The photograph of the money and the

19                  injuries. We have already provided --

         20                    THE DEFENDANT BALL: Objection, your Honor, he

         21         never provided that to the defense.

         22                    MS. POVMAN: He never provided it.

         23                    MR. SHORTT: The money, no.

        24                     THE COURT: Take a look at it.

25                             THE DEFENDANT BALL: Your     Honor, no, I can't


                                                                                       NS
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          1         accept this into evidence, photographs of money.

          2                    THE COURT: If you are declining to look at it,

          3         then you are declining to look at it.

          4                    MS. POVMAN: May I have a moment to consult with

          5         my client?

          6                    THE COURT: Sure.

          7                    (Defendant and counsel confer.)

          8                    THE DEFENDANT BALL: That's what I am saying, your

          9         Honor. I move to preclude that       Your Honor, I also move

         10         to preclude the testimony of Officer Pampena because of the

         11         fact that he never, what you call, provided for us during

         12         the suppression hearings he never provided the aided report

         13         in the suppression hearing, do you understand?

         14                    And I also would like because at this time there

         15         should have been a preclusion set on the fact that he

         16         failed to turn that over, and he testified that he did do

         17         it, so.Im asking also for you to preclude his testimony.

         18                    THE COURT: Mr. Shortt?

         19                    MR. SHORTT: First of all, as to discovery it was

         20         noted on the demand for discovery that this property was

         21         listed, it was clear in the suppression hearing that this

         22         money --

         23                    THE DEFENDANT BALL: I have the --

         24                    THE COURT: Mr. Ball, one at a time.

         25                    MR. SHORTT: This money was recovered, it was


                                                                                      NS
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          1         listed under the bill and demand that counsel --

          2                  THE COURT: We are talking about the aided report.

          3                  MR. SHORTT: No, the money. I will address the

          4         discovery money issue first.

          5                  THE COURT: All right.

          6                  MR. SHORTT: This was in the People's custody, it

          7         was made clear at the suppression hearing what was

                    recovered that we intended to introduce it at trial.

          9         Counsel and defense never made a request to ever see it,

         10         it's here if he wants to inspect it. I can't take it out

         11         of the protective cover right now unless the Court allows

         12         me to, I will have the officer do it.

         13                  In terms of the aided report the officer was very

         14         clear, and he corrected himself no matter what Mr. Ball

         15         says, I filled it out, he was asked specifically by Judge

         16         Hollie, do you remember filling it out or is it just out of

         17         habit that --

         18                  THE DEFENDANT BALL: Your Honor, please --

         19                  MR. SHORTT: The officer immediately clarified it

         20         out df habit. We have done an exhaustive search, it is

         21         clear he did not fill it out. He misspoke at the hearing.

         22         There was never an aided report filled out.

         23                  THE COURT: Never one at all in this case?

         24                  MR. SHORTT Yes, the officer neglected to do it.

         25                  THE DEFENDANT BALL: Can I read it back because we


                                                                                      NS
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             1      have it here exactly.

            2               THE COURT; All right.

             3              THE DEFENDANT BALL: 36, 37 and 38. Here it is so

            4      Miss Povman asked the Court says Miss Povinan -- officer did

            5      you -- I'm reading from page 38 of which one is this?            I

            Q      apologize. January 8, 2014 page 36, at 20:

            7                (Reading:) Miss Povman, officer, did you prepare

            8      an aided report in connection with this case?

         9                   (Reading:) Yes:

        10                   (Reading:) Do you have a copy of that report with

        11         you today?

        12                   (Reading:) I can look to see if I can have it.

        13                  Continues onto 37.

        14                  (Reading:) I don't have it with me. I don't have

        15         it with me, judge.

        16                  (Reading:) Miss Povman, can the DA be directed to

        17         provide us with a copy of that aided report? I don't have

        18         the original Rosario with me.

        19                  (Reading:) Mr. Ball: I said I have it.

        20                  (Reading:) Miss Povman said excuse me.

        21                  (Reading:) Whereupon, there was a pause in the

        22         proceeding.

        23                  (Reading:) I don't have it with me.

       24                   (Reading:) This is from page 37, two: Miss

       25          Povinan, the judge, can the DA be directed to provide us


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               1         with the copy of that aided report? I don't have the

               2         original Rosario list with me.

               3                  (Reading:) Mr. Ball: I have it.

               4                  (Reading:) Miss Povman: Excuse me.

               5                  (Reading:) The Court says sure.

               6                  (Reading:) Whereupon, there was a pause.

               7                  (Reading:) Okay. Officer, you just testified that

               8         you prepared an aided report in connection with this case.

               9                  (Reading:) Yes.

              10                  (Reading:) Is that based on your memory or your

              11         practice or what is the basis for that based on practice?

•t            12                   (Reading:) We are supposed to fill out an aided

              13         card if somebody is injured.

              14                   (Reading:) Right, and is there anything in your

              15         memobook to indicate that you filled out an aided card in

              16         this case?

              17                   (Reading:) Let me check.

              18                   (Reading:) Whereupon, there was a pause.

              19                   (Reading:) No, there is no reference to an aided

              20         card being filled out in my memobook.

              21                   (Reading:) So that your testimony is based on your

              22         practice what you usually do?

              23                   (Reading:) Correct, yes.

              24                  38. (Reading:) And is there something at the
Ii
              25         precinct that you could refer to, to find out whether you
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          1         actually did an aided report in this case or not?        Is

          2         there any record kept at the precinct?

          3                  (Reading:) I'm not sure. And you know just to be

          4         clear just so I'm clear as to what you meant by the answer

          5         you just gave your testimony is based on your practice as

          6         opposed to you just described having arrived at the

                    ambulance, gotten in the ambulance, was literally sitting

          8         next to the complainant and the observation you made

          9         sitting next to the complainant is that observation based

         10         on practice or based on your actual recollection of what

         11         happened in this case?

         12                  (Reading:) Answer: Based on actual recollection

         13         of me sitting there shoulder to shoulder next to the

         14         complainant is what I observed.

         15                  THE COURT: Okay.

         16                  THE DEFENDANT BALL: There is no misunderstanding

         17         is that the fact that he filled it out and it was never

         18         turned over. When we go forward, the judge ordered --

         19                  THE COURT: That is not how I construe what you

         20         just read.

         21                  THE DEFENDANT BALL: Can I go on, please, because

         22         the judge ordered him to turn it over to the Court? Okay?

         23                  It says here on page 49 at 13:

        24                   (Reading:) And you know counsel just to rest on

         25         the record or do you wish to make an argument?       As far as


                                                                                    NS
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          1         I'm concerned you can rest on the record.

          2                  16, (Reading) Miss Povman: Judge, I'm going to

          3         rest on the record subject to the production of the aided

          4         report if it exists but that aided report should have been
        :5          turned over as part of the original Rosario material prior

          6         to the hearing. The officer testified he prepared one, it

          7         doesn't look like there is one in the Rosario list, and I

          B         think we should have a definite answer. He says, yes, one

          9         way or the other. And so he goes on and he directs the

         'U         District Attorney to provide it for us.

         11                  He says page 51 he says it says here - page 50 at

         12         the bottom 24 the judge says:

         13                  (Reading:) That's fine. The only thing that I

         14         need to make, I want to make sure the defense have in their

         15         possession if it exists is a copy of that aided report so

         16         since he is on duty today he is working today he will leave

         17         here to go back to the precinct. I need him to make a

         18         diligent search of his records to see if there is an aided

         19         there or police department forms. There are places that

         20         they keep copies. He has to make a search of all those

         21         places areas today and make a statement to you as to

         22         whether or not it exists. If it exists get a copy of that

         23         to you, you know, hopefully today but certainly by the

         24         adjourn date. And he goes onto adjourn the date and he

         25         says in page 52, your Honor, that the matter is adjourned


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          1         Tuesday morning for the production of that report if it

          2         exists and if it doesn't an affirmative statement from the

          3         People that does not exist. We never received a copy of

          4         the report nor an affirmative answer.

          5                    THE COURT: I understand that, but Mr. Shortt just

          6         gave an affirmative answer today.

                               THE DEFENDANT BALL: Okay.   Now I'm saying it was
       i7
8                   already established he filled it out, there is no

                    misunderstanding about that.

         10                    THE COURT: I disagree with you.

       I ii                    THE DEFENDANT BALL: It's not whether you

       i 12         disagree. The judge already made a decision that it

         13         existed.

         14                    THE COURT: I disagree that the judge made such

         15         determination.

         16                    THE DEFENDANT BALL: I'm saying    to you this is

         17         already decided in another court.

         18                    THE COURT: I understand.

         19                    THE DEFENDANT BALL: I am asking you at this time

         20         to make a preclusion based upon the fact that he failed to

         21         turn over the Rosario.

         22                    THE COURT: Very good. I have listened to your

         23         argument and your reading of the minutes, and it is quite

         24         clear to me that everything that Judge Hollie said during

         25         the course of the suppression hearing and everything that


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          1         the police officer said amending his testimony, makes it

          2         clear to me, A, that the officer testified that it was

                    merely his practice to make out an aided report, and that

          4         he had no memory one way or another as to whether he had

          5         actually done so.

          6                  THE DEFENDANT BALL: I object, your Honor.

          7                  THE COURT: And, B, that Judge Holli&s directives

          8         were all couched --

          9                  THE DEFENDANT BALL: Objection, your Honor.

         10                  THE COURT: You are objecting to me making a

         11.        ruling on the record?

         12                  THE DEFENDANT BALL: Yes, sir.

         13                  THE COURT: Quiet.

         14                  THE DEFENDANT BALL: Yes, sir.

         15                  THE COURT: Everything that Judge f-iollie said was

         16         phrased with the proviso if it exists. Mr. Shortt has I

         17         think twice now during the course of this trial made it

         18         clear that he has made an investigation as to the existence

         19         of this document and has not found such a document, and I'm

         20         prepared to conclude based on what I have heard that no

         21         such document exists. And therefore, I am going to deny

         22         your application to preclude the testimony in this case.

         23                  THE DEFENDANT BALL: Okay, your Honor --

         24                  THE COURT: That's it.

25                           THE DEFENDANT BALL: Your Honor --


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                                             Proceedings

               I                  THE COURT: That's it.

               2                  THE DEFENDANT BALL: I want to say something with

               3         respect to me, reading it to the jury.

               4                  THE COURT: You cross examine him the way you

               5         want.

               6                  THE DEFENDANT BALL: Let the jury decide.

                                  THE COURT: That's your business. Bring in the

               8         jury.

               9                  THE DEFENDANT BALL: Let the jury decide.

              10                  THE COURT OFFICER: Jury entering.

              11                  (Jurors enter the courtroom.)

              12                  THE COURT CLERK: Do both sides stipulate to the

              13         presence and proper seating of the jury?

              14                  MR. SHORTT: Yes.

              15                  MR. GIBBONS: Yes.

              16                  THE COURT CLERK: Mr Ball?

              17                  THE DEFENDANT BALL: Good morning, everyone.

              18                  THE COURT CLERK: Do you stipulate to the presence

              19         and proper seating of the jury?

              20                  THE DEFENDANT BALL: Yes.

              21                  THE COURT: Good morning, ladies and gentlemen of

              22         the jury. First things first, we are not working tomorrow.

              23         The officers have gathered up everybody's cell phones and
Ir
              24         when I say everybody I mean of course all of the jurors and

              25         the lawyers and everybody involved in this case. I expect


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             1        to work on Wednesday morning. If I change my mind, and

          2           only if I change my mind, everybody will be contacted. So

          3           plan on being here Wednesday, but if Mother Nature tells me

          4            I'm wrong, then you will be told as quickly as that

          5           decision is made. All right.

          6                       Mr. Shortt?

          7                       MR. SHORTT: Your Honor, the People call Police

          8           Officer Angelo Pampena.

          9                       THE COURT: The officer will be the first and last

         10           witness today after which we will dismiss you until

         11           Wednesday morning, and good luck to everybody.

         12                       (Whereupon, there was a brief pause in the

         13           proceedings.)

         14                       THE COURT OFFICER: Are you ready, Judge?

         15                       THE COURT: Ready.

         16      P.O. A N G E L 0      P A M P E N A, having been duly sworn, was

         17 examined and testified as follows:

         Is                   THE COURT OFFICER: The People call Police Officer

         19           Angelo Pamperia, shield 19220 of the Queens gang unit, NYPD.

         20                   THE COURT: Mr. Shortt, you may inquire.

         21                   MR. SHORTT: Thank you, your Honor.

        22       DIRECT EXAMINATION

        23       BY MR. SHORTT:

        24            Q     Good morning, officer.

        25            A     Good morning.


                                                                                     MS
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                                                                              498
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           1.        Q       When did you join the New York City Police

          2 Department?

           3         A       Beginning of 2007.

           4         Q       During that time, where have you been assigned in the

           5 New York City Police Department?

          6          A       I was assigned to the 115 Precinct, I did impact

          7 which is foot patrol for new officers, then I did anti-crime

          8 which is a plainclothes unit not going to radio runs more like

          9 pick up felonies, certain dangerous jobs like that. Then about

         :10    13 or 14 months ago I was assigned to the gang unit.

         11          Q       Officer, I want to talk to you specifically about

         12 July of 2012. What command were you assigned to work for during

         13     that time?

         14          A       The 115.

         15          Q       And where is the 115 located?

         16          A       92 and Northern Boulevard that covers Jackson

         17     Heights, Corona and East Elmhurst.

         18          Q       In July of 2012 what was your assignment within the

         19     115 police precinct?

         20          A       I was in the anti-crime unit.

         21          Q       What does that mean to be an anti-crime officer?

         22          A       You are a plainclothes officer, it showed that you

         23 were make to make good arrests, everything that I did was above

         24     and beyond just a normal police officer, so it's maybe like an

         25     inside promotion precinct level wise, and you are in


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          1 plainclothes and unmarked vehicle driving around looking for

          2   crimes happening in progress before a victim could call 9-1-1.

          3          Q     Officer, I would like to talk to you about

          4   specifically the date of July 3 of 2012, were you working on

          5   that day?

          6          A     Yes.

          7          Q    What time did you report to the precinct?

          8          A     6:00 P.M.

          9          Q    What hours were you going to work that day?

         10          A     From 6:00 P.M. until 2:00 A.M.

         11          Q    What was your assignment within the precinct that

         12   day?

         13          A     I was in the robbery unit.

         14          Q    What does that mean?

         15          A    we were in uniform for the day because it was a

         16 holiday weekend, and we had to respond to all robberies that

         17 were either happening or robberies in the past so we had to

         18   respond to all those jobs.

         19          Q    Officer, you were working in the plainclothes units?

         20          A    Yes.

         21          Q    Why were you in uniform for that day?

         22          A    For police officer safety usually around holidays

        23 they put everybody in uniform for the safety of us, and we know

        24 there are a lot of tourists out and people touring New York City

        25    so just as a precedent for all of us so, it's just a higher


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          1   presence of police force.

          2         0     Did you stay at the precinct or go out on patrol?

          3         A     We were on patrol.

          4         Q     You said we were you with officers that day?

          5         A     Yes.

          6         Q     What other officers were you working with that day?

          7         A     Officer Troisey and Officer Torres.

          8         Q     Had you worked with them before?

          9         A     Yes.

         10         Q     Were you on foot or in a vehicle?

         11         A     In a vehicle.

         12         Q     What type of vehicle did you go out in that day?

         13         A     Unmarked silver Crown Victoria.

         14         Q     When you left, were you equipped with a police radio?

         15         A     Yes.

         16         Q     Prior to you leaving the precinct -- do you know

         17   Detective Daniel Lanning?

         18         A     Yes.

         19         Q     How do you know him?

         20         A     We are friends through the police department, he

         21   works in the 115.

         22         Q     Prior to leaving the day of July 3 of 2012 to go out

         23 on the street, did you have any conversations with Officer

        24    Lanning?

         25        A      Excuse me?


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          1         Q      Did you speak to Officer Lanning before you went out

          2 on the street that day?

           3        A      No.

          4         Q      Officer, I want to direct your attention to

          5    approximately 8:55 P.M. that day, do you recall where you were

           6   at that time?

        '7          A      Yes.

           S        Q      Where were you around that time?

           9        A      108 Street and Astoria Boulevard in Queens.

         10         Q      What -- is that within the 115 Precinct?

         11         A      Yes.

         12         Q      What were you doing around that time?

        I 13        A      We were patrolling.

         14         Q      Were you in your police vehicle?

         15         A      Yes.

16                  Q      Who was driving that vehicle?

         17         A      Officer Torres was driving, and I was in the front in

         18    the front passenger seat.

         19         Q      Where was Officer Troisey?

         20         A      In the rear passenger seat.

         21         Q      Are you familiar with the term radio run?

         22         A      Yes.

         23                What is a radio run?

         24         A      When somebody calls 9-1-1, and it's deemed fit for an

         25 officer to respond. Our central which is a person over the


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               1 radio dispatches the job over the air, and somebody has to pick

               2   up the radio run.

               3         Q     Did you pick up any radio runs at around that time?

               4         A     Yes.

               5         Q     What type of radio run did you pick up?
Ii
6                       A      It was a 30 which is a robbery in progress.

               7         Q     You used the word 30, what is that?

               B        A      Police code, short term for us so we could get more

               9 information over the radio quicker.

              10         0     The robbery location, was that given over the radio?

              11        A      Yes.

              12         Q     Where was that location?

              13        A      The cross streets were 105 and Northern Boulevard.

              14        Q      Are you familiar with that location?

              15        A      Yes,.

              16        Q      Have you patrolled in that area before?

              17        A      Yes.

              lB        O      Can you describe the area around 105 Street and

              19 Northern Boulevard?

             20         A      It's a business location, there is a lot of store

             21    fronts, and well lit. Northern Boulevard which is a major

             22    boulevard for Queens, I believe it's Route 25 so it's a well lit

             23    active place.

             24         O      How far away from that place were you when you

             25 received the radio run of the robbery?


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               1            A   Approximately three or four blocks.

               2            Q   What direction were you facing?

               3         A      I was facing eastbound on 108 Street -- excuse me, on
               4 Astoria Boulevard at 108 Street.

               5            Q   So were you facing towards or away from the crime
               6 scene?

               7         A      I was horizontal with it.

               8         Q      What happened when you received that radio call?

               9         A      Officer Torres, we did a U-turn on 108 Street and

              10 Astoria Boulevard, and then we hopped over the center barrier

              11   and went southbound on 105 Street which is against traffic

              12 heading towards Northern Boulevard.

              13         Q      So is Astoria Boulevard north or south of Northern
II            14   Boulevard?

              15         A      It's north.

              16         Q      And how long were you traveling for?

              17         A      Approximately 30 seconds.

              18         Q      What happened as you approached the intersection --

              19 what happened on the route to Northern Boulevard and 105 Street?

              20         A      As we were driving southbound on 105 Street as we

              21 were coming to 32 Avenue which is the avenue right before

              22 Northern Boulevard I seen a male fitting the description, a male

              23 black, white T-shirt, black jeans running away from the crime

              24   scene.

              25         Q      Officer, when did you receive a description in this


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          1   case?

          L           A     When the radio run came over our central, the radio

          3 person told the description of the males that were involved in

          4   the attack.

          5           Q     What was the description that you were looking for at

          6 that time?

          7           A     Three male blacks, one was wearing white T-shirt and

          8   black jeans.

          9           Q     And could you describe the person that you observed

         10   -- what was the location?

         11           A     105 Street and 32 Avenue.

         12           Q     What did the person look like that you just talked

         13 about?

         14           A     It was a male black wearina white T-shirt and black

         15   jeans.

         16           Q     What direction was that person heading?

         17           A     He was running northbound on 105 Street coming to the

         18   intersection of 32 as I was heading southbound on 105.

         19           Q     So was that person facing you?

       • 20           A     Yes.

         21           Q     How far away was this person the first time that you

         22   saw them?

         23           A     About two or three car lengths right in front of us.

         24           Q     How close to the intersection was this person?

                      A     About a car length from the intersection.


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               1         Q     Officer, I'm going to ask you to     take a look around
               2 the room and see whether or not you recognize the person that

               3 you saw that day?

               4         A      Yes.

               5         Q      I'm going to ask you to point that person out and

               6 identify an article of clothing that person is wearing?

               7         A      A black button up dress shirt.

               8                  THE COURT: Indicating the defendant -- who are

               9         you pointing out?

              10                  THE WITNESS: The one with the glasses.

              11                  THE COURT: Indicating the defendant Ball.

              12         Q      Officer, what did you do when you observed the

              13 defendant Ball that day?

              14         A      We stopped our vehicle right at the intersection of

              15    105 Street and 32 Avenue, and Mr. Ball stopped right in front of

              16   our vehicle. As I proceeded to get out from the passenger's

              17    side door, he put his hands up and just said that he bought a

              18 phone at 105 and Northern Boulevard while holding a black iPhone

              19    in his right hand.

              20         Q      Officer, how far away from the defendant Ball were

              21 you when he made this statement?

              22         A      Half a car length, he was standing directly in front

              23    of our vehicle.

              24         Q      Was he on the sidewalk or on the street?

              25         A      On the street.


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          1         Q      Where were the other officers at this time?

          2         A      Officer Torres was on the driver's side of the car,

          3 and Officer Troisey was right behind me.

          4         0      Officer, I'm going to ask you to take a look at the

          5 defendant Ball today. Does he appear the same he did on the day

          6    of July 3 of 2012?

          7         A      No.

          8         Q      How does he appear differently?

          9         A      His hair is a little more grown out, he is a little

         10    heavier today, and he was clean cut at the time.

         11         0      What do you mean heavier today?

         12         A      He gained some weight. He was thinner when I first

         13    seen him.

         14         O      Officer, what happened after you got out of your

         15 police car?

         16         A      We went to Mr. Ball, I grabbed the phone from him,

         17 put it in our vehicle for safekeeping, and we placed him in

         18 handcuffs, patted him down to be sure there were no weapons on

         19 him, and he also had money in his front right pocket of his

         20    pants.

         21                  MR. SHORTT: I ask that this be shown to the

         22         witness and marked as People's Exhibits 3 and 4 for

         23         identification. Show the defense.

         24                  THE COURT: Have you seen this, Mr. Gibbons?

         25                  THE DEFENDANT BALL: No.


                                                                                    NS
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          1                    MR. GIBBONS: Yes.

          2                    THE COURT: Show it to Mr. Ball.

          3                    THE DEFENDANT BALL: I have never seen it, your

          4         Honor.

          5                    THE COURT: Look at it now.

          6                    THE DEFENDANT BALL: He is putting into evidence

          7         something I never had the opportunity --

          8                    THE COURT: All right. Make your application.

          9                    THE DEFENDANT BALL: I object to him putting it

         10         in, your Honor.

         11                    THE COURT: Mark it for identification.

         12                     (People's Exhibits 3 and 4, photographs, marked

         13         for identification.)

         14                    MR. SHORTT: Can we show the witness, please?

         15                     Handing.)

         16         O        Officer, I'm going to ask you to look at the

         17   left-hand side of the exhibit. Do you recognize that?

         18         A        Yes.

         19         O        What is that?

         20         A        It's a photo of 105 Street and 32 Avenue facing

         21   southbound.

         22         O        Does that fairly and accurately depict what the

         23   streets and the buildings looked like on July 3 of 2012?

        .24         A        Yes.

         25         0        Officer, I ask you to look at what's on the


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           1   right-hand side. Do you recognize that?

          2         A      Yes.

           3               What is that?

                    A      That looks like a Google Maps picture of the scene,

        .5     the area.

           6        Q      Officer, are you familiar with the streets of that

           7   location?

           8        A      Yes.

                    Q      How long have you been a police officer around that

         10    location?

         11         A      Approximately seven years.

         12         Q      Do you patrol those streets?

        • 13        A      Yes.

         14         Q      Are the streets as drawn on that map do they fairly

         15 and accurately depict the layout of the streets and the area?

         16         A      Yes.

         17                  MR. SHORTT: With those foundations I move those

         18         into evidence as People's Exhibits 3 and 4 into evidence.

         19                  THE COURT: Mr. Gibbons?

         20                  MR. GIBBONS: Just one peek at the map. I don't

         21         think I have any objections, your Honor.

         22                  (Handing.)

         23                  MR. GIBBONS: No objection, your Honor.

         24                  THE COURT: Mr. Ball?

         25                  THE DEFENDANT BALL: I already put in my


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          1         objection, your Honor.

          2                  THE COURT: All right. The objection is overruled.

          3         Mark them 3 and 4 now in evidence.

          4                  (People's Exhibits 3 and 4, marked and received

          5         into evidence.)

          6                  THE COURT OFFICER: So marked into evidence.

          7                  THE COURT: Mr. Shortt?

          8                  MR. SHORTT: Can we have that displayed to the

          9         jury, and I will ask the officer further questions.

         10                  THE COURT: You want the jurors to look at it

         11         first?

         12                  MR. SHORTT: Yes, sorry.

         13                  THE COURT: Please show it to the jurors.

         14                  (Exhibits shown to the jurors.)

         15                  THE COURT: All right. The exhibits have been

         16         shown to the jury. Mr. Shortt, you may continue.

         17                  MR. SHORTT: Thank you. Can we hold that up?

         18                  THE COURT: Hold it in a way that the witness and

         19         the jurors can see, particularly Mr. Eversly.

         20        Q      Officer, do you-see the place where you first

        21 observed the defendant Ball on July 3 of 2012 displayed on the

        22    left hand exhibit number three?

        23         A      Yes.

        24         Q      Could you point to that, please?

        25         A      Right here.


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          1                  THE COURT: Can you see, Mr. Eversly?

          2                  JUROR: Yes, sir.

          3         Q      What direction was the defendant Ball running when

          4 you first observed him in that photograph?

          5         A      Northbound. He was down the Street running towards

          6 me, and I was in a vehicle driving southbound, and we stopped

          7   right here in this intersection.

          8                  THE COURT: When you say northbound, was that away

          9         from Northern Boulevard?

         10         A     He was running away from Northern Boulevard, and I

         11 was driving towards Northern Boulevard.

         12         Q     The intersection displayed in the left hand side

         13 photograph is that displayed at all on the right-hand side?

         14         A     Yes.

         15         Q     I ask you to circle on the map where that location is

         16 with this pen?

         17         A      (Witness complies.)

         18                  THE COURT: Did it work?

19                           THE WITNESS: Yes.

20                           THE COURT: Show the markings to the jurors.

         21         Q     We can put that down for now. You testified that you

         22   recovered things from Mr. Ball?

         23        A      Yes.

        24         Q      What specifically did you recover at that time?

        25         A      In his right hand he had a black iPhone, and in his


                                                                                    NS
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         1   front right pants pocket he had U.S. currency, it was a 100

         2   dollar bill, seven 20 dollar bills and a 10 dollar bill.

         3         Q      What did you do with this property?

         4         A      I took it, and I placed it in our vehicle for

             safekeeping.

         6         Q      What did you do with Mr. Ball?

         7         A      Placed him in handcuffs and put him in the rear of

         8   the vehicle.

         9         Q      How long were you at that intersection for?

        10         A      Approximately a minute or two.

        11         Q      After you placed the defendant in the vehicle, what

        12 happened next?

        13         A      We continued to. drive southbound on 105 Street

        14   towards Northern Boulevard, and there was an ambulance that was

        15 already at the scene that was parked on the south southeast

        16 corner of 105 Street and Northern Boulevard and I proceeded to

        17 -- well, my partner Officer Torres drove the vehicle behind the

        18   ambulance.

        19         .0     Officer, how long did it take you to go from the

        20   intersection where you stopped the defendant Ball to where -- to

        21   105 Street and Northern Boulevard?

        22         A      Approximately ten seconds.

        23         Q      How far is that?

        24         A      It's one New York City block.

        25         Q      When you got to the scene, were there other police


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          1   officers present?

          2          A    No.

          3          Q    Who was present?

          4          A    Mr. El Turkey was present, the victim, and there was

              two EMS workers that were in the ambulance.

          6          Q    When you got to the scene what happened?

          7          A    I got out the vehicle, out of our police car, and I

          8 walked to the ambulance. The back doors are like barn doors,

          9 were both open, so I proceeded to go into the ambulance and have

         10   a conversation with the victim.

         11          Q    Is that Mr. Tarek El. Turkey you are referring to?

         12          A    Yes, the victim.

         13          Q    What did Mr. El Turkey look like at that time?

         14          A    He had blood all over face, large lacerations to his

         15   head, his eyes were swollen, his ears bleeding, his mouth busted

         16 up, and his clothes were ripped and torn up and very disheveled

         17   and very messy looking.

         18          Q    Without saying what was said, were you able to

         19 communicate with Mr. El Turkey?

         20          A    Yes.

         21          Q    Was he able to articulate to you what happened to

         22   him?

         23          A    Yes.

        24           Q    Did he have -- did you have any trouble understanding

         25 him?


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          1         A     No.

          2         Q     Where was the defendant Ball while you were speaking

          3   to Mr. El Turkey?

          4         A     He was placed at the front of our police car.

          5         Q     Where was ti-,at in reference to Mr. El Turkey?

          6         A     Directly in front of him.

          7         Q     How far away-was Mr. El Turkey from the defendant at

          8 that time?

          9         A     Approximately two car lengths.

         10         Q     And did you have a conversation with him at this

         ii   point?

         12         A     Yes.

         13         Q     What did you ask him?

         14         A     I asked him i.f he recognized the property that I had,

         15   and he said, yes, and I asked him if he could tell me the

         16 denomination or the amo.rnt of money that was stolen from him,

         17 and he told me the exact denominations and the exact currency of

         18   what he had.

         19         Q     Did you ask him any questions about Mr. Ball?

         20         A     Yes.

         21         Q     What did you ask him?

         22         A     I asked him what his part was in the robbery.

         23         Q     Did you ask Mr. El Turkey whether or not he

         24   recognized the defendant Ball?

         25         A     Yes.


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      '1           Q      When did you do that?

         2         A      Whenever I was in the ambulance with Mr. El Turkey.

         3         Q      Was that before or after you showed him the property?

                   A      That was before.

         5         O      Before you showed him the property, what conversation

         6   did you have with Mr. El Turkey?

         7         A      I asked him if he knew who that was, I pointed to

         8   Mr. Ball that was standing in front of our vehicle.

         9         O      What did he say to you?

        10         A      Yes, he was the one that started to assault him, and

        11 then he was the one that took his pocket, he rifled through his

        12 pockets and took out the phone and the money from the victim,

        13   Mr. El Turkey.

        14         Q      And who was he indicating did this?

        15         A      Mr. Raymond Ball.

        16         O      Where was Mr. Ball when this conversation was taking

        17   place?

        18         A      Right in front of our police right behind the

        19   ambulance.

        20         O      After having this conversation, what did you do next?

        21         A      I asked him what was taken, he told me the phone and

        22 the money, and the phone was locked, and I was able to unlock

        23   the phone, and there was pictures of Mr. El Turkey and his

        24   family on the phone.

        25         Q      What happened after you were able to unlock the


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                1 phone?

               2         A      I went through it to be sure it was his, and once I

                3 was satisfied, I returned the phone back to Mr. El Turkey.

                4        Q      Was that at the scene or later at the precinct?

                5        A      That was at the scene at the time.

                6        Q      Officer, what occurred with the money that was

                7 recovered from the defendant Ball?

                8        A      I had it in safekeeping. I asked Mr. El Turkey how

                9 much money was taken from him. He told me. I asked him if he

               10   knew how much, the exact denominations, and he did because he

               11 just came from a check cashing place so he told me a 100 dollar

               12   bill, seven twenties and one ten dollar bill. When I was all

               13   satisfied, I was back at the precinct, I xeroxed the money, and

               14   then I vouchered that picture as evidence.

•I             15        Q      Officer, you have used the word voucher. what does

               16 that mean?

               17        A      When a crime happens, you voucher something for

               18   safekeeping or arrest evidence.it's where you take it, you put

               19   it into a usually like a plastic envelope with security markings

               20 and seals on it, and you seal it so nobody can put or subtract

              21 anything from that, and you usually you do it on the date the

               22   crime happens.

               23         Q     Was anything vouchered in this case?

              24         A      Yes.

              25         Q      What was vouchered?


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                    A       I vouchered a screen shot of the cell phone, and I

          2 vouchered a copy of all the money that was taken, and the

          3    pictures I took of Mr. El Turkey that was at the scene.

          4                    MR. SHORTT: I will have this marked as People's

           5        Exhibit 5 through 13, previously shown to defense counsel,

           6        showing it again.

          7                    (Handing.)

          8                    THE DEFENDANT BALL: Your Honor, I object to the

           9        introduction of the money. We never received any of this.

         10                    THE COURT: Take a look at it now.

         11                    THE DEFENDANT BALL: There    is nothing to look at.

         12                    THE COURT: Al! right. They have not been offered

         13         yet.

         14                    MR. SHORTT: I ask that this be shown to the

         15         witness.

         16                     Handing).

         17                    THE COURT: Do you want to mark it as one exhibit?

         18                    MR. SHORTT: That's fine.

         19                    (People's Exhibit 5, envelope with contents,

         20         marked for identification.

         21                    (Handing.)

         22         Q       Officer, do you recognize what is in front of you

         23    right now?

         24         A       Yes.

         25         Q       What is that?
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          1         A     This is the pictures I took at the scene of the

          2 victims injuries, also a picture of the money and the cell

          3   phone.

          4         Q     When were those photographs and photocopies taken?

          5         A     That day.

          6         Q     What did you do with those photographs and

          7 photocopies after you made them?

          S         A      I placed them in this envelope, I sealed it, I put my

          9 mark on it, and I vouchered it for safekeeping for arrest

         10   evidence.

         11         Q     What do you mean you sealed it?

         12         A     There is a very, very sticky strip across the top,

         13   once it's sealed it can't be opened or closed. If you try to

         14   open it, all the seals get busted, and you would know it's been

         15   tampered with.

         16         Q     Do you recall sealing that envelope?

         17         A     Yes.

         18         Q     Is it still intact?

         19         A     Yes.

         20         Q     After you sealed that envelope, what did you do with

21            it?

         22         A     I placed it in the property clerk and it's driven

         23   down to Long Island City, and it stays there until we go to

        24    trial.

         25         Q     After the date of July 3 of 2012, when is the next


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           1 time you saw that exhibit?

           2        A      I picked it up this Tuesday.

           3         Q     What did you do with it?

           4        A      I brought it here,

           5         Q     Where did you put it?

           6        A      Property clerk in Long Island City, I drove it here,

           7 and I dropped it off to you.

           B         Q     Was the seal intact when you picked it up?

           9        A      Yes.

          10         Q     Is the seal from that date still intact?

          11        A      Yes.

          12                   R. SHORTT: Your Honor, I would like to have the

          13         officer open up the seal?

          14                 THE COURT You may open it.

          15                  (Witness opens exhibit.)

          16         Q     I would like you to take a look at everything that's

          17 in that envelope right now.

          18        A      This is a picture of the victim's head --

          19                 THE COURT     Don't show it to the jury yet. It has

          20         not been produced into evidence.

          21        Q      Flip through and take a look at everything.

          22        A      Yes.

         23         Q      Officer, do those photographs fairly and accurately

         24    depict what Mr. El Turkey's injuries, his cell phone and the

         25 money that you recovered, do those fairly and accurately depict


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           1   what those items looked like on July 3 of 2012?

           2        A      Yes.

           3                 MR. SHORTT: Your Honor, I move those into evidence

           4        as People's Exhibit 5.

           5                 THE COURT: Mr. Gibbons?

           6                 MR. GIBBONS: I don't think he mentioned the

           7        picture of the cell phone. Is that included in that?

           8                 THE WITNESS: Yes.

           9                 MR. SHORTT: Yes.

         10                  MR. GIBBONS: No objection.

         11                  THE COURT: So we have a series of pictures of the

         12         victim; is that correct?

         13                  THE WITNESS: Yes.

         14                  THE COURT: And pictures of the money?

        • 15                 THE WITNESS: Yes.

         16                  THE COURT: And a picture of the cell phone?

         17                  THE WITNESS: Yes.

         18                  THE COURT: Anything else in there?

         19                  THE WITNESS: No.

         20                  THE COURT: Mr. Gibbons?

         21                  MR. GIBBONS: No objection.

         22                  THE COURT: Mr. Ball?

         23                  THE DEFENDANT BALL: The    only thing that ' s missing

         24         is proof of the chain of custody. He testified that this

         25         was put into evidence somewhere, and I would like to know


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         1         just so for my reference, you know, so I could understand

         2         before it's introduced.

         3                  THE COURT: Do you want to ask him some questions?

         4                  THE DEFENDANT BALL: No, sir. There was a chain

          5        of custody.

          6                 THE COURT: Do you want to ask him questions?

         7                  THE DEFENDANT BALL: The officer?

         8                  THE COURT: Yes.

          9                 THE DEFENDANT BALL: Is there a chain of custody,

        10         do you have any paperwork which would corroborate your

        11         testimony right now as to the fact that you put into

        12         evidence, had it sealed? I don't see a seal on it

        13                  THE COURT: When you say put in evidence?

        14                  THE DEFENDANT BALL: There is no official seal on

        15         it. You see he just opened, it but there is no seal, and

        16         there is no paperwork to accommodate the paperwork.

        17                  THE COURT: Is that your objection?

        18                  THE DEFENDANT BALL: Do you have anything to

        19         corroborate that?

        20                  THE WITNESS: This is the seal right here.

        21                  THE DEFENDANT BALL: Do you have any paperwork to

        22         show that you put it    into evidence?
23                          THE WITNESS: When I picked it up --

        24                  THE DEFENDANT BALL: I'm not asking about that.

        25                  THE COURT: Don't interrupt him.


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           I                   THE WITNESS: When I picked it up from the

           2        property clerk, I signed it out on the computer.

           3                   THE DEFENDANT BALL: Did you fill anything out to

           4         put it in?

           5                   THE WITNESS: Yes.

           6                   THE DEFENDANT BALL: Do you have it with you?

           7                   THE WITNESS: Yes.

           8                   THE DEFENDANT BALL: Do you have it with you?

           9                   THE WITNESS: Yes, the voucher.

          10                   THE DEFENDANT BALL: Do you have the voucher with

          11         you?

          12                   THE WITNESS: Yes.

          13                   THE DEFENDANT BALL: Is it for the precinct or the

          14        voucher that you put into evidence?

          15                   THE COURT: Is that the property clerk?

          16                   THE DEFENDANT BALL: Yes.

          17                   THE COURT: Officer, you say you picked that up

          18         from the property clerk?

          19                   THE WITNESS: Yes.

         20                    THE COURT: Do you have the voucher with you?

         21                    THE WITNESS: Yes.

22                             THE DEFENDANT BALL: Did we have a copy of the

         23         voucher?

24                             THE COURT: Take a look at it and show it to

         25         Mr. Ball.


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           1                    MR. SHORTT: For the record, a copy of the voucher

           2         was turned over to the defense on April 17 of 2013.

           3                    THE DEFENDANT BALL: We don't have that. I don't

           4         have it.

           5                    MR. SHORTT: Receipt acknowledged by the defense on

           6         that date.

           7                    THE DEFENDANT BALL: If he has it, can I see it?

           8                    THE COURT: The record will reflect that it was

           9         turned over, but you can show it to him again.

          10                    THE DEFENDANT BALL: Thank you.

          11                    THE COURT: This voucher, Mr. Shortt, was

          12         previously turned over to defense counsel?

          13                    MR. SHORTT: Yes, your Honor.

          14                    THE COURT: All right.

          15                    (Handing.)

          16                    THE DEFENDANT BALL: Yeah, but your Honor I

          17         apologize, but this doesn't list anything about money. It

          18         says assorted color, victim injuries, property recovered

          19         and it says red hat, your Honor. That's it, no money.

          20         This doesn't indicate --

          21                    MR. S1-JORTT: It actually does not say anything

          22         about a red hat.

         23                     THE DEFENDANT BALL: That's what it says.

         24                     MR. SHORTT: Recovered. Judge, I have no objection

         25          to the document coming into evidence.


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          1                   THE DEFENDANT BALL: Assorted colors.

          2                   MR. SI-IORTT: I have no objection to it coming into

          3         evidence.

          4                   THE COURT: The voucher itself?

          5                   MR. SHORTT: Yes.

          6                   THE DEFENDANT BALL: Because it doesn't say

          7         anything. Yes.

          8                   THE COURT: What do you want to do?

          9                   THE DEFENDANT BALL: Have it marked, please,

         10         because it doesn't say anything about money.

         11                   THE COURT: Do you want that document in evidence?

         12                   THE DEFENDANT BALL: Yes, sir. It doesn't say

         13         anything about money.

         14                   THE COURT: Mr. Gibbons, any objection?

         15                   MR. GIBBONS: I have no objection your Honor.

        16                    THE COURT: Mr. Shortt, what are we up to for the

        17         defense?     E?

        18                    MR. GIBBONS: Yes, B.

        19                    THE COURT: Mark it in evidence as Defendant's

        20         Exhibit E. Do you have any objection to the material that

        21         was in the sealed envelope being produced into evidence?

        22                    THE DEFENDANT BALL: No, as long as the voucher is

        23         there.

        24                    THE COURT: All right. Without objection,

        25         People's 5 will be marked in evidence now.


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          a                      MR. GIBBONS: Is that all the items, not just the

          2           voucher?

          3                      THE COURT: Correct.

          4                      THE WITNESS: I can clarify --

                                 THE COURT: No.

          6                      (Peoples Exhibit 5, mark and received into

          7           evidence.

          8                      (Defendants' Exhibit E, marked and received into

          9           evidence.)

         10                      MR. GIBBONS: Can I see it real quick?

         11                       (Handing.)

         12                      MR. GIBBONS: Thank you.

         13                      THE COURT: Mr. Shortt, you may proceed.

         14   BY MR. SHORTT:

         15           Q     Can we have -- officer, the voucher form itself, when

         16   is that filled out?

         17           A     That night.

         18           Q     What type of information is recorded on it?

         19           A     Very basic information of what was recovered.

         20           Q     What does that form indicate was recovered in this

         21   case?

         22           A     Assorted pictures, there was no money vouchered, it

         23   was just pictures.

         24           Q     Could you read specifically what you vouchered?

         25           A     On here on the actual voucher, it says eight


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          1 photographs was vouchered. There was no money that was
          2 vouchered, and it sa y s for color, assorted colors and in a brief
          3 description of the articles, there is only so much you are able
          4    to type, it ' s a very small box type, photos of victim's injuries

          5 and property recovered.
          6         Q      Does it say how many photographs?

          -7        A      It says eight.

          8         Q      Does that match what is actually inside the envelope?

                    A      Eight, yes, eight photographs.

         10         Q     Thank you, Officer.

         11                  MR. SHORTT: Can we display the photographs to the

         12         jury, please?

         13                  THE COURT: Show them to the jury.

         14                  (Photographs shown to the jury.)

         15                  THE COURT OFFICER: Published to the jury.

         16                  THE COURT: You may proceed.

         17         Q        Officer, specifically the phone and the money

         18    that's depicted in People's Exhibit 5, what ended up happening

         19 to the originals of those, the original money and the phone
         20    itself?

         21         A      It was released to back to the victim.

         22               When did you do that?

         23         A      When he came back to the precinct that night.

         24         Q     Officer, what was Mr. Ball wearing that night?

         25         A      He was wearing a white T-shirt and black jeans.


                                                                                    NS
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               1                  MR. SHORTT: I ask that this be marked as People's

               2         Exhibits 6A and 6B

               3                  (People's Exhibits 6A and 63, photographs, marked

               4         for identification)

               5         Q     Do you recognize those?

               6         A     Yes.

               7         Q     What are those?         -

               8         A      Pictures of Mr. Ball from that night.

               9         Q     Do those pictures fairly and accurately depict how

              10 Raymond Ball appeared on July 3 of 2012?

              11         A     Yes.

              12         Q     Does it fairly and accurately depict the clothing

I;            13   Mr. Ball was wearing that night?

              14         A     Yes.

              15                  MR. SHORTT: With those foundations I move those

              16         into evidence as People's Exhibits 6A and B in evidence.

              17                  MR. GIBBONS: No objection.

              18                  THE COURT: Mr. Ball?

              19                  THE DEFENDANT BALL: No objection.

              20                  THE COURT: Mark it in evidence.

              21                  (People's Exhibits 6A and 6B, marked and received

              22         into evidence.)

              23                  MR. Sf{ORTT: Judge, if we can pass those to the

              24         jury as well as the pictures of Mr. Brooks which were

              25         marked as Defendant's Exhibit C, please.


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          1                  THE COURT: Publish them both to the jury.

          2                  (Exhibits published to the jury.)

          3                  THE COURT OFFICER: People's Exhibits 6A and 6B

          4         and Defendant's Exhibit C have been published to the jury.

          5                  THE COURT: Ladies and gentlemen, we will take a

          6         five-minute break. Do not discuss this case amongst

          7         yourselves. We will reconvene in a few minutes.

          S                  Take charge of the jurors.

          9                  (Jurors exit the courtroom.)

         10                  THE COURT: Officer, you can step down. Do not

         11         discuss the case with the witness.

         12                  MR. SHORTT: Yes, Judge.

         13                  (Witness exits the courtroom.)

         14                  THE COURT: All right. Five minutes.

         15                  (Whereupon, a brief recess was taken.)

         16                  (Defendants enter the courtroom.)

         17                  THE COURT CLERK: Let the record reflect the

         18         defendant Brooks is present before the Court.

         19                  THE COURT: Officer, you can step up.

         20                  (Witness resumes the witness stand.

         21                  (Defendant enters the courtroom).

         22                  THE COURT CLERK: Let the record reflect the

         23         defendant g all is present in court.

         24                  THE COURT: Bring in the jury.

         25                  MR. SHORTT: Judge, housekeeping matter, what's


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           1         been marked as exhibit [) which was given over to defense, I

           2         set it up to play it before the jury is brought in and I'm

           3         noticin it's actually incomplete. It has the 9-1-1 calls

           4         but not 'the radio runs. We made it quickly over the lunch

                     break bcause defense asked for an additional copy. It

           6         looks like the 9-1-1 burned onto it no problem, the radio

           7         runs did not make it on there.

           8                  THE COURT: So we have no CD here that have the

           9         radio runs-)

          10                  MR. SHORTT: I do have a spare.

          11                  THE COURT: Mr. Gibbons?

          12                  MR. GIBBONS: I think we have to swap it because

          13         the injury has not heard it.

          14                  MR. SHORTT: The jury has not heard it.

          15                  MR. GIBBONS: I know that I have everything here,

          16         there are three files on this.

          17                  THE COURT: All right.

          18                  MR. SHORTT: And actually, I transferred it to my

          19         computer; so T have it with me. We can play it but I will

          20         check to be sure the one that I have here is complete

          21         because 1 have unlimited copies saved on my computer. If

          22         defense counsel Mr. Gibbons and Mr. Ball are okay with it,

          23         since the jury has not seen or heard the exhibit yet, I

          24         don't think there will be any problems switching it out

          25         because this one is actually fully complete.


                                                                                       NS
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           1                  THE COURT: You want to play it on your direct

           2         examination?

           3                  MR. SHORTT: Yes.

           4                 :THE COURT: The radio runs.

           5                 MR. SHORTT: Yes, they are in evidence now.

           6                 'THE COURT: Do you have any objection?

           7                 THE DEFENDANT BALL: I don't know whether the

8                    radio runs, was that part of the original discovery?

           9                 MS. POVMAN: The SPRINT report is the summary of

          10         the radio runs.

          11                 THE DEFENDANT BALL: It says     9-1-1 and radio runs,

          12         yes, okay, but there is not a read out of that radio run.

          13                 MS. POVMAN: The SPRINT report is the read out.

          14                 THE COURT: The SPRINT report is a read out.

         15                  THE DEFENDANT BALL: So I have in front of me the

         16         actually reading of the SPRINT report, the radio run?

         17                  THE COURT: Right. So it's okay with you to

         18         proceed in that fashion?

         19                  .THE DEFENDANT BALL: Yes, not a problem, as long

         20         as I will be to --

         21                  MR. SHORTT: We can return this to the defense.

         22         They can have that. I guess we will mark this as exhibit D

         23         now.

24                           THE COURT: Do you want to mark it now?

         25                  MS. POVMAN: What are we going to mark it?         E or


                                                                                     NS
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                                      Pampeno- People-Direct

           1         F?

           2                   MR. Si-IORTT: As long as everyone agrees, we can

           3         mark this as the true exhibit D because that was the

           4         intended copy.

           5                   THE COURT: I don't want to speak for Mr. Ball,

           6         but I know his intent was to put in the SPRINT calls that

           7         does not have them. This one certainly does. All right.

                     Let's d6 that.

           9                   THE DEFENDANT BALL: I apologize. Can someone

          10         please indicate what is the difference between the SPRINT,

          11         is there a difference, is there two different

          12         communications?      Do I have in my possession all of the

          13         differetit means of communication that was used by the

          14         police that night?

          15                   MS. POVMAN: Yes.

          16                   MR. GIBBONS: Yes.

          17                   THE DEFENDANT BALL: What is the different type of

          18         communications that was used that night?

          19                   MR. SHORTT: There were two 9-1-1 calls from not

          20         the victim but from a person who called 9-1-1, then there

          21         is the recorded radio transmissions of all police officers

          22         working within the confines of the 115 Precinct.

          23                   THE DEFENDANT BALL:   That is all within the SPRINT

          24         report?

          25                   MR. GIBBONS: Just the radio runs, the 9-1-1 calls


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           1          aren't.

           2                    .THE DEFENDANT BALL: Okay.

           3                        MS. EOVMAN: Yes, it's in there.

           4                        MR. GIBBONS: Okay.

           5                        THE COURT: Everything is properly marked now.

           6                        (Defendants' Exhibit D, marked and received in

           7          evidence)

           8                        THE COURT: Bring in the jury.

           9                    I (Whereupon, there was a brief pause in the

          10          proceedings.)

          11                        (Jurors enter the courtroom.)

          12                    THE COURT CLERK: Do both sides stipulate to the

          13          presence and proper seating of the jury?

          14                    MR. SHORTT: Yes.

          15                    MR. GIBBONS: So stipulated.

          16                    THE DEFENDANT BALL: Yes.

          17                    THE COURT: Thank you.

          18                    Mr .Shortt.

          19                    THE COURT CLERK: Sir, you are reminded you are

          20          still under oath.

          21                    THE WITNESS: Yes.

          22   BY MP.. S}-IORTT•:

          23         Q       Officer, are you familiar with the term SPRINT

         24    report?

         25          A       Yes.


                                                                                      MS
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                                     Pampeno-People-Direct

             1           Q    Eo the members of the jury, what is a SPRINT report?

             2           A    It's a man made report that our central, the radio

             3 when she receives 9-1-1 calls, she does a shorthand typed

             4   version it's called a SPRINT report. There is a lot of codes

             5 and short phrases on it.

             6           Q    How is that produced?

             7           A    By-.a person that answers the radio, that puts out the

             8   calls.

             9           Q    How do they record this?

         I               A    They type.

         11              Q    Es that as the things are happening?

         12              A    Yes.

         13              Q    Officer, are you familiar with who the dispatchers

         14      are in the 115 Precinct?

         15              A.   No

         16              Q    Are you familiar with what their responsibilities

         17      are?

         18              A    Ye.

         19              Q    What are their responsibilities?

         20              A    The 115 Precinct there is two precincts, the 115 and

         21      110 and their'responsibility is everybody that calls the 9-1-1

         22      in the confines of the precinct, they transmit it over to the

         23 radio to us so they are sitting there typing everything that

         24 comes over the phone and everything that we go over the radio

25               with.


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                     Q     So the dispatcher is actually responsible for two

           2 precincts?
           3         A     Yes.

           4         Q     Officer, we know where the 115 Precinct is. Where is

           5   the 110 precinct?

           6         A     I believe it's located on 43 Avenue, I don't know the

           7   exact address of the 110 Precinct.

           B         Q     How large of an area does the 110 cover?

           9         A     Just as large as the 115.
          10         O     What neighborhoods is that?

          ii         A     Parts of Corona, Elmhurst, and I'm not sure of the

          12   other neighborhood.

          13                  MR. SHORTT: Can we show the witness Defendants

          14         Exhibit ;B in evidence?

          15                  (Handing.)

          16         0     Officer, dc you recognize that?

          17        A      Yes.

          18        Q      What is that?

          19        A      This is the SPRINT report.

         20         O      For what date?

         21         A      7/:7/2012.
         22         Q      Have you previously seen a copy of that report?

         23         A      Yes.

         24         0      I Want to talk to you about some of the terminology

         25    that you referred to. First of all, is there any indication of


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           1 your unit on that SPRINT report?
           2         A     Ys.
           3         Q     What unit were you on that SPRINT report that night?

           4         A     RMP 242.

           5         Q     How do you recall that?

           6         A     RMP stands for radio meter patrol vehicle which is

           7 any police vehicle whether it's marked or unmarked and 242 is
           8   the last three digits of the license plate, so when you are

           9 assigned a vi hicle the supervisor tells you, officer, you are
          10   assigned to 2.42, and you know which vehicle that is.

          11         Q     Officer, when was the first indication that you were

          12   involved in this case on that SPRINT report?

          13         A     I believe it's 21:00 which is 9:00 P.M.

          14         Q     Does it indicate where you were at that time?

          15        A      No no.

          16        Q      Does it indicate what you were doing at that time?
          17        A      No.
         18         Q      Is there a reference to a 9-1-1 call on that?

         19         A      Yes.

         20         Q      Where is that?

         21         A      Lire two it's at 20:59 which is 8:59 P.M. - should I

         22    read what it states?

         23         Q      Yes.

         24         A      A 10-30 which is a robbery in progress just happened

         25    at knife point with injuries. Perps are three males, one


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                                       Pampeno-People-Direct

             1   wearing one wearing white shirt and black pants. That's all it

             2   States.

             3                    MR. GIBBONS: Your Honor, he is reading from the

             4            SPRINT, but he said three males. I believe it's different

             5            in the SPRINT report that he is referring to.

             6                    THE COURT: Do you want to reread it?

             7        A        MBS, male blacks, three males blacks.

             8                    THE COURT: All right.

             9        Q        Continuing down to 21:00 is there a subsequent

         10      communication on the 9-1-1 call?

         l]           A        Yes.

         12 -         Q        What is that?

        13            A        At 21: 00 9:00 it says Tarek which is the victim in

        14       grocery store now states police are there, hung up, and --

        15            o        Officer, there is an indication of Annie alley?

        16            A        Yes.

        17            O        What is does Annie alley mean?

        18            A        I don't know what the exact term Annie alley comes

        19       from or what it means, but when you ask central or radio Annie

        20       alley, it tell the number and where the call is being generated

        21       from, almost like a GE'S.

        22            O        There appears to be a blanked out part of the form,

        23       would that be the phone number?

        24            A        Yes.

        25            Q        How long after that communication are -- is your RMP


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                                    Pampeno-People--Direct

           1   242 on this report?

           2         A      The same exact time.

           3         Q      Bdlow there is another notation?

           4         A      Arrive alive.

           5         Q      WHat does that mean?

           6         A      Any time a serious job comes over or anything dealing

           7 with weapons, it's our central reminding us to arrive alive,

           8   drive safely, :     there in one piece.
9                    Q      Does that indicate to you that you are en route at

          10   that time?

          11        A       Ys.

          12         Q      I would like to go further down, officer. There is

          13   an indication: of 10-84; is that correct?

          14        A       Yes.

          15        Q       Speaking specifically about the second indication at

         16    21:03 what dos ten eight four mean?

         17         A       Eight four is that somebody arrived on    scene.
18                  Q       Wht does on scene mean?

         19         A       Whatever address was given, you are telling central

         20 that you are at that address at that exact time.

         21         Q       Officer, were you eight four at that time?

         22         A       Yes.        -

         23         Q       According to that?

         24         A       Yes.

25                  Q       Officer, do you know whether or not these are --


                                                                                     NS
    Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 683 of 907 PageID #: 1046


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                                           Pampeno-PeopleDirect

               1 whether or not police communications are recorded?

               2        A      I know they are recorded, yes.

               3         Q     Were the ones that you were on that night record?

               4        A      Yes.

               5                  :MR, SHORTT: I'm going to play Defendant's Exhibit

               6        CD which is already marked into evidence.

               7                      (Recording played.)

               S        Q      Officer, we just heard -- I'm stopping at eleven did

             .9    you hear thereference to a five two?

              10        A      Yes.

                        Q      What is a 52?

             12         A      That is a dispute.

             13         0      Is that anywhere indicated on this SPRINT report?

             14         P1     No.

             15         Q      Was that 52 at all related to this incident?

             16         A      No,.

             17                       (Recording played.)

             18         Q      I'm stopping the tape at 40 seconds. Officer, do you

             19    recognize anybody's voice in that last bit?

             20         A      Yes,

             21                   THE DEFENDANT BALL: Objection.

             22                   THE COURT: Overruled. You can answer.

             23         A      Tht's mine.

-            24         0      Wht voice was yours?

                        A      Saying 242.


                                                                                        NS
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                                     Pampeno-People-Direct

          1         Q     That was actually after the words arrived alive were

          2   spoxenf        I




3                   A     Yes, it's the same time on the SPRINT, yes.

          4                  '(Recording played.)

          5                  THE DEFENDANT BALL: Excuse me, your Honor.

          6                      HE COURT: You want to stop it? Yes, Mr. Ball?

          7                  THE DEFENDANT BALL: I just noticed that there is

          8         another voice of 242 again at that interval we just heard

          9         it. Canyou play that back?

         10                  THE COURT: You will have a chance to cross

         11         examine on this.

         12                  THE DEFENDANT BALL: It's not that. I would like

         13         for somecne to indicate --

       • 14                  THE COURT: Well, you can ask him on

         15         cross-examination.

       • 16                  tou can continue playing.

         17                  MR. SHORTT: Thank you, Judge.

         18                  (Recording played.)

         19         Q     Officer, I'm stopping at 4 minutes 20 seconds, there

         20   is a mention of five Charlie. Do you know what that means?

         21        A      115 sector Charlie.

         22         Q     They are asking for a client ID. What is that?

        23         A      A motor vehicle accident where two individuals died

        24    so they were running I.D.s to get identification for them.

        25         Q      When did that occur that night?


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                                     Pampeno-People-Direct

          1         A      Right before the robbery happened.

          2         Q      Do you recall where in the 115?

          3         A      It: was Astoria Boulevard, but I know it was in the

          4    eighties. I cant be exact.

          5         Q      How many of the police officers were deployed to that

          6 scene?

          7         A      The majority.

          8                  rErE DEFENDANT BALL: He was not there.

          9                  THE COURT: Were you on the scene as well?

         10                  THE WITNESS: Right before, yes.

         11                  THE COURT: Affirmative answer. I will allow it.

         12                  (Recording played.)

         13                  THE DEFENDANT BALL: Your Honor, I apologize.

         14         it's just that we don't have any of that reading here on

         15         this sheet.

         16                  (Defendant and counsel confer.)

         17                  THE COURT: It's not the same job, it's a

         18         different job.

         19                  THE DEFENDANT BALL: Yeah but --

         20                  (Defendant and counsel confer.)

         21                  T HE COURT: Continue.

         22                   HE DEFENDANT BALL: Thank you.

         23                  (Recording played.)

        24          Q     Officer, there is an indication of five FlO. Do you

        25    know who that was that night?


                                                                                    NS
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                                       Pampeno-People-Direct

             1          A     Yes.

             2          Q     Who was that?

             3          A     Detective Lanning and his sergeant.

             4                   MR. SHORTT: That was at moment 6:15.

             5                    (Tape played.)

             6          Q     Oficer, we are stopping at moment 6:30. Did you

          7      recognize those voices?

          8             A     Yes, that was myself and my partners.

          9             Q     What was that in reference to?

         10             A     We had one person in the vehicle, we were going to

         11      the scene tor a show-up.

         12             Q     Yod. are already in the vehicle at that point?

         13             A     Yes.

        14                       (Tape played.)

        15                       MR. SHORTT: I'm stopping now at the moment of

        16              9:21. That's the relevant portion I wanted to talk about

        17              with this witness.

        18              Q     Offftcer, did you hear reference to the vehicular

        19 crime on that tape, the vehicular incident?

        20              A     Yes..

        21              Q    Did ;you hear evidence that what was called a narco

        22       job?

        23              A    Yes,.

        24              0    What does that mean?

        25              A    Any.--


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                                   Pampeno-People-Direct

          1                   THE DEFENDANT BALL: Nothing to do with our case,

          2         obj ectioii.

          3                   THE COURT: Sustained.

          4         Q      Any other incidents reflected in this SPRINT report?

          5-        A      Yes.

          6         Q      Why is that?

          .7        A      Doesn't relate to this job.

          8         Q      Do dispatchers prepare one of these for each and

          9 every one of the jobs?
        10          A      Yes.

        11          Q      Do they flip back and forth between each job?

        12          A      Yes.

        13          Q      Officer, did that fairly and accurately record all of

        14     the radio cornnmnications as well as the timings in between them

        15     during that niht?

        16          A      Yes.

        17          Q      The recording, not the SPRINT report, officer,

        18     correct?.

        19          A      Yes,.

        20          Q      Officer, I want to ask you at what time, what is the

        21     arrest time for these two defendants?

        22          A      It is 21:13 which is 9:13.

        23          Q      When was that assigned?

        24          A      Wheiçever they were both back at the precinct.

        25                   THE DEFENDANT BALL: Objection, your Honor.


                                                                                   NS
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                            Pámpeno-Pedple-Cross (Mr. Gibbons)

          1                    THE COURT: Overruled.

          2         Q     Officer, does an arrest time reflect when somebody is

          3 placed in handcuffs?

          4         A     No;

          5         0     What does it reflect?

          6         A     Whenever you have sufficient evidence that the person

          7   committed the:crime, then you look at either the watch or phone

          8   when it's convenient, then you get what's called an under time

          9   from central.

         10         0     IS:that an exact time or approximation?

         11         A     It's an approximate time.

         12                    MR. SHORTT: Judge, no further questions for this

         13         witness.

         14                    T H E COURT: Mr. Gibbons?

         15                    MR. GIBBONS: Yes, your Honor.

         16 CROSS EXAMINATION

         17   BY MR. GIBBONS:

         18        0      Good afternoon, Officer.

         19        A      Godd afternoon.

        20         Q      My name is Wyatt Gibbons. I represent Elijah Brooks.

        21                Officer, the radio run came over as a knife point

        22    robbery by three male blacks, correct?

        23         A      Yes.

        24         Q      0n€ of them wearing white shirt and black pants,

        25 correct?


                                                                                    NS
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                                Pamperio-People-Cross (Mr. Gibbons)

               1        A      Yes.

               2        Q      When you responded on the way to the scene, you

               3   spotted someone that fit the description?

               4        A      Yes.

               5        Q      That was Mr. Ball, correct?

               6        A      Yes.

               7         Q     And he was traveling northbound away from the crime

               8   scene, correct?

               9        A      Ys.

              10         Q     Running?

              11        A      Ys.

              12         Q     Wearing a white shirt and black pants, correct?

              13        A      Yes.

              14         Q     His clothes were disheveled when you saw him?

              15        A      Yes.

              16         Q     What's an aided card, officer?

              17        A      Whenever a victim or a perpetrator is injured, it's a

              18   card that you: write down a brief synopsis of the injuries that

              19   you observed.:

              20         Q     Are you required to fill out a card like that out in

              21   a situation such as this?

              22        A      Yes.

              23         Q     But you didn't, correct?

             24         A      correct.

F            25         Q      When you arrived at the crime scene neither -- my


                                                                                         NS
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                           Painpeno-People-Cross (Mr. Gibbons)

         1    client Mr. Brooks wasn't there, correct?

         2         A      Correct.

          3        Q      Was Detective Lanning there?

         4         A      No.:

          5        Q      So you never saw Mr. Brooks and Mr. Ball together,

          6   correct?

         7         A      Correct.

         8         Q      And you never witnessed the crime itself, correct?

          9        A      Correct.

        10         Q      And when you went back to the 115 Precinct, it was

        11 then that it was decided that the arrest would be given to you,
        12    correct?

        13         A      Correct.

        14         Q      All right. That was after conferring with the field

        15    intelligence officer and his sergeant?

        16         A      Yes.

        17         Q      Okay. So that arrest is really just a technical

        18 reference for when you and the suspected perpetrators were back
        19    at the precinct, correct?
        20         A      Correct.

        21         Q      It's not -- you had nothing to do with the detention

        22    of Mr. Brooks,;correct?

        23         A      Correct.

        24         Q      And that detention was that you are not going

        25 anywhere kind of moment, where his liberty Was curtailed and he

                                                                                   NS
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                             Pàmpeno- People-Cross (Mr. Gibbons)

              1 was no longer free to leave, is that correct? That's separate

          2      from the actual technical arrest, right?

          3           A     Ye.

          4           Q     And to the best of your knowledge that detention that

          5 you are not going anywhere moment, that was handled by Detective

          6      Larming, correct?

          7           A     Correct.

          8           0     Now, you drew up the complaint and arrest report for

          9 both Mr. Brooks and Mr. Ball, correct?

         10           A     Correct.

         11           Q     And on the arrest report for Elijah Brooks you noted

         12      that he was wearing black shorts, correct?

         13           A     Corect.

         14           Q     And he also was wearing a red hat, correct?

         15           A     Correct.

         16           Q     And you noted that he had unusual teeth, correct?

         11           A     If:I was to look, I don't remember.

         18           Q     Okay. Is there something that might refresh your

         19 recollection?

         20           A     sure.

         21           Q     Arrest reoort?

         22           A     Yes.

                              MR. GIBBONS: Can I have this shown to Officer

         24           Pampena, please.

         25                   THE COURT: Show it to   the officer.


                                                                                    NS
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                            Pampeno-People-Cross (Mr. Gibbons)

          1                      (Handing.)

          2          A     Yes, I see it.

          3          Q    Oky. I ask you again you noted in the arrest report

          4 that he had unusual teeth?

          5          A     Yes.

          6          Q     Do you remember what was unusual about the teeth?

          7          A     No.

          B          Q     If'you take a look at Mr. Brooks' face now, do you

          9 see his teeth?

         10          A     Yes.

         11          Q     Does it look similar now as it did then, does that

         12   refresh your recollection?

         13          A     Yes.

         14          Q     Sohe was missing a bunch of teeth when you arrested

         15   him?

         16          A     It:was not normal for me, yes.

         17          Q    Okay. And there was nothing in the radio run of one

         18 of the perpetrators with black shorts red hat or missing teeth,

         19   correct?

         20          A    Coirect.

         21          Q    That red hat wasn't vouchered, correct?

         22          A     I don't believe so, no.

         23          Q    Do! you recall if it was given to Mr. Brooks's wife

         24   Lisa Fernandez; do you recall that?

         25          A     I don't recall.


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                            Pampeno-People-Cross (Mr. Gibbons)

          1         Q      When you were doing the paperwork for Mr. Brooks, did

          2 you notice any blood on him at all?

          3         A      Not that I recall, no.

          4         Q      Did you notice any damage to his hands at all?

          5         A      Not that I recall.

          6         Q      And no proceeds from the robbery were recovered from

          7 Mr. Brooks, correct?

          8         A      Correct.

          9                     MR. GIBBONS: Can I please have him shown defense

         10         Exhibit C, please?

11                              '(Handing.)

         12         Q      Of           can you take a look at that, please?

         13         A      Ye.

         14         Q      Do:you recognize that?

         15         A      Yes.

         16         Q      What is that?

         17         A      That's Mr. Brooks.

         18         Q      That's the arrest photo that was taken that evening,

         19    correct?

         20         A      Yes.

         21         0      And in that photograph it shows that he is wearing a

         22   white shirt and black shorts, correct?

         23         A      Yes, very long black shorts, yes.

         24         Q      Okay. And in that photograph it shows that his head

         25    is shaved, correct?


                                                                                     NS
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                          Pampeno-People-Cross (Defendant Bail)

           1        A        Yes.

           2        O        He didn't have access to a razor blade to shave his

           3 head after he was arrested, correct?

           4        A        No,.

           5        O        He didn't change his clothes from the time that he

           6 was detained o the time that that photograph was taken,

           7   correct?

           8        A        Co'rrect.

           9        Q        Okay. So apart from Mr. Brooks being pointed out by

          10   the complainant as one of the assailants, there was no other

         11    evidence --

         12                     MR. SHORTT:, Objection.

         13                     THE COURT: Sustained.

         14                    'MR. GIBBONS: Nothing further. Thank you.

         15                     THE COURT: Mr. Ball?

         16                     THE DEFENDANT BALL: Yes, sir.

         17 CROSS EXAMINATION

         18 BY THE DEFENDANT BALL:

         19         Q        Hello, Mr. Lanning. How are you doing?

         20         A        Parnpena.

         21         Q        I apologize. Officer Pampena, you know, I want to

         22 ask you a quetion, were you my arresting officer the night of

         23 2012 July 3? were you my-arresting officer? Were you the one

         24 who stopped me and arrested me?

         25         A        what date?


                                                                                    N5
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                                                                               549
                           Pampeno-Peopie-Cross (Defendant Ball)

           1         Q     JUly 3, 2012?

           2         A     Yes.

           3         Q     Yes.

           4                  THE COURT: I'm sorry? Is the question were you

5                    the arresting officer?

6                             THE DEFENDANT BALL: Yes, did he arrest me.

7                             THE COURT: Then you said are you the one that

                     detained me?

                              THE DEFENDANT BALL: Arrested me.

          10                  THE COURT: The answer to both of those is yes?

          11                  THE WITNESS: Yes.

12                   Q     Yes, okay. So where is it -- can you just --

          13 somebody show that photo because you indicated with the photo,

          14   can someone Help us out with there is in evidence the big

          15   picture?

          16                  MS. POVMAN: Three and four.

          17         Q     Three and four?

          18                  THE COURT: Show it to the witness.

          19                  THE DEFENDANT BALL: I want to see the exhibit.

          20         Right. Perfect.

          21                  THE COURT: Do you want to show it to the witness?

22                            THE DEFENDANT BALL: No, I just need to look at it

          23         so I can see because the officer indicated something very

          24         importart here.

          25                  THE COURT: Show it to Mr. Ball.


                                                                                       NS
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                                                                                   550
                               Pampeno-People-Cross (Defendant Ball)

               1                     (Handing)

               2         Q        Okay. Okay. This is 32 Avenue?
                                                                                                 -
               3                     THE COURT: Mr. Ball, if you are going to ask

               4         questions about it, show the jury what you are asking

                5        about.

                6        Q        This is what I'm asking, you said that you arrested

                7 me somewhere in here and this is going between 32 Avenue and

                8 Northern Boulevard, you arrested me down in the middle of this

                9 block; is that correct?

              10         A        No.

              11         Q        Where is it that you arrested me?

              12         A        10:5 Street and Northern Boulevard.

              13         Q        And Northern Boulevard?

I,            14         A        Yes.

15                       Q        So you never arrested me on 32 Avenue?

               16        A        I placed you in handcuffs and put you in my vehicle

               17   at 105 Street and 32 Avenue.

               18        Q        So you did put me in handcuffs on 32 Avenue and 105

               19   Street?

               20        A        Y6u were detained and put in handcuffs on 105 Street

               21   and 32 Avenue.

               22         Q       Or 32 Avenue on the avenue, is that correct, at this

               23   intersection?1

               24        A        Yes.

               25         Q       Nt further down in the block; is that correct?


                                                                                            NS
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                          Pampeno-People-Cross (Defendant Ball)

           1        A      Correct.

          2         0      Okay. Do you remember that you testified previously

           3 that you stopped me in the middle of the block between Northern

           4   Boulevard and 32 Avenue?

           5                 MR. SHORTT: Objection.

           6                 THE COURT: Sustained. When you say previously

           7        you have to be more specific.

           8                 THE DEFENDANT BALL: Okay. Well I can read it

        '9          back in the suppression minutes.

          10                 THE COURT: Is that what you are going to use?

          ii                 THE DEFENDANT BALL: Yes, sir.

          12                 THE COURT: Do you recall testifying at a

          13         suppression hearing in this case?

          14                 THE WITNESS: Yes.

          15         Q     Okay. So ray next point is you said that you arrested

          16 me in the process of me running away from the crime scene?

          17        A      Yes.

          18         Q     Now, why did   you stop your car?

          19         A     Because you fit the description that came over the

          20   radio of a male black, white T-shirt, black pants that just
           1
               robbed somebody at knife point, and you were running away from

          22   the crime scene, you were a block away.

          23         Q     Now, when you stopped your car, you got out, did you

          24 say or do anything to me at that time?

          25         A     No.


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                           Pampeno-Peo p le-Cross (Defendant Ball)

           1          Q     So: I fit the description of the person, but when you

           2   stopped your car you didn't do anything, you did not say

           3 anything, not

           4          A     When we stopped the vehicle, when I got the out the

           5 vehicle, that's when you stopped in front of my vehicle.

           6          Q     I didn't ask you what I did. I asked you what you

           7   did.

           8                    THE COURT: Don't interrupt him. Finish the

           9          answer.
                                                                                            IN
          10          A     You stopped in front of my vehicle with your hands up

          11 with the phone saying I just bought the phone at 105 Street and

          12 Northern Boulevard.

          13          0     So you didn't say anything?

          14          A     No.

          15          Q     And you don't do anything?

          16          A     No.

          17          Q     So I just voluntarily ran up to you and gave you this

          18   information;.is that correct?

          19          A     Yes.

          20          Q     Okay. Now, according to your testimony after that

          21 you put me ir handcuffs, took me back down to Northern

          22   Boulevard; is that correct?

          23          A     Yes.

          24          0     Okay. How long did it take you between the time that

          25 you stopped me allegedly on 105 Street and 32 Avenue and take me


                                                                                       NS
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                                                                              553
                          Pampeno-People-Cross (Defendant Ball)

           I back to Northern Boulevard?

          2         A      You are asking for the entire duration of when you

           3 were stopped and brought back to Northern Boulevard?

           4        Q      Yes, sir.

           5        A      A couple of minutes.

           6        Q      Can you be more specific?

           7        A      Two to three minutes.

           8        Q      Two to three minutes. Okay. Okay.

           9               Do; you remember in the suppression hearings you were

          10   asked did you' ever see Mr. Ball --

          11                 THE COURT: Give the District Attorney the page,

          12         the date.

          13                 MR. GIBBONS: Which hearing?

          14                  THE COURT: And the line.

          15         Q     Well, I will come back to that question.

          16               Sq you took me back to the crime scene; is that

          17   correct?

          18         A     Yes.

          19         Q     And you said that the victim was inside the EMS truck

          20 being treated; is that correct?

          21         A     Correct.

          22         Q     Okay. And you got inside the EMS truck; is that

          23   correct?

          24         A     Yes.

          25         Q     And you was dealing with the victim while he was in


                                                                                    NS
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                                                                              554
                          Fampeno-People-Cross (Defendant Ball)

          1    the EMS truck; is that correct?

          2         A      Yes.

           3        Q      And while you was in the EMS truck with the victim,

           4   he was being treated; is that correct?

           5        A      Yes.

           6        Q      And his wounds was being cleaned?

           7        A      Yes.

           8        Q      Very good, right, they cleaned him up good?

           9        A      I would assume so yes.

          10        Q      No blood on him, cleaned it all off?

          11        A      No, there was still blood on him

          12        Q      In; the EMS truck, Officer Pampena, while you was

          13   inside the EMS truck with the victim, yes?

         -14        A      Yds.

          15         0     They were cleaning him up; is that correct?

          16        A      Yes.

17                   Q     Okay. So when you was in the EMS truck with him

          18 cleaning him up, what happens is between the time that you got

          19   in the truck with him, and you got out of the truck with him,
          20 assuming at some point you did get out truck with him; is that

21             correct?

          22         A     Yes.

          23         Q     Okay. Now, between the time that you got to the

          24   truck with him, while he was there being treated cleaned up and

          25   the time that he was out of the truck, all of the blood was


                                                                                    NS
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                                                                              555
                            Pampeno-People-Cross (Defendant Ball)

           1   taken off of him; is that correct?

           2        A       No,.

           3        Q       No.

           4                So: you are telling me that while you were in that EMS

           5   truck, and the EMS technicians is treating the victim, they

           6 didn't clean the blood off of him?

           7        A       They tried to clean as much --

           8        Q       They tried --

           9                   THE COURT: He has to finish the answer. Officer,

          10         finish our answer.

          11        A       They tried to clean the blood off of him, but due to

          12   the release, Pe refused medical attention so there was still a

          13   lot of blood on him.

          14         Q      Wow. Incredible.

          15                   MR. SHORT-T: Objection.

          16                   THE COURT: Sustained. The jury will ignore that

          17         remark.

          18         Q      Okay. So this is the deal, now, you said you

          19 identified me -- he identified me while he was in the truck; is

          20   that correct?

          21         A      Ys.

          22         Q      Okay. Now, you said then, just give me a second, I

          23   apologize.

          24                Ndw, this is what I want to ask you: Do you know

          25   this picture right here?


                                                                                       NS
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                                                                              556
                            Pampeno-People-Cross (Defendant Ball)

          1                    THE COURT: Can you see it from where you are?

          2                    HE DEFENDANT BALL: Can we please pass this up?

          3                    THE COURT: Is that a document that you want

           4        marked for identification?

           5                   THE DEFENDANT BALL: Excuse me, your Honor. I

           6        need the, jury to see this.

           7                   MR. GIBBONS: I think it's in evidence, your

           8        Honor.

           9                   THE DEFENDANT BALL: It's in evidence.

         10                    THE COURT: Do we know what that is?

         11                    THE DEFENDANT BALL: Yes, sir, People's Exhibit 5.

12                  Can we let the jury look at this please?

13                             THE COURT: I believe the jury already seen it.

         14                    THE DEFENDANT BALL: I need them to look at it

         15         again.

         16                    THE COURT: All right. Officer, can you display

17                   it to the jury?

          18                   THE DEFENDANT BALL: Your Honor, when you hold it

          19        up --

         20                    THE COURT:. Don't make a speech. You want them to

21                   see it?

22                             THE DEFENDANT BALL: Yes.

         23                    THE COURT: We will show it to the jury.

         24                    THE DEFENDANT BALL: Okay. That's good, too.

         25                    THE COURT   That's what's in evidence.
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                                                                                 557
                            Pampeno-People-Cross (Defendant 8a11)

          1                       THE DEFENDANT BALL: Okay, you can see that too.

          2         That's great.

          3                       THE COURT: Show it to the jury. Slow down. Let

          4         them look at it.

          5                           (Exhibit shown to the jury.)

          6                           'HE COURT: Mr. Gibbons, have you taken care of

          7         that?

          8                       MR. GIBBONS: I'm sorry, your Honor. I didn't

          9         mean to Usurp your position.

         10                       THE COURT: Okay.

         11                       THE DEFENDANT BALL:

         12         Q       Officer Pampena, this picture here, you took this

         13   picture; is that correct?

         14         A       Yes.

         15         Q       Was this picture taken before or after he       got out of
         16   the EMS truck?

         17         A       It was while he was in the EMS truck.

         18         0       This was taken while, can the ladies and gentlemen of

         19   the jury            I



20                                THE COURT: No, no.

         21         Q       Do you notice there is a window in this picture?

        22         A        No'.

        23         f-•I
                            .LL       IS.
24                                MR. SHORTT: Objection.

        25                        THE COURT: No.


                                                                                       NS
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                                                                              558
                          Parnpeno-People-Cross (Defendant Ball)

                    Q        There is a window in this picture?

       '2                         THE COURT: No, that is for the jury to decide.

          3                       THE DEFENDANT BALL: Can you let them look at it

          4         again?

          5                       THE COURT: If you want to make that a point of

          6         your closing statement, you may, but that's not how you do

          7         it here now.

          S                       THE DEFENDANT BALL: Okay. I apologize. On to

          9         the next question.

         10         Q        Now, once you gave -- you talked to the victim

         11   allegedly in the EMS truck, right?

         12         A        Yes.

         13         Q                                                 inside
                             Okay. He identified me while he was out --

         14   the ENS truck;, is that correct?

         15         A        When he was inside, yes.

         16         Q        Okay. What was you doing?

         17         A        Silting next to him listening to him.

         18         Q        Were you also outside standing next to me?

         19         A        No

         20         Q        Okay. Do you remember you testified to that in the

         21   suppression hearing?

         22                       MR. SFIORTT: Objection.

         23                       THE COURT: Again, do it right.

         24                       THE DEFENDANT BALL: Yes, sir.

         25         Q        I can even go on because it's not really relevant.


                                                                                    NS
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                                                                                   559
                               Pampeno-People-Cross (Defendant Ball)

               1               My concern is this you said you took a phone off me

               2   when you arrested me; is that correct?

               3         A     Yes,.

               4         Q     Okay.

               5               Now when you got me back to the crime scene, did you

               6   ever tell the victim that the person who had his property had

               7   already been arrested?

               8         A     No.'

                         Q     You never told him that?

              10         A     No:

              11         Q     Did any other police officers tell him that?

              12         A     No.

              13         Q No other police officers told him that You said

              14   that what you call recovered an iPhone and money from me; is

              15   that correct?

              16         A     Yes.

              17               Did you recover anything else from me?

              18        A      No.

              19        Q      Nothing else?

              20        A      No

             21         Q      Are you sure?

             22         A      Yes-

             23         Q      Okay. When you got back to the crime scene and you

             24       eventually you showed the victim, right, the property you got
II           25    off me; is that correct?


                                                                                         NS
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                                                                                560
                           Pampeno-People--Cross (Defendant Ball)

             1        A     After I asked him what was taken, yes.

             2        Q     You showed it to him; is that correct?

             3        A     Yes.

             4        Q     Did you ever show him a Blackberry?

5                     A     No

6                     Q     Okay. Thank you.

7                           So.you never showed him a Blackberry?

8                     A     No.

9                     Q     Okay. Right.

10                          So did another officer show him a Blackberry phone?

11                               MR. SE{ORTT: Objection.

12                               THE COURT: Did you ever see another officer show

         13           him a Blackberry phone?

         14           A     No, I did not.

                      Q     Vety good.

                            Officer Pampena, okay, did you ever see Officer

17               Lanning at the crime scene?

         18           A     No,.

         S            Q     While you were there?

20                    A     No.

21                    Q     So you never seen Officer Lanning there with you?

         22           A     No.

23                    Q     Okay. I just want to say something --

         24                      THE COURT: No, you want to ask questions.

         25                      THE DEFENDANT BALL: I want to ask questions.


                                                                                      NS
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                                                                              561
                            Pampeno-People-Cross (Defendant Ball)

          1         Okay.

          2         Q       It says here --

          3                      THE DEFENDANT BALL: Please forgive me, ladies and

          4         gentlemen of the jury, I'm working on it. Okay.

          5         Q       How long' -- you said it was 'a couple of minutes, so

          6 when you got back to the crime scene with me allegedly, from the

          7   time of 9:00, right, Officer Lanning, you said --

          8         A       Officer Pampena, sir.

          9         Q       Officer Pampena, I apologize.

         10         A       That's all right.

         11         Q       Officer Pampena, you said that when you arrested me

         12 on 105 Street and 32 Avenue and put the handcuffs on me, it took

         13 say two to three minutes to get me back to Northern Boulevard;

         14   is that correct, after 9:00?
         15         A       I don't understand your question.

         16         Q       Okay.

         17                      THE COURT: Between the time that you actually

         18         placed tie handcuffs on Mr. Ball, and the time you got to

         19         where the ambulance was, how much time elapsed?

         20         A       Approximately ten seconds.

         21         O       Soyou arrested me at 101 Street?

         22         A       No

         23         0       105 Street and 32 Avenue, transported me back to 105

         24 Street and Notthern Boulevard        for the showup at the ambulance
         25 within ten seconds?


                                                                                    NS
              I
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                                                                              562
                              Pampeno-People-Cross (Defendant Ball)

          1            A      No. I placed you in handcuffs at 105 Street and 32

          2       Avenue --      I




3                      Q      Took me back

          4                     THE COURT:
                                    COURT: Whoa. Finish the answer.

          5            A      I 151aced you in my vehicle, it took me about ten

          6 seconds to go from 105 and 32 Avenue to 105 Street and Northern

          7 Boulevard behind the ambulance.

          8            0      So-the total elapsed time would be one minute after

          9       9:00; is that correct?

         10            A      NotI still don't understand.

         11            Q      Officer Parnpena, I will say this again. You

         12       immediately arrived --

         13                     THE COURT: What time did you place him under in

         14            handcuffs?

         15            Q      At19:00 242 --

         16                     MR. SHORTT: Objection.

         17                     THE DEFENDANT BALL: I haven't asked anything.

         18                     THE COURT: Okay. Not only do you interrupt the

         19            witness, but now you are interrupting me.

         20                     THE DEFENDANT BALL: I apologize.

         21                     THE COURT: Do you know what time you actually

         22            placed handcuffs on Mr. Ball?

         23                     .THE WITNESS: Within a minute after we arrived at

         24            the scene, within a minute.

         25                     THE COURT: Okay.


                                                                                    NS
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                                                                              563
                          Parnpeno-People-Cross (Defendant Ball)

          I         Q     So one minute to arrive after 9:00 the original call

          2 went out at nine and ten seconds to get me from 105 Street and
          3   32 Avenue back to 105 Street; is that correct?

          4         A     Yes.

          5         Q     Total two minutes; is that correct?

          6         A     Correct, yes.

                    Q     Goad. Okay. Now, you said when you got there that

          8   the EMS truck-was there treating Mr. El Turkey; is that correct?

          9         A      Yes.

         10                   HE DEFENDANT BALL: Your Honor, I would like to

         11         put into:evidenCe the radio run sheet of the EMS truck we

         12         did not hear, but we have a radio run of their actual

         13         activity j and I would like to reflect that the EMS truck

         14         never arrived --

         15                   HE COURT: Don't read it.

         16                   HE DEFENDANT BALL: I apologize.

         17                  THE COURT: Mr. Shortt, do you have any objection?

         18                  MR. SHORTT: Well, since he already announced what

         19         it is, no objection. Put it in, Judge.

         20                  THE COURT: All right. Without objection. We

         21         have to nark it so stop.

         22                  Mark it in evidence without objection from Mr.

         23         Shortt or Mr. Gibbons.

         24                  MR. GIONS: No objection.

         25                   (Defendants Exhibit F, marked and received into


                                                                                    NE
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                            Pampeno-People--Cross (Defendant Ball)

          1         evidence).

          2                     HE COURT: Do you want the witness to look at

          3         this?

          4                    THE DEFENDANT BALL: The jury, please.

          5                    THE COURT: You want the jury to do what?

          6                    THE DEFENDANT BALL: Just to look at it.

          7                    THE COURT: To read the document?

          8                    THE DEFENDANT BALL: To recognize the time,

          9         particularly the arrival of EMS.

         10                    THE COURT: Why don't you ask the witness to read

         11         it now that it's in evidence?

         12         Q       Right. If you can tell us what time do you see that

         13   the EMS trucklarrived, according to that, if you go down it

         14   should be, it-will say arrival time. It says en route on scene

         15 give disposition ten nine eight and close. And it says here on

         16   scene at 21:11, that means eleven minutes after?

         17                        COURT: Is that what it says?

         18                    THE WITNESS: Yes.

         19                    THE COURT: On scene 21:11? That's eleven minutes

         20         after nine; is that correct?

         21                    THE WITNESS: Yes.

         22                    THE COURT: Okay.

         23                    'THE DEFENDANT BALL: Thank you. Can you let the

         24         jury look at that, please?

         25                    rrI-IE COURT: Well, I mean they read it.
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                          Pampeno-People-Cross (Defendant Ball)

          1                    THE DEFENDANT BALL: No, let them look for

          2         themseif.

          3                    THE COURT: They can have it when they deliberate

          4         on this ease if they want it.

          5         Q        That was on 106 Street not 105 Street?

          6                    MR. GIBBONS: Is that Defendant's Exhibit F?

          7                    THE COURT: Yes.

          8         O        If you will be mindful that's at 106 Street not 105

          9    Street they airived on 106 street --

         10                    MR. Sf-[ORTT: Is Mr. Ball testifying, your Honor?

         11                    THE COURT.: Well, he is not testifying, but the

         12         document he is reading from is in evidence so I will let

         13         him do it.

         14                    THE DEFENDANT BAIL: Thank you very much, your

         15         Honor. Is everybody ready?

         16                    THE COURT: Yes it's on you.

         17         0        Okay. So, Officer Pampena, after you showed the

         18 victim the alleged property, you showed him -- what did you show

         19   him at the crime scene, can you be specific and tell us what you

         20    showed him?

         21         A        After I asked him what was taken from him, he

         22 described the: black iPhone, and he described the exact currency

         23   that was taken. I showed him the phone, he said that was his so

         24   there was a code in order to access the phone. Once I was given

         25   the code, I unlocked the phone, and I went through the phone,


                                                                                    NS
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                            Pampeno-People-Cross (Defendant Ball)

           1 and it was actual pictures of 4r. El Turkey and his family in

          2 the phone, and the exact denominations that Mr. El Turkey said

          3 was the exactderiominations that you had in your pocket.

          4         Q       Is there anything else that you showed him at the

          5 crime scene other than the phone?

           6        A       No, and the money, no.

          7         Q       You never showed him the money?

          8         A       Afterwards, yes.

           9        Q       You showed him the money?

         10         A       Yes.

         11         Q       NoW.

12                          At the time that you showed him this evidence, where

         13 was Mr. Ball, where was I in with respect to Mr. El Turkey?

         14         A       You were in front of the police vehicle.

         15         Q       Where was Mr. El Turkey?

         16         A       He was in the ambulance at 105 Street and Northern

         17    Boulevard.

         18         Q       So' you showed him the phone and the money as well

         19 inside the ambulance?

         20         A       Yes.

         21         Q       Great. Of ficr Pampena, do you understand that

         22    perjury is a crime?

         23                   MR. SHORTT: Objection.

         24         Q       11m asking you a question.

         25                   THE COURT: I will allow it. Are you aware of


                                                                                    NS
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                                                                              567
                            Pampeno-People-Cross (Defendant Ball)

           1        that?

           2        A       Absolutely.

           3        Q       Officer Pampena, let me take my time because there is

           4 a very important issue that hasn't been addressed as of yet so

           5   just bepatiet with me.

           6                   (Whereupon, there was a brief pause in the

           7        proceedings.)

           8        Q       We are reading from the first suppression hearing,

           9 May 21, 2013. Referring to page 29 line 24 -- or 23, 23 down.

         10    It reads:

         11                    (Reading:) And you also said that there was

         12         someone else there, someone I think that you said was

         13         Mr. Brooks. Did you actually see Mr. Brooks at the scene?

         14                   And your response was:

         15                    (Reading:) No, he was already in the vehicle being

         16         transported away as I was arriving at the scene.

         17                   So I would like to ask you when you arrived at 105

         18         Street and Northern Boulevard with me in tow two minutes

         19         after nine, Mr. Brooks was being transported away according

         20         to your testimony, okay, in the vehicle --

         21                   MR. SHORTT: Objection, improper impeachment.

         22                   :THE COURT: Let him finish the question.

         23         Q       Arid I would like you to. help us with this, when you

         24 arrived at the crime scene two minutes after, no other officer

         25 was present; is that correct?


                                                                                    ME
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                          Pampeno-People-Cross (Defendant Ball)

          1         A      Coirect.

2                   Q      Officer Lanning wasn't there?

          3         A      Correct.

          4         Q      Okay. You know, I want to ask you a couple of things

          5 in respect to the pictures that were shown earlier with the

          6 exhibit with the money.

          7                You took pictures of that money; is that correct?

          B         A      No, I scanned it on a Xerox machine at the precinct.

          9         Q      YOU scanned it?

         10         A      Yes.

         11         Q      Okay. At the precinct?

         12         A      Yes.

         13         Q      Oky. Was there any blood or anything on that money?

         14         A      Not that I recall, no.

         15         Q      No blood on the money, okay. Was there any blood on

         16 me?

         17         A      No.

         18         Q      Was there any dirt on me?

         19         A      Your clothes were disheveled when we stopped you.

         20         Q      I didn't ask you disheveled. Were there dirt,

         21    anything dirty?

         22         A      Not that I recall.

         23         Q      And I had on a white shirt; is that correct?

         24         A      Yes.

         25         Q      Would you not have taken notice --


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             1                MR. SI-iORTT: Objection.

             2        Q     I'm asking whether or not you would have taken notice

        '3 of the fact that my shirt would have been dirty, scuffed, blood

             4   on it in the case that it was white?

             5        A     Na.

             6        Q     You wouldn't have took notice of that as a police

             7   officer?

             8                MR. SHORTT: Objection. Compound question.

             9                THE COURT: He is asking you, officer, had there

          10          been blood had there been dirt on his T-shirt at the time

          11          you apprehended him, would you have noticed it?

          12                  THE WITNESS: Yes.

          13          Q     Of course you would have. But you didn't notice?

          14          A     I,did not notice.

          15          Q     Did you not notice because you didn't notice or it

          16 was none there?

          17                  MR. SFIORTT: Objection.

          18          Q     I'm asking?

          19                I : did not notice.

         20           Q     Because you did not notice or it just wasn't there?

         21           A     I did not notice anything on your shirt.

         22           Q     And I'm asking you what was the reason that you

         23      didn't notice?

         2                    MR. SHORTT: Objection.

         25           Q     Did you notice out of negligence, out of just sheer


                                                                                     NS
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                                        Parnpeno-People-Redirect

                    as an officer; negligence, or did you not notice it because it

                2   wasn't there?

                                     HE COURT: I think what he is trying ask you is

                4        do you recall that his shirt was clean?

                                    :THE WITNESS: No, I do not recall.

                6                   THE COURT: You don't recall one way or the

                7        another?

                         A      Correct.

                9        0      Okay.

               10               However, your recollection to other things concerning

              11    this case and . that day is fresh in your mind; is that correct?

               12        A      Say that again.

               13        Q      The things that took place that night, you see, that
I-
              14    you recalling: now for us and the jurors, you are able to recall
15                  them for sure,; is that correct?

              16         A      Yes.

              17         Q      Of course you are. You know, Officer Pampena, you

              18    have been a lot of help. I would like to continue asking you

              19 more questions, but       it's not -- there is no need. Thank you
              20 very much.

              21                    THE COURT: Thank you very much.      Any redirect?

              22                    MR. SHORTT: Yes, Judge. Can we show the witness

              23          People's Exhibits three and   four in evidence, please.
              24 REDIRECT EXAMINATION

              25    BY MR. SHORTT;


                                                                                          NS
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                                   Pampeno-People-Redirect

           1        Q      Officer, could you indicate where you spoke to Mr. El

          2 Turkey on Peoples Exhibit -- point to it and please mark where

           3   that location is?

           4                 THE COURT: Make sure the jury sees it. Now

           5        display it. You can't see it?

           6                 THE DEFENDANT BALL: I just want to understand

           7        what was his question because I'm not sure what was the

           8        question.

           9                 THE COURT: Do you want to rephrase?

         10                  MR. SF-IORTT: Yes, I will clarify it.

         11         Q      I will ask the officer to specifically, draw an X at

         12    the location where he spoke to Mr. El Turkey for the first time.

         13                  THE DEFENDANT BALL: Is that inside the ambulance?

         14                  TEE COURT; You mean the ambulance?

         15                  THE DEFENDANT BALL: Yes, that was the first time

          16        he spoke' with him.

          17                 MR. SHORTT: Yes.

          18                 THE COURT: All right.

          19                    (Witness complies.)

         20         Q      Officer, how close to that location that you have now

         21 marked with an X was the location where Mr. El Turkey got

         22 robbed?

         23         A      It was right across the street at the corner of 105.

         24    The ambulance' was at the southeast corner, and the location that

         25    it happened was the southwest corner.


                                                                                    NS
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                                  Pampeno-People-Redirect

           I        Q      Could you mark on there with the letter D where the

           2 first time you saw the defendant Ball and also draw an arrow

           3 indicating the direction where he was running.

           4        A      (Witness complies.)

           5        Q      Now, Officer,   you remember Mr. Ball asking you what

           6 property was shown to the complainant?

                    A      Yes.

           S        Q      Whn did you show that property to the complainant?

           9        A      1t was in the ambulance after I asked him what was

         10    taken from hin.

         •11        Q      Was that before or after he pointed out Mr. Ball as

         12 the person tht took that property?

         13         A      That was before.

         14         Q      I'm sorry. What was that?

         15                  'THE DEFENDANT BALL: He said before.

         16         Q      Vin sorry, officer. To be clear, did you show the

         17    property to Mr. El Turkey before or after he identified

         18    Mr. Ball?

         19         A      11m sorry. It was after.

         20         Q      HoW soon after?

         21         A      As! soon as he said that was him that took the stuff

         22 out of my pockets, I asked him what was taken, he told me and it

         23    was directly after that.

         24         Q      Officer, was there any other property recovered from

         25    the scene that day?


                                                                                    NS
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                                   Pameno-People-Redirect

           I         A      Yes.

                     Q      What else was recovered?

           3         A      The victim, Mr. El Turkey's wallet and his I.D. and

           4 Social Security card were on the sewer grate at 105 and Northern

               Boulevard.

           6                  MR. SHOTT: Can we show the witness People's

           7         Exhibits 1 and 2.

                              (Handing.)

                     Q      Officer, do you see the place where you found the

          10   victim's wallet and paperwork?

          11         A      Yes.

          12         Q      I ' ask you to take the marker and draw a circle around

          13 the place where you recovered the victim's other property.

          14         A      (Witness complies.)

          15                  MR. SI-IORTT: Can we show that to the jury where the

          16         officer circled.

          17         Q      Officer, when was that property recovered?

          18                  MR. GIBBONS: Can I see that?

          19                  (Handing.)

          20                  THE DEFENDANT BALL: Can I see it?

          21                  (Handing).

         22         Q       When did you find Mr. El Turkey's wallet and

         23    identificatidn?

         24         A       After I was done speaking with him, he told me where

         25 he was assaulted at so we just canvassed the area just to see if


                                                                                     NS
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                                      Pampeno-People-Redirect

               1   there was anymore evidence or anything else that would be

               2   beneficial to the case.

               3        Q     Eventually was that an or under the sewer grate?

               4        A     It: was right on top.

                        Q     What did you do with that property?

               6        A     I picked it up. Once I seen that it belonged to

               7   Mr. El Turkey, it was all his important information like Social

               8   Security cards and I.D. I returned it back to Mr. El Turkey.

               9        Q     Was that on scene or back at the precinct?

         10             A     On scene.
         I                    So there were multiple times that you showed Mr. El
          .1            Q

          12       Turkey property?

                        A     Yes.

          14            Q     And this was already after he had already identified

          15       the defendant?

          16            A     Yes.

          17            Q     Officer, how long were you on scene at 105 and

          18       Northern Boulevard for?

          19            A     Approximately five to seven minutes.

          20            Q     Officer, the term on scene, is that a police

          21       terminology?

          22            A     Yes.

          23            Q     What does it mean?

         24             A     Whenever we arrive on a scene and its safe for us to

          25       take a breath, and say all right central we are on scene does


                                                                                     NS
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                                    Pampeno-People-Redirect

           1 not necessarily mean that's the exact time we got there, it can

          2 range from seconds to minutes to the time that we tell central

           3 that we are on scene because there may be a more pressing matter

           4   on hands.

           5        Q        Do you regularly work with the fire department?

           6        A        Yes.

           7        Q        Would the same be true for the New York City Fire

               Department?

           9        A        Yes.

         10         Q        Officer, after Mr. El Turkey identified Mr. Ball as

         11 the person that took his property, did you have another

         12 conversation with Mr. Ball at that time?

         13         A        Yes.

         14         Q        Could you tell the members of the jury about that

         15 conversation?

         16         A        As we were driving back to the 115 Precinct, Mr. Ball

         17 asked what he was being charged with, I told him he was being

               charged with robbery. Then he stated to me, well, if he says

         19    it's his, I giiess it's his.

         20                    MR. 5I-IORTT: Nothing further.

         21                    THE COURT: Mr. Gibbons?

         22                    MR. GIBBONS: I don't believe when Officer Pampena

         23         identifid my client's unusual teeth that I put it into the

         24         record a description of what the teeth looked like.

         25                    THE COURT: Go ahead.


                                                                                    NS
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                         Pamperio-People--Recross (Defendant Ball)

           I                  MR. GIBBONS: Missing it looks like on the
           2         left-hand side almost all of the front teeth and two or

           3        three of the bottom teeth directly in front of his mouth.

           4                  THE COURT: The record will reflect.

           S RECROSS EXAMINATION
           6   BY MR. GIBBONS:

           7        Q      Is that a fair representation of what the teeth

           8   looked like?

           9        A      Yes.

         10                   MR. GIBBONS: The jurors saw that?       All right.

         11         Thank you, your Honor.

         12                   THE COURT: Mr. Ball, anything else?

         13                   THE DEFENDANT BALL: Yes, sir.

         14 RECROSS EXAMINATION
         15 BY THE DEFENDANT BALL:
         16         Q      Officer Pampena, you just said that you filled out

         17 two complaints, two what is called felony complaint reports?
         18                   MR. SI-IORTT: Objection, beyond the scope.

         19                   THE COURT: Sustained. Beyond the scope of

         20         redirect:.

         21                   THE DEFENDANT BALL: Well, I have in my presence,

         22         your Honor, a copy of the complaint that was filed by --

         23                   THE COURT: I understand that, but 1 1 m sustaining

         24         his objetion on the grounds that it's beyond the scope of

         25         his redirect examination.


                                                                                    NS
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                         Pampeno-People-Recross (Defendant Ball)

          1                  At this stage you are limited to cross examining

          2         on those matters that Mr. Shortt brought out on redirect,

          3         and the felony complaints were not part of his redirect.

          4         Q      Officer Pampena, in respect to the description that

          5 was given of the, did the victim ever give you a description of

          6 me?

          7                  MR. SHORTT: Objection.

          8                  THE COURT: I will allow it.

          9         A      Yes.

         10         Q      Yes?

         11         A      Yes.

         12         Q     Cai!i you tell us what that description was?

         13         A     Male black with white T-shirt, black pants.

         14         Q     Now, let's be specific because what happens is

         15                  THE DEFENDANT BALL:   Your Honor.

         16                  THE COURT: Ask the question.

         17         Q     There is two people that were arrested that night?

         18                  THE COURT: All right.

         19         Q     There was two people, Mr. Brooks and myself fit that

         20   same description?

         21                  THE COURT: No, no, no.

         22         Q     Okay. Well, can you specifically --

         23                  THE COURT: The description that you just

         24         described --

         25        Q      Ofme--


                                                                                    NS
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                                                                                578
                            Pampeno-People'-Recross (Defendant Ball)

              1                   .THE COURT: Hang on. The description that you

              2        just stated that the complainant gave you, did the

              3        complainant tell you which of the two individuals that

              4        description reflected?

              5                   THE WITNESS: Yes, at the scene he described

              6        Mr. Ball as the shorter smaller one --

          7                       THE COURT: Okay.

          a                       THE WITNESS: -- was the one that started

          9            assaulting him, but then as the other individual was

         10            assaulting him, Mr. Ball took the property from his

         11            pockets.

         12                       THE COURT: And the description you just gave us?

         13                       THE WITNESS; Male black --

         14                       THE COURT: Was the individual who took the

         15            wallet, is that what you are saying?

         16                       THE WITNESS: Yes, the wallet and the cell phone.

         17            Q     Okay. But now you never recovered a wallet from me;

         18       is that correát?

         19            A     Correct.

         20            Q     Okay.

                             Now, did the victim ever indicate to you that the

         22 person who did this to him was gay?

         23                       MR. SHORTT: Objection.

         24                       THE COURT: Sustained.

         25           Q      Did he give you any description as to the
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                         Pamp.eno-People-Recross Defendant Ball)

          1    individual's preference?

          2                   MR. SHORTT: Objection.

          3                   THE COURT: Sexual preference?

          4                   THE DEFENDANT BALL: No, as you know.

          5         Q      In anything other than -- because short is a vague

          6   description.?

          7                   THE COURT: No, he did not say short. He said the

                    shorter of the two men.

          9         Q      Oky, but that's very vague. Did he give you

         10 anything else other than shorter of the two men because that's

         11 very vague?

         12         A      No.

         13         Q      So: you didn't have any other description other than

         14   shorter?

         15         A      Yes.

         16         Q      Is that correct?

         17         A      Yes.

         18         O      Okay. Did you ever take Mr. Brooks to the precinct

         19 and put him in a cell?

         20         A      No.

         21         Q      Never did. Thank you, Officer, you have been a help.

         22                      HE COURT: Anything else?

         23                   MR. SfIORTT: One question.

         24 REDIRECT EXAMINATION

         25   BY MR. S{ORTT:


                                                                                    NS
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                                   Pampeno-People-Recross

           1        Q      Did Mr. El Turkey ever indicate whether or not he had

           2   seen Mr. Ball before?

           3        A      Yes.

           4        Q      Could you tell us about that?

           5        A      Mr. El Turkey told me that he had seen him before.

           6 Mr. El Turkey frequents the area that's where he cashes his

           7   checks at, and he always sees the defendant Mr. Raymond Ball

           8   around 105 Street and Northern Boulevard.

           9                 THE DEFENDANT BALL: I would like to stop him at

         10         that point because you see what happens is --

         11                  THE COURT: No. Are you finished with your

         12         questioning?

         13                  MR. SHORTT: Yes.

         14                  THE COURT: Do you want to ask him another

         15         question about what the officer just testified to?

         16                  .THE DEFENDANT BALL: Yes, because what happened

         17         under sixty twenty five --

         18                  THE COURT: Do you have any questions about what

         19         the witness just testified to?

         20 RECROSS EXAMINATION

         21 B y THE DEFENDANT BALL:

         22         Q      Did you write it down?

         23         A      No.

         24         Q      You never wrote it down?

         25         A      No.


                                                                                    NS
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                                   Pampeno-People-Recross

           1         Q     You didn't write anything down while he was at the

          2 crime scene?

           3         A     I wrote down the victim's --

           4         Q     Throughout this whole ordeal did you write anything

           5 down?

           6         A     Yes.

           7         Q     What did you write down?

S                    A     The description of the area where it was at, the

           9   address.

         10                  THE COURT: Now we are going beyond. You are on

         ii          re-recross, sir.

         12                  MR. GIBBONS: I do have one issue.

         13 RECROSS EXAMINATION

         14    BY MR. GIBBONS:
15                   Q     You just testified I think just a second ago and

         16    earlier that the complainant told you that Mr. Ball started the

         17    assault?

         18          A     He was one of the-ones that started the assault.

         19                  MR. GIBBONS: Okay

         20                  rHE DEFENDANT BALL: Your Honor --

         21                  THE COURT: We are not going to keep doing this.

         22    RECROSS EXAMINATION

         23 BY THE DEFENDANT BALL:

         24          Q     Where did this alleged crime, where did it start?

         25                  MR. SHORTT: Objection.


                                                                                    NS
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          1                    THE COURT: No, we are not going there.

          2         Sustained. Anything else?

          3                    MR. Sf1ORTT: No, Judge.

          4                    THE COURT: Mr. Gibbons, anything else?

          5                    ?4R. GIBBONS: No, your Honor.

          6                    THE COURT: Mr. Ball, anything else?

          7                    THE DEFENDANT BALL: Thank you very much.

          B                    THE COURT: Thank you, Officer. You may step

          9         down.

         10                    '(Witness excused.)

         11                    THE COURT: Mr. Shortt?

         12                    MR. SHORTT: Your Honor, the People rest.

         13                    THE COURT: All right. Ladies and gentlemen, that

         14         concludes what we are going to do today. As I indicated to

         15         you when we first met this morning, we are not going to

         16         work on Tuesday, I expect that we will work on Wednesday at

         17         10 A.P4.,:and if that turns out to be impossible because of

         18         the storm conditions that we anticipate happening, we will

         19         call you      But if you don't hear from us, then I expect you

         20         to be here at 10:00 on Wednesday. And if the weather

         21         changes my mind, we will contact all of you so that you

         22         don't have to come in for nothing. In the meantime, do not

         23         discuss this case amongst yourselves. Do not go to the

         24         scene of.the alleged incident, and when I say that, I mean

         25         all of the scenes that have been testified to in the case.


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                1                  Do not speak to the attorneys, the parties, the

               2         witnesse;s. Do not research this case in any way. Should

                3        anybody speak to you about this case, report it to the

                4        officer immediately. I thank you for your service and your

                5        attention today. We will reconvene on Wednesday at 10 A.M.

                6        weather permitting.

               7                  Officer, take charge. Everybody safe home. Good

               8         luck.

                9                  (Jurors exit the courtroom.)

              10                  THE COURT: Mr. Gibbons, do you have a motion?

              ii                  MR. GIBBONS: Your Honor, at this time I move to

              12         have the charges dismissed based on the fact that the

              13         People have failed to make out a prima facie case. There
II

              14         was no evidence at all tying my client to the crime other

              15         than the complainants identification of him, and I submit

              16         the identification did not match the description Mr. El

              17         Turkey gave. My client was dressed differently, hair was

              18         different, he was wearing a hat, he was at the crime scene

              19         missing teeth, none of these things mentioned by Mr. El

              20         Turkey. The only evidence connecting my client to this is

              21         that quick point out from a person clearly in a compromised

              22         position because of the vicious assault he had just

              23         undergone. I ask the Court to dismiss the charges against

              24         my client.

              25                  THE COURT: Mr. Shcrtt?


                                                                                         NS
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               I                  MR. SHORTT: Viewing the evidence in the light most

               2         favorable to the People Mr. El Turkey made an on scene

               3         identification. Those are all factual points to be argued

               4         the summation.

               5                  THE COURT: The motion is denied. Mr. Ball?

               6                  THE DEFENDANT BALL: I would like to move to have

               7         the case dismissed based on insufficient evidence, perjury,

               8         what do you call, fraud, your Honor. What happens is we

               9         have haci already an opportunity to cross examine the victim

              10         and Officer Lanriing. They both testified to the fact that

              11         Mr. Pampena, the one who said he wasn't at the crime scene

              12         that he was at the crime scene, that the identification of
I             13        me took place outside of the ambulance. Officer Pampena

              14         testified that the identification took place inside.

              15         Everything that he testified to today, your Honor, was

              16        contradicted not only by the victim but his officer.

             17                  Your Honor, you have been making very good

             18         Judgment: calls and I would ask you, use your good judgment,

             19         your Honor, in assessing what you seen so far, and I would

             20         ask to you make a decision and have this case dismissed

             21         immediately and please have it referred immediately to lAD

             22         internal: affairs division that we can get a better

             23         understanding of the things that have not been brought

             24         forth to this Court. Mr. Brooks here he was taken into

             25         custody, we still haven't established who was the officers


                                                                                         NS
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              1      that teak him to the precinct. I was arrested on 104

           2         Street and 32 Avenue, your Honor, and it still hasn't been

           3         established. It showed today that Mr. Lanning couldn't

           4         have been there because he was at the crime scene with

           5        Officer Lanning who testified that Pampeha was there

           6        yesterday with him, and there is no way that he could have

           7        made it to the crime scene with me in tow and the person

           8        was there at the crime scene being treated two minutes

           9        after the incident and the EMS truck never even arrived at

         10         the crime scene until eleven minutes after. Everything

         11         here shows that this case thus far has been a farce.

         12                  Your Honor, all due respect, you know, you know,

         13         you talk' about everybody's experience, you know. I

         14         understand and now I want to just reflect on your

         15         experience as a judges and the many years that you have sat

         16         on this bench, y our Honor, the description that was given

         17         of me by , the victim, your Honor. Specifically I said the

         18         victim that the officers told him that the property was

         19         taken by the dude and they already had him prior to his

         20         even seeing the person. Everything about this case, your

         21         Honor, there is a lot of what you call illegal things,

         22         crimes being committed against me and Mr. Brooks. They

         23         said the.victim said that when he went to the precinct that

         24         he seen me in handcuffs. Your Honor, everything about this

         25         case not me, but I'm asking you to use your judgment call.


                                                                                     NS
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                   1      You know with all due respect, you have been here on this

                   2      bench for many years. You make a judgment call as to the

                   3      assessment in the beginning, from the beginning to right

                   4      now all this man has ever put into evidence is a nice

                   5      laminated picture, that's it. That's the only evidence

                   6      that has been brought by the District Attorney. It is not

                7         enough in comparison to all the things that we have shown

                8         that shows our innocence and the impossibilities of what is

                9         called what I been saying from the beginning. Sequence of

               10         events, your Honor, sequence of events, timing, evidence

               11         that what you call corroborate the allegations being made
-I
12                       against us, your Honor. The victim said they brought him a

I:            13         Blackberry that wasn't his, and he testified that the

              14         officers were finding stuff inside the grate while he was

              15         there, he seen them.

              16                  Your Honor, we been locked up two and a half years

              17         based on this. I throw myself at the mercy of the Court

              18         today. Please do not send us back. Colluding and suborn

              19         is a serious violation, man, to conspire, one or more

              20         persons to conspire against individuals to prevent them

              21         from being able to enjoy the simple rights of our

              22         constitution, your Honor, is a serious crime, and that is

              23         not what our country represents. That's the reason I'm

              24         here, your Honor, contrary to popular belief representing

F             25         myself because I truly love our country and, your Honor,


                                                                                          NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 733 of 907 PageID #: 1096


                                                                               587
                                          Proceedings

              1      I'm innocent, and I couldn't wait for today, your Honor, to

              2      have my day in court please use your good judgment and not

              3      have us go back.

              4                THE COURT: Thank you. Mr. Shortt?

              5                MR. SHORTT: Your Honor, I will rely on the same

              6      record.

              7                THE COURT: All right. Some of the arguments you

              S      are making Mr. Bail --

                               THE DEFENDANT BALL: If not, your Honor,

          10        dismissal, at least allow us to be released on our own

          11         recognizance.

         12                    THE COURT: I'm not going to do that, Mr. Ball.

                    Many of the arguments that you have advanced you can and

         14         I'm sure. will use as part of your closing statements, but

         15         at this point my power to pass on this motion is limited to

         16         whether or not in a light most favorable to the People the

         17         evidence has established a prima fade case. I do find

         18         that it has established a prima     fade case and,
         19         accordingly, your motion is denied.

         20                    Mr. Gibbons, is it your intention to rest on

         21         Wednesday?

         22                    MR. GIBBONS: It is.

         23                    THE COURT: Mr. Ball, what are your intentions

         24         with respect to a defense?

         25                    THE DEFENDANT BALL: Your Honor, I would like to


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Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 734 of 907 PageID #: 1097


                                                                               588
                                         Proceedings

              1      make on6 more request because there was a reading today of

              2      the 9-1--I report and the reading came from the police

              3      officer; and I would like to have an independent reading

        .4           done byone of the persons independent from the defense as

              5      well as:,--

           6                 .THE COURT: That I will not do. The evidence

           7         itself is in evidence. I let it in evidence. The District

                     Attorney let it in without objection, and it speaks for

           9         itself. : The jury, should they desire to look at that

          10         SPRINT report when they are deliberating, they will have it

          11         in the jury room. You can ask them on your closing

          12         statement to look at it, you can invite them to look at

          13         that document and if they ask for it, I will give it to

          14         them, but there is no necessity to reread the document at

          15         this time. So the question becomes I am still trying to

          16         figure cut scheduling.

          17                  THE DEFENDANT BALL: I would    still like to have

          is         the EMS come in and testify because it will clarify that

          19        Officer Lanning and the victim were never inside the EMS,

         20         and I think that would weigh heavily.

         21                  THE COURT: Do we know that? Do we have any

         22         evidence that's what the EMS officer is going to testify?

         23                  THE DEFENDANT BALL: Yes, I have it here. I can

         24         indicate to you here it's simple. In every EMS report in

         25         order for them when they fill out the EMS report which I


                                                                                     NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 735 of 907 PageID #: 1098


                                                                               589
                                         Proceedings

              1      have here it indicates here at the bottom it says removed

              2      to vehicle by and it has chair, walk, carry, scooped,

              3      fleet, stretcher or met at ambulance.

              4               THE COURT: Now you are just reading to me what

              5      the boxes are that they check off.

              6               THE DEFENDANT BALL: Yes.

           7                  THE COURT: So my question is has anybody spoken

           B         to this EMS officer, or is there any indication that he is

           9         going to testify the way you say?

          10                 THE DEFENDANT BALL: We have the investigator

          11        doing everything he can.

         12                  ' THE COURT: Has he spoken to the EMS?

         13                  THE DEFENDANT BALL: I think what happened is

         14         there was an issue of being able to write up the paper, the

         15         subpoena. that he needed. Miss Povman did not do it, and I

         16         don't have access to the law library.

         17                  THE COURT: Mr. Shortt already indicated he is

         18         going to make an effort to bring him in. Has anybody

         19         spoken to this person?

         20                  MR. GIBBONS: I have not.

         21                  !ruE DEFENDANT BALL: Yes so --

         22                  MR. SHORTT: I have.

         23                  THE COURT: Okay. Have you asked him that

         24         specific question whether or not --

         25                  THE DEFENDANT BALL: Your Honor, we need to have


                                                                                     NS
 Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 736 of 907 PageID #: 1099


                                                                                590
                              I             Proceedings

         Ii           them in. We can't rely on him so they can testify.

            2                     THE COURT: I know but I am asking you for what we

            3         call an offer of proof that this officer --

            4                     THE DEFENDANT BALL: Your Honor, this is blank.

            5                     THE COURT: I understand that, whether or not this

            6         officer is going to say that the police officer was never

            7         in the --

            8                     THE DEFENDANT BALL: We won't know until we get

                      him here, that's the point of us giving him the opportunity

           10         to come here and us cross examining him, your Honor.

           Ii-THE COURT: You have spoken to him?
           12                     MR. SHORTT: Yes.

           13                     THE COURT: Have you broached this subject with

1 4him?

           15                     MR. SHORTT: Yes.

           16                     THE COURT: What did he say?

           17                     MR. SHORTT: He has absolutely no recollection of

           18         the events whatsoever. He acknowledges his signature on

           19         the form, but he has treated a lot of sick people, Judge,

          20          this is one of thousands.

          21                      THE COURT: So the question becomes the reason I

          22         am raising this with you, Mr. Ball, is as I'm sure you

          23         know, we are about to have potentially one of the greatest

          24         historic: blizzards in the history of this city.

          25                      THE DEFENDANT BALL: Your Honor --


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Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 737 of 907 PageID #: 1100


                                                                               591
                                           Proceedings

           1                    THE COURT: Let me finish. If that in fact comes

           2         to pass,, this gentleman is an emergency medical technician,

           3         it may be extremely difficult to actually get him into this

           4         court rather than have him be out saving lives.

                                THE DEFENDANT BALL: Your Honor, we had the police

           6         officers here, he could have been out saving lives.

           7                    THE COURT: But it's only snowing lightly out now

           8         I think;

           9                    THE DEFENDANT BALL: Your Honor, I will not accept

          10         that as an excuse. Our lives are on the line here.

          11                    THE COURT: Mr. Shortt, try and get him in for

          12         Wednesday.

          13                    MR. SJ-LORTT: I will do my best.

          14                    THE DEFENDANT BALL: Can you sign a subpoena?

          15                    THE COURT: Of course.

          16                 .THE DEFENDANT BALL: He said he has to get it

          17         wrote up.

          18                    MS. POVMAN: I have to go to my office.

          19                    THE DEFENDANT BALL: You had time.

          20                    THE COURT: The District Attorney has more muscle

          21         than your investigator. If anybody can get him in, it will

          22         be the JA but understand the city --

          23                    THE DEFENDANT BALL: He hasn't made a commitment.

          24                    THE COURT: All he can do is make a commitment to

          25         do his best, but the city is potentially going to be under


                                                                                       NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 738 of 907 PageID #: 1101


                                                                               592
                                          Proceedings

           1         siege from the weather, and it may be that he will not be

           2         able to come in Wednesday. If that happens, we will

           3         reconvene Wednesday and make a judgment about what we will

4                    do.

           5                    THE DEFENDANT BALL: We need him, your Honor. He

           6         is the final link, your Honor, that puts this whole thing

           7         togethe.

           8                    THE COURT: Apparently what he is going to say is

           9         he has no memory.

          10                    THE DEFENDANT BALL: We are not asking that. We

          11         will do the same thing as everything else, present him with

          12         the evidence to recollect his memory because this document

          13         so he can let us know from this what it says or doesn't say

          14         what happened.

          15                    THE COURT: Mr. Shortt, did you try and refresh

          16         his recollection about this?

17                              MR. SHORTT: I did, Judge. He has no -- I showed

          18         him a photograph of Mr. El Turkey. He has no recollection

          19         of this event. He acknowledges that's his form, but he

         20          remembers the location but in terms of anything else about

         21          the job,; absolutely no recollection whatsoever.

         22                     THE DEFENDANT BALL: Did you ask him whether or

         23         not he treated Mr. El Turkey?

         24                     MR. SHORTT: He says I remember filling out this

         25          form - -


                                                                                     NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 739 of 907 PageID #: 1102


                                                                               593
                                         Proceedings

           1                  THE DEFENDANT BALL: Did you ask him --

           2                  MR. SHORTT: Excuse me. Do not it cut me off.

           3         Enough Of the circus today.

           4                  THE DEFENDANT BALL: Circus, did he --

           5                  THE COURT: Stop. Don't talk to each other. Talk

           6         to me.

           7                  THE DEFENDANT BALL: Did he ask him whether or not

           8         he treated Mr. El Turkey in the ambulance and if so --

           9                  MR. SHORTT: I did.

          10                  THE COURT: What did he say?

          11                  MR. SHORTT: Be has no recollection other than

          12         that's my signature on the form. He says --

          13                  THE DEFENDANT BALL: Can we have him in so we can

14                   questior him?

          15                  THE COURT: I cannot promise you that will happen

          16         for the reasons I explained.

          17                  THE DEFENDANT BALL: I ask the Court to be patient

          18         with the investigator because I can't rely on him to bring

          19         it into court.

          20                  THE COURT: The investigator will be facing a

          21         blizzard also.

          22                  THE DEFENDANT BALL: But I can't rely on the

          23         District Attorney to bring into court evidence that will go

24                   against him.

                              THE COURT: The question that I am trying to work


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Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 740 of 907 PageID #: 1103


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                                         Proceedings

           1         myself up to here is that can we come to an agreement in

           2         some fashion between the two parties or the three parties

           3         between 'you and Mr. Shortt really, as to what this officer,

           4         this EMT officer would say were he called to the witness

           5         stand. That's the question, can you come to an agreement

           6         with Mr.: Shortt about that?

           7                  THE DEFENDANT BALL: Yes, you know how if 11m

           8         given tHe information how I can contact the EMS worker and

           9         speak to himself, that's how we can come to an

          10         understanding if I can have an opportunity to question him

          11         at some other time if he can make him available to me.

          12                 THE COURT: How about if your investigator or Miss

          13         Povman does that?

          14                 THE DEFENDANT BALL: I would -

         15                  :THE COURT: Your circumstances would make it a

         16         little difficult.            -

         17                  THE DEFENDANT BALL: Your Honor, I can always call

         18         him on the phone.

         19                  THE COURT: I'm not sure to turn over the

         20         telephone number.

         21                  THE DEFENDANT CALL: If it's okay with him the EMS

         22         worker H-

         23                  THE COURT: How about if you have Miss Povman and

         24         you have the investigator who can do it?

         25                  THE DEFENDANT BALL: That's fine.


                                                                                     NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 741 of 907 PageID #: 1104


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                                           Proceedings

              1                 THE COURT: Is there a way that they can

              2      communicate?

              3                 MR. SHORTT: Judge, I don't have the guy's number.

              4                 THE DEFENDANT BALL: Would you, your Honor? He

              5      said he just had contact with him. How can he not have the

              6      information to get the guy now.

              7                 THE COURT: Because that's not how they get the

              8      cops in.

              9                 THE DEFENDANT BALL: We are not talking about

          10        cops.

         ii                     THE COURT: That's not how they get EMT people in,

         12         that's the procedure, and it's not by calling private
         1
                    numbers.-

         14                     THE DEFENDANT BALL: I'm not asking him to. He

         15         obviously had contact with the EMS worker, and however it

         16         was that' he contacted him --

         17                     THE COURT: Do you have Miss Povman's number?

         18                     MR. SHORTT: Yes.

         19                     THE COURT: Do you have the investigator's number?

         20                     MR. SHORTT: I don't, but I'm sure I can get it

         21         from Miss Povman.

         22                     THE DEFENDANT BALL: Make that information

         23         available.

         24                  THE COURT: If we can make that marriage --

         25                  MR. SHORTT: He will be subpoenaed for tomorrow.


                                                                                     NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 742 of 907 PageID #: 1105


                                                                               596
                                           Proceedings

              I      If he shows up I will put him on the phone with Miss

           2         Povman -

           3                    THE DEFENDANT BALL: I can't have him to talk to

           4        Miss Povman or the investigator. I would like to have the

           5        opportunity to ask questions.

           6                    THE COURT: I can't promise you that.

           7                    THE DEFENDANT BALL: Look, your Honor, I'm

           8        representing myself for you not to all me to ask him

           9        questions would be a violation of my constitutional rights

         'U         representing myself.

         •1'
         --i-                   THE COURT: The question that . 1 was trying to

         12         broach --

         13                     THE DEFENDANT BALL: I understand   what you are

         14         saying.

         15                     THE COURT: Merely if there can be an agreement.

         16                     THE DEFENDANT BALL: Yes, I will tell you what if

         17         he makes the person available to the investigator, the

         18         investigator I can call him and we can do a three way,

         19         that's easy. As long as it's not an objection to the EMS

         20         worker, I don't see where it should be an objection to

         21         anybody.

         22                     MR. SHORTT: Let's see what happens Wednesday, your

         23         Honor. I'm not making any commitments to phone calls with

         24         defendants on Rikers Island. Let's see what happens on

         25         Wednesday -


                                                                                     NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 743 of 907 PageID #: 1106


                                                                               597
                                          Proceedings

              1               THE COURT: Anybody who has any requests to charge

           2         in case we go to the jury Wednesday?

              3               MR. SHORTT: This is a unique case, if we want to

           4         do I.D. charge Wednesday or witness plus as to Mr. Ball

           5         it's witness plus, as to Mr. Brooks obviously it is just a

           6         one witness I.D. case. I don't know if you want to treat

           7         them separately or independently. The charges are not too

           8         different as to each. Idon't know if you want to

           9         differentiate specifically as to Mr. Ball or Brooks.

          10                  THE COURT: I don't know what you mean by

          11         differentiate. They are both showup cases.

          12                  THE DEFENDANT BALL: That's it.

          13                       SHORTT: Well, one is just a one witness I.D.

          14         case as to Mr. Brooks. As to Mr. Ball it is not there is

          15         evidence that the property was recovered from him.

          16                  THE DEFENDANT BALL: That was not established.

          17                 -THE COURT: You know what --

          18                  MR. SHORTT: Also Galbo recent and exclusive

          19         possession.

          20                  THE COURT: Well, sure. Anything else?

          21                  THE DEFENDANT BALL: Yes, your Honor. Earlier I

          22         didn't get the chance to put the application in of the

         23          District Attorney making identification giving an

         24          identification of the witness under. 60.25 prior recognition

         25         by witnesses exception to hearsay rule People versus


                                                                                     NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 744 of 907 PageID #: 1107


                                                                              59
                                         Proceedings

          1         Trowbridge, you know --

          2                  THE COURT: What is your application?

          3                  THE DEFENDANT BALL: That we not allow that to be

          4         presented to the jury, any description, you know, prior

          5         recognition by witnesses for it not to be allowed because

          6         it doesr't apply to us in this case.

          7                  : THE COURT: Well, your request is way late all the

          8         evidence has come in.

                             THE DEFENDANT BALL: Yeah, I know, but I mean --

         10                  THE COURT: Frankly --

         11                  THE DEFENDANT BALL: I rather make the application

         12         late than never.

         13                  THE COURT: Okay. Do you want to be? Heard.

         14                  MR. SHORTT: First of all, for the preserve of the

         15         record the objection is not timely nor do I believe it is

         16         sufficiently preserved. Second of all the People have made

         17         out the requirements of 60.25 for the identification to

         18         come in. Mr. El Turkey specifically said it's been too

         19         long for me to remember. On that basis I believe of 60.25

         20         applies and his prior I.D. comes in.

         21                  THE DEFENDANT BALL: Your Honor --

         22                  THE COURT: I agree with that. It is untimely,

         23         and in any event, the complaining witness' testimony laid a

         24         proper foundation for the admission of the testimony of

         25         police officers so that application is denied.


                                                                                   NS
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 745 of 907 PageID #: 1108


                                                                                    599
                                              Proceedings

                    1              Everybody safe home.

                    2              MR. SHORTT: Thank you, your Honor.

                    3              THE COURT: 10:00 Wednesday.

                    4             • (Trial adjourned to January 28, 2015.)

                    5             • (Defendants exit the coUrtroom.)

                    6

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Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 746 of 907 PageID #: 1109


                                                                              600
                                         Proceedings

          1   SUPREME COURT OF THE STATE OF NEW YORK

          2   COUNTY OF QUEENS: CRIMINAL TERM: PART K14

          3                          ----------------------x Indictment No.

          4   THE PEOPLE OF THE STATE OF NEW YORK                  2228/12

          5                  -against-

          6   ELIJAH BROOKS and RAYMOND BALL,

          7                       Defendants.

          8                          ----------------------x

          9                       125-01 Queens Boulevard

         10                       Kew Gardens, New York

        11                        January 28, 2015

        12                  THE COURT CLERK; Case on trial, indictment 2228

        13         of 2012, Raymond Ball and Elijah Brooks. The defendants

       i 14        are incarcerated and produced being brought before Court.

        15                  MR. SHORTT: For the People, Assistant District

        16         Attorney Timothy Shortt.

        17                  THE COURT: Good morning.

        18                  MS. POVMAN: On behalf of Mr. Ball, Linda Povmari.

        19          •       MR. GIBBONS     For Mr. Brooks, Wyatt Gibbons,

        20         125-10 Queens Boulevard, Kew Gardens.

        21                  THE COURT: Good morning.

        22                   (Defendant enters the courtroom.)

        23                  THE COURT CLERK: Let the record reflect the

        24         defendants are present before the Court.

        25                  THE DEFENDANT BALL: Good morning, everyone.


                                                                                    NS
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 747 of 907 PageID #: 1110


                                                                                    601
                                              Proceedings

                I                   THE COURT: Good morning. Where are we here?

                2        The People have rested. You are going to rest?

                3                   MR. GIBBONS: I plan to rest, yes, your Honor.

                4                   MS. POVMAN: Judge, Mr. Ball still wants the EMS

                5        worker to be called. I had a conversation with him and

                6        advised him that the DA has spoken to him and the worker

                7        doesn't have any specific recollection of this incident,

                B        but he till feels that he is necessary to his defense.

                9                   THE COURT: Why is that, if the guy has nothing to

              10         say?

              11                    THE DEFENDANT BALL: Well, actually, your Honor,
I-
              12         what it is I'm not asking him about whether he recollects

              13         anything that took place, it's the information that's

              14         contained in the EMS report, you know, that he can validate

              15         certain things that's written inside the report.

              16                    THE COURT: But the EMS report is already in

              17         evidence

              18                    MS. ?OVMAN: No.

              19                    THE DEFENDANT BALL: Just that he can validate.

              20                    THE COURT: Wasn't it put into evidence?

              21                    MR. SHORTT: There are two SPRINTS, one is the

              22         NYPD, the other is the rDNY, who was called at what time.

              23                    THE COURT: In addition to that there is another

              24         report?

              25                    THE DEFENDANT BALL: Yes, sir.


                                                                                          NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 748 of 907 PageID #: 1111


                                                                               602
                                             Proceedings

              1                THE COURT: Do we have that report? Can I take a

              2      look at it?

              3                THE DEFENDANT BALL: We have it, your Honor.

              4                THE COURT: Can I take a look at it?

          .5                   'THE DEFENDANT BALL: Thank you so much, Miss

              6      Povman.

              7                 (Handing.)

              B                THE COURT: So I gather, Mr. Ball, that the

              9      pertinent part of this is the handwritten portion?

          10                   THE DEFENDANT BALL: No, sir. He can validate

          11         from this report, he can tell us whether or not there was

          12        ever someone inside the EMS truck and whether or not they

         13         were treated, you understand? This EMS report he can

         14         validate the information that's either in it or not in it.

         15                        COURT: There is a spot on here that indicates

         16         who is in the back of the ambulance and who is not?

         17                    THE DEFENDANT BALL: Yeah, actually there is a

         18         spot if 'You go to the back, it says whether or not a person

         19         was removed to the vehicle, and is it says walked,

         20         stretcher, so and on, so forth.

         21                    THE COURT: On page 2?

         22                    THE DEFENDANT BALL: Yes, sir, at the bottom.

         23                    THE COURT: Okay. Those are blank.

         24                    THE DEFENDANT BALL: Yes, exactly.

         25                    THE COURT: I see. And you want to ask him what


                                                                                     NS
    Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 749 of 907 PageID #: 1112


                                                                                   603
                                              Proceedings

                  1      the significance of --

                  2                . THE DEFENDANT BALL: No, sir, your Honor, see what

                  3      happens is my whole case is surrounded by the victim being

                         inside the EMS, the identification, the police officer,

                  5      that man he can tell us whether or not someone in there.

                  6      He said-that he was treated, that he got out of the

               7         vehicle. That EMS technician he can tell us whether or not

               8         that is the truth pertaining to that report.

               9                   THE COURT: Well, he might be able to.

              10                   THE DEFENDANT BALL: No, he can for sure, without

              11         a doubt he can do that.

              12                   THE COURT: Well, there is nothing certain in

              13         life.

              14                   THE DEFENDANT BALL: Your Honor, this is his

              15         business, he can tell us. That's like you me telling you

              16         can you tell me the law. You know the law, your Honor.

              17                   THE COURT: All right.

              18                   'THE DEFENDANT BALL: Thank you.

19                                 THE COURT: His status at the moment is what?

             20                    THE DEFENDANT BALL: Available.

             21                    MS. POVMAN: He will be available tomorrow

             22         morning.

             23                    THE COURT: He will be here tomorrow morning?

             24                    MR. SHORTT: I came to the courthouse yesterday.
U
             25         Nobody was answering at the FDNY court desk.


                                                                                         NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 750 of 907 PageID #: 1113


                                                                               604
                                         Proceedings

              1               THE COURT: I heard you were the chief assistant.

              2               MR. SHORTT: Bureau chief, I will not be greedy.

              3      I couldn't get anybody on the phone yesterday. This

              4      morning . I finally got the coordinator on the phone. She is

              5      going td honor the subpoena. I was able to locate the

              6      witness; cell phone number. I spoke to him this morning.

              7      He is actually in an EMS bus right now and could not get

           8         here today. I tried to get him this afternoon. It was

              9      just impossible, but he is available and willing to come in

10                   tomorrow.

          11                 THE COURT: Very good. All right. Then we will

          12        put this: over until tomorrow. We have the jury.

         13                  Do you want to rest today, Mr. Gibbons?

         14                  MR. GIBBONS: No, I will rest tomorrow, Judge.

         15                  THE COURT: I am bringing the jury out to explain

         16         to them that we are putting this over to tomorrow. The

         17         question is whether or not you want to --

         18                  MR. GIBBONS: Like you said, you never know what

         19         could happen so I don't want to rest yet if nothing happens

         20         in the interim, I will rest tomorrow. I do have one

         21.        application.

         22                  THE COURT: All right.

         23                  MR. GIBBONS: It harkens back to the application

         24         we made regarding the defectiveness of the indictment in

         25         that my client:'s name does not appear, and it was


                                                                                     NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 751 of 907 PageID #: 1114


                                                                               605
                                         Proceedings

1                    determited that though it didn't appear in the language of

           2         it, the : court ruled it was in the body because when the

           3         charges were listed the names appeared to the right of each

           4         charge on the cover page of the indictment. However, my

           5         client's case was originally dismissed pursuant to 190.50

           6         and his charges were re-presented to a Grand Jury under

           7         indictment number 338 of 2013 which was ultimately

           B         consolidated with 2228 of 2012 which is the case on trial.

           9         However, that indictment 338 the re-presentment, while it

          10         does have my client's name in the caption, People of the

          11         State of New York against Elijah Brooks, when it lists the

          12         charges on the face on the cover sheet, his.name does not

          13         appear, and then in the body of the indictment again, it

          14         states that it accuses the defendant, but it doesn't

          15         actuall name him, and that is the same for all of the

          16         counts, four in total.

          17                  SO I renew the application on my client's behalf.

          18         He feels though it was consolidated, you can't consolidate

          19         a defective indictment with a valid indictment and get a

          20         fully valid indictment, so he is renewing his application

          21         and asking that the charges against him be dismissed.

          22                  THE COURT: Do you want to be heard?

          23                  MR. SE-iORTT: Judge, the indictment has been

          24         renewed : by Judge Rollie, not once, but twice and found

          25         sufficient. I don't think your Honor has the authority to


                                                                                     NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 752 of 907 PageID #: 1115


                                                                               606
                                         Proceedings

           1         dismiss the indictment at this point. Second of all, the

           2         effect of the motion to consolidate was that that

           3         indictment number was dismissed and 2228 superseded. The

           4         face of 2228 which your Honor has already ruled includes

           5         the names of the defendants on the face of the indictment

           6         not just the caption.

           7                  MR. GIBBONS: For the record, I point the Court to

           8         people versus Lopez 4 NY3d 686 which says without the name

           9         in the body of the indictment, it's defective.

          10                  THE COURT: Very good. The application is denied.

          11                 MR. GIBBONS: Note my exception, your Honor.

          12                 MS. POVMAN: Thank you, Judge.

          13                 THE DEFENDANT BALL: Thank you, Judge.

          14                 THE COURT: Line up the jurors.

          15                  (Whereupon, there was a brief pause in the                      41


16                  proceedings.)

         17                  THE COURT OFFICER: Ready for the jury?

         18                  THE COURT: Ready.

         19                   (Jurors enter the courtroom.)

         20                  THE COURT CLERK: Do both sides stipulate to the

         21         presence and proper seating of the jury?

         22                  MR. SHORTT: Yes.

23                           MR. GIBBONS: Yes.

         24                  THE DEFENDANT BALL: Yes.

         25                  THE COURT: Good morning, ladies and gentlemen.


                                                                                     16 F-9
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 753 of 907 PageID #: 1116


                                                                               607
                                          Proceedings

           1         We are at the stage of the trial the District Attorney has

           2         rested, and we are now turning to the defense to see

           3         whether or not they wish to put in a defense. There is one

           4         witness who is not available today, but will be available

           5         tomorrow morning who the defense wishes to call, and so he

           6         is an EMS worker, and as you may imagine, those folks are

           7         probably pretty busy today as a result of the storm

           8         yesterday, but he will be available to us tomorrow morning

           9         to testify.

          10                  On the assumption that is the one and only witness

          11         for tomorrow, then it is my intention to proceed directly

          12         to closing statements, my final instructions to you on the

          13         law, and then the case will be yours to deliberate on and

          14         render a verdict, but as for today, we cannot proceed in

          15         the absence of this witness, so we are going to adjourn

          16         until tomorrow morning at 10 A.M.

          17                  I thank you for making the effort to come in, but

          18         these things happen sometimes during the course of a trial.

          19         Once again, do not discuss this case amongst yourselves.

          20         Do not go to any of the scenes that have been testified to

          21         in connection with this case. Do not talk to the

          22         attorneys, the parties, the witnesses or anybody connected

          23         to this case, and do not research this case in any way.

         24         Again I thank you for your efforts and sacrifice. 10:00

         25          tomorrow morning.


                                                                                     NS
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                                                                               608
                                         Proceedings

           1                - Officer ? take charge.

           2                  (Jurors exit the courtroom.)

           3                  THE COURT: Before we break, is there anything in

           4         connection to the charge that anybody wants to add or

           5         anything like that?

           6                  MR. SHORTT: I don't think so.

           7                  THE COURT: Mr. Ball?

           8                  THE DEFENDANT BALL: Yes, sir.

           9                  THE COURT: Is there anything else that you want

          10         to raise in connection with the charge at this point?

          11                  THE DEFENDANT BALL: Other than immediate release,

          12         no.

          13                 THE COURT: That's not happening at the moment.

          14                 THE DEFENDANT BALL: You asked, I mean, you know.

          15                 THE COURT: Thank you very much.

         16                  MR. GIBBONS: Thank you, your Honor.

         17                   (Defendants exit the courtroom.)

         18                   (Trial adjourned to January 29, 2015.)

         19

         20

         21

         22

         23

         24

         25


                                                                                     NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 755 of 907 PageID #: 1118


                                                                               609
                                           Proceedings

           1         SUPREME COURT OF THE STATE OF NEW YORK

           2 COUNTY OF QUEENS: CRIMINAL TERM: PART K14

           3                              ---------------------x Indictment No.

           4 THE PEOPLE OF THE STATE OF NEW YORK                    2228/12

           5                  -against-

           6 ELIJAH BROOKS and RAYMOND BALL,

           7                         Defendants.

           8                              ---------------------x

           9                         125-01 Queens Boulevard

          10                         Kew Gardens, New York

11                                   January 29, 2012

          12                  THE COURT CLERK: Case on trial, indictment 2228

          13         of 2012, Raymond Ball and Elijah Brooks. The defendants

          14         are produced and being brought before the Court.

          15                  Appearances, please.

          16                  (Defendant enters the courtroom)

          17                  THE COURT CLERK: Let the record reflect the

          18         defendant Brooks is present before the Court.

          19                  (Whereupon, there was a brief pause in the

          20         proceedings.)

          21                  THE COURT CLERK: Let the record reflect the

          22         defendant Ball is present before the Court.

          23                  THE DEFENDANT BALL: Good morning, your Honor.

          24                  THE COURT: Good morning. Before we bring the

          25         jury out, in jhe course of my preparing my charge, when I
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 756 of 907 PageID #: 1119


                                                                                    610
                                              Proceedings

                1         got to the possession of stolen property part of this case,

                2         I noticed that on my copy of the indictment, both

                3         defendants were charged, and upon exploring all of this,

                4         apparently one defendant was charged the first time around

                5         and theft both defendants were charged the second time

                6         around and then it was pencilled into the existing

                7         indictment, but more importantly, as I see the evidence in

                8         this case, I don't really see the stolen property charge

                9         with respect to Mr. Brooks.

               10                  MR. SHORTT: I would agree with your Honor.

               11                  THE COURT: I think frankly it complicates the

•i             12         situatidn. Do you have an application perhaps?

               13                 MR. SL-IORTT: Yes, Judge. The People would dismiss

               14         the count of criminal possession of stolen property as

               15         charged to the defendant Brooks only. As to Mr. Ball we

              16          intend to go forward on that charge.

              :17                 THE COURT: Any objection?

              18                  'MR. GIBBONS: I join that application, your Honor.

              19                  THE COURT: All right. I will initial the

              20         indictment for my trusted clerk. All right. Why don't we

              21         get rolling.

              22                  Do you have a witness, Mr. Ball?

              23                  THE DEFENDANT BALL: Yes, your Honor, I have the.

              24         EMT worker, Adi Gonzalez.

              25                  THE COURT: Before we do that, we will bring the


                                                                                          NS
    Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 757 of 907 PageID #: 1120


                                                                                   611
                                             Proceedings

               1         jury out. You intend to rest, Mr. Gibbons?

               2                  MR. GIBBONS: Well, I want to hear what his

               3         witness says before I do -- well, I guess we could rest.

               4         I'm not going to ask any questions of anyone, I don't think

               5         so --

               6                  T!-TE COURT: All right. I mean, because I'm going

               7         in order, I will turn to you and say do you have a defense,

               8         and you can Say yeah or nay.

               9                 MR. GIBBONS: Yes, your Honor, I will rest.

              10                 THE COURT: Ready for the jury?

              11                 MR. GIBBONS: Yes, your Honor.

              12                 THE COURT: Bring them in.

              13                  (Whereupon, there was a brief pause in the

             14         proceedings.)

                                 TEE COURT OFFICER: Ready for the jurors, your

             16         Honor?

             17                  THE COURT: Ready.

             18                  THE COURT OFFICER: Jury entering.

             19                   (Whereupon, the sworn jury enters the courtroom.)

             20                  THE COURT CLERK: Do both sides stipulate to the

             21         presence : and proper seating of the jury.

             22                  MR. SHORTT: Yes.

             23                  MR. GIBBONS: So stipulated.



I            24

             25
                                 THE COURT CLERK: Mr. Ball?

                                 THE DEFENDANT BALL: Yes.


                                                                                         NS
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                                                                                612
                                            Proceedings

           1                   .THE COURT CLERK: Thank you.

           2                      THE COURT: Good morning, ladies and gentlemen.

           3           As I indicated earlier, the District Attorney has rested

4                      his case.

           5                      We now turn to the defense. Mr. Gibbons, do you

           6           wish to put in a defense?

7                                 HR. GIBBONS: No, your Honor, the defense rests.

8                                 THE COURT: On behalf of Mr. Brooks.

           9                      MR. GIBBONS: On behalf of Mr. Brooks, of course,

10                     your Honor.

11                                THE COURT: Mr. Ball, do you wish to put in a

          12           defense?

13                                THE DEFENDANT BALL: Yes, I do, your Honor.

14                     have a witness I would like to call.

          15                      THE COURT: Call him.

16                                THE DEFENDANT BALL: EMT Adi Gonzalez.

17                                (Whereupon, there was a brief pause in the

          18           proceedings.)
19             A D I      G 0 N Z AL E Z, having been duly sworn, was examined

          20   and testified as follows:

21                                THE COURT OFFICER: The defense for Mr. Ball calls

22                     Adi, A-D-I, usual spelling, shield 2101, FDNY, EMS.

         23                       THE COURT: Mr. Ball, you may inquire.

         24                       THE DEFENDANT BALL: Your Honor, I just need

         25            Exhibit F.


                                                                                      NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 759 of 907 PageID #: 1122


                                                                               613
                                             Proceedings

              1                MS. POVMAN: Never mind.

           2                   THE COURT: Do you have a copy of it?

           3                   MS. POVMAN: We have it, thank you.

           4                   THE COURT: Okay.

           5 DIRECT EXAMINATION

           6 BY THE DEFENDANT BALL:

           7           Q     Good morning.

8                      A     Good morning.

           9           Q     How are you doing today, Mr. Mi?

          10           A     Good.

                       Q     My name is Raymond Ball, and you know, I'm here

          12      representing myself in this case, and I just need to ask you

          13 some few questions, you know. And I know that you are not going

          14      to be able to answer the questions pertaining to anything that

          15 you remember --

          16                   MR. SHORTT: Objection.
17                             THE COURT: Don't make a speech.

          18          Q     The questions that I'm going to ask you is related to

          19

         20                    THE COURT: Why don't you ask him who he is so the

         21           jury knows.

         22           Q     Can you state for name for the jury, please?
         23           A     EMT Gonzalez. I'm called here to testify on a call.

         24                   THE COURT: Just tell us who you are, that's all.

         25                   You are Mr. Gonzalez, and you are an EMT.


                                                                                     NS
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                                                                               614
                               Gonzalez-Defendant Ball-Direct

              1       Q     What it is that I'm asking you here today did you

              2 work on July 3 of 2012?

              3       A     I did.

              4       Q     Okay. What hours?

              5       A     The evening shift, 4 P.M. to midnight.

              6       Q     Arid in the course of that night, did you have an

              7 opportunity to go to 105 Street and Northern Boulevard?

              8       A     I responded to a call there, yes.

              9       Q     To 105 Street?

          10          A     It was about -- I don't have the paper in front of me

          11      but--

         12           Q     I have it. Can I pass it up to you?

         13           A     Yes.

         14                   THE COURT: Would it help you to refresh your.

         15           recollection if you saw the paperwork on this case?

         16                   THE WITNESS: Yes,    absolutely.
         17                   THE COURT: All right.

         18                   '(Handing.)

         19           A     All right.

         20           Q     Is that your report?

         21           A     106 Street and Northern Boulevard.

         22           Q    Not 105 Street?

         23           A    Right.

         24          Q     Isthat your report?

         25          A     This is it, yes.


                                                                                     NS
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                                                                               615
                                   Gonzalez-Defendant Ball-Direct

              1        Q      Okay. I appreciate it.

              2               SO you're saying already before we even start that

              3 according to that report that you have in front of you it being

              4 yours that you never responded to 105 Street and Northern

              5   Boulevard; is that correct?

              6                  MR. SE(CRTT: Objection, leading.

              7        Q      I':lTL   asking you.
              8                  THE COURT: I will allow it.

              9        Q     Is that what your report says?

          10           A     The report indicates it was 106 Street.

          11           Q     Okay.

          12                     THE COURT: Do you have an independent

          13           recollection of this event?

          14                    .THE WITNESS: Vaguely going by the report I read

          15           before, yeah.

         16                     •T1-IE COURT: Okay.

         17            Q     Okay. You know, actually it brings me to the reason
         18 that I'm askihg you to come here today is because I Want to know

         19 whether or not you can testify to the validity of the

         20       information that's inside this report, you know, for myself and

         21 the jurors, you know, because we are not EMT workers and we

         22       really don't know.
         23                     THE COURT: Okay. So why don't you ask him

         24            questions about who prepares the report, how he prepares it

         25            and things 1ik that.
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 762 of 907 PageID #: 1125


                                                                                   616
                                   Gonzalez-Defendant Ball-Direct

             Ii            Q    Okay. So would you say, Mr. Gonzalez, that the

               2   information that's in this report is accurate?

                           A    Yes, I would.

               4           Q    Well, can you give me, you know, just explain to us

               5 how is it that you can, you know, ensure us that the information

               6   here is accurate, please?

                           A    You can start with the times, the call number, all of

               B   those --

               9           Q     I apologize, Mr. Gonzalez --

              10                   tHE COURT: Don't interrupt the witness when he is

              11           answering. You may continue.

              12           A    Starting with the call numbers and the times, those

              13 are all computer generated and also backed up by myself because

              14   I have to write them on time. The patient's demographic or his

              15 personal information was also recorded, and in the back the

              16 commentary of the events I was pretty specific, and that's why I

              17 was able to or -- or I'm able to remember who he was more or

              18   less.

              19           Q    You know, what is it, is that my reason for calling

              20 you is because I need to know, like, the accuracy of the

              21   information. In other words, when I say to you the accuracy, I

              22   will give you an examp le: Is it possible since you mentioned

              23 the time, according to the run it says on scene, can you just

              24   look -- it's on here too, it says on scene 21:11?
U-

              25           A    Urn-hum.


                                                                                         NS
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                                                                              617
                              Gonzalez-Defendant Ball-Direct

          1         Q      Okay.

          2         A      Yes.

          3         Q      Okay. Now, my question to you what is 21:11?

          4         A      9 is 11 P.M.

          5         0      9:11. Now, Mr. Gonzalez, you know, to the accuracy

          6 of this information, is it anyway possible that the ambulance

          7 might have ben at 106 Street as you said at two minutes after,

          8    and its just inaccurate this information here, is it possible?

          9         A      There is no indication of that because when we pull

         10    up to the scene, that's when we put the on scene, hit the button

         11    so if it says, 21:11 --

         12         Q      That's exactly the time?

         13                  THE COURT: So when you get to the scene, you just

         14         push a button and the computer generates the time; is that

         15         what you are saying?

         16                  THE WITNESS: Correct.

         17                  THE COURT: Okay.

         18         Q      So that means that this time is accurate beyond any

         19    reasonable doubt; is that correct?

20                  A      As much as anything human made could be, yes.
         21         Q      That's what I'm asking?

         22                  THE COURT: It's accurate as to it tells you

         23         exactly when you pushed the button, right?

         24                  THE WITNESS: Right.

         25                  .THE COURT: Okay.


                                                                                    NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 764 of 907 PageID #: 1127


                                                                              618
                              Gonzalez-Defendant Ball-Direct

          1         Q      Just to be clear this is something that you do as

          2 protocol every time you arrive at a crime scene?

          3         A      At any call whether it's crime or not.

          4         Q      Right. So do you remember specifically that night

          5 pressing that button at that time when you arrived at the crime

          6   scene?

          7         A      Either my partner or myself, I don't remember, I

          8   can't tell yoiit that I hit it or he hit, I can't say.

          9         Q      But you can say that it was hit at the proper time?

         10         A      Right.

         II         Q      Okay.

         12         A      And it does show it was about four minutes response

         13 time which is appropriate to my area.

         14         Q      Can you explain that to us because, see what happens,

         15 we don't know?

         16         A      We got the call at 21:07 hours, and it took us four

         17   minutes.

         18         Q      21.: 07?

         19         A      9:07 P.M. and it took us four minutes to get there.

         20 I sit on 103 and Roosevelt and if we would have got the call

         21   from there, that's exactly how long it would take us to get to

         22 Northern Boulevard from my location.

         23         Q     Okay. Thank you.

         24                I will be finished with you shortly. I just have a

         25   few questions, al] right, Mr. Gonzalez?


                                                                                    NS
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                                                                              619
                              Gonzalez-Defendant Ball-Direct

          1         A      Yup.

          2         Q      Okay. All right. Okay. So thus far what we have

          3 ascertained is that 106 Street is where you arrived at and you

          4 pushed a button at eleven minutes after; is that correct?

          5         A      Yes, 9:11, yes.

          6         Q      Okay.

           1               Now, what does it mean it says here, can you explain

          8    like the patient information you just spoke about, you know, the
          9 patient information in the boxes, what does it mean, you know,

         10 when these particular boxes are signed rather than the other
         it
               boxes?

         12         A      Are you .peaking about his name, the one where his

         13    name is patient info.

         14         Q      That's right?

         15         A      I have his name, date of birth, age and his sex.

         16         Q      You also have on the --

                             THE COURT: That's handwritten by you.

                             THE WITNESS: Yes. I can't see the patient's

                    address, personal information, that's blurted out her.

                             THE COURT: Is that your handwriting?

         21                  THE WITNESS: Yes, this is my handwriting.

         22         Q     Okay. Mr. Gonzalez, I apologize, please forgive me,

         23 because I shoild have directed you to the second page.

         24         A      Okay.

25                  Q     Where it also has patient information, that's


                                                                                    NS
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                                                                              620
                                Gonzalez-Defendant Ball-Direct

              particularly where I was asking on the second page where it says

          2 patient information. And you know it says transportation to

               hospital refused?

          4         A      UmThum.

          5         Q      Tothe left-hand side of the page. Then it says

          6 patient unable to sign, patient refused to sign, and at the top

          7    it says information release patient authorization?

          8         A      Yes.

                    O      Now, I really don't know what that means.

         10                  THE COURT: Tell us what that means.

         Ii         Q      Can you tell us?

         12         A      The patient information disclosure is the first

         13    signature where he signed, that's the one you are referring to

         14 this is basically HIPAA or patient privacy act, and everyone

         15 signs that reard1ess whether they want to go to the hospital or

         16 not because we hold their personal information, and we have to

         17   keep it private, and they are acknowledging that as well as

         18   responsibilities for billing purposes. Then the release or

         19   refusal of medical assistance, the RP4A, his signature is on it

         20   so he signed the refusing transports to the hospital.

         21         Q      Okay. So RMA refused medical attention does that

         22 mean that he refused medical attention at the hospital --

         23         A      He. refused transport to the hospital.

         24                  THE COURT: It doesn't mean you did not treat him

         25         yourself?


                                                                                    NS
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                                                                              621
                              Gonzalez-Defendant Ball-Direct

          1                   THE WITNESS: In the end this one is RMA all which

          2         he also refused treatment on the scene for the majority.

          3         Q      Okay. So that means in other words because it says

          4   all the patient never received any treatment from you guys; is

          5   that correct?

        :6          A      Right, pretty much.

          7         Q      Right, but now this is a very important question

          8   since we are getting right at the heart of the matter. I would

          9 like to ask you, Mr. Gonzalez, because you really went right to

         10   the heart of the matter, the patient never received treatments

         11   from you, right, but is it possible that the patient was ever

         12 inside the ambulance if he never received treatment?

         13         A      It is, yes, usually especially on a street call we

         14 bring the patient into the ambulance, privacy, get their

         15   information, you know, we can't do that on the Street. Also we

         16 have to make an attempt to provide any type of medical care, we

         17   can't just be like, you know, especially if he is injured.

         18         Q      Right.

         19         A      So. yeah, everything would be inside the ambulance.

         20         Q     Okay. Now, you have here on this EMS report now you

         21   said that these are very accurate?

         22         A      Urn-hum.

                    Q     You have where you see removed to vehicle by?

         24         A      Urn-hum.

         25         Q     Can you explain to us what that represents?


                                                                                    NS
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                                                                                   622
                                    Gonzalez-Defendant Ball-Direct

                1        A       All right. So there is a few options there, I could

               2    select whether I -- we took him in a chair, whether he walked,

                3   whether he was on the stretcher flat or if he met at the
                4   ambulance.                  -

                5        Q       Right. Now you said sometimes when street issues

                    occur that you can bring them in?

                7        A       Correct.

                8        Q       But you said this men refused all so this was a

                9   different kind of situation. Now, in the case that he was

              10    brought into the ambulance, would you be required to check one

              11    of these boxes?

              12         A       Technically, yes.

II            13         Q Well, when you say technically, can you explain to us

              14    because, you know, I would think that the information in here is

              15    accurate, that you do a good job and that you --

                         A       I would say I don't see it selected and the reason

              17    would be because usually you sign that off when you do transport

              18    the patient because that's when it would matter whether he was

              19    able to ambulate whether you put him on the chair for certain

              20    type of medical conditions, or if he was flat like with a C

              21    collar on his, neck for neck or back injuries. So I would have

              22    to say I left that out because there was no treatment given so

              23    it didn't really pertain.

              24                 Okay     So he was never treated?

              25         A       Right.


                                                                                         NS
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                                                                              623
                             Gonzalez-Defendant Ball-Direct

          1         Q     Okay. Now, this is very important, you are saying

          2   that there is a possibility that he could have gotten put into

          3 the ambulance, or are you saying that he definitely was put into

          4 the ambulance?

          5         A      I can't recall to any detail, but usually our

          6 inclination would be to convince him to go to the hospital or to

          7 give him some type of care, and that would be done in the

          8 ambulance.

          9         Q     But because of this being a certain situation where

         10 he refused all, you cannot testify to any certainty that he was

         11   inside the ambulance; is that correct?

         12         A     That's correct.

         13         Q     Okay. So onto my next question, if you look at the

         14 box where it says body matrix?

         15         A     Okay.

         16         Q      I notice that you have in the body matrix you have

         17   the parts of the body?

         18         A      Yes.

         19         Q      Such as the head, face, eyes, so and so forth.

         20         A      Yes.

         21         Q     Then you have what do you call also in conjunction

         22 with that youhave another list that says burn --

         23         A     To the left off --

         24         Q     Yes -- to the right actually is the body parts --

         25         A     Okay, yes.


                                                                                    NS
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                                                                              624
                              Gonzalez-Defendant Ball-Direct

          1         Q      To the right you see it says pain and then swelling

          2 and things of that nature?

          3         A      Um-hum.

          4         Q      Okay. Can you just help me out with this because

          5 what happens is I notice that you have it marked off, and from

          6 what it appears to me it reads head pain, swelling and soft

          7   tissue injury; is that correct?

          8         A      Not head, face is pain, and the swelling and soft

          9 tissue injury is forehead.

         10         Q      Okay. Right. So now I want to ask you a question.

         11 With this information that's marked off, is that indicating

              observation of the patient, or is it indicating treatment of the

              patient?

                    A      This is a check off of what I see what I assess the

              physical assessment.

         16         Q      So it's an observation?

         17         A      Um-hum.

         18         Q      Not treatment?

         19         A      Correct.

         20         Q      So now, I notice that you marked off pain, swelling,
         21   soft tissue injury like you said for the head it was swelling

         22   and soft tissue. For the face it was pain?

         23         A     And soft tissue and swelling.

         24         O     And soft tissue and swelling. Thank you. I

         25   apologize. Well, you know, Mr. Gonzalez, I don't see anywhere

                                                                                    NS
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                                                                                  625
                                  Gonzalez-Defendant Ball-Direct

              1 here along the boxes that reads bleeding.

              2         A     That's correct, I did not mark it.

              3         Q     There is no boxes checked forehead, face and so on

              4   and so forth?

              5         A      Urn-hum.

              6         Q     NOW, you know, we need, what do you call to be able

              7   to convince the jury that the information that's in this report

              8   is accurate. When you observed like you said the person at that

              9 crime scene and you did this report, obviously you did not

             10 observe any bleeding; is that correct?

             11         A      I did not document bleeding or any significant

             12 bleeding on my patient care report..

             13         Q      Okay. Let me ask you a question, hypothetical, in

             14   the case that you come to a call and I'm the victim, I'm

             15 injured, and you, you know, you try to convince me to get into

             16 the ambulance to get help, in the case that I do getin, what

             17 would be the protocol, what would be the first thing that you

             18 would do to treat that p erson inside the ambulance? You know

             19 like, would you take the temperature, you know, what would be

             20 the first thing that you would do?

             21         A      My first thing that I would do by using body

I            22   substance isolation so I would have to wear some type of gloves

             23 or if necessary additional --

             24         Q      I mean as far as treatment to the patient what would

             25 be the first thing that you would do?


                                                                                        NS
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                                    Gonzalez-Defendant Ball-Direct

               I         A        Inthis case I would have to --

               2         Q        Not this case, I'm just saying what is the protocol?

               3                    MR. SHORTT: Objection, your Honor, the question

               4         is this case.

               5                    THE COURT: I will allow for this case.

               6                    MR. SHORTT: I would like the witness to answer

               .7        that then.

               8                    THE COURT: In this case?

               9                    THE DEFENDANT BALL: I'm asking protocol.

              10                    THE COURT: I am   sustaining the objection to

              11         protocol, but you can ask what he would do if faced with

II            12         the kind-of injuries that he was faced with in this case.

              13         Q        Okay. You can answer both.

              14                    THE DEFENDANT BALL: Is that all right?

              15                    THE COURT: No, you can ask the second one about

              16         this case.

              17         A        This case would be trauma type call so the first

              18    thing I would have to do is assess the patient's base line

              19 mental status :30 I would introduce myself to him, ask him if he

              20 would like my help because I would not force myself upon him.

              21 Then once I determine his mental status, then I would proceed

              22    from there.

              23                  Second thing would be most important to check for any

              24 head neck or spinal injury because from there would determine

              25 whether I could let this guy walk around or if I have to


                                                                                          NS
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                                Gonzalez-Defendant Ball-Direct

          1   immobilize his neck to prevent any paralysis, etcetera and see

          2 what mechanism of injury has occurred.

          3               Then from there if none of those are present, he

          4   could still remain seated, and I would try to get vital signs,

          5 and then probably treat these injuries that are documented which

          6 are face and head injuries.

          7         Q     Okay. So just so that I am clear, Mr. Gonzalez,

          8   because I'm alittle confused as to what you just said --

          9         A     Okay.

         10         Q     Let's say hypothetically that you arrive at a crime

         11   scene like this case particular one. You are saying to me that

         12 you would wait until the victim is inside the ambulance before

         13   you check as to his alertness, if he is out on the street, you

         14   would not check his alertness on the street, you would not check

         15 to see whether or not there was any hazards to you moving him on

         16 the street where you find him, you would wait until he get into

         17   the ambulance-'      that correct?

                    A     Negative. That would be done upon patient contact.

                    Q     So, in other words, you come to this scene

         20 particularly, you would have done those assessments outside

         21 wherever you contacted that person; is that correct?

         22         A     That is correct.

         23         Q     Sbdid you do that in this case?

         24         A     There is no actual documentation detailing that, but

         25 that's something that I could do in seconds time just observing


                                                                                    NS
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                              Gonzalez-Defendant Ball-Direct

          I   and seeing how the person is interacting. If he is conscious,

          2   awake and interactive, that shows a lot of stuff.

          3         Q      So for all purposes you do that assessment while the

          4   person was outside; is that correct?

          5         A      I would do that upon patient contact. I wouldn't

          6 know whether it was outside, inside, whether he was brought to
          7 my ambulance, I wouldn't be able to tell you that.
          8         Q      You wouldn't be able to tell me whether he --

          9         A      With certainty, no.

         10         Q      Okay. Now, you wouldn't be able to tell us whether

         11 or not he was;brought to the ambulance, however, you did say
         12    that there is: a protocol that you go through such as vital

         13    signs.

         14                Now, when we go to the front sheet where it deals

         15 with vital signs, can you just show us the jury and every one of
         16 us here, can you explain to us how that would work, you know, in
         17    respect to what these vital signs are?

         18                Like I notice in other words that there is different

         19 vital signs. There is the vital signs where you have 13 and two
         20 owe one such as like the pulse that you use when you have the
         21    finger on contact; is that correct?

         22         A      The 13 is the elapsed time from when we came on the

         23    scene, 13 would mean 13 minutes after 9:11 P.M. is when I

         24 attempted to get some type of vital sign, and the two owe one is
         25    actually a 20, the respirations are 20 which is normal


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                                 Gonzalez-Defendant Ball-Direct

          1    respiratory rights rate and the one is the pain scale that was

          2    described.

          3         Q       Okay. Interesting. So these numbers don't indicate

          4 you having taken any vital signs from the patient inside the

          5 ambulance; is that correct?

          6         A       Correct, I did not take normal vital signs because he

          7    was a refusal.

          8         Q       My point is if you had the victim inside the EMS

           9 truck whether he refused it or not, you would have taken the

         10 vital signs; is that correct?

         11         A       Not without his consent or his permission.

         12         Q       So you allow a person to go into the ambulance, but
                                                                                         .
         13    you don't treat him if they refuse all, is that what you are

         14    saying to me?

         15         A       it could be, it's a possibility.

         16         Q       No

         17                      MR. SHORTT: Objection, that's the witness'

         18         answer.

          19                     THE DEFENDANT BALL: No, because he is using --

         20                      THE COURT: The answer stands. You can follow up.

         21         Q       Because you are saying what the problem is Mr.

         22 Gonzalez is that you see here --

         23                      THE COURT: No, no, don't make a speech     Ask

         24         questions.

         25         Q       You are .not giving us an accurate answer.


                                                                                    NS
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                                Gonzalez-Defendant Ball-Direct

            1                 THE COURT: No, no, no.

            2                 MR. SHORTT: Objection, Judge.

             3                THE COURT: No, the jury will disregard that

             4        statement.

             5                Mr. Ball.

             6        0     Can you give us an accurate answer?

             7                THE COURT: Sustained. Ask a question. Elicit

             8        information with your question.

             9                THE DEFENDANT BALL: I apologize.

            10        Q     So because of the fact, Mr. Gonzalez, that there is

            11 no vital signs that you marked for the patient being treated, is

            12   it okay for me to assume that the patient was never inside of

            13 the ambulance?

            14                MR. SHORTT: Objection.

            15                THE COURT: I will allow that.

            16        A     It's not definitive. It doesn't indicate whether

            17   they were or not.

            18        Q     No, I apologize. I'm just assuming because we

            19 understand that you give accurate details in this report.

            20        A     Urn-hum.

            21        Q     So in the case that it's not available, I'm asking

            22 you for me would it be all right for me to assume that the

            23 person was never inside the ambulance?

            24        A     I can't even answer that.

        1   25        O     Oky. Can you answer this, Mr. Gonzalez: Is there


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                                Gonzalez-Defendant Ball-Direct

          1 anywhere on this report that you can show me that it guarantees

          2 that the persàn was in the ambulance?

          3         A     A guarantee, anything definitive that they were

          4   inside the ambulance?

          5         Q     Yes, that the person was inside the ambulance,

          6 anything on this report that you can show us that indicates that

          7 he was definitely in there?

          B         A     No.

          9         Q     So you have me at a stand still. You're saying that

         10 this report is accurate, but you are not gonna allow me to

         11 assume that the person was not in the ambulance --

         12                  THE COURT: Sustained.

         13                  MR. SHORTT: Thank you, Judge.

         14         Q     Yoi are not able to --

         15                  THE COURT: Sustained.

         16                  THE DEFENDANT BALL: I heard you, your Honor. Is

         17         it all right that I continue?

         18                  THE COURT: Ask a question.

         19         Q     Mr. Gonzalez, you never wrote or you cannot indicate

         20 here for where you can show that he was definitely in the

         21   ambulance; is that correct?

         22         A      I already said no.

         23         Q     Okay. So is it safe for me to assume because of that

         24

         25                  THE COURT: I'm going to sustain that. You are


                                                                                    NS
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                              Gonzalez-Defendant Ball-Direct

          1         not going to ask those kind of questions.

          2         Q      Mr. Gonzalez, let's say that you came to the crime

          3 scene, would you be able to indicate that you said you wouldn't

          4       there is no indication that the person was in the ambulance,

          5 we understand that. But let's say that the person did get in

          6 and was not treated, you know, he had injuries and decided to

          7 immediately get out, would that be indicated on this?

          8         A      In: the commentary, yes.

          9         Q      Of course it would.

         10         A      And I did so.

         11         Q      You did what?

         12         A      I did so document that he had his friend     present with
         13 him if you want me to read it.

         14         Q      Yeah, by all means.

         15                  (Defendant and counsel confer.)

         16                  THE DEFENDANT BALL: Can we offer this into

         17         evidenceas G, please?

         18                  THE COURT: Mr. Gibbons?

         19                  MR. GIBBONS: No objection, your Honor.

         20                  THE COURT     Mr. Shortt?

         21                  MR. SHORTT: Without objection, your Honor.

         22                  THE COURT: Mark it Defendants' Exhibit G.

         23                  (Defendants' Exhibit G, two-page document, marked

         24         and received into evidence.)

         25                  THE COURT OFFICER: So marked in evidence.


                                                                                    NS
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                                                                              633
                                Gonzalez-Defendant Ball-Direct

          1         Q     You can continue, plea5e 1 Mr. Gonzalez.

          2                  THE COURT: Continue what?

          3                     HE DEFENDANT BALL: Reading.

          4                  THE COURT: What do you want him to read?

          5                  THE DEFENDANT BALL: He said he was going to bring

          6         out something, I have no idea.

          7                  THE COURT: Do you want him to read the commentary

          8         portion?.

          9         Q     Well, was there something in particular that you were

         10 trying to indicate that you said something about that would tell

         11 us that the person was in the ambulance?

         12         A     Right, yes. Well, you told me whether he was in the

         13   ambulance that it wouldn't be a refuse all, but it could be a

         14   refuse all whether he was in the ambulance or not, he could

         15   refuse.

         16         Q     Yeah, but now we already understand that. There is

         17 no indication that he was in it and you can't tell us that he

         18   wasn't so we are not going to continue to go onto that, okay?

         19        A      Okay.

         20                  THE COURT: That was a question?

         21                  THE DEFENDANT BALL: No.

22                  Q     The question is

23                          THE COURT: I told you I want nothing from you but

        24         questions.

        25                  THE DEFENDANT BALL: I'm getting to ready to ask


                                                                                    NS
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                                 Gonzalez-Cefendant Ball-Direct

             1          the questions.

          2                     THE COURT: That was after your speech. No

          3             speeches. You will have an opportunity to make a speech

          4             about what you think the evidence shows. Right now you are

                        eliciting evidence, facts. Do it.

          6                     THE DEFENDANT BALL: Yes, sir.

          7             Q     Concerning the commentary it has here patient was

          8      robbed by a group of males, okay. You know, is that information

          9      accurate?

         10                     THE COURT; Sustained.

         11             Q     Did you write that?

         12             A     Yes.

         13             Q    What's the reason you wrote it?

         14             A    This must have been, like I said before, you find Out

         15      what the mechanism f injury is, so if the police told me this

         16 is what happened or the patient told me this is what happened,

         17 then I could probably put allegedly in front of where I put

        18 assaulted by a group of males, but that is to me my mechanism of

        19 injury would indicate if there were weapons or what happened to

        20       him.

        21              Q    We are just asking you only, Mr. Gonzalez, as to what

        22       it says here, 'you see, and it says here not allegedly it says

        23 patient was robbed by group of males?

        24              A    Urn-hum.

        25              Q    And that is the information you got either from the


                                                                                    NS
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                                                                              635
                              Gonzalez-Defendant Ball-Direct

          1 police or from the patient; is that correct?

          2         A      Correct.

          3         Q     Okay. Now, it goes down, right, it talks about the

          4   injuries, and-then it goes into how the crime took place. Then

          5 it says here to hospital, he has religious belief in my country

          6 we believe in God whatever happens, happens. Okay. You said

          7   that this is where it indicates about the friend, okay. So

          8 there was a friend obviously there who was trying to convince

          9   him; is that Correct?

         10         A     Yes, in my efforts to get him to seek medical

         11   attention, I Would use his friend, family, to try to convey him

         12   to seek medical attention.

         13         Q     So.--

         14         A     And it says that we were unable to convince him, he

         'S was adamant even with the friend's help.

         16         Q     Right, so in other words what you are saying --

         17 because now it appears to me that your recollection of that

         18   night is starting to come back to you?

         19        A      I recall -

         20               THE WITNESS: If I may speak?

        21                  THE COURT: Sure.

        22         A      The only reason I could recall this patient is

        23 because of his demeanor and exactly what he said in quote was in

        24 my country -- he was Arabic and that -- he doesn't belong in

        25 that area ethnicity wise so that's a little different, but then


                                                                                    NS
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                                                                              636
                             Gonzalez-Defendant Ball-Direct

          1 he says: In my country we believe in God whatever happens,

          2 happens. That was his adamant reason for refusal to go to the

          3   hospital, and I found that to be a little bit -- I had a little

          4 admiration towards that because usually people no matter how

          5 small something IS, they usually want to go seek medical

          6 attention, and I documented that because it's important to my

          7 refuse all, because if something happens to him later, say he

          B had a brain bleed or he dies at home as a result of the

          9 injuries, I did all I could to get him to seek medical

        10 attention, and he was explained the risks, and he understood

        11    them and still continued to refuse.

        12         Q      Now, my point to you is this, Mr. Gonzalez, that you

        13 appear to have a very good recollection of what happened.

        14         A      Of this part, yes, because it's different. I do so

        15 many calls a day.

        16         Q      So you have a good recollection of this part but not

        17 maybe others?

        18         A      The other things are specific as to like what someone

        19 was wearing or where they were exactly standing I, can't

        20 remember.

        21         Q      But I would like to ask you about the friend and this

        22    ordeal. You said there was a friend present; is that correct?

        23         A     According to this, I tried to use a friend to

        24    convince him to go, that's all I know about the friend.

        25         Q     But I'm asking you specifically remember him having a


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                                                                              637
                              Gonzalez-DefendantBall-Direct

          I friend present at that time to help you convince him?

          2         A      That's what's documented there so I'm going by that.

          3         Q      So you have to say yes, there was a friend present?

          4         A      Correct.

          5                  THE COURT: No, he is saying that's what the

          6         documentation says.

          7         Q      So then that means we could assume there was a friend

          8   there; is that correct?

          9         A      Correct.

         10         Q      Okay.

         11                Now, during this time, would that have been taking

         12 place outside or in the ambulance?

         13         A      without certainty I can't say, it could be either or

         14   50/50.

         15         Q      So the friend could have been inside the ambulance

         16 trying to convince him?

         17         A      I have no recollection.

         18         Q     Mr. Gonzalez, you know, you have been a lot of help

         19   to me, and you know, I would think that --

         20                  THE COURT: Is there a question coming?

         21         Q     You know, this report is virtually blank. Can you

         22 explain to us in the case that there was, you know, any kind of

         23 treatment, what would be the reason that it would be totally

         24   blank?

         25         A     The boxes I haven't marked are basically not marked


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                               Gonzalez-Defendant Ball-Direct

              because there wasn't any reason to mark them so, yes, it doesn't

          2   indicate any treatment.

          3         Q     Okay. You know, thank you, Mr. Gonzalez. I think

          4   you have satisfied my -- very good.

          5                  THE COURT: Mr. Gibbons, any questions?

          6                  MR. GIBBONS: No questions.

          7                  THE COURT: Mr. Shortt?
          8                  MR. SHORTT: A few questions, Judge.

          9 CROSS EXAMINATION

         10   BY MR. SHORTT:

         11         Q     Mr. Gonzalez , , Mr. Ball asked you a lot of

         12 hypotheticals about what is protocol, correct?

         13         A      Yes.

         14         Q      I'm asking specifically what do you remember about

15            this incident?

         16         A     When reading over the paperwork you did let me read

17            it and I did -- little by little, all I remember is the patient

         18   at the time. That's really all I could remember.

19                  Q     Do you recall where you were when you were speaking

         20 tO him?

         21                  THE COURT: Do you mean in or out of the

         22         ambulance?

         23         A      I can't, with 100 percent certainty I can't. I would

         24 assume it was in the ambulance, that's what a vague memory would

25            say, but I don't want to say with certainty unless I'm sure.


                                                                                    NS
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                                                                              639
                         Gonzalez-Defendant Ball-Cross (Mr. Shortt)

          1          Q      So you think it may have been in the ambulance?

          2                   THE DEFENDANT BALL:   Asked and answered, your

          3          Honor. He just explained that.

          4                   THE COURT: This is cross-examination, I will

          5          allow it.

          6          Q      Where do you interview patients, the majority of your

          7   patients?

          8          A      For street calls usuall y inside the ambulance for

          9 privacy reasons.

        10           Q      What do you remember --

        U                     MR. SHORTT: Can I see People's Exhibit 5 in

        12           evidence?

        13                    (Handing.)

        14           Q      I will hold up a few photographs. I will show them

        15    to defense counsel and the defense and the jury. I'm asking you

        16 specifically about this person, looking at him, do you remember

        17    him?

        18           A      Yes.

        19           Q     Was that the person that you treated?

        20           A      Yes, that's the person referred to in my patient care

        21    report.

        22           Q      Do you recall seeing this injury?

        23           A     Now that I see the picture, I want to say I do, but I

        24    didn't until now.

        25                    (Handing.)


                                                                                    NS
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                        Gonzalez-Defendant Ball-Cross (Mr. Shortt)

          1         A      Vaguely.

          2         Q      Do you recall cleaning any wounds on Mr. El Turkey?

          3         A      I don't recall doing so, but if that -- I would have,

          4 but maybe not because he was a refuse all so maybe not.

          5         Q      But your inclination if you saw something like that

          6 would have been to clean those wounds?

          7         A      At least, yes.

          8                  THE DEFENDANT BALL: Objection.

          9                  THE COURT: I will allow it.

         10         Q      Where would that have taken place?

         11         A      Inside the ambulance.

         12         Q      Do you recall these injuries?

         13         A      No.

         14         Q      I'm going to ask you a take a look at the comments

         15   you wrote. Mr. Ball selectively read some of it.

         16                  THE COURT: Sustained to that.

         17                  THE DEFENDANT BALL: Thank you.

         18        Q      Can you actually read the full comments that you

         19 wrote that day about Mr. El Turkey?

        20         A      The whole narrative?

        21         Q      Yes.

        22         A      From patient was?

        23         Q      Yes.

        24         A      Patient was robbed by a group of males unarmed

        25 punched left eye hernatoma left cheek, tooth loose, pain mild


                                                                                    NS
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                        Gonzalez-Defendant Bali-Cross (Mr. Shortt)

          1 right parietal region has laceration which would be here,

          2 superficial and swelling while supine on ground held down

          3 thrusting head on floor. Negative L 0 C which is loss of

          4   consciousness, patient alert and oriented times three, Arabic,

          5 refuses medical attention transport to hospital. He states it

          6 is his religious belief and I wrote in my country we believe in

          7 God whatever happens , happens unquote. Advised risk of brain

              bleed, friend to witness RMA also couldn't convince him, refuse

          9 all signed to be left alone RMA.

         10         Q      Mr. Gonzalez, what do you remember about Mr. El

         11 Turkey's mental state that day?

         12         A      I think he was of strong character and probably a

         13   little bit upset.

         14         Q      Was he alert and aware to what was going on around

         15 him?

         16        A       Yeah, absolutely.

         17         Q      What do you mean by that?

         18        A       He did have a strong accent, that's probably why I

         19 put Arabic, but I was able to understand him. And say again,

        20    I'm sorry?

        21         Q       Sir, I will ask you, Mr. Ball asked you about the

        22    things that Mr. El Turkey signed on page 2?

        23         A       Oh --

        24         Q       What do those signatures indicate to you?

        25         A       Okay, from the front page when I first made contact


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                                                                              642
                         Gonzalez-Defendant Ball-Cross (Mr. Shortt)

          1 he is alert. The second page I demonstrated that he did show he

          2 had mental capacity to sign the legal document to refuse medical

          3 attention and that he did sign.

          4          Q      If he wasn't alert and aware to a situation, would

          5 you have allowed him to leave your care?

          6          A      No.

          7          Q      You mentioned something on page 1, what do you mean

          8 by page 1?

          9          A      Page 1 the first vitals box, the A checked off being

         10 alert that's one of the first things you check or look for to

         11   assess.

         12          Q      Do you recall him at any point having trouble

         13 communicating with you?

         14          A      No.

         15          Q      At any point did he black out in your presence to

         16 your recollection?

         17          A      No, that would have been a sure transport to the

         18   hospital.

         19          Q      So your recollection is aware of his surroundings?

         20          A      Correct.

         21          Q      He had no trouble perceiving things as you laid them

         22   out?

         23          A      Yes.

         24                 What exactly did you explain as to the consequence?

         25          A      The head injury could underline brain bleed


                                                                                    NS
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                                                                                     643
                                Gonzalez-Defendant Ball-Cross (Mr. Shortt)

              1     especially with his age, and this could be risk of death later

              2 on so that's what I explained to him, and he understood and

              3     signed.

.             4             Q      Did he have any trouble understanding you?

              5             A      No.

              6             Q      If he did, would you have allowed him to leave your

              7     care?

              8             A      No, because we have to make sure the patient is

              9 explained the risk and that he acknowledges and accepts the

             10     risks, that's what he is signing a waiver for. So if he cannot

             11 accept and sign a refusal waiver, then he wouldn't be able to

             12     RNA.

             13             Q     After you met Mr. El Turkey, do you recall whether or

             14 not you had any blood on you?

             15 -           A     No.

             16             Q     Would there be any indication of that in the report?

             17             A      I wouldn't put it.

             18                      MR. SHORTT: Can we show him the FDNY SPRINT

19                          report? I believe Defendants' Exhibit F.

            20                       (Handing)

21                          Q     Mr. Gonzalez, after you left this call, first of all,

            22 how long were you dealing with Mr. El Turkey for?

            23              A     About -- it could be somewhere around 14 minutes or

            24      less.

            25              Q     What did you do after that call?


                                                                                           NS
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                                                                              644
                        Gonzalez-Defendant Ball-Cross (Mr. Shortt)

          I         A       I wouldn't know.

          2         Q       I will ask you to take a look at the SPRINT report

          3   for the FDNY. Is that the call report for this incidents?

          4         A       Yes.

          5         Q       On the second to last line ten nine eight, what does

          6 that indicate?

          7         A       I went available, so at 98 -- at 21:36 I went

          8 available, I transmitted my refuse all disposition and went

          9 available and the job is closed.

         10         Q       Had you been   covered in blood would you have gone ten

         11   nine eight?

         12         A       No, we would have gone out of service.

13                  Q       Did that happen in this case?

         14         A       No.

         15                   MR. SHORTT: Nothing further, your Honor.

         16                   THE COURT; Mr. Ball?

         17                   THE DEFENDANT BALL: Yes, sir.

              REDIRECT EXAMINATION

         19 BY THE DEFENDANT BALL:

         20         Q       Mr. Gonzalez, you know, I'm not going to go back and

         21   forth with the issue --

         22                   THE COURT: No, you are not.

         23         Q       On the time,   you know, it says you just said about

         24   ten nine eight, and you have give the disposition at 9:36; is

         25   that correct?


                                                                                    NS
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                                                                              645
                              Gonzalez-Defendant Ball-Redirect

          1         A       Yes.

          2         Q       And you said that it was 14 minutes; is that correct?

          3         A       Of total patient contact time, yes.

          4         Q       Can you indicate to us because from what time to what
5             time is the 14 minutes indicating?

          6         A       It would be from 21:21 hours, which is 9:21.

7                   Q       So from 9:21 is the time you first came in contact

          8 with the victim and at 9:36?

          9         A       I went available.

          0         Q       So for the first time that you came in contact with

              the victim was at 9:21; is that correct?

         12         A       Correct.

         13         Q       For sure?

         14        A        That's what the time --
                    Q       No, I'm not asking you what time. Is that for sure

         16 according to what you know?

         17                   MR. SHORTT: Objection.

         18                   THE COURT: According to the report.

         19        Q        Yes, sir?
20                 A        If that's what the report says, that's what happened.

        21         Q        Thank you.

        22                    THE DEFENDANT BALL: No further questions, your

        23         Honor.

        24                    THE COURT: Thank you. Mr. Gonzalez, you may step
        25         down.

                                                                                    NS
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                                        Proceedings

                             (Witness excused.)

          2                  THE COURT: Mr. Ball, anything else?

          3                  THE DEFENDANT BALL: I'm ready, to rest, your

          4         Honor.

          5                  THE COURT: The defendant rests?

          6                  THE DEFENDANT BALL: Yes.

          7                  THE COURT: All sides rest?

          8                  MR. GIBBONS: Yes.

          9                  MR. SHORTT: Yes.

         10                  THE COURT; Very good. We will take ten minutes.

         11         Take charge of the jury. Do not discuss the case amongst

         12         yourselves.

         13                   (Jurors exit the courtroom.)

         14                  THE COURT: Motions?

         15                  MR. GIBBONS: At this time I renew my application

         16         for trial order of dismissal based on the fact that the

         17         District Attorney has failed to prove a prima facie case

         18         based on the same reasons I gave earlier.

         19                  THE COURT: Mr. Shortt?

         20                  MR. SHORTT: Nothing has changed as the result of

         21         the defense case, I rely on the record.

         22                  THE COURT: The motion is denied. Mr. Ball?

         23                  THE DEFENDANT BALL: You know, I have a whole

         24          litany of reasons that I propose this case be dismissed at

         25         this time because, your Honor, I have shown a clear showing
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                                         Proceedings

           1        that perjured testimony is being brought before the Court

          2         in the prosecution of me. Of the, what do you call, the

                    EMS worker just testified that it was not until 21 minutes

          4         after nine that he first came in contact with the victim at

                    the crime scene, your Honor, at 21 minutes after nine I was

                    already in the precinct, your Honor. It's impossible for

          7         this to be right. I was in the precinct at 21 minutes

           8        after. If you look at the SPRINT report which is in

                    evidence, I was arrested at six minutes after nine. At 21

         10         minutes after, I was already in the precinct, and I demand,

         11         your Honor, that I be released immediately because I have

         12         shown beyond a reasonable doubt, your Honor, that this

         13         Court has been put a -- a blanket has been put on this

         14         Court and a fraud, your Honor. I ask you with your

         15         judicial powers, you know, you are not a stupid man, your

         16         Honor, you have been in this business a long time, you

         17         cannot stand there and tell me that I have not proven that.

         18                  THE COURT: Mr. Shortt?

         19                  MR. SHORTT: Rely on the record, your Honor.

         20                  THE COURT: All right. Motion denied. I have

         21         verdict sheets for Mr. Ball.

         22                  THE DEFENDANT BALL: I don't want verdict sheets

         23         because we are not going to use verdict sheets in this

         24         case.

         25                  THE COURT: Yes, we are


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                                          Proceedings

               1             THE DEFENDANT BALL: Your Honor, I don't want to

               2    use verdict sheets. I would rather the jury to go and

               3    deliberate and come back with a vote.

               4             THE COURT: That's what they are going to do.

               5             THE DEFENDANT BALL: They don't do that with a

               6    verdict sheet.

               •1            THE COURT; They do in my courtroom. Do you want

               8    to review the verdict sheets?

               9             MR. SHORTT: Yes, your Honor.

          10                 MS. POVMAN: It doesn't have a degree.

          11                 THE COURT: We will fix that.

          12                 THE COURT CLERK: Is it on both?

          13                 MS POVMAN:   Yes.

         14                  MR. SHORTT: On all of them it says in the degree.

         15                  THE DEFENDANT BALL: We object to that.

         16                  THE COURT: All right. We will fix it.

         17                  MR. SHORTT: I'm going      to step out for a moment to

         18         use the restroom.

         19                  THE COURT: Okay.

20                            (Whereupon, a brief recess was taken.)

         21                  THE COURT CLERK: Both attorneys and DA have

         22         signed for the defendant Brooks, and the DA has signed

         23         Mr. Ball's verdict sheet. Mr. Ball will not sign.

         /2-                 THE COURT: For the record, Mr. Ball, you are

                    objecting to the use of a verdict sheet altogether?


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                                         Proceedings

          1                  THE DEFENDANT BALL: Yes, sir.

          2                  THE COURT: Noted and overruled. Ready to go?

          3                  MR. SHORTT: Judge, I think we have to pro forma

          4         have a charge conference.

          5                  THE COURT: We have had two.

          6                  MR. SHORTT: At the close of the defense case.

          7                  THE DEFENDANT BALL: Objection, your Honor. I

          8         think we have held off this trial long enough.

          9                  THE COURT: Yes, we have had two charge

         10         conferences.

         11                  MR. ST-IORTT: Both Mr. Ball and Mr. Gibbons are

         12         fine with this?

         13                  MR. GIBBONS: No problem.

         14                  THE COURT; All right. Bring in the jury.

         15                  (Whereupon, there was a brief pause in the

         16         proceedings.)

         17                  THE COURT OFFICER: Jurors entering.

         18                  (Sworn jury enters the courtroom.)

         19                  THE COURT CLERK: Do all sides stipulate to the

         20         presence and proper seating of the jury?

         21                  MR. SHORTT: Yes.

         22                  MR. GIBBONS: So stipulated.

         23                  THE COURT CLERK: Mr. Ball?

         24                  THE DEFENDANT BALL: Yes.

         25                  THE COURT CLERK: Thank you.


                                                                                    NS
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                                         Proceedings

          1                  THE COURT: Ladies and gentlemen, we are now at

          2         the stage where the attorneys will make their closing

          3         arguments to you I remind you that what is said in these

          4         closing arguments is not evidence. You have heard all of

          5         the evidence that you will hear in this case. The

          6         summations or closing statements do provide the attorneys

          7         an opportunity to review the evidence presented and submit

          8         for your consideration the facts, the inferences and the

          9         conclusions which they contend may be properly drawn from

                    the evidence that has been presented. For closing

                    statements we go in reverse order so we will begin with

         12         Mr. Ball.

         13                  Mr. Ball, you may proceed.

         14                  THE DEFENDANT BALL: Good morning, ladies and

         15         gentlemen of the jury. How is everyone doing today?

         16         Fine?    I don't hear you guys. Everybody is fine?         Okay.

         17         Good.

         18                  You know, earlier during this trial when it first

         19         started, I don't know if you guys remember, but I made a

         20         statement and the statement was that I'm going to show you

         21         even though that it's not my job to show you that I was

         22         innocent, and that I would show you that it was impossible

         23         for me to have committed this crime. You know, I'm glad

         24         that I get a chance to go first today because you guys just

         25         got an opportunity to hear the EMS worker tell you that he


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                                                                                   651
                                       Summation-Defendant Ball

                1        first came in contact with the defendant at 9:21.

                2                 MP SHORTT: Objection, your Honor.

                3                 THE DEFENDANT BALL: The victim, I apologize. And

                4        that his last contact was at 9:36, and that all of this

                5        stuff that you heard today as far as interacting with him

                6        took place within 14 minutes between the time of 9:21 and

                7         9:36. Okay. Now, I have to say to you, ladies and

                8        gentlemen, that early when this first incident whole trial
II
9                        started, which you can go back to the minutes and you can

              10         check it out, the officers testified that at 9:13 was the

              11         call time from central that indicated that both me and

              12         Mr. Brooks were already arrested and at the precinct. This

              13         was considered a check time -- arrest time. Anarrest time

              14         that was established from when everything was wrapped up

              15         and both the defendants were arrested and at the precinct.

              16                  Now, in the case that the victim came in contact

              17         with the EMS worker at 9:21 through 9:36 that would mean

              18         that I missed the time of being available to be identified

              19         while he was in the ambulance even though there is no

              20         indication that he was ever in the ambulance, and I think

              21         that I would like for you guys to keep that in mind that it

              22         was impossible for me to have underwent the identification

              23         at that time if I was already at the precinct, it would be

              24         impossible.

              25                  I will now go on and read my opening statement --


                                                                                         NS
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                                 Summation-Defendant Ball

          1         closing, I apologize.

          2                  Ladies and gentlemen of the jury, before I start

          3         my actual closing, this is just something I wanted to read.

          4         I would like to say thank you to each and every one of you

          5         as well as reflect on one very important issue which is the

          6         night of July 3, 2012. Mr. El Turkey was a target of an

          7         assault whether by two guys or a group of guys, Mr. El

          S         Turkey was targeted as an easy mark and was, I'm sure, the

          9         victim of a brutal attack. My heart goes out to him and

         10         everyone who is or has been targets of petty crimes, black

         11         on black violence or violence of any kind.

         12                  Ladies and gentlemen, I repeat what Judge Schwartz

         13         brought up earlier in the trial. He says he brought to our

         14         attention that during the outset of the trial, out of many

         15         thousands of police in New York, you will find many that

         16         are good, however, you will find some that are not so good.

         17                  That night, ladies and gentlemen, a lot of things

         18         went down some of which may never be uncovered. However,

         19         on July 3, 2012, being targeted -- excuse me, on July 3 of

         20         2012, Mr. El Turkey was not the only victim being targeted.

         21         I too was being targeted as an easy mark by Officer Pampena

         22         who recognized me as having a substance abuse problem,

         23         someone who was weak and vulnerable, a crack head, who no

         24         one would ever; believe over a cop, a person who more than

         25         likely is uneducated and unable to fend for himself within


                                                                                    NS
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                                                                              653
                                 Summation-Defendant Ball

          1         our blind system of justice. Simply put: Who would ever

          2         care?

                             Well, I did, ladies and gentlemen of the jury, I

        :4          did, because contrary to popular belief, people with

           5        substance abuse problems are still human beings, and though

           6        many of them, and I will say again, though many of them are

          7         bad and steal to support their habit, there are some that

           8        do not. I am 50 years old and since 2005 have been

                    receiving SSI, and I have a direct deposit account at the

         10         same PLS check cashing place mentioned on this case.

         11                  MR. SHORTT: Objection, your Honor. He is

         12         testifying. If wanted to testify --

         13                  THE COURT: The objection is sustained.

         14                  Mr. Ball, limit your summation to what facts have

         15         been brought out at this trial as evidence.

         16                  THE DEFENDANT BALL; Ladies and gentlemen of the

         17         jury, the greatest dangers to liberty lurk in insidious

         18         encroachment by men of zeal well-meaning but without

         19         understanding. This was quoted by Justice Louis Brandeis

         20         who lived from 1856 to 1941. And it is established that

         21         the United States wins its points whenever justice is done

         22         as citizens in this courts however the pattern is

         23         unmistakable over and over again the government has been

         24         caught in false representations and otherwise failing to

         25         perform its duties under the constitution and the rules.


                                                                                    NS
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                                 Summation-Defendant Ball

          1         Over and over again when caught the government has claimed

          2         that it has simply made good faith mistakes. Repeated

          3         instances of deliberate and flagrant misconduct justifies

          4         dismissal of this case. Court decisions emphasize the

          5         unifying premise in all of the supervisory power cases that

          6         although the doctrine vindicates the defendant's rights in

          7         individual cases it is designed to invoke primarily to

          8         preserve the integrity of the judicial system. The court

          9         has particularly stressed the need to use supervisory

         10         powers to especially prevent courts to become accomplices

 •       11         to such misconduct. It is simply wrong. This type of

         12         conduct cannot and must not be condoned. In fact it must

         13         be strongly condemned. Prosecutors play a special role in

         14         our system of justice and by necessity courts and

         15         defendants rely on the government fulfilling this

         16         responsibility with integrity.

         17                  Officer Pampena gave a fictitious account of the

         18         events surrounding this case from the imaginary arrest of

         19         me defendant Ball running away from the crime scene. At no

         20         time did he consult with the victim inside the EMS truck to

         21         identify the defendant Ball as part of an investigation as

         22         stated by Officer Pampena because the victim refused all

         23         and any treatment from the EMS technician on that night of

         24         July 3, 2012.

         25                  The government's obligation to govern impartially


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                                                                              655
                                 Summation-Defendant Ball

           1        is as compelling its obligation to govern at all and

           2        interest therefore in criminal prosecution is not that it

           3        shall win a case, but that it shall see justice done.

           4                 Sadly that did not happen here in this case the

           5        court and the public can have no confidence in the

           6        integrity of this proceeding because it can have no

                    confidence in the integrity of the government's conduct in

           B        this case. The case should be dismissed. I call to

           9        account those whose power has been vested that is you,

         10         ladies and gentlemen of the jury. The government has an

         11         affirmative duty to disclose evidence that may be the tip

         12         of the iceberg of other misconduct even if the government

        i 13        has not investigated whether or not that is the case.

         14         Government has an affirmative duty to disclose mere

         15         indications of improper conduct by witnesses, government

         16         personnel so as to enable defense counsel to undertake the

        • 17        inquiry which the government deliberately avoided.

         18                  In the Boston Globe on April 9 of 2009, your job

         19         as Assistant District Attorney is not to convict people,

         20         said Attorney General Holder. Your job is to do justice,

         21         your job is in every case, every decision that you make to

         22         do the right thing, and anybody who asks you to do

         23         something other than that, is to be ignored. Any policy

         24         that is in issue with that is to be questioned and brought

         25         to my attention and I mean that, emphasis added.


                                                                                    NS
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                                                                              656
                                 Summation-Defendant Ball

          1                  The American Bar Association, ladies and gentlemen

          2         of the jury, has standards regarding the prosecution's

          3         function and more often than any other professional

          4         standards are -- and honored in their breach rather than in

          S         their observance. Moreover, it is rare that any judicial

          6         disciplinary body attempts to enforce the violations that

          7         they might commit. The standards are more illustrative in

          8         the ideal of barometer of justice in how far the

          9         prosecutors, Prosecutor Shortt's demeanor is from that

         10         ideally. It is not reassuring that the standards asserted

         11         that the prosecutor should not knowingly offer false

         12         evidence or the false document tangible or testimony of

         13         witnesses. The National District Attorney's Association

         14         very first standards states that it is the primary

         15         responsibility of the prosecutor to see that justice is

         16         done. Another standard demands that whenever the

         17         prosecution has knowledge of misconduct or incompetency in

         18         another entity of prosecution, it is his responsibility to

         19         reports that information to supervisory authorities and

         20         take such actions necessary to sanction the misconduct and

         21         remedy the incompetence. In most cases the government

         22         falls its obligation to turn evidence over or they commit

         23         perjury concerning particular portions of events.

         24                  Today we have before us of a case of a magnitude

         25         which shows total disregard for the judicial system as to


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                                 Summation-Defendant Ball

           1        qualify as criminal. When District Attorney short and

          2         Officer Pampena in their seal to prosecute the defendants

        '3          Ball and Brooks brought a presentment before the Grand Jury

           4        proceeding that was beyond totally flawed. However,

           5         Pampena testified to a transaction, a matter or thing of

           6        which he had no connection and his testimony was not real

                    and/or of some substantiality, however, merely trifling and

           8        imaginary and at best speculative.

           9                 Ladies and gentlemen of the jury, to hold

         10         otherwise would to allow indeed encourage witnesses to

                    invent encounters with real people in the hope that the

         12         mention of actual objects and real persons would shield

         13         them from prosecution. Ladies and gentlemen of the jury,

         14         District Attorney Shortt has checked his ethical

         15         responsibilities at the door.

         16                  MR. SI-TORTT: Objection, Judge.

         17                  THE DEFENDANT BALL: This trial has revealed

         18         itself as a dark bloom, a terrible flower.

         19                  THE COURT: Sustained.

         20                  THE DEFENDANT BALL: The root cause of the dark

         21         bloom is the case has been fundamentally poorly prosecuted

         22         from the outset. Mr. Shortt, as an officer of the court,

         23         set out to prosecutes Mr. Brooks and I on perjured

         24         testimony and presented witnesses trained to say what he

         25         wanted them td sa y . The purpose of the trial was to get


                                                                                    NS
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                                      Summation-Defendant Ball

               I         factual information to you, ladies and gentlemen of the

               2         jury, and Mr. Shortt has been playing games. It is a touch

                         stone of our criminal justice system that a prosecutor's

               4         interest in a particular case is not necessarily to win but

               5         to do justice.. It is the sworn duty of the prosecutor to

               6         assure that the defendants have a fair and impartial trial.

               7                  Ladies and gentlemen of the jury, I know that it

               B         is not my responsibility to prove my innocence. However,

                         my right sense of justice obligates me to give you all a

              10         clear showing as to it would be impossible the words I used

              11         at the beginning of this trial for the District Attorney to

•:            12         prove a lie. A lie, ladies and gentlemen, let alone that I

              13         Raymond Ball was the person that committed this crime

              14         beyond a reasonable doubt. Let me please remind you all.

              15         I said, ladies and gentlemen, I will show you it would be

              16         impossible for the District Attorney to prove that I was

              17         the man who attacked Mr. El Turkey or that Officer Pampena

              18         arrested me running away from the crime scene and being in

              19         possession of any of his property.

              20                  I never said, ladies and gentlemen, I will prove

              21         that I did not have a substance abuse problem because I

              22         would have been lying, and the evidence that you have in

              23         front of you would qualify as enough evidence to prove

              24         beyond a reasonable doubt that I smoke crack. A picture is

              25         worth a thousnd words, however, that is not what I am here


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                                 Summation-Defendant Ball

           I        on trial for today. And my being a certain way does not

          2         make me guilty of this heinous crime.

          3                  I have been totally straight with you all because

           4        I voted for you all because a part of this panel -- excuse

           5        me. I have been totally straight with you all because I

           6        picked and I voted for you all to be a part of this panel

          7         to decide my fate and my confidence in each and every one

          8         of you and your ability to uncover the truth and to stand

           9        by it. Not once did I allow your differences in color, in

         10         ethnicity or preference or anything else to stop me from

         11         giving you all the benefit of the doubt as being a good

         12         person. I beg you all, ladies and gentlemen of the jury, to

         13         give me the benefit of the doubt as being a goad person.

         14                  As to my guilt or innocence, I am satisfied that I

         15         have lived up to my showing you, the jurors, it is

         16         impossible for Officer Pampena to do what he said by the

         17         facts of the victim's testimony as well as the testimony of

         18         Officer Lanning, by the ENS report and radio run or the EMS

         19         time of arrival.

         20                  Because Officer Pampena is the one who was my

         21         arresting officer, it is important that we take a good look

         22         at his testimony. Officer Lanning testified that he was

         23         the first officer to arrive at the crime scene within

         24         seconds after 9:00 where he met the victim on the street

         25         who pointed out Mr. Brooks, and Officer Lanning testified


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                                     Summation-Defendant Ball

              1         that Officer Eampena was at the crime scene that he saw him

              7         there, and that is how Pampena was able to fill out

              3         Mr. Brooks' felony report. Quote: He had to be there on

              4         scene to fill out the report.

                                 Officer Lanning made it very clear that it took

              6         several minutes between the time he arrived at the crime

              7         scene and when Mr. Brooks was transported away and then

              8         quote: I stayed at the crime scene for another 15 minutes.

                        Mr. El Turkey, the victim himself, testified that there

             10         were one undercover patrol car and two regular cars at the

             11         crime scene and that after Mr. Brooks was taken away, he

             12         was about to be questioned by one undercover officer . who

             13         told him that the y caught the guy with his stuff, and they

             14         had brought him a phone that was not his, a Blackberry, all

             15         of this happened while outside at the crime scene. Quote:

             16         And then they brought the guy, he was far away, he had my

             17         stuff. The police told me it must have been him. If the
-
             18         police say it, you understand.

             19                  I asked Mr. El Turkey several times did you

             20         conduct the showup, the person when you were outside, yes

             21         was his answer, emphatically yes. Pampena testified that

             22         he arrested me on 105 Street and 32 Avenue and brought me

             23         back to the crime scene within two minutes, ladies and

             24         gentlemen of the jury, two minutes.

             25                  One, hen Pampena arrived at the crime scene, no


                                                                                        NS
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                                                                              661
                                 Summation-Defendant Ball

          1         one was there, no other officers. Impossible. Lanning

          2         said I stuck around for another 15 minutes.

          3                  Two, that when Pampena arrived at the crime scene

          4         within two minutes, Mr. El Turkey was already inside the

          5         ambulance being treated. Impossible. Because the time EMS

          6         arrival which we now have available, 9:21, ladies and

          7         gentlemen, through 9:36 is impossible. And Mr. El Turkey

          8         testified that it was not until later that he got into the

          9         ambulance for 15 minutes of being treated at which time I

         10         turned my head and closed my eyes while they cleaned off

         11         the blood.

         12                  Three, Officer Pampena also testified that two

         13         minutes after returning to the crime scene he conducted a

         14         showup of me to Mr. El Turkey while he was inside the EMS

         15         truck. Impossible because the EMS truck was not there

         16         until 9:21, and the testimony given by the victim, Mr. El

         17         Turkey, he was outside when the police bought the guy who

         18         was far, far away for a showup. I asked Mr. El Turkey

         19         several times was you inside or outside when you did the

         20         showup. Each time with certainty he gave the same answer,

         21         I was outside.

         22                  Four, Officer Pampena testified that he recovered

         23         an iPhone only, an iPhone only from me. Officer Pampena

         24         also testified that he never gave the victim a Blackberry.

         25         Impossible because Mr. El Turkey made it very clear that he


                                                                                    NS
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                                                                              662
                                 Summation-Defendant Bait

          1         was given a Blackberry phone that did not belong to him

          2         first, and then he saw the officer leave off and come back

          3         with the phone that turned out to be his the second time.

          4         Did you see where he got it from, I asked him. From out of

          5         the sewer grate was his response

          6                  Five, Officer Pampena testified that he took the

          7         pictures while Mr. El Turkey was in the ambulance.

          8         Impossible because in the upper right happened corner of

          9         the picture you can see the lighted window of someone's

         10         apartment.

         11                  Six, Officer Pampena testified that Mr. El Turkey

         12         stopped in the middle of being treated inside of the EMS

         13         truck and got out of the EMS truck because of his religion.

         14         Impossible because Mr. El Turkey testified that he

         15         underwent treatment inside the EMS truck for 15 minutes.

         16         He never mentioned religion which I'm sure was the same

         17         religion he had before he got into the ambulance. That he

         18         found a religion in the 15 minutes of being treated inside

         19         the EMS truck a religious that prohibits being treated

         20         borders, ladies and gentlemen on impossible. The blank EMS

         21         report all of this treatment is being done to the victim,

         22         and the EMS report is blank and the EMS workers never wrote

         23         anything down. Impossible, ladies and gentlemen, of the

         24         jury. Officer Lanning of eight years of service arrived at

         25         a knife point robbery where the victim was seriously


                                                                                    NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 809 of 907 PageID #: 1172


                                                                              663
                                 Summation-Defendant Sall

          1         injured and never wrote anything down nor provided any

          2         help, medical assistance or treatment for Mr. El Turkey.

          3         Impossible because our better judgments tell us it is not

          4         acceptable behavior from any officer of any branch of civil

          5         service to do such a thing.

          6                  Nine, Officer Pampena, ten years of service,

          7         arrived at a crime scene where a man stops and voluntarily

          8         gives himself to the police having a phone he got from a

          9         guy on 105 Street recovered from me, Mr. El Turkey's phone

         10         and money, took me back to Northern Boulevard for a showup

         11         where Mr. El Turkey was inside the EMS truck being treated

         12         where Pampena took pictures and returned property to me --

         13         to Mr. El Turkey and never wrote anything down. Impossible

         14         because we have to be downright stupid to believe such a

         15         story.

         16                  And last but not least, the photographs put into

         17         evidence by District Attorney Shortt of the money, phone,

         18         victim's injuries, etcetera, are of no substantiality at

         19         all and to consider it as facts to convict a person of

         20         committing a crime where there has been -- there has not -

         21         been established a connection, it is indeed impossible

         22         because such evidence is not legally sufficient when

         23         corroboration that would be required as a matter of law to

         24         sustain a conviction for such an offense is absent.

          5                  MR. ShTORTT: Objection, Judge, Mr. Ball is quoting


                                                                                    NS
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                                                                              664
                                 Summation-Defendant Ball

          1         law.

          2                  THE COURT: I will allow it.

          3                  THE DEFENDANT BALL: Competent - thank you, your

          4         Honor.

                             Competent and admissible evidence before you

          6         provides beyond a reasonable doubt that     such person
                    committed such offense, emphasis added, ladies and

          8         gentlemen, on the word competent and reliable. Has the

                    evidence before you guys that was presented along with the

         10         facts shown my guilt?     Has it been competent and reliable,

         11         the information obtained thus far?

         12                  Mr. El Turkey, who knew his assailant over a long

         13         period of time who he seen several times a day was not able

         14         to say it was I who he described as the perpetrator. His

         15         description, ladies and gentlemen was a male black, gay,

         16         who sometimes wear women's clothes. I will not respond to

         17         that.

         is                  Despite my chance or my change over a period of

         19         time, Mr. El Turkey's last words on the stand was he had

         20         hair like yours and he was big like you are. Ladies and

         21         gentlemen of the jury, you have my picture available. I

         22         weighed only 149 pounds the night I was arrested. Do you

         23         believe that each witness showed you that they were

         24         competent and reliable?     That question, ladies and

         25         gentlemen, is 'what needs to be answered along with the


                                                                                    NS
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                                                                              665
                                 Summation-Defendant Ball

          1         facts if any exists.
          2                  You know, when I first started this trial, I felt

          3         upset for being pegged as an accomplice to a crime I didn't
          4         commit. I refused to give into the forces that be.

          5         However, today my anger is toward the courts for admitting

          6         to make you for attempting -- excuse me, to make you the

          .7        jurors accomplices in a crime to convict a man of a crime

                    he didn't commit.

          9                  Ladies and gentlemen of the jury, to me, freedom

         10         is not being afraid to die for the truth or justice, and

         11         all we have to do is look back at the history of our

         12         beautiful America or our ancestors or respective country

         13         men and women. And always remember, please, united we

         14         stand divided we fall, and today I stand on the square of

         15         truth, and I invite all who desire freedom and justice for

         16         all to stand with me. Thank you very much.

         17                  THE COURT: Thank you, Mr. Ball.

                             Mr. Gibbons?

         19                  MR. GIBBONS: Your Honor, before I start, could I

         20         have a few of the exhibits, please?       I would like People's

         21         Exhibit 1 and 4 and Defendants' Exhibit Al and A2. Thank

         22         You.

         23                  (Handing.)

         24                  MR. GIBBONS: May I, your Honor?

         25                  THE COURT: You may.


                                                                                    NS
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                                                                              666
                                   Summation-Mr. Gibbons

          I                  MR. GIBBONS: May it please the Court, Assistant

          2         District Attorney Shortt, Miss Povinan, Mr. Ball, ladies and

          3         gentlemen of the jury: On behalf of my client, Elijah

          4         Brooks, I would like to thank you for taking your time and

          5         giving attention to this very important task that's been

          6         assigned to you. I don't mean to insult your intelligence

          7         as I'm sure it's clear as it is to me, but I have a job to

          B         do and I can assume nothing. Not only is your task an

          9         important one, it is oftentimes a difficult one as well.

         10         standing in judgment, making a decision that will impact

         11         human lives.

         12                  I want to make that easier for you by giving you

         13         reasonable doubts ttat you will need where you will hardly

         14         have a choice but to find Mr. Brooks not guilty. All you

15                  need is one reasonable doubt, but I'm going to provide a

         16         laundry list of reasonable doubts which I submit is all

         17         supported by the evidence presented by the District

18                  Attorney's office.

         19                  Now, this is my only op p ortunity to address you.

         20         Mr. Shortt has the privilege of going last with the

         21         summations so I will ask for your help. The after I'm done

         22         and sit done and Mr. Ball gets up --

         23                  THE COURT: Mr. Shortt.

         24                  MR. GIBBONS: I'm sorry. Mr. Shortt gets up, a

         25         very seasoned attorney, he may raise questions about what I


                                                                                    NS
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                                                                                  667
                                       Sum-mat ion-Mr. Gibbons

              1         brought up, and I want you to think to yourselves what

              2         would Mr. Gibbons say to that. Mr. El Turkey could not

              3         identify Mr. Brooks in court despite given two attempts

              4         and, yes, time could have been a factor but so could the

           j5           fact that the wrong man was initially accused. The acting

              6         in concert charge there was absolutely no proof given, no

              7         proof given apart from the word of Mr. El Turkey that these

              8         two men had anything to do with each other on that night or

              9         any other night. Do not presume just because they were

             10         both arrested that night and sat here together through this

             11         trial that they know each other, are connected in any way,


I            12

             13
                        shape or form. There has been no proof of this beyond

                        Mr. El Turkey's word. Nothing has connected them.

             14         Remember they were not arrested together. Mr. Brooks was

             15         arrested either walking towards the crime scene or through

             16         the crime scene or at the crime scene, and Mr. Ball was

             17         arrested about a block and a half to two blocks away

             18         running from the crime scene.

             19                  There is a saying that there is no honor among

             20         thieves, but if these two were acting together, there

             21         certainly did not seem to be any rushing on Mr. Brooks'

             22         part to meet up and split the proceeds. He was found

            23          casually chatting with another individual at the crime

            24          scene. When Mr. Brooks was pointed out, he doesn't match

             25         the description apart from being a male black, that's it.


                                                                                        NS
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                                                                              668
                                   Summation-Mr. Gibbons

          1.                 Mr. El Turkey said that the heavy guy was wearing

          2         a red shirt and black pants with short black hair. You can

          3         have that testimony read back to you, red shirt, black

          4         pants, short black hair. The arrest photos of my client is

          5         in evidence as Defendants' Exhibit C. It shows him wearing

          6         a white shirt, not a red shirt, shorts admittedly long

          7         shorts, but short pants with completely shaved head. The

          8         officers testified no opportunity to get a razor blade in

          9         the prison in the precinct and shave his head, no

         10         opportunity to change his clothes. White shirt shorts,

         11         shaved head.

         12                  Detective Lanning also told you that Mr. Brooks

         13         had a red hat on and even laughed at the memory of it.

         14         There was no mention of any hat anywhere in any of the

         15         descriptions given by Mr. El Turkey.. The arrest report

         16         prepared by Police Officer Pampena also lists a red hat and

         17         it lists unusual teeth. You all saw the teeth, and Officer

         18         Pampena testified to them, and again no mention of that

         19         anywhere in the description.

         20                  Now, if you had never seen me before, and I'm

         21         suddenly on top of you about two feet in front of you, and

         22         I'm screaming . I will kill you, motherfucker, then you see

         23         me again maybe two minutes later and I snarl the same

         24         threat, I will, kill you, motherfucker, wouldn't my missing

         25         the teeth be the kind of descriptor that jumps out?


                                                                                    NS
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                                                                               669
                                   Summation-Mr. Gibbons

           1        Wouldn't that be something you see and remember this guy

           2         had no teeth? They were even described by Police Officer

           3         Pampena as unusual, as unusual. Isn't that what you look

           4         for in a good description, what was unusual, what set

           5         someone apart from the ordinary, from the vague

           6         description, male black? Nowhere in any of the

           7         descriptions of this heavy guy were his unusual teeth

           8        mentioned by Mr. El Turkey.

           9                  Look at the arrest photo again. It shows my

          10         client with a goatee, again no mention of any     facial hair
          11         anywhere in any description by Mr. El Turkey. He certainly

          12        didn't grow that in the couple of hours between his arrest

          13        and the arrest photo. When he is pointed out to Detective

          14        Lanning, he testified there was no blood on his white

          15         shirt, no injuries to his hands which you would expect

         16         after numerous violent punches to a hard bony skull       and
         17          face, no injuries to his hands. This is telling he was not
         18         disheveled, he wasn't disheveled.

         19                  You remember Mr. El Tukey testified from the time

         20         of the assault to the time he saw the. heavy assailant again

         21         was maybe 90 seconds, then the time from the second phone

         22         call saying he is back, he is back, and then pointing
         23         Mr. Brooks out as the heavy guy was maybe 15 seconds, so a
         24         total of less than two minutes. Let's say it took a little

         25         longer, maybe Mr. El Turkey's adrenaline is pumping. It


                                                                                     NS
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                                                                              670
                                   Summation-Mr. gibbons

          1         happened faster maybe two or three or four or five minutes.

          2                  According to Mr. El Turkey, the heavy guy

          3         proceeded southbound on 105 Street towards 34 Avenue. So

          4         you don't see all of it, but he is going down 105 Street

          S         southbound and he testifies about 90 seconds later while he

          6         is in the deli, he sees the heavy guy coming from his left

          7         in the area of 104 Street, so presumably he ran down 105

          8         where he saw him go last, along 34 Avenue which you can't

         .9         see here, back up 104 Street and back up to the deli where

         10         he encountered him again. Then after he sees him he goes

         11         back around 105 Street where he is pointed out within 15

         12         seconds he testified. That would mean if Mr. Brooks is the
         13         actual perpetrator who would have just committed a violent,

         14 .physically demanding assault run about three and a half

         15         city blocks around a corner, confront Mr. El Turkey again,

         16         continue around the corner another half a block to the

         17         point of the assault, and he is not disheveled?        Shirt not

         18         pulled out not sweating like a pig on a summer night in New

         19         York City?    Common sense, ladies and gentlemen, tells you

         20         they got the wrong guy, but there is more.

         21                  Remember we talked about the opportunity to

         22         observe, and I submit that Mr. El Turkey's opportunity to

         23         observe was hindered by the quickness and violence of the

         24         assault itself. He testified that he      never fully turned
25                  around to view the heavy guy until just     before the assault

                                                                                    NS
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                                                                              671
                                   Summation-Mr. Gibbons

          1         which was sudden and a violent push that propelled Mr. El

          2         Turkey backwards and to the ground. Once he is on the

          3         ground, he testifies that the heavy guy is on top of him,

          4         and he is fighting back, the heavy finally grabs his head

          5         and slams it to the pavement twice and then starts punching

          6         him violently in the head and face.

          7                  I submit when a person is pushed over violently,

          8         they instinctually close their eyes at the impact, and when

          9         they are falling they kind of close their eyes and hit the

         10         ground. When you are fighting unless you are trained and

         11         punches being rained on you, you are instinctually closing

         12         your eyes, certainly when his head is bashed to the

         13         pavement and punched in the face certainly closing his

         14         eyes.

         15                  Then after this violent beating, I submit he must

         16         have been stunned, maybe perception fuzzy, eye swelling and

         17         damaged his head bleeding from having been bashed to the

         18         ground repeatedly, how well could he have actually seen

         19         this heavy guy? Now the second encounter, I submit it was

         20         the same guy and why? Because the language that Mr. El

         21         Turkey testified this heavy guy used was exactly the same

         22         unless there was an echo, it was the same guy who said the

         23         same words I will kill you motherfucker. He remembered

         24         those words, that's why it must have been the same heavy

         25         guy with the red shirt, black pants and short hair.


                                                                                    NS
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                                                                               672
                                   Summation-Mr. Gibbons

           1                  Again, nothing about missing teeth, nothing about

           2         a goatee, nothing about a red hat from Mr. El Turkey. So

           3        Mr. El Turkey quickly closes the door to the deli after the

           4         second encounter and tells his friend to call the police

           5         again.

           6                  Now, you have to look at the photos of the deli.

           7        Mr. El Turkey testified if you walk into the door of the

           8        deli the counter where his friend was, was to the left. If

           9         you look at the photographs here, the windows are obscured.

          10         If you look at the photograph here, there is an ice machine

         11         and the window there is obscured. I submit when he is

         12         scared and runs in immediately to tell his friend that he

                    is back, that he can't tell, he wouldn't have been able to

         14         tell where the person fled. He was not out looking. He

         15         was talking to his friend with his vision obscured so is it

         16         possible that this heavy guy went down 105 Street?

         17         Possible that he went any other place? That's also

         18         possible.

         19                   I submit to you that he couldn't have seen it,

         20         probably mistaken, but even if he was correct, that guy

         21         that went down 105   Street, this heavy guy was long gone
         22         before the cops showed up, and Mr. El Turkey got in that

         23         car.

         24                   Now, hen they got in the car and they went up the

         25         block, Mr. Brooks is the first black guy. He says -- the


                                                                                     NS
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                                                                              673
                                   Summation-Mr. Gibbons

           1        testimony is he is standing next to a tall, skinny other

          2         black guy, and if Mr. El Turkey remembers this person is

           3        heavy, that would certainly set one guy apart next to a

           4        skin guy. Mr. Brooks is a big guy.

           5                 So now Mr. Brooks is arrested solely on the word

           6        of Mr. El Turkey, that I submit as likeable a guy as Mr. El

          7         Turkey was, his word was unreliable. Detective Lanning was

          8         of no help in ascertaining the truth either. He relied

          9         solely on Mr. El Turkey's point out. Now, in his defense

         10         one of the three male blacks described was said to have

         i-i        been wearing a white shirt and black shorts. Mr. Brooks --

         12         I'm sorry, white shirt and black pants. Mr. Brooks had on

         13         white shirt and black shorts close enough but nothing else

         14         matched, then you heard another male black who matched the

         15         description of white shirt and black pants was also

         16         arrested almost simultaneously running away from the crime

         17         scene found with all of Mr. El Turkey's stuff.

         18                  We later   learned that Mr. El Turkey said the guy

         19         was wearing a red shirt, black pants, now they had two guys

         20         wearing a white shirt, one had jeans and the proceeds,

         21         running away from the screen, disheveled making

         22         incriminating statements, and the other Mr. Brooks had

         23         shorts, no proceeds, red hat, goatee, shaved head, missing

         24         teeth not disheveled just standing at or walking through

         25         the crime scene.


                                                                                    NS
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                                                                               674
                                   Summation-Mr. Gibbons

             1                Knowing this new information, is anything done to

             2       further investigate this crime? No, nothing is done. Are

             3       the local businesses asked about videotapes?       No. Lannirig

             4       testified this is a commercial strip, there is a check

        H            cashing a place that appears to have been the catalyst for

             6       all of this, there is a deli on the corner, no one

                     interviewed, any workers or anyone asked if there was video

             8       surveillance. The guy standing next to Mr. Brooks not

        19           interviewed, he was not asked any questions about how long

            10       they were standing there, whether they were talking or

            11       walking, where they came from, nothing, not one shred of

            12       information about him is taken down so he can be tracked

            13       down later and interviewed.

            14                I submit that even Mr. Brook's initial response to

            15       Detective Lanning is telling of his innocence. While

            16       Mr. Ball blurts out he bought the phone on the boulevard

            17       immediately and unprompted when Mr. Brooks is rushed by the

            18       cops, guns drawn, in order to lie down on a fill any New

            19       York City sidewalk, his response is go fuck yourself. I

            20       submit that's a perfectly reasonable response to being

            21       unjustly and incorrectly accused of a crime.

            22                How do you think that request to get on the ground

            23       was made?    Do you think that it was a polite softly spoken

            24       request to please lie down on the ground? Or was it a

            25       threatening command by two plainclothes officers with guns


                                                                                     NS
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                                                                               675
                                   Summation-Mr. Gibbons

           1        drawn, confronting what they believe was a knife-wielding

           2        robber? Something along the lines of: Get on the tucking
           3        ground. I don't think I would have the nerve to respond

           4        the way Mr. Brooks did, but you can certainly understand
           5        his indignation at the violent intrusion, accusation and

           6        command to lie on the sidewalk, especially if you are just

           7        standing there minding your own business.

           8                 So, common sense, ladies and gentlemen.

           9        Reasonable doubt, ladies and gentlemen. Mr. Brooks

         10         arrested and charged solely on the word of Mr. El Turkey

         11         which was unreliable. Opportunity to observe the heavy

         12         guy, very limited. Nothing connecting Mr. Ball and

         13         Mr. Brooks. The description doesn't match. No blood or
         14         damage to his hands. Not fleeing the scene, not disheveled

         15         in any way, no proceeds, no investigative police work done,

         16         and Mr. Brooks was not identified by Mr. El Turkey in this

         17         court despite being given two attempts.

         18                  July 3, 2012 to January 29, 2015, over two and a

         19         half years, 941 days Mr. Brooks has been fighting these

         20         charges. Make today the last day he has to fight these

         21         charges, and come back with the only possible verdict the

         22         evidence has given you, which is not guilty of all charges.

         23                  Thank you.

         24                  THE COURT: Thank you, Mr. Gibbons. We will now

         25         hear from the Assistant District Attorney, Mr. Shortt. You


                                                                                     NS
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                                                                              67 66
                                    Summation-Mr. Shortt

           1        may proceed.

           2                  MR. SHORTT: Before I begin, may I have all of the

           3        exhibits, please?

           .1                 (Handing.)

           5                  MR. SI-IORTT: Good morning, ladies and gentlemen.

           6         I want to confront one issue right up front. Mr. El

           7        Turkey, as he sat here in this courtroom, was unsure, was

           8        not able to tell you for sure that he remembered that these
           9        were the men as they sit here today are the ones that

          10        robbed him. If the law required that or if you needed that

          11        as jurors, I may as well just stop right now because there

          12        is nothing that I could do to change that, that was said.

         13         That happened.. As I told you in the beginning of this

         14         case, that was not brought before the Grand Jury, that is

         15         not what the Grand Jury is based upon. It is the facts of
         16         July 3.
17                            MR. GIBBONS: Objection.

         18                   THE COURT: Overruled.

         19                   MR. SHORTT: July 3, 2012 upon which you will

         20         render a verdict, the facts of that day that came out

         21         during the evidence at this trial that you will ultimately

         22         make a decision on. Mr. El Turkey, two and a half years

         23         later having never seen these men since was not able, was

         24         not sure enough to say that they are the ones that did it,

         25         but on that night, 20 minutes after the crime having just


                                                                                      NS
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                                                                              677
                                    Summation-Mr. Shortt

           1        seen them and had them just rob him was sure and he told

          2         you that night I was sure.

           3                 It's not in doubt in this case that Mr. El Turkey

           4        was robbed that night by two men acting together, acting

           5        together to throw him between two parked cars to beat him.

           6        This was Mr. El Turkey after these defendants were done

           7        with him, ladies and gentlemen, bleeding from the head

           8        after they rained below after below after below down upon

           9        him, literally ripping his wallet and cell phone from his

         10         pockets. These crimes happened. These are facts.

         11                  I want to talk to you about a few more of the

         12         facts of that night and what the evidence shows you what

         13         happened on that street that night when he was robbed and

         14         in the few minutes afterwards when these men were caught

         15         blocks from the scene wearing exactly what Mr. El Turkey

         16         said they would be wearing before the police ever got

         17         involved, and most importantly in the case of Mr. Ball

         18         carrying his cell phone and his money in his pockets.

         19                  At the beginning of the trial I told you that you

         20         would meet and get to know Tarek El Turkey, and I think

         21         over the course of the several hours that you watched him

         22         being questioned by me and by the defense you got a fairly

         23         accurate snapshot of who he is. He is the New York story,

         24         ladies and gentlemen. He came from somewhere less

         25         prosperous, lelss free, looking for the opportunity to live


                                                                                    NS
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                                                                               678
                                    Summation-Mr. Shortt

              1     in peace and work for a living, he does that six days a

          2         week, twelve hours a day doing the exact -- stereotypical

              3     New York job driving a cab on the New York City streets.

              4     His job is to be aware of his surroundings. We all see how

          5         sharp they are. Is he a little quirky? Yes, but again he

              6     is the typical New Yorker, ladies and gentlemen.

          7                  When we started this case, we told you that

          8         witnesses are one of three things, either lying, mistaken

          9         or telling the truth. Nobody here believes that Mr. El

         10         Turkey is lying. I submit to you, you should understand

         11         that too. That is not an option. Nothing in this case

         12         suggested that he had any ill will or ax to grind against

         13         these men before, and subsequently we all know where

         14         defendants sit in a courtroom. Mr. El Turkey knows, too.

         15         He watches Law and Order, 48 Hours, he knows where the

         16         defendants sit, the men he is accusing. He still said I'm

         17         not sure, under oath, I can't be sure and that's to his

         18         credit, ladies and gentlemen. This is a man that every

         19         moment when he was on the stand being questioned by me and

         20         cross examined by Mr. Gibbons and cross examined even by

         21         Mr. Ball strove to be accurate and honest. He sat there

         22         hunched over focused on every single question that was

         23         asked of him. He corrected not only me, but the defense,

         24         specifically Mr. Gibbons when Mr. Gibbons says isn't it

         25         true that you•ere asked this question and said that yes,


                                                                                     NS
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                                                                               679
                                    Summation-Mr. Shartt

           1        Mr. Gibbons, I said that. But then it took me and Mr. El

           2        Turkey to tell you I also explained myself for about 13

           3        more sentences. Mr. El Turkey remembered that. He strove

           4        to be accurate in everything that he told you, ladies and

           5        gentlemen. Specifically he remembers, ladies and

           6        gentlemen, using the defense's own exhibit, the picture

          7         that night, no ice cooler was there, but it was a little to

          8         the left, they moved it a couple of weeks after that

           9        incident. He strove to be accurate every moment of his

         10         testimony, ladies and gentlemen, that is the man who Mr.

         11         El Turkey is.

         12                  When you were selected as jurors and during my

         13         opening statement, I reminded you constantly you do not

         14         change as people when you walk into this courtroom. The

         15         fact that you bear the titles of juror does not change

         16         anything about you, you were picked because of that. I

         17         submit nothing changed about Tarek El Turkey when he walked

         18         into this courtroom. That is evidence of who he was the

         19         night of July 3 2012, the man you met in this courtroom who

         20         strove to be honest and accurate is the man who was robbed

         21         that night. That was Tarek El Turkey that night, the same

         22         man who was on the witness stand who swore to tell the

         23         truth and do the best he could. Mr. El Turkey was not

         24         phased by the questioning, just like he was not phased that

         25         night.


                                                                                     Ms
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 826 of 907 PageID #: 1189


                                                                                    680
                                         Summation-Mr. Shortt

                1                  With the calmness and coolness, he told me the

                2         next day I took a pair of pliers and ripped out my own

                3         tooth, I went to work the next day. I didn't feel that

                4        bad. He was subjected to cross-examination and thought

                5        nothing of it because he knew he was certain because he

                6        tried to be accurate. He had no problem telling you I

                7        don't know certain things. I don't know when the other

                8        police arrived. If I had my back turned, I don't know, how

                9        long I'm not sure.

              10                  But what he was sure about was the fact that the

              11         men he saw were wearing a white shirt and black pants, that

              12         the men he identified that night just minutes after the

              13         crime are the ones who did this. Mr. El Turkey you heard

              14         is not afraid to speak his mind. He has no shame about

              15         what happened that night or what his thoughts are about

              16         that night. We know he had no ax to grind against these

              17         men, but he sat here wanting to be clear and accurate about

              18         everything he told you.

              19                  Let's talk about the events of that night, ladies

              20         and gentlemen. We talked in jury selection about some the

              21         of the things you should consider in determining whether or

              22         not you think Mr. El Turkey will be accurate. You should

              23         consider where the crime happened. He told you for the
I,
              24         past four years this intersection was home, this happened

              25         within sight bi his house he told you. He had been to that


                                                                                          NS
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                                                                                  681
                                         Summation-Mr. Shortt

                  1     deli, ten, twelve times a day for the past four years to

              2         see his friends. This was not some dark alleyway.. I

                  3     showed you the lighting conditions that night. You could

              4         see every detail of what's going on, on that street corner

              5         in this picture, and Mr. El Turkey told you this is how

              6         well lit the street corner was that night. The officers

              7         told you every one of the lights that was on in this

              8         photograph was on that night. The street lights were on,

              9         the bar lights were on, the restaurant lights were on, the

             10         dancing club lights were on. We know that was not some

             11         dark alleyway, It was in front of his home where he was


I            12

             13
                        more comfortable and aware of his surroundings than

                        anywhere else.

             14                  We know how close these defendants got to Mr. El

             15         Turkey that night. He said I saw a group of guys when I

             16         walked out and went down to the check cashing place. The

             17         choice of the location was theirs, ladies and gentlemen,

             18         not his. They chose to follow him down that well lit

             19         street, and they got closer than I am to you, close enough

             20         to reach out and touch him. You heard Mr. El Turkey tell

             21         you he grabbed me, he put both hands into my chest and

             22         shoved me between that car as I was facing him and then

             23         down on the ground I spent one to two minutes with the man

             24         I thought was going to kill me. Suppose probably, I'm sure

             25         he did close his eyes as the defense wants ou to believe,


                                                                                        NS
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                                                                                  682
                                       Summation-Mr. Shortt

                1       Mr. El Turkey told you under oath I was watching the man I

                2       thought was going to kill me, I was watching his face.

                3       Now, when you are watching the man who is about to kill

                4       you, ladies and gentlemen, I submit you are looking at his

                5       eyes, not deciding whether or not he has a pretty smile.

                6       You are watching and studying his face because it is the

                7       last thing that you will see. That's what Tarek told you.

                8       He saw the man that shoved him and pummeled blow after blow

                9       after blow upon him.

               10                He told you that he saw Mr. Ball that night

               11       standing on the street corner where he had seen him

               12       multiple times before, had seen him begging for money.

               13       These were not friends, ladies and gentlemen. The fact

               14       that he does not remember him now is of no consequence I

               15       submit to you. These were not guys that played cards

               16       together, watched 48 hours together. This was the guy at

               17       the end of the street, he said I have seen him all, I do is

               18       throw him a buck or two to be rid of him so I don't have to

               19       look at him, but he still knew him.

               20                Look at where Mr. El Turkey's attention was

               21       focused during the crime, ladies and gentlemen. I submit

               22       to you the same focus he showed here on the witness stand

               23       is the focus that he showed the men that he was going to

               24       kill him. He focused on exactly who was doing what. He

               25       never wavered in the fact that Mr. Brooks was the only one


1
           1                                                                            NS
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 829 of 907 PageID #: 1192


                                                                                    683
                                          Summation-Mr. Shortt

                   1     that punched him, Mr. Brooks threw him to the ground

                  2      Mr. brooks is the one that slammed his head against the

                  3      sidewalk. He never wavered in his focus that Mr. Sall was

                  4      the one that ripped open my pockets and stole my cell phone

                  5      and my wallet.

                  6               We talked about in jury selection when you are

                  7      going through an event like that, when the adrenaline is

                  8      flowing, when you are the victim of a crime or a car

                  9      accident, the adrenaline heightens your awareness and

              10         perception -- glass of water?

              .11                 JUROR: Yes, that probably would help. Thank you.

              12                  THE COURT: Sure.

              13                  (Whereupon, there was a brief pause in the

              14         proceedings.)

              15                  MR. SHORTT; Ladies and gentlemen, we talked about

              16         in jury selection those moments in your lives that you will

              17         never forget when the adrenaline is flowing when you are

              18         confronted with a life and death situation, you are aware,

              19         you are watching what's happening, things go in slow motion

             20         and for Tarek El Turkey I'm sure it was exactly the same as

             21         your own experiences. Think back to that when considering
             22         whether Mr. El Turkey had the ability to focus on those

             23         events just like you did when you had those experiences.

             24                  Look at Mr. El Turkey's ability to describe his

             25         attackers. He said black male wearing -- at least one of

II
                                                                                          NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 830 of 907 PageID #: 1193


                                                                              684
                                    Summation-Mr. Shortt

              1     them wearing white shirt and black pants. We know what the

             2      defendants were wearing that night, ladies and gentlemen.

             3      We know that Mr. Ball was wearing exactly that, a white

             4      shirt and black pants. We know what Mr. Brooks was

             5      wearing, Mr. Brooks was wearing a white shirt and black

             6      pants.

             7               Now, Mr. Gibbons said, well, they are shorts.

             8      Ladies and gentlemen, if a man is pummeling you, following

             9      you on the street, ask yourselves are those shorts, short

         10         pants or shorts, does it really matter?       No. That is

         11         consistent with exactly what Tarek El Turkey told you is

         12         what the person looked like that day.

         13                  The defense talked about the idea that there was a

         14         red shirt. Mr. El Turkey said that on the stand but you

         15         never once heard it in the 20 minutes. Two arid a half

         16         years later for the first time Mr. El Turkey said maybe

         17         somebody was wearing red, there was a red shirt. Nowhere

         18        did you hear anywhere in this testimony that night, and

         19         let's remember what matters in this case is not the fact

        20         that he didn't remember here or what he remembered here or

        21         what we know happened that night, nowhere did you hear

        22         anywhere during any of the testimony in this case that

        23         Mr. El Turkey said that night anyone was wearing red.

        24                   Memories fade, memories can get mixed up. We know

        25         Mr. Brooks was wearing some sort of red. We know Mr. Ball


                                                                                    NS
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                                                                              685
                                   Summation-Mr. Shortt

          1         was wearing some sort of red but, ladies and gentlemen,

          2         what Mr. El Turkey did was say for sure that night because

          3         the call went out and before the police ever became

          4         involved Mr. El Turkey knew who attacked him and he knew

          5         what they were wearing: White shirts and black pants.

          6                  The defense told you that Mr. El Turkey's injuries

          7         probably stopped him from being able to see. We know

          8         that's not true. The EMS officer told you he was struck by

          9         how calm and composed Mr. El Turkey was. We know he was

         10         there within minutes of Mr. El Turkey suffering this

         11         assault, and he said that's him, that's the man I treated,

         12         I remember that. Without having seen this before, you saw

        13         the look of the EMS officer when he saw this photograph for

         14        the first time, yeah, now that you show that me that to me,

         15        yes, I remember those injuries, he was sure about that, and

        16         he was also sure that Mr. El Turkey was alert aware,

        17         understood all the questions, despite the fact that he was

        18         a foreigner and the medical terminology that EMS officer

        19         felt comfortable enough for his own protection to allow

        20         Mr. El Turkey to go home that night. He would not have let

        21         him go in the world of lawsuits where everybody sues the

        22         city for everything under sun, do you think if he was at

        23         all hesitant, or confused, not able to perceive what was

        24         going on at that time, he would let him go? No, of course

        25         not. We know Mr. El Turkey that day had his faculties,


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                                                                              686
                                    Summation-Mr. Shortt

              I     before, during and after the crime. The man that was here

              2     in this courtroom is the same man on that street that had

              3     his faculties, a man who strove to be accurate and honest.

              4              I want to talk to you about after the crime what

              5     happened to both these defendants. Ladies and gentlemen,

              6     the 15 or 20 minutes after that crime are what is critical

          7         to this case. We know that Mr. Ball was caught just feet

8                   from the crime scene just minutes after the attack.

          9         Officer Lanning told you he pulled up to the scene --

         10                  MR. GIBBONS: Objection, your Honor, he said Ball.

         11                  THE COURT Are you talking about Ball?

         12                  MR. SHORTT: Mr. Brooks, I apologize. Thank you,

         13         sorry. You called me Mr. Ball.

         14                  MR. GIBBONS: I apologize, too.

         15                  MR. SHORTT: That's okay.

         16                  Ladies and gentlemen, Officer Lanning told you he

         17         pulled up on the scene, and they drove just for a few feet

18                  down the street, you can see from here up the road to where

         19         Mr. Brooks was Stopped. He was walking with another man.

         20         This is so, so important, ladies and gentlemen, to this

         21         case, ladies and gentlemen. Within minutes of the assault

         22         as Mr. El Turkey is still disheveled and bleeding he drove

         23         down this Street and saw two men, he saw two men, one

         24         absolutely matching the description he gave, the other the

        25          officer said was unclear, kind of matching the description,


                                                                                    NS
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                                                                              687
                                    Summation-Mr. Shortt

             1      coming down the street. He didn't say those are the men

             2      that robbed me, he said tht is the man that robbed me.

             3               Officer Lanning jumped out of his car and drew his

             4      weapon and stopped both of them. You heard Officer Lanning

             5      said he stopped both men at gunpoint, and Mr. El Turkey

             6      said no, that man closer to me, closer to the street is not

             7      the one that did this. That's the man that did this,

             8      that's the one that fits the description, that's the man

             9      that rained blow after blow on my face and that slammed my

         10         head against the sidewalk. Mr. El Turkey, ladies and

         11         gentlemen, strove to be accurate and honest. Officer, that

         12         man did nothing wrong, let him go. That man is the one you

         13         should be arresting, and that is exactly what Officer

         14         Lanning did just feet from the crime scene within minutes

         15         of the assault.

         16                  Where he was going, ladies and gentlemen, I

         17         imagine he was going to get his cut because we know he

         18         didn't have the property, he never took it. At no point

         19        did Mr. El Turkey ever tell you anything else. The only

        20         person that ever put their hands on his property was

        21         Mr. Ball. We know that because the one that ended up with

        22         it, and where was Elijah Brooks heading?        Up 105 Street,
        23         up towards Raymond Ball was heading in the same direction.

        24                  Ladies and gentlemen, Mr. El Turkey I told you at

        25         the beginning of this trial, Mr. El Turkey was picked for a


                                                                                    NS
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 834 of 907 PageID #: 1197


                                                                                   688
                                        Summation-Mr. Shortt

                  1     very specific reason. We all know there is a tale of two

               2        cities in this city, ladies and gentlemen, that some people

                  3      just don't want to call or won't call the police. He was

                  4     targeted because he had just gone to a check cashing place

                  5     and he looked like the kind of guy that would not call the

                  6     police. That is exactly what these defendants were

               7        counting on, but he did and just because those officers

               8        happened to be in that area, and they told you they were

               9        not out looking for a job, that night, the only reason was

             10         because they both called it a heavy job, they responded

             11         within minutes of that call and stopped these men.

             12                  Raymond Ball stuck around the crime scene I submit
II

             13         for that very reason, he did not think Mr. El Turkey was

             14         going to cause any trouble. That's why he had no problem

             15         threatening him the second time, I will kill you,

             16         motherfucker, once at the crime scene when he left him

             17         there bleeding and again when he passed him by the deli.

             18                  Mr. Gibbons was right when he said the man that

             19         went from this side to this side was the man that robbed

             20         Mr. El Turkey, then he went around the corner, and then he

             21         was stopped by Officer Lanriing and Mr. El Turkey just

             22         within minutes of that event. That is entirely consist

             23         consistent with what Mr. El Turkey told you. We know that

             24         as it was going on as Mr. El Turkey was hopping in the car

             25         with Officer Lanning that he was identifying the defendant


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                                                                                   689
                                        Summation-Mr. Shortt

                  1     Brooks.

                  2               Officer Pampena was up on Astoria Boulevard on his

                  3     routine patrol. He told you that he came down 105 Street

                  4     heading to the crime scene, and came upon a man fitting the

                  5     description, male black with a white shirt and black pants,

                  6     the defendant Raymond Ball. The defendant Raymond Ball

              7         running from exactly where Mr. El Turkey was waiting for

              8         the police arrive. Running exactly away from the crime

              9         scene. Still within just minutes within about five minutes

             10         of when Mr. El Turkey was still laying on the ground, we

             11         know where Raymond Ball was, running up 105 Street away

             12         from Northern Boulevard.

             13                   Mr. El Turkey told you where he got robbed,

             14         somewhere down here about mid-block on 105 Street south of

             15         Northern Boulevard. Officer Pampena told you where he

             16         recovered property and where he stopped the defendant

             17         preponderance Raymond Ball. Mr. El Turkey was robbed down

             18         this street, and then his wallet with the Social Security

             19         card was found here on the drain pipe on 105 Street and

             20         Northern Boulevard. He marked it that corner down here.

             21                   Then Mr. Ball is caught up here on 105 Street,

             22         literally a trail 3f bread crumbs from where Mr. El Turkey

             23         was robbed to where his property wa found to where
U            24         Mr. Ball was seen running up 105 Street only to run into

            25         Officer Pamperia. Officer Pampena told you he stopped the


                                                                                         NS
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                                                                              690
                                   Summation-Mr. Shortt

             1      defendant and his first words were this: I bought this

             2      from a guy on Northern boulevard. Not I got this, not I

             3      stole or not I robbed this. I bought this from a man on

             4      Northern Boulevard. That's how big of a liar Officer

             5      Pampena is, he gave this guy an out he, gave him a

             6      legitimate excuse to have that phone, but we know that's

             7      not true, ladies and gentlemen. When you are in exclusive

             8      possession of something that was stolen five minutes before

             9      during a robbery, it's because, ladies and gentlemen, you

         10         are the one that stole it. That is the evidence against

         11        Raymond Ball. On that alone you should be able to convict

        12         him.

        £J                  Ladies and gentlemen, it's not just that. We know

        14         for a fact that Officer Pampena brought the defendant back

        15         to the crime scene. Mr. El Turkey told you that. The

        16         ambulance was there, and after Mr. Brooks had already been

        17         arrested, there were officers there, there was an ambulance

        18         there, and Mr. Ball was there. Where exactly he was

        19         standing on the ambulance, in the ambulance, next to the

        20         ambulance I submit does not matters. We know Mr. El Turkey

        21         is not lying, ladies and gentlemen. He does not have that

        22         in him. He told you they brought the man that robbed me.
        23         And before anything else, before they showed him any phone,

        24         before they showed him his money, he said that's the man,

        25         Raymond Ball, even though he did not know his nanie, he is


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                                                                              691
                                    Summation-Mr. Shortt

          1         the one who took my phone, who took my money.

          2                  We know exactly how much money Tarek El Turkey had

          3         on him that night, $250 to pay the rent. $260 taken out

          4         not ten minutes before from the cash machine at the check

          5         cashing place minus $10 for a pack of cigarettes and we

          6         know exactly what was in the pockets of Raymond Ball.

          7         Mr. El Turkey recognized this, and more importantly

          8         recognized his own cell phone that he had on him for weeks

          9         before, the cell phone that had pictures of him and his

         10         family. Mr. El Turkey's cell phone from the pockets of

         ii         that man.

         12                  Ladies and gentlemen, there are inconsistencies in

         13         this case, and I told you there would be in the opening, I

         14         told you during jury selection. I ask you to consider each

         15         and every one of them, weigh them, but do not just throw

         16         your hands up. Ask yourselves were those the whole sum

         17         Sort of grand conspiracy or the natural side effect of

         18         multiple people experiencing something that in all from the

         19         time that Mr. El Turkey was robbed to about through when

         20         everybody is leaving the scene, when the EMS worker what

         21         does not know anybody, Mr. Ball and Brooks were in the

         22         precinct, all of this took approximately 25 to 30 minutes.

         23                  You had multiple people who the officers told you

         24         they responded expecting to face an armed robbery. Mr. El

         25         Turkey you know what he had just been through, ask


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                                                                                   692
                                         Summation-Mr. Shortt

                  1      yourselves is this some grand conspiracy? They are not

                  2      John Dilinger and Al Capone? Mr. El Turkey and the

                  3      officers and certainly the EMS had no ax to grind against

                  4      them.

                  5               We talked about this during jury selection. Weigh

                  6      them for what they are. Minor differences do not change

                         the fact of who Mr. El Turkey is. He is the same man that

               8         strove to be accurate on the stand who strove to be honest.

               9         It does not change the fact that on that night five minutes

              10         after the robbery Raymond Ball was carrying without

              11         permission or authority the cell phone of a man who had

              12         just been robbed.

              13                  Ladies and gentlemen, the Court will instruct you

              14         that you must consider the charges of this case separately

              15         as to each defendant. We talked about this, ladies and

              16         gentlemen, that there is not just an identification of each

              17         and every defendant in this case. Consider the

              18         identifications in the light of all of the evidence. Use

              19         the evidence of one and understand and appreciate the

              20         evidence againt the other.

              21                  We know that Tarek El Turkey got it right once.

             22          He picked out the man who had his cell phone who fit the

             23         description. I submit to you when we have that answer key.
II           24         We know he got :1t right once he picked out the guy before

             25         ever knowing it that-'s the guy that took my phone and lo
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                                                                              693
                                     Summation-Mr. Shortt

               1    and behold, he got it right once, he got it right twice.

               2    He correctly identified Elijah Brooks as the man who beat

               3    him entirely consistent with everything he said that night

               4    and consistent with everything he said on the stand and

               5    consistent with all the physical evidence in this case.

               6             Mr. Ball wants you to believe the only reason I

               7    was picked out someone told him he had the property on him.

               8    We know that's not in the character of Mr. El Turkey. He

               9    does not want an innocent man in jail. We know that

         10         because he let an innocent man go that night. He told
         1
         -I-        Officer Lanning that's not the man that robbed me, let him

         12         go. They did not plant evidence on that guy, and they did

         13         not plant evidence on Raymond Ball. Mr. El Turkey got it

         14         right three times that night, ladies and gentlemen. The

         15         man walking with Elijah Brooks did nothing wrong and these

         16         men robbed me.

         17                  A lot of has been said about 911 reports, about

         18         vouchers, about EMS reports, there is a reason we don't

         19         bring in, ladies and gentlemen, we don't give you a stack

         20         of papers. I can give you this and ask you to go home and

         21         write a book report and come with back with a verdict. We

         22         don't do that. We bring in flesh and blood, living

        23         breathing witnesses to judge for yourself and judge what

        24         they told you. Judge the facts that they have established,

        25          ladies and gentlemen. What these are, the EMS reports, the


                                                                                    NS
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                                                                                   694
                                        Summation-Hr. Shortt

                  I     SPRINT reports which we know from the officers, ladies and

                  2     gentlemen, more or less are approximations and based on the

                  3     same human fallibility. There is no attempt to find some

                  4     sort of mystery to draw your focus away from the facts, no

                  5     mystery to be developed. Your job is to come up with a

                  6     verdict based upon facts, not hypotheticals, not what ifs,

              7         what do you usually do, not well this could mean this or

              8         that. Focus in on the facts, the facts established by the

              9         witnesses called by the people based upon the evidence

             10         placed in front of you come back with a verdict that is

             11         fair and just, and when you do, ladies and gentlemen, you

             12         can do only one thing, hold the defendants accountable for

             13         what they did that night, find them guilty of the robbery

             14         of Tarek El Turkey for assaulting him, and in the case of

             15         Hr. Ball for possessing his stolen property and his phone,

             16         not based on any words of mine but based on the evidence in

             17         this case is what you should render your verdict on and

             18         that verdict must be guilty. Thank you.

             19                  THE COURT: Thank you, Mr. Shortt.

             20                  Members of the jury, I will now instruct you on

             21         the law. You are the judges of the facts, and you are

             22         responsible for deciding whether a defendant is guilty or

             23         not guilty. To render a verdict you must decide what the

             24         facts are and apply those facts to the law that I give to



I            25         you. Do not speculate about matters of sentence or


                                                                                         NS
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                                                                                   695
                                             Jury Charge

                  1      punishment. If there is a verdict of guilty, it will be my

                  2      responsibility to impose an appropriate sentence.

                  3               Now, throughout these proceedings the defendants

                  4      are presumed to be innocent. Therefore, you must find the

                  5      defendants not guilty, unless on the evidence presented in

                  6      this trial, you conclude that the People have proven the

                  7      defendants guilty beyond a reasonable doubt. Consider all

                  8      the evidence presented whether by the People or by a

                  9      defendant.

              10                  Remember, however, that even though the defendant

              11         -- the defendant Ball introduced evidence, the burden of

              12         proof remains on the People. The fact that the defendants

              13         did not testify is not a factor from which any inference

              14         unfavorable to either of them may be drawn. A defendant is

              15         not required to prove that he is not guilty. A defendant

              16         is not required to prove or disprove anything. It is the

              17         People who have the burden of proving beyond a reasonable

              18        doubt every element of the crimes charged.

              19                  If the People fail to satisfy their burden of

             20         proof, you must find the defendant not guilty, either

             21         defendant. If the People satisfy their burden of proof,

             22         you must find the defendant guilty.

             23                  Now, the law uses the term proof beyond a
II           24         reasonable doubt to tell you how convincing the evidence of

             25         guilt must be to permit a verdict of guilty. In life there


                                                                                         NS
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 842 of 907 PageID #: 1205


                                                                                   696
                                             Jury Charge

                    -I.   are very few things in this world that we know with

                    2     absolute certainty. Therefore, the law does not require

                    3     the People to prove a defendant guilty beyond all possible

                    4     doubt.

                    5              On the other hand, it is not sufficient to prove

                    6     that a defendant is probably guilty.

                    7              In a criminal case, proof of guilt must be

                    8     stronger than that, it must be beyond a reasonable doubt.

                          A reasonable doubt is an honest doubt of the defendant's

              10          guilt for which a reason exists based upon the nature and

              11          quality of the evidence or lack of evidence in the case.
              I
              -I-         It is an actual doubt, not an imaginary doubt. It is a

              13          doubt that a reasonable person acting in a matter of this

              14          importance would be likely to entertain because of the

              15          evidence or lack of evidence.

                                   Proof of guilt beyond a reasonable doubt is proof

              17          that leaves you so firmly convinced of a defendant's guilt

              18          that you have no idea of the existence of any element of

              19          the crime. After carefully evaluating the evidence, each

              20          of you must decide whether or not that evidence convinces

             21           you beyond a reasonable doubt of a defendant's guilt. Your

             22           verdict must not rest upon baseless speculations, nor may

             23           it be influenced in any way by bias, prejudice,-sympathy or
•i
             24           by a desire to bring an end to your deliberations or to

             25           avoid an unpleasant duty. If you are not convinced beyond


                                                                                         NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 843 of 907 PageID #: 1206


                                                                              697
                                        Jury Charge

          I         a reasonable doubt that a defendant is guilty of a charged

          2         crime, you must find the defendant not guilty of that

          3         crime. If you are convinced beyond a reasonable doubt that

          4         a defendant is guilty of a charged crime, you must find the

          5         defendant guilty of that crime.

          6                  As judges of the facts, you must decide whether a

          7         witness told the truth and was accurate or testified

         .8         falsely or was mistaken. You must also decide what

          9         importance to give to the testimony you accept as truthful

         10         and accurate. It is the quality of the testimony that is

         11         controlling, not the number of witnesses who testified.

         12                  If you find that any witness has intentionally

         13         testified falsely as to any material fact, you may

         14         disregard that witness' entire testimony, or you may

         15         disregard so much of it as you find was untruthful, and

         16         accept so much of it as you find to have been truthful and

         17         accurate.

         18                  There is no magic formula for evaluating the

         19         truthfulness and accuracy of a witness' testimony. You all

         20         bring to this process your varied experiences in life. In

         21         life you frequently decide the truthfulness and accuracy of

         22         statements made to you by other people. These same factors

         23         used to make those decisions should be used in thiscase

         24         when evaluating the testimony, for example, did the witness

         25         have an opportunity to see or hear the events about which


                                                                                    NS
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 844 of 907 PageID #: 1207


                                                                                   698
                                              Jury Charge

                   1      he testified?     Did the witness recall those events

                   2      accurately?     Was the testimony plausible, the manner of

                   3      the witness, the background of the witness, whether the

                   4      witness was biased or hostile, whether the witness had a

                   5      motive to lie. Was the testimony of the witness consistent

                   6      or consistent with other evidence in the case?      Was it

                   7      consistent or inconsistent with what the witness said

                   8      before the trial, and were these inconsistencies important

                   9      or were they trivial?

             10                   Now, the contents of a prior inconsistent

             11           statement are not proof of what happened. You may use

II           12           evidence of a prior inconsistent statement only to evaluate

             13           the truthfulness or accuracy of a witness' testimony here

             14           at trial. You may also consider whether a witness has any

                          interest in the outcome of a case or whether instead the

             -I-   witness had no such interest.

             17                   You are not required to reject the testimony of an

             18           interested witness or to accept the testimony of a witness

             19           who has no interest in the Outcome of the case. You may,

             20           however, consider whether an interest in the outcome or

             21           lack of evidence affected the truthfulness of the witness'

             22          testimony.

             23                   You are to evaluate the testimony of the police

             24          officers in the same way you evaluate the testimony of the

             25          officer witnesses.


                                                                                         NS
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                                                                              699
                                       Jury Charge

             1              Now, as you know, an issue in this case is whether

          2        the defendants have been correctly identified as the

             3     persons who committed the charged crimes. The People have

          4        the burden of proving beyond a reasonable doubt not only

             5     that a charged crime was committed, but that the defendants

          6        are the persons who committed that crime.

         7                  In eçamining the testimony of any witness who

         8         identified the defendants as those persons, you should

       '9          determine whether that testimony is both truthful and

        10         accurate.

        11                  With respect to whether the identification is

        12         truthful, that is not deliberately false, you must evaluate

        13         the believability of the witness who made the

        14         identification. In doing so, you may consider the various

        15         factors for evaluating the believability of a witness'

        16         testimony that I spoke about a few minutes ago.

        17                  Now, with respect to whether or not identification

        18         is accurate, that is not an honest mistake, you must

        19         evaluate the witness' intelligence, capacity for

        20         observation, reasoning and memory and determine whether you

        21         are satisfied that the witness is a reliable witness.

        22                  Further, the accuracy of a witness' testimony

        23         identifying a person also depends on the opportunity a

        24         witness had to observe and remember that person.

        25                  Thus, in evaluating the accuracy or identification


                                                                                    NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 846 of 907 PageID #: 1209


                                                                              700
                                       Jury Charge

          1        testimony, you should also consider such factors as the

          2        lighting conditions, the distance between the witness and

          3        the perpetrators. Did the witness have an unobstructed

          4        view of the perpetrators? Did the witness have an

          5        opportunity to see and remember facial features, body size,

          6        hair, skin color, clothing of the perpetrators? For what

          7        period of time did the witness actually observe the

          8        perpetrators? During that time, in which direction were

          9        the witness or the perpetrators facing, and where was the

        10         witness' attention directed? Did the perpetrators have

        11         distinctive features that a witness would be likely to

        12         notice and remember? What was the mental and physical and

        13         emotional state of the witness before, during and after the

        14         observation? To what extent, if any, did that condition

        15         affect the witness' ability to observe and accurately

        16         remember the perpetrators. When and under what

        17         circumstances, did the witness identify the defendants?

        18         Were the identifications of the defendants as the persons

        19         in question suggested in some way to the witness before the

        20         witness identified the defendants or were the

        21         identifications free of any suggestion?

        22                  Now, in this case although the witness was unable

        23         to identify the defendants as the perpetrators here in

        24         court, both Mr. El Turkey and the police officers testified

        25         that moments after the crime, he identified both defendants


                                                                                    NS
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                                                                              70].
                                        Jury Charge

          1         as the men who robbed him These prior identifications may

          2         be considered by you together with any other relevant

          3         evidence in determining whether either or both defendants

          4         committed these crimes. The defendants contend that they

          5         did not. You should consider the prior identification

          6         testimony with great care taking all of the factors I have

          7         previously discussed into consideration.

          8                  There was also testimony concerning the statements

          9         made by the defendant 3a11 to a police officer. If a

         10         defendant whether or not in custody spontaneously

         11         volunteers a statement, that statement may be considered by

         12         the jury regardless of whether or not the defendant was

         13         advised of his rights or waived them.

         14                  For a statement to be spontaneously volunteered,

         15         the spontaneity must be genuine and not the result of any

         16         questioning, inducement, provocation or encouragement by

         17         the police. Under our law, questioning includes words or

         18         actions by the police which they should know are likely to

         19         elicit an incriminating statement.

        20                   If you find that the People have proven beyond a

        21         reasonable doubt that the statement was spontaneously

        22         volunteered, you have a right to consider that statement as

        23         evidence and evaluate it along with all the other evidence.

        24                  If you find the People have not proven beyond a

        25         reasonable doubt that the statement was spontaneously


                                                                                     NS
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                                                                              702
                                        Jury Charge

               1    volunteered, then you must disregard the statement.

               2             You have heard reference by the defense that

               3    certain investigative techniques were used by the police,

               4    certain other investigative techniques were not used. You

               5    may consider these arguments during your deliberations.

               6    However, there is no legal requirement that the People must

               7    investigate or prove its case through any particular means.

               8             Law enforcement techniques are not the concern of

               9    the jury. Your concern is to determine whether or not

         10        based on the evidence or lack of evidence, the defendants'

         11        guilt have been proven beyond a reasonable doubt.
        1.1.
                            You have heard testimony about the lawyers

        13         speaking to witnesses about the case before the witness

        14         testified at this trial. The law permits the attorneys to

        15         speak to a witness about a case before the witness

        16         testifies, review with a witness the questions that will be

        17         asked of him, and to review material including prior

        18         testimony. That is a normal part of trial preparation.

        19                  Now, there are two defendants before you. It is

        20         your obligation to evaluate the evidence as it applies or

        21         fails to apply to each defendant separately. Each

        22         instruction on the law that I have given and will give must

        23         be considered by you as referring to each defendant

        24         separately. You must return a. separate verdict for each

        25         defendant, and those verdicts may be but need not be the


                                                                                    NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 849 of 907 PageID #: 1212


                                                                             703
                                       Jury Charge

       '1          same.

         2                  Now, the People contend that both defendants are

         3         guilty of acting in concert with each other under counts

         4         one, two, and three. Our law recognizes that two or more

         5         individuals can act jointly to commit a crime, and in

       '6          certain circumstances each can be held criminally liable

        .7         for the acts of the other. In that situation we call that

         8         acting in concert with each other.

         9                  Our law defines the circumstances under which one

        10         person may be criminally liable for the conduct of another,

        11         and that definition is as follows: When one person engages

        12         in conduct which constitutes a crime another is criminally

        13         liable for such conduct when acting with the state of mind

        14         required for the commission of that crime, he intentionally

        15         aids such person to engage in such conduct.

        16                  Mere presence at the scene of a crime even with

        17         knowledge that a crime i' s taking place or mere association

        18         with a perpetrator of a crime does not by itself make a

        19         defendant criminally liable for that crime.

        20                  In order for a defendant to be held criminally

        21         liable for the conduct of another which constitutes an

        22         offense, you must find beyond a reasonable doubt: One,

        23         that he intentionally aided that person to engage in that

        24         conduct, and, two, that he did so with the state of mind

        25         required for the commission of the offense.


                                                                                   NS
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                                                                             704
                                       Jury Charge

             I              If it is proven beyond a reasonable doubt that a

             2     defendant is criminally liable for the conduct of the

             3     other, the extent or degree of the defendant's

             4     participation in the crime does not matter. A defendant

            5      proven beyond a reasonable doubt to be criminally liable

             6     for the conduct of another in the commission of a crime is

            7      as guilty of the crime as if the defendant personally had

            8      committed every act constituting the crime.

            9               The People have the burden of proving beyond a

        10         reasonable doubt that a defendant acted with the state of

        11         mind required for the commission of the crime and either

        12         personally or by acting in concert with another person

        13         committed each of the remaining elements of the crime.

        14                  Your verdict, whether guilty or not guilty, must

        15         be unanimous. In order to find the defendants guilty,

        16         however, you need not be unanimous on whether either of the

        17         defendants committed the crime personally or by acting in

        18         concert with another or both.

        19                  Now, I would like to talk to you about the

        20         specific charges in this case. Each charge will be on a

        21         verdict sheet which you will have during your

        22         deliberations. You will have a verdict sheet for each

       23         defendant, and I remind you, you must render separate

       24         verdicts for the two defendants.

       25                  Counts one and two charge a degree of robbery.


                                                                                   NS
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                                                                              705
                                        Jury Charge

          1         Under our law robbery is defined as forcible stealing. A

          2         person steals property and commits larceny when with the

          3         intent to deprive another of property or to appropriate the

          4         property to himself or to a third person, such person

          5         wrongfully takes property from the owner of the property.

          6                  A person forcibly steals property and commits

          7         robbery when in the course of committing a larceny, such

          8         person uses or threatens the immediate use of physical

          9         force upon another person for the purpose of compelling the

         10         owner of such property to give up the property, for the

         11         purpose of preventing or overcoming resistance to the

         12         taking of property.

         13                  I will now define for you the two counts of

         14         robbery in the second degree that are charged in this case.

         15         The first count is robbery in the second degree. Under our

         16         law, a person is guilty of robbery in the second degree,

         17         when that person forcibly steals property, and when that

         18         person is aided by another person who is actually present.

         19                  A person is actually present when such person is

         20         in a position to render immediate assistance to the person

        21         participating in the robbery and is ready, willing and able

         22         to do so.

        23                   For you to find the defendants guilty of this

        24         crime, the People are required to prove from all the

        25         evidence in the' case beyond a reasonable doubt both of the


                                                                                    NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 852 of 907 PageID #: 1215


                                                                              706
                                         Jury Charge

              I     following two elements: One, that on or about July 3 of

             2      2012 in the County of Queens, the defendants Elijah Brooks

             3      and Raymond Ball, each acting in concert with each other,

             4      forcibly stole property from Tarek El Turkeys and two, that

             5      each aided was aided in doing so by the other actually

             6      present.

             7                 If you find that the People have prove beyond a

             8      reasonable doubt both of those elements, you must find the

             9      defendants guilty of the crime of robbery in the second

         10         degree as charged in the first count.

         11                    If you find the People have not proven beyond a

         12         reasonable doubt either one or both of those elements, you

         13         must find the defendants not guilty of the crime of robbery

         14         in the second degree as charged in the first count.

         15                    The second count is also robbery in the second

         16         degree. Under this count, a person is guilty of robbery in

         17         the second degree when that person forcibly steals

         18         property, and in the course of the commission of the crime

         19         or the immediate flight therefrom, that person or another

         20         participant in the crime causes physical injury to any

         21         person who is not a participant in the crime.

         22                    Physical injury means impairment of physical

        23         condition or substantial pain. In order for you to find

        24         the defendants guilty of this crime, the People are

        25         required to prOve from all the evidence in the case beyond


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     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 853 of 907 PageID #: 1216


                                                                                   707
                                            Jury Charge

               1        a reasonable doubt both of the following two elements:

               2                  One, that on or about July 3 of 2012 in the County

               3        of Queens, the defendants Elijah Brooks and Raymond Ball

               4        each acting in concert with each other forcibly stole

               5        property from Tarek El Turkey; and, two, that in the course

               6        of the commission of the crime or in the immediate flight

               7        therefrom, the defendants caused physical injury to Tarek

               8        El Turkey, and that Tarek El Turkey was not himself a

               9        participant in the crime.

             10                   If you find that the People have proven beyond a

             11         reasonable doubt both of those elements, you must find the

             12         defendants guilty of the crime of robbery in the second

            1 13        degree.

             14                   If you find the Peo p le have not proven beyond a

             15         reasonable doubt either one or both of those elements, you

             16         must find the defendants not guilty of the crime of robbery

             17         in the second degree under the second count.

             18                   The third count is assault in the third degree. A

             19         person is guilty of assault in the third degree when with

             20         intent to cause physical injury to another person, he

             21         causes such injury to that person. We have defined

             22         physical injury for you already. Intent means conscious

             23         objective or purpose. A person acts with intent to cause
II
             24         physical injury , to another when that person's conscious

             25         objective or purpose is to cause physical injury to


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Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 854 of 907 PageID #: 1217


                                                                              70e
                                         Jury Charge

          1         another.

          2                    In order for you to find the defendants guilty of

          3         this crime, the People are required to prove from all the

          4         evidence in the case beyond a reasonable doubt both of the

          5         following two elements: One, on or about July 3 of 2012 in

          6         the County of Queens, the defendant Elijah Brooks and

          7         Raymond Ball each acting in concert with each other, caused

          B         physical injury to Tarek El Turkey; and, two, that the

          9         defendants did so with intent to cause physical injury to

         10         Tarek El Turkey.

         11                    Again, if you find the People have proven beyond a

         12         reasonable doubt both of those elements, you must find the

         13         defendants guilty of the crime of assaults in the third

         14         degree as charged in the third count.

         15                    If you find the People have not proven beyond a

         16         reasonable doubt either one or both of those elements, you

         17        must find the defendants not guilty of the crime of assault

         18         in the third degree.

         19                    The fourth count, and this counts only applies to

        20          the defendant Raymond Ball, the fourth count is criminal

        21         possession of stolen property in the fifth degree.

        22                     A person is guilty of criminal possession of

        23         stolen property in the fifth degree when that person

        24         knowingly possesses stolen property with intent to benefit

        25         himself or a person other than the owner thereof or to


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                                                                                  709
                                           Jury Charge

              1         impede the recovery by an owner. We have already talked

              2         about what intent means.

              3                  A person knowingly possesses stolen property when

              4         that person is aware that he is in possession of property

              5         and he is aware that the possession -- that the property

              6         was stolen.

              7                  Possess means to have physical possession or to

              S         otherwise exercise dominion and control over property.

              9         Property is any money, any personal property or anything of

             10         value. Stolen property is property that has been

             11         wrongfully taken from an owner by a person who did so with

             12         intent to deprive that person of such property whether

             13         appropriated to himself or someone else.

             14                  Under our law, a person who knowingly possesses

             15         stolen property is presumed to possess it with the intent

             16         to benefit himself or a person other than the owner thereof

             17         or to impede its recovery by the owner. This means if the

             18         People have proven beyond a reasonable doubt that the

             19         defendant knowingly possessed stolen property, you may, but

             20         you are not required to infer from that fact that the

             21         defendant possessed it with the intent to benefit himself

             22         or a person other than the owner.

             23                  An owner is any person who has a right of

             24         possession to the property superior to that of the person

             25         who possessed it. It is not a defense to this charge that

I                                                                                       NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 856 of 907 PageID #: 1219


                                                                               710
                                        Jury Charge

              1      the defendant stole or participated in the theft of the

           2        property.

           3                  If you find a defendant guilty of this crime, the

           4         People are required to prove from all the evidence in the

           5        case beyond a reasonable doubt, both of the following two

           6        elements: One, on or about July 3, 2012 in the County of

           7        Queens, the defendant, Raymond Ball, knowingly possessed

           8        stolen property, and, two, that he did so with the intent

           9        to benefit himself or a person other than the owner.

         10                  Again, if you find that the People have proven

         ii         beyond a reasonable doubt both of those elements, you must

         12         find the defendant Ball guilty of the crime of criminal

         13         possession of stolen property in the fifth degree.

         14                  If you find the People have not proven beyond a

         15         reasonable doubt either or both of those elements, you must

         16         find the defendant not guilty of the crime of criminal

         17         possession of stolen property in the fifth degree.

         18                  One more thing about this crime: If the People

19                  have proven to you beyond a reasonable doubt that the

         20         defendant was in exclusive possession of property recently

         21         stolen during a robbery, and that there is no innocent

         22         explanation for that possession, then you may, but you are

         23         not required to infer that the possession was guilty

         24         possession.

         25                  If you draw that inference, you must then decide


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                                                                              711
                                        Jury Charge

             1      whether or not the defendant Raymond Ball's guilty

             2      possession was a result of his participation during which

             3      the property was stolen.

             4               Now, whether property has been recently stolen

             5      depends on such factors as the nature of the property,

             6      whether it was stolen for retention or disposal, whether it

             7      was readily disposable and the time period between the

             8      theft of the property and the finding in the possession of

             9      the person. For example, the longer the period between the

         10         time and the time the person was in possession of the

         11         property, the less likely it is any inference may be

         12         reasonably drawn from the possession.

         13                  On the other hand, the briefer the period between

         14         the crime and the possession, the more likely it is that

         15         the inference may be reasonably drawn.
         I                   We have talked about what property is, and we know

         17         what stolen property is.

         18                  Now, your verdict whether guilty or not guilty

         19         must be unanimus, that is each and every juror must agree

         20         to it. To reach a unanimous verdict, you must deliberate

         21         with the other jurors. You must discuss the evidence with

         22         each other, listen to each other, give each other's views

         23         careful consideration and reason together when considering

         24         the evidence, and when you deliberate, you should do so

         25         with a view toward reaching an agreement if that can be


                                                                                    NS
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                                                                              712
                                         Jury Charge

           1        done without surrendering individual judgment. Each of you

           2        must decide this case for yourselves but only after a fair

           3        and impartial consideration of the evidence with the other

           4        jurors.

           5                   You should not surrender an honest view of the

           6        evidence simply because you want the trial to end or you

          7         are outvoted. At the same time you should not hesitate to

          8         re-examine your views and change your minds if you become

          9         convinced that your verdict was not correct. You may

         10         deliberate only when all twelve of you are together in the

         11         jury room. No one else may participate, not me, not the

         12         officer, no one from the outside, and for this reason, you

         13         must surrender all electronic equipment, cell phones,

         14         computers, etcetera, to the officer in charge.

         15                    If you wish to see an exhibit, write me a note.

         16         If you wish to hear any portion of the testimony read back

         17         to you, write me a note detailing which part of the

         18         testimony you wish to hear. If you have a question on the

         19         law, write me a note specifying what you want me to

         20         explain.

         21                    Now, under our law, the first juror selected is

         22         known as the foreperson. Now, during deliberations the

         23         foreperson's.opinion and vote are not entitled to anymore

         24         importance than that of any other juror. The forepersori

         25         may chair the-deliberations and should sign any note you


                                                                                    NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 859 of 907 PageID #: 1222


                                                                              713
                                        Jury Charge

          1         wish to send. He will also announce the verdict.

          2                   As I indicated earlier, I will give you a form or

       .3           in this case two forms known as a verdict sheet for each

          4         defendant. The verdict sheet lists each count submitted

          5         for your consideration and the possible verdict. Use these

       :6           forms to record your verdict with an X or check mark in the

          7         appropriate place for each count you consider in accordance

          8         with my instructions.

          9                   Ladies and gentlemen, that concludes my

         10         instructions to you on the law. You may retire to the jury

                    room and begin your deliberations.

         12                   Officer, take charge. Please segregate the

         13         alternate jurors.

         14                   (Jurors exit the courtroom at 1:42 P.M.)

         15                   THE COURT: Any exceptions or further requests to

         16         charge?

         17                   MR. SF-IORTT: No, judge.

         18                   MR. GIBBONS: No, Judge.

         19                   THE DEFENDANT BALL: Thank you very much

        20                    THE COURT: You are welcome. I don't know if we

        21         have smokers on the jury, but if we do, does anybody have

        22         any objection for the officer to direct that deliberations

        23         cease and take the smoker outside of the building to have a

        24         smoke?

        25                    THE DEFENDANT BALL: I object that they get a


                                                                                    NS
 Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 860 of 907 PageID #: 1223


                                                                              714
                                        Jury Charge

           1        chance and I don't. That's it, your Honor.

          2                  THE COURT: Other than that, sir?

          3                  THE DEFENDANT HALL: Other than that, no

           4        objection.

           5                 MR. GIBBONS: No objection.

           6                 MR. SHORTT: As a former smoker, no objection.

          7                  THE COURT: Any objection should the jurors ask

          8         for any physical evidence, to give it to them without the

          9         necessity of reconvening in the courtroom?

         10                  MR. GIBBONS: Yes.

         11                  THE DEFENDANT BALL: Yes, your Honor.

         12                  THE COURT: You are okay with that?

         13                  THE DEFENDANT BALL: Yes.

         14                  MR. GIBBONS: No objection.

         15                  THE DEFENDANT BALL: Your Honor, I wanted to ask

         16         you, like, you know --

         17                  THE COURT: Let's address what I am doing. Are

         18         you okay with that?

         19                  THE DEFENDANT BALL: Yes, sir.

         20                  MR. SHORTT: No objection except for the 9-1-1.

         21         Obviously we can play that.

         22                  THE COURT: Right. If they ask for the actual CD,

         23         then we will bring them out to have them hear it in the
I-24                courtroom.

         25                  Gentlemen, what do you want to do with the


                                                                                    NS
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 861 of 907 PageID #: 1224


                                                                                   715
                                              Proceedings

                  1      alternates?

               2                  MR. GIBBONS: I think we can cut them loose.

               3                  MR. SHORTT: I'm fine.

               4                  THE DEFENDANT BALL: I'm fine with that.

               5                  THE COURT: I will hear you now, Mr. Ball.

               6                  THE DEFENDANT BALL: I have a question in respect

               7         to like, you know, when the jurors maybe they call down to

                         get a note or something, will I be informed?

               9                  MS. POVMAN: Yes.

              10                  THE COURT: If they send me a note, I will show

              11         the note to all of the attorneys, you being one of them.

              12                  THE DEFENDANT BALL: Thank you.

              13                  THE COURT: You can read it, you can contribute to

              14         my formulating a response to them, and if you don't like my

              15         conclusion, you can object. Okay?

              16                  THE DEFENDANT BALL: Thank you, your Honor.

              17                  MR. SHORTT: Just so the record is clear, if a

              18         note comes out that reads we would like the exhibits, he

              19         will not see that note right away.

              20                  THE DEFENDANT BALL: I understand that.

              21                  THE COURT: Okay. I want the alternates back.

              22                  (Whereupon, there was a brief pause in the

             23         proceedings.)

             24                   (Alternates enter the courtroom.)

             25                  THE COURT: Gentlemen, one of my jobs as a judge


II
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 862 of 907 PageID #: 1225


                                                                              716
                                        Proceedings

          1         is to pay attention to the jurors to make sure they are

          2         paying attention, and I have done that, and you have done

          3         that. I do appreciate that you have heard up to this point

          4         everything that has gone on during the course of this

          5         trial, and I say up to this point because at this point the

          6         other twelve people who are in the box are talking to each

          7         other, discussing the evidence, making their views known,

          8         etcetera, they are deliberating.

          9                  You two gentlemen are not participating in that so

         10         you are not hearing what's going on, so you are missing an

         11         important part of the trial. We can't have that so at this

         12        point with the consent of Mr. Ball, the attorneys and

         13        Mr. Brooks, we have all agreed to discharge you at this

         14        point because it would be unjust to substitute you in the

        15         middle of the deliberations. It's really almost impossible

        16         to do that.

        17                   I want to thank you. Believe me, a lot of times

        18         alternate jurors wind up deliberating, so I hope you don't

        19         think that this was a waste of time. It is vital           we

        20         have had delays in this case, and the reason we have delays

        21         is we can't do anything until everybody is here, so it's

        22         important that everybody, including the alternates, are a

        23         full participant in what's going on.

        24                  The last thing I want to say to you before I thank

        25         you is I have given you instructions until you are blue in


                                                                                    NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 863 of 907 PageID #: 1226


                                                                             717
                                        Proceedings

                   the face about not case discussing this case, not talking

         2         to the lawyers, not going to the scene, not researching

         3         this case. Now that your part of this case is completed, I

         4         am withdrawing all of those instructions. You can talk to

         5         whoever you want about this case. You can tell them what

         6         you think.

         7                  Sometimes the lawyers like to talk to the

         8         alternates, evaluate how they did, or how they might be

         9         doing, or you can go home. It's completely up to you.

        10         Again, I thank you for your efforts and service. You are

        11         discharged.

        12                  Officers, take charge.

        13                  THE JURORS: Thank you.

        14                  MR. S1ORTT: Thank you.

        15                  MR. GIBBONS: Thank you.

        16                  THE DEFENDANT BALL: I appreciate it. God bless

        17         you guys.

        18

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•r   Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 864 of 907 PageID #: 1227


                                                                                   718
                                             Proceedings

                  1               AFTERNOON              SESSION.

               2                  THE COURT CLERK: Case on trial, number five, 2228

                  3      of 2012, Raymond Ball and Elijah Brooks. The defendants

4                        are incarcerated and produced, present before the Court.

                  5      Appearances are the same.

                  6               THE COURT: All right. I have two notes from the

7                        jury, both of which all of have seen; is that correct?

S                                 THE DEFENDANT BALL: Yes.

9                                 MR. SHORTT: Yes.

10                                (Court Exhibits I and II, jury notes.)

              11                  THE COURT: They have been marked as Court

              12         Exhibits I and II respectively. One asks may we have all

              13         the exhibits and the second ask can we have Mr. El Turkey's

              14         testimony. They are both signed by the foreperson.

              15                  We have complied with the request with respect to

              16         the exhibits. We will address the question of whether or

              17        not they want to hear the CD after we complete the

18                      compliance with the second note which we are ready to do.

              19                  Is that satisfactory to all counsel?

             20                  MR. SHORTT: Yes.

             21                  THE DEFENDANT BALL: Yes.

             22                  MR. GIBBONS: Yes.

             23                  MR. SHORTT: Because of recent decisions, we had

             24         an off-the-record discussion where Mr. Ball was brought out

             25         and ask that be put on the record. O'Raiva, the jury note


                                                                                         MS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 865 of 907 PageID #: 1228


                                                                              719
                                        Proceedings

          1         cases. They send us new stuff on that everyday.

          2         O-R-A-M-A.

          3                  THE COURT OFFICER: Ready, Judge?

          4                  THE COURT: Ready.

          5                  (Jurors enter the courtroom at 3:50 P.M.)

          6                  THE COURT CLERK: Do both sides stipulate to the

          7         presence and proper seating of the jury?

          B                  THE DEFENDANT BALL: Yes.

          9                  MR. GIBBONS: So stipulated.

         10                  MR. SHORTT: Yes.

         11                  THE COURT: Good afternoon, ladies and gentlemen.

         12         I have two notes from you which I will read into the

         13         record. One says: May we have all exhibits. The second

         14         one says: Can we have Mr. El Turkey's testimony. They are

         15         both signed by the foreperson. We have shown these to the

         16         attorneys in this case, and we will proceed at this point.

         17                  You have seen all of the physical exhibits with

         18         the exception of the CD which we will discuss after we

         19         comply with the second note with which is: Can we have

         20         Mr. El Turkey's testimony.

         21                  The court reporter will read that back now. The

         22         floor is yours.

         23                  (Whereupon, the record was read.)

        24                   THE FOREPERSON: I think we are satisfied, Judge.

        25                  THE COURT: Why don't you go in the back and talk


                                                                                    NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 866 of 907 PageID #: 1229


                                                                              720
                                        Proceedings

          1         it over because you have not heard the cross-examination.

2                   Go in the back and make a decision and send me a note and

          3         tell me what you want to do.

4                            (Jurors exit the courtroom at 4:39 P.M.)

          5                  (Whereupon, there was a brief pause in the

          6        proceedings.)

          7                  (Defendants exit the courtroom.)

          8                 THE COURT CLERK: Case on trial, all parties are

          9        present. The jury is not present, your Honor.

        10                   (Court Exhibit III, jury note.)

        11                  THE COURT: I have a note which we have marked as

        12         Court Exhibit Ill which I have displayed to all of the

        13         attorneys including Mr. Ball. It reads: We are satisfied

        14         with the portion of the testimony. It is signed by the

        15         foreperson. I think we are all in agreement that that

        16         disposes of the issue of the testimony Mr. El Turkey.

        17                  Is that correct, Mr. Ball?

        18                  THE DEFENDANT BALL: If they are satisfied, I'm

        19         satisfied.

        20                  MR. GIBBONS: Yes.

        21                  MR. SHORTT: Yes, your Honor.

22                          THE COURT: Which leaves us with the question

        23         about the CD. I will bring out the jury and ask them about

        24         it, if they want it, I will send them home, and we will do

        25         that first thirg tomorrow morning. If riot, I will still


                                                                                    NS
    Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 867 of 907 PageID #: 1230


                                                                                  721
                                             Proceedings

              1         send them home, and they will deliberate first thing

              2         tomorrow morning. Bring them in.

              3                   (Jurors enter the courtroom at 4:59 A.M.)

              4                  THE COURT CLERK: Your Honor, the jury is present

              5         and properly seated.

              6                  THE COURT: Thank you. Good afternoon again,

              7         ladies and gentlemen. I have your note which reads: We

              8         are satisfied with the portion of the testimony. Signed by

              9         your foreperson. So we are all in agreement that we will

             10         abort the remaining reading of Mr. El Turkeys testimony.

             11                  Going back to the other note, may we have all the

             12         exhibits. As I indicated earlier, we did furnish you with

             13         all of the exhibits, but we did not furnish you with the CD

             14         of the 9-1-1 tape, and radio runs, I guess it's one CD that

             15         contains both of those things. Is that something that you

             16         want to hear or not?

             17                  THE JURORS: No.

             18                  THE COURT: All right, Very good. All of these

             19         notes have been complied with. We are approaching the

             20         witching hour. Its been a long day so I am going to break

                        for the day. Once again particularly now since as I have
             22         instructed you, no deliberations can take place unless all

             23         twelve of you are in the room together so when I say as I

             24         have said throughout the trial, do not discuss this case

             25         amongst yourselves or with anybody else, I mean that if



I                                                                                       NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 868 of 907 PageID #: 1231


                                                                              722
                                         Proceedings

          1         three of you walk out of the building together, don't be

          2         talking about the case because you would be violating my

          3         directive that only when all twelve of you are together

          4         that you should discuss this     case, so do not discuss this
5                   case amongst yourselves or with anybody else.

          6                  Do not go to the scene of any of the incidents

          7         involved in this case. Do     not research this case in any
8                   way. Do not    speak to the attorneys, the parties, the
          9         witnesses or anybody else involved     in this case. Once
10                  again should anybody contact you about this case, notify

         11         the officer immediately. I thank you. for your service

         12         today, and we will reconvene tomorrow at 10 A.M.

         13                  Officer, take charge.
                             (Jurors exit the courtroom at 5:02 P.M.)

         15                  THE COURT CLERK: The jury has exited the

         16         courtroom.

         17                  THE COURT: 10:00.

         18                  MR. SHORTT: Do you want us to show up or --

         19                  THE COURT: As soon as they show up, I will send

         20         them in to deliberate.

         21                  THE DEFENDANT BALL: We will see you tomorrow

         22         after the deliberations comes in.

         23                  THE COURT: If there is a note, we will bring you

         24         out and if there is a verdict, we will bring you out.

25                           THE DEFENDANT BALL: Just wanted     to know what to

                                                                                    NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 869 of 907 PageID #: 1232


                                                                              723
                                        Proceedings

             I      expect, your Honor. Thank you.
             2               THE COURT: Good night.
             3               (Defendants exit the courtroom.)
             4               (Trial adjourned to January 30, 2015.)
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Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 870 of 907 PageID #: 1233


                                                                              724
                                          Proceedings

          1 SUPREME COURT OF THE STATE OF NEW YORK

          2 COUNTY OF QUEENS: CRIMINAL TERM: PART K14

                                       ---------------------x Indictment No.

          4    THE PEOPLE OF THE STATE OF NEW YORK                  2228/12

           5                  -against-

           6 ELIJAH BROOKS and RAYMOND BALL,

                                   Defendant.

           8                           ---------------------x

           9                       125-01 Queens Boulevard

         10                        Kew Gardens, New York

         U                         January 30, 2015

         12                  THE COURT CLERK: Number three on the calendar,

         13         indictment 2228 of 2012, Raymond Ball and Elijah Brooks.

         14                  The defendants are incarcerated and produced being

         15         brought before the Court.

         16                  Appearances, please.

         17                  MR. SHORTT: For the People, Assistant District

         18         Attorney Timothy Shortt. Good morning, your Honor.

         19                  THE COURT: Good morning, sir.

         20                  MS. POVMAN: On behalf of Mr. Ball, Linda Povman,

         21         123-35 82 Road, Kew Gardens, New York.

         22                  MR. GIBBONS: For Elijah Brooks, Wyatt Gibbons,

         23         125-10 Queens Boulevard, Kew Gardens. Good morning.

         24                  THE COURT: Good morning, everyone.

         25                   (Defendants enter the courtroom.)


                                                                                    NS
    Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 871 of 907 PageID #: 1234


                                                                                  725
                                              Verdict

                 1               THE COURT CLERK: Let the record reflect defendant

              2         Brooks is present before the Court and the defendant ball

                 3      is present before the Court.
4                                THE DEFENDANT BALL: Good morning, everyone.

              5                  THE COURT: Good morning. Has everyone seen the

6                       note?

              7                  MR. GIBBONS: Yes, your Honor.

                                 THE DEFENDANT BALL: Okay,

              9                  THE COURT: We have a note from the jury which has

             10         been signed by the foreperson marked as Court Exhibit IV.

11                      It reads: We have reached a verdict. Everybody has seen


I            12         the note?

             13                  MR. GIBBONS: Yes, sir.

14                              MR. SHORTT: Yes.
15                              THE DEFENDANT BALL: Yes, sir.

             16                 MS. POVMAN: Yes.

             17                 THE COURT: Very good. Line up the jury, please.
18                               (Whereupon, there was a brief pause in the

19                     proceedings.)

            20                  THE COURT OFFICER: Ready, Judge?

            21                  THE COURT: Ready.

            22                  THE COURT OFFICER: Jury entering.


-           23                  THE COURT CLERK: Do both sides stipulate to the

            24         presence and proper seating of the jury?

            25                  MR. SHORTT: Yes.


                                                                                        NS
     Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 872 of 907 PageID #: 1235


                                                                                   726
                                               Verdict

               1                   THE DEFENDANT BALL: Yes.

               2                   MR. GIBBONS: So stipulated.

               3                   THE COURT: Good morning, ladies and gentlemen.

               4         have your note which indicates that you have reached a

                         verdict; is that correct?

               6                   THE JURORS: Yes.

               7                   THE COURT: The clerk will take the verdict.

               8                   THE COURT CLERK: Will the foreperson please rise.

             .9          Mr. Foreperson, has the jury reached a unanimous verdict?

              10                   THE FOREPERSON: Yes.

              11                   THE COURT CLERK: As to indictment 2228 of 2012

              12         for the defendant ball, how does the jury find in count

              13         one, robbery in the second degree?

              14                   THE FOREPERSON: Guilty.

              15                   THE COURT CLERK: Count two, robbery in the second

              16         degree?
17                                 THE FOREPERSON: Guilty.

              18                   THE COURT CLERK: Count three, assault in the

19                       first degree?

              20                   THE FOREPERSON: Guilty.
21                                 THE COURT CLERK: Assault in the third degree?

             22                    THE FOREPERSON: Guilty.

             23                    THE COURT CLERK: Count four, criminal possession

             24         of stolen property in the fifth degree?
             25                    THE FOREPERSON: Guilty.
II


                                                                                         NS
    Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 873 of 907 PageID #: 1236


                                                                                   727
                                               Verdict

              1                   THE COURT CLERK: As to Elijah Brooks, how does

              2         the jury find as to Count one, robbery in the second

              3         degree?

              4                   THE FOREPERSON: Guilty.

S                                 THE COURT CLERK: Robbery in the second degree,

              6         Count two?

              7                   THE FOREPERSON: Guilty.

              8                   THE COURT CLERK: Assault in the third degree,

              9         Count three?

             10                   THE FOREPERSON: Guilty.

             11                   THE COURT CLERK: Members of the jury, listen to

             12         your verdict as it stands recorded. You say through your

             13         foreperson that you and each of you find the defendants as

             14         announced so say you all?

             15                   THE JURORS: Yes.

             16                   THE COURT CLERK: Does either side wish for a

             17         polling of the jury?

             18                   MR. GIBBONS; Yes, please.

             19                   THE COURT: Juror Number One, is that your verdict?

             20                   JUROR NUMBER ONE: Yes.

             21                   THE COURT CLERK: Juror Number Two, is that

             22        your verdict?

             23                   JUROR NUMBER TWO: Yes.




I
24                                THE COURT CLERK:   Juror Number Three, is that

             25        your verdict?


                                                                                         NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 874 of 907 PageID #: 1237


                                                                              728
                                          Verdict

          1                  JUROR NUMBER THREE: Yes.

          2                  THE COURT CLERK: Juror Number Four, is that

          3        your verdict?

          4                  JUROR NUMBER FOUR: Yes.

          5                  THE COURT CLERK: Juror Number Five, is that

          6        your verdict?

          7                  JUROR NUMBER FIVE: Yes.

          B                  THE COURT CLERK:     Juror Number Six, is that

          9        your verdict?

         10                  JUROR NUMBER SIX: Yes.

         11                 THE COURT CLERK: Juror Number Seven, is that

         12        your verdict?

         13                 JUROR NUMBER SEVEN: Yes.

         14                 THE COURT CLERK: Juror Number Eight, is that

         15        your verdict?

        16                  JUROR NUMBER EIGHT: Yes.

        17                  THE COURT CLERK: Juror Number Nine, is that

        18        your verdict?

        19                  JUROR NUMBER NINE: Yes.

        20                  THE COURT CLERK: Juror Number Ten, is that

        21        your verdict?

        22                  JUROR NUMBER TEN: Yes.

        23                  THE COURT CLERK: Juror Number Eleven, is that

        24        your verdict?

        25                  JUROR NUMBER ELEVEN: Yes.


                                                                                    NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 875 of 907 PageID #: 1238


                                                                              729
                                          Verdict

             1               THE COURT CLERK: Juror Number Twelve, is that

          2        your verdict?

             3               JUROR NUMBER TWELVE: Yes.

             4              THE COURT CLERK: The jury has been polled, and

                   the verdict has been confirmed, Judge.

             6              THE COURT: All right. The verdict has been

          7        confirmed, and with the rendering of the verdict, the trial

          B        is now complete, and your service as jurors is complete.

          9        want to thank all of you again for the sacrifice of time

        10         that you have made and the attention that you have all paid

        11         to the task at hand.

        12                  I want to thank the staff and the attorneys, and

        13         Mr. Ball for the professional job that they did trying this

        14         case. As I said to you in the beginning of this trial, we

        15         have a system of justice that I think is greater than

        16         anyplace in the world, and the centerpiece-of our criminal

        17         justice system is that in America, judges don't make these

        18         decisions, cops and DAs don't make these decisions, men and

        19         women, citizens of Queens County make these decisions, and

        20         I think that that is a wonderful and important component of

        21         our democracy.

        22                  Now, during the course of this trial, I have

        23         instructed you not to discuss this case with anybody, not

        24         to go to the scene, not to research this case, not to talk

        25         to anybody about this case, the lawyers, the defendants or


                                                                                    NS
Case 1:19-cv-05310-ERK-LB Document 9-2 Filed 12/13/19 Page 876 of 907 PageID #: 1239


                                                                              730
                                           Verdict

          1         anybody like that. These orders are hereby withdrawn. You

          2         can talk to anybody you want about this case, you can talk

          3         to the lawyers if you want, you can talk to your wives or

          4        girlfriend about this case and your experience as a juror,

          5         it's completely up to you, or you can talk to nobody about

          6        this case and just go on your merry way. It is entirely up

          7        to you. Again, I thank you for your service, and you are

          B        hereby discharged.

          9                 Officer, take charge.

        10                     (Jury excused.)

        11                  THE COURT: Date for sentence, folks?

        12                  THE DEFENDANT BALL: Your Honor, I would like to

        13         put in application to put in a motion for a 440 -- 330, I

        14         would like to put in a motion at this time. You know,

        15         maybe I could have it forwarded, I don't have it with me.

        16                  MS. POVMAN: Judge, he is reserving his right to

        17         make a motion to set aside the verdict for the date of

        18         sentence.

        19                  THE COURT: Very good.

20                          MR. GIBBONS: I join, your Honor, I'm going to do

        21         the same.

        22                  THE COURT: Very good. Pick a date, folks.

        23                  THE DEFENDANT BALL: We will need sometime.

        24         need to be able to put it together.

        25                  (Defendant and counsel confer.)


                                                                                    NS
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                                                                              731
                                              Verdict

          1                  THE COURT CLERK: February 19.

          2                  MS. POVMAN: That's fine.

          3                  MR. GIBBONS: That's fine.

          4                  MR. SHORTT: Judge, I do have an application at

          5         this time that the defendants be remanded.

          6                  THE COURT: Do you want to be heard?        There is a

          7         motion for remand.

          8                  MR. GIBBONS: No, your Honor. He has been in

          9         jail. He hasn't been able to make $50,000 bail, I think

         10         that would be sufficient, but I will leave that to the

         ii         Court's discretion.

                             THE COURT: Do you want to be heard?

         13                  THE DEFENDANT BALL: I mean, like he said, no.

         14                  THE COURT: Both defendants are remanded.

         15                  (Defendants exit the courtroom.)

         16                  *            *     *       *   *   *   *

         17                  The foregoing is certified to be a true and

         18        accurate transcript of the original stenographic minutes

         19        taken of this proceeding.

         20

         21

         22
                                   flac                 cL
                                         Nancy Samrns, SCR

         23

         24

         25
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    1        SUPREME COURT OF THE STATE OF NEW YORK            COPY
   2         COUNTY OF QUEENS: CRIMINAL TERM: PART: K-14
                                  -------------------x
    3        THE PEOPLE OF THE STATE OF NEW YORK,
                                                     Ind. Number
    4                                                2228-12
                      -against-                      C.i 4 ?'-
    5
                                                         SENTENCE
   6         RAYMOND BALL and ELIJAH BROOKS,

    7                              Defendants.
                                    -------------------x
    B                                        March 4, 2015

   9                                          125-01 Queens Boulevard
                                              Kew Gardens, New York 11415
  10
             B E F 0 R E:
  1].
                       THE HONORABLE BARRY SCHWARTZ,
  12                                       Justice, Supreme Court

  13
             APPEARANCES:
  14
             For the People:
  15                  THE HONORABLE RICHARD A. BROWN
                      District Attorney, Queens County
  16                  BY: TIMOTHY SHORT, ESQ,
                             Assistant District Attorney
  17

  18                   DEFENDANT RAYMOND BALL, Pro Se
                            LEGAL ADVISOR FOR MR.. BALL: LINDA POVMAN, ESQ.
19                                                        (18-B)

  20
                       FOR DEFENDANT: BROOKS:
  21                        WYATT GIBBONS, £50 . (18-B)
                            125-10 Queens Boulevard
  22                        Kew Gardens, New York 11415

  23

  24
                                             MICHAEL BERMAN ? RPR
25                                           Official Court Reporter
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                                          Proceedings                         2


   1                                (In open Court:)

  2                         COURT CLERK; Calendars one and three, Raymond

   3             Ball and Elijah Brooks. Defendants incarcerated and

  4              produced and being brought before the Court.

   5                        Appearances, please.

   6                        MR. SHORT: For the People, Assistant District

   7             Attorney Timothy Short.

   8                        MR. GIBBONS: Wyatt Gibbons, 125-10 Queens

   9             Boulevard, Kew Gardens.

 10                         MS. POVMAN: On behalf of Mr. Ball, Linda Pcvnian,

 11              Kew Gardens, New York. Afternoon, your Honor.

 12                         COURT OFFICER: Coming out.

 13                         Let the record reflect that the defendant Brooks

 14              is present before the Court.

 15                         DEFENDANT BALL: Good afternoon.

 16                         COURT CLERK: Let the record reflect that

 17              defendant Ball is present before the Court.

 18                         DEFENDANT BALL: How are you doing today?

 19                         THE COURT: I'm doing well.

 20                         DEFENDANT BALL: I apologize.

 21                         THE COURT: All right.

 22                         Why don't we begin by arraigning these defendants

 23              on the respective predicate felon. Could you do that?

 24                         COURT CLERK: Mr. Ball, District Attorney's

 25              office has filed a statement, a predicate felony


                                                                  MB
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                                         Proceedings                          :3


  1              conviction. The statement alleges that on October 14, 2006

  2             you were convicted of burglary in the third degree in the

  3              county of New York and on December 12, 2006 you were

  4              sentenced to 9 months incarceration.

  5                         Do you wish to controvert or raise the issue of

  6              the constitutionality of any allegation in this statement?

  7              If so, you must specify each and every one. All

  B             uncontroverted allegations in this statement shall be

  9              deemed to have been admitted by you.

 10                         You may admit or you may deny that you are the

 11             same person mentioned in this statement. In the event that

 12             you deny or wish to controvert any of the allegations set

 13              forth in this statement, it may be your right to be tried

 14              thereon by a hearing before the Court without a jury.

 15                         You are further advised that under existing law

 16             prior felony convictions may serve to increase the

 17             punishment for the felony of which you now stand convicted.

 18                         Having been advised of your rights, how say your

 19             are you the same person mentioned in the statement?

 20                         THE DEFENDANT: Yes.

 21                        COURT CLERK: And do you wish to further admit

 22             your one prior felony conviction?

 23                        THE DEFENDANT: Yes.

24                         COURT CIERK: Do you raise the constitutionality

25              of that conviction?


                                                                 MB
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                                          Proceedings                         4


  1                         THE DEFENDANT: No.

2                           COURT CLERK: The defendant admits.

  3                         THE COURT: Court finds that the defendant Ball

  4              is a second felony offender now convicted of his first

  5              violent felony.

  6                         COURT CLERK: Mr. Brooks, the District Attorney's

  .7             office of Queens County has filed a statement of predicate

  8              felony conviction. The statement alleges that on December

   9             13, 2004 you were convicted of VTL 1192.3 and on January

 10              318t of 2005 you were sentenced to one year incarceration.

 11                         Do you wish to controvert or raise the issue of

 12              the constitutionality of any allegation in this statement?

 13              If so, you must specify each and every one. All

 14              uncontroverted allegations in this statement shall be

 15              deemed to have been admitted by you.

 16                         You may admit or you may deny that you are the

 17              same person mentioned in this statement. In the event that

 18              you deny or wish to controvert any of the allegations set

 19              forth in this statement, it may be your right to be tried

 20              thereon by a hearing before the Court without a jury.

 21                         You are further advised that under existing law

 22              prior felony convictions may serve to increase the

 23              punishment for the felony of which you now stand convicted.

 24                         Having been advised of your rights, how say you,

 25              are you the same person mentioned in the statement?


                                                                  MB
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                                         Proceedings                          S


  1                          DEFENDANT BROOKS: Yes.

  2                          COURT CLERK: Wish to challenge the

  3              constitutionality of the statement?

  4                          DEFENDANT BROOKS: No.

  5                          COURT CLERK: Defendant Brooks admits.

  6                          THE COURT: All right. Court finds that

  7              defendant Brooks is a second felony offender and now

  8              convicted of a violent felony offense.

  9                          We have an open motion pursuant to -- well, a

 10              motion to vacate the conviction which has been filed by

 11              Mr. Ball.

 12                          Mr. Short, I have no written reply.

 13                          MR. SHORT: I'll respond orally, if it's okay

 14              with the Court?

 15                          THE COURT: All right.

 16                          Do you want to be heard on the motion, Mr. Ball?

 17                          DEFENDANT BALL: With respect to?

 18                          THE COURT: You filed a motion, do you want to

 19              argue it or addressed on papers?

 20                          THE DEFENDANT: I would like to have the DA

 21              respond to it in writing rather than --

 22                          THE COURT: That's a choice that he could make.

 23                          DEFENDANT BALL: So, I could be able to

 24              understand.

 25                          THE COURT: I can't force him to do that. If he


                                                                  MB
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                                          Proceedings                         6


  1              chooses not to do it then he chooses not to do it.

  2                         DEFENDANT BALL: Well, okay. That would be the

  3              only thing other than the fact that, urn --

  4                         THE COURT: You want to rest on the papers, I

   5             guess, is what I'm asking, or you want to argue?

   6                        DEFENDANT BALL: Are you going to be able to give

   7             me an answer? Are you going to be going over the motion

   8             and --

   9                        THE COURT; No, I read the motion. Sure.

 10                         DEFENDANT BALI,,: Are you going to decide on the

 11              motion today?

 12                         THE COURT: Quite frankly, I think, yeah.

 13                         DEFENDANT BALL: Yes. You asked me if I was --

 14              anything I have to say?

 15                         THE COURT: You mean at sentence? We are not at

 16              that point yet. I'm just addressing myself to your motion,

 17              if you want to rest on the papers?

 18                         DEFENDANT BALL: What happened is, there's one

 19              particular issue I want to raise, I'm not sure you're aware

 20              of. I reference to 210.20 motion I had put in previously

 21              and the District Attorney never answered the motion and so,

 22              you know, I'm very concerned about that. I brought that up

 23              prior to us going to trial. It was an issue we would put

 24              off for later andl still never got the response.

 25                         That would be my only argument at this time, that


                                                                  MB
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                                         Proceedings                          7


  1              I think I would be, you know, I -- legally I have a right

  2              to have had the time to get the response, if not, you would

  3              dismiss the case. It would mean that the District Attorney

  4              conceded to the notion by not responding, which was it was

  5              turned over.

  6                         THE COURT: All right. I understand. Thank you

  7              sir. Mr. Short.

  8                         MR. SHORT: I have read defendant's pro se

  9              motions filed pursuant to 330.30. The grounds for the

 10              motion, your Honor, are all things that have been

 11              previously litigated in this case but, with one or two

 12              exceptions. I refer your Honor to the decision by Judge

 13              Hollie, including everything which covers everything the

 14              alleged Rosario violation, the sufficiency of the grand

 15              Jury presentment, the evidence presented to the grand

 16              jury -- that was evidence presented to the grand jury and

 17              all these other matters that were raised during the

 18              hearing. These matters were decided by Judge Hollie when

 19              he reviewed the grand jury minutes on the only decision and

 20              subsequent motion filed after the hearings about the

 21              Rosario violations and any discrepancy in the grand jury

 22              minutes. So is the law of the case as controlled by Judge

 23              Hollie's decision on these matters. Everything else in

 24              defendant's motion makes very little reference to the

 25              conduct of this trial. Other than to restate his defense.


                                                                  MB
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                                          Proceedings                         B


  1              The paperwork didn't line-up with the testimony which was

  2              ultimately resolved by this jury, that the defendant was

  3              either irrelevant or unfounded and they had found this

  4              defendant guilty,.

  5                          I ask you to deny this decision. There's no

  6              legal basis to disturb the jury's verdict. The material

  7              contained in 6A, B, C, D, E all appear to be unsupported by

  8              any allegations in his own motion papers as to the

  S              following ones with Rosario violation, no probable cause,

 10              defective grand jury presentment, prosecutorial misconduct,

 11              perjury, right to confrontation and counsel, I would say,

 12              all have been decided by Judge Hollie's motion, his

 13              decision.

 14                          As to the weight of the evidence and the right to

 15              present all statements of the trial, there's no allegation

 16              or proof that the defendant was not present. He was

 17              present the entire time of the trial, and that's as to the

 18              weight of the evidence.

 19                          I rest on the record established during the trial

 20              and I don't see any new information in the defendant's

 21              motion papers that would cause the Court to disturb the

 22              verdict in this case.

 23                          THE COURT: Thank you, Mr. Short.

 24                          I have, as I indicated earlier, reviewed this

 25              motion and I have considered the arguments of both sides.


                                                                  MB
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                                          Proceedings                          9


      1.         I do find that all of the contentions have either been

      2          considered and rejected either by Judge Rollie, or by

      3          myself, or are unpreserved and, therefore, unviewable in a

      4          330 application, which is what this is.

      5                     And, accordingly, I am denying your motion.

      6                     Have both sides had an opportunity to read the

      7          probation report in this case?

  8                         MR. GIBBONS: Yes. I have a 330 application. It

      9          would be brief.

 10                         THE COURT: Irll hear you.

 11                         MR. GIBBONS Your Honor, I'll ask that the Court
 12              set aside the verdict as the evidence was legally
 13              insufficient to maintain a conviction. The testimony
 14              before the Court showed there was no identification of my
 15              client in the courtroom when he was arrested. He was --

 16              his description was completely different -- I'm sorry, the

 17              description of the complainant was completely different
 18              than my client's accounts when he was stopped a few minutes
 19              after this incident allegedly occurred.
 20                         The complaining witness testified that the
 21             assailant had black hair. My client had a shaved head. He
 22             said that assailant was wearing a red T-shirt. He had on a
 23             white T-shirt. The description said nothing about facial
 24             hair which my client had or missing teeth or wearing a
 25             baseball cap, all which were testified to by the police


                                                                 MB
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   1             officer who arrested him and borne out by his arrest photo

   2             and his demonstration of his missing teeth here in open

   3             Court.

   4                        As the Court notes witness ID is inherently

   S             unreliable. Plus no proceeds were found on my client and

   6             the person matching the description of a male black wearing

   7             a white shirt and black pants was found on Mr. Ball who was

   8             found with the proceeds. So, that would be the first leg

   9             of my argument.

 10                         Secondly, your Honor, in all due deference to

 11              your Honor's ruling, I understand while we were forced to

 12              be seated during the entirety of the trial, but I made the

 13              argument before, and as the trial progressed I think I made

 14              it again. I feel that that ruling prejudiced my client in

 15              that I was unable to move about the courtroom. I wasn't

 16              able to make both eye contact with the jurors. My body

 17              language was obstructed because of that. I felt --

 18                         THE COURT: Can I just jump in here and just

 19              state for the record because, you know, I'm sure that this

 NCO             case will go up on appeal. That we are in a courtroom

 21              where you are now standing but you were seated right where

 22              you were standing and you are physically, I would say,

 23             between ten or twelve feet away from the jury. So, seated

 24              or standing in this small courtroom I think is really of

 25              little consequence. But, more importantly, I just wanted


                                                                 MB
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                                          Proceedings                        l]


  1              the record to reflect we are not in the ceremonial

  2              courtroom.

  3                           MR. GIBBONS: I understand it's not a cavernous

  4              courtroom. It's a personal issue with me because my style

  5              has been to always move around, to look directly at the

  6              jurors, to get up close to them at the rail. And I also

  7              felt that there may have been an air of lack of

  B              professionalism or disrespect to the jurors although

  9              everyone was seated.

 10                           THE COURT: Including me.

 11                           MR. GIBBONS: I understand. The reason I fact

 12              that Mr. Ball was also seated. I believe impacted

 13              negatively on my client and there may have been something

 14              that carried over to the jury where they felt there was

 15              some issue of disrespect or professionalism. And because

 16              of that I ask that the verdict be set aside.

 17                           THE COURT: Want to be heard?

 18                           MR. SHORT: As to the I.D. The witness I.D. is

 19              not inherently unreliable. Mr. El Turkey was not able to

 20              identify the defendant in the courtroom. Pursuant to 60.25

 21              his identification of him on scene that night was placed

 22              before this jury. The description he gave was of a male

 23              black wearing a white T-shirt and black pants, that is what

 24              the defendant waswearing at that time. The description of

 25              the red, your Honor, only came out during this trial,


                                                                 MB
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   1                        I submit to the Court, because of the passage of

   2             time, that there was red worn by the co-defendant and the

   3             red hat of Mr. Brooks. Regardless, Judge, I see no reason

   4             to disturb the jury's verdict. On that basis alone I

   5             believe the evidence was sufficient to sustain the

   6             conviction. As to defense counsel's second point I was

   7             seated, too. If he would be guilty of unprofessionalism

   8             I'm sure the jury had the same thought of me. We all sat

   9             during this entire trial, from the very moment the jury

  10             walked into the courtroom. I don't believe they thought

  11             anything of it and I see no reason to disturb the verdict.

 12                         THE COURT: With respect to, essentially, the

  13             factual arguments, frankly, a trial Court has limited

  14             authority in that area, much more limited than the

  15             authority that the Appellate Division has, to review facts

  16             and a motion to vacate before a trial Court. The trial

  17             Court is limited to legal issues, they are not factual

 18              issues! and I believe all of the arguments that you have

 19              advanced are essntially factual in nature, more

 20              appropriately made before a higher Court.

 21                         So, I'm going to deny that portion of the motion

 22              and I will also deny the motion as it pertains to the fact

 23              that everyone was seated during the course of this trial.

 24              In deference to the fact that Mr. Ball was proceeding pro

 25              se on this case, iwhether the lawyers stand or sit down in a


                                                                  MB
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                                         Proceedings                         13


  I              courtroom, really, I think is of minimal consequence. The

  2              important thing is your ability to advocate and, you know,

  3              frankly, this is the second trial you've had in front of me

  4              in the last two months or so and your ability to make your

  5              points made known to the jury I, frankly, respected and

  6              admire.

  7                         MR. GIBBONS: Thank you.

  8                         THE COURT: You're a good trial advocate and I

  9              think you gave your client a good run for his money, seated

 10              or standing.

 11                         MR. GIBBONS: Thank you.

 12                         THE COURT: So, the motion is denied.

 13                         Now, as to the sentence:

 14                         Have both sides the read the probation?

 15                         MR. SHORT: Yes.

 16                         MR. GIBBONS: Yes.

 17                         THE COURT: We may proceed. Mr. Brooks first.

 18                         Any reason why this sentence can't be imposed?

 19                         MR. GIBBONS: No, your Honor.

 20                         MR. SHORT: No, your Honor.

 21                         THE COURT: Want to move to sentence?

 22                         MR. SHORT: Yes, your Honor.

 23                         THE COURT: Want to be heard?

 24                        MR. SHORT: Yes, your Honor.

 25                        Your Honor, the People -- I won't go too much to


                                                                 MB
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                                         Proceedings                         14


  1              the defendant's history, we went through that during the

  2              Sandoval; however, Mr. Brooks stands before the Court as a

  3              predicate, granted, only on a VTL violation of unlicensed

  4              aggravatedun1icensed operation; however, he has a long

5                criminal history in this county, convicted of three other

  6              felonies and eight other misdemeanors. It's also important

  7              to remember several events that happened in the time and

  8              when this case occurred. The defendant was charged with

  9              two robberies at or near the location, specifically, I want

 10              to make reference to the date of November 17, 2010 -- I'm

 11              sorry, I apologize -- I'm sorry. I apologize -- September

 12              13, 2008 where the defendant robbed a patron of the very

 13              same store. The patron of the store reported that the he

 14              recognized the defendant as someone who routinely robs late

 15              night customers directly outside of that store. This

 16              defendant, along with his co-defendant, specifically

 17              targeted Mr. El Turkey as someone weak and vulnerable and

 18              of someone who would not call the police. This defendant

 19              and the co-defendant specifically targeted the complainant

 20              as a person was coming ou of the store at the late night --

 21                         THE COURT: That case you referred to, what's the

 22              status of it?

 23                         MR. SHORT: He pled guilty to disorderly conducts

 24              That was brought . óut during the Sandoval.

 25                         THE COURT: All right.

                                                                  MB
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                                         Proceedings                         15


     1                      MR. SHORT: But it shows, your Honor, the

     2           level -- this was a pre-planned attack of someone that this

     3           defendant saw as a week person coming out of that store.

     4                      While he has a less record, less severe record

     5           than Mr. Ball, Mr. Brooks, your Honor, is the one who

     6           precipitated in this attack. He's the one that pushed the

     7           defendant through the two cars and repeatedly smashed his

  8              face on the curb against the sidewalk causing him to loose

     9           a tooth. Based on his record the severity and the nature

 10              of this attack I believe calls for the maximum and I ask

 11              you to sentence the defendant to 15 years, five years

 12              post-release and issue an order of protection in favor the

 13              named complainant, Mr. El Turkey.

 14                         THE COURT: I'll hear you.

 15                         MR. GIBBONS: Your Honor, first, I object to the

 16             utilization of that, -- of the arrest that the District
 17             Attorney referred to. What the complaining witness may
 18             have said is purely hearsay. If the case was that strong
 19             and the evidence that sure my client wouldn't have gotten a
 20             disorderly conduct.

 21                        My client has a history; however, he hasn't had
22              any serious arrests in the last few years. And, as
23              Mr. Short said, the predicate basis is based on an E felony
24              and aggravated unlicensed operation. There wasn't any
25              crime of violation. This wasn't any type of moral


                                                                 MB
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   1             turpitude.

   2                          It was the luck of the drawer. He got an E

   3             felony, it could have been an A misdemeanor, and he

   4             wouldn't be facing S to 15. My client is a family man, two

    5            children with the same woman for, I think, thirty five

   6             years now.

   7                          Again, the description of the perpetrator was so

   S             far from what my client looked like on that night that I

                 believe that that needs to be taken into account. My

  10             client had a bald head, missing teeth wearing a white

  11             shirt. The complainant said that the person had on a red

  12             T-shirt, short black hair. Didn't mention missing teeth or

  13             facial hair.

  14                          While the DA said that the red T-shirt only came

  15             up at this trial, that is incorrect. The complainant

  16             testified in the grand jury that the assailant, who he

  17             referred to as Mr. brooks, was wearing a red T-shirt then

  18             as well. I was unable to bring it out because he didn't

  19             show any confusion about that issue when he testified at

  20             trial. If had he shown any confusion, obviously, I would

 21              have reminded him of his testimony back in the grand jury.

 22                           So, it wasn't a mistake due to the passage of

 2. 3            time, your Honor. He said that that person had a red shirt

 24              on. My client was arrested minutes after this incident

 25              occurred wearing:a white shirt, bald head, no hair on his


                                                                  ME
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  1              head. A hat, missing teeth, facial hair, no proceeds. The

  2              person that he described as having a white shirt and black

   3             pants was arrested and the complainant has no idea when

   4             that person was being stopped, when he was stopped. It

   5             matched the description perfectly. He had the proceeds.

   6             still believe that the I.D. was incorrect and because of

   7             those factors I ask that the Court sentence him to the

   8             minimum of five years.

   9                        THE COURT: Sir, want to be heard on your own

 10              behalf?

 11                         DEFENDANT BROOKS: Me? No, I'm good.

 12                         THE COURT: All right.

 13                         I have had an opportunity to read the probation

 14              report. I have considered the statements made by both

 15              Mr. Short and Mr. Gibbons. This defendant was convicted

 16              after trial of the crimes of robbery in the second degree,

 17              two counts and assault in the third degree and I am.

 18              familiar with the facts having presided over this trial.

 19                         This is a bad crime. This is just a classic

 20              street mugging. It's hard not to believe that Hr. El

 21              Turkey was not specifically targeted by you and your

 22              co-defendant perhaps because he had just come out of an ATM

 23              place and obviously, had some cash on him and perhaps

 24              because his immigrant status emboldened you to think that

 25              Mr. El Turkey might choose to let the crime pass and not


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   1             respond to the police, call the police, because of what you

   2             might have perceived as his immigrant status.

   3                         I, frankly, found the witness credible almost to

   4             the point of honorableness and the fact that he chose or

   5             stated honestly that he was not able to identity either you

   6             or Mr. Ball some two years later would have been easy for

   7             him just to say it and say it was Mr. Ball, but he didn't.

   8             And, to me, I found that impressively honest on his part.

   9                        Under count one of the indictment the Court

  10             sentences you to a determinate term of imprisonment of ten

  11             years plus 5 years post-release supervision.

  12                        Under the second count, robbery in the second

  13             degree, th Court sentences you to the term of imprisonment

  14             of ten years to run concurrently with the first count and

  15             the assault in the third degree I sentence you to one year

  16             imprisonment. That count will obviously merge.

  17                        The defendant is ordered to pay all mandatory

  18             surcharges and fees. These monies should be deducted from

  19             inmates funds. ' The defendant is remanded.

  20                        COURT CLERK: One moment.

  21                        Mr. Brooks, you have the right to appeal to the

 22              Appellate Division, Second Department, within thirty days.

 23              In addition, upon proof of your financial inability to

 24              retain counsel arid to pay the cost and expenses of appeal,

 25              you have the right to apply to the Appellate Division for


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    I             the assignment of counsel and leave to prosecute the appeal

    2             a poor person and to dispense with printing.

    3                        The Appellate Division, Second Department, is

    4             located at 45 Monroe Place, Brooklyn, New York 11201.

    5                        Mr. Brooks. Defendant being handed a copy of the

    6             notice in writing.

    7                        MR. GIBBONS: I'll file a notice of appeal after

    8             this is over.

    9                        THE COURT: Thank you.

   10                        MR. GIBBONS: Thank you, your Honor.

   11                        THE COURT: Mr. Short, you received the probation
  12              report for Mr. Ball?

  13                         MR, SHORT: Yes, your Honor.

  14                         THE COURT: Have you had an opportunity to read
  15              the probation report?

  16                         DEFENDANT BALL: Urn, I have it in front of me.

  17              Yeah, we can proceed.

  18                         THE COURT: All right.

  19                         Any reason why we can't proceed?

  20                         MR. SHORT: No, your Honor.

21                           DEFENDANT BALL: Not that I --

  22                         THE COURT: Want to move to sentence?
  23                         MR. SHORT: Yes.

  24                         THE COURT: Want to be heard?
  25                         MR. SHORT: Yes, your Honor.


                                                                  MB
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   1                        Your Honor, far more than defendant Brooks,

   2             Mr. Ball has demonstrated, through his life, a wanton

   3             disregard for the law. He's a career criminal with

   4             numerous convictions.

   S                        I won't go over the Sandoval ruling. I just ask

   6             the Court to keep that in mind in what we talked about

   7             during the Sandoval as to what this defendant has committed

   8             in the past, convicted of prior felonies and twenty two

   9             misdemeanors over his life.

  10                        The last felony, your Honor, was a burglary that

  11             Mr. Ball talked about in New York County breaking into a

  12             store late at night opening the gate and stealing property

  13             inside and later being caught with it; convicted of

  14             coercion for an incident where he lured a woman inside an

  15             abandoned building for the purpose committing a sexual

  16             assault.

  17                        Mr. Ball's role in this case was just as heinous

  18             as Mr. Brooks', I believe. He took advantage of the

 19              complainant's trust. I misuse the word ' t truat." The fact

 20              that they knew each other.

 21                         The complainant was very clear he had known him,
 22              spoken to him, given him dollars here and there. And it
 23              was Mr. Ball that followed him initially down that Street.
 24              And as Mr. Brooks was raining blows after blow on the
 25              complainant Mr. crooks helped himself toward opening his


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   1             pockets where the complainant's head was being bashed

   2             against the sidewalk.

   3                        His part is no less heinous as Mr. Brooks' and I

   4             ask that he be sentenced to the maximum.

   S                        THE COURT: Mr. Ball, do you want to say anything

   6             on your own behalf?

   7                        DEFENDANT BALL: Sure.

   8                        THE DEFENDANT: First     of all ! your Honor, I have

   9             to -- I have to ask -- I'm listening to what you said

  10             previously when you sentenced Mr. Brooks and now I want to

  11             say thank you for how it is that you kept up your promise,

  12             as far as being impartial. I want to thank with respect to

  13             that. And I also want to say to you that, like, I've been

  14             explaining from the beginning, I'm innocent of this crime

  15             and I've shown throughout the trial that, you know, it was

  16             impossible for me to have been able to commit this crime.

  17                        The District Attorney never put forth any

  18             evidence that showed that I was the one who he keeps saying

  19             I was caught with some of the proceeds. And it was never

  20             established throughout the trial that I was ever caught

  21             with any of the proceeds, you know, the allegation, that's

  22             been pushed against me is all based on purgery testimony.

  23                        And I have shown that throughout the trial, as

  24             far as my history is concerned -- and I don't have a

 25              Violent history because I'm not a silent man and I'm not


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    1             the type, I'm not the criminal that the District Attorney

    2             is making me out to be, in lieu at my history.

    3                        My history pertains to what I raised, the issue

    4             as far as me having a drug problem. I had possessions of

    5             drugs in the past. If you look at my record that's what it
    6             basically pertains to.

    7                        As far as the incident, I spent nine months in

    8             jail for, I told you honestly, because that's, you know,

    9             what I prefer to deal with. In this circumstances, to keep

   10              it honest with you, you know, so, I     did tell you, that, urn,
   11              I did do the crime and in respect to I was dealing with a

   12             drug issue at the time and the door was open. So, you

   13             know, I didn't deny that, what it is that I did wrong.

   14                         In the case, that the other issue, that I     was
15                arrested for, other than the drugs, were, you know,

   16              trespassing, you know, minor offenses. So, this is what

   17              the bulk of the history of my crime.

   18                         As far as where the District Attorney is making

   19              it out to seem like I'm a person who is a criminal, you

   20             know, but that's not the case. And I would like for to you

   21             keep that in mind in you passing sentence on me, along with

   22             the fact that you allowed me to, you know, go continue to
   23             appeal so I can hopefully, you know, prove my innocence

   24             somewhere along       down the line.

   PU                         That's . basically what it is what I wanted to say.


                                                                   MB
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   1                        THE COURT: Thank you, Mr. Ball.

   2                        Much of what I have to say to you I've already

   3             said, but I will repeat it just for the record.

   4                        I really -- this is a bad crime. This is, as I

   5             said, a bad street mugging where both defendants had no

   6             problem hurting the victim in order to take his money.

   7             It's fortunate that the victim was not more seriously

   S             injured considering the assault that was rained on him by

   9             both defendants.

  10                        And I do share the District Attorney's view of

  11             this case, now having heard it myself, that the defendants

  12             are surely equally responsible and involved in this

  13             mugging. And, as I indicated earlier, Mr. El Turkey seems,

  14             in my view, to have been targeted carefully by both

  15             defendants, perhaps because of his having gone to an ATM

  16             machine almost immediately before the mugging and perhaps

  17             though thought someone who was an immigrant would not

  18             report this to the police.

  19                         I would reiterate my comments with respect to the

  20             honorable manner in which the complainant did not just

  21             identify Mr. Ball, because he obviously couldn't do it two

  22             years later. It doesn't shade my belief in the accuracy

  23             and justice of the jury's verdict.

  24                        You'vebeen convicted of two counts of robbery in

  25             the second degree, assault in the third degree and criminal


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   1             possession of stolen property in the fifth degree.

   2                        I'm going to sentence you to a determinate term

   3             of imprisonment of ten years plus five years post-release

   4             supervision under count one. Ten years, plus five years

   5             post-release supervision under count two.

   6                        Those counts to run concurrently with each other.

   7                        One year for the assault in the third degree and

   S             1 year for the criminal possession of stolen property in

   9             the fifth degree. Those sentences will merge as a matter

  10             of law.

  11                        Defendant is ordered to pay all mandatory

  12             surcharges and fees. These monies shall be deducted from

  13             inmate funds. The defendant is remanded.

  14                        Miss Povman, I thank you once again for your

  15             assistance in this matter and your own professionalism in

  16             this matter.

  17                        COURT CLERK: I'm extending the orders of

  18             protection.

  19                        MR. SHORT: They were prepared.

 20                         DEFENDANT BALL: Judge --

 21                         COURT CLERK: Five years past the maximum release

 22              date?

 23                         MR. SHORT: Yes.

 24                         DEFENDANT BALL: Can you waive the surcharge?

 25                         THE COURT: I will not defendant.


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  1                          DEFENDANT BALL: Thank you.

  2                          COURT CLERK: It will be taken out of inmate

  3              funds.

  4                          You have the right to appeal to the Appellate

  5              Division, Second Department, within thirty days.

  6                          In addition, upon proof of your financial

  7              inability to retain counsel and to pay the cost and

  8              expenses of appeal, you have the right to apply to the

  9              Appellate Division for the assignment of counsel and leave

 10              to prosecute the appeal a poor person and to dispense with

 11              printing.

 12                          The Appellate Division, Second Department, is

 13              located at 45 Monroe Place, Brooklyn, New York 11201.

 14                          The defendant is being handed a copy in writing

 15              and the defendant is being asked to sign the order of

 16              protection.

 17                          DEFENDANT BALL: I would like to make an

 lB              application for a 440 at this time?

 19                          THE COURT: You can do it in writing.

 20                          COURT OFFICER: Sign here. Keep your hands

 21              behind your back.

 22                          COURT CLERK: Defendant    Ball signed the order of

 23              protection.

 24                          THE COURT: Thank very much.

 25                          DEFENDANT BALL: Thank you.


                                                                  MB
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                                           Proceedings                       26


  1                         THE COURT: Thank you.

  2                                  *          *        *

   3                        CERTIFIED THAT THE FOREGOING IS A TRUE AND
                 ACCURATE TRANSCRIPT OF THE ORIGINAL STENOGRAPHIC MINUTES IN
  4              THIS CASE.

  5

   6                                     MICHAEL BEMAN, RPR
                                         Official eourt Reporter
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